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            EXHIBIT A
          VOLUME ONE
OF REDACTED VERSION OF DOCUMENT
  SOUGHT TO BE FILED UNDER SEAL
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                         UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF CALIFORNIA
                            SAN FRANCISCO DIVISION



IN RE: FACEBOOK, INC. CONSUMER               CASE NO. 3:18-MD-02843-VC
PRIVACY USER PROFILE LITIGATION
                                             APPELLATE RECORD FOR
                                             FACEBOOK, INC.’S APPEAL OF
This document relates to:                    SPECIAL MASTER’S AMENDED
                                             ORDER RE: PLAINTIFFS’ MOTION TO
ALL ACTIONS                                  COMPEL PRODUCTION OF PLAINTIFF
                                             DATA
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                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA
                             SAN FRANCISCO DIVISION


                                          MDL NO.2843
IN RE: FACEBOOK, INC. CONSUMER
PRIVACY USER PROFILE LITIGATION,           CASE NO. 3:18-MD-02843-VC-JSC

                                          HON. VINCE CHHABRIA
This document relates to:                 HON. JACQUELINE SCOTT CORLEY
                                          COURTROOM 4 - 17TH FLOOR
ALL ACTIONS                               SPECIAL MASTER, DANIEL GARRIE, ESQ.

                                           AMENDED ORDER RE: PLAINTIFFS'
                                           MOTION TO COMPEL PRODUCTION
                                           OF PLAINTIFF DATA




AMENDED ORDER RE: PLAINTIFFS' MOTION TO COMPEL PRODUCTION OF PLAINTIFF DATA
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                                         INTRODUCTION

          1.     Pending before Special Master Garrie is Plaintiffs' Motion to Compel Production

of Named Plaintiffs' Content and Information.

                                          BACKGROUND

          2.     On November 25, 2019, Plaintiffs' served Requests for Production Nos. 9-13,

which seek documents relating to the named Plaintiffs in this matter ("Named Plaintiffs").' See

Plaintiffs' Motion to Compel Production of Named Plaintiffs' Content and Information, Exhibit

1. In brief, Request No. 9seeks all documents relating to each of the Named Plaintiffs; Request

No. 10 seeks documents sufficient to show the categories of content and information Facebook

collects, tracks, and maintains about them; and Requests Nos. 11-13 seek documents identifying

third parties that were able to access information about the Named Plaintiffs. Id.

          3.     In response to Requests for Production Nos. 9-13, Facebook produced more than

one million pages of individual user data it maintained relating to the Named Plaintiffs, most of

which was obtained from the "Download Your Information" tool ("DYI Tool"). 2 The data

obtained from the DYI Tool is mostly limited to information pertaining to users' on platform

Facebook activity. See Facebook's Opposition to Plaintiffs' Motion to Compel Production of

Named Plaintiffs' Content and Information, Exhibit B.

          4.     Statements by Facebook's counsel during an August 14, 2020 discovery hearing

indicated that Facebook maintained additional data related to the Named Plaintiffs that was not

produced. See 8/14/2020 Discovery Hearing Transcript at 8:10-13 ("There is other —there's




1 There   were originally 30 named Plaintiffs, but this has been reduced to nine named Plaintiffs.

2 The DYI Tool is atool by which Facebook users can download certain pieces of information
related to the user's Facebook activity and related data. A list of the types of information that can
be downloaded via the DYI Tool is provided in Exhibit B.


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Facebook-generated information, information generated by third parties, information received

from third parties. We have not represented that that is comprehensively included in our

production.").

         5.      Plaintiffs filed amotion last September to compel additional discovery related to

Requests for Production Nos. 9-13. See Plaintiffs' Motion to Compel Production of Named

Plaintiffs' Content and Information, Exhibit 4. Plaintiffs asked the Court to compel production of

sensitive information Facebook derives and collects from business partners, app developers,

apps, and other sources. This request included "native, appended and behavioral data" and

purportedly anonymized data that could be connected to the Named Plaintiffs. Id. at 7-11.

         6.      On October 8, 2020, Facebook responded to Plaintiffs' motion to compel. See

Plaintiffs' Motion to Compel Production of Named Plaintiffs' Content and Information, Exhibit

3. Facebook contended that all information related to the Named Plaintiffs that they did not

themselves share on Facebook was outside the scope of the case; that all information not shared

through one of the four theories of the case was not within the scope of the case; that Plaintiffs

were not entitled to all data collected from third parties about the Named Plaintiffs; that the

Stored Communications Act and Video Protection Privacy Act claims did not require the

production of additional data Facebook had collected about the Named Plaintiffs; and that

Facebook could not reasonably collect any of the additional information Plaintiffs sought. Id. at

6-10.

         7.      On October 29, 2020, Judge Corley issued Discovery Order No. 9, ruling "that

discovery is not as limited as Facebook contends" and "the discoverable user data at issue

includes: [1] Data collected from auser's on-platform activity; [2] Data obtained from third




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parties regarding auser's off-platform activities; and [3] Data inferred from auser's on or off-

platform activity." See Discovery Order No. 9at 2.

        8.     In Discovery Order No. 11, Judge Corley provided further clarification on the

discoverable user data intended to be included under Discovery Order No. 9:

       It also contended that Plaintiffs conceded that user data not shared with or
       accessible to third parties is not relevant, (Dkt.No. 548 at 10), and because
       Facebook does not share inferred user data, the inferred user data Facebook
       maintains is not relevant. Facebook both collects and uses data about its users as
       part of its business model, including data derived from third parties. How it
       specifically uses this data is an open question, but if the Court were to accept
       Facebook's arguments about the scope of production, it would eliminate Discovery
       Order No. 9's third category of discovery: data inferred from auser's on or off-
       platform activity. What is needed now is more detail about Facebook's collection
       and use of user data so future discovery requests can be tailored to Plaintiffs' better
       understanding of the internal operations of Facebook as well the terminology it uses
       for describing data that is potentially responsive to Plaintiffs' discovery requests.
       See Discovery Order No. 11 at 1.

        9.     Following Judge Corley's orders, Facebook did not produce additional documents

in response to Requests for Production Nos. 9-13.

        10.    On October 6, 2021, Special Master Garrie and Judge Andler declared impasse on

the issue of whether Facebook should be compelled to produce additional documents related to

the Named Plaintiffs pursuant to Discovery Order No. 9.

        11.    On October 18, 2021, Plaintiffs submitted their opening brief to Special Master

Garrie on this issue. See Plaintiffs' Motion to Compel Production of Named Plaintiffs' Content

and Information. Plaintiffs argue that (a) the court has already determined the information

Plaintiffs seek is relevant—whether or not Facebook claims that it has been shared; (b) whether

the Named Plaintiffs' information was shared is a contested question on which Plaintiffs are

entitled to evidence; (c) Facebook has failed to substantiate a disproportionate burden in




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 AMENDED ORDER RE: PLAINTIFFS' MOTION TO COMPEL PRODUCTION OF PLAINTIFF DATA

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identifying the data it possesses relating to nine people; and (d) Plaintiffs have made proposals to

reduce the burden of production on Facebook. Id.

        12.    On October 28, 2021, Facebook submitted its Opposition to Plaintiffs' Motion to

Compel Production of Named Plaintiffs' Content and Information. See Opposition to Plaintiffs'

Motion to Compel Production of Named Plaintiffs' Content and Information. Facebook argues,

among other things, that (a) the scope of discovery is limited to information Facebook shared with

third parties; (b) Plaintiffs are judicially estopped from seeking information that was not shared;

and (c) the information Plaintiffs now seek is nonresponsive and otherwise unavailable. Id.

        13.    On November 2, 2021, Plaintiffs submitted their Reply in which they argue, among

other things, (a) Judge Corley's orders entitle Plaintiffs to the discovery they seek; (b) Plaintiffs

are entitled to probe Facebook's assertion that it has already produced all the content and

information it has shared or made accessible to third parties; (c) Plaintiffs are entitled to answers

to Interrogatories 16 and 17; and (d) the relief Plaintiffs are requesting is intended to lighten

Facebook's burden. See Reply in Support of Plaintiffs' Motion to Compel Production of Named

Plaintiffs' Content and Information.

        14.    Facebook subsequently objected to Plaintiffs reply claiming that Plaintiffs

introduced new arguments and evidence for the first time, in violation of the Discovery Protocol.

See Facebook's Response to Plaintiffs' Objection Regarding Named Plaintiffs' Data Briefing

("Plaintiffs sought new relief and introduced twelve new documents that Plaintiffs suddenly

claim show gaps in Facebook's productions.").

        15.    On November 29, 2021, Special Master Garrie issued an Order Re: Plaintiff's

Motion to Compel Plaintiff Data.




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 AMENDED ORDER RE: PLAINTIFFS' MOTION TO COMPEL PRODUCTION OF PLAINTIFF DATA

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         16.   On December 10, 2021, Facebook submitted aMotion for Reconsideration of the

Order Re: Plaintiff's Motion to Compel Plaintiff Data.

                                            FINDINGS

         17.   Special Master Garrie finds that Discovery Order No. 9does not limit the scope of

discoverable data related to the Named Plaintiffs to data that was shared with third parties, as

Facebook contends, because Judge Corley's ruling contains no language indicating such a

limitation: "Accordingly, the court rules the discoverable user data at issue includes: [1] Data

collected from auser's on-platform activity; [2] Data obtained from third parties regarding auser's

off-platform activities; and [3] Data inferred from a user's on or off-platform activity." See

Discovery Order No. 9at 2.

         18.   Moreover, Judge Corley clarified that Facebook's interpretation of Discovery

Order No. 9is not what Judge Corley intended: "How [Facebook] specifically uses this data is an

open question, but if the Court were to accept Facebook's arguments about the scope of production,

it would eliminate Discovery Order No. 9's third category of discovery: data inferred from auser's

on or off-platform activity." See Discovery Order No. 11, at 1.

         19.   Special Master Garrie finds that Facebook appears to maintain data related to the

Named Plaintiffs that was not produced in response Requests for Production Nos. 9-13. See

8/14/2020 Discovery Hearing Transcript at 8:10-13 ("There is other —there's Facebook-generated

information, information generated by third parties, information received from third parties. We

have not represented that that is comprehensively included in our production."). For example,

documents produced by Facebook indicate that Facebook collects data referred to as "Appended

Data," including public records, auto registration data, retail purchases, and credit card purchases,

all of which fall into the second category of data from Discovery Order No. 9. See Plaintiffs'




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AMENDED ORDER RE: PLAINTIFFS' MOTION TO COMPEL PRODUCTION OF PLAINTIFF DATA

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Motion to Compel Production of Named Plaintiffs' Content and Information, Exhibit 11 (FB-CA-

MDL-00213424). However, Facebook has not produced this data as it is not available via the DYI

Tool. See Facebook's Opposition to Plaintiffs' Motion to Compel Production of Named Plaintiffs'

Content and Information, Exhibit B. 3

        20.    Special Master Garrie finds that Plaintiffs requested new relief (answers to

Interrogatories 16-17) and introduced new evidence (exhibits C, D, E, F, H, I, and Jto Plaintiffs'

Reply) in their Reply brief in violation of the Discovery Protocol. Accordingly, Special Master

Garrie did not consider this request for new relief or the new evidence items in reaching the

findings herein.

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3 Facebook also appears to maintain data relating to the Named Plaintiffs' on-platform activity


that has not been provided, such as inferred interest and behavior data. See Exhibit L.


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 AMENDED ORDER RE: PLAINTIFFS' MOTION TO COMPEL PRODUCTION OF PLAINTIFF DATA

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                                               ORDER

         21.      No later than December 28, 2021, Facebook is to provide the following

information for each of the data sources listed in Exhibit A to the Declaration of David Pope,

submitted with Facebook's Motion for Reconsideration of the Order Re: Plaintiff's Motion to

Compel Plaintiff Data: (1) ahigh level description of the most common functions and purposes

of the system; and (2) the business units, divisions, or groups that use the system.

         22.      No later than January 5, 2022, Plaintiffs are to submit alist of systems from

which Plaintiffs believe Facebook should produce data relating to the named Plaintiffs,

explaining for each system why they believe the data should be produced. Special Master Garrie

will subsequently issue aruling on the systems from which Facebook is to produce named

Plaintiff data.




IT IS SO ORDERED.




        Friday, December 17, 2021                                    F
                                                        Daniel Garrie
                                                        Discovery Special Master




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                                      SAN FRANCISCO DIVISION
12

13

14   IN RE: FACEBOOK, INC. CONSUMER                       CASE NO. 3:18-MD-02843-VC
     PRIVACY USER PROFILE LITIGATION,
15                                                        DECLARATION OF MARTIE
                                                          KUTSCHER IN SUPPORT OF
16   This document relates to:                            FACEBOOK, INC.'S MOTION FOR
                                                          RECONSIDERATION OF SPECIAL
17   ALL ACTIONS                                          MASTER'S ORDER REGARDING
                                                          NAMED PLAINTIFF DATA
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       DECLARATION OFMARTIE KUTSCHER I
                                     N SUPPORT OFFACEBOOK, I NC.'S MOTION FOR RECONSIDERATION OF SPECIAL
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                     EXHIBIT B




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Attorneys for Defendant Facebook, Inc.




                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA
                             SAN FRANCISCO DIVISION




IN RE: FACEBOOK, INC. CONSUMER              CASE NO. 3:18-MD-02843-VC
PRIVACY USER PROFILE LITIGATION,
                                            DECLARATION OF DAVID POPE IN
                                            SUPPORT OF FACEB 00K, INC.'S
This document relates to:                   MOTION FOR RECONSIDERATION OF
                                            THE SPECIAL MASTER'S ORDER RE
ALL ACTIONS                                 PLAINTIFFS' MOTION TO COMPEL
                                            PRODUCTION OF PLAINTIFF DATA

                                            Discovery Special Master Daniel Garrie, Esq.



      DECLARATION OF DAVID POPE IN SUPPORT OF FACEB 00K, INC.'S
  MOTION FOR RECONSIDERATION OF THE SPECIAL MASTER'S ORDER RE
    PLAINTIFFS' MOTION TO COMPEL PRODUCTION OF PLAINTIFF DATA




                                                                                           0022
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I, David Pope, declare:

        1.     Iam aGroup Technical Program Manager on the Core Infra Team at Meta, Inc.

f/k/a Facebook, Inc. (hereinafter "Facebook"). Imake this declaration on my own knowledge,

and Iwould testify to the matters stated herein under oath if called upon to do so.

        2.     In my role as aGroup Technical Program Manager, Iam responsible for

supporting the Core Infra Engineering teams. Through my work at Facebook, Iam familiar with

Facebook's efforts to inventory its data systems and the data assets (i. e., individual logs, data

sets, or other units of data) within them.

        3.     My team and others have been working to inventory all of the data systems (i.e.,

data storage or analysis tools) within Facebook and understand which of them retain user data.




        4.     A list of the data systems we have identified as storing or interacting with

user data is attached hereto as Exhibit A.

        5.     Iunderstand that the Special Master in this matter has requested that Facebook

produce "a list of data sources that may contain" user data and for each source provide (1) "the

name of the data source or data log"; (2) "a description of the data source's purpose and

function"; and (3) "a description of the types of [user data] ...contained in the data source."

        6.      The inventory my team has compiled does not include all "data logs" within each

of the data systems identified.




                                                                                                     0023
       Case 3:18-md-02843-VC Document 813 Filed 01/18/22 Page 30 of 3430




        7.      My team also has not compiled acomprehensive description of every data

system's "purpose and function." Rather, the "purpose and function" of adata system may vary

depending on the team that is using it. Many data systems are used by multiple teams.

        8.      Last, my team has not analyzed the "types of user data" within each data system,

which can also vary depending on the team using the system.

        9.      Based on my experience, gathering these additional data points about each of the

149 data systems we have identified as containing user data would likely require us to repeat the

same process we implemented to compile this inventory,




        10.     My team and others have separately begun aprocess of inventorying specific data

assets (e.g., specific data sets or logs).




        11.




                                                                                                    0024
      Case 3:18-md-02843-VC Document 813 Filed 01/18/22 Page 31 of 3430




       Ideclare under penalty of perjury that the foregoing is true and correct, and that I

executed this Declaration on December 10, 2021, in Belmont, California.




David Pope




                                                                                              0025
     Case 3:18-md-02843-VC Document 813 Filed 01/18/22 Page 32 of 3430




                           Exhibit A to Pope De claration

Data Systems That May Store or Interact With User Data




                                                                         0026
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                                2

                                                                    0027
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                                                                    0028
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                                4

                                                                    0029
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                     EXHIBIT C




                                                                    0030
     Case 3:18-md-02843-VC Document 813 Filed 01/18/22 Page 37 of 3430




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Attorneys for Defendant Facebook, Inc.




                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA
                             SAN FRANCISCO DIVISION




IN RE: FACEBOOK, INC. CONSUMER              CASE NO. 3:18-MD-02843-VC
PRIVACY USER PROFILE LITIGATION,
                                            DECLARATION OF MENGGE JI IN
                                            SUPPORT OF FACEB 00K, INC.'S
This document relates to:                   MOTION FOR RECONSIDERATION OF
                                            THE SPECIAL MASTER'S ORDER RE
ALL ACTIONS                                 PLAINTIFFS' MOTION TO COMPEL
                                            PRODUCTION OF PLAINTIFF DATA

                                            Discovery Special Master Daniel Garrie, Esq.



       DECLARATION OF MENGGE JI IN SUPPORT OF FACEB 00K, INC.'S
  MOTION FOR RECONSIDERATION OF THE SPECIAL MASTER'S ORDER RE
    PLAINTIFFS' MOTION TO COMPEL PRODUCTION OF PLAINTIFF DATA




                                                                                           0031
      Case 3:18-md-02843-VC Document 813 Filed 01/18/22 Page 38 of 3430




I, Mengge Ji, declare as follows:

        1.     Iam aData Scientist at Meta, Inc. f/k/a Facebook, Inc. ("Facebook"). My job

responsibilities include, among other things, understanding and working with Facebook's data

systems, writing queries and conducting analyses of these data, researching Facebook's data and

related technologies, and locating, analyzing, and exporting data for production in litigation and

other legal matters. Isubmit this declaration in support of Facebook's motion for

reconsideration of the Special Master's Order re Plaintiffs' Motion to Compel Production of

Plaintiff Data. Unless otherwise stated, Ihave personal knowledge of the facts set forth herein,

and, if called as awitness, Icould and would competently testify thereto.

       2.      In my role as Data Scientist at Facebook, Iam familiar with the general categories

of user information Facebook maintains, where that data might be stored, and how they can

potentially be accessed.

Data Contained in Face book's Social Graph Related to Users' Activities on Face book

       3.      Facebook users directly provide Facebook with data or information when using

the Facebook platform. For instance, auser can upload aphoto directly to her Facebook profile,

which Facebook retains in order to display when that profile is accessed (if the user's privacy

settings allow it). If the user "tags" afriend in that photo, Facebook also retains arecord of

which other Facebook user has been identified as appearing in that photo. In essence, the entire

Facebook product that users interact with is aweb of data points and relationships between data

points that Facebook's systems present in auser-friendly format.

       4.      Facebook uses the term the "Social Graph" to describe this complex web of

people, places, things, actions, and connections on the Facebook platform. As Facebook users

navigate through Facebook and interact with it—including, for example, by commenting on




                                                                                                     0032
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posts made by other users, watching videos, posting photos, and sending messages—the users

create new relationships and connections between themselves and the content they are able to

see. The activities auser takes on the Facebook platform, including posting pictures to their

profiles, tagging friends in photos, and commenting on friends' timelines, are reflected in the

Social Graph.

       5.       The Facebook product that users see is powered by aseries of databases that work

in tandem to provide Facebook users aseamless experience.'              The key databases Facebook uses

to support the Facebook product, which store the user content and information presently

accessible via the Social Graph, are:




   Facebook's Social Graph is not powered by asingle database. Rather, Facebook is powered by an
   extraordinarily complex information architecture that stores information in various databases. The information
   in these databases is generally not human-readable and instead is intended to be processed for human
   consumption through Facebook's production environment.




                                                                                                                    0033
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                                  2




        6.       Between them, these databases contain trillions of data points provided to

Facebook by its more than 2billion users, many of which need to be readily accessible at all

times so that users can view them as they use the Facebook product. As aresult, the data

infrastructure underlying the Social Graph is not only extraordinarily complex, but has also been

specifically designed to serve the needs of the Facebook product.

        7.       One of the functions of the Facebook product is to be able to specifically identify

user profiles or other sets of information associated with specific users.




        8.




        9.       Iunderstand that Facebook's "Download Your Information" or "DYI" tool

retrieves data from and allows users to download acopy of data Facebook associates with their




2   The Evers tore database is in the process ofbeing deprecated. The data contained in Evers tore is being
    trans itioned to Manifold.




                                                                                                              0034
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Facebook account, including data associated with their account in the Social Graph. In order to

compile this information, the DYI tool runs aset of searches that have been engineered by the

DYI product team in order to pull data associated with that user from the Social Graph. The

resulting data is presented in auser-readable format, rather than as code or strings of data.

Analytics Data Stored in Face book's Data Warehouse ("Hive")

        10.    Facebook also stores data sets that it uses for internal analytics, product

development, and other business functions.




        11.    Facebook's internal analytics data is primarily stored in adata warehouse called

Hive, which exists separately from the Social Graph.




        12.    The Hive data warehouse is contained across adecentralized set of data centers,

spread across the world.




        13.    In addition to the Social Graph and Hive, Iam aware of several other databases

that contain data related to Facebook users, including data that is anonymized.




                                                                                                  0035
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        14.   Ihave also consulted with other members of the Data Science team regarding this

question.




        15.




       Searching Within Hive

        16.




        17.




                                                                                                0036
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18.




19.




20.




                                                                    0037
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21.




22.




23.




                                                                    0038
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Exporting Data from Hive

24.




25.




26.




27.




28.




                                                                    0039
      Case 3:18-md-02843-VC Document 813 Filed 01/18/22 Page 46 of 3430




       29.     Preparing any productions also requires substantial additional resources from

senior members of the eDiscovery data scientist team to prepare for and manage the coding and

export prcject. Moreover, after the initial exported files have been created, it would take

additional time for areview team to validate the queries and data and perform additional quality

control, or longer if there are issues that require remediation.

        30.




                                         The Facebook eDiscovery team, which is responsible for

assisting Facebook in-house and outside counsel in active litigations and other legal matters, in

addition to building and maintaining internal infrastructure crucial to the management and

preservation of data on legal hold, does not have the time and resources required to search for,

access, analyze, and export the data in millions of Hive tables in the manner described above.

        31.    Facebook cannot materially shorten this timeline by hiring new employees




                                                                    For the same reason, Facebook

cannot simply engage third party consultants or temporary employees to handle this data export.

Nor would adding more servers—which would require diverting them from their use in the

ordinary course of business—necessarily reduce the estimated timeline in alinear fashion,




                                   All of these options—hiring new employees, hiring contractors,

and adding servers—would also be extremely costly.




                                                                                                    0040
      Case 3:18-md-02843-VC Document 813 Filed 01/18/22 Page 47 of 3430




       Ideclare under penalty of perjury that the foregoing is true and correct, and that I

executed this Declaration on December 10, 2021, in Sausalito, California.




Mengge Ji




                                                                                              0041
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                     EXHIBIT D




                                                                    0042
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       FACEBOOK OPPOSITION
                     EXHIBIT C




                                                                    0043
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                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA
                             SAN FRANCISCO DIVISION



IN RE: FACEBOOK, INC. CONSUMER            CASE NO. 3:18-MD-02843-VC-JS
PRIVACY USER PROFILE LITIGATION,
                                          DECLARATION OF
                                          BEN MITCHELL IN SUPPORT OF
This document relates to:                 FACEBOOK'S OPPOSITION TO
                                          PLAINTIFFS' MOTION TO COMPEL
ALL ACTIONS                               NAMED PLAINTIFF DATA




                                                                          0044
      Case 3:18-md-02843-VC Document 813 Filed 01/18/22 Page 51 of 3430




I, Ben Mitchell, declare:

        1.      Iam Director of Product Management at Defendant Facebook, Inc. (hereinafter

"Facebook"). Imake this declaration on my own knowledge, and Iwould testify to the matters

stated herein under oath if called upon to do so.

       2.       In my role as Director of Product Management, my responsibilities include

providing support for Facebook's "Download Your Information" or "DYI" tool. Through my

role, Iam familiar with the DYI tool, the data that it includes, and where that data is stored.

       3.       Facebook uses the term the "Social Graph" to describe the complex web of

people, places, things, actions, and connections on the Facebook platform. The Facebook

product that users see is powered by aseries of databases that work in tandem to provide

Facebook users aseamless experience. As Facebook users navigate through Facebook and

interact with it—including, for example, by commenting on posts made by other users, watching

videos, posting photos, and sending messages—the users create new relationships and

connections between themselves and the content they are able to see.' This web of people,

places, things, actions, and connections is referred to as the "Social Graph."

       4.       The DYI tool allows auser to download acopy of data Facebook associates with

their Facebook account, including data associated with their account in the Social Graph.

       5.       The DYI file for each individual user represents the most complete and best

compilation of data Facebook maintains associated with that user, and the best available




                                                                  Iam generally aware that several databases
   collectively store the information that underlies the Social Graph and the names of these databases, but Iam not
   knowledgeable about the technical details and functions of each underlying database.




                                                                                                                      0045
        Case 3:18-md-02843-VC Document 813 Filed 01/18/22 Page 52 of 3430




compilation of the data about that user in the Social Graph, in ahuman-readable and producible

form.

        6.     Exhibit B to the Declaration of Martie Kutscher lists categories of data contained

in auser's DYI file, unless data in agiven category does not exist for the user or the user deleted

it. The DYI file does not include data such as (i) data auser has deleted from their own profiles

(e.g., photos that have been removed), (ii) any other data Facebook does not maintain; (iii) data

associated only with adifferent user's account, or (iv) Facebook's trade secrets.

        Ideclare under penalty of perjury that the foregoing is true and correct. Executed on

October 28, 2021 at Felton, California.



         Nee VtheGG

        Ben Mitchell




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                     EXHIBIT E




                                                                    0047
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       FACEBOOK OPPOSITION
                     EXHIBIT E




                                                                    0048
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                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA
                             SAN FRANCISCO DIVISION



IN RE: FACEBOOK, INC. CONSUMER            CASE NO. 3:18-MD-02843-VC-JS
PRIVACY USER PROFILE LITIGATION,
                                          DECLARATION OF
                                          KARANDEEP ANAND IN SUPPORT OF
This document relates to:                 FACEBOOK'S OPPOSITION TO
                                          PLAINTIFFS' MOTION TO COMPEL
ALL ACTIONS                               NAMED PLAINTIFF DATA




                                                                          0049
      Case 3:18-md-02843-VC Document 813 Filed 01/18/22 Page 56 of 3430




I, Karandeep Anand, declare:

       1.       Iam Vice President, Business Products at Defendant Facebook, Inc. (hereinafter

"Facebook"). Imake this declaration on my own knowledge, and Iwould testify to the matters

stated herein under oath if called upon to do so.

       2.       In my role as Vice President, Business Products, Iam familiar with how

Facebook shares or makes data available to third parties, including application developers and

partners. Iam also generally familiar with how Facebook's platform operates, how data about

particular users can be accessed, and how that data is shared with third parties.

       3.       Facebook makes individualized data about Facebook users available to third

parties—including app developers and partners—through application programming interfaces

("APIs"). These APIs pull data exclusively from Facebook's Social Graph.

       4.       Facebook uses the term the "Social Graph" to describe the complex web of

peoples, places, things, actions, and connections on the Facebook platform. The Facebook

product that users see is powered by aseries of databases that work in tandem to provide

Facebook users aseamless experience. As Facebook users navigate through Facebook and

interact with it—including, for example, by commenting on posts made by other users, watching

videos, posting photos, and sending messages—the users create new relationships and

connections between themselves and the content they are able to see.' This web of people,

places, things, actions, and connections is referred to as the "Social Graph." The activities auser

takes on the Facebook Platform, including posting pictures to their profiles, liking photos, and




                                                                  Iam generally aware that several databases
   collectively store the information that underlies the Social Graph and the names of these databases, but Iam not
   knowledgeable about the technical details and functions of each underlying database.




                                                                                                                      0050
      Case 3:18-md-02843-VC Document 813 Filed 01/18/22 Page 57 of 3430




commenting on friends' timelines, and certain activities auser takes off of the Facebook

Platform, are reflected in the Social Graph.

       5.       APIs are astandard industry programming tool and they allow applications to

access data and features of other applications, services, or operating systems. APIs can provide

access to adefined set of User Data (e.g., auser's name or Facebook ID) or other information the

developer is authorized to access, (e.g., photos auser has shared with the developer).

       6.       APIs Facebook has made available to third parties—including app developers and

partners—that allow access to user-identifiable information query the Social Graph only. This

was also true during the period from 2007 to present and is true of all of the APIs identified in

Facebook's response to Plaintiffs' Fourth Set of Interrogatories. Users' privacy settings and the

permission they specifically grant the applications they access or download control what non-

public data third parties are able to access about them, as described in Facebook's Data Policy.

       7.       Facebook also maintains adata warehouse called Hive, which is separate from the

Social Graph.




                                                 Facebook does not provide any APIs that allow

third parties to retrieve data from Hive and third parties are not able to access Hive directly.




       Ideclare under penalty of perjury that the foregoing is true and correct. Executed on

October 28, 2021 at Seattle, Washington.



        gamedeF /limed

       Karandeep Anand


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                                                                                                    0051
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                     EXHIBIT F




                                                                    0052
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       FACEBOOK OPPOSITION
                     EXHIBIT R




                                                                    0053
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                                                              Pages    1 - 53


                       UNITED   STATES       DISTRICT              COURT


                     NORTHERN DISTRICT                OF    CALIFORNIA



Before    The   Honorable   Jacqueline           S.    Corley,       Magistrate            Judge



IN RE:     FACEBOOK,   INC.    CONSUMER          )
PRIVACY USER      PROFILE   LITIGATION.)               NO.    18-MD-02843             VC    (JSC)



                                      San    Francisco,             California
                                  Wednesday,                December       9,    2020


                 TRANSCRIPT OF    ZOOM WEBINAR PROCEEDINGS



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(APPEARANCES      CONTINUED    ON THE       FOLLOWING PAGE)




Reported By:                  Marla    F.    Knox,          RPR,    CRR,    RMR
                              United    States             Official    Court          Reporter




                                                                                                        0054
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 1   APPEARANCES VIA ZOOM:      (CONT ,D)


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        Case 3:18-md-02843-VC Document 813 Filed 01/18/22 Page 62 of 3430                                       3




 1   Wednesday      - December       9,    2020                                              10:00       a.m.


 2                                   PROCEEDINGS


 3                                               ---000---


 4                 THE CLERK:        Court       is   now in     session.           The Honorable


 5   Jacqueline         Scott    Corley    is presiding.


 6          Calling civil          action 18-md-2843,                In Re:       Facebook       Inc.


 7          Go ahead and start.


 8                 THE COURT:        All    right.        Good morning,             everyone.           You


 9   don't have         to make your appearances.                    And thank you          for your


10   status update.


11          Let's       just go through and talk through the                            things    and    see


12   where we      are at       and what we       can do.


13          So    the    first    issue    is    search terms          for the          5 through       8


14   group.       And    I'm not    sure    if    there    is    anything to discuss                here.


15   I think the         Plaintiffs       said they were hopeful                   the parties          could


16   work out      the    schedule,       and    I don't believe             Facebook said


17   anything about         it.


18          So,    Ms.    Weaver,    or whoever         from the           Plaintiff wants          to


19   address      that.     Is    there    anything to discuss?


20                 MS.    WEAVER:     Not       from our perspective,                   Your Honor.


21                 MS.    DAVIS:     No.


22                 THE COURT:        Okay.        Great.        We will          just    knock that


23   off.


24          Now,    the    second thing was            RFPs     14    to    17,    Plaintiffs'          RFPs.


25          And Facebook seemed to                suggest       that       the    search terms had




                                                                                                                0056
           Case 3:18-md-02843-VC Document 813 Filed 01/18/22 Page 63 of 3430                                              4




 1   been agreed to             for those,          but       Plaintiffs       seem to          suggest      that


 2   they had not.              So    I don't       know where we are with that.


 3                 MS.     WEAVER:           Mr.    Ko will          address    that.


 4                 MR.     KO:        This    is    David Ko on behalf                of    Plaintiffs.


 5           So    really the          reason why we                identified that             issue      in our


 6   statement       --    two reasons             --    I mean,          I think this          is    likely


 7   coming at       a head such that we will brief                            this    to you shortly.


 8           To answer your question,                         the    reason why these RFPs                 are not


 9   actually covered by the                   --       or this       dispute,    more          specifically,


10   is not       covered by the RFPs                   and the       search strings             is    that we


11   are    seeking a targeted search and a certain                               --       and a specific


12   group of materials                that    we believe             Facebook should produce


13   pursuant       to a targeted search.


14           And that          is    separate       from the          documents       that       they may


15   potentially produce                that       are,       you know,       possibly responsive                   to


16   these RFPs.


17           And just          to add some          color to          that,    you know,             the   search


18   strings       that we          agreed to       --       and,    quite    frankly,          that you


19   ordered in Discovery Order Number                               8,    I believe       --    there     are


20   actually only one                search string that                  specifically relates                 to


21   these    --    that       solely relates                to    these RFPs.


22           And so       --    and in this next                   round of    negotiations,               I think


23   there are       only about          three          or    four    strings    that       the parties             are


24   actually negotiating                such that                these   strings may produce


25   potentially relevant                information.




                                                                                                                          0057
          Case 3:18-md-02843-VC Document 813 Filed 01/18/22 Page 64 of 3430                                           5




 1             So what we          are asking          for       is    something different            than   I


 2   think what         Facebook          is    saying.           We    are    just    saying:       Look,


 3   there are         these       five    categories             of    information that            are


 4   responsive         to    these RFPs;             and we believe                that    they can produce


 5   this      information pursuant                   to    targeted searches.


 6             And that       is,    again,         distinct           from any of          the   search string


 7   negotiations.


 8                   THE COURT:            Why is          it    distinct?


 9                   MR.     KO:    Well,           this has          a pretty long and tortured


10   history.          We have been going back and forth with Facebook on


11   this      since    January.


12             Actually,       we    engaged in an extensive                         letter writing


13   campaign from February to April;                                 and we have gone back and


14   forth with them.


15             And they said clearly that:                             A,    this    information      is


16   actually irrelevant.                      B,    that       they don't have any responsive


17   documents         anyways.           And C,       even       if    they did,          that   they would be


18   highly confidential                  and protected.


19             So,   you know,        we       found that             hard to believe because              these


20   by   --    just    to provide             some    context,             these RFPs       seek documents


21   related to how Facebook values,                              quantifies          and monetizes        the


22   user content            information at                issue       in this       case.


23             And they said:              Look,       we       don't       have    anything responsive          to


24   those      requests.


25             We    found that hard to believe;                            right.     I mean,      they are     a




                                                                                                                      0058
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 1   company       --   this    is    a company that               last year alone generated


 2   $70    billion in revenue,                 you know,          98   percent          of   which came          from


 3   third parties.


 4           So    they said         --   we    said    let's       try to provide               some


 5   clarification          so here        are    --    so    this      dispute matured to a point


 6   where we       said:       Here      are    five    specific            categories          that   we


 7   believe will be            responsive         to    this       request.


 8           Can you please               run targeted searches                    on them?          And they


 9   said no.


10           And they said:               Why don't we             do   --   why don't we go with


11   the    search      string negotiations                  and    see      if we       can actually come


12   up with some         documents            that may potentially be                        responsive         to


13   the    requests.


14           And we gave         that      a shot.           And we       thought         that maybe         that


15   they would run targeted searches                          in connection with that


16   negotiation process,                 but what       has become            evident          is   that    they


17   do not want         to.    And so          I think,       you know,            at    this point         --


18                  THE COURT:            Well,    did you propose                  them as part            of    the


19   search string          submission?


20                 MR.    KO:        We proposed one               string      --    two       strings,      excuse


21   me,    that    relates      solely to         1417.           But,      remember,         we had a


22   finite number of            strings we            could negotiate and propose.


23           And so we         took those         somewhat          off      the    table,       right,


24   because       there were other              strings       that we were negotiating that


25   we believe were            responsive         to other discovery requests because




                                                                                                                         0059
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 1   we didn't       have          --    in the normal             course we would say:                    Look,


 2   here    are,    you know,                10    or    15    strings       that    could have been


 3   responsive          to    these          requests.


 4           And they said                --       well,       you know,       we only could propose                 a


 5   few to,       Your Honor.                 Obviously we            ended up proposing only 29                        or


 6   27    for you to          rule on.              And so       that    --    that       is    one    response     to


 7   your question.


 8           The    other response


 9                  THE COURT:                 I guess          I don't       really understand.               I


10   mean,    the    limit was                there       to    require       to prioritize.              It wasn't


11   so    that you could                --    that       is    just   sort     of    a different matter.


12           I mean,          it    seems          like    the nub of          it    --    from what       I


13   understand          --    is       Facebook          says    they don't          really have what you


14   are    looking       for,          and you          say that      they do.


15           And maybe what you need to do                               is    take       that    30(b) (6),       and


16   you will       identify it;                   and then they will have                      to produce     it,       as


17   opposed to          in a way you are kind of                         shooting          in the dark.


18                  MR.       KO:       Well,        that's       one way of          doing       it,   but    I


19   think    --    two       responses             to    that.


20           One,    the documents                   that will be produced here                         are not


21   pursuant       --    are       really not             the    type    of    documents          that will be


22   produced pursuant                   to    custodial          searches.


23           These       are       financial             documents       that       relate       to,    for example,


24   marketing and business                         brands,       financial          documents          that


25   underlie       their          10Ks       and    10Qs.




                                                                                                                              0060
          Case 3:18-md-02843-VC Document 813 Filed 01/18/22 Page 67 of 3430                                           8




 1             So    these    aren't         --    you know,          it's not,          you know,       Carl


 2   Laufenberg,           let's    find all             her documents             that    talk about       this.


 3   It   is    actually a non-custodial                        search in the             relevant


 4   department         where we pull               that material.


 5             And    I think      --    it       identifies          --


 6                   THE COURT:              What would it be?                 What would it be?


 7                   MS.     WEAVER:          Your Honor,             let me give an example


 8   because         I think we do want                  the    e-mails.           But    accounting


 9   documents         where    Facebook            is    assessing the value of                   the    data


10   that      its getting,         we know that,                for example,             in their


11   accounting documents                    it    will    be    there.        And that       is    a targeted


12   search.         And those documents                   aren't          targeted by the          search


13   terms.


14             The    search terms            right       now are          only being applied to a


15   selected number of                 --


16                   THE COURT:              I understand that.                    For e-mails          and things


17   like      that,    it wouldn't               be an accounting document.                       So    that    --


18                   MS.     WEAVER:          Exactly.


19                   THE COURT:              --    I understand.


20                   MS.     KUTSCHER CLARK:                   Your Honor          --


21                   MS.     WEAVER:          --    take       the    30(b)(6),          I think that       is    a


22   good      idea.       Apologies.


23                   THE COURT:              Yeah.        Was    that Ms           Kutscher?


24                   MS.     KUTSCHER CLARK:                   Yes,    Your Honor,          thank you.


25             The    issue we are            having here             is    that    the RFPs       at    issue




                                                                                                                      0061
        Case 3:18-md-02843-VC Document 813 Filed 01/18/22 Page 68 of 3430                       9




 1   seek valuation documents about very particular types of

 2   valuations.

 3          They are asking about documents how Facebook values

 4   individual pieces of user data;                   how Facebook values the named

 5   Plaintiffs'        data.

 6          What we have been telling Plaintiffs                    --    and we have

 7   investigated this extensively --                    is   that Facebook simply

 8   doesn't value         information that way.              So to the best of our

 9   knowledge there wouldn't be responsive materials.

10          The other issue here             is   that    the RFPs ask for documents

11   sufficient         to show this       type of      information.

12          So we are running the             search strings because typically

13   when you don't         think there are documents about                 something

14   specific and you are asking for documents                      specific    --

15   sufficient         to show that       information,       you run search strings.

16   So you figure out          if    they are there.

17          And that's what we are trying to do;                    run the search

18   strings.       Figure out        if   there are any documents           that    show the

19   extensive valuation.              We don't        think there are.

20          From our perspective,             we think the        first    step here    is to

21   run the search strings.                See   if    they return anything seeking

22   the type of         information Plaintiffs are seeking,                 and then we can

23   take   it    from there.

24          The other issue we are having is that after Plaintiffs

25   sought      that    type of     information,        they did send us the         letter




                                                                                                0062
           Case 3:18-md-02843-VC Document 813 Filed 01/18/22 Page 69 of 3430                                         10




 1   that Mr.       Ko    is    describing.              And the       letter asks       for these very


 2   five very broad categories                      of    documents.           It    asks    for


 3   Facebook's marketing plans,                         Facebook's business plans.


 4           And Plaintiffs                now seem to be             taking the position that


 5   Facebook       should produce             all       documents       responsive          to their


 6   letter,       so all       of    its marketing plans,                all    of    its business


 7   plans,       even if       they don't          show the          type of    information sought


 8   in the RFPs.


 9           So one       of    the    issues       that    the parties          started discussing


10   yesterday          is:     Is    Facebook required to produce documents


11   responsive          to    the RFPs       or    is    Facebook required to produce


12   information responsive                   to    this    letter that          really strays pretty


13   far    from what          the RFPs       ask    for?


14                  THE COURT:             Well,     this       is what       I would say:          What you


15   are    required to produce                is    --    obviously the valuation of                    this


16   data    is    at    issue.        That    is    relevant          to a claim in the            case.


17           And so what you need to do                         is    figure out       how you get


18   there.        There must be             something.              And it may not          be   it's   at    the


19   micro    level       that       the    Plaintiffs were wondering.                       So maybe     it    is


20   a more macro             level.       Maybe     it    is    simply:        How much money does


21   Facebook make             in a year,          in a month,          in a week,       in a day from


22   selling this             information;          right?           That's   one way of          evaluating


23   it.


24           Now,       maybe    that's not precisely called for by the RFP.                                    So


25   what?




                                                                                                                      0063
          Case 3:18-md-02843-VC Document 813 Filed 01/18/22 Page 70 of 3430                                                11




 1           What       the RFP calls             for    --    you know what          they want;           right?


 2   And so the          RFPs       are kind of          like    a starting point.               And now


 3   have    a discussion and try to narrow it                               and get    out what           it    is


 4   they are       trying to do.


 5           I don't          think you would dispute                      that    any financial


 6   document       --       like    the       financial       documents          are going to be one


 7   way of valuing                it.     Maybe not          every marketing plan,


 8   obviously          --    obviously.              Facebook must          have    a million marketing


 9   plans.        But       specific marketing plans.                       And you have        a


10   discussion.


11           So    the RFPs          are       a starting point.              I wouldn't get           too


12   caught up          in that.           We    all    agree    that      how Facebook values                  this


13   data,    some way,             is    relevant.           And so       let's    figure out        a way of


14   getting those.                 That's       what    I would          say on that.


15                  MR.       LOESER:           Your Honor,          if    I may just very briefly                    --


16                  MS.       STEIN:           Your Honor,       I think the          fundamental


17   disconnect          is    that       Facebook doesn't                sell user data,        so    Facebook


18   doesn't value user data                      in the way that             Plaintiffs would like


19   it   to exist.


20           It    just       --    it    is    not    something that             is part   of   Facebook's


21   business model.                 So    I think we have been talking past                          each


22   other.


23           And we are happy to meet                         and confer with them to                 see       if


24   there    is    something else                that    Facebook does value,               but      it


25   doesn't       --    because          it    doesn't       sell    user    information and user




                                                                                                                            0064
           Case 3:18-md-02843-VC Document 813 Filed 01/18/22 Page 71 of 3430                                             12




 1   data,    it's       literally just             not       something that goes                into their


 2   valuations.


 3                  THE COURT:           Or they trade                it    or whatever          it    is.       Or


 4   maybe as Ms.          Weaver       said,       the       30(b) (6)      --    did we       lose            oh,


 5   no,    there    she    is.     She       just moved on me.


 6                   S.    WEAVER:           We    just moved.              You moved too,


 7   Your Honor.


 8                  THE COURT:           Did       I?        I don't       know.        Apparently we have


 9   a new thing of          Zoom that you can move                         the    screens,          but    that


10   doesn't       seem to be working.                       Anyway    --    and    figure       it    out.


11           But    I guess       I would say is                that       I hear what you are


12   saying,       Ms.    Stein.        So    that's what you should be                         discussing.


13   Like,    there       is going to be                some way       --    it    has    some value,


14   somehow or another because                         of    (inaudible)          --    and for       some


15   purpose,       whatever       it    is.        And then,          you know,          if    --    it    is not


16   going to be a line             item,          obviously,          that puts          a value          on   it.


17           And so       that    just       sort       of    should be what             the discussions


18   should be       about.        I can          see    that    is    going to be             different         from


19   search terms.           If    it    is       coming       from financial             documents,            that


20   is    something different.                   Okay.


21                  MR.    LOESER:           Sorry to          interrupt.           I guess,          just      by way


22   of making       it    clear and so             that we       all understand what you are


23   saying,       there    is    search          strings;       and that          will    get       certain


24   information,          e-mail,       other things.


25           And then there             is    all       this    other       information that                is not




                                                                                                                          0065
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 1   even    --   it    is    not   even possible              that       it would be unearthed by


 2   those    search strings.                That       is    the    targeted search information.


 3           That      is what we will be meeting and conferring and


 4   negotiating more with Facebook.                               I mean,          it hasn't been going


 5   on a long,         long time.


 6           I am very happy to hear you describe                                    the process where,


 7   you know,         we    start with RFPs                and then we             engage       in these very


 8   lengthy and substantive                  conversations                   about how to clarify


 9   them,    and that's what               the    letters          often have             to do with.


10           So   I do       think that       that process                that you described                  is what


11   has    happened here,            and    I think          it    is    important             that we   continue


12   to utilize         that process          so       that    requests             can be       clarified         in


13   letters      and so on.


14                  THE COURT:         And narrowed.                     Always       narrowed.


15                  MR.      LOESER:        Or narrowed.                 Or    if    they are         really


16   unclear      --    as    Facebook often claims                      they are          --    then whether           it


17   is narrowed or just made more                           clear,       one way or another                  it


18   becomes      evident what          it    is we          are    searching             for.


19                  THE COURT:          Yeah.           I always          like       to    say is      sort    of


20   when    --   obviously not             in a bigger complex                      --    but when       I have


21   disputes,         I will       say to one          side:        What       is    it    that you want?


22   Just    describe         to me    --    not       --    when    somebody starts                  reading to


23   me    their document           requests,           I stop       them.           No.        No.   Just     tell


24   me    in plain English what                  is    it    that you want.                    And then have


25   the    other      side    respond.           Do you have             that       or what do you have;




                                                                                                                              0066
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 1   right?        That's what     it      should be.


 2           I do want     to go back,            though,       to the            what     is   little A


 3   in the    Plaintiffs'       statement,             the    search terms          and the


 4   schedule,       because    the     final proposals               are due December            24th.


 5           And were you able             to work       something out with that                  or   --


 6                 MS.   KUTSCHER CLARK:                We    are    --


 7                 MS.   WEAVER:        We   are    still negotiating that,                     I believe.


 8   Go ahead,       Martie.     My apologies.


 9                 MS.   KUTSCHER CLARK:                No,    no,    no.        I was    just going to


10   say the parties met           and conferred about                     it   yesterday,      and we


11   are working through some proposals.


12           One    thing the parties             have       started discussing             is whether


13   there    should be     a little bit            of       a detente          around the holidays


14   this    year.


15                  THE COURT:        Oh,    that's          exactly what          I wanted to do.           I


16   actually wanted to          impose          one.


17                                                (Laughter)


18                  THE COURT:        I did it          in one of my other cases                  in Juul


19   over Thanksgiving.            I forbid the parties                     from communicating


20   with each other        from Thursday,               Friday,          Saturday and Sunday.


21   And    I would like       to do       the    same       thing    in here.


22                 MR.   LOESER:        Just      like       the Battle of          the   Bulge,


23   Your Honor.


24                 MS.   WEAVER:        That's      right.           That's       exactly right.


25                  THE COURT:        So     I will      let you          figure out what         it   is;




                                                                                                                  0067
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 1   but    you need,       I would say,          five business             days.        That would be


 2   my proposal.           Really the          case will move along;                go along.           Five


 3   business      days,     no communications between the                         two    sides    for


 4   those    five    days    in a row and you                figure out what             they are.


 5           So   important.         So    important.           So    important          especially       --    I


 6   mean,    you know,       people       are not       going to be          --    I mean,       it's    a


 7   stressful       time    right       now.     It    is    a stressful          time,    and we all


 8   need a break and to be                able    to    just    chill       and focus       on the most


 9   important       things    --    this       case    is    important       --    but    the most


10   important       things.        So    I would       like you to agree                to a five-day


11   detente.        It   can be     longer       if you want but             at    least    five days.


12                 MS.    WEAVER:         Agreed.


13                 MR.    MONTGOMERY:            Your Honor,          can you       impose no


14   communication within our                   firm as well?


15                 THE COURT:            Mr.    Montgomery,          yeah    --


16                                                (Laughter)


17                 MS.    KUTSCHER CLARK:               The    challenges.


18                 MS.    STEIN:         I do    rely on opposing counsel                   for Netflix


19   recommendations          so    --


20                                                (Laughter)


21                 MS.    WEAVER:         We    can make       an exception.


22                 THE COURT:            The Queens          Gambit,    have you guys watched


23   that?        I finished that          last night.


24                 MR.    LOESER:         Excellent.           That    is          a very good


25   recommendation,          if you haven't             seen    it,    which we have now




                                                                                                                     0068
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 1   enjoyed is       Ted Lasso.


 2               THE COURT:           Ted Lasso,         okay.        I don't       know that       one.


 3               MR.    LOESER:        Your Honor,            this might be             testing the


 4   limits    of your judicial             authority;         but    if    you could turn off


 5   social media       for    five    days      --


 6               THE COURT:           For the         entire    country?


 7               MS.    WEAVER:        Yes.


 8                                               (Laughter)


 9               THE COURT:           Perhaps.


10               MS.    KUTSCHER CLARK:                I think our client would be


11   opposed to       that.


12               MS.    WEAVER:        Yes,      we understand the difficult position


13   you are    in.


14                                               (Laughter)


15               THE COURT:           All    right.       So,    Mr.       Montgomery,          I will


16   strongly recommend that                --   internally as well                to    the    extent   it


17   can be done       --   and really,          you know,       no    judges       should be


18   imposing deadlines          for whatever between Christmas                           and New


19   Year's;    right.        So you       should be      able       to check out          for that


20   time.


21           Okay.     Great.


22               MS.    WEAVER:        Just      to be    clear,       it    was    in our proposal


23   to end it       on December 24th.                So we    are    fine with the


24   moratorium.


25               THE COURT:           It    sounds      like    everyone       is       which    is good.




                                                                                                               0069
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 1   Okay.

 2                  MS.   WEAVER:   Yep.

 3                  THE COURT:      So the next   issue    is the named Plaintiffs'

 4   data.        And here    I actually am kind of confused because Facebook

 5   suggested that          there may not be any data other than what they

 6   have already produced.           And then I don't understand why         (video

 7   freeze interruption.)

 8                  MS.   KUTSCHER CLARK:      Right,   Your Honor.

 9           So,    as we noted in our submission,          we learned for the

10   first time       in Plaintiffs'       sur-reply brief on the named

11   Plaintiffs'          data that what    they are really seeking is only data

12   about the named Plaintiffs             that was    shared with third parties.

13           And for us       seeing that    in the    sur-reply brief was a really

14   big aha moment because we had spent                literally hundreds of hours

15   meeting and conferring about data that                is never shared outside

16   of   Facebook.

17           So now that we understand what             they are really seeking is

18   the type of data that           is actually shared or made accessible to

19   third parties,          we have been taking a much closer look at what

20   would be responsive to that.             And as we currently understand,

21   what has been produced really does                cover that universe.

22           But we obviously want          to be a hundred percent    sure that

23   that    is    correct,    and we are talking about       a 13-year period,    so

24   it   is a very long time.

25           So we have been conducting a very careful             investigation




                                                                                         0070
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 1   within the company to be a hundred percent                   sure that the

 2   materials produced to date reflect            the    full     scope of any data

 3   that    could have been shared or made accessible to third parties

 4   about the named Plaintiffs          since 2007.

 5           And if we do come across anything additional,                we will

 6   obviously report that          to Plaintiffs and discuss a production

 7   format with them,        but   to date we have not       come across anything

 8   that has not been produced already that could have even

 9   potentially been shared with third parties.

10                 MR.   LOESER:    Your Honor,   if   I may,      I think there will

11   probably be multiple comments          in response to that          statement.

12   That makes no sense to us at all.

13           First of all,     the question of     their brief,        which they

14   quote in their statement,          talks about      information,     in fact,

15   shared.       And what our brief     said in our reply was          information

16   shared or made accessible.

17           And we were very careful       to use that       language,    "made

18   accessible,"        because Facebook has     said for a long time that            it

19   doesn't keep records of what          it actually shares,          which seemed

20   hard to believe to us.

21           But    in order to avoid a semantic game,            we also included

22   the reference to        "made accessible"     because whether it was

23   shared,       whether they have records of        it,   if    it was put   in a

24   place or utilized in a way where third parties had access to

25   it,    that    substantially expands    the universe of potential




                                                                                             0071
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 1   information.

 2           Also,    as,    Your Honor    --

 3               THE COURT:        That's what       I heard Facebook just           say.

 4   They agree.

 5               MS.    KUTSCHER CLARK:           Yeah.

 6               THE COURT:        It    is made accessible,          not   just   shared.

 7               MS.    KUTSCHER CLARK:           Yes.

 8               MR.    LOESER:     Then,       perhaps,       we need some clarification

 9   on what    they interpret          "made accessible"          to mean because     it

10   doesn't mean the same thing as actually shared.

11           And so if we could hear clearly from Facebook that they

12   agree with that,          that would be helpful.

13           Second,    the nature of       the    information that         Facebook was

14   ordered to produce is          such that       it    is    impossible to believe

15   that    there    isn't    information that exists.

16           We are talking about entirely distinct categories of

17   information from what          they have produced.              They have produced

18   the    information that users post.                 As Your Honor well knows,

19   what    they didn't produce was all the                   information collected

20   from --    off platform activities and inferred from and about on

21   and off platform activity.

22           And it    is,    frankly,    just    impossible       for us   to believe that

23   while the universe of potential discoverable                      information was

24   expanded threefold,          actually,       there    isn't    anything that     fits

25   those categories,          categories which were derived from our review




                                                                                               0072
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 1   of    Facebook's production to                      see what     else do they do and what


 2   else    do    they do with it.


 3           So    it    just    --    it    just       seems baffling to me             that    after all


 4   of    this    fighting and all                their effort           to keep us      from getting


 5   this    information,             they are now coming back and claiming                            it


 6   doesn't       really exist.


 7                  MS.    KUTSCHER CLARK:                 Your Honor        --


 8                  MS.    STEIN:           So,    Your Honor,        respectfully,         we    are not


 9   doing anything to prevent                      Plaintiffs        from getting         information.


10           We    spent months             dealing with Plaintiffs                 taking the


11   position that          even if          the    data was        in a black box that was


12   inaccessible          to anyone,             that    they would want           to know what was


13   in that black box.                 So    they did a complete                 180   in their


14   sur-reply brief.


15           Leaving that             aside,       we    are   trying to      figure out whether


16   there    is    anything else             to be produced.               The    inferences         that


17   Mr.    Loeser just mentioned                   --    Facebook does           not   share or make


18   accessible          inferences with third parties,                       period,      full       stop.


19           Those       inferences          are    the way that           Facebook has         its


20   business model.              It    uses       those       inferences     to run      its business.


21   It    does    not    sell    those       inferences.            It   doesn't       share    those


22   inferences.           It    does       not make       them accessible.


23           That       is why companies                come   to   Facebook and ask Facebook to


24   help with targeted advertising because we,                                   Facebook,      will not


25   share    those       inferences          with anyone.            That    would destroy




                                                                                                               0073
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 1   Facebook's business model.


 2                  MS.    WEAVER:        So,    if    I may,    we have       received no


 3   production of          data Facebook receives                   from third parties.


 4           We have       received no          inferred data.              And this    is   the


 5   semantic game          that    Facebook has played since                      the beginning that


 6   analysts       and governments have                challenged.


 7           Facebook says:              We do not       sell your data.             And     it may be


 8   true    that    they don't put             it    in a box and hand the data over the


 9   way you do a widget.                 They do       sell    inferences.


10           And what we need to know is                      how our clients were             targeted


11   based on the          amalgamation and analysis                   of    all    the data    that


12   Facebook       is pulling          from everywhere.              So we want       the    inferred


13   data.


14           I want       to know if       I have been targeted as                  a 50-year-old


15   woman in Oakland as having a higher                         insurance          risk or a


16   different       financial          risk.


17           That    is    how Facebook makes             its money,          and they have


18   refused to be          transparent          about    this       all    around the world.            But


19   we are       in this       lawsuit.        They keep       telling us          they don't


20   make    --    and this       ties back to          the    revenue       argument.


21           Let    us    see how they make             their money.           Maybe they are


22   right.        But    all we have been doing                is    fighting with the


23   lawyers.        It    is    time    for evidence.


24           We would love a 30(b)(6).                    We would          love   documents.       We


25   would love          data.     All we have been getting right                      now is      sitting




                                                                                                                0074
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 1   in Facebook Zoom meet-and-confers                          and positions.             And we are


 2   ready for the         evidence.


 3                 MS.    KUTSCHER CLARK:                Your Honor,          I have    two quick


 4   responses.


 5                 MR.    KO:     Your Honor            --


 6                 THE COURT:           Let's      let Ms.       Kutscher go.


 7                 MR.    KO:     Okay,      Martie.


 8                 THE COURT:          We    can't       hear you       --    at   least    I can't hear


 9   her.


10                 MS.    KUTSCHER CLARK:                Can you hear me now?                I'm


11   speaking more         loudly.          Okay.


12           First   of    all,    this      case       is not    about       targeted advertising.


13   Judge    Chhabria      said very clearly in his Motion To Dismiss                                  order


14   that    the   case    is not       about      targeted advertising.                   Plaintiffs


15   conceded that         the    case      is    not    about    targeted advertising              in the


16   briefing on this            issue.


17           In terms      of    the    inferences,            the off-Facebook activity,                 it


18   is not    correct      that       none of      that       information has         been produced.


19           The   information we produced previously includes                                thousands


20   and thousands         of pages         of users         off-platform activity.                It    also


21   includes massive            lists      of user's          interests       that    Facebook has


22   derived from their activity on and off                             the platform.


23           During the briefing Plaintiffs were                             asking    for more of


24   that    information.          They were            asking    for    information the


25   Plaintiffs      are not       able      to    see       themselves       that    Facebook might




                                                                                                                 0075
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 1   have    in those       categories.


 2           What    we have been doing                is    trying to       find out            and we


 3   have    conducted extensive,                extensive          investigations          at   Facebook


 4   to understand whether there                      is    any additional          information         in


 5   any of    those       categories          that    could have potentially been made


 6   available       to a third party in any way,                         shape or      form.


 7           And the       answer we are             repeatedly getting             is no.       What    has


 8   been produced represents                   the universe of what                could have been


 9   made    available          in any way to a third party.


10           But,    again,       we are       continuing          to conduct       this


11   investigation because we want                         to be    a hundred percent            sure,       and


12   that    is what we          are working on.              But,      in the meantime,          we have


13   not    come    across       any type       of    information that            is    ever made


14   accessible;          has    ever been made             accessible       that      is outside what


15   has    already been produced.


16                  MS.   WEAVER:         Your Honor,             we view this         as   them trying


17   to    re-litigate          an order that you already issued                        in Discovery


18   Order Number          9.


19           The    scope of       the    case       is whether private             information sent


20   in voice       --    let's    say Facebook Messenger was used and


21   amalgamated with our                information to             target    the      Plaintiffs       and


22   either    --


23                  THE COURT:           No,    no,    no,    no.       I don't     think so.       I


24   don't    think       so;    right.        This    is    --    this   came    from Cambridge


25   Analytica and that             they had access                to   information.




                                                                                                                    0076
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 1                MS.    WEAVER:       Right.


 2                 THE COURT:         Right.


 3                MS.    WEAVER:       Right.       And they used          it     to    --    they


 4   targeted lazy liberals             to    stay home          and not vote          in the


 5   election.         This   is    exactly Cambridge Analytica.                       They drew


 6   inferences        about people         and crafted messages             to    them to get


 7   them to      stay home.


 8           Or   it   recently came out            that       3.5   million African Americans


 9   were    targeted with message             to    influence         their voting behavior.


10   This    is   squarely within Cambridge Analytica,                       and this          is


11   exactly the        case.


12           So people need to understand how they are being                                  --


13                 THE COURT:        What     did you mean            in your     sur-reply by


14   "shared"?         I guess      that's    the    question.


15                MS.    WEAVER:       Or reasonable made               accessible.            Yeah,      I


16   mean,    that's     --   the    issue    is    --


17                 THE COURT:        What     is    --    to    the point,      what     does       "made


18   accessible"        mean?


19                MS.    WEAVER:       Right.        So    I --      I'm Cambridge Analytica,


20   and    I want     information so that               I can target      individuals who                I


21   think will        respond to my messaging                  in an election.              And our


22   nine named Plaintiffs,             many of          them feel      they were        targeted         in


23   this way.


24           So Facebook ran          its    algorithm based on all                of    the       data


25   that    it had,     and it      didn't    separate          the private       and the




                                                                                                                0077
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 1   public      --    at    least       Facebook has          never even taken that position


 2   in this      case       --    and said:           Here    are    the people.


 3          So    they are          targeting,          and we want             to    see    --


 4                    THE COURT:              Have    they provided the named                      --    the names


 5   of   those people?


 6                    MS.    WEAVER:           No.     They just          allowed the messages                  to go


 7   through to         them,       so they are          targeted.


 8                    THE COURT:              So   Cambridge Analytica didn't                       have    that


 9   information then?


10                    MS.    WEAVER:           Cambridge Analytica also got data but


11   also   targeted them.                    It's both.


12                    THE COURT:              Okay.     And so       it    is    the data that


13   Cambridge Analytica                  then got?


14                    MS.    WEAVER:           That's    a piece          of    it,    and it       is    also how


15   they are         targeted going               forward.


16          What       we    don't       know is what          the business partners                      and   --


17   that   is    a separate             --    Cambridge Analytica got                      it    through an


18   app,   through Kogan's                   app.


19          But       what    is    also going on             is   the data           sharing       --    which the


20   business partners                  and the white          listed apps             --    and we       are not


21   getting the data that                     they have       on the          Plaintiffs.              We don't


22   have   one       shred of          data.        All we have          is    this,       you know,       the


23   actual platform activity.


24          So we need             --    what we would really                   like    is       to take    some


25   evidence         on this,          Your Honor,       because          --




                                                                                                                         0078
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 1                  THE COURT:         You mean the           30(b)(6)?


 2                  MS.   WEAVER:        That would be great.


 3                  THE COURT:         Well,        I think that       is probably where we


 4   are    at now.        I think      --


 5                  MS.   WEAVER:        That would be great.


 6                  THE COURT:          I think there          is    this    disconnect,        right,


 7   or disbelief          --   I guess       I should say more             than disconnect           --    as


 8   to how Facebook operates.                      And so we       just    need somebody under


 9   oath saying:           No,   this       is how    it    operates.


10                  MR.   KO:     Your Honor,          just    one    last       thing on this        --


11   not    to belabor the point               --    I wish    I could       share my screen


12   right now.           I'm looking at            Facebook's       data use policy right now


13   in the    section that            says    "information that we                share."


14           And    included      in that       category are          sharing with third-party


15   partners,       and that      includes partners who use Analytica


16   services,       measurement partners,                  partners       offering goods           and


17   services       in our products,            advertisers,          vendors       and service


18   providers,          researchers         and academics,          law enforcement           or


19   pursuant       to    legal   request.


20           So they,       by their own admission                  in public       and pursuant           to


21   their data use policy,                  talk about       the    information that           they


22   share    --


23                  MS.   WEAVER:        Share.


24                  MR.   KO:     --   with third parties.                  So    I know Ms.        Stein


25   said    full    stop,      they don't          share    anything.           That's   --




                                                                                                                  0079
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 1                     THE COURT:        No,    no,   no,    that's not what             she    said.


 2   What    she       said is       they produced what            they shared,          not    that    they


 3   don't       share anything.


 4                     MS.    WEAVER:     But    that's not         --


 5                     MS.    STEIN:     I said that we            don't       share    inferences.


 6                     MS.    WEAVER:     All we had was            a subset         of user's


 7   platform activity.                 I'm sorry,         Deb.


 8                     MS.    STEIN:     I said we don't            share       inferences.         That      is


 9   what    I said.


10                     MS.    KUTSCHER CLARK:          Your Honor,             I think a big piece


11   of what       is    getting       lost    here   is    third parties             frequently draw


12   their own          inferences,       and that might            have been what             happened       in


13   Cambridge Analytica.                 We know that            happens       in other       settings.


14           So Facebook shares various                     categories          of    information,       and


15   third parties might use                   that   information             in different ways.


16   They might          combine       that    with   information they have.                   We   don't


17   have visibility into that.


18           But       once    the    information is         shared,          third parties might


19   use    it    to    form their own conclusions;                     but    that's not


20   information we would have.


21                     MS.    WEAVER:     But we don't            even have          the data that


22   Cambridge Analytica got;                   right?


23                     THE COURT:        I don't      know.        Is    that    true?


24                     MS.    KUTSCHER CLARK:          I believe you do because


25   Cambridge Analytica only received data                              that    Kogan was       able    to




                                                                                                                    0080
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 1   access       through his       app and what          --


 2                  MS.   WEAVER:        Can you        identify to us by Bates number


 3   which documents          those      are because           I don't believe we have                    that.


 4                  MS.   KUTSCHER CLARK:               That's not          the way the materials


 5   have been produced.


 6           What    we have produced is                the universe of             data that         could


 7   have been made          accessible          to    third parties.


 8           We    did not produce nor was                there       a request       specifically


 9   for    information requested by Kogan.


10                  MR.    LOESER:        So,    Your Honor,          just    --    this    is   an


11   interesting discussion,                and I think Your Honor has                      rightly


12   identified that          the parties,             frankly,       are    just    --    these      are


13   lawyers       talking about          things       that    --   we need evidence.                 A


14   30(b)(6)       is    an excellent          idea.


15           We    just    don't believe how             --    their description of what                    is


16   or    is not    shared or made accessible.                      We need to put              somebody


17   under oath and have                them testify about             that.


18           The    documents       that we have          seen       in their production that


19   describe       their practices             talk about          sharing;       talk about


20   absorbing off-platform activity;                         talk about          sharing    inferences.


21           The ADI       investigation where                they sent       their own


22   questionnaires          out    to apps       asked the         apps     to    identify any


23   information that was               obtained        from Facebook and             inferences


24   drawn from it.


25           And so       there    is   a huge        disconnect between what we                   think      is




                                                                                                                    0081
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 1   going on and the way they are                         describing.           The    real virtue of


 2   someone under oath testifying                         is    that we       can get    through the


 3   semantics       and just          figure    out       really what          happened.        So    I do


 4   think that you are                right;    that       it    is    time    to do    that.


 5           Facebook can read your order.                             They know what       they are


 6   supposed to do.              I assume       they are going to go out                   and comply


 7   in good faith with that                   order.           And the    sure    test    to whether


 8   that    happens       or not       is   when we get              somebody under oath and they


 9   testify about what                exists    and what             doesn't    exist.


10                  THE COURT:           Why shouldn't we do that?


11                  MS.    KUTSCHER CLARK:                 Your Honor,          I would respectfully


12   request    that before we move                   into a deposition,                that we have          the


13   opportunity to complete                   our    investigation because we are


14   working through that                right       now because,          again,       we want       to make


15   sure    that    what we understand is                      correct.


16           And obviously to                even prepare             a 30(b)(6)       deponent,      we


17   would need to             complete       that    sort       of    investigation.        And       I think


18   it    is going to          take    some more          time.


19           Again,       we    are    talking about             a 13-year period,          and data was


20   shared in different ways with different                               source of       third parties


21   over that period.                 And this       is    a pretty large historical


22   exercise       to    look    into.


23                  THE COURT:           Right.        But       I don't       know why we       can't     --   I


24   mean,    you are          doing that       --    but       get    something on calendar and


25   the    Plaintiffs          can draw up          their questions,             right,    because        that




                                                                                                                     0082
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 1   is going to         take      some while,             no doubt          --


 2                                                    (Laughter)


 3                 THE COURT:             --       to negotiate.                 And this       isn't


 4   everything.            This    is    just,       like,          let's       just    figure    it    out.


 5   Like,    this     is    a big       --    this       is    another big             issue    in the       case.


 6   We have      this      disconnect.


 7           Let's     just       figure out:              How do          they use       this data?           How is


 8   it    shared?       What      do they mean by                   "made accessible?"


 9           Maybe you        limit       it       to a time period,                so you don't need to


10   complete      the whole         thing;          right.           I mean,       the    time period that


11   we are most         interested            in    --    or at          least    the    first    one    --    is


12   the    Cambridge Analytica.                     That       is    how the whole             case got       here.


13           So what you do              is    start with a limited time period,                               and


14   that    would probably              --


15                MS.       WEAVER:           We    could do that,                Your Honor,       2012       to


16   2016    or 2017.


17                 THE COURT:             Much easier to prepare your witness                                  on.


18   You can then           focus your             investigation on that.                       We are    just


19   going to      take      it    in chunks,             I guess,          in a way.


20           Let's     do    that because             I think we are                --    yeah,    I keep


21   hearing arguments.                  Let's       get       --    let's get          a witness       in there.


22           So what        I would like you to do                         is:     Plaintiffs,          you    should


23   work on that           notice.           It    is not          an everything,          all,    whatever.


24   This    is   --   let's       just       figure       out       --


25                MS.       WEAVER:           Targeted.




                                                                                                                         0083
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 1               THE COURT:          Targeted disagreement,                     limited period of


 2   time.


 3               MS.   WEAVER:        We propose maybe Thursday,                        January 14th,


 4   or Friday,     January 15th,           for the      data,          30(b)(6)    and    --


 5               THE COURT:          I don't      want       to    talk to you guys             --    I


 6   don't want     to do     that    right      now.        You guys       do that.


 7               MS.   WEAVER:        Okay.       We will work             it    out.


 8               MS.   STEIN:        I also      really       --    respectfully to


 9   Ms.    Weaver's point        of getting       something on calendar                   --    we need


10   to know what      the    topics      are.     We need to agree on the notice


11   and the    subject      --


12               THE COURT:          I agree with that.                   I was    thinking early


13   February especially since we                 have       that       five days       in there.


14               MS.   WEAVER:        Fine.


15               THE COURT:          You need to give               them notice          first.


16               MS.   WEAVER:        Fine.       We will          do    that.


17               MR.   LOESER:        I think we         should maybe have a schedule


18   for when the notice           should be       completed or else                I can       see   this


19   dragging out      forever.


20               THE COURT:          So   that's up          to you.        What would you            like


21   your deadline      to be?


22               MR.   LOESER:        Why don't         we    take,       folks,    seven days


23   enough to draft         our notice?


24               MS.   WEAVER:        Yes.


25               THE COURT:          And,    perhaps,         Facebook can respond within




                                                                                                              0084
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 1   seven days       with adjustments                  if    this     falls    on New Year's          Eve,


 2   which it probably does.                      So maybe        add a few more             days    there.


 3   But    I think that's plenty of                     time     to negotiate             this   targeted


 4   notice.


 5                  MS.    KUTSCHER CLARK:                   Your Honor,        I'm just          looking at


 6   the    calendar quickly.                If    Plaintiff           took    seven days         to give     the


 7   notice,    that means            Facebook would have                    to respond over the


 8   holidays       even    if we had two weeks                   to    respond.


 9                  THE COURT:             So extend that.


10                  MS.    KUTSCHER CLARK:                   So   I think we would need until                  at


11   least    early January,               probably the           second week          in January,       to


12   respond if       we    are not         going to          interfere with people's


13   holidays.


14                  MS.    WEAVER:          So maybe          January 11th,           Martie?


15                  THE COURT:             That's what            I was going to            suggest.


16   January 11th.


17                  MS.    KUTSCHER CLARK:                   So we would get           the notice on the


18   16th?


19                  THE COURT:             By the       16th.


20                  MS.    KUTSCHER CLARK:                   And respond by the              11th?


21                  THE COURT:             Yeah.


22                  MR.    KO:    Well,       why don't we              --    maybe    I'm speaking out


23   of    turn on my side            --    but why don't we give ourselves                          a little


24   more    time    to put      together the notice                    then    if    --   you know,     one


25   week    from today,         we    could       --    I'm thinking maybe                 Friday,    the




                                                                                                                     0085
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 1   Monday after that?


 2                  MR.    LOESER:           Why don't we       take       ten days,     and then          it


 3   balances       out    a little bit.              That's    fine.


 4                  THE COURT:           Well,       let's    see.     So    if you gave        it    to


 5   them by the          18th.


 6                  MR.    KO:     The       18th.


 7                  THE COURT:           Right.        Then we have          two weeks     of    the


 8   holidays.        One week          is    going to be       a non-working week,              and


 9   there are       five days          in there.


10           Does    the    11th still work             for    that with Facebook or how


11   about until          the    13th?


12                  MS.    KUTSCHER CLARK:              Yeah.


13                  THE COURT:           This       is your    initial       response,     right,          your


14   initial       response.        So       I think the       11th.        That gives you the


15   entire week of             the 4th.


16                  MS.    KUTSCHER CLARK:              Okay.        I think      it   would be


17   helpful       to have       a little bit          of    guidance on the           scope    of    this


18   and what       the    topics would be,             which would hopefully help to


19   limit    the number of             disputes       that might          arise.


20           As we understand,                the    topics    should be         limited to the


21   sharing or accessibility of user data during the                                   2012    to 2016


22   time period;          is    that    right?


23                  THE COURT:           Yeah.        The    topic    is    --   we went   through


24   this    long motion on this production and the off-platform and


25   what    was    covered by Judge                Chhabria.        Issued the        order.        And now




                                                                                                                   0086
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 1   it    is    like we          already produced everything,                        whatever.              It    is    to


 2   figure out             that       question.        It    is    to    figure out            that      question.


 3                        MS.    WEAVER:        We would view it               as what          is    responsive             to


 4   Discovery Order Number                      9,   Your Honor.              That       is how we would


 5   frame       --


 6                        THE COURT:           That's       that    order;      right?


 7                        MS.    WEAVER:        Exactly.


 8                        MR.    KO:     The    three       categories         they identified,                   Judge


 9   Corley          --


10                        THE COURT:           Discovery Order Number                     9,    perfect.


11                        MS.    WEAVER:        Exactly.


12                        THE COURT:           Limited to discovery                  --


13                        MS.    KUTSCHER CLARK:              Could       I just      ask a clarifying


14   question because                   I think the parties                have had a little bit                        of    a


15   disconnect             here.


16              We    read Discovery Order Number                         9,   particularly in                light          of


17   Plaintiffs'                briefing,       to    relate       only to data that was                     shared or


18   otherwise made                accessible,          as Mr.       Loeser puts               it,    to third


19   parties          and is not generally about                         all   of    the data             in those


20   categories             that       Facebook has          ever collected.                   It    is   about what


21   was    shared.


22                        THE COURT:           This    is    a 30(b)(6)         to    figure out what


23   Facebook does.                    So now no doubt             the    deponent will               talk about


24   information that                   they collect but             don't      share;          right.


25              And then we will                talk about whether that                        is    responsive or




                                                                                                                                   0087
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 1   not.     This    is    so the         Plaintiffs             can    figure out       this       is what


 2   Facebook does.


 3           This    is    to   sort       of   to verify the              representation that yes,


 4   we    collect    this      information             --    inferential             data,    but    it    is not


 5   made    accessible         to third parties.


 6           So    they would have              to     talk about          it;      right?      They would


 7   have    to    talk about         that.          And     if    it    is not made          accessible,


 8   then what       do    they do with it?


 9                  MR.    LOESER:          Your Honor,             we    really need a


10   clarification because                  I think          it    does    avoid another huge


11   semantic game          over what           "made        accessible"            means.


12           And so       I think that            is    the       right way to go.              I think that


13   will    allow us       to understand what                     is    the   information and what


14   did you do with            it.        That's       --


15                  THE COURT:             Okay.       All        right.       So     the next       topic was


16   the privacy settings                  data.        I don't          know what       to do       --    to    say


17   about    that.


18                  MS.    WEAVER:          Your Honor,             Leslie Weaver on behalf                      of


19   the    Plaintiffs.


20           So we    --    this      is    the      issue.         What has been produced to us


21   is not       the way the data exists                     on the platform.                And so when


22   there    is    a post,      normally            I can restrict              it    to my friends Deb


23   and Martie,          and you can           see     that.


24           And they have asked us                     to    identify what,             you know,          we


25   contend is       really at            the heart          of    the    case,       which to us          is what




                                                                                                                        0088
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 1   was    intended for restricted audiences.


 2           And we       can't    do   that     in the      format      that    they produced             it.


 3   This    is    again the       Facebook platform activity.                        They produced             it


 4   without       consulting us          as    to    format,      and we      just    need to get          --


 5   we    just    need that       information.             It    is   obviously at          the heart          of


 6   the    case.


 7           We    are    doing the best             that we      can to respond to               their


 8   interrogatories with our own                      information.            Like,    we    can see


 9   Facebook Messenger messages                     are    restricted,         so we have


10   identified those;             and we are          talking extensively with the named


11   Plaintiffs.           They have been doing a lot                    of    work,    but we       can't


12   identify the posts             right      now because we            can't       see how they were


13   restricted.           It's    that    simple.


14                  THE COURT:          I guess        one question           I have    for Facebook,


15   I thought       one potential             argument you had was              that    the


16   Plaintiffs          did not    restrict          their data.            You know,       so    it wasn't


17   private       data.     Is    that    right?


18                  MS.    KUTSCHER CLARK:              Your Honor,           that might be          true of


19   certain data.           The bigger          issue      for us      is    that    Plaintiffs          are


20   suing Facebook alleging that                      Facebook shared their,


21   quote-unquote,          sensitive          information.


22           And we have asked them to                     tell us what         information they


23   think    is    sensitive.


24           They have       told us       they can't            do that unless we produce                  a


25   version of          their accounts          that      shows next         to each item on their




                                                                                                                      0089
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 1   account what          the privacy setting was.


 2           We have       looked into             this       extensively,            and Facebook


 3   accounts       are not made             for production                in litigation and simply


 4   can't be produced             in that          format.


 5           As    I understand,             to produce             a Facebook account              in the


 6   format       Plaintiffs       are       asking       for       it,   we would actually need to


 7   have    engineers write new code.


 8           To    locate    the privacy settings                         for   individual         items       on an


 9   account,       someone actually has                      to manually click on every single


10   item and follow a link which will                               then display the privacy


11   setting.        It    is not metadata.                    It    is not      something that               can


12   just    be    displayed next             to    the       item.


13           Plaintiffs          have       access       to    their accounts,              and they are


14   able    to do       that.     They can          log       into       their accounts.            They can


15   look at       the posts       they are          concerned about.                   They can         look at


16   any    information on their account                            they are      concerned about.


17   Click the       link and see what                   the privacy setting                 is.


18           What    they want          is    for one          of us      or    for    someone at         Facebook


19   to    click through every single                         item on their account                 --    and


20   there are hundreds                of    thousands          of pages,        many of which might


21   have    20,    30    items    on them          --    and then          follow the        link.


22   Screen-shot          the pages          and produce             them back to           them.


23           Again,       this    is    something Plaintiffs                     can do.       We have


24   suggested that          there might be                   a way to make            it   easier       if


25   Plaintiffs          would look at             their accounts               and tell      us what




                                                                                                                        0090
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 1   information they are concerned about.

 2           The accounts        include all        sorts of   stuff.     They include

 3   restaurant      reviews,       newspaper articles,         cartoons,    stuff that       is

 4   not    conceivably sensitive.

 5           If   they would tell us what             information they think is

 6   sensitive      --    and this was one of their interrogatories               --    we

 7   could maybe take this            limited list or a more targeted list of

 8   posts and pull         it   for them,     and we would be willing to do that.

 9           But what doesn't make            sense    is   to have Facebook have an

10   engineer or someone else click through hundreds and hundreds of

11   thousands of pages of every single thing on the named

12   Plaintiffs'         profiles    to then follow links to the privacy

13   settlings when presumably Plaintiffs have a sense of what they

14   thought was         sensitive when they alleged that Facebook shared

15   their sensitive         information.

16                MS.    WEAVER:      I can respond to this,            Your Honor.

17                THE COURT:         Yes.

18                  S.   WEAVER:      We have       identified categories.       What    it

19   seems Facebook wants us            to do and what their interrogatories

20   asked was us         to identify by Bates number in what               they produced

21   what    is   sensitive by actual          --   each post.

22           So we have begun the process of going through that,                       but

23   here    is   the disconnect:           They produced a snapshot         in time of

24   Facebook activity.             They want us now to go to evidence            --    you

25   know,    the Facebook        -- users have not produced their own




                                                                                                    0091
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 1   Facebook platform to                     Facebook because               Facebook has                it.


 2             I don't          know how we would produce                        it    to Facebook.              I can


 3   go with a Plaintiff                  and look right               now at          a post       and find what


 4   is   restricted there post-by-post.                               And,       of    course,          this would


 5   be millions               or,    perhaps,      billions          of posts.              But    that's       fine.


 6   This      case       is    a lot    of work.


 7             But    that privacy restriction today may not                                       be    the    same


 8   privacy restriction that                        is    in the      snapshot          in time          that    they


 9   produced.


10             So we have given them examples.                              And        I don't          even know how


11   to get      that          into evidence because                  that privacy restriction that


12   they are         looking at          online hasn't been produced at                                 all.     This


13   is   --    this       is    the    conundrum.


14             We have given them examples,                           examples          of    health and


15   medical         information,             private          information about               families.


16             They will             depose    these people.                These people will                   explain


17   what      they thought was private.                         And we will             do whatever work


18   Your Honor tells us                  to do,          and we      are    engaging          in this          subset


19   of   a subset             review right         now to honor that.


20             But    at       the    end of    the day,          that      is    not going to be                the


21   basis      of    our claims.              That       is   not    the    evidence we are going to


22   present         at    trial,       and it's          convoluted.


23             I would just             say:        Let's wait until                  they    --    we    can see


24   everything.                And the       other thing            is,    this       response will             also be


25   informed once we get                     all    the       data on the nine named Plaintiffs




                                                                                                                            0092
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 1   in Discovery Order Number                     9.


 2           We have given them interim responses but                                       it will          change.


 3   Once    these       Plaintiffs understand everything that                                    Facebook has


 4   collected about               them,    their responses                to these questions                      are


 5   going to          look very different.


 6                     MR.    LOESER:       Your Honor          --


 7                     MS.    STEIN:       May    I respond to that,                      Your Honor?


 8                     THE COURT:          Yes.        Go ahead,          Ms.    Stein.


 9                     MS.    STEIN:       So    respectfully,             you know,             Plaintiffs have


10   discovery obligations                  too.        Facebook has been working                            its    tail


11   off.     We have provided almost                     500 pages             in    interrogatory


12   responses.              We   are    reviewing millions                of    documents here.


13           When we          originally served RFPs,                     you may recall                   Plaintiff


14   said:        We    don't want         to do       this    as    RFPs.           Serve


15   interrogatories.


16           We    served interrogatories.                      We gave          them lots             of    extra


17   time.        We    literally got            one page of          substantive                responses back


18   to our       interrogatories.                What we       are       asking about                is


19   information about                  Plaintiffs'       allegations.                    What    is       the


20   sensitive          information?


21           Plaintiffs            have    all    of    this    at    their          --    in    --    in their


22   possession,             custody and control.                   They know in their heads                         --


23   we   can't        figure out what            they thought was                   sensitive;             what    they


24   alleged to be was                  sensitive.        That       is    exclusively in Plaintiffs


25   custody and control.




                                                                                                                            0093
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 1          And what we need to know here                             --    and what    Plaintiffs have


 2   an obligation to do                --    is    to    sort       through their       information,


 3   tell   us what was           sensitive.              They didn't want             to do this by


 4   producing.              We produced everything                   for them that       was    in their


 5   accounts.


 6           They now want us                to click through news                articles,       other


 7   things       that       they are posting and provide                      every privacy setting.


 8   We are not          asking about          the privacy setting.                    That's not what


 9   we asked.


10          We asked what was                 the    sensitive             information,    and


11   Plaintiffs          said:        We don't       know what was             sensitive.        It   depends


12   on whether          it was marked private.                       That's    not    true.     What was


13   sensitive would be a subset                         of    it.


14          Not        everything that             is marked private             is    sensitive.


15   People       repost       other people's posts.                       They put up    restaurant


16   reviews,          newspaper articles.                    That may be       all marked private,


17   but    that's       not    the    sensitive          information that matters                here.


18           It    is    critically          important          that       Plaintiffs    do their


19   obligation          in discovery and not                   keep pushing everything onto


20   Facebook to do.


21                     MR.    LOESER:        Your Honor,             just very briefly,          I think


22   again,       we    are    just    kind of       having a practical problem;                      and a


23   30(b)(6)          may be helpful          here       as well.


24           The practical problem is                         Facebook maintains          data.       They


25   have    a platform for users                   to post          things,    and they produced a




                                                                                                                 0094
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 1   bunch of       information but          not    in the       format    in which         it   is     kept.


 2          The practical problem is:                  Is    it possible          for them to


 3   produce    the       information    in the       format       in which it         is    kept       as   a


 4   result    of    which the       Plaintiffs       can easily respond to their


 5   discovery requests.


 6                  THE COURT:        Well,    can    I just       ask you       first,      though,


 7   why do the       Plaintiffs       need    --    I mean,       if    the answer to the


 8   interrogatory is          anything that was marked private or was


 9   restricted in          some way    is    sensitive,          then say that.


10                  MS.   WEAVER:      We have,       Your Honor.


11                  MS.   LAUFENBERG:         Your Honor          --


12                  MS.   WEAVER:      Go ahead,       Carl.


13                  THE COURT:        Then that's          one    answer.        And then another


14   answer    is    --   and then you go           through what          the person


15   identified,          regardless    of what       the privacy settings                  are;      right.


16         Now,      it may turn out          that you       identified something as


17   sensitive;       but you didn't          --    your client         didn't     use      any privacy


18   setting.        Okay.


19                  MS.   WEAVER:      Here    is    the problem          --   yeah,     here      is    the


20   problem with that          --    I mean,       we will       do whatever you order.


21   And   if you want us        to do       that with this             subset    of   information,


22   which,    by the way,       is    not    everything they have                ever posted.


23                  THE COURT:        I understand.              You can only do            it   on what


24   has   been produced.            I understand.


25                  MS.   WEAVER:      Here    is    the    issue:        I am an      individual.




                                                                                                                  0095
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 1   These are humans             in the middle                of    a pandemic with jobs,                  and we


 2   are    asking them to go back and look through every post                                             they


 3   ever made       on Facebook.              And we          are going to have                 to ask them to


 4   do    that   again which we will                    do.        That    is what         this   case     is


 5   demanding.


 6           I can't       remember what             I posted in 2007                  or 2009.       And when


 7   I look at       the post,          I can't          remember          if    it   was private          to me


 8   then or not.           If    I looked and                saw that          I only shared         it with


 9   Can,     I would know oh,                that       is    sensitive.             But    they would be


10   guessing to          say    --    and we have given them examples of


11   categories.           Like       I said,       medical          information,           we     can give       them


12   categorical          examples.


13           And for these             Plaintiffs             --    for some of          them it      is


14   political       stuff.           Some    of    it    is       not.     They have         different


15   comfort      zones with what              they shared.                 We       can go back and view


16   this,    but    --


17                  THE COURT:           Are       the    examples          tethered to the            specific


18   posts?


19                  MS.   WEAVER:            Yes.        And we       can       --


20                  THE COURT:           Ms.       Stein       is    shaking her head no.


21                  MS.   WEAVER:            So we have given them categories                              of


22   messages,       and we have             told them we will give                      them examples            and


23   we    are amending          further.


24                  THE COURT:           So    that's what you need to do.


25                  MS.   WEAVER:            Okay.




                                                                                                                          0096
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 1                  THE COURT:         You need to             --    like    if you are          --    you


 2   can't      just    say medical         and health information.                       What    does       that


 3   mean?


 4                  MS.   WEAVER:       Fine.           We   can     find examples.


 5                  THE COURT:         Give       them an example;             right?


 6                  MS.   WEAVER:       Yes.


 7                  THE COURT:         If    it    is    the    fact    that       I visited this             or,


 8   you know,         shared with my friend this website                           about    this          drug;


 9   right.       I mean,      that    is    different;             right.


10           So you need to tether                 it    to examples.              And they just need


11   to answer to the           extent       they can.              That's   all     it    is,    is       to the


12   extent      they can do,         based on what             they have now.


13           What      you have    said      is you can't             figure out what             the


14   privacy setting was              in 2007.           Well,       then,    Facebook can't                demand


15   that you base your answer based on that                                if you don't          know what


16   it   is.


17                  MS.   WEAVER:       Right.           Okay.


18                  MS.   STEIN:      And,        Your Honor


19                  MS.   WEAVER:       Thank you,             Your Honor.           We will          do    that.


20                  MS.   STEIN:      We have never taken the position that


21   their answer         should be         tethered to privacy settings.                             What we


22   have    asked      is what    Plaintiffs            in their allegations                considered


23   to be      sensitive     and to        identify the posts.


24           Now,      back   in 2007       you couldn't             click    --    you couldn't


25   individually identify individual posts by privacy setting.                                                It




                                                                                                                      0097
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 1   was more       --    more of          a default       for how you posted generally.


 2   There weren't             individual          options when you posted something.


 3           So,    you know,          respectfully having                Plaintiffs             just    say:


 4   Anything we marked private was                         also      sensitive,           I,    frankly,


 5   don't    think       is       a good-faith answer               to an interrogatory


 6   response.           It    is    just    saying everything             --    if    everything was


 7   marked private                in 2007,       '08,    '09   and so on,        that          includes,       you


 8   know,    public          information that             they were posting or reposting


 9   someone else's public post                      and it      happened to be marked


10   private,       that       doesn't make          it    sensitive.


11           And    I think that             Plaintiffs         have more of           an obligation to


12   do an investigation in responding to                              interrogatories              just       the


13   way Facebook did;                right.


14           I mean,          Facebook when we            drafted our 500-page                    response,          we


15   spent hundreds,                if not       thousands      of    hours,     you know,          working on


16   those    responses             and conducting          investigations.


17           Now,       maybe we did too much.                   And     if we did too much,                   then,


18   you know,          shame on us;             and we will         know that going              forward.


19   But,    you know,             I do think that          Plaintiffs          have an obligation to


20   tell    us what          is    sensitive       and not       just    say:        It    was under our


21   privacy setting;                ergo    it was       sensitive.


22                  THE COURT:              It   would obviously have                 to be more


23   specific.           Look,       they are going to amend their responses.                                   They


24   will    be    as    robust       as    they can.           I don't    think you can expect


25   them to       identify every single                  one     that    is    on there,          but    it




                                                                                                                           0098
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 1   should be pretty robust,                         right,    and tethered to actual posts;


 2   right.


 3           Like political posts,                      that    is what          Cambridge Analytica               is


 4   about,       sensitive       information.                 Here    is    examples            of posts      that     I


 5   never expected would be made                            accessible          to   third parties.


 6                  MS.    LAUFENBERG:                 Can    I offer       --    this      is    Carl


 7   Laufenberg on behalf                   of       Plaintiffs.        Can       I offer one additional


 8   informative          overlay,          which is:           The way that             this         information


 9   has    been produced,             it       is    completely uncontextual.


10           So,    in other words,                  you get     information by category.                        And


11   so what we          see    are a long             laundry list          of posts            that    our


12   clients made,             but you don't             see what       they are made                  in response


13   to.


14           So,    again,       that       is making our             jobs very difficult                  here.


15   We    are being       incredibly diligent.                       We have produced hundreds                       of


16   pages    in response             to    these       interrogatories.                 We      are    continuing


17   to work.           We will       amend.


18           We    can only work with what we have been given,                                          and what we


19   have been given             is    incredibly limited and makes                              it    a tortuous


20   task    for our clients.


21           So we need to have                      contextual       information             in order to


22   assess       the    sensitive          --       whether this       is       sensitive            information.


23                  MS.    WEAVER:              We    are not    sure       that      the     responses        will


24   be    accurate because                --    and that puts us                in an impossible


25   situation.           It    is not          that we       are not willing to do the work.




                                                                                                                             0099
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 1   It    is    that    we    don't    know how to get             the answers             right.


 2                     MS.    STEIN:        Yeah.     We would certainly be open,                         if


 3   Plaintiffs          wanted to,          you know,       reprint       something,             you know,          if


 4   they don't          like    the    format.


 5              And,    by the way,          we    reproduced their accounts                      in response


 6   to    requests          that we provide          things       in a different             format.           We


 7   already went             through that          exercise       once.     But       if    it    is    easier


 8   for    Plaintiffs          to print          things    out,    you know,          from their own


 9   account          and do    it    that    way,    we    are    totally open to Plaintiffs


10   using       it    that way instead of pointing to documents                                  that    have


11   already been produced by us.


12                     MS.    WEAVER:        Maybe we       can make       some progress,                Deb.


13   Can    I ask this:              Does    Facebook maintain the                limited audience


14   information on the nine                      Plaintiffs'       posts    and activity?                 And       if


15   so,    can you produce             that       to us?


16                     MS.    KUTSCHER CLARK:              The    only way to do             it    is    to go to


17   the    live website and on the                   live website          click each             individual


18   post       and follow a link to                see    the    setting.


19              And that's what             we have been trying to convey.                          The only


20   other way we             could even produce             the    account       information             --


21   I believe we have discussed this previously                                  --    is    to produce


22   back to you guys                a live       link of    the    Facebook accounts which is


23   what       your clients          already have.


24                     MS.    WEAVER:        So how did Facebook             --


25                     MS.    KUTSCHER CLARK:              And none of       that would be Bates




                                                                                                                           0100
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 1   numbered.


 2                 MS.     WEAVER:              Let me       just      ask    --


 3                  THE COURT:                 I'm going to have               to       stop you.       I have     to


 4   go at    11:00.           We have,             like,    two minutes.                So we    can't   do this.


 5   You guys       just       have       to    figure       this      out.        So    there    is   a couple        of


 6   others       things       --


 7                 MS.     WEAVER:              We will.


 8                  THE COURT:                 --    I want       to address.             On the additional


 9   custodians,          Mr.       Zuckerberg,             Ms.    Sandberg,            I think you       should


10   wait    until       all    the documents                are produced.                Those will be very


11   targeted once             --    so    I don't          see    any problem waiting                 for that.


12           On the voluntary dismissal                           of    the named Plaintiffs,                it    is


13   without prejudice;                   and they don't               have    to agree.          Well,     look,


14   it   happens        all    the       time       that    a judge will               deny class      cert based


15   on the adequacy of                   the named Plaintiff.


16           And    if    the Judge gives                   the named Plaintiff                  the opportunity


17   to put       forth a new named Plaintiff,                            then they have that


18   opportunity.              We are not             cutting that            off now.


19           It    is not       depriving Facebook of                        any discovery because                if


20   those people          are put up                later,       then they get            the    discovery as


21   to   those named Plaintiffs.


22                 MS.     STEIN:              Your Honor,          our      issue       in the


23   stipulation          --    and       I think,          frankly,         we worked through some of


24   this    with Plaintiffs yesterday.


25                  THE COURT:                 Okay.




                                                                                                                             0101
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 1                  MS.    STEIN:        We    --   we    are    fine       stipulating to          the


 2   dismissal       of    certain named Plaintiffs without prejudice                                    to


 3   their being          in the       class.       We    don't want          to waive any right                in


 4   there,    and    I think Plaintiffs                  said that          they are       fine;    that we


 5   don't need to.


 6           What    we were          struggling with            is    that we don't          --    if    any


 7   Plaintiff       wants          to drop,    that's         fine.        But    they need to          fish or


 8   cut bait       but    that       specific named Plaintiff because                        it's       --    you


 9   know,    otherwise             they should stay in case                  and,   you know,


10   proceed;       but    they are          supposed to be            representatives             here.


11                  THE COURT:           No,    no,      no,    I don't understand.                 I think


12   that's where          I disagree with you.


13           I think to get             through the burden arguments                        and all       that


14   and to make          --    they narrowed the               class       reps    they were putting


15   forward on the motion.


16           Should Judge             Chhabria deny the motion and                     should he give


17   them the opportunity                --    he may or may not.                  He may not        do       it.


18   It   is going to be up              to Judge         Chhabria          to put    forth different


19   class    reps;       right.        It    could be         these people.           It    could be


20   somebody else.                 I mean,    presumably the               ten they put up          they


21   think are       their ten best             anyway.


22           No.     I don't          think they have            to    --    I disagree with you.                    I


23   don't    think that's             the    case.


24                  MS.    STEIN:        Well,      Facebook wants                to preserve       its


25   objections       as       to    their being able            to    come back as named




                                                                                                                          0102
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 1   representatives.


 2                     THE   COURT:         Of       course.           You    can preserve                --   what     I'm


 3   saying       is    nobody has          to       give       away anything.                 You    can make          that


 4   argument.           What    I'm       saying          is    we    are    not    going          to hold          this    up


 5   so    that    they agree          with your                argument.           You       can preserve             your


 6   argument.           They can preserve                      their    argument.


 7                     MS.   WEAVER:            To be          clear,    a lot       of       these       Plaintiffs


 8   are    disappointed,             Deb.           I'm not          kidding.           They want             to be


 9   deposed by you.              So       --


10                     MS.   STEIN:         You know             --


11                     THE   COURT:         Well          --


12                     MS.   STEIN:         We       can       arrange       that,       Leslie.


13                     THE   COURT:         No,       no,       no,    Ms.    Weaver.


14                     MS.   WEAVER:            Yes.


15                     THE   COURT:         Right.              When we       get    to       our    sort       of    absent


16   class    member         discovery           --       I've    had    this       come       up    in a few


17   cases    --       they put       forth,          right,          because       the       Defendants             often


18   want    to    go beyond          the       named          Plaintiffs          and    take       a few       --    the


19   first    person         they point              to    is    --    they       say:        This    person was             a


20   named    Plaintiff.              It    is       not       too burdensome             on       them.        I'm    sure


21   Facebook would be                happy          to    depose       them.        So       --


22                     MS.   WEAVER:            My    co-Counsel             is    going       to be mad at             me.


23                     MR.   LOESER:            Your Honor,             in    the    ten       seconds          that    is


24   left,    I do       want    to    just          make       a point       that       is    something             that    has


25   been pervasive             which       is       a lot       of    arguments          we       have    heard       from




                                                                                                                                    0103
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 1   Facebook can be         addressed by our better understanding of                                 how


 2   data    is maintained.


 3           So,   for example,       this whole          issue of          how they produced the


 4   on-platform activity comes                  down to:        How does          Facebook maintain


 5   this    data and can they produce               it    in a way that             is    in a native


 6   format where we         can answer their questions                      easily by looking at


 7   the    data   instead of       this    sort    of weird treasure                hunt we have           to


 8   go on through live            Facebook pages          to    try and match up with


 9   their Bates productions?


10           I would suggest         that    of    the    30(b)(6)          topics    that      are


11   really critical         here    is    one    that    is    just    focused on how data                 is


12   maintained for these various                  subjects.           We    could avoid a lot              of


13   fighting      if we    just    had a better understanding of how the data


14   is maintained for these               different       areas       that we       keep arguing


15   about.


16                 THE COURT:        And we       tried getting experts                   together


17   months    ago,      months    ago.     If you want          to do       it,    put    it   in your


18   30(b)(6)      and we will       see    --


19                 MS.    STEIN:     Well    --


20                 MS.   WEAVER:      We    tried that,          Your Honor.


21                 MS.    STEIN:     We would       strenuously object                to that


22   because we went         through months          and months             of    informal      ESI


23   discussions.          We have been down this                road.           We have had all


24   these meet-and-confers.


25           The bottom line         is    Plaintiffs          just    don't believe us.               And




                                                                                                                  0104
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 1   we do all      of    this work as          counsel       to provide         this    information


 2   informally,         and they just          don't believe us.


 3                 MR.    LOESER:        Sometimes       it    is because our experts                are


 4   telling us      something very different.                       We    like you very much.


 5   It   is not    anything personal,               Deb.      It    is    just when our experts


 6   tell   us:     That    is    impossible         that     Facebook doesn't maintain


 7   this    in a way that         they can use          it    and easily access              it.


 8          We    just    need    --   it    is no offense           intended to anyone.              We


 9   just   need evidence.             (Inaudible)          can only go          so   far.


10                 MS.   WEAVER:         If you give us             the verifications           to the


11   interrogatories,            we will      know who at           least      is giving you the


12   information.          We    can just       depose      them,     but      we have got      to   start


13   taking evidence.


14                 THE COURT:          On the privilege              log,      can you submit        a


15   stipulation by the            18th that was            on the briefing,             on the ADI?


16                 MS.   WEAVER:         Yes.


17                 MR.    KO:     Yes,      Your Honor.


18                 THE COURT:          I know that was              Plaintiffs'         proposal,     so


19   I'm really asking Facebook.


20                 MS.    STEIN:       I think Martie           --


21                 MS.    KUTSCHER CLARK:             What     is    the question,           Your Honor,


22   about briefing?


23                 THE COURT:          The briefing schedule                   on the ADI


24   privilege.          By the    18th,      just    stipulate           to   the briefing


25   schedule.




                                                                                                              0105
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 1                  MS.    KUTSCHER CLARK:                 Your Honor,          I don't    think we will


 2   be    in a position to agree                   to a briefing schedule until we


 3   receive    Plaintiffs'          challenges             to    the privilege          log.    And this


 4   is    something we         discussed extensively previously;                          that we need


 5   to    see what       the    challenges          are.


 6           We are going to need to meet                         and confer with them about


 7   the    challenges          so that       we understand the                scope and nature of


 8   what    is being briefed before we                      set    a schedule on it.


 9                  THE COURT:           Okay.           I have    to go.        I have got       the    call.


10   So    sorry.     I'm out       of    time.           I can't       resolve    that.        When    is   our


11   next    conference,         January what?               It    is    not    going    to be    this


12   year.


13                                                  (Laughter)


14                  MR.    LOESER:        I'm guessing             it    is not    the    1st.


15                  THE COURT:           That       is    correct.


16                  MS.   WEAVER:         The       8th?


17                  THE COURT:           The    8th?


18                  MS.    STEIN:        If    we    can make       it    the    15th,    that would be


19   better on our end.


20                  THE COURT:           The    15th at          8:30.


21                  MS.   WEAVER:         Works          for us,    Your Honor.


22                  THE COURT:           Okay.           I will    see you       then.     I will       do the


23   best    I can after today.


24                  MR.    LOESER:        Thank you,             Your Honor.


25                         (Proceedings             adjourned at          11:04    a.m.)




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 1                                   ---00o---


 2


 3                         CERTIFICATE OF REPORTER


 4            We certify that the foregoing is a correct transcript

 5   from the record of proceedings        in the above-entitled matter.

 6


 7   DATE:   Thursday,   December    10,   2020


 8


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12                         Marla    F.   Knox,    RPR,   CRR
                              U.S.   Court   Reporter
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                      EXHIBIT G




                                                                     0108
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                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA
                             SAN FRANCISCO DIVISION



                                           MDL NO. 2843
IN RE: FACEBOOK, INC. CONSUMER
PRIVACY USER PROFILE LITIGATION,           CASE NO. 3:18-MD-02843-VC-JSC

                                           HON. VINCE CHHABRIA
This document relates to:                  COURTROOM 4— 17 TH FLOOR
                                           SPECIAL MASTER, DANIEL GARRIE, ESQ.
ALL ACTIONS
                                           ORDER RE: PLAINTIFFS' MOTION TO
                                           COMPEL PRODUCTION OF PLAINTIFF
                                           DATA




      ORDER RE: PLAINTIFFS' MOTION TO COMPEL PRODUCTION OF PLAINTIFF DATA

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                                        INTRODUCTION

         1.     Pending before Special Master Garrie is Plaintiffs' Motion to Compel Production

of Named Plaintiffs' Content and Information.

                                         BACKGROUND

         2.     On November 25, 2019, Plaintiffs' served Requests for Production Nos. 9-13,

which seek documents relating to the named Plaintiffs in this matter ("Named Plaintiffs"). 1 See

Exhibit A. In brief, Request No. 9seeks all documents relating to each of the Named Plaintiffs;

Request No. 10 seeks documents sufficient to show the categories of content and information

Facebook collects, tracks, and maintains about them; and Requests Nos. 11-13 seek documents

identifying third parties that were able to access information about the Named Plaintiffs. Id.

         3.     In response to Requests for Production Nos. 9-13, Facebook produced more than

one million pages of individual user data it maintained relating to the Named Plaintiffs, most of

which was obtained from the "Download Your Information" tool ("DYI Tool"). 2 The data

obtained from the DYI Tool is mostly limited to information pertaining to users' on platform

Facebook activity. $ee Exhibit B (List of DYI Tool Data Fields).

         4.     Statements by Facebook's counsel during an August 14, 2020 discovery hearing

indicated that Facebook maintained additional data related to the Named Plaintiffs that was not

produced. See Exhibit C (8/14/2020 Discovery Hearing Transcript) at 8:10-13 ("There is other —

there's Facebook-generated information, information generated by third parties, information




1There   were originally 30 named Plaintiffs, but this has been reduced to nine named Plaintiffs.

2 The DYI Tool is atool by which Facebook users can download certain pieces of information
related to the user's Facebook activity and related data. A list of the types of information that can
be downloaded via the DYI Tool is provided in Exhibit B.


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received from third parties. We have not represented that that is comprehensively included in our

production.").

        5.       Plaintiffs filed amotion last September to compel additional discovery related to

Requests for Production Nos. 9-13. See Exhibit D (9/28/2020 Motion to Compel). Plaintiffs

asked the Court to compel production of sensitive information Facebook derives and collects

from business partners, app developers, apps, and other sources. This request included "native,

appended and behavioral data" and purportedly anonymized data that could be connected to the

Named Plaintiffs. Id. at 7-11.

        6.       On October 8, 2020, Facebook responded to Plaintiffs' motion to compel. See

Exhibit E (Facebook Opposition to Plaintiffs' 9/28/2020 Motion to Compel). Facebook

contended that all information related to the Named Plaintiffs that they did not themselves share

on Facebook was outside the scope of the case; that all information not shared through one of the

four theories of the case was not within the scope of the case; that Plaintiffs were not entitled to

all data collected from third parties about the Named Plaintiffs; that the Stored Communications

Act and Video Protection Privacy Act claims did not require the production of additional data

Facebook had collected about the Named Plaintiffs; and that Facebook could not reasonably

collect any of the additional information Plaintiffs sought. Id. at 6-10.

        7.       On October 29, 2020, Judge Corley issued Discovery Order No. 9, ruling "that

discovery is not as limited as Facebook contends" and "the discoverable user data at issue

includes: [1] Data collected from auser's on-platform activity; [2] Data obtained from third

parties regarding auser's off-platform activities; and [3] Data inferred from auser's on or off-

platform activity." See Exhibit F(Discovery Order No. 9) at 2.




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        8.     In Discovery Order No. 11, Judge Corley provided further clarification on the

discoverable user data intended to be included under Discovery Order No. 9:

       It also contended that Plaintiffs conceded that user data not shared with or
       accessible to third parties is not relevant, (Dkt.No. 548 at 10), and because
       Facebook does not share inferred user data, the inferred user data Facebook
       maintains is not relevant. Facebook both collects and uses data about its users as
       part of its business model, including data derived from third parties. How it
       specifically uses this data is an open question, but if the Court were to accept
       Facebook's arguments about the scope of production, it would eliminate Discovery
       Order No. 9's third category of discovery: data inferred from auser's on or off-
       platform activity. What is needed now is more detail about Facebook's collection
       and use of user data so future discovery requests can be tailored to Plaintiffs' better
       understanding of the internal operations of Facebook as well the terminology it uses
       for describing data that is potentially responsive to Plaintiffs' discovery requests.
       See Exhibit G (Discovery Order No. 11) at 1.

        9.     Following Judge Corley's orders, Facebook did not produce additional documents

in response to Requests for Production Nos. 9-13.

        10.    On October 6, 2021, Special Master Garrie and Judge Andler declared impasse on

the issue of whether Facebook should be compelled to produce additional documents related to

the Named Plaintiffs pursuant to Discovery Order No. 9.

        11.    On October 18, 2021, Plaintiffs submitted their opening brief to Special Master

Garrie on this issue. See Exhibit H. Plaintiffs argue that (a) the court has already determined the

information Plaintiffs seek is relevant—whether or not Facebook claims that it has been shared;

(b) whether the Named Plaintiffs' information was shared is a contested question on which

Plaintiffs are entitled to evidence; (c) Facebook has failed to substantiate adisproportionate burden

in identifying the data it possesses relating to nine people; and (d) Plaintiffs have made proposals

to reduce the burden of production on Facebook. Id.

        12.    On October 28, 2021, Facebook submitted its Opposition to Plaintiffs' Motion to

Compel Production of Named Plaintiffs' Content and Information. See Exhibit I. Facebook argues,




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among other things, that (a) the scope of discovery is limited to information Facebook shared with

third parties; (b) Plaintiffs are judicially estopped from seeking information that was not shared;

and (c) the information Plaintiffs now seek is nonresponsive and otherwise unavailable. Id.

          13.   On November 2, 2021, Plaintiffs submitted their Reply in which they argue, among

other things, (a) Judge Corley's orders entitle Plaintiffs to the discovery they seek; (b) Plaintiffs

are entitled to probe Facebook's assertion that it has already produced all the content and

information it has shared or made accessible to third parties; (c) Plaintiffs are entitled to answers

to Interrogatories 16 and 17; and (d) the relief Plaintiffs are requesting is intended to lighten

Facebook's burden. See Exhibit J.

          14.   Facebook subsequently objected to Plaintiffs reply claiming that Plaintiffs

introduced new arguments and evidence for the first time, in violation of the Discovery Protocol.

See Exhibit K (Facebook's Response to Plaintiffs' Objection Regarding Named Plaintiffs' Data

Briefing) ("Plaintiffs sought new relief and introduced twelve new documents that Plaintiffs

suddenly claim show gaps in Facebook's productions.").

                                            FINDINGS

          15.   Special Master Garrie finds that Discovery Order No. 9does not limit the scope of

discoverable data related to the Named Plaintiffs to data that was shared with third parties, as

Facebook contends, because Judge Corley's ruling contains no language indicating such a

limitation: "Accordingly, the court rules the discoverable user data at issue includes: [1] Data

collected from auser's on-platform activity; [2] Data obtained from third parties regarding auser's

off-platform activities; and [3] Data inferred from auser's on or off-platform activity." See Exhibit

Fat 2.




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         16.    Moreover, Judge Corley clarified that Facebook's interpretation of Discovery

Order No. 9is not what Judge Corley intended: "How [Facebook] specifically uses this data is an

open question, but if the Court were to accept Facebook's arguments about the scope of production,

it would eliminate Discovery Order No. 9's third category of discovery: data inferred from auser's

on or off-platform activity." See Exhibit G at 1.

         17.    Special Master Garrie finds that Facebook appears to maintain data related to the

Named Plaintiffs that was not produced in response Requests for Production Nos. 9-13. See

Exhibit C at 8:10-13 ("There is other — there's Facebook-generated information, information

generated by third parties, information received from third parties. We have not represented that

that is comprehensively included in our production."). For example, documents produced by

Facebook indicate that Facebook collects data referred to as "Appended Data," including public

records, auto registration data, retail purchases, and credit card purchases, all of which fall into the

second category of data from Discovery Order No. 9. See Exhibit L (FB-CA-MDL-00213424).

However, Facebook has not produced this data as it is not available via the DYI Tool. See Exhibit

B. 3

         18.    Special Master Garrie finds that Plaintiffs requested new relief (answers to

Interrogatories 16-17) and introduced new evidence (exhibits C, D, E, F, H, I, and Jto Plaintiffs'

Reply) in their Reply brief in violation of the Discovery Protocol. Accordingly, Special Master

Garrie did not consider this request for new relief or the new evidence items in reaching the

findings herein.

I/




3 Facebook also appears to maintain data relating to the Named Plaintiffs' on-platform activity

that has not been provided, such as inferred interest and behavior data. See Exhibit L.


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                                              ORDER

         19.   No later than December 3, 2021, Facebook is to provide alist of data sources that

may contain information related to the Named Plaintiffs pursuant to Discovery Order No. 9. The

list of data sources is to include: (1) the name of the database or data log; (2) adescription of the

data source's purpose and function; and (3) adescription of the types of Named Plaintiff data

contained in the data source.

        20.    No later than December 10, 2021, the parties are to meet and confer and each

submit to Special Master Garrie aproposed protocol for the production of Named Plaintiffs' data

from the data sources identified by Facebook.




IT IS SO ORDERED.




Monday, November 29, 2021                              D_JL
                                                       Daniel Garrie
                                                       Discovery Special Master




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                      EXHIBIT H




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 5

 6    Plaintiffs' Co-Lead Counsel

 7    Additional counsel listed on signature page

 8
                               UNITED STATES DISTRICT COURT
 9                           NORTHERN DISTRICT OF CALIFORNIA
                                  SAN FRANCISCO DIVISION
10

11
      IN RE: FACEBOOK, INC. CONSUMER                 MDL No. 2843
12    PRIVACY USER PROFILE LITIGATION                Case No. 18-md-02843-VC-JSC

13                                                   REPLY IN SUPPORT OF PLAINTIFFS'
      This document relates to:                      MOTION TO COMPEL PRODUCTION OF
14                                                   NAMED PLAINTIFFS' CONTENT AND
      ALL ACTIONS                                    INFORMATION
15
                                                     Judge: Hon. Vince Chhabra
16                                                   Hon. Jacqueline Scott Corley
                                                     Special Master Daniel Garrie
17                                                   Courtroom: 4, 17th Floor

18                                                   JAMS Ref. No.: 1200058674

19                                                   ORAL ARGUMENT REQUESTED

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11             Interrogatories Numbers 16 and 17.                                                   9

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13   III.   CONCLUSION                                                                             10

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 1   I. INTRODUCTION

 2          Plaintiffs' argument in support of its to compel the production of Plaintiffs' data and

 3   information is straightforward. All user data that has been shared or made accessible to third

 4   parties, from whatever source collected or inferred, is relevant and discoverable. There is concrete

 5   and compelling evidence that Facebook has not produced all such data for the Named Plaintiffs.

 6   Plaintiffs are not required to accept Facebook's contrary assertion, since what has been shared or

 7   made accessible is adisputed merits issue that Plaintiffs are entitled to probe. And Facebook has

 8   consistently refused to provide any transparency into what Facebook collects about users and for

 9   what purpose, let alone what Facebook possesses about the Named Plaintiffs.

10          Facebook's response to this straightforward argument is part and parcel of its abusive

11   approach to discovery as awhole: deny, attack, and reverse the victim and the offender. Facebook

12   denies the plain language of Judge Corley's orders and that its production is incomplete, and

13   attacks Plaintiffs for having the temerity to seek the discovery they should have received ayear

14   ago. Instead, Facebook insists, Plaintiffs are the ones abusing the legal process, since (it says)

15   they are taking aposition contrary to the one they took in front of Judge Corley.

16          Facebook's attacks are unfounded and misleading. Plaintiffs have always sought, and

17   continue to seek, content and information that has been shared with or made accessible to third

18   parties. And they are not arguing that content and information is relevant if Facebook did not

19   share it with or make it accessible to third parties. They are simply arguing that Facebook has not

20   produced all of that relevant content and information, and that Facebook can't be the judge of

21   what it means to share content and information or make it accessible to third parties. Plaintiffs are

22   entitled to discover the information Judge Corley already has decided is relevant because the

23   information will shed light on Facebook's misuse of user information on which the four

24   categories of misconduct at the heart of this case are based.

25          Similarly meritless is the argument that Plaintiffs have no right to question Facebook's

26   assertions. Plaintiffs have come forward with compelling evidence that Facebook has not

27   produced all the content and information that has been shared with or made accessible to third

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 1   parties. Facebook fails to counter that evidence. And the notion that Plaintiffs must simply accept

 2   Facebook's version of events—which is what Facebook's position amounts to—runs against the

 3   whole purpose of discovery, which is to define and resolve disputed merits issues. Plaintiffs need

 4   not accept Facebook's position on those merits issues in discovery.

 5           For these reasons and the others laid out below, Plaintiffs' motion should be granted.

 6          ARGUMENT

 7          A.      Judge Corley's Orders Entitle Plaintiffs to the Discovery They Seek.

 8           In their motion, Plaintiffs explained why Judge Corley's orders entitle Plaintiffs to all the

 9   content and information that Facebook collects, appends, and infers about the Named Plaintiffs,

10   regardless of whether Facebook admits that it is shared with or made accessible to third parties.

11   Mot. to Compel Production of Named Plaintiffs' Content and Information ("Mot.") at 8-9.

12   Facebook, however, takes the position that Judge Corley has affirmatively foreclosed Plaintiffs'

13   ability to receive the discovery they now seek. This extravagant position, whether framed as

14   judicial estoppel or as any other theory, should be rejected.

15          First, the position Plaintiffs have taken in front of Judge Corley is not inconsistent, let

16   alone "clearly inconsistent," with the position they take here. New Hampshire v. Maine, 532 U.S.

17   742, 750 (2001) (quotation and citation omitted). In front of Judge Corley, Plaintiffs argued that

18   when users' content and information was shared with or made accessible to third parties, it was

19   relevant, regardless of the source of the content and information. They reaffirm that position.

20   Plaintiffs are arguing not that content and information is relevant if Facebook did not share it with

21   or make it accessible to third parties, but rather that (1) Facebook has not produced all the content

22   and information that it has shared with or made accessible to third parties; and (2) Facebook is not

23   allowed to be the judge of what it did or did not share with or make accessible to third parties,

24   because that is adisputed merits issue. See Hossaini v. W. Mo. Med. Ctr., 140 F.3d 1140, 1143

25   (8th Cir. 1998) (judicial estoppel did not apply because party's "underlying assertion" did not

26   change). And Facebook's refusal even to identify what it has collected, appended, or inferred

27   about the Named Plaintiffs—including their profiles, see irfra §B.1—is aserious gap in

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 1   Facebook's production that prejudices Plaintiffs' ability to demonstrate the full scope of

 2   Facebook's misuse of user information.

 3          Second, Judge Corley nowhere ruled, or even suggested, that Plaintiffs may not probe

 4   Facebook's assertions about what it did or did not share with or make accessible to third parties.

 5   Quite the opposite. Allowing Plaintiffs to probe such assertions was one of the purposes of

 6   Discovery Order No. 11, which recognized that what information was shared with or made

 7   accessible to third parties was "an open question." Dee!. of Derek W. Loeser in Supp. of Mot. to

 8   Compel Production of Named Plaintiffs' Content and Information ("Loeser Dec!."), Ex. 6at 1

 9   (filed originally as Dkt. No. 588). Discovery Order No. 12 makes it even clearer that Plaintiffs are

10   entitled to probe Facebook's assertions, stating about the then-imminent depositions that

11   "whether particular user data is not shared, not admissible, or not monetized, is not avalid reason

12   to object to aparticular deposition question." Loeser Dee!., Ex. 7at 1-2 (filed originally as Dkt.

13   No. 602).

14          Third, Facebook fails to explain how granting this motion would give Plaintiffs an "unfair

15   advantage" or impose on Facebook an "unfair detriment." Opp'n to Pls.' Mot. to Compel

16   Production of Named Plaintiffs' Content and Information ("Opp'n") at 12 (quotation and citation

17   omitted). Again: at no point did Judge Corley suggest that Plaintiffs were not entitled to discovery

18   to test Facebook's assertions about what it made accessible to or shared with third parties. When

19   Plaintiffs expressed doubt that Facebook's production was complete, Judge Corley allowed

20   Plaintiffs a30(b)(6) deposition to inquire about how Facebook used the information it collected.

21   And, crucially, she did not suggest that that deposition was the only inquiry that Plaintiffs could

22   make: "And if you don't get what Ithink you should get, no one's going anywhere; we can come

23   back and do it again. This is just to try to break through that logjam and get started." Decl. of

24   Derek W. Loeser in Supp. of Reply in Supp. of Mot. to Compel Production of Named Plaintiffs'

25   Content and Information ("Loeser Reply Decl."), Ex. A at 20 (emphasis added). The 30(b)(6)

26   deposition, then, was merely the start of the process. Plaintiffs seek here to follow through on the

27   critical inquiry that the deposition began. And, make no mistake about it, the question of what

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 1   information about the Named Plaintiffs was shared with or made accessible to third parties by

 2   Facebook is acore issue in this litigation. Discovery Order No. 9settled the question of whether

 3   the full scope of information about the Named Plaintiffs collected or inferred by Facebook is

 4   relevant. Facebook should not be allowed to circumvent that Order through the ruse of its

 5   untested determination that none of the information it is withholding fits its self-serving definition

 6   of sharing.

 7            B.      Plaintiffs Are Entitled to Probe Facebook's Assertion That It Has Already
                      Produced All the Content and Information It Has Shared with or Made
 8                    Accessible to Third Parties.

 9            Facebook takes the position that the Court must simply take its word that it has already

10   produced all the content and information that has been shared with or made accessible to third

11   parties. This position should be rejected. First, there is ample concrete evidence that the content

12   and information that Facebook shares or makes accessible goes well beyond the content and

13   information that it has thus far produced. Second, Facebook cannot resist discovery simply by

14   relying on its own view of adisputed merits issue—here, what it means to share or make

15   accessible—since the whole point of discovery is to resolve such disputes.

16                    1.     Ample Evidence Casts Doubt on Facebook's Assertion.

17            In their motion, Plaintiffs pointed to considerable evidence that Facebook's production

18   thus far does not capture all the user content and information that Facebook shares or makes

19   accessible to third parties. Mot. at 6-7, 9-10. Facebook's response to this evidence is limited and

20   unsatisfactory. It says that one of the documents cited is "hypothetical," but does not explain why

21   the discussion in that document—which certainly appears to be talking about real rather than

22   hypothetical capabilities—should be interpreted as hypothetical. Opp'n at 10. And it is utterly

23   silent about its patents and patent applications, see Mot. at 7, 1which, along with other public

24
     1   See also U.S. Patent No. 9,740,752 (Aug. 22, 2017) ("A social networking system obtains
25   linguistic data from auser's text communications on the social networking system. ...The
     irferred personality characteristics are stored in connection with the user's profile, and may be
26
     used for targeting, ranking, selecting versions of products, and various other putposes."
27   (emphasis added)); U.S. Patent Application Pub. No. US 2012/0016817 Al (Jan. 19, 2012)
     ("[T]he system inputs the user data to the prediction algorithm to retrieve aPublication
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 1   information, verify the existence of a"user profile" that Facebook conceals from users but makes

 2   accessible to third parties such as advertisers. See U.K. House of Commons, Digital, Culture,

 3   Media and Sport Comm., Disinformation and 'Fake News': Final Report If 41 at 17 (Feb. 14,

 4   2019) ("[T]he advertising profile that Facebook builds up about users cannot be accessed,

 5   controlled or deleted by those users. It is difficult to reconcile this fact with [Mark Zuckerb erg's]

 6   assertion that users own all 'the content' they upload.").

 7           The evidence also contradicts Facebook's claim that APIs provided the only conduits for

 8   user content and information that was shared with or made accessible to third parties. Cf. Opp'n

 9   at 5.

10                      See Loeser Reply Decl., Ex. B at FB-CA-MDL-00203262 (Mar. 3, 2014 email

11   from Aldo King, senior member of Facebook's Privacy Program); id., Ex. C at 129:3-130:13

12   (James Barnes testimony regarding

13                                     see also id., Ex. D at Slide 5

14

15           Facebook's other response to Plaintiffs' showing is to tout its DYI tool, which it calls "the

16   most complete compilation of data Facebook maintains relating to any user." Opp'n at 2-3.

17   However, the DYI tool lacks not only information that Facebook infers about Plaintiffs or that it

18   collects about their off-platform activity, but also certain information about Plaintiffs' on-

19   plaform activity (i.e., the first of Judge Corley's three categories of relevant discovery). For

20   example, Facebook produced an attorney-created spreadsheet that show the apps that five (but not

21   all nine) of the Named Plaintiffs used on the Facebook platform, as well as the corresponding API

22   permissions granted those apps. See Loeser Reply Decl., Ex. E. Many of the apps listed on the

23   spreadsheet are missing from the DYI file and vice versa. See id., Ex. F. Furthermore, the DYI

24   contains no information regarding API permissions granted apps. This gap indicates that the DYI

25   file, contrary to Facebook's claims, is not actually complete, even as to on-platform activity. And

26
     Classification prediction of whether the user will undergo one or more life change events. The
27
     system updates the user's profile to indicate the life change event and provides advertisements to
28   the user responsive to the prediction of one or more life change events." (emphasis added)).
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 1   when it comes to off-platform activity, Facebook concedes its DYI file is not complete.

 2

 3                                                                See, e.g., id., Ex. G at 98:21-24 (

 4                                                          .

 5          Nor, crucially, does the DYI file include information about all the "custom audiences" that

 6   Facebook put the Named Plaintiffs into. This "custom audiences" feature, as Facebook client

 7   solutions manager James Barnes has testified, made available information about users that third

 8   parties obtained from Facebook and that Facebook shared with other third-party advertisers.

 9   "Custom audiences" makes this information available in several different ways, including by

10   matching hashed emails provided by advertisers and identifying Facebook users to the advertiser

11   based on the match;

12

13

14

15

16            Id., Ex. C at 129:3-130:13. Moreover, Barnes testified that "[c]ustom audiences can also

17   be shared from one advertiser to another." Id. at 137:5-24. Facebook has not produced custom

18   audiences documents containing the information about Named Plaintiffs that third parties

19   obtained from Facebook or that Facebook shared with or made available to other third-party

20   advertisers through these means.

21          Other evidence also shows that Facebook both collects and shares information that is not

22   included in the DIY file. For example, amarketing document from Facebook's political

23   advertising group identifies

24

25

26

27                                                                     Id., Ex. H, at FB-CA-MDL-

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 1   00252922.                   the description continues,

 2

 3              Id. This information is not included in the DIY file for the Named Plaintiffs,

 4   notwithstanding marketing documents indicating that the information was shared with third

 5   parties.

 6                     2.      Facebook Cannot Limit Its Discovery by Reference to Its Own View of
                               Disputed Merits Issues, Since the Whole Point of Discovery Is to Help
 7                             Resolve Such Issues.

 8              According to Facebook, Plaintiffs must accept its claim that the only content and

 9   information that was shared with or made accessible to third parties has already been produced.

10   What data was shared with or made accessible to third parties is acentral and disputed merits

11   issue, however. A party may not use its own view of amerits issue—here, what it means to share

12   or make accessible—to define the permissible limits of discovery. None of the cases that

13   Facebook cites suggests that aparty may do so. Indeed, if parties were required to accept another

14   party's view on the scope of appropriate discovery, there would be no role for amotion to compel

15   under Rule 26(b).

16              Discovery is not the appropriate stage to resolve "disputed legal and factual issues on the

17   merits." Fauceglia v. Univ. cf S. Callornia, No. CV1904738FMOJEMX, 2020 WL 12048986, at

18   *1 (C.D. Cal. Oct. 5, 2020); see also Karnoski v. Trump, No. C17-1297 MJP, 2020 WL 2800609,

19   at *1 (W.D. Wash. May 29, 2020) (ruling on defendants' motion for protective order, noting that

20   defendants had "confused the evidentiary standard at trial with the broader discovery standard,

21   which allows parties to obtain discovery regarding any nonprivileged matter that is relevant to

22   any party's claim or defense"). This should not be acontroversial proposition, since discovery is

23   meant to be away of clarifying and defining the disputed issues. See, e.g., Bolling v. Dendreon

24   Cotp., No. C13-0872JLR, 2015 WL 11233202, at *2 (W.D. Wash. June 19, 2015) (discovery's

25   purpose is to provide "litigants with the information essential to resolving disputed facts in an

26   expeditious manner" (citing Shoen v. Shoen, 5F.3d 1289, 1292 (9th Cir. 1993)). It would short

27   circuit the whole process if one party can resolve disputed issues on its own, and in advance of

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 1   discovery. And, indeed, Facebook has so far stymied the ordinary course of discovery by refusing

 2   to produce information already deemed relevant by Judge Corley—information that Plaintiffs

 3   have been seeking for several years.

 4                  3.      The Cases on Which Facebook Relies Have No Relevance Here.

 5          Facebook cites several cases to support its opposition. Its reliance on these cases

 6   demonstrates just how far Facebook strays from the relevant legal issues.

 7          For example, Facebook cites Bresk v. Unimerica Ins. Co., No. CV 16-8893 ODW (SSx),

 8   2017 WL 10439831 (C.D. Cal. Nov. 16, 2017), for the proposition that "[a] plaintiffs mere

 9   suspicion that additional documents must exist is an insufficient basis to grant amotion to

10   compel." Id. at *5. But Facebook does not dispute that the documents Plaintiffs seek exist; it does

11   not deny that it has collected or inferred additional content and information about the Named

12   Plaintiffs. The dispute is simply whether the documents that Plaintiffs seek have certain

13   properties—i.e., they have been shared with or made accessible to third parties. And on that issue,

14   Plaintiffs are entitled to see for themselves and not take Facebook's word for it, especially since

15   they have considerable evidence that Facebook has not produced all the content and information

16   that has been shared with or made accessible to third parties. As Bresk notes, if amoving party

17   has "a colorable basis for its belief that relevant, responsive documents exist and are being

18   improperly withheld," the party's motion should be granted. Id.; see also id. at *5-6 (granting

19   motion to compel because there was no denial that documents sought did not exist).

20          The other cases that Facebook cites are about "discovery on discovery"—"discovery into

21   another party's discovery process"—and state that such discovery will not be allowed without the

22   identification of aspecific deficiency in aproduction or response. Uschold v. Carriage Servs.,

23   Inc., 2019 WL 8298261, at *4 (N.D. Cal. Jan. 22, 2019); accord Brewer v. BNSF Railway, 2018

24   WL 1756432, at *4 (D. Mont. Jan. 11, 2018); Han v. Futurewei Techs., Inc., 2011 WL 4344301,

25   at *5 (S.D. Cal. Sept. 15, 2011). But Plaintiffs do not want to inquire into Facebook's discovery

26   process. To the extent they seek information on potential sources of discovery, they seek it not to

27   audit past discovery, but to minimize future burden. See irfra §D. And, at any rate, Plaintiffs

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 1   have identified substantial deficiencies in Facebook's production. See stipra §B.1; Mot. at 6-7,

 2   9-10.

 3
             C.     As Facebook's Silence Confirms, Plaintiffs Are Entitled to Answers to
 4                  Interrogatories Numbers 16 and 17.

 5           Facebook maintains total silence about two major discovery requests encompassed by

 6   Plaintiffs' motion: interrogatories numbers 16 and 17. See Mot. at 2,6; Pls.' Separate Statement

 7   at 3-4. These interrogatories asked Facebook to identify the third parties that were given access to

 8   the Named Plaintiffs' content and information, and to identify the content and information to

 9   which they had access. Facebook does not even attempt to explain why it should not answer these

10   interrogatories. It should be ordered to do so.

11
             D.     The Relief Plaintiffs Are Requesting Is Intended to Lighten Facebook's
12                  Burden.

13           No good deed goes unpunished. In crafting their requested relief, Plaintiffs sought to

14   lighten the burden on Facebook and, to the extent possible, to forestall the production of content

15   and information that was not shared with or made accessible to third parties. Facebook now

16   accuses Plaintiffs of sidestepping discovery mediation. But Plaintiffs' requested relief is

17   consistent with the relief they previously requested and with the Federal Rules.

18           Indeed, Plaintiffs have repeatedly asked Facebook to provide information that would

19   enable them to help identify relevant information and reduce Facebook's burden. See Mot. 7-8.

20   Plaintiffs have even invoked the California Consumer Privacy Act to try get more information—a

21   request that was refused. Loeser Reply Decl., Ex. I; id., Ex. J; see also Cal. Civ. Code §

22   1798.100(a) ("A consumer shall have the right to request that abusiness that collects a

23   consumer's personal information disclose to that consumer the categories and specific pieces of

24   personal information the business has collected.").

25           Through discovery mediation, Plaintiffs have also continually sought other information

26   that would help narrow the production, including data models, schemas, snapshots, relevant API

27   and SDK calls, the parties that were permitted to make such calls against Named Plaintiffs' data,

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 1   and more. Mot. at 13; Loeser Decl., Ex. 15. Again, Facebook has refused to respond. Plaintiffs'

 2   requested relief dovetails with these prior efforts. The contention that Plaintiffs are evading

 3   discovery mediation and shifting their position is disingenuous. Disclosure of what Facebook

 4   possesses about the Named Plaintiffs is areasonable next step toward resolution of this issue.

 5            The Federal Rules of Civil Procedure independently entitle Plaintiffs to the information

 6   they seek on data sources, precisely because it will allow them to determine what has been

 7   withheld. That is the purpose of Rule 34(b)(2)(C), which requires an objecting party to "state

 8   whether any responsive materials are being withheld on the basis of that objection." It cannot be

 9   too much to ask Facebook to comply with the Rules. For this reason, at this stage of the litigation,

10   Plaintiffs have requested that Facebook identify the relevant data sources, their purpose for

11   collection, retention periods, the full profiles of the Named Plaintiffs, and other information

12   relevant to crafting an efficient discovery plan, both as to the Named Plaintiffs and on aclasswide

13   basis.

14   III.     CONCLUSION

15            For the reasons laid out above and in their October 18 submission, Plaintiffs' motion

16   should be granted.

17
      Dated: November 2, 2021                               Respectfully submitted,
18
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19
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                      EXHIBIT I




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                                   2                                  UNITED STATES DISTRICT COURT

                                   3                               NORTHERN DISTRICT OF CALIFORNIA

                                   4

                                   5     IN RE: FACEBOOK, INC. CONSUMER                      MDL No. 2843
                                         PRIVACY USER PROFILE LITIGATION                     Case No. 18-md-02843-VC (JSC)
                                   6

                                   7                                                         DISCOVERY ORDER NO. 9

                                   8                                                         (Dkt. Nos. 515, 526, 537, 548)

                                   9

                                  10

                                  11           This MDL matter has been assigned to the undersigned for management of discovery.

                                  12   Now pending before the Court are the Parties' briefs concerning the proper scope of discovery
Northern District of California
 United States District Court




                                  13   related to the data Facebook accumulates about the named Plaintiffs. (Dkt. Nos. 515, 526, 537,

                                  14   548.)   In brief, Facebook contends that the district court's order specifically defined the data at

                                  15   issue as "substantive and revealing content that users intended only for alimited audience." (Dkt.

                                  16   No. 298.) Based on this definition, Facebook argues that for any named Plaintiff data to be

                                  17   relevant and discoverable, it must meet two criteria. First, the discoverable data must have arisen

                                  18   from user activity occurring on the Facebook platform, such as Facebook posts and sent messages.

                                  19   Second, the named Plaintiff must have then overtly shared such data with alimited audience, such

                                  20   as their friends. Facebook submits that this is the only plausible reading of the district court's

                                  21   order limiting Plaintiffs to four actionable categories of potential liability. Plaintiffs respond that

                                  22   the universe of discoverable data Facebook collects for each user is much larger and necessarily

                                  23   includes: (1) user activity occurring off the Facebook platform; and (2) user data that can be

                                  24   inferred from user activity occurring on or off the Facebook platform. A second question

                                  25   presented by the briefs is whether discovery may proceed on the claims the district court stayed.

                                  26           After carefully considering the papers submitted by the Parties, and consulting with the

                                  27   district court, the Court rules that discovery is not as limited as Facebook contends. Plaintiffs

                                  28   correctly argue that Facebook's restrictive view of relevant discovery would exclude an enormous


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                                   1   amount of information that Facebook collects and shares with third parties about Facebook's

                                   2   users. The district court's order (Dkt. No. 298) did not limit Plaintiffs' claims to only challenging

                                   3   the sharing of data Facebook collects from auser's on-platform activity; the claims also challenge

                                   4   Facebook's sharing of user data and alleged failure to monitor how third parties used such shared

                                   5   information.

                                   6          Accordingly, the Court rules the discoverable user data at issue includes:

                                   7              • Data collected from auser's on-platform activity;

                                   8              • Data obtained from third parties regarding auser's off-platform activities; and

                                   9              • Data inferred from auser's on or off-platform activity.

                                  10          As for the stayed claims, and again after consulting with the district court, the Court rules

                                  11   that discovery is stayed as to the stayed claims. Of course, if aparticular discovery request is

                                  12   relevant to both astayed and non-stayed claim, then discovery is not stayed merely because the
Northern District of California
 United States District Court




                                  13   discovery request is also relevant to astayed claim.

                                  14          IT IS SO ORDERED.

                                  15   Dated: October 29, 2020

                                  16

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                                                                                                                                    l'..---
                                                                                                    JA rêUELINE SCOTT CORL
                                  18                                                                United States Magistrate Judge

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        EXHIBIT J
UNREDACTED VERSION SEALED
      BY THE COURT


  Highlighted text reflects Plaintiffs'
   proposed redactions under Civil
      Local Rule 79-5(d)(1)(D).




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                             UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF CALIFORNIA



IN RE: FACEBOOK, INC. CONSUMER                    MDL No. 2843
PRIVACY USER PROFILE LITIGATION                   Case No. 18-md-02843-VC-JSC



This document relates to:                         PLAINTIFFS' RESPONSE IN REPLY TO
                                                  DEFENDANT FACEBOOK, INC.'S
ALL ACTIONS                                       REQUEST TO ENFORCE THE PARTIAL
                                                  STAY OF DISCOVERY IN PRETRIAL
                                                  ORDER NO. 20 AND IN SUPPORT OF
                                                  CROSS-MOTION TO COMPEL

                                                  Judges: Hon. Vince Chhabria and
                                                  Hon. Jacqueline S. Corley
                                                  Hearing Date: TBD
                                                  Hearing Time: TBD




PLAINTIFFS' RESPONSE IN SUPPORT OF            1                                     MDL No. 2843
CROSS-M OTION TO COMPEL                                              CASE No. 18-MD-02843-VC -
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                                     I.     INTRODUCTION

        This discovery dispute concerns sensitive user information that Facebook has shared with

third parties without users' consent. The dispute is important but narrow now that Facebook has

disclaimed any argument about undue burden. Dkt. 537 ("FB Reply") at 10 ("To be clear,

Facebook is not—as Plaintiffs suggest—urging the Court to issue aruling regarding the scope of

discovery based on undue burden."). The legal question is whether the information Plaintiffs

seek is relevant to any party's claim or defense.

        The answer to this question is astraightforward "yes." As Judge Chhabria described in

Pretrial Order No. 20, Dkt. 298 (the "Order"), this case is about whether Facebook acted

unlawfully in making sensitive user information available to third parties and in failing to do

anything meaningful to prevent third parties from misusing the information they obtained. Dkt.

298 ("Order") at 3. While it is true that the focus of the Order was sensitive information posted

by users and then wrongfully shared by Facebook, the Court's reasoning applies equally to other

forms of information about users wrongfully disclosed by Facebook to third parties, including

information obtained by Facebook through its data sharing agreements with off-platform entities.

        Documents that Facebook has produced show that there are at least three distinct

categories of improperly shared sensitive information that Facebook shares with third parties

without users' consent: native, appended, and behavioral. Dkt. 526 ("Opp'n"), Ex. B at FB-CA-

MDL-00213424. This data derives from multiple sources, including (1) what auser posts and the

user's activity on Facebook; (2) information about users originally generated off the Facebook

platform but obtained by Facebook; and (3) information derived by Facebook from auser's

activity on and off Facebook. Id. All of these sources include sensitive information about users

that Facebook shared with third parties, yet Facebook has taken upon itself to exclude the second

and third sources from discovery. This does not make sense. Information derived from auser's

activity is relevant because if auser restricted access to private content, like amessage about a

medical condition, then it logically follows that information derived from that content—like the

existence of adisease—was also meant to be private and not shared indiscriminately with third

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parties. Equally relevant is sensitive information originally generated off-platform and then

shared with or made available to third parties. Facebook cannot share such information without

users' consent. Such improper sharing is thus actionable for precisely the same reasons as the

sharing or making available of users' on-platform activity.

        Discovery has shown that Facebook shared user information with third parties regardless

of where the information was originally generated. Opp'n Ex. C at 2. Plaintiffs' request for this

information, therefore, is entirely consistent with the four categories of wrongdoing recognized

by the Court. Regardless of the source or how Facebook acquired it, sensitive user information is

relevant if Facebook shared it without users' consent.

        Seeking to make simple issues complicated, Facebook dramatically overstates what

Plaintiffs seek. To be clear, Plaintiffs are not interested in every piece of data Facebook collected

from and about them. Instead, for just ten Named Plaintiffs, Plaintiffs respectfully request that

the Court rule that the sensitive information from and about them that Facebook shared with or

made accessible to third parties is relevant to this action.

                                        II.     ARGUMENT

A.      The discovery sought by Plaintiffs is directly relevant to their claims.

       According to Facebook, whether it collects and then wrongfully shares Plaintiffs' off-

platform information or information that it derives from their on- and off-platform activity is

categorically irrelevant to this case. At this juncture, the question before the Court is not whether

certain discovery is disproportionate to the needs of the case. See Fed. R. Civ. P. 26(b)(1); see

also FB Reply at 10 (noting that Facebook is not advancing an "undue burden" argument).

Rather, the question is simply whether the discovery that Plaintiffs seek "is relevant to any

party's claim or defense." Id.

        With regard to off-platform activity, as Plaintiffs explained in their prior brief, the nature

of their claims and the reasoning under which they were upheld make it relevant whether

Facebook improperly shared Plaintiffs' off-platform information with third parties. Opp'n at 2-5.

In short, the Order upheld claims not because of where information came from, whether on- or


PLAINTIFFS' RESPONSE IN SUPPORT OF                 2                                     MDL No. 2843
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off-platform, but because of the nature of the information and what Facebook did with it. Id. at 4.

Facebook's arguments to the contrary hang on avery narrow and legally incorrect reading of the

Court's Order.

         1. The claimed discovery stay. Facebook argues that Plaintiffs are trying to get around a

discovery stay that the Order imposed when it stayed certain claims. But this argument assumes

that Plaintiffs are seeking discovery relevant to stayed claims, and Facebook does not point to

any stayed claims that Plaintiffs are trying to revive. The suggestion that Plaintiffs are seeking

"discovery on hundreds of allegations that did not survive dismissal," Reply at 3, is similarly

without merit; Facebook does not point to any dismissed allegations that Plaintiffs are trying to

revive. And contrary to Facebook's arguments, the discovery Plaintiffs seek—exactly what

information about these ten plaintiffs Facebook possesses and shared with third parties—will

help establish (1) the threshold fact of sharing that sensitive data, which establishes the elements

of the breach of contract and good faith and fair dealing claims, as well as statutory and privacy

claims; (2) the scope of the harm inflicted upon the Plaintiffs, which also addresses elements of

Plaintiffs' privacy claims; and (3) damages and unjust enrichment. All of these claims were

sustained. Facebook's argument concerning the purported discovery stay is thus ared herring.

         2. The Order's discussion cf on-plaiform activity. Next, Facebook says that in

describing Facebook's wrongdoing, the Order confines itself to the improper sharing of what

users did on the Facebook platform. Facebook considerably overstates its case. When discussing

the sharing of information with business partners, for example, the Order referred simply to

"information about [Facebook's] users" and "information about users' activity." 1 Order at 8.

These phrases do not discriminate between on- and off-platform activity, and do not define

"sensitive information" to encompass only information shared on Facebook's platform.

         The question, then, is whether the discovery is "relevant to any party's claim or defense."

Fed. R. Civ. P. 26(b)(1). And here, as Plaintiffs have explained, Facebook's improper sharing of


1   Rather than citing the Order's specific discussion of information-sharing with business
    partners, Facebook quotes the Order's general description of Facebook's misconduct from the
    introductory paragraph. Reply at 4(quoting Order at 1).

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user information, whether that information was derived from on- and off-platform activity or

obtained from off the platform, is relevant to the legal theories upheld at the pleading stage,

which turn not on how or where the information was originally generated, but on what kind of

information it was and whether Facebook shared it with third parties. Opp'n at 2-5. Indeed,

Facebook itself is seeking discovery from Plaintiffs about their activity on other social media

sites, taking the position that users' off-platform activity is relevant to the claims and defenses

here. Def. Facebook, Inc.'s 2d Set of Interrogs. to Pl. T. King Nos. 4-5. (No. 4, "Identify all

Social Media Platforms other than Facebook that You have used to share personal family

photographs or videos."; No. 5"Identify all Social Media Platforms other than Facebook that

You have used to share personal perspectives regarding politics, religion, relationships, work, or

family.) As Facebook's own discovery requests demonstrate, Facebook believes information

originally generated off platform is relevant here.

        The most that can be said of the Order is that it does not focus on the sharing of

information derived from off-platform activity. Discovery, however, has shown that the native,

appended, and behavioral data that Facebook collects and shares about its users include

information generated from and about both on-platform and off-platform activity. Opp'n Ex. B at

FB-CA-MDL-00213424; Opp'n Ex. C, FB-CA-MDL-00 178908 at 2. That such discovery should

shape Plaintiffs' claims is entirely appropriate. See Vallabhcupurapu v. Burger King Colp., 276

F.R.D. 611, 615 (N.D. Cal. 2011) ("Consistently with the notice-pleading system established by

the Rules, discovery is not limited to issues raised by the pleadings, for discovery itself is

designed to help define and clarify the issues.") (quoting Cppenheimer Fund, Inc. v. Sanders,

437 U.S. 340, 351 (1978)). Accordingly, any sensitive information that Facebook shared with or

made accessible to third parties is relevant here, regardless of its source.

        3. Legal questions. Facebook argues that its sharing of off-platform user information is

irrelevant because it would raise legal questions that the Order did not consider. This argument is

incorrect in several different respects. For one thing, Facebook does not justify the premise of the

argument—it does not explain why off-platform activity is irrelevant to or not part of Plaintiffs'


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claims merely because it may raise (some) distinct legal issues.

        There are other flaws in Facebook's argument as well. While it asserts that off-platform

activity raises hitherto unaddressed questions about areasonable expectation of privacy, it

forgets that areasonable expectation of privacy is not even relevant to some of Plaintiffs' claims

(for example, their claims under the VPPA, SCA, or their claim for breach of contract). Even for

the claims that do involve areasonable expectation of privacy, such as the invasion-of-privacy

torts under California law, Plaintiffs do not claim that all off-platform information is relevant.

Information would be relevant if—like Plaintiffs' on-platform activity—it was shared only with

a"limited audience." Order at 1. Such sharing would be improper under the Order's reasoning

without raising any new issues.

        For similar reasons, the Court should reject Facebook's argument that off-platform

information raises new issues about standing. Plaintiffs have standing, the Order concluded, not

because of issues peculiar to Facebook posts, but for amore general reason: because their

"sensitive information was disseminated to third parties in violation of their privacy." Id. at 14.

That rationale applies equally to sensitive information generated off the Facebook platform that

Facebook improperly shared with third parties.

        Facebook also contends that the improper sharing of off-platform information would

raise distinct legal issues about consent. This argument does not make sense. The Order's rulings

about consent turned on what Facebook told its users about how their "information" could and

could not be shared. See Order at 25-29. And Facebook's definition of information—"facts and

other information about you, including actions taken by users and non-users who interact with

Facebook," Order, App. A at 10—is capacious enough to include information generated off the

platform. To show that data was shared beyond the scope of users' consent, Plaintiffs need to

understand what was shared. Indeed, at trial, how can Plaintiffs point to data that was shared

without their consent if Facebook has not produced it? Even with regard to the one source of data

Facebook has produced—users' on-platform activity—Facebook has refused to produce

discovery showing what it shared with third parties. Thus, Facebook's claim that it has shared all


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user data that is relevant to Plaintiffs' claims is not remotely accurate.

        4. kformation derived by Facebook. Finally, Plaintiffs note that one of the sources of

discovery they seek—information derived by Facebook from both on- and off-platform activity

and then improperly shared with third parties—goes mostly unaddressed in Facebook's reply.

And Facebook is similarly almost wholly silent about information derived from on-pla form

activity—it simply fails to explain why discovery about such information is not fairly included in

this case. It is easy to see why this information is relevant. If it was improper for Facebook to

share auser's sensitive post, it was equally wrong for Facebook to share inferences and other

information it derived from that post.

B.      Discovery and publicly available information confirm Facebook has not produced
        information it collects and shares about the ten Named Plaintiffs.

        Facebook contends that Plaintiffs were not permitted to submit any evidence in support

of their opposition brief. See FB Reply at 6, n. 5; 9, n. 9;10 (citing 9/4/2020 Tr. at 5:8-10; 18-22).

In fact, the Court did not prohibit either party from submitting discovery that would aid the

Court's resolution of this issue. Rather, it rejected Facebook's argument that afour-month

briefing schedule was necessary because of the purported need to obtain client declarations. Tr.

at 5:7-22. Documents produced reflecting the types of data Facebook collects (native, appended,

and behavioral) from multiple sources (user activity, information derived from on- and off-

platform user activity, and information obtained from third parties) and shares with third parties

is obviously helpful to the Court in making its determination of whether Plaintiffs are entitled to

such data. The Court asked Plaintiffs what data they are seeking, and the exhibits submitted by

Plaintiffs help answer that question.

        In any event, Facebook relies heavily on numerous factual assertions about what data it

collects, how it does so, its volume, how it is used and conclusory statements about its relevance.

But it provides no support for those assertions and few specifics. That is, Facebook concedes that

it possesses data relevant to the Named Plaintiffs, but it has never even categorically described or

given examples of that data, contrary to Fed. R. Civ. Proc. 34(b)(2)(C). It is thus left to Plaintiffs

to piece together what Facebook is withholding, using both publicly available documents and

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what Facebook has produced.




                                                                 Opp'n Ex. C at 2(emphasis

added). The email also




                                               id.

         Facebook's response to Exhibit C is that the email discussion is "hypothetical." FB Reply

at 8. But areasonable reading of this document is that it describes Facebook's then-existing data

collection capabilities. And even if Facebook were correct, Plaintiffs would still be entitled to

discovery to determine whether Facebook effectuated its supposedly hypothetical plan.

Facebook's position is also contradicted by information in the public record. Specifically, in

2013 Facebook began to allow third parties to access user data only upon the condition that they

send valuable user data back to Facebook. 2 This concept, known as data reciprocity, is akey

component of Plaintiffs' claims. Facebook claims in its Reply that data reciprocity is an

exchange of data only between users, but that is belied by its own documents. A document dated

March 14, 2014 reports




                                                                                       Ex. F, FB-

CA-MDL-00203262. Facebook's characterization of data reciprocity as an exchange between




2    "Facebook Earns $132.80 From Your Data per Year: But it's valuable in other ways, too";
    available at: https://slate.com/technology/2019/11/facebook-six4three-pikinis-lawsuit-emails-
    data.html; see also "Facebook leaks: Zuckerberg turned data into dollars in ruthless battle
    with competitors; available at: https://www.computerweekly.com/news/252461895/Facebook-
    leaks-Zuckerberg-turned-data-into-dollars-in-ruthless-battle-with-competitors (detailing,
    among other things, Facebook employee complaints that "customer data and their own data was
    visible to others, after they had opted to keep it private").

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users is also at odds with the Court's formulation of the issue. Order at 8("Facebook shared

information about its users with this non-exclusive list of business partners and [] those

companies in turn shared data with Facebook.") In fact, Facebook concedes that user data

received from "integration partners" through data reciprocity is potentially relevant, thereby

confirming that the discovery sought by Plaintiffs here for just ten Named Plaintiffs should be

produced. FB Reply at 8. ("[E]ven if some other data from integration partners existed, only data

received from those partners could even possibly be relevant..."). In short, it is relevant to the

case what information about the ten Named Plaintiffs Facebook possesses, even if it received

that data through its data reciprocity agreements.

        Discovery also reveals that Facebook sent Requests for Information ("RFIs") to third

party app developers as part of its App Developer Investigation ("ADI")




                                             These RFIs ask




                                                                         Furthermore, app

developers

                                     E.g., FB-CA-MDL-01119012 at FB-CA-MDL-01119021. It is

telling that while conducting the ADI investigation, Facebook asked




        Facebook also claims that the discovery Plaintiffs seek "cannot even be reasonably

collected," identifying numerous purported difficulties in collecting this discovery, even though

it is just for ten individuals. FB Reply at 9. These unsupported assertions do not rebut the

relevancy of the discovery Plaintiffs seek, and do not meet the required evidentiary showing to

establish burden. See Harris v. Best Buy Stores, L.P., No. 315CV00657-HSG-KAW, 2016 WL

6024556, at *1 (N.D. Cal. Oct. 14, 2016) ("      [T]he party opposing discovery has the burden of

showing that discovery should not be allowed, and also has the burden of clarifying, explaining

and supporting its objections with competent evidence.") (quoting La. Pac. Corp. v. Money Mkt.


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1Inst'l Inv. Dealer, 285 F.R.D. 481, 485 (N.D. Cal. 2012)). Indeed, the Court did not solicit

briefing on burden, but only relevance. And in any event, Facebook expressly disclaimed its

request to have the Court rule on burden. FB Reply at 10. The Court should ignore Facebook's

unsupported claims that it would be too burdensome to search for this material when it has itself

asked the Court not to rule on burden.

        Facebook's sweeping and generalized statement also ignores huge pockets of data that

Facebook can identify. For example,

                              And surely Facebook can identify what data it shared with its

business partners and white-listed apps through its data reciprocity agreements. Furthermore, to

the extent that Facebook did not stop disassociating data regarding the Named Plaintiffs in this

action, thereby making it more difficult to re-associate, that is aproblem of its own making.

Again, these are factual issues, not legal ones, and should be the subject of discovery.

         Plaintiffs do not demand, as Facebook repeatedly claims, "that Facebook search millions

of disaggregated data sets for any data to have ever crossed Facebook's systems relating to a

Named Plaintiff and any derivative materials drawing on that data -such as data sets tracking

hours of peak user activity to monitor strains on Facebook's system." Opp'n at 6. To the

contrary, Plaintiffs seek only aholding that the sensitive data Facebook collected about ten

Named Plaint,fi and shared with third parties is relevant. Plaintiffs do not contend that

information that was not shared is relevant, which substantially narrows the information

Facebook would be required to produce in this case.

                                      III.   CONCLUSION

        For the foregoing reasons, Plaintiffs seek an order holding that all sensitive data about the

ten Named Plaintiffs that Facebook shared with or made accessible to third parties is relevant to

this action.



Dated: October 19, 2020                                   Respectfully submitted,

KELLER ROHRBACK L.L.P.                                    BLEICHMAR FONTI & AULD LLP



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By:    /s/ Derek W. Loeser                              By:       /s/ Lesley E. Weaver
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                                     Plaint6fs' Co-Lead Counsel




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               ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(i)(3)

        I, Lesley E. Weaver, attest that concurrence in the filing of this document has been

obtained from the other signatory. Ideclare under penalty of perjury that the foregoing is true

and correct.

        Executed this 19th day of October, 2020, at Oakland, California.



                                              /s/Lesky E. Weaver
                                              Lesley E. Weaver




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                                     CERTIFICATE OF SERVICE

        Ihereby certify that on October 19, 2020, Ielectronically filed the foregoing document

using the CM/ECF system, which will send notification of such filing to all counsel of record

registered in the CM/ECF system. In accordance with Civil L.R. 5-1(h) and Civil L.R. 79-5(e), I

also caused acopy of the under seal documents to be served via email on counsel of record for

all parties. An electronic copy of the public redacted filings was also provided via email to the

parties noted below:

        Anjeza Hassan
        annie.saragyahoo.com


                                                      /s/ Lesley E. Weaver
                                                      Lesley E. Weaver




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                      EXHIBIT K




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                                   1                                 UNITED STATES DISTRICT COURT

                                   2                              NORTHERN DISTRICT OF CALIFORNIA

                                   3

                                   4     IN RE: FACEBOOK, INC. CONSUMER                      MDL No. 2843
                                         PRIVACY USER PROFILE LITIGATION                     Case No. 18-md-02843-VC (JSC)
                                   5

                                   6                                                         DISCOVERY ORDER NO. 11

                                   7

                                   8

                                   9          This MDL matter has been assigned to this Court for management of discovery. The Court

                                  10   held adiscovery status conference on December 9, 2020 and this Order memorializes the

                                  11   decisions made at the hearing.

                                  12      A. 30(b)(6) Witness. At the hearing, Facebook insisted it does not have any documents
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                                  13          reflecting its valuation of the user data it collects. It also contended that Plaintiffs

                                  14          conceded that user data not shared with or accessible to third parties is not relevant, (Dkt.

                                  15          No. 548 at 10), and because Facebook does not share inferred user data, the inferred user

                                  16          data Facebook maintains is not relevant. Facebook both collects and uses data about its

                                  17          users as part of its business model, including data derived from third parties. How it

                                  18          specifically uses this data is an open question, but if the Court were to accept Facebook's

                                  19          arguments about the scope of production, it would eliminate Discovery Order No. 9's third

                                  20          category of discovery: data inferred from auser's on or off-platform activity. What is

                                  21          needed now is more detail about Facebook's collection and use of user data so future

                                  22          discovery requests can be tailored to Plaintiffs' better understanding of the internal

                                  23          operations of Facebook as well the terminology it uses for describing data that is

                                  24          potentially responsive to Plaintiffs' discovery requests.

                                  25
                                              The Court accordingly orders Facebook to provide a30(b)(6) witness regarding the
                                  26
                                              discoverable user data as articulated by Discovery Order No. 9. (Dkt. No. 557.) Facebook
                                  27
                                              shall also provide a30(b)(6) witness on how it monetizes—directly or indirectly—and thus
                                  28


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                                   1         values user data. Plaintiffs shall provide Facebook with their 30(b)(6) Notice on or before

                                   2         December 18, 2020 and Facebook will have until January 13, 2021 to submit an initial

                                   3         response. The 30(b)(6) topics shall be narrowly tailored to assist Plaintiffs with identifying

                                   4         relevant discovery in the above two areas. The deposition will be limited to the time

                                   5         period of 2012 through 2017 to reduce burden and given its investigatory purpose.

                                   6      B. Search Terms. The Parties shall continue to meet and confer the week of December 14-

                                   7         18 regarding their competing proposals. Given the deadline for submission of final

                                   8         proposals—Christmas Eve—the Parties shall submit astipulation by December 18, 2020,

                                   9         agreeing to anew deadline for final proposals.

                                  10      C. Five-Day Détente. The Parties shall meet and confer to choose five consecutive business

                                  11         days during the upcoming holidays where no communications will take place between the

                                  12         Parties regarding the case. Communications on other topics are encouraged.
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                                  13      D. Plaintiffs' Interrogatory Responses and Privacy Settings Data. Plaintiffs shall

                                  14         supplement their interrogatory responses regarding what they characterize as their sensitive

                                  15         information with specific examples rather than general categories.

                                  16      E. Additional Proposed Custodians. The addition of further custodians for discovery

                                  17         purposes is premature at this time.

                                  18      F. Dismissal of Named Plaintiffs. The parties shall file astipulation regarding the dismissal

                                  19         of certain named plaintiffs in accordance with what was discussed at the hearing no later

                                  20         than December 18, 2020.

                                  21      G. Next Status Conference. The next video status conference shall be January 15, 2021 at

                                  22         8:30 a.m. The Parties shall submit ajoint status update by January 14, 2021 at 12:00 p.m.

                                  23         IT IS SO ORDERED.

                                  24   Dated: December 11, 2020

                                  25

                                  26
                                                                                                   JAC UELINE SCOTT CORLE         i..---
                                  27                                                               United States Magistrate Judge

                                  28

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                            UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA
                            SAN FRANCISCO DIVISION



                                             MDL NO. 2843
IN RE: FACEBOOK, INC. CONSUMER
PRIVACY USER PROFILE LITIGATION,             CASE NO. 3:18-MD-02843-VC-JSC


                                             HON. VINCE CHHABRIA
This document relates to:                    COURTROOM 4— 17 TH FLOOR
                                             SPECIAL MASTER, DANIEL GARRIE, ESQ.
ALL ACTIONS
                                             ORDER RE: PLAINTIFFS' MOTION TO
                                             COMPEL PRODUCTION OF PLAINTIFF
                                             DATA




      ORDER RE: PLAINTIFFS' MOTION TO COMPEL PRODUCTION OF PLAINTIFF DATA

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                                         INTRODUCTION

          1.     Pending before Special Master Garrie is Plaintiffs' Motion to Compel Production

of Named Plaintiffs' Content and Information.

                                          BACKGROUND

          2.     On November 25, 2019, Plaintiffs' served Requests for Production Nos. 9-13,

which seek documents relating to the named Plaintiffs in this matter ("Named Plaintiffs").' See

Exhibit A. In brief, Request No. 9seeks all documents relating to each of the Named Plaintiffs;

Request No. 10 seeks documents sufficient to show the categories of content and information

Facebook collects, tracks, and maintains about them; and Requests Nos. 11-13 seek documents

identifying third parties that were able to access information about the Named Plaintiffs. Id.

          3.     In response to Requests for Production Nos. 9-13, Facebook produced more than

one million pages of individual user data it maintained relating to the Named Plaintiffs, most of

which was obtained from the "Download Your Information" tool ("DYI Tool"). 2 The data

obtained from the DYI Tool is mostly limited to information pertaining to users' on platform

Facebook activity. See Exhibit B (List of DYI Tool Data Fields).

          4.     Statements by Facebook's counsel during an August 14, 2020 discovery hearing

indicated that Facebook maintained additional data related to the Named Plaintiffs that was not

produced. See Exhibit C (8/14/2020 Discovery Hearing Transcript) at 8:10-13 ("There is other —

there's Facebook-generated information, information generated by third parties, information




1 There   were originally 30 named Plaintiffs, but this has been reduced to nine named Plaintiffs.

2 The DYI Tool is atool by which Facebook users can download certain pieces of information
related to the user's Facebook activity and related data. A list of the types of information that can
be downloaded via the DYI Tool is provided in Exhibit B.


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received from third parties. We have not represented that that is comprehensively included in our

production.").

        5.       Plaintiffs filed amotion last September to compel additional discovery related to

Requests for Production Nos. 9-13. See Exhibit D (9/28/2020 Motion to Compel). Plaintiffs

asked the Court to compel production of sensitive information Facebook derives and collects

from business partners, app developers, apps, and other sources. This request included "native,

appended and behavioral data" and purportedly anonymized data that could be connected to the

Named Plaintiffs. Id. at 7-11.

        6.       On October 8, 2020, Facebook responded to Plaintiffs' motion to compel. See

Exhibit E (Facebook Opposition to Plaintiffs' 9/28/2020 Motion to Compel). Facebook

contended that all information related to the Named Plaintiffs that they did not themselves share

on Facebook was outside the scope of the case; that all information not shared through one of the

four theories of the case was not within the scope of the case; that Plaintiffs were not entitled to

all data collected from third parties about the Named Plaintiffs; that the Stored Communications

Act and Video Protection Privacy Act claims did not require the production of additional data

Facebook had collected about the Named Plaintiffs; and that Facebook could not reasonably

collect any of the additional information Plaintiffs sought. Id. at 6-10.

        7.       On October 29, 2020, Judge Corley issued Discovery Order No. 9, ruling "that

discovery is not as limited as Facebook contends" and "the discoverable user data at issue

includes: [1] Data collected from auser's on-platform activity; [2] Data obtained from third

parties regarding auser's off-platform activities; and [3] Data inferred from auser's on or off-

platform activity." See Exhibit F(Discovery Order No. 9) at 2.




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        8.     In Discovery Order No. 11, Judge Corley provided further clarification on the

discoverable user data intended to be included under Discovery Order No. 9:

       It also contended that Plaintiffs conceded that user data not shared with or
       accessible to third parties is not relevant, (Dkt.No. 548 at 10), and because
       Facebook does not share inferred user data, the inferred user data Facebook
       maintains is not relevant. Facebook both collects and uses data about its users as
       part of its business model, including data derived from third parties. How it
       specifically uses this data is an open question, but if the Court were to accept
       Facebook's arguments about the scope of production, it would eliminate Discovery
       Order No. 9's third category of discovery: data inferred from auser's on or off-
       platform activity. What is needed now is more detail about Facebook's collection
       and use of user data so future discovery requests can be tailored to Plaintiffs' better
       understanding of the internal operations of Facebook as well the terminology it uses
       for describing data that is potentially responsive to Plaintiffs' discovery requests.
       See Exhibit G (Discovery Order No. 11) at 1.

        9.     Following Judge Corley's orders, Facebook did not produce additional documents

in response to Requests for Production Nos. 9-13.

         10.   On October 6, 2021, Special Master Garrie and Judge Andler declared impasse on

the issue of whether Facebook should be compelled to produce additional documents related to

the Named Plaintiffs pursuant to Discovery Order No. 9.

         11.   On October 18, 2021, Plaintiffs submitted their opening brief to Special Master

Garrie on this issue. See Exhibit H. Plaintiffs argue that (a) the court has already determined the

information Plaintiffs seek is relevant—whether or not Facebook claims that it has been shared;

(b) whether the Named Plaintiffs' information was shared is a contested question on which

Plaintiffs are entitled to evidence; (c) Facebook has failed to substantiate adisproportionate burden

in identifying the data it possesses relating to nine people; and (d) Plaintiffs have made proposals

to reduce the burden of production on Facebook. Id.

         12.   On October 28, 2021, Facebook submitted its Opposition to Plaintiffs' Motion to

Compel Production of Named Plaintiffs' Content and Information. See Exhibit I. Facebook argues,




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among other things, that (a) the scope of discovery is limited to information Facebook shared with

third parties; (b) Plaintiffs are judicially estopped from seeking information that was not shared;

and (c) the information Plaintiffs now seek is nonresponsive and otherwise unavailable. Id.

           13.   On November 2, 2021, Plaintiffs submitted their Reply in which they argue, among

other things, (a) Judge Corley's orders entitle Plaintiffs to the discovery they seek; (b) Plaintiffs

are entitled to probe Facebook's assertion that it has already produced all the content and

information it has shared or made accessible to third parties; (c) Plaintiffs are entitled to answers

to Interrogatories 16 and 17; and (d) the relief Plaintiffs are requesting is intended to lighten

Facebook's burden. See Exhibit J.

           14.   Facebook subsequently objected to Plaintiffs reply claiming that Plaintiffs

introduced new arguments and evidence for the first time, in violation of the Discovery Protocol.

See Exhibit K (Facebook's Response to Plaintiffs' Objection Regarding Named Plaintiffs' Data

Briefing) ("Plaintiffs sought new relief and introduced twelve new documents that Plaintiffs

suddenly claim show gaps in Facebook's productions.").

                                            FINDINGS

           15.   Special Master Garrie finds that Discovery Order No. 9does not limit the scope of

discoverable data related to the Named Plaintiffs to data that was shared with third parties, as

Facebook contends, because Judge Corley's ruling contains no language indicating such a

limitation: "Accordingly, the court rules the discoverable user data at issue includes: [1] Data

collected from auser's on-platform activity; [2] Data obtained from third parties regarding auser's

off-platform activities; and [3] Data inferred from auser's on or off-platform activity." See Exhibit

F at 2.




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         16.    Moreover, Judge Corley clarified that Facebook's interpretation of Discovery

Order No. 9is not what Judge Corley intended: "How [Facebook] specifically uses this data is an

open question, but if the Court were to accept Facebook's arguments about the scope of production,

it would eliminate Discovery Order No. 9's third category of discovery: data inferred from auser's

on or off-platform activity." See Exhibit G at 1.

         17.    Special Master Garrie finds that Facebook appears to maintain data related to the

Named Plaintiffs that was not produced in response Requests for Production Nos. 9-13. See

Exhibit C at 8:10-13 ("There is other — there's Facebook-generated information, information

generated by third parties, information received from third parties. We have not represented that

that is comprehensively included in our production."). For example, documents produced by

Facebook indicate that Facebook collects data referred to as "Appended Data," including public

records, auto registration data, retail purchases, and credit card purchases, all of which fall into the

second category of data from Discovery Order No. 9. See Exhibit L (FB-CA-MDL-00213424).

However, Facebook has not produced this data as it is not available via the DYI Tool. See Exhibit

B. 3

         18.    Special Master Garrie finds that Plaintiffs requested new relief (answers to

Interrogatories 16-17) and introduced new evidence (exhibits C, D, E, F, H, I, and Jto Plaintiffs'

Reply) in their Reply brief in violation of the Discovery Protocol. Accordingly, Special Master

Garrie did not consider this request for new relief or the new evidence items in reaching the

findings herein.

II




3 Facebook also appears to maintain data relating to the Named Plaintiffs' on-platform activity


that has not been provided, such as inferred interest and behavior data. See Exhibit L.


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                                              ORDER

         19.   No later than December 3, 2021, Facebook is to provide alist of data sources that

may contain information related to the Named Plaintiffs pursuant to Discovery Order No. 9. The

list of data sources is to include: (1) the name of the database or data log; (2) adescription of the

data source's purpose and function; and (3) adescription of the types of Named Plaintiff data

contained in the data source.

        20.    No later than December 10, 2021, the parties are to meet and confer and each

submit to Special Master Garrie aproposed protocol for the production of Named Plaintiffs' data

from the data sources identified by Facebook.




IT IS SO ORDERED.




Monday, November 29, 2021                              D-st 1
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                                                      Daniel Garrie
                                                      Discovery Special Master




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             Exhibit A




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lweavergbfalaw.corn                           dlo esergkellerrohrb ack. corn


Plaint6fs' Co-Lead Counsel

Additional counsel listed on signature page



                              UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA



IN RE: FACEBOOK, INC. CONSUMER                 MDL No. 2843
PRIVACY USER PROFILE LITIGATION                Case No. 18-md-02843-VC



This document relates to:                      PLAINTIFFS' SECOND SET OF
                                               REQUESTS FOR PRODUCTION TO
ALL ACTIONS                                    DEFENDANT FACEBOOK, INC.

                                               Judge: Hon. Vince Chhabria
                                               Courtroom: 4, 17th Floor




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PROPOUNDING PARTY:              Plaintiffs

RESPONDING PARTY:               Facebook

SET NUMBER:                     Two (2)

       Plaintiffs hereby propound the following requests for production of documents to

Defendant Facebook, Inc. ("Facebook"), pursuant to Federal Rules of Civil Procedure 26 and 34,

and request that Facebook produce the documents and electronically-stored information set forth

herein within thirty (30) days of service of these requests, at Bleichmar Fonti & Auld LLP, 555

12th Street, Suite 1600, Oakland, CA 94607.

                                          INSTRUCTIONS

        1.       You shall respond to these requests for the production of documents in amanner

consistent with the Federal Rules of Civil Procedure and the following instructions:

       2.        In responding to each document request, furnish all responsive documents

available at the time of production, including documents in your possession, custody or control,

and in the possession, custody or control of your agents, employees, partners, representatives,

subsidiaries, affiliates, investigators, or by your attorneys or their agents, employees or

investigators.

        3.       If any otherwise responsive document was, but is no longer, in existence or in

your possession, custody or control, identify the type of information contained in the document,

its current or last known custodian, the location/address of such document, the identity of all

persons having knowledge or who had knowledge of the document and describe in full the

circumstances surrounding its disposition from your possession or control.

       4.        This is acontinuing request for the production of documents and requires

supplemental responses as provided for in the Federal Rules of Civil Procedure. If, after making

your initial production, you (or any other persons acting on your behalf) obtain or become aware

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of any further documents responsive to any document request, you are required to produce such

additional documents to plaintiffs. Each supplemental response shall be served on plaintiffs no

later than thirty days after the discovery of the further information.

       5.      You shall produce the original of each document described below or, if the

original is not in your custody, then acopy thereof, and in any event, all non-identical copies

which differ from the original or from the other copies produced for any reason, including,

without limitation, the making of notes thereon.

       6.      Documents shall be produced as kept in the regular course of business together

with the original folders, binders, boxes or other containers in which they were maintained.

       7.      All documents or things that respond in whole or in part to any portion of these

requests are to be produced in their entirety, including attachments and their enclosures.

       8.      Documents attached to each other should not be separated.

       9.      Documents not otherwise responsive to any particular document request shall be

produced if such documents mention, discuss, refer to, or explain the documents called for by

any document request, or if such documents are attached to documents called for by any

document request.

        10.    Documents shall be produced in such fashion as to identify the custodian of each

document.

        11.    Identify the source of each document produced, by identifying: (a) all of the

person(s) who possessed the document; (b) the positions or titles of any such individuals; and (c)

all of the divisions and departments where each document was located. If you are unable to

determine the individual(s) who possessed the document, identify the department and division

where the document was located when produced.




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        12.    If you claim any form of privilege, whether based on statute or otherwise, as a

ground for not producing any document, state the following:

               a.   The date of the document;

               b.   The name, the present or last known home and business address, the

                    telephone numbers, the title (or position), and the occupation of those

                    individuals who prepared, produced, reproduced or who were recipients of

                    said document;

               c.   A description of the document sufficient to identify it without revealing the

                    information for which the privilege is claimed;

               d.   The nature of the privilege asserted;

               e.   The factual basis upon which you claim any such privilege;

               f.   The location of the document; and

               g.   The custodian of the document.

        13.    To the extent you object to any document request, you must provide specific

responses as to what portion of the request you object to and state expressly why you will not

respond to such request in sufficient detail to permit the Court to determine the validity of the

objection. Responsive documents to which your objection does not apply should be produced.

        14.    If you claim that all or any part of any document request, the Definitions, or

Instructions is vague or ambiguous, please identify the specific language you consider vague or

ambiguous and state the interpretation of the language in question you used to frame your

response.

        15.    Each document requested herein is to be produced in its entirety and without

deletion or excision, regardless of whether you consider the entire document to be relevant or

responsive to any document request. If you have removed, excised or deleted any portion of a

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document, stamp the word "REDACTED" on each page of the document that you have redacted.

Redactions should be included on the privilege log described in Instruction No. 13, above.

        16.     One copy of each document should be produced. A document that varies in any

way from the original or from any other copy, including drafts or adocument with handwritten

notations or deletions constitutes aseparate document and must be produced, whether or not the

original is in your possession, custody or control. Color (i.e., not black and white) originals

should be produced in color. If any identical copy cannot be produced for any reason (e.g., faint

writing, erasures, etc.), produce the original.

        17.     Indicate the origin of each document and number each document with

consecutive Bates numbers.

                                           DEFINITIONS

       Unless otherwise stated, the terms set forth below are defined as follows and shall be

used in construing the meaning of these requests for the production of documents.

        1.      The use of the singular shall be deemed to include the plural, and the use of one

gender shall include all others, as appropriate, in the context.

        2.      The present tense of averb includes its past tense, and vice versa.

        3.      "And" and "or" are to be construed conjunctively and disjunctively, as necessary,

to bring within the scope of this request for production all responses that might otherwise be

construed to be outside its scope.

        4.      "Any" and "all" mean each and every.

        5.      "App" means an interactive software application developed to utilize the core

technologies of the Facebook social networking platform.

        6.      "App Developer Investigation" or "ADI" means (as described in paragraph seven

of the Chen Declaration) Facebook's investigation to determine "whether there has been misuse

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of data in violation of Facebook's policies and associated legal liabilities, in connection with the

first version of the [Facebook] Platform."

       7.      "Apps Others Use" means the setting used to prevent the disclosure of personal

information to third party App Developers through Facebook's API, as described in paragraphs

366 to 368 of the FAC.

       8.      "App Settings" means settings that aUser can alter or accept to limit Third

Parties from accessing or obtaining Users' Content and Information, including Apps Others Use,

Granular Data Permissions, Platform Opt Out, and the like.

       9.      "Chen Declaration" means the Declaration of Stacy Chen in Support of

Respondent's Opposition to the Attorney General's Petition, Attorney General Manra Healy v.

Facebook, Inc., No. 1984CV02597-BFS-1 (Mass. Super Ct., Suffolk Cty.).

        10.    "Communication" means the transmittal (in the form of facts, ideas, thoughts,

opinions, data, inquiries or otherwise) and includes, but is not limited to, correspondence,

memoranda, reports, presentations, face-to-face conversations, telephone conversations, text

messages, instant messages, messages sent on Facebook Messenger, voice messages,

negotiations, agreements, inquiries, understandings, meetings, letters, notes, telegrams, mail,

electronic mail or email, and postings of any type.

        11.    "Computer System" or "Computer Systems" include(s), but is not limited to, any

server (whether physical or virtual), desktop computer, tablet computer, point of sale system,

smart phone, cellular telephone, networking equipment, internet site, intranet site, and the

software programs, applications, scripts, operating systems, or databases used to control, access,

store, add, delete, or modify any information stored on any of the foregoing non-exclusive list.

        12.    "Content and Information" refers to the definition in footnote 2of the FAC,

referring to "content" and "information" as Facebook's Statements of Rights and

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Responsibilities have defined those terms. In brief, Facebook has generally used "information"

to mean facts and other information about Users, including the actions they take, and "content"

to mean anything Users post on Facebook that would not be included in the definition of

"information." Content and Information also includes both personally identifiable content and

information and anonymized content and information that is capable of being de-anonymized.

See FAC III 223-224. Content and Information includes data that identifies, relates to, describes,

is capable of being associated with, or could reasonably be linked, directly or indirectly, with a

particular User, including:

           a.   Identifiers such as areal name, alias, postal address, unique personal identifier,

                online identifier, Internet Protocol address, email address, account name, social

                security number, driver's license number, passport number, or other similar

                identifiers.

           b.   Characteristics of protected classifications under California or federal law.

           c.   Commercial information, including records of personal property, products or

                services purchased, obtained, or considered, or other purchasing or consuming

                histories or tendencies.

           d.   Biometric information.

           e.   Internet or other electronic network activity information, including, but not

                limited to, browsing history, search history, and information regarding a

                consumer's interaction with an Internet Web site, application, or advertisement.

           f.   Geolocation data.

           g.   Audio, electronic, visual, thermal, olfactory, or similar information.

           h.   Professional or employment-related information.




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              i.   Education information, defined as information that is not publicly available

                   personally identifiable information as defined in the Family Educational Rights

                   and Privacy Act (20 U.S.C. section 1232g, 34 C.F.R. Part 99).

              j.   Inferences drawn from any of the information identified in this paragraph to

                   create aprofile, dossier, or similar collection of information about aconsumer

                   reflecting the consumer's preferences, characteristics, psychological trends,

                   predispositions, behavior, attitudes, intelligence, abilities, and aptitudes.

        13.        "Document" or "Documents" is defined to include any Document, ESI, or

Electronic Media stored in any medium, and is synonymous in meaning and equal in scope to

the usage of this term in Federal Rule of Civil Procedure 34(a)(1)(A), including, but not limited

to, electronic or computerized data compilations, Communications, electronic chats, instant

messaging, documents created through Workplace by Facebook, encrypted or self-destructing

messages, messages sent via Facebook messenger, email Communications, other electronically

stored information from Personal computers, sound recordings, photographs, and hard copy

Documents maintained in your Personal files.

        14.        "Electronic Media" means any magnetic, optical, or other storage media device

used to record ESI including but not limited to computer memory, hard disks, floppy disks, flash

memory devices, CDs, DVDs, Blu-ray discs, cloud storage (e.g., DropBox, Box, OneDrive, or

SharePoint), tablet computers (e.g., iPad, Kindle, Nook, or Samsung Galaxy), cellular or smart

phones (e.g., BlackBerry, iPhone, or Samsung Galaxy), personal digital assistants, magnetic

tapes of all types, or any other means for digital storage and/or transmittal.

        15.        "Electronically Stored Information" or "ESI" means information that is stored in

Electronic Media, regardless of the media or whether it is in the original format in which it was

created, and that is retrievable in perceivable form and includes, but is not limited to, metadata,

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system data, deleted data, fragmented data, data pertaining to or maintained in Apps, database

contents, and computer code.

        16.     "FAC" refers to the First Amended Consolidated Complaint filed February 22,

2019, ECF No. 257.

        17.     "Facebook," "Defendant," "You," or "Your" shall mean Facebook, Inc. and any

of its executives, directors, officers, employees, partners, members, representatives, agents

(including attorneys, accountants, consultants, investment advisors or bankers), and any other

Person purporting to act on its behalf In the case of business entities, these defined terms

include parents, subsidiaries, affiliates, predecessor entities, successor entities, these defined

terms include parents, subsidiaries, affiliates, predecessor entities, successor entities, divisions,

departments, groups, acquired entities and/or related entities or any other entity acting or

purporting to act on its behalf

        18.     "FTC Consent Order" shall refer to the July 27, 2012 Federal Trade Commission

Consent Order in In the Matter cf Facebook, Inc., No. C-4365.

        19.     "Granular Data Permissions" means the setting through which the User accessing

an App may limit the categories of Content and Information an App Developer may collect.

        20.     "Identify," with respect to Documents, means to give, to the extent known, the

(a) type of Document; (b) general subject matter; (c) date of the Document; (d) author(s);

(e) addressee(s); and (f) recipient(s).

        21.     "Including" means "including but not limited to," or "including, without

limitation." Any examples which follow these phrases are set forth to clarify the request,

definition or instruction but not to limit the request.




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       22.     "Internal Policy" or "Internal Policies" mean any formal or informal policy,

procedure, rule, guideline, collaborative document, directive, instruction, or practice, whether

written or unwritten, that You expect Your employees to follow in performing their jobs.

       23.     "Misuse of Data," when used as acapitalized phrase, means the use by an App of

aUser's Content or Information that was broader or different than the use of that content or

information only in connection with the person that gave the permission to the App to access

such User's Content or Information.

       24.     "Named Plaintiffs" means Steven Akins, Jason Ariciu, Samuel Armstrong,

Anthony Bell, Bridgett Burk, Brendan Carr, John Doe, Terry Fischer, Shelly Forman, Paige

Grays, Mary Beth Grisi, Tabielle Holsinger, Taunna Lee Johnson, Olivia Johnston, Tyler King,

Ashley Kmieciak, William Lloyd, Gretchen Maxwell, Scott McDonnell, Ian Miller, Jordan

O'Hara, Bridget Peters, Kimberly Robertson, Scott Schinder, Cheryl Senko, Dustin Short, Tonya

Smith, Mitchell Staggs, Charnae Tutt, Barbara Vance-Guerbe, and Juliana Watson.

       25.     "Person" or "Persons" means any natural Person or any business, legal or

governmental entity or association.

       26.     "Platform" refers to the services, tools, and products provided by Facebook to

third parties to create their own applications and services that access data in Facebook.

       27.     "Platform Opt Out" means the setting aUser may access to choose that his or her

Content and information is not accessed or obtained by any Apps or websites on Facebook's

Platform.

       28.     "Privacy Controls" means the audience selectors that control what information in

aUser's profile can be viewed by other Users, and includes Profile Privacy Settings, Profile

Privacy Controls, Publisher Privacy Controls, and the like.




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       29.        "Relating to," "relate to," "referring to," "refer to," "reflecting," "reflect,"

"concerning," or "concern" means all Documents which comprise, explicitly or implicitly refer

to, were reviewed in conjunction with, or were created, generated or maintained as aresult of the

subject matter of the request, including, but not limited to, all Documents which reflect, record,

memorialize, embody, discuss, evaluate, consider, review or report on the subject matter of the

request.

       30.        "Third Parties" include the following:

             a.   Apps, App Developers, Whitelisted Apps, and Business Partners, as those terms

                  are used in the FAC;

             b.   Any person that develops an application, software experience, game, or website

                  that accesses Content and Information from Facebook's API or other Facebook

                  software; and

             c.   Any person with which Facebook has or had an integration partnership.

       31.        "User(s)" means individuals who maintain aFacebook account and can generally

access the typical Facebook experience through website or mobile applications.

       32.        Capitalized terms and acronyms not specifically defined herein have the same

definition as in the FAC.

                                     RELEVANT TIME PERIOD

       The relevant time period for each Document Request is January 1, 2007 through the

present (the "Relevant Time Period"), unless otherwise specifically indicated. Each Document

Request shall be interpreted to include all documents and information that relate to the Relevant

Time Period or otherwise specified period, even if such documents or information were prepared

or published outside of the Relevant Time Period or otherwise specified period. If adocument

prepared before or after this period is necessary for acorrect or complete understanding of any

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document covered by arequest, you must produce the earlier or subsequent document as well. If

any document is undated and the date of its preparation cannot be determined, the document

shall be produced if otherwise responsive to the production request.

                                    DOCUMENT REQUESTS

REQUEST FOR PRODUCTION NO. 6

        All Documents provided to or received from any governmental entity or regulator in the

United States and United Kingdom in response to any formal or informal inquiry or

investigation relating to whether Users' Content and Information was accessed or obtained by

any Third Parties without proper consent or authorization, including but not limited to all

inquiries or investigations arising out of the Cambridge Analytica Scandal, the FTC Consent

Order, and any inquiry or investigation related to the settlement agreement with the FTC

announced on July 24, 2019.

REQUEST FOR PRODUCTION NO. 7

        All organizational charts, personnel directories, or other documents sufficient to show

Your organizational structure, including:

        (a)     the identity of subsidiaries, affiliates, and joint ventures, and your ownership

interest, control of, or participation in any subsidiary or affiliate or joint venture related to

agreements, engineering, access, use, transmission, receipt, collection or analysis of Facebook

Users' Content and Information by Third Parties;

        (b)     the organization of any division, department, unit or subdivision of your company

that has responsibilities relating to agreements, engineering, access, use, transmission, receipt,

collection or analysis of Users' Content and Information by Third Parties; and

        (c)     the names, titles, job descriptions, and employment periods for your present and

former employees who has or had responsibilities relating to agreements, engineering, access,

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use, transmission, receipt, collection or analysis of Users' Content and Information by Third

Parties; and

        (d)    the names, titles, job descriptions, and employment periods of Your present or

former directors, officers, or senior managers, as well as any secretaries or administrative

assistants assigned to these directors, officers, or senior managers.

REQUEST FOR PRODUCTION NO. 8

       All versions (including each updated or amended version thereof) of Facebook's

"Platform Policies," which have been called the "Developer Principles and Policies," the

"Platform Guidelines," or the "Developer Terms of Service" (collectively, the "Platform

Policies").

REQUEST FOR PRODUCTION NO. 9

       All Documents relating to each of the Named Plaintiffs, including but not limited to all

Content and Information collected about each of them or gained from business relationships or

any other source.

REQUEST FOR PRODUCTION NO. 10

        For each of the Named Plaintiffs, Documents sufficient to show the categories of Content

and Information Facebook collects, tracks, and maintains about them.

REQUEST FOR PRODUCTION NO. 11

        Documents sufficient to identify all Third Parties to which Facebook granted access to

Named Plaintiffs' Content and Information, what categories of Content and Information

Facebook granted access to, how Facebook allowed these Third Parties to access the Named

Plaintiffs' Content and Information, and the business purpose of all such access.




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REQUEST FOR PRODUCTION NO. 12

       Documents relating to any partnerships or agreements Facebook entered into with Third

Parties for access to Named Plaintiffs' Content and Information.

REQUEST FOR PRODUCTION NO. 13

       For all Third Parties to which Facebook granted access to Named Plaintiffs' Content and

Information, Documents sufficient to show any use by Third Parties of such Content and

Information not in connection with the User that granted the permission to the Third Party or

inconsistent with Facebook's agreement with that Third Party.

REQUEST FOR PRODUCTION NO. 14

       Documents sufficient to show the monetary or retail value of each named Plaintiff's

Content and Information to Facebook, updated to reflect whenever Facebook's terms of service

changed, including the calculation of revenue earned by Facebook for each Named Plaintiff

based upon bartering or selling access to such Named Plaintiff's Content and Information.

REQUEST FOR PRODUCTION NO. 15

       Documents sufficient to show the money or any other thing of value, including but not

limited to money or any other thing of value paid in exchange for targeted advertising, that

Facebook received in exchange for each Named Plaintiff's Content and Information, which

entities paid Facebook, and when such payments were made.

REQUEST FOR PRODUCTION NO. 16

       Documents sufficient to show the monetary or retail value of Users' Content and

Information to Facebook, including all monthly, quarterly, and annual financial reporting

relating to same, and including but not limited to the calculation of average revenue per user,

any changes to such monetary or retail value relating to changes to Facebook's terms of service,

and any financial reporting of Content and Information as an asset.

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REQUEST FOR PRODUCTION NO. 17

       All Documents relating to Facebook's assessment of the monetary or retail value of

Users' Content and Information to Users (as distinct from value to Facebook), including

analyses for providing compensation to Users for their Content and Information, including but

not limited to Users compensated in connection with the Onavo or Research app.

REQUEST FOR PRODUCTION NO. 18

       All Documents that have been transmitted to Users by Facebook relating to whether

Users' Content and Information was accessed or obtained by Third Parties.

REQUEST FOR PRODUCTION NO. 19

       All Documents supporting the escalation of those Apps escalated to Phase Two of ADI

for Enhanced Examination and/or Phase Three of ADI for Enforcement and designated as

follows in the Chen Declaration If 34:

        (d) each [A]pp to which arequest for information was sent; (e) each [A]pp for

       which an interview was sought with the developer; (f) each [A]pp for which a

       remote or onsite audit was requested to be conducted; (g) each [A]pp for which

        actual misuse was found and identification of that misuse; (h) each [A]pp that was

       banned for actual misuse; and (i) each [A]pp that was banned for failing to

        cooperate with Facebook's investigation.

       Facebook has described identification of these Apps as non-privileged and has

already produced it to the Massachusetts Attorney General's Office. See Chen

Declaration If 35.

REQUEST FOR PRODUCTION NO. 20

        The list of Apps that Facebook provided to the Massachusetts Attorney General's Office

and that the Chen Declaration If 35 describes as "the subject of external actions or

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communications with third parties, including the growing list of Apps Facebook has suspended

as part of the [ADI], whether because of policy violations or because of their refusal to cooperate

with Facebook's investigation."

REQUEST FOR PRODUCTION NO. 21

         Communications between Facebook and Third Parties relating to the ADI, including but

not limited to Communications that Facebook provided to the Massachusetts Attorney General's

Office. See Chen Declaration If 37.

REQUEST FOR PRODUCTION NO. 22

         All "Privacy Risk Assessment[s]," and notes or agenda relating to Facebook's "focused

subject-matter-specific meetings," "focused subject-matter-specific discussions," "weekly intra-

and inter-team meetings," and "Privacy Summit[s]," as detailed in "Facebook's Privacy Program

Overview" included in any PricewaterhouseCoopers LLP ("PwC") assessment report prepared

pursuant to the FTC Consent Order.

REQUEST FOR PRODUCTION NO. 23

         Unredacted versions and Documents in support of the assessment reports, including the

Initial Assessment Report and Biennial Reports, prepared by PwC pursuant to the FTC Consent

Order.

REQUEST FOR PRODUCTION NO. 24

         Documents sufficient to identify all Third Parties to which Facebook granted access to

Users' Content and Information not generally available through Platform pursuant to

partnerships or agreements between Facebook and those Third Parties.

REQUEST FOR PRODUCTION NO. 25

         All Documents relating to agreements or partnerships described in Request No. 24.




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REQUEST FOR PRODUCTION NO. 26

       For each of the Third Parties that Facebook entered into partnerships or agreements with

as described in Request No. 24, Documents sufficient to identify:


    • The fields, kinds, or categories of Content and Information that were accessed or

        obtained by such Third Parties;


    • How each such Third Party accessed or obtained the Content and Information of Users;


    • How each such Third Party used the Content and Information accessed or obtained;

    • Where the Content and Information obtained by such Third Parties currently resides and

        who has access to it.

REQUEST FOR PRODUCTION NO. 27

       Documents sufficient to show all forms and formats in which Facebook transmitted to

Third Parties information concerning Users' liking, viewing, retrieving, or otherwise requesting

or obtaining videos on, using, or by means of the Facebook Platform.

REQUEST FOR PRODUCTION NO. 28

       All Documents relating to Internal Policies by Facebook on the monitoring of Third

Parties' compliance with Facebook's Platform Policy, Data Policy, or SRR.

REQUEST FOR PRODUCTION NO. 29

       All Documents relating to Internal Policies by Facebook on the enforcement of

Facebook's Platform Policy, Data Policy, or SRR against Third Parties.

REQUEST FOR PRODUCTION NO. 30

       All Documents relating to measures and controls, including proposed measures and

controls, put in place by Facebook to prevent Third Parties from violating Facebook's Platform

Policy, Data Policy, or SRR.




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REQUEST FOR PRODUCTION NO. 31

       All Documents relating to Facebook's audits, inquiries, and investigations of Third

Parties investigating compliance with any provisions of Facebook's Platform Policy, Data

Policy, or SRR regarding the access, use, transmission, receipt, collection and analysis of Users'

Content and Information on and off the Platform.

REQUEST FOR PRODUCTION NO. 32

       All Documents Concerning Misuse of Data, including investigations, examinations,

inquiries, or audits—or Communications regarding such investigations, examinations, inquiries,

or audits—regarding Misuse of Data prior to the deprecation of Graph API v.1.0.

REQUEST FOR PRODUCTION NO. 33

       Documents sufficient to show the notice that Facebook provided to Users regarding

modifications to Facebook's SRR or Data Policy, and all Communications related thereto.

REQUEST FOR PRODUCTION NO. 34

       All Documents relating to the conditioning of Third Parties' access to Users' Content and

Information on the purchase of Mobile App Install Ads, payment of Content and Information in-

kind (referred internally as Reciprocity or Data Reciprocity), or other payment.

REQUEST FOR PRODUCTION NO. 35

       Documents relating to the manner in which aFacebook User could control how his or her

data was shared through their Privacy Controls and App Settings throughout the Relevant Time

Period, including but not limited to screenshots of the Facebook website and the Facebook

mobile application.




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REQUEST FOR PRODUCTION NO. 36

       All Documents concerning User testing, evaluation and analysis of Facebook's Privacy

Controls and App Settings during the Relevant Time Period, including but not limited to design

documents, correspondence, analyses, and reports.




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Dated: November 25, 2019                              Respectfully submitted,



KELLER ROHRBACK L.L.P.                                BLEICHMAR FONTI & AULD LLP


By:    /s/ Derek W. Loeser                            By:       /s/ Lesley E. Weaver
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             Exhibit B




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                                        Exhibit A
 What info is                                                                         Where can I
                          What is it?
 available?                                                                           find it?

                          Information you added to the About section of your
                          timeline like relationships, work, education, where you
                                                                                      Downloaded
 About Me                 live and more. It includes any updates or changes you
                                                                                      Info
                          made in the past and what is currently in the About
                          section of your timeline.

                          The dates when your account was reactivated,                Downloaded
 Account Status History
                          deactivated, disabled or deleted.                           Info

                          All stored active sessions, including date, time,
                                                                                      Downloaded
 Active Sessions          device, IP address, machine cookie and browser
                                                                                      Info
                          information.

                          Your current address or any past addresses you had          Downloaded
 Address
                          on your account.                                            Info

                                                                                      Downloaded
 Ads                      Ads you've recently viewed.
                                                                                      Info

                          Dates, times and titles of ads clicked (limited retention   Downloaded
 Ads Clicked
                          period).                                                    Info

                          A list of topics that you may be targeted against based
                                                                                      Downloaded
 Ad Topics                on your stated likes, interests and other data you put
                                                                                      Info
                          in your timeline.

                          The unique advertising identification numbers
                          provided by your mobile device. These numbers are           Downloaded
 Advertising ID
                          used to show you ads on the apps you use on your            Info
                          device.

                          Any alternate names you have on your account                Downloaded
 Alternate Name
                          (example: amaiden name or anickname).                       Info

                                                                                      Downloaded
 Apps                     All of the apps you have added.
                                                                                      Info

                                                                                      Downloaded
 Articles                 Articles you've recently read.
                                                                                      Info

                          Information you've provided, such as your address,
                                                                                      Downloaded
 Autofill Information     that is used to pre-fill messages when you contact a
                                                                                      Info
                          business through Messenger.

                          A history of the conversations you've had on
                                                                                      Downloaded
 Chat                     Facebook Chat (a complete history is available
                                                                                      Info
                          directly from your messages inbox).



Source: What categories cf my Facebook data are available to me?,
https://www.facebook.com/help/930396167085762, Table 2, kformation you can download
using the Download Your Ii form         tool (last visited Sept. 18, 2020).


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                                                                                   Downloaded
Chat Rules              Chat Rules you've accepted.
                                                                                   Info

                                                                                   Downloaded
Check-ins               The places you've checked into.
                                                                                   Info

                        Your preferred currency on Facebook. If you use
                                                                                   Downloaded
Currency                Facebook Payments, this will be used to display
                                                                                   Info
                        prices and charge your credit cards.

                        The city you added to the About section of your            Downloaded
Current City
                        timeline.                                                  Info

                        The date you added to Birthday in the About section        Downloaded
Date of Birth
                        of your timeline.                                          Info

                        The number of times you've recently visited the Dating     Downloaded
Dating
                        section of Facebook.                                       Info

                        The unique identification numbers provided by the          Downloaded
Device ID
                        devices you use to log into Facebook.                      Info

                        The country and language from which you're
                                                                                   Downloaded
Device Locale           accessing Facebook as determined by the devices
                                                                                   Info
                        you're using.


Education
                        Any information you added to Education field in the
                        About section of your timeline.

                        Email addresses added to your account (even those
                                                                                   T
                                                                                   Downloaded
                                                                                   Info

                                                                                   Downloaded
Emails
                        you may have removed).                                     Info

Email Address                                                                      Downloaded
                        A history of when you've verified your email address.
Verifications                                                                      Info

                                                                                   Downloaded
Events                  Events you've joined or been invited to.
                                                                                   Info

Event Contacts You've                                                              Downloaded
                        People you've blocked from inviting you to events.
Blocked                                                                            Info


T
Event Interactions
                        The number of times you've recently visited the
                        Events section of Facebook.
                                                                                   Downloaded
                                                                                   Info

                                                                                   Downloaded
Events Visited          Event pages you've recently visited.
                                                                                   Info


T
Facebook Live Videos    Live videos you've recently watched.
                                                                                   Downloaded
                                                                                   Info

Facebook Watch
                        A collection of topics that is used to show you relevant   Downloaded
Topics for
                        videos in the Facebook Watch tab. The topics are           Info
Recommendations




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                             based on your previous interaction history with things
                             like links, videos, photos and Pages you've liked.

                             A unique number based on acomparison of the
 Facial Recognition                                                                      Downloaded
                             photos you're tagged in. We use this data to help
 Data                                                                                    Info
                             others tag you in photos.

                                                                                         Downloaded
 Family                         Friends you've indicated are family members.
                                                                                         Info

                             Information you've added to the Favorite Quotes             Downloaded
 Favorite Quotes
                             section of the About section of your timeline.              Info

                                                                                         Downloaded
 Followers                   A list of people who follow you.
                                                                                         Info


 Friends
                            r
                            A list of your friends.
                                                                                         Downloaded
                                                                                         Info


                             P
                            1
                                                                                         Downloaded
 Friend Requests                 ending, sent and received friend requests.
                                                                                         Info
                        -   r
                                Friends whose activity you've chosen to see less of on   Downloaded
 Friends You See Less
                                Facebook.                                                Info

                                                                                         Downloaded
 Fundraisers                    Fundraisers you've recently viewed.
                                                                                         Info

                             The gender you added to the About section of your           Downloaded
 Gender
                             timeline.                                                   Info
1
—
                                                                                         Downloaded
 Groups                      A list of groups you belong to on Facebook.
                                                                                         Info

                             The number of times you've interacted with Groups on        Downloaded
 Group Interactions
                             Facebook.                                                   Info


rGroups Visited
1—
                             G   roups you've recently visited.
                                                                                         Downloaded
                                                                                         Info

                             The place you added to hometown in the About                Downloaded
 Hometown
                             section of your timeline.                                   Info

                             A copy of the ID you submitted to confirm your identity
                                                                                         Personal Data
 ID                          and to help improve our automated systems for
                                                                                         Request
                             detecting fake IDs and related abuse.

F
Instant Games                   Instant Games you've played.
                                                                                         Downloaded
                                                                                         Info


rIP Address Activity
                            I
                            -

                            I
                             Your recent activity from specific IP addresses.
                                                                                         Downloaded
                                                                                         Info




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IP Address Message        Your recent message activity from specific IP           Downloaded
Activity                  addresses.                                              Info

IP Address Payment        Your recent payment activity from specific IP           Downloaded
Activity                  addresses.                                              Info

                                                                                  Downloaded
Language Settings         Your preferred language settings.
                                                                                  Info

                                                                                  Downloaded
Last Location             Your most recent location determined by your device.
                                                                                  Info


T
Linked Accounts           Accounts you've linked to your Portal.
                                                                                  Downloaded
                                                                                  Info

Live Video
Subscriptions
                          Scheduled Live videos you've subscribed to.
                                                                                  Downloaded
                                                                                  Info

                          IP address, date and time associated with logins to     Downloaded
Logins
                          your Facebook account.                                  Info

                          IP address, date and time associated with logouts       Downloaded
Logouts
                          from your Facebook account.                             Info

Marketplace                                                                       Downloaded
                          Categories you've recently viewed.
Categories                                                                        Info

Marketplace                                                                       Downloaded
                          Your recent interactions on Marketplace.
Interactions                                                                      Info

                                                                                  Downloaded
Marketplace Items         Items you've recently viewed.
                                                                                  Info

                                                                                  Downloaded
Marketplace Services      Services you've recently viewed.
                                                                                  Info

                          Contact information that may be associated with your    Personal Data
Matched Contacts
                          account.                                                Request

                          Areas of Facebook you've recently accessed through      Downloaded
Menu Items
                          the main menu.                                          Info

                          Messages you've sent and received on Facebook.
                          Note, if you've deleted amessage it won't be included   Downloaded
Messages
                          in your download as it has been deleted from your       Info
                          account.

Messenger Contacts                                                                Downloaded
                          Contacts you've blocked on Messenger.
You've Blocked                                                                    Info

                          Notifications about your activity milestones, such as
                                                                                  Downloaded
Milestone Notifications   the number of reactions on apost, you've received
                                                                                  Info
                          and dismissed.




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Mobile Service
                       The service provider and country code associated           Downloaded
Provider and Country
                       with your phone number.                                    Info
Code

                                                                                  Downloaded
Name                   The name on your Facebook account.
                                                                                  Info

                       Any changes you've made to the original name you           Downloaded
Name Changes
                       used when you signed up for Facebook.                      Info

                       A collection of topics that is used to show you relevant
                       public posts in parts of your News Feed. The topics
News Feed Topics for                                                              Downloaded
                       are based on your previous interaction history with
Recommendations                                                                   Info
                       things like links, videos, photos and Pages you've
                       liked.

                       A collection of topics that is used to show you relevant
News Topics for        articles in the News tab. The topics are based on your     Downloaded
Recommendations        previous interaction history with things like posts,       Info
                       videos, photos and Pages you've liked.

                       The identification numbers that we use to send you         Downloaded
Notification ID
                       Facebook notifications on your device.                     Info

                       Chat notifications you've dismissed from Pages you         Downloaded
Page Notifications
                       visit.                                                     Info


[age Visits            Pages you've recently visited.
                                                                                  Downloaded
                                                                                  Info

Page Transparency      A list of pages that you've received and dismissed         Downloaded
Notices                notices from.                                              Info

                                                                                  Downloaded
Pages You Admin        A list of pages you admin.
                                                                                  Info

Pages You've                                                                      Downloaded
                       Pages you've recommended to others.
Recommended                                                                       Info

Pending Friend                                                                    Downloaded
                       Pending, sent and received friend requests.
Requests                                                                          Info

                       People and friends you've interacted with recently,        Downloaded
People
                       including comments and reactions.                          Info

                       People you've recently viewed when new friends were        Downloaded
People Viewed
                       suggested to you.                                          Info

                       Mobile phone numbers you've added to your account,
                                                                                  Downloaded
Phone Numbers          including verified mobile numbers you've added for
                                                                                  Info
                       security purposes.




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                                                                                   Downloaded
 Photos                   Photos you've uploaded to your account.
                                                                                   Info

                                                                                   Downloaded
rPhoto   Effects         1- A list   of the photo effects you've used.
                                                                                   Info


TPhotos Metadata
                          Any metadata that is transmitted with your uploaded
                          photos.
                                                                                   Downloaded
                                                                                   Info

                          Platforms you've used to log into Facebook, such as      Downloaded
 Platforms
                          the Facebook app or abrowser.                            Info

                          A list of who's poked you and who you've poked. Poke
                          content from our mobile poke app is not included
                                                                                   Downloaded
 Pokes                    because it's only available for abrief period of time.
                                                                                   Info
                          After the recipient has viewed the content it's
                          permanently deleted from our systems.

                          Any information you added to Political Views in the      Downloaded
 Political Views
                          About section of timeline.                               Info

Preferred Language for    The preferred language for videos as determined by       Downloaded
Videos                    videos you've previously viewed.                         Info

Previously Removed                                                                 Downloaded
                          Friends you've recently removed but added back.
Contacts                                                                           Info

                          Your primary location is determined by information we
                          use to support Facebook Products, such as the            Downloaded
 Primary Location
                          current city you entered on your profile and your        Info
                          device connection information.

                                                                                   Downloaded
 Profile Visits           People whose profiles you've recently visited.
                                                                                   Info

                          Actions you've taken and interactions you've recently    Downloaded
 Recent Activities
                          had.                                                     Info

                                                                                   Downloaded
 Recently Visited         Videos and shows you've recently visited.
                                                                                   Info

                                                                                   Downloaded
 Record Details           Details included in some administrative records.
                                                                                   Info

                                                                                   Downloaded
 Registration Date        The date you joined Facebook.
                                                                                   Info

                          The current information you added to Religious Views     Downloaded
 Religious Views
                          in the About section of your timeline.                   Info

                                                                                   Downloaded
 Removed Friends          People you've removed as friends.
                                                                                   Info




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                                                                                Downloaded
Saved Post Reminders   Reminders you've received after you've saved apost.
                                                                                Info

                       The screen names you've added to your account, and
                                                                                Downloaded
Screen Names           the service they're associated with. You can also see
                                                                                Info
                       if they're hidden or visible on your account.

                       A list of the times you've used Secret Conversations     Downloaded
Secret Conversations
                       in Messenger.                                            Info

Secret Conversations   A list of the secret conversations you've reported to    Downloaded
You've Reported        Facebook.                                                Info

                       Profiles and Pages you've recently chosen to see first   Downloaded
See First
                       in your News Feed.                                       Info

                       Profiles and Pages you've recently chosen to see less    Downloaded
See Less
                       of in your News Feed.                                    Info


[
r
    elected Language   The language you've selected to use Facebook in.
                                                                                Downloaded
                                                                                Info

                                                                                Downloaded
Session Type           Your current active session types.
                                                                                Info


Show Pages             A list of the Show Pages you've viewed and the
                       videos you've watched from them.
                                                                                Downloaded
                                                                                Info

                                                                                Downloaded
Fhows                  A list of the individual videos you've watched.
                                                                                Info

                       The languages you added to Spoken Languages in           Downloaded
Spoken Languages
                       the About section of your timeline.                      Info

                                                                                Downloaded
Status Updates         Any status updates you've posted.
                                                                                Info

                       The amount of time you've spent watching videos          Downloaded
Time Spent
                       from aShow Page.                                         Info

                                                                                Downloaded
Time Viewed            The amount of an individual video you've watched.
                                                                                Info


Timezone               T
                       Th etimezone you've selected.
                                                                                Downloaded
                                                                                Info

                       Any current information you've added to Work in the      Downloaded
[Work
                       About section of your timeline.                          Info

                                                                                Downloaded
Videos                 Videos you've posted to your timeline.
                                                                                Info




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                         -
                                                                           Downloaded
Video Creator Pages          Video creator Pages you've recently viewed.
                                                                           Info



r
Videos You've
Removed
                             Videos you've removed from your Watch list.
                                                                           Downloaded
                                                                           Info


Your Facebook Activity   T   A history of when you've accessed Facebook.
                                                                           Downloaded
                                                                           Info
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                                                                           Downloaded
Your Pinned Posts            Posts you've pinned on your timeline.
                         1                                                 Info




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             Exhibit C




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                       UNITED   STATES       DISTRICT        COURT


                     NORTHERN DISTRICT             OF    CALIFORNIA


Before    The   Honorable    Jacqueline       Scott       Corley,    Magistrate          Judge



IN RE    FACEBOOK,   INC.    CONSUMER        )
PRIVACY USER      PROFILE                    )
LITIGATION.                                  ) NO.       18-MD-02843       VC    (JSC)
                                             )


                                      San    Francisco,       California
                                      Friday,       August    14,    2020


          TRANSCRIPT    OF   REMOTE VIDEOCONFERENCE                 PROCEEDINGS


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         (APPEARANCES VIA     ZOOM CONTINUED ON FOLLOWING PAGE)



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 1   Friday    - August         14,    2020                                                  8:27    a.m.


 2                                      PROCEEDINGS


 3                                               ---000---


 4                  THE CLERK:         We're     a minute      early,    but    court    is now in


 5   session.        Let's      see.     Calling Civil Action            18-MD-2843,          In Re


 6   Facebook,       Inc.    Consumer         Privacy User Profile         Litigation.


 7           Counsel,       starting with plaintiff,              can you please             state


 8   your appearance.


 9                  MS.   WEAVER:        Sure.     This   is    Lesley Weaver of Blakemar


10   Fonti    & Auld.        With me      is Anne Davis         and Angelica Ornelas.


11           And    I see    that Matt Montgomery actually is                    not    --    he


12   should be with us.                So he    should probably be         elevated.           I


13   apologize.           I missed him before.            Don't    tell    him.


14                  MR.   LOESER:        Good morning.          You have Derek Loeser                from


15   Keller Rohrback.


16                  THE COURT:         Good morning.


17                  MR.   KO:     Good morning,       Your Honor.          Nice    to    see you


18   again.        David Ko,      Keller Rohrback,          also on behalf         of


19   plaintiffs.


20                  THE COURT:         Good morning.


21           And here       comes Mr.         Montgomery.       He's    here.


22           All    right.       And for Facebook?


23                  MR.   SNYDER:        Good morning,         Judge.     It's    Orin Snyder


24   from Gibson Dunn with my colleagues,                       Deb Stein,       Martie       Kutscher


25   Clark,    and Russ         Falconer.




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 1                 THE COURT:        Good morning.

 2          Okay.        Thank you for your statement.

 3          Let's    see.     It    sounds    like there are not too many things

 4   to discuss.          Let's    just    start.

 5          The    search terms you're working on,               I will       just make this

 6   observation.          I do think it would be unreasonable to insist

 7   that   all terms apply to all custodians.                   That       just can't be

 8   right.       People have different positions.                So I give you that

 9   guidance in working on that.

10          Now,    with respect          to the data about plaintiffs,               let's go

11   through.       And why don't plaintiffs             tell us what         is the data

12   that you're missing that you think is                    relevant.        So one thing

13   you've   identified is          the data about what data about the

14   plaintiffs was         shared with advertisers.             Is    that    correct?

15                 MS.   WEAVER:      That    is    correct   in general       terms,


16   Your Honor.          Basically,      what has been produced to us                is

17   user-facing data through an Access Your Account                          tool,    for the

18   most part.

19          Now,    I want you to know that we have reviewed all of the

20   plaintiffs'         data with more than one pass-through.                   We've done

21   targeted searches.            We've had 18 people,          and more at times,

22   going through the documents.                   So we're pretty familiar with

23   what's there.

24          There are two problems             that we have.          The    first    is that

25   Your Honor ordered us            last    --    two weeks ago to discuss




                                                                                                 0191
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 1   precisely what has been produced and precisely what                               is   the data

 2   that   is being withheld.

 3          And we        --   in the course of our meet-and-confer sessions,

 4   Facebook did not            identify the examples            that    they put      in their

 5   statement.           We didn't discuss        those.     So once again,            we are

 6   getting information the               first   time    in the       statement.

 7          And it would have been better if we had discussed it,

 8   because when we look at               those documents         --    we've    looked at them

 9   before    --    they are not what we're              seeking.       And the reason that

10   they're not          --   and if you look,      there's an example of one of

11   them they gave us.             The content      is missing.           So there's an

12   event that       says one of         the users went      to a website,            but the

13   content of what            they did on the      site    is    stripped away.

14          And our experts          say,    you know,      what did you put            in your

15   shopping cart?            What did you access?           How long were you on it?

16          And that data is also married to GPS data                        --

17                  THE COURT:       Okay.     I have the         statement       --

18                  MS.   WEAVER:     Yeah.

19                  THE COURT:       --    in front of me.

20                  MS.   WEAVER:     Yes.

21                  THE COURT:       Can you put me to the page and the Bates

22   number?

23                  MS.   WEAVER:     The Bates number of the document                      --   hang

24   on.

25                  THE COURT:       Well,    first,      the page of       the statement          so




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 1   I know where             to go.


 2                     MS.    WEAVER:        That    is    going to be harder                     for me.


 3   I think       it's page          6.     The Bates          number      --    and I'm going to


 4   ask    --    Anne,       if   you can help me,              it's      01037245.


 5                     THE COURT:           Don't    see    that.          It's    redacted


 6   information?


 7                     MS.    WEAVER:        Some    of    the    information was                  redacted,


 8   yes.        But    this       information we          can discuss            in the hearing,                if


 9   that    is    --


10                     THE COURT:           No,    no.     I understand.                We    can       --   I'm not


11   worried       --


12                     MS.    WEAVER:        Yeah.


13                     THE COURT:           --    about    that.


14           I'm just          trying to          find    it.     I don't         see    it.


15                     MS.    WEAVER:        Yeah.        Hang on just            a moment.


16                     THE COURT:           Maybe    the    sentence         at    the       first page of


17   the    --


18                     MS.    WEAVER:        Yeah,       I'm actually looking                     --    I


19   apologize.              I'm looking          for the       actual      statement.                 I have    too


20   many things             open on my laptop.


21           But       for all       of    the    documents       that      they've          identified,


22   Your Honor,             these    are    PDFs    that       reflect      some       activity.


23                     THE COURT:           I just want          to   start with             --    I want       to


24   start with          --


25                     MS.    WEAVER:        Fine,        Okay.       So    if you go to page                   5 of




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 1   the    statement          and if we          look at,       for example,             where    it    says


 2   "Ms.    Tutt    reviewed content                   on Amtrak.com,"             it    doesn't       tell us


 3   what    the    content       is    or       it    doesn't       tell us       --


 4                  THE COURT:              Okay.        Or the       --


 5                  MS.    WEAVER:           --       what   they did.


 6                  THE COURT:              --    other one,          that Ms.          Tutt viewed content


 7   on a news       site and          --


 8                  MS.    WEAVER:           Right.          And it        doesn't       --


 9                  THE COURT:              --    tell you what             the    content      is.


10                  MS.    WEAVER:           --       tell   us what        they do.


11                  THE COURT:              Let me       ask Facebook.


12           Do you have          that       content?


13                  MR.    SNYDER:           Mr.       Falconer,       I think,          will   address       this.


14                  MR.    FALCONER:              Good morning,            Your Honor.            Russ


15   Falconer       for Facebook.


16           Our understanding                   is    there    is    some machine-readable data


17   in some       cases       that might             reflect    the       off-Facebook activity that


18   Ms.    Weaver    is       describing             in a kind of          raw,    disaggregated way.


19   That    information          is    not       associated with the plaintiff's                         account


20   in the way that             the user-created,                   user-shared content                and


21   information          is    associated with a user account.


22          And so        I hear       --    I don't         know     --    confusion and frustration


23   from Ms.       Weaver that             they feel          like    they don't understand what


24   we've produced.


25           The    Court       ordered us             to,   you know,        be    as    clear as we         can




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 1   on named plaintiffs'             data,   what has been produced and what has

 2   been withheld.        And what we've tried to do is                say that we've

 3   produced all content             information that      the plaintiffs           share on

 4   Facebook and then some of                the other categories of       information

 5   that we    identified in our statement;                so device    information,

 6   geolocation information,                certain other information that                is

 7   associated with their account.                 And we have been       --    I think

 8   we've tried to be clear;               and if we   failed in this,         we

 9   apologize.

10           There    is other    --    there's    Facebook-generated information,

11   information generated by third parties,                   information received

12   from third parties.              We have not    represented that that                is

13   comprehensively included in our production.

14           What we have produced are Facebook analytics,                      third-party

15   data,    off-Facebook activity,             anything like that       that       is

16   associated with a user's account.

17           And so that's       --    I think the point of departure between

18   the parties right now is maybe the                 level of generality with

19   which we have described what we have not produced.                          But

20   that's    --    we've tried to be as          clear about    the,    sort of,             large

21   buckets that are not             included in the named plaintiff data we've

22   produced to date.

23                  THE COURT:        So,    for example,   when you say Ms.              Weaver

24   said,    as you said,       that       the plaintiff viewed content on

25   Amtrak.com,       are you saying you don't have any way of




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 1   identifying what          that    content          is    that       she viewed at             that


 2   particular time,          even though you were                     able     to    say she viewed


 3   that   website at        that    time?


 4               MR.    FALCONER:           I think          for an       individual plaintiff                   on


 5   an individual website,                if    it was       just       that    question          --    could we


 6   tell    for one of       the named plaintiffs what                         specific          content       she


 7   viewed on the Amtrak website?                      --    if    it was,       you know,             ten years


 8   ago or    seven years       ago,       probably not.                 If    it was          a year ago,


 9   maybe.     That    data may or may not                  have been associated with                          --


10               THE COURT:           Well,       if    it was          this year          --


11               MR.    FALCONER:           Yeah.


12               THE COURT:           --    with that particular                      --


13               MR.    FALCONER:           Sure.


14               THE COURT:           --    data       this year.


15               MR.    FALCONER:           The       answer       is    it's possible.                 There may


16   be   some website-specific                 data about          that named plaintiff;                   there


17   may not be.        There's       some       --


18               THE COURT:           Okay.           And so you haven't                   searched       for    it,


19   or you're withholding             it,       or    --    I guess,          why hasn't          it   been


20   produced?


21               MR.    FALCONER:           So as we understood the                         Court's


22   mandate or,       sort    of,    the       Court's       --


23               THE COURT:           No,       no,    no.     I'm just          asking.


24               MR.    FALCONER:           Oh.


25               THE COURT:           I'm just          asking.




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 1                 MR.    FALCONER:    Because the reason for that         is that

 2   just    to find it      for one named plaintiff would be           like a

 3   multiweek endeavor,         if not    longer.      And the reason for that        is

 4   that    --   let's take the Amtrak example.

 5           With this off-Facebook activity data,                the tables   and the

 6   database where the data is            stored,     you know,    they've been

 7   explained to us         like each one of        them is a book.     And the book

 8   is organized by topic.            The topic that         the book is organized by

 9   is the advertiser.          It's Amtrak;        it's not    the named plaintiff.

10           So for every Facebook advertiser there's a book.                   Right?

11   There's a table that has            some data for advertisement,          website

12   activity,      that kind of      thing.

13           So to gather the         information for one named plaintiff on

14   Amtrak,      that,   we could probably do.             To gather the data for one

15   named plaintiff on every advertiser on every off-Facebook

16   activity that has ever happened,                just    for one named plaintiff,

17   we have to go into each of            those books        individually and look

18   for that one named plaintiff,              and then we'd have to do        it   for

19   each of the other 23         named plaintiffs.

20           So that's the reason why we have not undergone that to

21   date.

22                 THE COURT:     I understand that.            So have you identified

23   every instance that you have that                the plaintiff viewed content

24   on some website,         whatever it      is?

25                 MR.    FALCONER:    Every instance where Facebook has been




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 1   able to associate that off-Facebook activity with a named

 2   plaintiff's account.            Sometimes       they can't make the connection.

 3   But where      it's connected,         we've    identified it.     That's    included

 4   in the production.

 5                 THE COURT:      I assume that        for this privacy case

 6   right?   --    some content        is obviously more private than other

 7   content and the plaintiffs may not necessarily need or want.

 8   They need exemplars.            Right?        And there    is a standing argument

 9   that you guys are maintaining that                 they have to defeat       and

10   damages and all that.              There are particular instances.            Right?

11   So there may be particular instances where you then have to go

12   do that.

13          In other words,        if     it's    the data that was    shared,    which is

14   sort of at      the heart of         the case,    you're probably going to have

15   to do some work on that.               Whether it's every instance,          probably

16   not;   but    certainly certain instances.

17          Now,    plaintiffs,      it    sounds    like,   have a template of where

18   to start.       It may not be Amtrak,            but    it may be the next one

19   there.       Right?

20                 MR.   FALCONER:        Your Honor,       could I be heard on that?

21                 MS.   WEAVER:     Well,       may I --

22                 MR.   FALCONER:        Or,    go ahead.

23                 MS.   WEAVER:     I would like to respond.

24          So what we're talking about               right now and what they've

25   produced is,        there's a tool          so users    can download data.    And




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 1   even in what they're downloading,                           there       is   content missing.

 2           But    there's another whole bucket of data that they haven't

 3   identified to us             that    is    responsive,            and that's      the first    step.

 4   We need the          identification of               the    fields of         the data that they

 5   collect through their third-party relationships,                                   whether it's

 6   apps or websites,             et cetera.             And it       is    this database that

 7   Facebook searches using algorithms                              to target      the users.

 8           What    they've given us                is   sort of       the window dressing of

 9   the platform activity,                   and I've      identified for you that

10   something is missing even from that.

11           But    there    is    --    and,       Your Honor,         we've talked to our

12   experts;       and maybe       it's better to have experts                       talk or put    in a

13   declaration because                I can tell you,               their position will be that

14   this    is,    quote/unquote,             not associated with the users but that

15   doesn't make sense.

16           There    is an event             ID,    because the reason Facebook is

17   collecting it          in the       first place            is    to target people with the

18   data.     So there is a way to go back and find --                                and I agree

19   with Mr.       Falconer that             this data set will be                 immense.     And that

20   is the scope of the case.                      And that's why we               said only for the

21   24 because       --

22                  THE COURT:           I'm just going to                  --

23                  MS.    WEAVER:        Yeah.

24                  THE COURT:           --    tell you guys,               I think maybe you need

25   to think about a special master.




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 1           There's   just no    --

 2               MS.   WEAVER:     Yes.

 3               THE COURT:       I don't have the time or the patience or

 4   the expertise to wade through any of                  this,   like the nuance that

 5   you're getting into.          So    I don't know what         to do.

 6               MS.   STEIN:    Your Honor,       may I be heard for a moment?

 7           So I think the good news on,            sort of,      your reaction to

 8   this    is that this exercise was            really about,      sort of,

 9   identifying categories            so that we could have a conversation

10   about what's required in this              case,     because there     is a whole

11   lot of    information being sought here that has absolutely

12   nothing to do with the            issues   that are being litigated in this

13   case.

14               THE COURT:      No.      I understand that argument.             I don't

15   even know how to figure out what               it    is   that we're even talking

16   about.

17               MS.   STEIN:    Right.

18               MS.   WEAVER:     So Facebook       --

19               MS.   STEIN:    So,     Your Honor,       what's being     --

20               MS.   WEAVER:     Could I --

21               MS.   STEIN:     --    talked about       right now is what's called

22   off-Facebook activity.             And that off-Facebook activity has no

23   relationship to the         issues    that    the dismissal order said are

24   viable right now and that are not               stayed.       The order of

25   dismissal    --




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 1                  THE COURT:       No.     I read that.          I read it.           I


 2   understand.


 3                  MS.    STEIN:    Okay.        Good.


 4                  THE COURT:       So    this    --


 5                  MS.    STEIN:    And so       the   off-Facebook activity                --


 6                  THE COURT:       --    this    has been previewed            --    just,       can   I


 7   finish?


 8                  MS.    STEIN:    I'm sorry,         Your Honor.


 9                  THE COURT:       Because       I'm really losing patience with


10   this    case.


11           This    has been previewed            for a while.       So what          I was hoping


12   to do    is you guys       could just         tee up what      that    data       is    so    I can


13   rule    if    it's    discoverable      or not.


14           I don't       even know how to get            to   that point.


15                  MR.    SNYDER:    Your Honor,          I think there's            a very


16   easy    --


17                  MS.    WEAVER:    If    I could,       I was waiting.


18           Your Honor,       we would like            them to   identify what             they're


19   withholding.           That's   it.


20                  THE COURT:       But    that's      a chicken-and-egg problem.


21   That's       a chicken-and-egg problem.                And I'm not         sure    --    and see,


22   this    is    the problem I'm having.                You   said you've now reviewed


23   it   all.      What    is missing?       You've       identified      --


24                  MS.    WEAVER:    So    I'll    give you examples.                There       are no


25   examples       --




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 1                  THE COURT:          You did.


 2                  MS.   WEAVER:        Okay.


 3                  THE COURT:          No.     I'm going to          let Mr.          Snyder talk.


 4                  MS.   WEAVER:        Fine.


 5                  MR.   SNYDER:        Your Honor,          I share your             frustration,         and


 6   I think this         is very easy.


 7           For example,          on advertisement,            we have gone,             I think as


 8   indicated       in our       statement,         above    and beyond the             call   of    duty


 9   because we       didn't       really want         to    just    say,    "We're not         giving


10   you what       advertisements you reviewed or ads                        that you've            clicked


11   on,    even though       it's      outside       the    scope    of    the    case."


12           This    case    --


13                  THE COURT:          No,    no.     That's       an argument.           Please,


14   let's    try not       to argue.


15                  MR.   SNYDER:        Right.


16                  THE COURT:          I'm going to decide                that    at    some point.


17                  MR.   SNYDER:        Okay.        So what       I would       --


18                  THE COURT:          Just    --


19                                  (Simultaneous           cross-talk.)


20                  THE COURT:          --    that.


21                  MR.   SNYDER:        What    I would respectfully suggest                        is,    we


22   can,    Your Honor,          tee   it up    for you       in a very simple way,


23   because Judge          Chhabria's         order    is very clear about what's                     in


24   and what's       out.        And then each side            can    succinctly,


25   efficiently,         and clearly make             their arguments             about what         is    in




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 1   and what's       out.       And it's          not       going to be                difficult,


 2   Your Honor.           I think      it's pretty clear.


 3           I agree,       on this         call,       people using terminology                         --


 4   "on-platform,"          "off-platform"                  --    it    all       sounds       like


 5   gobbledegook.           I think there's                  a very clear,                   efficient,      and


 6   efficacious way for us                  to    tee       this       up    in a short          statement         to


 7   Your Honor;          and Your Honor can rule                        on       it,    if    Your Honor wants


 8   more   argument        on   it,    without          us       having these                dueling


 9   Zoom/Hollywood Squares,                     you know,          arguments             about what's          in and


10   what's    out    that's      not going to                really lead to any fair ruling.


11                THE COURT:            This       is what          I need to ask Ms.                   Weaver,      is:


12   Do you know what            it    is    that you want                   or that you believe                exists


13   that   you don't have?


14                MS.     WEAVER:           Yes.


15                THE COURT:            You do.              Okay.


16                MS.     WEAVER:           More    or       less.           We    don't       know what      form


17   they keep       it    in or how they keep                     it.        It    is    this    data    set    that


18   they mine,       yes.


19                THE COURT:            Okay.           So    is    there          any reason why,            then,


20   we   can't   adjudicate           that       dispute          as    discoverability?


21                MS.     WEAVER:           We    can    --


22                MR.      SNYDER:          I think we             can       --


23                MS.     WEAVER:           --    adjudicate             that,          Your Honor.


24                THE COURT:            We       can?        Okay.


25                MR.      SNYDER:          We    can and we             should.




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 1                  THE COURT:          All        right.


 2                  MR.    SNYDER:           And    I think we             can do       it very simply


 3   without       a lot    of    drama or complication.


 4                  THE COURT:           So       that's what          --


 5                  MR.    FALCONER:              Your Honor          --


 6                  THE COURT:           --       I want you to do,                then,       on this,


 7   I think.


 8           And,    I mean,       it    doesn't          have       to be       the    joint    letter brief,


 9   whatever.        I mean,       it's          a big    issue.           It    kind of goes          to the


10   heart    of    the    case.        So    I want you to have                   the    ability.           You're


11   going to probably need your experts                               to    some       extent    --    at    least


12   plaintiffs       --    to be       involved with                it.


13           And    I probably want                four briefs.              Right?           Whoever goes


14   first,    second,       first,          second,       so    that       there's       --    my guess       is


15   it's    not    till we get          to       the    second two briefs                that we'll          really


16   be able       to meet       there.           That    just       seems       to be    the process          that


17   we need to do.


18           So you guys work                it    out,    how that's             going to be presented.


19   I'm not giving you any limits                         at    all.        You only have             the    limit


20   of my time       and attention                span.        So    just       keep    that    in mind.


21                                                  (Laughter.)


22                  MS.    WEAVER:           And how much time,                   Your Honor,          would you


23   like between briefs                and the hearing?                    What       kind of    timing       --


24                  THE COURT:          We'll put           a hearing.                 I'll    figure    it    out.


25                  MS.    WEAVER:           Okay.




                                                                                                                        0204
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 1                 THE COURT:        I mean,         to be honest,               I'm just    swamped at


 2   the moment.


 3                 MS.    WEAVER:     I know.


 4                 THE COURT:       So,    but you get            it    to us.        We'll get


 5   through      it.     And we will      set       it    for hearing.             I think    it's


 6   important      to have    an oral         --


 7                 MR.    LOESER:     And,      Your Honor,            if    I could be heard for


 8   one quick minute on one              --


 9                 THE COURT:       Yes.


10                 MR.    LOESER:     This      is    Derek Loeser.


11          --    just,    process point.


12          Where we       stand right         now,       we generally think we know


13   what's missing,         and we    can describe              it    in our briefs.


14          Facebook obviously has                  specific knowledge               about    what's


15   missing.       And so because         they haven't               identified       specifically


16   what   they're withholding,               I really think               it would be       improper


17   for them to argue         in their brief               that we haven't been specific


18   enough with what we're            seeking.             If   that       is   going to be     their


19   argument      in their brief,         then they should comply with your                           last


20   order,      which was    to    identify specifically what                       they're


21   withholding.


22          But    that's    the only      --


23                 THE COURT:       Yeah.           No,    I understood.             So that's why


24   I'm doing      four briefs.


25          And    in the meantime,            you    should be         talking and really




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 1   trying to narrow.                    It    is    in both sides'          interest    to have      it


 2   teed up as       accurately as possible                         for me    to decide.        Otherwise,


 3   I'm going to make                a wrong decision one way or the other because


 4   I won't understand.


 5                  MR.    SNYDER:              And,       Your Honor,       it's    in everyone's


 6   interest       to have you not be                      frustrated with us,          which    I


 7   understand and             I think your                frustration       is well-placed,         one.


 8           Two,    we want          Your Honor             to    continue    to preside over


 9   discovery;       and we would,                   I think,       lose   a lot     if we had to      start


10   fresh with a special master.


11           And mindful             of    that,       we're going to work to narrow the


12   issues.        Maybe we          can even eliminate                them.       And we have a lot


13   of   other work to do                 in the meantime.                 So however    long


14   Your Honor needs,                we're going             to obviously abide          and respect


15   that,    and we're not                going to,          you know,       ask you to turn around


16   a ruling.


17           There's       a lot we have                   to do on    search terms       and privilege


18   logs    and ADI protocols.                       So    there's    a ton of work       for us      to do


19   while Your Honor takes                      --    you know,       takes    the    time necessary to


20   adjudicate       this       issue,          which       is    ripe now.


21                  THE COURT:                 Yeah.        Just    don't put       a hearing date.


22   I'll pick       it.        So that's             not    a problem.


23                  MR.    LOESER:              The    only thing       I would add to that,


24   Your Honor,          is    that we would                like you to be very frustrated


25   with Orin all             the    time,          but not with us.




                                                                                                                 0206
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 1                                                  (Laughter.)


 2                  THE COURT:              Well,    this week has not been                  --    I've been


 3   frustrated a lot,                and I apologize             for that.


 4                  MR.    SNYDER:           Don't    apologize.


 5                  MS.    WEAVER:           It's    tough times.


 6                  THE COURT:              There's    a lot.           There's      just    a lot,


 7   scheduling.


 8                  MR.    SNYDER:           Yes,    Your Honor.


 9                  THE COURT:              Okay.     So,       which leads me            to my next


10   point,       which    is    the    joint       statement         --    okay?    --    which    is,    you


11   all    are    extremely talented,                experienced lawyers.                   If you can't


12   figure out       a way,          a process       for this          statement         to work          it's


13   really,       actually,          for you.        Right?          The    statement       is    a great


14   way of       assessing where we                are,    what      our disputes          are,


15   crystallizing          it.        It's    for you more             than me,      quite honestly.


16   And    if you guys          can't       figure    out       together a way to do that,


17   then we've got             to go back to          zero and start               over.        I mean,    this


18   should be       the    easy part.


19           So    I'm not       going to       tell you how to do                  that    joint


20   statement.           The only thing             I'm going to            tell you       is    I want    it


21   however          what       is    --    just    even one         day,    I give you,          right,


22   before       this?     I take          it upon myself;             I will make         time    to read


23   it    the night before             or early the morning before.                         That's my


24   only deadline.              You guys work             it    out.       Whatever works best             for


25   you and gets          it.        But    the point          is,   it    should really try to




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 1   crystallize       it.

 2           My own view is       --    and with other cases          --    is   that    --   at

 3   least with discovery disputes,                is    if you do time          for a reply as

 4   opposed to changing what you've already said,                         that tends to

 5   work better.        But    I'm not    ruling at all            I want you guys to

 6   come up with it.           It's,    frankly,       below my pay grade to have to

 7   tell you how to do it.

 8                                         (Laughter.)

 9               MR.    LOESER:        We hear that       loud and clear,         Your Honor,

10   and we will keep talking to Facebook about                      it.

11           We just think that          it would be really useful               for everyone

12   here,    including for you,          if people talk about             things that they

13   put    in their statements before             it's    submitted to the Court.

14   And so that's our mission in trying to come up with a better

15   way to do this.           That's what we're trying to accomplish.

16               THE COURT:        Maybe you could do a statement,                   a draft,

17   and then you talk about what's                in the draft.           Right?       So then

18   you know what's         in there before you           --   I don't know,        but that

19   would --

20               MR.    LOESER:        Yeah.    We'll     figure    it out.

21               THE COURT:        Yes.        I know you guys       can figure         it out

22   because you're all outstanding lawyers.                       That's why you're on

23   this    case.

24           Okay.     So then we need to pick our next date.                       How about

25   we push it out three weeks,               to September 3rd?




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 1                MR.    LOESER:      I think that's            the    749th day of March;


 2   so,    sounds   great.


 3                                           (Laughter.)


 4                MS.    WEAVER:      That's       fine,      Your Honor.


 5                MR.    SNYDER:      And two months before               Election Day,


 6   assuming the post           offices     --


 7                MS.    WEAVER:      There       is   one.


 8                MR.    SNYDER:      --   assuming the post             offices   and the


 9   polling places         aren't    shut    down permanently.


10                THE COURT:         All    right.       Okay.


11                MR.    LOESER:      Don't       depress us,         Orin.


12                THE COURT:         I apologize         for having to        lecture   a little


13   bit,   but   to be honest,        you guys         can do better.         I know you can.


14   I know you can.          I have       tremendous         respect    for all   of you.


15          Okay.       Great.     I look     forward to our next             conference.


16   It'll be     September 3rd at           8:30      a.m.


17                MR.    SNYDER:      Thank you,         Judge.


18                MS.    WEAVER:      Thank you,         Your Honor.


19                MR.    SNYDER:      Thank you         for everything you're doing.


20   Appreciate      it.


21                THE CLERK:         Court's       adjourned.


22                         (Proceedings      adjourned at         8:51    a.m.)


23                                            ---o0o---


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25




                                                                                                    0209
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 1


 2                             CERTIFICATE OF REPORTER


 3             I certify that the foregoing is a correct transcript

 4   from the record of proceedings              in the above-entitled matter.

 5


 6   DATE:   Saturday,    August   15,    2020


 7


 8


 9                    Qvut,
10           Ana M.    Dub,   CSR No.    7445,    RDR,    CRR,   CCRR,   CRG,   CCG
                      Official   Reporter,       U.S.    District   Court
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Additional counsel listed on signature page



                              UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF CALIFORNIA



IN RE: FACEBOOK, INC. CONSUMER                    MDL No. 2843
PRIVACY USER PROFILE LITIGATION                   Case No. 18-md-02843-VC



This document relates to:                         PLAINTIFFS' OPPOSITION TO
                                                  DEFENDANT FACEBOOK, INC.'S
ALL ACTIONS                                       REQUEST TO ENFORCE THE PARTIAL
                                                  STAY OF DISCOVERY IN PRETRIAL
                                                  ORDER NO. 20 AND CROSS-MOTION
                                                  TO COMPEL DISCOVERY RELATED
                                                  TO REQUESTS FOR PRODUCTION
                                                  NOS. 9THROUGH 13

                                                  Judges: Hon. Vince Chhabria
                                                  Hon. Jacqueline S. Corley
                                                  Courtroom: 4, 17th Floor




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       B.      The discovery requests at issue and Facebook's response                          6

       C.      Relevant sensitive information is not limited to platform activity, but also
               includes sensitive information Facebook derives and collects from business
               partners, app developers, apps, and other sources.                               7

               1.     User data includes, in Facebook's words, "native, appended and
                      behavioral data" that Facebook collects from business partners, apps
                      and other activity.                                                        8

               2.     Internal documents confirm that Facebook's description of data
                      "associated" with users is misleading                                    11

       D.      Facebook has not established that the burden of producing the data relating
               to ten Plaintiffs is disproportional to the needs of this case.                 12

       CONCLUSION                                                                              14




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                                      I.     INTRODUCTION

          Facebook does not want Plaintiffs to obtain discovery showing the full breadth of its

wrongful disclosure of its users' sensitive information. Accordingly, Facebook seeks to limit

discovery in this case to asingle category of improperly shared information: users' activity on

the Facebook platform. The sensitive information that Facebook collects and shares with third

parties is much more extensive than this. It collects users' sensitive information from avariety of

sources—including from third parties—then pools the information with user-posted activity and

generates additional information from the full data set it accumulates. It then shares this

information about users and their friends with third parties. All of this information, including

who has access to it and how it is used, is relevant to Plaintiffs' claims.

          As aresult, there are at least three compelling reasons that Facebook's motion should be

denied and Plaintiffs' cross-motion to compel production of documents responsive to Requests

for Production ("RFPs") Nos. 9through 13 1 should be granted.

         First, contrary to Facebook's tortured reading of Pretrial Order No. 20 ("Order" or "PTO

20"), Dkt. No. 298, the Court did not limit discovery in this case only to information regarding

user activity on Facebook. While that information—and Facebook's subsequent disclosure of

it—is of course relevant, that is not the only type of sensitive information relevant to Plaintiffs'

claims or the four categories of wrongdoing recognized by the Order.

          Second, the universe of data Facebook collects and shares about users is also not limited

to user activity on Facebook, but instead consists of asea of information obtained from awide

variety of sources, including from business partners, app developers, apps, and other third

parties. Indeed, as Facebook's own documents show, it collects information about users far

beyond what Facebook has produced in this case. And discovery produced to date further

confirms that Facebook not only collects this information, but links it to users and shares it with

third parties—putting to rest Facebook's nonsensical suggestions that Plaintiffs have failed to

articulate what additional evidence exists or that Facebook cannot "associate" certain data with a


1   For details on these RFPs, see itfra §II.B.

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user.

          Third, there is no justification for Facebook's claims of undue burden. Such an argument

should be accorded minimal weight in acase of this size and complexity involving acompany

whose business model is premised upon the collection and production of electronic information

about billions of users. Facebook has come nowhere near meeting its burden of demonstrating

why data regarding solely Named Plaintiffs—relative to the hundreds of millions of potential

class members whose information is ultimately at issue in this case—is not proportional to the

needs of the case. In fact, pursuant to the Court's recent guidance regarding streamlining

Plaintiffs' discovery, Plaintiffs have reduced the number of individuals who will be class

representatives to ten, down from the twenty-three. Plaintiffs only seek the discovery at issue

here related to these ten Plaintiffs (for purposes of this motion, the "Named Plaintiffs.")

                                        II.    ARGUMENT

A.        The Order does not limit discovery to users' platform activity.

          PTO 20 does not directly address the question raised by Facebook in its motion—whether

this case is limited to user activity on the Facebook platform or includes all the sensitive

information about users that Facebook improperly shared with third parties. But the Order

nowhere expressly limits the case to user activity. (I Mot. 2 at 1. Nor does it make sense to read

the Order that way. That sort of limitation would conflict not only with claims and theories that

the Order upheld, but also with the grounds on which they were allowed to proceed to discovery.

          Facebook, under the guise of enforcing adiscovery stay that was never issued in the first

place, spends many pages straining to read the Order to limit discovery to data relating only to

users' on-platform activity. This provides amisleading picture of what the Order says and

inaccurately ascribes to the Court aset of internally inconsistent views.

          1. The Order. The Order summarizes its understanding of Plaintiffs' claims in atwo-

sentence précis near the beginning: "Broadly speaking, this case is about whether Facebook




2   Def. Facebook, Inc,'s Opening Brief in Supp. of Its Req. to Enforce the Partial Stay of
    Discovery in Pretrial Order No. 20 ("Mot"), Dkt. No. 515.

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acted unlawfully in making user information widely available to third parties. It's also about

whether Facebook acted unlawfully in failing to do anything meaningful to prevent third parties

from misusing the information they obtained." Order at 3. This description focuses on

Facebook's unlawful disclosure of information about users and their friends to third parties—not

on whether that information was originally posted, shared, or generated by users on the Facebook

platform.

        The Order then discusses the four categories of Facebook's wrongdoing. These categories

are: (1) "[g]iving app developers access to sensitive user information"; (2) "[c]ontinued

disclosure to whitelisted apps"; (3) "[s]haring sensitive user information with business partners";

and (4) "Wailure to restrict the use of sensitive information." Order at 6-9. These categories line

up neatly with the earlier description of the action as alleging that "Facebook acted unlawfully in

making user information widely available to third parties" (the first three categories) and that

Facebook "fail[ed] to do anything meaningful to prevent third parties from misusing the

information they obtained" (the fourth category). Id. at 3.

        Using these four categories of wrongdoing as aframework, the Order analyzed whether

Plaintiffs had standing to bring their claims and whether they stated valid claims. It ruled that

Plaintiffs had standing because they alleged that their "sensitive information was disseminated to

third parties in violation of their privacy." Id. at 14. It upheld nearly all of Plaintiffs' claims (e.g.,

three privacy-based tort claims under California law, aclaim under the Stored Communications

Act ("SCA"), aclaim for breach of contract, and aclaim for unjust enrichment) except to the

extent they were based on the first category of wrongdoing, the disclosure of user information to

app developers. Id. at 30-34, 38-41. It upheld in its entirety Plaintiffs' claim under the Video

Privacy Protection Act ("VPPA"). Id. at 34-35. And it upheld Plaintiffs' claim for negligence,

which was based on the fourth category of wrongdoing. Id at 35-36.

        2. The Order's rationale. Why did the Order conclude that Plaintiffs had standing and

had stated valid claims? On these points, the Order is clear. Plaintiffs had standing because "their

"sensitive information was disseminated to third parties in violation of their privacy." Id. at 14.


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This reasoning focuses not on where the user information was originally generated—whether on

the Facebook platform or off it—but on its nature ("sensitive") and on what Facebook did with it

("disseminated" it "to third parties").

        Similarly, when discussing the claims, the Order focused not on the original provenance

of the information about users, but on its nature and on what Facebook did with it. So, for

example, the Order ruled that:


            • Plaintiffs had stated valid privacy torts because Facebook had disseminated
              information that was "sensitive" and as to which Plaintiffs had areasonable
              expectation of privacy. Id. at 30-33.


            • Plaintiffs had stated aclaim under the Stored Communications Act because
              Facebook had disseminated the content of their electronic communications and
              had not gained their consent to do so. Id. at 33-34.


            • Plaintiffs had stated aclaim under the Video Privacy Protection Act because
              Facebook had disseminated "information which identifies aperson as having
              requested or obtained specific video materials or services," id. at 34 (citation
              omitted), and Facebook qualified as a"video tape services provider" under the
              statute, id. at 35.

       3. "Sensitive information" is not &fined by where Facebook collects that ihformation.

       The Order repeatedly notes that Facebook shares "sensitive" user information without

consent. Facebook pins its argument to this one word, maintaining that the Order "defined"

sensitive user information to mean only information about what users post on Facebook, Mot. at

1, or users' platform activity, Mot. at 8. But the common-sense meaning of "sensitive

information" encompasses more than just what users did on the platform. Consider, for example,

aFacebook user's Amazon.com order for an over-the-counter contraceptive or another user's

entry of "alcoholic support group in Tower District, Fresno" into asearch engine. "Sensitive

information" also includes information that Facebook can irjer from on-platform information—a

category of information it has not produced. (Think of the inferences that Facebook can draw

from weekly photographs of auser taken at M.D. Anderson Cancer Center.) Facebook's

objection that such information is categorically not "sensitive" is false.

       It is true that when the Order gave examples of sensitive user information, the examples it


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used concerned information generated on the Facebook platform. E.g., Order at 1, 17. Nowhere,

however, did the Order &fine or limit sensitive information to users' platform activity only. And

the Order's reasoning certainly is not limited to such information. Rather, as noted above,

Plaintiffs' standing to bring their claims, and the validity of many of those claims, depends on

the nature rather than the provenance of the information, and on whether Facebook shared that

information with third parties. And, as Plaintiffs have learned through discovery, the sensitive

information about users that Facebook collects and shares with business partners and app

developers includes both information originally generated outside the Facebook platform and

information derived from on- and off-platform activity.

        It also is farfetched for Facebook to argue that the Order rules that all of Plaintiffs'

claims—including their federal statutory claims—rise or fall depending on whether the

information that Facebook shared is "sensitive" in the sense of being embarrassing or deeply

intimate. The validity of Plaintiffs' claim under the SCA, for example, does not turn on how

embarrassing or intimate the information is that Facebook shared, but on whether the shared

information includes the contents of an electronic communication. 18 U.S.C. §2702(a)(1).

Similarly, Plaintiffs VPPA claim turns on whether the information that Facebook shared includes

"information which identifies aperson as having requested or obtained specific video materials

or services from avideo tape service provider." Id. §2710(a)(3). If, for example, Facebook

collected and shared auser's video-watching queue from adifferent platform, that would

constitute aVPPA violation.

        In sum, while the Order does not explicitly address the issue posed by Facebook's

motion, it certainly does not limit discovery in this case to on-platform user activity and reading

it that way is inconsistent with the Court's reasoning. It is also inconsistent with statements by

the Court during the motion to dismiss hearing about the breadth of user data that is relevant to

Plaintiffs' claims:

        For example, if— I'm aFacebook user. And, you know, I'm trying to assess the
        likelihood that my sensitive information got into the hands of third parties and, if
        so, how many third parties and, if so, what kinds of third parties. If Ihave afull


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          understanding of the third parties that had access to the information, and afull
          understanding of what type of information they had access to, and afull
          understanding of who they were, and what they —and what restrictions were
          placed on them, we then have abetter understanding of what was likely to have
          happened to me.


Nov. 4, 2019 Tr. at 15:20-16:4. It is the "full understanding" referred to by the Court that

Plaintiffs seek, and that Facebook refuses to allow.

          Finally, this reading prevents Named Plaintiffs from discovering even the general policies

and practices of Facebook governing the sharing of their sensitive information, policies and

practices that are critical for this case. See Pretrial Order No. 30 at 2, Dkt. No. 347 ("[T]he best

way to assess the merits and to determine whether class certification is appropriate is almost

certainly to conduct discovery on Facebook's general practices."). Plaintiffs submit that

Facebook's exclusion of this information from discovery is not what the Order intended.

          4. The Order stayed claims, not discovety. Plaintiffs organized their claims into three

categories: prioritized claims, prioritized consumer protection act claims alleged in the

alternative, and non-prioritized claims. First Am. Consolidated Compl. ("FACC") at 317-411,

Dkt. No. 257. The Order made the simple observation that 141 other prioritized claims not

addressed by this ruling will be stayed (effectively, relegated to non-prioritized status) and

adjudicated, if necessary, at alater state in the proceedings with the other non-prioritized

claims." Order at 6. Facebook's claim that this holding somehow imposed astay of discovery is

baffling. The Order does not, and does not purport to, stay discovery in any fashion. 3

B.        The discovery requests at issue and Facebook's response

          The present dispute arises from five discovery requests, each of which asks for data that

Facebook possesses about Named Plaintiffs, the third parties that Facebook disclosed this data

to, and the types of information that was disclosed to them. See Ex. A, Def. Facebook, Inc.'s

Resps. & Objs. to Pls.' Second Set of Reqs. for Produc. In particular, RFP No. 9requests 141



3   Even if it were, the Order observed that "[o]f course, dismissal of asubset of claims with
    prejudice does not preclude aplaintiff from seeking revival if discovery reveals afactual basis
    that justifies reconsideration[.]" Order at 37 n.21 (citations omitted).

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Documents relating to each of the Named Plaintiffs, including but not limited to all Content and

Information collected about each of them or gained from business relationships or any other

source."4 Id. RFP No. 10 asks Facebook to produce, "[for each of the Named Plaintiffs,

Documents sufficient to show the categories of Content and Information Facebook collects,

tracks, and maintains about them." Id. RFP Nos. 11-13 then request documents requesting

Facebook to identify the third parties that were able to access this information, including the

categories of data that were disclosed to them and how they accessed it. Id. Plaintiffs propounded

these requests nearly one year ago in November 2019.

         In response to these requests, Facebook produced information collected by the DYI

("Download Your Information") tool. This limited tool allows downloads of some, but not all,

information relating to users' activity on the platform. And Facebook freely acknowledges that

Plaintiffs can access this information themselves. Id. ("[A]l1Facebook users are free to download

their DYI file if they wish."). In addition to the DYI production, Facebook has produced an

undefined category of "additional information associated with [users'] accounts" for each

Plaintiff. Mot. at 6. But Facebook does not describe what the "additional information" is, likely

because it is extremely limited—it consists solely of information users can access through their

account in the form of their privacy settings and information reflecting user activity on

Facebook. Critically, the form of production also obscures whether some of the activity was

public or private. Thus, virtually all of Facebook's 850,000-page production relating to the

original Named Plaintiffs in this case was already accessible to Plaintiffs and tells only part of

the story.

C.       Relevant sensitive information is not limited to platform activity, but also includes
         sensitive information Facebook derives and collects from business partners, app
         developers, apps, and other sources.

         Facebook acknowledges that it collects and shares substantial amounts of additional

sensitive information about users beyond their platform activity. See, e.g., Aug. 14, 2020 Hr'g




4   The requests use the definition of "Content and Information" from Facebook's Statement of
    Rights of Responsibilities—a definition that is not limited to on-platform data.

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Tr. 8:10-13 ("[T]here's Facebook-generated information, information generated by third parties,

information received from third parties. We have not represented that that is comprehensively

included in our production."); see also Mot. at 10-15 (describing off-platform activity and

internal analytics it has not produced). However, Facebook contends that this other information

is not relevant to this case. This is false.

        1.      User data includes, in Facebook's words, "native, appended and behavioral
                data" that Facebook collects from business partners, apps and other activity.



                                                           See Ex. B, FB-CA-MDL-00213424-

439.




              Id.

                                                                   Id.




                                                                         Id.




                      Id.




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                             —the only type of data Facebook has partially produced about users so

far—is important for this case, so too is

                                            Moreover,




             See Ex. B, FB-CA-MDL-00213424-439




        "                         "); id. at FB-CA-MDL-002 13424 (




                                            ).

       Critically—and contrary to Facebook's suggestion that this data is irrelevant and

duplicative of information it has already produced (Mot. at 14)—discovery confirms that

Facebook shares this data with third parties.




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                                                                         Id..

       Another internal document,




                                                                                              These

documents make clear that Facebook collects sensitive user information in avariety of different

ways and discloses it to third parties.

        Facebook's insistence that it need only produce on-platform Native Data makes even less

sense when considering Plaintiffs' claims. Plaintiffs' statutory and common law claims are not

limited to information generated from users' activities on Facebook. For example, under the

VPPA, Plaintiffs must prove that Facebook disclosed "personally identifiable information

concerning any consumer" to "any person" absent written or informed consent. 18 U.S.C. §

2710(b)(2). Under the SCA, Plaintiffs must prove that Facebook "knowingly divulge[d] to any

person or entity the contents of any communication" users did not intend for Facebook to

divulge. 18 U.S.C. §2702(a). The source of the information—that is, whether it was the result of

on- or off- platform activity, gleaned directly from users' posts, or inferred from them—is

irrelevant. Disclosure of any of this information without consent is actionable.

        Similarly, Plaintiffs' Public Disclosure of Private Acts claim requires Plaintiffs to prove

that Facebook disclosed aprivate fact about the plaintiff that is objectionable and offensive to a

reasonable person. Doe v. Gangland Prods., Inc., 730 F.3d 946, 958 (9th Cir. 2013). Likewise,

Plaintiffs' Intrusion into Private Affairs claim requires Plaintiffs to prove an intrusion by

Facebook into aprivate matter that is highly offensive to areasonable person. Shulman v. Gip.

W. Prods., Inc., 18 Ca1.4th 200, 231 (1998). In order to prove these claims, Plaintiffs must


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ascertain the private facts about them that Facebook is collecting and disclosing, whether they

originate from platform activity or not.

          Across many claims, the Order sustained Plaintiffs' allegations about Facebook's

undisclosed data reciprocity programs with business partners. Plaintiffs are thus entitled to know

what sensitive user data, of any type or source, Facebook shared with its business partners.

Plaintiffs are further entitled to any data that Facebook received from its business partners in

return, since the value of that data constitutes the benefit Facebook received in the transaction, a

benefit that Plaintiffs are entitled to recover under, inter alia, the unjust enrichment claim that

the Court sustained. Order at 41 ;
                                 5 see also Order at 8(noting the allegation that "Facebook and



its [business] partners agreed to exchange information about users' activities with each other").

          Facebook notes repeatedly that targeted advertising and psychographic marketing are not

part of this case. See, e.g., Mot. at 9. This argument misses the point. The question is not whether

Facebook should or should not have engaged in targeted advertising and psychographic

marketing. The question is whether, when doing so, Facebook shared sensitive user and friend

information without consent. Plaintiffs are entitled to obtain the discovery necessary to

substantiate the allegation that improper sharing has occurred in the context of these activities.

          2.     Internal documents confirm that Facebook's description of data "associated"
                 with users is misleading.

          Facebook claims it has produced all data it possesses that is "associated" with Named

Plaintiffs. That is, while it generated and collected reams of data about Named Plaintiffs,

Facebook claims that most of that data, including Appended and Behavioral Data, is anonymized

and cannot be connected to Named Plaintiffs. This is false.

          Facebook explains that Appended and Behavioral Data cannot be associated with

Plaintiffs' Facebook accounts because such data is "disassociated from the user's ID within 90



5   Facebook's position blocking discovery of what it possesses and shares is in tension with
    Facebook's own discovery requests to Named Plaintiffs. Facebook's Interrogatory No. 8asks
    Plaintiffs to "Identify all entities other than Cambridge Analytica that You believe have
    "misused sensitive information from Your Facebook Account." But Facebook itself will not
    identify with whom it shared that sensitive information, let alone what information it possesses.

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days" (Mot. at 15). But, as confirmed by internal documents, what actually happens is that




                                        Indeed, the very purpose of collecting all of this data in the

first place is to use it to target users and their friends.




                                                                          (I Mot. at 15.

        Similarly,

                             See Ex. B. "Hashed data matching" is the process of matching

different data sets through the hash values of unique identifiers. For instance, when an advertiser

uploads aspreadsheet of Custom Audience data including hashed email addresses, Facebook can

match this data to its users through the hashed email address field.

        Thus, it simply is untrue that it would be "nearly impossible" to produce the

"disassociated" data in this case for Named Plaintiffs. Mot. at 15. Facebook clearly has the

ability to connect Named Plaintiffs' user information through RIDs and hashed data matching,

and should be ordered to do so in response to RFP Nos. 9-13.

D.      Facebook has not established that the burden of producing the data relating to ten
        Plaintiffs is disproportional to the needs of this case.

        Facebook also suggests that "the burdens of locating the additional information Plaintiffs

seek would far exceed the needs of the case." Mot. at 12. But the burden associated with

producing the requested information is not undue; it is proportional to the needs of this complex



6   Ex. E, PwC CPUP FB00030737-738.
7   Id. at PwC CPUP FB00030738




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case. In assessing proportionality, Federal Rule of Civil Procedure 26 directs consideration of

"the importance of the issues at stake in the action, the amount in controversy, the parties'

relative access to relevant information, the parties' resources, the importance of the discovery in

resolving the issues, and whether the burden or expense of the proposed discovery outweighs its

likely benefit." Fed. R. Civ. P. 26(b)(1). Helpfully, Judge Chhabria provided further guidance at

the March 5, 2020 Case Management Conference, stating:

       Iam concerned that Facebook has, you know, often made statements reflecting an
       unduly narrow view of what should be turned over to the Plaintiffs. And, you
       know, this is abig case. Imean, there is often alot of talk about proportionality
       and whatnot. This is abig case. It is asignificant issue. You know, and there is --
       this is not the type of case where we are going to be saying: Well, that might end
       up -- that effort might end up uncovering some relevant information; but, you
       know, it is just too expensive or difficult, and so we are not going to make
       Facebook do it. This is really not one of those cases where that is very -- that type
       of argument is likely to carry the day. You know, and, as Ihave said anumber of
       times, you know, the best way to figure out what happened as it relates to the
       claims that are going forward now is to -- for Facebook to produce all
       information, all documents about the practices associated with giving third parties
       access to friends' information and friends' of friends information.


Tr. at 28:25-29:18. Judge Chhabria's observations regarding the size of this case remain on

point. The proposed class period extends from 2007 to the present, the potential class members

number in the hundreds of millions, and the third parties with whom Facebook shared user data

appear to number in the tens of thousands. In that context, Plaintiffs' request for the data

concerning ten individual users seems not only proportional to the needs of the case but modest.

       Furthermore, Facebook's claims of burden are unsupported. "[T]he party opposing

discovery has the burden of showing that discovery should not be allowed, and also has the

burden of clarifying, explaining and supporting its objections with competent evidence." Harris

v. Best Buy Stores, L.P., No. 3:15-cv-00657-HSG (KAW), 2016 WL 6024556, at *1 (N.D. Cal.

Oct. 14, 2016) (quoting La. Pac. Coy. v. Money Mkt. 1Institutional Inv. Dealer, 285 F.R.D.

481, 485 (N.D. Cal. 2012)). A party claiming undue burden or expense "ordinarily has far better

information—perhaps the only information—with respect to that part of the determination." Fed.

R. Civ. P. 26(b)(1) advisory committee's note (2015). Therefore, the "party claiming that

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discovery imposes an undue burden must 'allege specific facts which indicate the nature and

extent of the burden, usually by affidavit or other reliable evidence." Sullivan v. Personalized

Media Commc'ns, LLC, No. 16-MC-80183-MEJ, 2016 WL 5109994, at *3 (N.D. Cal. Sept. 21,

2016) (quoting Nationstar Mortg., LLC v. Flamingo Trails No. 7Landscape Maint. Ass 'n, No.

2:15-cv-01268-RFB-NJK, 2016 WL 4071988, at *4 (D. Nev. July 28, 2016)). 8 Facebook has

furnished no evidentiary support for its objections of undue burden and its objections should be

overruled.

          Plaintiffs emphasize that they are seeking discovery about ten Named PlaintJs—not

millions, not thousands, and not hundreds of users. Based on the information Plaintiffs obtain

about themselves, and about Facebook's general practices and procedures, they will seek to

prove their class claims. Facebook's contention that Plaintiffs are not even entitled to obtain in

discovery the evidence necessary to show what Facebook collects about them, and with whom it

shares the information is impossible to square with Facebook's basic discovery obligations under

the Federal Rules.

                                       III.    CONCLUSION

          For the reasons set forth above, Plaintiffs respectfully request that the Court deny

Facebook's motion to impose adiscovery stay and grant Plaintiffs' motion to compel discovery

responsive to Requests for Production Nos. 9through 13.




8   See also SPS Techs., LLC v. Briles Aerospace, Inc., No. CV 18-9536 MWF (ASx), 2020 WL
    4341717, at *2-3 (C.D. Cal. June 25, 2020) (overruling objection to requests for production of
    documents and noting that the party resisting discovery must describe "in specific detail, how
    each Request is overly broad and unduly burdensome by submitting affidavits or other
    evidence describing the nature of the burden"); Polaris Innovations Ltd. v. Kingston Tech. Co.,
    No. CV1600300CJCRAOX, 2017 WL 3275615, at *6 (C.D. Cal. Feb. 14, 2017) (court grants
    motion to compel production of documents by defendant Kingston in part because "Megarding
    its assertion that the requests are overly burdensome, Kingston has not submitted any
    evidentiary declaration to support this objection.").

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Dated: September 28, 2020                             Respectfully submitted,



KELLER ROHRBACK L.L.P.                                BLEICHMAR FONTI & AULD LLP


By:    /s/ Derek W. Loeser                            By:      /s/ Lesley E. Weaver
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               ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(i)(3)



       I, Derek W. Loeser, attest that concurrence in the filing of this document has been

obtained from the other signatory. Ideclare under penalty of perjury that the foregoing is true

and correct.

       Executed this 28th day of September, 2020, at Seattle, Washington.



                                             /s/ Derek W. Loeser
                                             Derek W. Loeser




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                                  CERTIFICATE OF SERVICE

          I, Sarah Skaggs, hereby certify that on September 28, 2020, Ielectronically filed the

foregoing with the Clerk of the United States District Court for the Northern District of

California using the CM/ECF system, which shall send electronic notification to all counsel of

record.

          In addition, the following were served via email:



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        Plaintiffs' Exhibit A




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                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA
                                SAN FRANCISCO DIVISION




IN RE: FACEBOOK, INC. CONSUMER                        CASE NO. 3:18-MD-02843-VC
PRIVACY USER PROFILE LITIGATION,
                                                      DEFENDANT FACEBOOK, INC.'S
                                                      RESPONSES AND OBJECTIONS TO
This document relates to:                             PLAINTIFFS' SECOND SET OF
                                                      REQUESTS FOR PRODUCTION
ALL ACTIONS




   FACEBOOK, I
             NC.'S RESPONSES AND OBJECTIONS TO PLAINTIFFS' SECOND SET OF REQUESTS FOR PRODUCTION
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       Defendant Facebook, Inc. ("Defendant" or "Facebook"), by and through its attorneys,

and pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure, the Local Civil Rules of

the U.S. District Court for the Northern District of California, the Court orders in this action, and

the parties' agreements and conferences among counsel, provides the following responses and

objections to Plaintiffs' Second Set of Requests for Production (the "Requests").

                                 PRELIMINARY STATEMENT

        1.       Facebook's responses to the Requests are made to the best of Facebook's current

knowledge, information, belief, and understanding of Plaintiffs' requests. Facebook's factual

and legal investigation of this matter is ongoing. Facebook reserves the right to supplement or

amend any responses should future investigation indicate that such supplementation or

amendment is necessary.

       2.        Facebook's responses to the Requests are made solely for the purpose of and in

relation to this action. Each response is given subject to all appropriate objections (including,

but not limited to, objections concerning privilege, competency, relevancy, materiality, propriety,

and admissibility). All objections are reserved and may be interposed at any time.

       3.        Facebook's responses are premised on its understanding that Plaintiffs seek only

that information that is within Facebook's possession, custody, and control.

       4.        Facebook incorporates by reference each and every general objection set forth

below into each and every specific response. From time to time, aspecific response may repeat

ageneral objection for emphasis or some other reason. The failure to include any general

objection in any specific response shall not be interpreted as awaiver of any general objection to

that response.

       5.        Nothing contained in these Responses and Objections or provided in response to

the Requests consists of, or should be construed as, an admission relating to the accuracy,

relevance, existence, or nonexistence of any alleged facts or information referenced in any

Request.




   FACEBOOK, I
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                                    GENERAL OBJECTIONS

        1.      Facebook objects to each Request, including the Definitions and Instructions, to

the extent that it purports to impose obligations beyond those imposed by the Federal Rules of

Civil Procedure, the Federal Rules of Evidence, the Local Civil Rules of the U.S. District Court

for the Northern District of California, and any agreements between the parties.

        2.      Facebook objects to each Request to the extent it seeks information unrelated or

irrelevant to the claims or defenses in this litigation. In particular, the Court has held that

individuals who joined Facebook in or after 2009 consented to data sharing policies described in

Facebook's "Statement of Rights and Responsibilities" and "Data Use Policy," and dismissed

Plaintiffs' claims to the extent they are based on data-sharing practices disclosed in these

documents. Facebook will not produce documents relevant only to dismissed claims or theories

of relief Nor will Facebook produce documents related only to individuals who are not parties

to this case.

        3.      Facebook objects to each and every Request to the extent that the Request seeks

information that is neither relevant nor reasonably likely to lead to the discovery of admissible

evidence.

        4.      Facebook objects to each Request as overly broad and unduly burdensome,

particularly in view of the disproportionate cost necessary to investigate as weighed against

Plaintiffs' need for the information. For example, many of the Requests seek "all documents"

regarding particular subject matters, which would require Facebook to conduct searches broader

than areasonable and diligent search of reasonably accessible files (including electronic files)

where responsive documents reasonably would be expected to be found. Such Requests are not

proportional to the needs of the case.

        5.      Facebook objects to each Request to the extent it purports to request the

identification and disclosure of information or documents that were prepared in anticipation of

litigation, constitute attorney work product, reveal privileged attorney-client communications, or

are otherwise protected from disclosure under any applicable privileges, laws, or rules.

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   FACEBOOK, I
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Facebook hereby asserts all such applicable privileges and protections, and excludes privileged

and protected information from its responses to each Request. See generally Fed. R. Evid. 502;

Cal. Code Evid. §954. Inadvertent production of any information or documents that are

privileged or otherwise immune from discovery shall not constitute awaiver of any privilege or

of any other ground for objecting to the discovery with respect to such information or documents

or the subject matter thereof, or the right of Facebook to object to the use of any such

information or documents or the subject matter thereof during these or any other proceedings. In

the event of inadvertent disclosure of any information or inadvertent production or identification

of documents or communications that are privileged or otherwise immune from discovery,

Plaintiffs will return the information and documents to Facebook and will be precluded from

disclosing or relying upon such information or documents in any way.

        6.         Facebook objects to each and every Request to the extent it is argumentative,

lacks foundation, or incorporates allegations and assertions that are disputed or erroneous. In

furnishing the responses herein, Facebook does not concede the truth of any factual assertion or

implication contained in any Request, Definition, or Instruction. The production of documents in

response to any Request shall not be construed as adopting alegal position.

        7.         Facebook objects to each and every Request to the extent that the information

sought is more appropriately pursued through another means of discovery, such as responses to

interrogatories.

        8.         Facebook objects to each and every Request, Definition, and Instruction to the

extent that it seeks information outside of Facebook's possession, custody, and control.

        9.         Facebook objects to each Request to the extent that it requests information

protected by the right of privacy of Facebook and/or third parties, or information that is

confidential, proprietary, or competitively sensitive.

        10.        Facebook objects to each Request to the extent that it seeks documents or

information already in Plaintiffs' possession or available in the public domain. Such information

is equally available to Plaintiffs.
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   FACEBOOK, I
             NC.'S RESPONSES AND OBJECTIONS TO PLAINTIFFS' SECOND SET OF REQUESTS FOR PRODUCTION
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        11.    Facebook objects to each Request to the extent that it calls for the production of

"each," "every," "any," or "all" documents in cases where such ademand is overly broad and/or

causes undue burden and expense.

                               OBJECTIONS TO DEFINITIONS

        1.     Facebook incorporates by references the responses and objections to Definitions

and Instructions contained in its Responses and Objections to Plaintiffs' First Set of Requests for

Production of Documents.

       2.      Facebook generally objects to any definitions or terms defined by reference to

capitalized terms and acronyms relied upon in Plaintiffs' First Amended Complaint, which

themselves may be vague, ambiguous, unduly broad, or unduly burdensome.

       3.      Facebook objects to Plaintiffs' definition of "App" as vague, ambiguous,

overbroad, and unduly burdensome on the ground that it includes any "application developed to

utilize the core technologies of the Facebook social networking platform" without identifying or

defining what the "core," rather than peripheral, technologies of the Facebook are or were at any

given time. Facebook further objects to this definition as vague and ambiguous on the ground

that Facebook cannot identify what any online applications are or were "developed to" do or

presume the intent of any third parties that Facebook does not control.

       4.      Facebook objects to Plaintiffs' definitions of "App Developer Investigation" and

"ADI" as overly broad and unduly burdensome on the ground that these definitions include

investigations into persons, entities, applications, and/or developers that are not relevant to

Plaintiffs' remaining claims. Facebook further objects to these definitions to the extent they seek

documents or information protected by the attorney-client privilege and/or the work product

doctrine.

       5.      Facebook objects to Plaintiffs' definition of "Apps Others Use" as vague and

ambiguous on the ground that it is defined by reference to other vague, ambiguous, and/or

undefined terms, including "App," "App Developers," and "API." Facebook further objects to



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this definition as overly broad and unduly burdensome on the ground that the applicable account

settings available to Facebook members have changed over time and this definition is not limited

to aparticular time period or particular settings.

       6.      Facebook objects to Plaintiffs' definition of "App Settings" as vague and

ambiguous on the ground that it is defined by reference to other vague, ambiguous, and/or

undefined terms, including "App," "User," "Content and Information," "Apps Others Use,"

"Granular Data Permissions," and "Platform Opt Out." Facebook further objects to this

definition as overly broad and unduly burdensome on the ground that the applicable account

settings available to Facebook members have changed over time and this definition is not limited

to aparticular time period or particular settings.

       7.      Facebook generally objects to Plaintiffs' definitions of "Communication,"

"Computer System," "Content and Information," "Document(s)," "Electronic Media," "ESI,"

"Electronically Stored Information," and "Identify" to the extent that Plaintiffs purport to use

these defined terms to request the identification and disclosure of documents or information that:

(a) were prepared in anticipation of litigation; (b) constitute attorney work product; (c) reveal

privileged attorney-client communications; or (d) are otherwise protected from disclosure under

any applicable privileges, laws, and/or rules. Facebook further objects to the extent that these

definitions purport to impose obligations that go beyond the requirements of the Federal and

Local Rules.

        8.     Facebook objects to Plaintiffs' definition and use of the terms "You," "Your," or

"Facebook" as vague, ambiguous, overly broad, and unduly burdensome to the extent the terms

are meant to include "directors, officers, employees, partners, members, representatives, agents

(including attorneys, accountants, consultants, investment advisors or bankers), and any other

Person purporting to act on [Facebook, Inc.'s] behalf ...parents, subsidiaries, affiliates,

predecessor entities, successor entities, divisions, departments, groups, acquired entities and/or

related entities or any other entity acting or purporting to act on its behalf' over which Facebook



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exercises no control, and to the extent that Plaintiffs purport to use these terms to impose

obligations that go beyond the requirements of the Federal and Local Rules.

       9.       Facebook objects to Plaintiffs' definition of "Granular Data Permissions" as

vague and ambiguous on the ground that it is defined by reference to other vague, ambiguous,

and/or undefined terms, including "App," "User," "Content and Information," and "App

Developer." Facebook further objects to this definition as overly broad and unduly burdensome

on the ground that the applicable account settings available to Facebook members have changed

over time and this definition is not limited to aparticular time period or particular settings.

        10.     Facebook objects to Plaintiffs' definitions of "Internal Policy" or "Internal

Policies" as overly broad and unduly burdensome to the extent that Plaintiffs purport to seek the

identification and disclosure of documents or information that: (a) was prepared in anticipation

of litigation; (b) constitute attorney work product; (c) reveal privileged attorney-client

communications; or (d) are otherwise protected from disclosure under any applicable privileges,

laws, and/or rules. Facebook further objects to these definitions as unduly broad and unduly

burdensome to the extent they seek statements or directives which are implicit, informal,

unwritten, or unofficial. For the purposes of these Responses and Objections, Facebook will

interpret and use "Internal Policy" or "Internal Policies" as referring to the final, written, non-

privileged version of any relevant policy, procedure, or directive provided to Facebook

employees that is relevant to this litigation.

        11.     Facebook objects to Plaintiffs' definition of "Misuse of Data" as vague and

ambiguous on the ground that it is defined by reference to other vague, ambiguous, and/or

undefined terms, including "App," "User," and "Content [or] Information," and "App

Developer." Facebook further objects to this definition to the extent it assumes disputed facts or

legal conclusions, particularly that Facebook members' data was "misused."

        12.     Facebook objects to Plaintiffs' definitions of "Person" as vague, ambiguous,

overly broad, and unduly burdensome to the extent that Plaintiffs intend to use the terms to



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include "any natural person or any business, legal or governmental entity or association" over

which Facebook exercises no control.

        13.     Facebook objects to Plaintiffs' definitions of "Ndentify," "[i]ncluding,"

"[r]elating to," "relate to," "referring to," "refer to," "reflecting," "reflect," "[c]oncerning," and

"concern" on the ground that the definitions make the Requests overly broad and unduly

burdensome and impose obligations that go beyond the requirements of the Federal and Local

Rules. Facebook shall construe these terms as commonly and ordinarily understood.

        14.     Facebook objects to Plaintiffs' definition of "Platform Opt Out" as vague and

ambiguous on the ground that it is defined by reference to other vague, ambiguous, and/or

undefined terms, including "App," "User," and "Content and [I]nformation." Facebook further

objects to this definition as overly broad and unduly burdensome on the ground that the

applicable account settings available to Facebook members have changed over time and this

definition is not limited to aparticular time period or particular settings

        15.     Facebook objects to Plaintiffs' definition of "Privacy Controls" as vague,

ambiguous, overly broad, and unduly burdensome on the ground that the applicable account

settings available to Facebook members have changed over time and this definition is not limited

to aparticular time period or particular settings.

        16.     Facebook objects to Plaintiffs' definition of "Privacy Controls" as vague,

ambiguous, overly broad, and unduly burdensome to the extent the terms are meant to include

applications, application developers, and/or "[a]ny person that develops an application, software

experience, game, or website that accesses Content and Information from Facebook's API or

other Facebook software," and to the extent it encompasses individuals or entities outside of

Facebook's knowledge and/or who may not be relevant to this litigation.

        17.     Facebook objects to Plaintiffs' "Relevant Time Period," which dates back to

January 1, 2007, as overly broad, unduly burdensome, and disproportionate to the needs of the

litigation. In response to Plaintiffs' requests, Facebook will produce the following categories of

documents dating back to January 1, 2007: (i) documents reflecting Facebook's platform
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policies and user terms, (ii) Facebook's 2009 revisions to its user terms, and (iii) Documents

reflecting privacy-related disclosures, communications, and other materials provided to users

relating to Facebook's pre-2009 user terms and 2009 revisions to those terms. For all other

categories of materials, Facebook will produce documents dating back to March 20, 2012 in

response to Plaintiffs' requests.

                              OBJECTIONS TO INSTRUCTIONS

        1.     Facebook objects to Plaintiffs' Instructions to the extent that they impose

obligations that go beyond the requirements of the Federal and Local Rules.

       2.      Facebook objects to Plaintiffs' Instruction No. 2as ambiguous as to the meaning

of "available." Facebook further objects to the Instruction to the extent it exceeds the

requirements of the Federal Local Rules.

       3.      Facebook objects to Plaintiffs' Instruction No. 3as unduly burdensome to the

extent it requires Facebook to describe detailed information about documents which are no

longer in existence or in Facebook's possession, custody, or control, which likely amounts to an

extremely large volume of documents given the scope of Plaintiffs' claims and document

requests. Facebook will comply with Instruction No. 3only to the extent it can ascertain the

requested information about the subject documents through reasonable, good-faith investigation

and inquiry.

       4.      Facebook objects to Plaintiffs' Instruction No. 7to the extent that it imposes

obligations that go beyond the requirements of the Federal and Local Rules.

       5.      Facebook objects to Plaintiffs' Instruction No. 12 as ambiguous and unduly

burdensome. Facebook further objects to the Instruction to the extent it exceeds the

requirements of the Federal and Local Rules.




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                         SPECIFIC RESPONSES AND OBJECTIONS

RE QUEST FOR PRODUCTION NO .6:

         All Documents provided to or received from any governmental entity or regulator in the

United States and United Kingdom in response to any formal or informal inquiry or investigation

relating to whether Users' Content and Information was accessed or obtained by any Third

Parties without proper consent or authorization, including but not limited to all inquiries or

investigations arising out of the Cambridge Analytica Scandal, the FTC Consent Order, and any

inquiry or investigation related to the settlement agreement with the FTC announced on July 24,

2019.

RESPONSE TO RE QUEST FOR PRODUCTION NO .6:

         Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this Response.

Facebook further objects to this Request on the following additional grounds:

         (A) Facebook objects to this Request to the extent that it seeks information protected from

disclosure by the attorney-client privilege, the attorney work-product doctrine, and/or any other

applicable privilege, doctrine, or protection.     Facebook interprets this Request as though it

excludes documents protected by these privileges and protections.

         (B) Facebook objects to this Request to the extent it seeks to impose obligations that go

beyond the requirements of the Federal and Local Rules.

         (C) Facebook objects to this Request as overly broad, unduly burdensome, irrelevant to the

subject matter of this Action, unlikely to lead to the discovery of admissible evidence, and/or

disproportionate to the needs of the case in that it seeks all documents provided to or received from

any governmental entities or regulators in broad categories of "inquir[ies]" and investigation[s]"

without regard for whether such information relates to Plaintiffs' claims.

         (D) Facebook objects to this Request as overbroad as to time to the extent it seeks document

predating March 20, 2012.




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             NC.'S RESPONSES AND OBJECTIONS TO PLAINTIFFS' SECOND SET OF REQUESTS FOR PRODUCTION
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        Subject to and without waiving the foregoing objections, Facebook will produce

documents in response to this Request to the extent that those documents are responsive to

Plaintiffs' other Requests, identified by areasonable, good-faith search, and by December 26,

2019, Facebook will produce all document demand letters from the FTC associated with its 2018-

2019 investigation into Facebook along with correspondence regarding the scope of those

demands.

REQUEST FOR PRODUCTION NO. 7:

        All organizational charts, personnel directories, or other documents sufficient to show

Your organizational structure, including:

        (a)     the identity of subsidiaries, affiliates, and joint ventures, and your ownership

interest, control of, or participation in any subsidiary or affiliate or joint venture related to

agreements, engineering, access, use, transmission, receipt, collection or analysis of Facebook

Users' Content and Information by Third Parties;

        (b)     the organization of any division, department, unit or subdivision of your company

that has responsibilities relating to agreements, engineering, access, use, transmission, receipt,

collection or analysis of Users' Content and Information by Third Parties; and

        (c)     the names, titles, job descriptions, and employment periods for your present and

former employees who has or had responsibilities relating to agreements, engineering, access,

use, transmission, receipt, collection or analysis of Users' Content and Information by Third

Parties; and

        (d)     the names, titles, job descriptions, and employment periods of Your present or

former directors, officers, or senior managers, as well as any secretaries or administrative

assistants assigned to these directors, officers, or senior managers.

RESPONSE TO REQUEST FOR PRODUCTION NO. 7:

        Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this Response.

Facebook further objects to this Request on the following additional grounds:
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   FACEBOOK, I
             NC.'S RESPONSES AND OBJECTIONS TO PLAINTIFFS' SECOND SET OF REQUESTS FOR PRODUCTION
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          (A) Facebook objects to this Request to the extent that it seeks information protected from

disclosure by the attorney-client privilege, the attorney work-product doctrine, and/or any other

applicable privilege, doctrine, or protection.     Facebook interprets this Request as though it

excludes documents protected by these privileges and protections.

          (B) Facebook objects to this Request to the extent it seeks to impose obligations that go

beyond the requirements of the Federal and Local Rules.

          (C) Facebook objects to this Request as overly broad, unduly burdensome, irrelevant to the

subject matter of this Action, unlikely to lead to the discovery of admissible evidence, and/or

disproportionate to the needs of the case in that it seeks "all" organizational charts, personnel

directories, or other documents sufficient to show Facebook's organizational structure, including

the categories of entities, divisions, or individuals described in the Request, which are merely

"related" or "relating" to agreements, engineering, access, use, transmission, receipt, collection or

analysis of Facebook Users' Content and Information by Third Parties, including those which may

have no bearing on any issues in this Action and the names, titles, job descriptions, and

employment periods of all present or former Facebook directors, officers, or senior managers, as

well as any secretaries or administrative assistants assigned to these directors, officers, or senior

managers, including those which may have no involvement with or knowledge of issues in this

Action.

          (D) Facebook further objects to the Request on the grounds that the Request seeks

documents that are public, already in Plaintiffs' possession, custody, or control, or obtainable from

some other source that is more convenient, less burdensome, or less expensive.

          Subject to   and without waiving the foregoing objections, based on Facebook's

understanding of the Request, Facebook states it does not have any documents in its possession,

custody, or control responsive to this Request.        Facebook is willing to meet and confer with

Plaintiffs regarding the documents being sought by this Request, their relevance to the Plaintiffs'

claims (if any), and what documents Facebook could reasonably produce proportionate to the

needs of the case.
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   FACEBOOK, I
             NC.'S RESPONSES AND OBJECTIONS TO PLAINTIFFS' SECOND SET OF REQUESTS FOR PRODUCTION
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REQUEST FOR PRODUCTION NO. 8:

       All versions (including each updated or amended version thereof) of Facebook's

"Platform Policies," which have been called the "Developer Principles and Policies," the

"Platform Guidelines," or the "Developer Terms of Service" (collectively, the "Platform

Policies").

RESPONSE TO REQUEST FOR PRODUCTION NO. 8:

        Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this Response.

Facebook further objects to this Request on the following additional grounds:

        (A) Facebook objects to this Request to the extent that it seeks information protected from

disclosure by the attorney-client privilege, the attorney work-product doctrine, and/or any other

applicable privilege, doctrine, or protection.     Facebook interprets this Request as though it

excludes documents protected by these privileges and protections.

        (B) Facebook objects to this Request to the extent it seeks to impose obligations that go

beyond the requirements of the Federal and Local Rules.

        (C) Facebook objects to this Request as overly broad, unduly burdensome, irrelevant to the

subject matter of this Action, unlikely to lead to the discovery of admissible evidence, and/or

disproportionate to the needs of the case in that it seeks "all" versions of certain documents without

any limitation as to the relevant time period or whether the versions sought are in final form.

        (D) Facebook further objects to the Request on the grounds that the Request seeks

documents that are public, already in Plaintiffs' possession, custody, or control, or obtainable from

some other source that is more convenient, less burdensome, or less expensive.

        (E) Facebook further objects to this Request to the extent that the Request seeks materials

that are cumulative or duplicate of materials produced to Plaintiffs previously.

        Subject to and without waiving the foregoing objections, Facebook will produce the final,

written versions of Facebook's Platform Policies issued to users dating back to January 1, 2007,

to the extent that those policies have not been produced to Plaintiffs previously.
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   FACEBOOK, I
             NC.'S RESPONSES AND OBJECTIONS TO PLAINTIFFS' SECOND SET OF REQUESTS FOR PRODUCTION
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REQUEST FOR PRODUCTION NO. 9:

       All Documents relating to each of the Named Plaintiffs, including but not limited to all

Content and Information collected about each of them or gained from business relationships or

any other source.

RESPONSE TO REQUEST FOR PRODUCTION NO. 9:

           Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this Response.

Facebook further objects to this Request on the following additional grounds:

           (A) Facebook objects to this Request to the extent that it seeks information protected from

disclosure by the attorney-client privilege, the attorney work-product doctrine, and/or any other

applicable privilege, doctrine, or protection.      Facebook interprets this Request as though it

excludes documents protected by these privileges and protections.

           (B) Facebook objects to this Request to the extent it seeks to impose obligations that go

beyond the requirements of the Federal and Local Rules.

           (C) Facebook objects to this Request as overly broad, unduly burdensome, irrelevant to the

subject matter of this Action, unlikely to lead to the discovery of admissible evidence, and/or

disproportionate to the needs of the case in that it seeks all Documents merely "relating" to each

of the Named Plaintiffs, including all Content and Information collected about each of them from

any business relationship or any other source, including those which may have no bearing on any

issues in this Action, and including those that are outside of Facebook's possession, custody, or

control.

           (D) Facebook objects to this Request as overly broad, unduly burdensome, irrelevant to the

subject matter of this Action, unlikely to lead to the discovery of admissible evidence, and/or

disproportionate to the needs of the case in that it seeks "all" Content and Information "collected

about each" Named Plaintiffs, which could include automated logs of actions taken, transaction-

level date, and high-level summary documents used only for technical purposes, including those

which may have no bearing on any issues in this Action.
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   FACEBOOK, I
             NC.'S RESPONSES AND OBJECTIONS TO PLAINTIFFS' SECOND SET OF REQUESTS FOR PRODUCTION
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       (E) Facebook further objects to the Request on the grounds that the Request seeks

documents that are public, already in Plaintiffs' possession, custody, or control, or obtainable from

some other source that is more convenient, less burdensome, or less expensive.

       Subject to and without waiving the foregoing objections, Facebook will produce

documents that are responsive to this Request and which are uniquely associated with Content and

Information related to the Named Plaintiffs' accounts or specifically relate to the sharing of the

Named Plaintiffs' Content and Information with third-parties, identified by areasonable, good-

faith search of documents that are in Facebook's possession, custody, or control, to the extent the

Named Plaintiffs have provided information sufficient to identify their accounts.

REQUEST FOR PRODUCTION NO. 10:

       For each of the Named Plaintiffs, Documents sufficient to show the categories of Content

and Information Facebook collects, tracks, and maintains about them.

RESPONSE TO REQUEST FOR PRODUCTION NO. 10:

       Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this Response.

Facebook further objects to this Request on the following additional grounds:

       (A) Facebook objects to this Request to the extent that it seeks information protected from

disclosure by the attorney-client privilege, the attorney work-product doctrine, and/or any other

applicable privilege, doctrine, or protection.     Facebook interprets this Request as though it

excludes documents protected by these privileges and protections.

       (B) Facebook objects to this Request to the extent it seeks to impose obligations that go

beyond the requirements of the Federal and Local Rules.

       (C) Facebook objects to this Request as overly broad, unduly burdensome, irrelevant to the

subject matter of this Action, unlikely to lead to the discovery of admissible evidence, and/or

disproportionate to the needs of the case in that it seeks Documents sufficient to show all categories

of Content and Information Facebook collects, tracks, and maintains about each of the Named



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Plaintiffs, including, for example, Content and Information that Facebook did not share with any

third parties and that does not relate to any issue in this Action.

        (D) Facebook further objects to the Request to the extent that it is cumulative or duplicative

of other Requests, such as Request 9.

        (E) Facebook further objects to the Request on the grounds that the Request seeks

documents that are public, already in Plaintiffs' possession, custody, or control, or obtainable from

some other source that is more convenient, less burdensome, or less expensive.

        Subject to and without waiving the foregoing objections, Facebook will produce

documents that are responsive to this Request and which are uniquely associated with Content and

Information related to the Named Plaintiffs' accounts, identified by areasonable, good-faith search

of documents that are in Facebook's possession, custody, or control, to the extent the Named

Plaintiffs have provided information sufficient to identify their accounts.

REQUEST FOR PRODUCTION NO. 11:

        Documents sufficient to identify all Third Parties to which Facebook granted access to

Named Plaintiffs' Content and Information, what categories of Content and Information

Facebook granted access to, how Facebook allowed these Third Parties to access the Named

Plaintiffs' Content and Information, and the business purpose of all such access.

RESPONSE TO REQUEST FOR PRODUCTION NO. 11:

        Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this Response.

Facebook further objects to this Request on the following additional grounds:

        (A) Facebook objects to this Request to the extent that it seeks information protected from

disclosure by the attorney-client privilege, the attorney work-product doctrine, and/or any other

applicable privilege, doctrine, or protection. Facebook interprets this Request as though it excludes

documents protected by these privileges and protections.

        (B) Facebook objects to this Request to the extent it seeks to impose obligations that go

beyond the requirements of the Federal and Local Rules.
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   FACEBOOK, I
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       (C) Facebook objects to this Request as overly broad, unduly burdensome, irrelevant to the

subject matter of this Action, unlikely to lead to the discovery of admissible evidence, and/or

disproportionate to the needs of the case in that it seeks Documents sufficient to identify all Third

Parties to which Facebook granted access to Named Plaintiffs' Content and Information and other

information relating to such information sharing, including Third Parties who were granted access

to such Content and Information other than in connection with the allegations in Plaintiffs'

Complaint.

       Subject to    and without waiving the foregoing objections, based on Facebook's

understanding of the Request, Facebook states it does not have documents in its possession,

custody, or control responsive to this Request.       Facebook is willing to meet and confer with

Plaintiffs regarding the documents being sought by this Request, their relevance to the Plaintiffs'

claims (if any), and what documents Facebook could reasonably produce proportionate to the

needs of the case.

REQUEST FOR PRODUCTION NO. 12:

       Documents relating to any partnerships or agreements Facebook entered into with Third

Parties for access to Named Plaintiffs' Content and Information.

RESPONSE TO REQUEST FOR PRODUCTION NO. 12:

       Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this Response.

Facebook further objects to this Request on the following additional grounds:

       (A) Facebook objects to this Request to the extent that it seeks information protected from

disclosure by the attorney-client privilege, the attorney work-product doctrine, and/or any other

applicable privilege, doctrine, or protection. Facebook interprets this Request as though it excludes

documents protected by these privileges and protections.

       (B) Facebook objects to this Request to the extent it seeks to impose obligations that go

beyond the requirements of the Federal and Local Rules.



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   FACEBOOK, I
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       (C) Facebook objects to this Request as overly broad, unduly burdensome, irrelevant to the

subject matter of this Action, unlikely to lead to the discovery of admissible evidence, and/or

disproportionate to the needs of the case in that it broadly seeks all Documents "relating" to any

partnerships or agreements Facebook entered into with Third Parties for access to Named

Plaintiffs' Content and Information, including those which may have no bearing on any issues in

this Action, and including those that are outside of Facebook's possession, custody, or control.

       Subject to and without waiving the foregoing objections, based on Facebook's

understanding of the Request, Facebook states it does not have documents in its possession,

custody, or control responsive to this Request.       Facebook is willing to meet and confer with

Plaintiffs regarding the documents being sought by this Request, their relevance to the Plaintiffs'

claims (if any), and what documents Facebook could reasonably produce proportionate to the

needs of the case.

REQUEST FOR PRODUCTION NO. 13:

       For all Third Parties to which Facebook granted access to Named Plaintiffs' Content and

Information, Documents sufficient to show any use by Third Parties of such Content and

Information not in connection with the User that granted the permission to the Third Party or

inconsistent with Facebook's agreement with that Third Party.

RESPONSE TO REQUEST FOR PRODUCTION NO. 13:

       Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this Response.

Facebook further objects to this Request on the following additional grounds:

       (A) Facebook objects to this Request to the extent that it seeks information protected from

disclosure by the attorney-client privilege, the attorney work-product doctrine, and/or any other

applicable privilege, doctrine, or protection.    Facebook interprets this Request as though it

excludes documents protected by these privileges and protections.

       (B) Facebook objects to this Request to the extent it seeks to impose obligations that go

beyond the requirements of the Federal and Local Rules.
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   FACEBOOK, I
             NC.'S RESPONSES AND OBJECTIONS TO PLAINTIFFS' SECOND SET OF REQUESTS FOR PRODUCTION
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       (C) Facebook objects to this Request as overly broad, unduly burdensome, irrelevant to the

subject matter of this Action, unlikely to lead to the discovery of admissible evidence, and/or

disproportionate to the needs of the case in that it broadly seeks Documents regarding "all Third

Parties" who obtained access to certain content and information, including Third Parties who were

granted access to such Content and Information other than in connection with the allegations in

Plaintiffs' Complaint.

       (D) Facebook further objects to this Request on the ground, and to the extent, that it seeks

information that is outside of Facebook's possession, custody, or control because it seeks

information regarding Third Parties' use of Named Plaintiffs' Content and Information.

       Subject to and without waiving the foregoing objections, Facebook will produce cease-

and-desist letters sent to app developers identified as having access to Facebook users' Content

and Information during the Relevant Time Period relating to policy violations involving potential

misuse of user data.

REQUEST FOR PRODUCTION NO. 14:

       Documents sufficient to show the monetary or retail value of each named Plaintiff's

Content and Information to Facebook, updated to reflect whenever Facebook's terms of service

changed, including the calculation of revenue earned by Facebook for each Named Plaintiff

based upon bartering or selling access to such Named Plaintiff's Content and Information.

RESPONSE TO REQUEST FOR PRODUCTION NO. 14:

       Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this Response.

Facebook further objects to this Request on the following additional grounds:

       (A) Facebook objects to this Request to the extent that it seeks information protected from

disclosure by the attorney-client privilege, the attorney work-product doctrine, and/or any other

applicable privilege, doctrine, or protection.    Facebook interprets this Request as though it

excludes documents protected by these privileges and protections.



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   FACEBOOK, I
             NC.'S RESPONSES AND OBJECTIONS TO PLAINTIFFS' SECOND SET OF REQUESTS FOR PRODUCTION
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       (B) Facebook objects to this Request to the extent it seeks to impose obligations that go

beyond the requirements of the Federal and Local Rules.

       (C) Facebook further objects to this Request on the grounds that "monetary or retail value

of each named Plaintiff sContent and Information to Facebook" and "calculation of revenue

earned by Facebook for each Named Plaintiff' are ambiguous and vague.

       (D) Facebook further objects to this Request on the grounds that it assumes disputed facts

or legal conclusions, particularly that Facebook "barter[s" or "sell[s]" access to the "Named

Plaintiff[s] Content and Information" to any Third Parties.

       Subject to and without waiving the foregoing objections, based on Facebook's

understanding of the Request, Facebook states it does not have any documents in its possession,

custody, or control responsive to this Request.

REQUEST FOR PRODUCTION NO. 15:

       Documents sufficient to show the money or any other thing of value, including but not

limited to money or any other thing of value paid in exchange for targeted advertising, that

Facebook received in exchange for each Named Plaintiff sContent and Information, which

entities paid Facebook, and when such payments were made.

RESPONSE TO REQUEST FOR PRODUCTION NO. 15:

       Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this Response.

Facebook further objects to this Request on the following additional grounds:

       (A) Facebook objects to this Request to the extent that it seeks information protected from

disclosure by the attorney-client privilege, the attorney work-product doctrine, and/or any other

applicable privilege, doctrine, or protection.     Facebook interprets this Request as though it

excludes documents protected by these privileges and protections.

       (B) Facebook objects to this Request to the extent it seeks to impose obligations that go

beyond the requirements of the Federal and Local Rules.



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   FACEBOOK, I
             NC.'S RESPONSES AND OBJECTIONS TO PLAINTIFFS' SECOND SET OF REQUESTS FOR PRODUCTION
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       (C) Facebook objects to this Request as overly broad, unduly burdensome, irrelevant to the

subject matter of this Action, unlikely to lead to the discovery of admissible evidence, and/or

disproportionate to the needs of the case in that it seeks Documents regarding all entities who

provided money or any other thing of value to Facebook other than in connection with the

allegations in Plaintiffs' Complaint.

       (D) Facebook further objects to this Request on the grounds that "money or any other thing

of value ... that Facebook received in exchange for each Named Plaintiff's Content and

Information" is ambiguous and vague.

       (E) Facebook further objects to this Request on the grounds that it assumes disputed facts

or legal conclusions, particularly that Facebook received "money or any other thing of value" from

Third Parties in exchange for the "Named Plaintiff[sl Content and Information."

       Subject to and without waiving the foregoing objections, based on Facebook's

understanding of the Request, Facebook states it does not have any documents in its possession,

custody, or control responsive to this Request.

REQUEST FOR PRODUCTION NO. 16:

       Documents sufficient to show the monetary or retail value of Users' Content and

Information to Facebook, including all monthly, quarterly, and annual financial reporting relating

to same, and including but not limited to the calculation of average revenue per user, any

changes to such monetary or retail value relating to changes to Facebook's terms of service, and

any financial reporting of Content and Information as an asset.

RESPONSE TO REQUEST FOR PRODUCTION NO. 16:

       Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this Response.

Facebook further objects to this Request on the following additional grounds:

       (A) Facebook objects to this Request to the extent that it seeks information protected from

disclosure by the attorney-client privilege, the attorney work-product doctrine, and/or any other



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   FACEBOOK, I
             NC.'S RESPONSES AND OBJECTIONS TO PLAINTIFFS' SECOND SET OF REQUESTS FOR PRODUCTION
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applicable privilege, doctrine, or protection.     Facebook interprets this Request as though it

excludes documents protected by these privileges and protections.

       (B) Facebook objects to this Request to the extent it seeks to impose obligations that go

beyond the requirements of the Federal and Local Rules.

       (C) Facebook further objects to this Request as overly broad, unduly burdensome,

irrelevant to the subject matter of this Action, unlikely to lead to the discovery of admissible

evidence, and/or disproportionate to the needs of the case on the grounds, and to the extent, that

the Request seeks information about Users who are not parties to the Action and financial

information unrelated to Plaintiffs' claims.

       (D) Facebook further objects to this Request on the grounds that "monetary or retail value

of Users' Content and Information to Facebook" is ambiguous and vague.

       (E) Facebook further objects to this Request as misleading to the extent that it suggests

that Facebook's per-user revenues reflect the value of any information for which Plaintiffs seek

compensation in this Action.

       Subject to and without waiving the foregoing objections, based on Facebook's

understanding of the Request, Facebook states it does not have any documents in its possession,

custody, or control responsive to this Request.

REQUEST FOR PRODUCTION NO. 17:

       All Documents relating to Facebook's assessment of the monetary or retail value of

Users' Content and Information to Users (as distinct from value to Facebook), including analyses

for providing compensation to Users for their Content and Information, including but not limited

to Users compensated in connection with the Onavo or Research app.

RESPONSE TO REQUEST FOR PRODUCTION NO. 17:

       Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this Response.

Facebook further objects to this Request on the following additional grounds:



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   FACEBOOK, I
             NC.'S RESPONSES AND OBJECTIONS TO PLAINTIFFS' SECOND SET OF REQUESTS FOR PRODUCTION
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       (A) Facebook objects to this Request to the extent that it seeks information protected from

disclosure by the attorney-client privilege, the attorney work-product doctrine, and/or any other

applicable privilege, doctrine, or protection.     Facebook interprets this Request as though it

excludes documents protected by these privileges and protections.

       (B) Facebook objects to this Request to the extent it seeks to impose obligations that go

beyond the requirements of the Federal and Local Rules.

       (C) Facebook further objects to this Request as overly broad, unduly burdensome,

irrelevant to the subject matter of this Action, unlikely to lead to the discovery of admissible

evidence, and/or disproportionate to the needs of the case on the grounds, and to the extent, that

the Request seeks information about Users who are not parties to the Action.

       (D) Facebook further objects to this Request as overly broad, unduly burdensome,

irrelevant to the subject matter of this Action, unlikely to lead to the discovery of admissible

evidence, and/or disproportionate to the needs of the case on the grounds, to the extent, that the

Request seeks all Documents "relating to" Facebook's assessment of the monetary or retail value

of Users' Content and Information to Users and information relating to compensation for data

and/or information not related to Plaintiffs' claims

       (E) Facebook further objects to this Request on the grounds that "monetary or retail value

of Users' Content and Information to Users" is ambiguous and vague.

       (F) Facebook further objects to this Request as misleading to the extent that it suggests

any compensation offered for information in connection with the Onavo or Research app reflects

the value of any information for which Plaintiffs seek compensation in this Action.

       Subject to and without waiving the foregoing objections, based on Facebook's

understanding of the Request, Facebook states it does not have any documents in its possession,

custody, or control responsive to this Request.

REQUEST FOR PRODUCTION NO. 18:

       All Documents that have been transmitted to Users by Facebook relating to whether

Users' Content and Information was accessed or obtained by Third Parties.
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   FACEBOOK, I
             NC.'S RESPONSES AND OBJECTIONS TO PLAINTIFFS' SECOND SET OF REQUESTS FOR PRODUCTION
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RE SPONSE TO RE QUE ST FOR PRODUCTI ON NO. 18:

       Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this Response.

Facebook further objects to this Request on the following additional grounds:

       (A) Facebook objects to this Request to the extent it seeks to impose obligations that go

beyond the requirements of the Federal and Local Rules.

       (B) Facebook further objects to this Request as overly broad, unduly burdensome,

irrelevant to the subject matter of this Action, unlikely to lead to the discovery of admissible

evidence, and/or disproportionate to the needs of the case on the grounds, and to the extent, that

the Request seeks Documents transmitted to Users who are not parties to the Action.

       (C) Facebook further objects to the Request on the ground that the Request seeks

documents that are already in Plaintiffs' possession, custody, or control.

       Subject to and without waiving the foregoing objections, Facebook will produce

Facebook's communications to users regarding the Cambridge Analytica events.

RE QUE ST FOR PRODUCTION NO. 19:

       All Documents supporting the escalation of those Apps escalated to Phase Two of ADI

for Enhanced Examination and/or Phase Three of ADI for Enforcement and designated as

follows in the Chen Declaration If 34:

       (d) each [A]pp to which arequest for information was sent; (e) each [A]pp for

       which an interview was sought with the developer; (f) each [A]pp for which a

       remote or onsite audit was requested to be conducted; (g) each [A]pp for which

       actual misuse was found and identification of that misuse; (h) each [A]pp that was

       banned for actual misuse; and (i) each [A]pp that was banned for failing to

       cooperate with Facebook's investigation.

       Facebook has described identification of these Apps as non-privileged and has already

produced it to the Massachusetts Attorney General's Office. See Chen Declaration If 35.



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   FACEBOOK, I
             NC.'S RESPONSES AND OBJECTIONS TO PLAINTIFFS' SECOND SET OF REQUESTS FOR PRODUCTION
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RE SPONSE TO RE QUE ST FOR PRODUCTI ON NO. 19:

       Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this Response.

Facebook further objects to this Request on the following additional grounds:

       (A) Facebook objects to this Request to the extent that it seeks information protected from

disclosure by the attorney-client privilege, the attorney work-product doctrine, and/or any other

applicable privilege, doctrine, or protection.    Facebook interprets this Request as though it

excludes documents protected by these privileges and protections.

       (B) Facebook objects to this Request to the extent it seeks to impose obligations that go

beyond the requirements of the Federal and Local Rules.

       (C) Facebook further objects to this Request as overly broad, unduly burdensome,

irrelevant to the subject matter of this Action, unlikely to lead to the discovery of admissible

evidence, and/or disproportionate to the needs of the case on the grounds that the Request seeks

all Documents supporting the escalation of certain Apps, including escalations not relevant to the

claims or defenses in this Action.

       Facebook is willing to meet and confer with Plaintiffs regarding the documents being

sought by this Request, their relevance to Plaintiffs' claims (if any), and what documents Facebook

could reasonably produce proportionate to the needs of the case.

RE QUE ST FOR PRODUCTION NO. 20:

       The list of Apps that Facebook provided to the Massachusetts Attorney General's Office

and that the Chen Declaration If 35 describes as "the subject of external actions or

communications with third parties, including the growing list of Apps Facebook has suspended

as part of the [ADI], whether because of policy violations or because of their refusal to cooperate

with Facebook's investigation."




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   FACEBOOK, I
             NC.'S RESPONSES AND OBJECTIONS TO PLAINTIFFS' SECOND SET OF REQUESTS FOR PRODUCTION
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RESPONSE TO REQUEST FOR PRODUCTION NO. 20:

       Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this Response.

Facebook further objects to this Request on the following additional grounds:

       (A) Facebook objects to this Request to the extent that it seeks information protected from

disclosure by the attorney-client privilege, the attorney work-product doctrine, and/or any other

applicable privilege, doctrine, or protection.    Facebook interprets this Request as though it

excludes documents protected by these privileges and protections.

       (B) Facebook objects to this Request to the extent it seeks to impose obligations that go

beyond the requirements of the Federal and Local Rules.

       Subject to and without waiving the foregoing objections, Facebook will produce relevant

lists of Apps that Facebook provided to the Massachusetts Attorney General's Office.

REQUEST FOR PRODUCTION NO. 21:

       Communications between Facebook and Third Parties relating to the ADI, including but

not limited to Communications that Facebook provided to the Massachusetts Attorney General's

Office. See Chen Declaration If 37.

RESPONSE TO REQUEST FOR PRODUCTION NO. 21:

       Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this Response.

Facebook further objects to this Request on the following additional grounds:

       (A) Facebook objects to this Request to the extent that it seeks information protected from

disclosure by the attorney-client privilege, the attorney work-product doctrine, and/or any other

applicable privilege, doctrine, or protection.    Facebook interprets this Request as though it

excludes documents protected by these privileges and protections.

       (B) Facebook objects to this Request to the extent it seeks to impose obligations that go

beyond the requirements of the Federal and Local Rules.



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   FACEBOOK, I
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       (C) Facebook further objects to this Request as overly broad, unduly burdensome,

irrelevant to the subject matter of this Action, unlikely to lead to the discovery of admissible

evidence, and/or disproportionate to the needs of the case on the grounds that the Request seeks

all Communications between Facebook and Third Parties "relating" to the ADI, including

communications unrelated to Plaintiffs' claims.

       Subject to and without waiving the foregoing objections, to the extent non-privileged,

responsive documents are identified by areasonable, good-faith search, Facebook will produce

Communications between Facebook's ADI team and third-party app developers relating to ADI.

REQUEST FOR PRODUCTION NO. 22:

       All "Privacy Risk Assessment[s]," and notes or agenda relating to Facebook's "focused

subject-matter-specific meetings," "focused subject-matter-specific discussions," "weekly intra-

and inter-team meetings," and "Privacy Summit[s]," as detailed in "Facebook's Privacy Program

Overview" included in any PricewaterhouseCoopers LLP ("PwC") assessment report prepared

pursuant to the FTC Consent Order.

RESPONSE TO REQUEST FOR PRODUCTION NO. 22:

       Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this Response.

Facebook further objects to this Request on the following additional grounds:

       (A) Facebook objects to this Request to the extent that it seeks information protected from

disclosure by the attorney-client privilege, the attorney work-product doctrine, and/or any other

applicable privilege, doctrine, or protection.     Facebook interprets this Request as though it

excludes documents protected by these privileges and protections.

       (B) Facebook objects to this Request to the extent it seeks to impose obligations that go

beyond the requirements of the Federal and Local Rules.

       (C) Facebook further objects to this Request as overly broad, unduly burdensome,

irrelevant to the subject matter of this Action, unlikely to lead to the discovery of admissible

evidence, and/or disproportionate to the needs of the case on the grounds that the Request seeks
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   FACEBOOK, I
             NC.'S RESPONSES AND OBJECTIONS TO PLAINTIFFS' SECOND SET OF REQUESTS FOR PRODUCTION
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all notes and agenda regarding various topics, including notes and agenda unrelated to Plaintiffs'

claims.

          Facebook stands on its objections.

REQUEST FOR PRODUCTION NO. 23:

          Unredacted versions and Documents in support of the assessment reports, including the

Initial Assessment Report and Biennial Reports, prepared by PwC pursuant to the FTC Consent

Order.

RESPONSE TO REQUEST FOR PRODUCTION NO. 23:

          Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this Response.

Facebook further objects to this Request on the following additional grounds:

          (A) Facebook objects to this Request as seeking information protected from disclosure by

the attorney-client privilege, the attorney work-product doctrine, and/or any other applicable

privilege, doctrine, or protection.     Facebook interprets this Request as though it excludes

documents protected by these privileges and protections.

          (B) Facebook objects to this Request to the extent it seeks to impose obligations that go

beyond the requirements of the Federal and Local Rules.

          (C) Facebook further objects that the term "assessment reports" is ambiguous and vague.

Facebook will construe this term to mean the "Privacy Risk Assessments" referenced in Request

No. 22.

          (D) Facebook further objects to the Request to the extent that the Request seeks documents

that are not in Facebook's possession, custody, or control because the Request seeks documents

that support assessment reports prepared by another entity.

          (E) Facebook further objects to the Request as Facebook lacks sufficient knowledge to

identify with certainty documents relied upon by another entity.

          Facebook stands on its objections.



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   FACEBOOK, I
             NC.'S RESPONSES AND OBJECTIONS TO PLAINTIFFS' SECOND SET OF REQUESTS FOR PRODUCTION
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REQUEST FOR PRODUCTION NO. 24:

       Documents sufficient to identify all Third Parties to which Facebook granted access to

Users' Content and Information not generally available through Platform pursuant to

partnerships or agreements between Facebook and those Third Parties.

RESPONSE TO REQUEST FOR PRODUCTION NO. 24:

       Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this Response.

Facebook further objects to this Request on the following additional grounds:

       (A) Facebook objects to this Request to the extent that it seeks information protected from

disclosure by the attorney-client privilege, the attorney work-product doctrine, and/or any other

applicable privilege, doctrine, or protection.    Facebook interprets this Request as though it

excludes documents protected by these privileges and protections.

       (B) Facebook objects to this Request to the extent it seeks to impose obligations that go

beyond the requirements of the Federal and Local Rules.

       (C) Facebook further objects to this Request as overly broad, unduly burdensome,

irrelevant to the subject matter of this Action, unlikely to lead to the discovery of admissible

evidence, and/or disproportionate to the needs of the case in that it seeks Documents sufficient to

identify all Third Parties to which Facebook granted access to Users' Content and Information not

generally available through Platform pursuant to partnerships or agreements between Facebook

and those Third Parties, including Third Parties who were granted access to such Content and

Information other than in connection with the allegations in Plaintiffs' Complaint.

       Subject to and without waiving the foregoing objections, Facebook will produce final

agreements with integration partners and device manufacturers responsive to this Request.

REQUEST FOR PRODUCTION NO. 25:

       All Documents relating to agreements or partnerships described in Request No. 24.




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   FACEBOOK, I
             NC.'S RESPONSES AND OBJECTIONS TO PLAINTIFFS' SECOND SET OF REQUESTS FOR PRODUCTION
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RE SPONSE TO RE QUE ST FOR PRODUCTI ON NO. 25:

       Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this Response.

Facebook further objects to this Request on the following additional grounds:

       (A) Facebook objects to this Request to the extent that it seeks information protected from

disclosure by the attorney-client privilege, the attorney work-product doctrine, and/or any other

applicable privilege, doctrine, or protection.    Facebook interprets this Request as though it

excludes documents protected by these privileges and protections.

       (B) Facebook objects to this Request to the extent it seeks to impose obligations that go

beyond the requirements of the Federal and Local Rules.

       (C) Facebook further objects to this Request as overly broad, unduly burdensome,

irrelevant to the subject matter of this Action, unlikely to lead to the discovery of admissible

evidence, and/or disproportionate to the needs of the case in that it seeks all Documents "relating"

to the subject agreements or partnerships, including those which are not relevant to the subject

matter of the Action.

       (D) Facebook further objects to the Request to the extent that it is cumulative or duplicative

of other Requests, such as Request 24.

       Subject to and without waiving the foregoing objections, Facebook will produce

agreements with its integration partners and device manufacturers responsive to this Request.

RE QUE ST FOR PRODUCTION NO. 26:

       For each of the Third Parties that Facebook entered into partnerships or agreements with

as described in Request No. 24, Documents sufficient to identify:

   • The fields, kinds, or categories of Content and Information that were accessed or

       obtained by such Third Parties;

   • How each such Third Party accessed or obtained the Content and Information of Users;

   • How each such Third Party used the Content and Information accessed or obtained;



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   • Where the Content and Information obtained by such Third Parties currently resides and

       who has access to it.

RESPONSE TO REQUEST FOR PRODUCTION NO. 26:

       Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this Response.

Facebook further objects to this Request on the following additional grounds:

       (A) Facebook objects to this Request to the extent that it seeks information protected from

disclosure by the attorney-client privilege, the attorney work-product doctrine, and/or any other

applicable privilege, doctrine, or protection.    Facebook interprets this Request as though it

excludes documents protected by these privileges and protections.

       (B) Facebook objects to this Request to the extent it seeks to impose obligations that go

beyond the requirements of the Federal and Local Rules.

       (C) Facebook further objects to the Request to the extent that the Request seeks Documents

that are not in Facebook's possession, custody, or control because the Request relates to the

conduct of Third Parties.

       (E) Facebook further objects to this Request as seeking information outside of Facebook's

knowledge regarding the actions and knowledge of third parties.

       (D) Facebook further objects to this Request as overly broad, unduly burdensome,

irrelevant to the subject matter of this Action, unlikely to lead to the discovery of admissible

evidence, and/or disproportionate to the needs of the case on the grounds, and to the extent, that

the Request seeks information about Users that are not parties to the Action.

       Subject to and without waiving the foregoing objections, based on Facebook's

understanding of the Request, Facebook states it does not have documents in its possession,

custody, or control responsive to Request No. 26.




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REQUEST FOR PRODUCTION NO. 27:

       Documents sufficient to show all forms and formats in which Facebook transmitted to

Third Parties information concerning Users' liking, viewing, retrieving, or otherwise requesting

or obtaining videos on, using, or by means of the Facebook Platform.

RESPONSE TO REQUEST FOR PRODUCTION NO. 27:

       Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this Response.

Facebook further objects to this Request on the following additional grounds:

        (A) Facebook objects to this Request to the extent it seeks to impose obligations that go

beyond the requirements of the Federal and Local Rules.

        (B) Facebook further objects to this Request as overly broad, unduly burdensome,

irrelevant to the subject matter of this Action, unlikely to lead to the discovery of admissible

evidence, and/or disproportionate to the needs of the case on the grounds, and to the extent, that

the Request seeks information about Users not aparty to the Action.

        (C) Facebook further objects to this Request on the grounds that the term "transmitted" is

ambiguous and vague in that it could refer to any and all forms of conveying information, including

passively making information available to athird party by hosting and displaying the information

aUser chooses to include on his or her Facebook profile page.

        Subject to and without waiving the foregoing objections, Facebook is willing to meet and

confer with Plaintiffs regarding the documents being sought by this Request, their relevance to the

Plaintiffs' claims (if any), and what documents Facebook could reasonably produce proportionate

to the needs of the case.

REQUEST FOR PRODUCTION NO. 28:

       All Documents relating to Internal Policies by Facebook on the monitoring of Third

Parties' compliance with Facebook's Platform Policy, Data Policy, or SRR.




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RESPONSE TO REQUEST FOR PRODUCTION NO. 28:

       Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this Response.

Facebook further objects to this Request on the following additional grounds:

        (A) Facebook objects to this Request to the extent that it seeks information protected from

disclosure by the attorney-client privilege, the attorney work-product doctrine, and/or any other

applicable privilege, doctrine, or protection.     Facebook interprets this Request as though it

excludes documents protected by these privileges and protections.

        (B) Facebook objects to this Request to the extent it seeks to impose obligations that go

beyond the requirements of the Federal and Local Rules.

        (C) Facebook further objects to this Request as overly broad, unduly burdensome,

irrelevant to the subject matter of this Action, unlikely to lead to the discovery of admissible

evidence, and/or disproportionate to the needs of the case in that it seeks all Documents "Relating"

to the subject Internal Policies, including Policies unrelated to Plaintiffs' claims.

        Subject to and without waiving the foregoing objections, to the extent non-privileged,

responsive documents are identified by areasonable, good-faith search, Facebook will produce

final, formal, written Policies that governed access to Facebook consumer data by third-party

Applications during the Relevant Time Period.

REQUEST FOR PRODUCTION NO. 29:

       All Documents relating to Internal Policies by Facebook on the enforcement of

Facebook's Platform Policy, Data Policy, or SRR against Third Parties.

RESPONSE TO REQUEST FOR PRODUCTION NO. 29:

       Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this Response.

Facebook further objects to this Request on the following additional grounds:

        (A) Facebook objects to this Request to the extent that it seeks information protected from

disclosure by the attorney-client privilege, the attorney work-product doctrine, and/or any other
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applicable privilege, doctrine, or protection.     Facebook interprets this Request as though it

excludes documents protected by these privileges and protections.

        (B) Facebook objects to this Request to the extent it seeks to impose obligations that go

beyond the requirements of the Federal and Local Rules.

        (C) Facebook further objects to this Request as overly broad, unduly burdensome,

irrelevant to the subject matter of this Action, unlikely to lead to the discovery of admissible

evidence, and/or disproportionate to the needs of the case in that it seeks all Documents "relating"

to the subject Internal Policies, including Policies unrelated to Plaintiffs' claims.

        (D) Facebook further objects to the Request to the extent that it is cumulative or duplicative

of other Requests, such as Request 28.

        Subject to and without waiving the foregoing objections, Facebook is willing to meet and

confer with Plaintiffs regarding the documents being sought by this Request, their relevance to the

Plaintiffs' claims (if any), and what documents Facebook could reasonably produce proportionate

to the needs of the case.

REQUEST FOR PRODUCTION NO. 30:

       All Documents relating to measures and controls, including proposed measures and

controls, put in place by Facebook to prevent Third Parties from violating Facebook's Platform

Policy, Data Policy, or SRR.

RESPONSE TO REQUEST FOR PRODUCTION NO. 30:

        Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this Response.

Facebook further objects to this Request on the following additional grounds:

        (A) Facebook objects to this Request to the extent that it seeks information protected from

disclosure by the attorney-client privilege, the attorney work-product doctrine, and/or any other

applicable privilege, doctrine, or protection.     Facebook interprets this Request as though it

excludes documents protected by these privileges and protections.



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          (B) Facebook objects to this Request to the extent it seeks to impose obligations that go

beyond the requirements of the Federal and Local Rules.

          (C) Facebook further objects to this Request as overly broad, unduly burdensome,

irrelevant to the subject matter of this Action, unlikely to lead to the discovery of admissible

evidence, and/or disproportionate to the needs of the case in that it seeks all Documents "Relating"

to the subject measures and controls, including measures and controls unrelated to Plaintiffs'

claims.

          (D) Facebook further objects to this Request on the grounds that the phrases "measures and

controls" and "proposed measures and controls" are ambiguous and vague and undefined.

          (F) Facebook further objects to the Request to the extent that it is cumulative or duplicative

of other Requests, such as Requests 28 and 29.

          Subject to and without waiving the foregoing objections, to the extent non-privileged,

responsive documents are identified by areasonable, good-faith search, Facebook will produce

final, formal, written Policies that governed access to Facebook consumer data by third-party

Applications during the Relevant Time Period.

REQUEST FOR PRODUCTION NO. 31:

          All Documents relating to Facebook's audits, inquiries, and investigations of Third

Parties investigating compliance with any provisions of Facebook's Platform Policy, Data

Policy, or SRR regarding the access, use, transmission, receipt, collection and analysis of Users'

Content and Information on and off the Platform.

RESPONSE TO REQUEST FOR PRODUCTION NO. 31:

          Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this Response.

Facebook further objects to this Request on the following additional grounds:

          (A) Facebook objects to this Request to the extent that it seeks information protected from

disclosure by the attorney-client privilege, the attorney work-product doctrine, and/or any other



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applicable privilege, doctrine, or protection.    Facebook interprets this Request as though it

excludes documents protected by these privileges and protections.

        (B) Facebook objects to this Request to the extent it seeks to impose obligations that go

beyond the requirements of the Federal and Local Rules.

        (C) Facebook further objects to this Request as overly broad, unduly burdensome,

irrelevant to the subject matter of this Action, unlikely to lead to the discovery of admissible

evidence, and/or disproportionate to the needs of the case in that it seeks all Documents "relating"

to the subject audits, inquiries, and investigations, including audits, inquires, and investigations

unrelated to Plaintiffs' claims.

        Subject to and without waiving the foregoing objections, Facebook will produce cease-

and-desist letters sent to app developers during the Relevant Time Period relating to policy

violations involving the use of User data. Facebook is willing to meet and confer with Plaintiffs

regarding any other documents being sought by this Request, their relevance to the Plaintiffs'

claims (if any), and what documents Facebook could reasonably produce proportionate to the

needs of the case.

REQUEST FOR PRODUCTION NO. 32:

       All Documents Concerning Misuse of Data, including investigations, examinations,

inquiries, or audits-or Communications regarding such investigations, examinations, inquiries, or

audits-regarding Misuse of Data prior to the deprecation of Graph API v.1.0.

RESPONSE TO REQUEST FOR PRODUCTION NO. 32:

        Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this Response.

Facebook further objects to this Request on the following additional grounds:

        (A) Facebook objects to this Request to the extent that it seeks information protected from

disclosure by the attorney-client privilege, the attorney work-product doctrine, and/or any other

applicable privilege, doctrine, or protection.    Facebook interprets this Request as though it

excludes documents protected by these privileges and protections.
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       (B) Facebook objects to this Request to the extent it seeks to impose obligations that go

beyond the requirements of the Federal and Local Rules.

       (C) Facebook further objects to this Request as overly broad, unduly burdensome,

irrelevant to the subject matter of this Action, unlikely to lead to the discovery of admissible

evidence, and/or disproportionate to the needs of the case in that it seeks all Documents

"Concerning" Misuse of Data.

       (D) Facebook further objects that the phrase "prior to the deprecation of Graph API v.1.0"

is ambiguous and vague and undefined. Facebook will construe this phrase to mean prior to April

30, 2015.

       (E) Facebook further objects to the Request to the extent that it is cumulative or duplicative

of other Requests, such as Requests 31.

       Subject to and without waiving the foregoing objections, Facebook will produce cease-

and-desist letters sent to app developers during the Relevant Time Period relating to policy

violations involving the use of User data. Facebook is willing to meet and confer with Plaintiffs

regarding any other documents being sought by this Request, their relevance to the Plaintiffs'

claims (if any), and what documents Facebook could reasonably produce proportionate to the

needs of the case.

REQUEST FOR PRODUCTION NO. 33:

       Documents sufficient to show the notice that Facebook provided to Users regarding

modifications to Facebook's SRR or Data Policy, and all Communications related thereto.

RESPONSE TO REQUEST FOR PRODUCTION NO. 33:

       Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this Response.

Facebook further objects to this Request on the following additional grounds:

       (A) Facebook objects to this Request to the extent that it seeks information protected from

disclosure by the attorney-client privilege, the attorney work-product doctrine, and/or any other



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applicable privilege, doctrine, or protection.    Facebook interprets this Request as though it

excludes documents protected by these privileges and protections.

       (B) Facebook objects to this Request to the extent it seeks to impose obligations that go

beyond the requirements of the Federal and Local Rules.

       (C) Facebook further objects to this Request as overly broad, unduly burdensome,

irrelevant to the subject matter of this Action and/or disproportionate to the needs of the case on

the grounds that it seeks all Communications "related" to the subject notice.

       (D) Facebook further objects to this Request as overly broad, unduly burdensome,

irrelevant to the subject matter of this Action, unlikely to lead to the discovery of admissible

evidence, and/or disproportionate to the needs of the case on the grounds, and to the extent, that

the Request seeks information about Users who are not parties to the Action.

       Subject to and without waiving the foregoing objections, Facebook will produce final,

exemplar versions of notifications that Facebook made to users regarding material changes to its

Data Use Policy and Statement of Rights and Responsibilities dating back to January 1, 2007.

REQUEST FOR PRODUCTION NO. 34:

       All Documents relating to the conditioning of Third Parties' access to Users' Content and

Information on the purchase of Mobile App Install Ads, payment of Content and Information in-

kind (referred internally as Reciprocity or Data Reciprocity), or other payment.

RESPONSE TO REQUEST FOR PRODUCTION NO. 34:

       Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this Response.

Facebook further objects to this Request on the following additional grounds:

       (A) Facebook objects to this Request to the extent that it seeks information protected from

disclosure by the attorney-client privilege, the attorney work-product doctrine, and/or any other

applicable privilege, doctrine, or protection.    Facebook interprets this Request as though it

excludes documents protected by these privileges and protections.



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       (B) Facebook objects to this Request to the extent it seeks to impose obligations that go

beyond the requirements of the Federal and Local Rules.

       (C) Facebook further objects to this Request as overly broad, unduly burdensome,

irrelevant to the subject matter of this Action, unlikely to lead to the discovery of admissible

evidence, and/or disproportionate to the needs of the case on the grounds that it seeks all

Documents "relating" to certain subjects, including Documents unrelated to Plaintiffs' claims and

documents that are not within Facebook's possession, custody, or control.

       (D)   Facebook further objects to this Request to the extent it is based on the false and

incorrect premise that Facebook "condition[ed]" or "condition[s]" access to information on certain

purchases and/or payments.

       Subject to and without waiving the foregoing objections, Facebook will produce final,

formal, written Policies and agreements that governed access to Facebook consumer data by third-

party Applications, integration partners, and mobile phone manufacturers during the Relevant

Time Period.

REQUEST FOR PRODUCTION NO. 35:

       Documents relating to the manner in which aFacebook User could control how his or her

data was shared through their Privacy Controls and App Settings throughout the Relevant Time

Period, including but not limited to screenshots of the Facebook website and the Facebook

mobile application.

RESPONSE TO REQUEST FOR PRODUCTION NO. 35:

       Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this Response.

Facebook further objects to this Request on the following additional grounds:

       (A) Facebook objects to this Request to the extent that it seeks information protected from

disclosure by the attorney-client privilege, the attorney work-product doctrine, and/or any other

applicable privilege, doctrine, or protection.    Facebook interprets this Request as though it

excludes documents protected by these privileges and protections.
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       (B) Facebook objects to this Request to the extent it seeks to impose obligations that go

beyond the requirements of the Federal and Local Rules.

       (C) Facebook further objects to this Request as overly broad, unduly burdensome,

irrelevant to the subject matter of this Action, unlikely to lead to the discovery of admissible

evidence, and/or disproportionate to the needs of the case on the grounds that it seeks all

Documents "relating" to the subject manner of control, including Documents that are not within

Facebook's possession, custody, or control.

       (D) Facebook further objects to this Request as overly broad, unduly burdensome,

irrelevant to the subject matter of this Action and/or disproportionate to the needs of the case on

the grounds, and to the extent, that the Request seeks information about Users that are not parties

to the Action.

       (E) Facebook further objects to the Request on the grounds that the Request seeks

documents that are public, already in Plaintiffs' possession, custody, or control, or obtainable from

some other source that is more convenient, less burdensome, or less expensive.

       Subject to and without waiving the foregoing objections, to the extent non-privileged

documents are identified by areasonable, good-faith search, Facebook will produce its user terms

dating back to January 1, 2007, to the extent they have not been produced to Plaintiffs' previously,

and screen shots sufficient to show how auser could control how data was shared with third-party

applications.

REQUEST FOR PRODUCTION NO. 36:

       All Documents concerning User testing, evaluation and analysis of Facebook's Privacy

Controls and App Settings during the Relevant Time Period, including but not limited to design

documents, correspondence, analyses, and reports.

RESPONSE TO REQUEST FOR PRODUCTION NO. 36:

       Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this Response.

Facebook further objects to this Request on the following additional grounds:
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        (A) Facebook objects to this Request to the extent that it seeks information protected from

disclosure by the attorney-client privilege, the attorney work-product doctrine, and/or any other

applicable privilege, doctrine, or protection.    Facebook interprets this Request as though it

excludes documents protected by these privileges and protections.

        (B) Facebook objects to this Request to the extent it seeks to impose obligations that go

beyond the requirements of the Federal and Local Rules.

        (C) Facebook further objects to this Request as ambiguous and confusing on the grounds

that the phrase "User testing, evaluation and analysis of Facebook's Privacy Controls and App

Settings" is ambiguous and vague and not defined.

        (D) Facebook further objects to this Request as overly broad, unduly burdensome,

irrelevant to the subject matter of this Action, unlikely to lead to the discovery of admissible

evidence, and/or disproportionate to the needs of the case on the grounds that it seeks all

Documents "concerning" the subject User testing, evaluation and analysis, including Documents

which are not within Facebook's possession, custody, or control.

        (E) Facebook further objects to this Request as overly broad, unduly burdensome,

irrelevant to the subject matter of this Action and/or disproportionate to the needs of the case on

the grounds, and to the extent, that the Request seeks information about Users that are not parties

to the Action.

        (F) Facebook further objects to the Request on the grounds that the Request seeks

documents that are public, already in Plaintiffs' possession, custody, or control, or obtainable from

some other source that is more convenient, less burdensome, or less expensive.

        Subject to and without waiving the foregoing objections, Facebook is willing to meet and

confer with Plaintiffs regarding the documents being sought by this Request, their relevance to the

Plaintiffs' claims (if any), and what documents Facebook could reasonably produce proportionate

to the needs of the case.




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DATE: December 26, 2019                 Respectfully submitted,


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        Plaintiffs' Exhibit C




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        Plaintiffs' Exhibit D



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         Plaintiffs' Exhibit E



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             Exhibit E




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                                    friends                                                                      3

                             B.     The threshold "global issues" addressed in the Order show that the
                                    actionable claims relate only to information users shared on Facebook        4

                      III.   Facebook produced all data Plaintiffs shared on Facebook; no other user data is
                             relevant.                                                                           6

                      IV.    The Court should deny Plaintiffs' "Cross-Motion to Compel."                        10

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Gibson, Dunn &
                                                                i
                    DEFENDANT FACEBOOK, INC.'S REPLY BRIEF IN SUPPORT OF ITS REQUEST TO ENFORCE THE
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                                   1

                                   2                                  UNITED STATES DISTRICT COURT

                                   3                               NORTHERN DISTRICT OF CALIFORNIA

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                                   5     IN RE: FACEBOOK, INC. CONSUMER                      MDL No. 2843
                                         PRIVACY USER PROFILE LITIGATION                     Case No. 18-md-02843-VC (JSC)
                                   6

                                   7                                                         DISCOVERY ORDER NO. 9

                                   8                                                         (Dkt. Nos. 515, 526, 537, 548)

                                   9

                                  10

                                  11           This MDL matter has been assigned to the undersigned for management of discovery.

                                  12   Now pending before the Court are the Parties' briefs concerning the proper scope of discovery
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 United States District Court




                                  13   related to the data Facebook accumulates about the named Plaintiffs. (Dkt. Nos. 515, 526, 537,

                                  14   548.)   In brief, Facebook contends that the district court's order specifically defined the data at

                                  15   issue as "substantive and revealing content that users intended only for alimited audience." (Dkt.

                                  16   No. 298.) Based on this definition, Facebook argues that for any named Plaintiff data to be

                                  17   relevant and discoverable, it must meet two criteria. First, the discoverable data must have arisen

                                  18   from user activity occurring on the Facebook platform, such as Facebook posts and sent messages.

                                  19   Second, the named Plaintiff must have then overtly shared such data with alimited audience, such

                                  20   as their friends. Facebook submits that this is the only plausible reading of the district court's

                                  21   order limiting Plaintiffs to four actionable categories of potential liability. Plaintiffs respond that

                                  22   the universe of discoverable data Facebook collects for each user is much larger and necessarily

                                  23   includes: (1) user activity occurring off the Facebook platform; and (2) user data that can be

                                  24   inferred from user activity occurring on or off the Facebook platform. A second question

                                  25   presented by the briefs is whether discovery may proceed on the claims the district court stayed.

                                  26           After carefully considering the papers submitted by the Parties, and consulting with the

                                  27   district court, the Court rules that discovery is not as limited as Facebook contends. Plaintiffs

                                  28   correctly argue that Facebook's restrictive view of relevant discovery would exclude an enormous


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                                   1   amount of information that Facebook collects and shares with third parties about Facebook's

                                   2   users. The district court's order (Dkt. No. 298) did not limit Plaintiffs' claims to only challenging

                                   3   the sharing of data Facebook collects from auser's on-platform activity; the claims also challenge

                                   4   Facebook's sharing of user data and alleged failure to monitor how third parties used such shared

                                   5   information.

                                   6          Accordingly, the Court rules the discoverable user data at issue includes:

                                   7              • Data collected from auser's on-platform activity;

                                   8              • Data obtained from third parties regarding auser's off-platform activities; and

                                   9              • Data inferred from auser's on or off-platform activity.

                                  10          As for the stayed claims, and again after consulting with the district court, the Court rules

                                  11   that discovery is stayed as to the stayed claims. Of course, if aparticular discovery request is

                                  12   relevant to both astayed and non-stayed claim, then discovery is not stayed merely because the
Northern District of California
 United States District Court




                                  13   discovery request is also relevant to astayed claim.

                                  14          IT IS SO ORDERED.

                                  15   Dated: October 29, 2020

                                  16

                                  17
                                                                                                                                    l'..---
                                                                                                    JA rêUELINE SCOTT CORL
                                  18                                                                United States Magistrate Judge

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             Exhibit G




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                                   1                                 UNITED STATES DISTRICT COURT

                                   2                              NORTHERN DISTRICT OF CALIFORNIA

                                   3

                                   4     IN RE: FACEBOOK, INC. CONSUMER                      MDL No. 2843
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                                   5

                                   6                                                         DISCOVERY ORDER NO. 11

                                   7

                                   8

                                   9          This MDL matter has been assigned to this Court for management of discovery. The Court

                                  10   held adiscovery status conference on December 9, 2020 and this Order memorializes the

                                  11   decisions made at the hearing.

                                  12      A. 30(b)(6) Witness. At the hearing, Facebook insisted it does not have any documents
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                                  13          reflecting its valuation of the user data it collects. It also contended that Plaintiffs

                                  14          conceded that user data not shared with or accessible to third parties is not relevant, (Dkt.

                                  15          No. 548 at 10), and because Facebook does not share inferred user data, the inferred user

                                  16          data Facebook maintains is not relevant. Facebook both collects and uses data about its

                                  17          users as part of its business model, including data derived from third parties. How it

                                  18          specifically uses this data is an open question, but if the Court were to accept Facebook's

                                  19          arguments about the scope of production, it would eliminate Discovery Order No. 9's third

                                  20          category of discovery: data inferred from auser's on or off-platform activity. What is

                                  21          needed now is more detail about Facebook's collection and use of user data so future

                                  22          discovery requests can be tailored to Plaintiffs' better understanding of the internal

                                  23          operations of Facebook as well the terminology it uses for describing data that is

                                  24          potentially responsive to Plaintiffs' discovery requests.

                                  25
                                              The Court accordingly orders Facebook to provide a30(b)(6) witness regarding the
                                  26
                                              discoverable user data as articulated by Discovery Order No. 9. (Dkt. No. 557.) Facebook
                                  27
                                              shall also provide a30(b)(6) witness on how it monetizes—directly or indirectly—and thus
                                  28


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                                   1         values user data. Plaintiffs shall provide Facebook with their 30(b)(6) Notice on or before

                                   2         December 18, 2020 and Facebook will have until January 13, 2021 to submit an initial

                                   3         response. The 30(b)(6) topics shall be narrowly tailored to assist Plaintiffs with identifying

                                   4         relevant discovery in the above two areas. The deposition will be limited to the time

                                   5         period of 2012 through 2017 to reduce burden and given its investigatory purpose.

                                   6      B. Search Terms. The Parties shall continue to meet and confer the week of December 14-

                                   7         18 regarding their competing proposals. Given the deadline for submission of final

                                   8         proposals—Christmas Eve—the Parties shall submit astipulation by December 18, 2020,

                                   9         agreeing to anew deadline for final proposals.

                                  10      C. Five-Day Détente. The Parties shall meet and confer to choose five consecutive business

                                  11         days during the upcoming holidays where no communications will take place between the

                                  12         Parties regarding the case. Communications on other topics are encouraged.
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                                  13      D. Plaintiffs' Interrogatory Responses and Privacy Settings Data. Plaintiffs shall

                                  14         supplement their interrogatory responses regarding what they characterize as their sensitive

                                  15         information with specific examples rather than general categories.

                                  16      E. Additional Proposed Custodians. The addition of further custodians for discovery

                                  17         purposes is premature at this time.

                                  18      F. Dismissal of Named Plaintiffs. The parties shall file astipulation regarding the dismissal

                                  19         of certain named plaintiffs in accordance with what was discussed at the hearing no later

                                  20         than December 18, 2020.

                                  21      G. Next Status Conference. The next video status conference shall be January 15, 2021 at

                                  22         8:30 a.m. The Parties shall submit ajoint status update by January 14, 2021 at 12:00 p.m.

                                  23         IT IS SO ORDERED.

                                  24   Dated: December 11, 2020

                                  25

                                  26
                                                                                                   JAC UELINE SCOTT CORLE         i..---
                                  27                                                               United States Magistrate Judge

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             Exhibit H




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 5

 6    Plaint6fs' Co-Lead Counsel

 7    Additional counsel listed on signature page

 8
                               UNITED STATES DISTRICT COURT
 9                           NORTHERN DISTRICT OF CALIFORNIA
                                  SAN FRANCISCO DIVISION
10

11
      IN RE: FACEBOOK, INC. CONSUMER                 MDL No. 2843
12    PRIVACY USER PROFILE LITIGATION                Case No. 18-md-02843-VC-JSC

13                                                   PLAINTIFFS' MOTION TO COMPEL
      This document relates to:                      PRODUCTION OF NAMED PLAINTIFFS'
14                                                   CONTENT AND INFORMATION
      ALL ACTIONS
15                                                   Judge: Hon. Vince Chhabria
                                                     Hon. Jacqueline Scott Corley
16                                                   Special Master Daniel Garrie
                                                     Courtroom: 4, 17th Floor
17
                                                     JAMS Ref No.: 1200058674
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                                                     ORAL ARGUMENT REQUESTED
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10
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11

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13
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14
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15
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16

17          B. Whether the Named Plaintiffs' Information Was Shared Is aContested Question on

18               Which Plaintiffs Are Entitled to Evidence, Not Assertion                            9

19
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20
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21

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 1   I.         PLAINTIFFS' SEPARATE STATEMENT

 2              Pursuant to If 6of the Protocol for Resolving Discovery Disputes—Order No. 1, Dkt. No.

 3   733, Plaintiffs' Separate Statement is provided as Attachment A to this Motion to Compel.

 4   II.        INTRODUCTION

 5              There are no questions more central to this litigation than what information Facebook has

 6   collected about users, what it does with that information, and specifically what it shares or makes

 7   accessible to third parties. Plaintiffs have sought to learn from the outset of discovery what

 8   Facebook has collected, analyzed and how it is used. Decl. of Derek W. Loeser, Ex. 1. 1 In 2019,

 9   Plaintiffs asked Facebook to identify the data sources containing information about the Named

10   Plaintiffs (at the time there were thirty). Finally, last year Plaintiffs brought amotion to compel,

11   limiting the request to just nine Named Plaintiffs. After consulting with Judge Chhabria, Judge

12   Corley ruled on "the proper scope of discovery related to the data Facebook accumulates about

13   the named Plaintiffs." Discovery Order No. 9at 1. She found the following types of user-related

14   information to be relevant:

15                         • Data collected from auser's on-platform activity;

16                         • Data obtained from third parties regarding auser's off-

17                             platform activities; and

18                         • Data inferred from auser's on or off-platform activity.

19   Id. at 1-2.

20             Notwithstanding the Court's Order, Facebook continues to improperly impose its narrow

21   view of relevance on the scope of discovery, producing almost no information that falls into the

22   second and third categories that Judge Corley enumerated. In fact, it has failed to produce any

23   new documents with the Named Plaintiffs' information since Discovery Order No. 9issued.

24              Instead, Facebook limited its production to the first category—and almost exclusively

25   from Facebook's "Download Your Information" ("DYI") tool. This tool, which did not operate

26   until 2010, allows users to access and review some of their own platform activity, for aportion of

27

28   1    Further references to "Ex.   "will be to Exhibits to the Declaration of Derek W. Loeser.


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 1   the Class Period. 2 The DYI tool excludes significant other information collected and inferred by

 2   Facebook about users, including information collected from off-platform activity and information

 3   inferred from data Facebook collects about the users.

 4            Facebook has asserted repeatedly that Plaintiffs have conceded that they are entitled only

 5   to information that has been shared with third parties. But Plaintiffs are not required to accept

 6   Facebook's own position on what was or was not shared or made accessible. That would allow

 7   Facebook to determine unilaterally what sharing or made accessible means in this highly

 8   technical context, and then, based on its own interpretation, determine what information should

 9   be discovered and presented to the jury. These are ultimate issues of fact that afactfinder, not

10   Facebook, must decide. Plaintiffs are not required to take Facebook's answers on trust, and, as

11   Plaintiffs will explain in detail, they have good reasons not to do so.

12            Discovery Order No. 9is not limited to "shared" information. Judge Corley refused to

13   limit Plaintiffs' 30(b)(6) deposition to questions about shared information, Ex. 6, and expressly

14   held that "whether particular user data is not shared, not admissible, or not monetized, is not a

15   valid reason to object to aparticular deposition question," Ex. 7.

16            In correspondence and other papers, Facebook has suggested that it would be unduly

17   burdensome to produce all of the information required by Judge Corley's order. These

18   suggestions have vaguely gestured in the direction of aburden argument rather than expressly

19   claiming or demonstrating that one actually exists. The first step in understanding if there is a

20   burden is identifying the data sources for all data, however collected, relating to the Named

21   Plaintiffs, including inferred data. Plaintiffs ask that Facebook be ordered to identify the

22   following aspects of those data sources: (1) the name of the database or data log; (2) adescription

23   of the data source's purpose and function; (3) information about the default retention status of the

24   data source (at aminimum, whether it is retained and for how long); (4) information about the

25   current retention status of the data source (at aminimum, whether it is retained and for how long);

26
         Plaintiffs have been only been able to find categories of information included in DYI from 2012
27
     2


     to present. Thus, there are arbitrary, temporal limitations in this data collection in addition to
28   substantive.


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 1   and (5) where the current retention status differs from default retention status, the date the change

 2   was implemented. Following the identification of these data sources, Plaintiffs will work with

 3   Facebook and the Special Master to develop an efficient discovery plan to produce the relevant

 4   information associated with the Named Plaintiffs, sufficient to establish, on aclasswide basis,

 5   Facebook's common practices throughout the Class Period. It will then be for the factfinder to

 6   determine if Facebook's use of that data, including sharing, selling, or making it available to third

 7   parties, was consistent with the promises Facebook made to Class member. 3

 8   III.     RELEVANT BACKGROUND

 9            A.     The Discovery Requests

10            On November 25, 2019, Plaintiffs' served Requests for Production Nos. 9-13, which seek

11   documents relating to the Named Plaintiffs. 4 Ex. 1at 12-13. In brief, Request No. 9seeks all

12   documents relating to each of the Named Plaintiffs; Request No. 10 seeks documents sufficient to

13   show the categories of content and information Facebook collects, tracks, and maintains about

14   them; and Requests Nos. 11-13 seek documents identifying third parties that were able to access

15   information about the Named Plaintiffs. On July 16, 2020, Plaintiffs also served Interrogatories

16   16-17, which sought the identify of all third parties and business partners that had access to

17   Named Plaintiffs' content and information, as well the specific content and information that was

18   accessed. Ex. 2.

19            B.     Facebook's Response

20            In response to these requests, Facebook produced more than one million pages of

21   individual user data it maintained relating to the Named Plaintiffs from the DYI tool. E.g., Ex. 3

22   at 1. Facebook acknowledges that its production is entirely limited to the information the Named

23   Plaintiffs themselves shared on Facebook. Id. Virtually all of it is available in the DYI Tool.

24   Facebook produced no other information about the Named Plaintiffs, even though during the

25
     3   Plaintiffs reserve the right to address on reply relevant facts disclosed for the first time in
26   conjunction with Facebook's Motion for aProtective Order Against Production of API Call Logs,
     filed the same day as this brief.
27
     4   The requests define "documents" broadly, consistent with its usage in Federal Rule of Civil
28   Procedure 34(a)(1)(A). Id. at 8.


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 1   months of negotiations over this issue, Facebook informed Plaintiffs and acknowledged to the

 2   Court that it has substantial amounts of data about the Named Plaintiffs Ex. 10 at 8:10-13 ("There

 3   is other —there's Facebook-generated information, information generated by third parties,

 4   information received from third parties. We have not represented that that is comprehensively

 5   included in our production."); see also id. at 10:1-21 (Facebook explaining to Court that

 6   producing all the data and tables associated with aNamed Plaintiff would be a"multiweek

 7   endeavor").

 8              C.     The Resulting Briefing and Orders

 9              Because Facebook improperly limited its production in response to Plaintiffs' RFPs 9-13

10   to information from the DYI tool, Plaintiffs filed amotion last September to compel discovery

11   related to these requests. Ex. 4. Plaintiffs asked the Court to compel production of sensitive

12   information Facebook derives and collects from business partners, app developers, apps, and

13   other sources. This request included "native, appended and behavioral data" and purportedly

14   anonymized data that could be connected to the Named Plaintiffs. Id. at 7-11.

15              On October 8, 2020, Facebook responded to Plaintiffs' cross-motion. Ex. 3(Dkt. No.

16   537). Facebook conceded that its production was limited to information derived from the Named

17   Plaintiffs' activity on the platform. Facebook contended that all information related to the Named

18   Plaintiffs that they did not themselves share on Facebook was outside the scope of the case; that

19   all information not shared through one of the four theories of the case was not within the scope of

20   the case; that Plaintiffs were not entitled to all data collected from third parties about the Named

21   Plaintiffs; that the Stored Communications Act and Video Protection Privacy Act claims did not

22   require the production of additional data Facebook had collected about the Named Plaintiffs; and

23   that Facebook could not reasonably collect any of the additional information Plaintiffs sought. Id.

24   at 6-10.

25              On October 29, 2020, Judge Corley issued Discovery Order No. 9, resolving the dispute

26   by rejecting Facebook's contentions. Ex. 5(Dkt. No. 557). Notably, Judge Corley "consult[ed]

27   with the district court" before ruling "that discovery is not as limited as Facebook contends." Id.

28


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 1   at 1. Judge Corley held that "the discoverable user data at issue includes" three categories of

 2   information: "[1] Data collected from auser's on-platform activity; [2] Data obtained from third

 3   parties regarding auser's off-platform activities; and [3] Data inferred from auser's on or off-

 4   platform activity." Id. at 2.

 5           On December 11, 2020, Judge Corley issued Discovery Order No. 11, further clarifying

 6   the scope of discoverable user data at issue. Ex. 6(Dkt. No. 588). In advance of upcoming

 7   testimony from its corporate designee, Facebook sought aruling that "user data not shared with or

 8   accessible to third parties is not relevant" and that "because Facebook does not share inferred user

 9   data, the inferred user data Facebook maintains is not relevant." Id. at 1. In response, Judge

10   Corley recognized that how Facebook "specifically uses this data is an open question," provided

11   that "[w]hat is needed now is more detail about Facebook's collection and use of user data," and

12   ordered Facebook to provide acorporate designee to testify "regarding the discoverable user data

13   as articulated by Discovery Order No. 9." id.

14           On January 15, 2021, Judge Corley issued Discovery Order No. 12, providing more

15   guidance about the scope of the upcoming corporate testimony. Ex. 7(Dkt. No. 602). In light of

16   continued disagreement about the scope of the testimony about user data, Judge Corley held that

17   "whether particular user data is not shared, not admissible, or not monetized, is not avalid reason

18   to object to aparticular deposition question." Id. at 1-2. 5

19           D.      Facebook's Deficient Response to Judge Corley's Orders

20           Judge Corley's orders have not so far resulted in production of additional documents

21   responsive to Requests for Production Nos. 9-13, and it does not appear that such productions are

22   forthcoming. In fact, Facebook's most recent position, provided in an April 1, 2021 letter, Ex. 8,

23   repeats the positions it took before Discovery Order No. 9was issued. In the letter, Facebook

24

25   5 Judge Corley also provided that, "[i]f the deponent is unable or unprepared to answer particular
     questions, that can be addressed with further, more targeted, 30(b)(6) depositions if needed." Id.
26   at 2. Facebook's designees, Konstantinos Papamiltiadis and Amy Lee, were unable or unprepared
     to answer numerous questions about the specific issues on which Judge Corley ordered testimony:
27   discoverable user data as defined by Discovery Order No. 9"and how Facebook monetizes—
     directly or indirectly—and thus values user data." id. at 1. Consistent with Discovery Order No.
28   12, Plaintiffs will seek additional corporate testimony on these topics.


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 1   again contended that data collected but not shared is irrelevant. Id. at 3. It also again conceded

 2   that Facebook's production related to the Named Plaintiffs largely reflected information collected

 3   from their on-platform activity, and that virtually all of it was available to the Named Plaintiffs

 4   themselves through the DYI tool. Id. at 2.

 5          Facebook also misleadingly asserted that Plaintiffs conceded information not shared is not

 6   relevant, id. at 4, neglecting to note that the parties have long disputed the factual and legal

 7   question of what information is shared. Relatedly, Facebook misleadingly paraphrased Discovery

 8   Order No. 9to limit discoverable information related to the Named Plaintiffs to information that

 9   was shared with third parties, id., ignoring Judge Corley's conclusion that "[h]ow [Facebook]

10   specifically uses this data is an open question," Ex. 6(Dkt. No. 588) at 1. Finally, Facebook

11   stated that Facebook had completed its production of discoverable user data before Discovery

12   Order No. 9. Id. at 4-5.

13           Similarly, Facebook has objected to Plaintiffs' Interrogatories 16-17, which asks

14   Facebook to identify the content and information accessed by which third parties. Ex. 2.

15   Facebook has claimed that it was investigating what information it could produce in response to

16   these Interrogatories, but thus far has produced none.

17          E.      Facebook Has Discoverable Information That It Has Declined to Produce

18          Facebook does have plenty of information on the Named Plaintiffs that falls into Judge

19   Corley's second and third categories. Facebook told the Court as much last year. Ex. 10 at 8, 10.

20   And

21                                                                       See Ex. 11 (FB-CA-MDL-

22   00213424-439).

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 1

 2

 3

 4            What's more, Facebook connects and integrates information generated from on-platform

 5   activity with information about users that it has obtained from third parties and off-platform

 6   activity. This is clear not only from internal documents, see Ex. 11 (FB-CA-MDL-00213424); Ex.

 7   12 (FB-CA-MDL-00149613); Ex. 13 (FB-CA-MDL-00203262), but also from patent applications

 8   and publicly reported information. One application published on July 6, 2017 plainly shows how

 9   Facebook can associate its own profile of auser with media consumption data generated off-

10   platform. Ex. 14. Indeed, Plaintiffs have learned from investigative journalists—not Facebook—

11   that Facebook creates internal categories queried by third parties who pay Facebook for the

12   privilege of accessing users based on them. ProPublica identified some of these categories in

13   2016, which include Dissociative identity disorder, Specific social phobia, Becet's disease, Fetal

14   alcohol spectrum disorder, and Why Did IGet Married?, among more than 50,000 others. 6

15           None of this information has been produced for the Named Plaintiffs.

16            F.     Plaintiffs' Unsuccessful Attempts to Mediate This Issue

17            Plaintiffs have attempted to resolve this issue repeatedly, including through mediation.

18   During the mediation sessions, and in related communications, Facebook's asserted that

19   production of all information that could be associated with the Named Plaintiffs was untenable. In

20   response, Plaintiffs repeatedly asked for information that would assist the parties in limiting the

21   burden of production on Facebook. Plaintiffs' requests included, but are not limited to:

22
          • On July 9, 2021, Plaintiffs asked Facebook for adata model for the Named Plaintiffs'
            data, alist of the APIs and SDK calls used to access the data model for the Named
23
            Plaintiffs, alist of third parties permitted to make the API and SDK calls against the
            Named Plaintiffs' data. Ex. 15. Facebook did not respond.
24
          • On July 18, 2021, Plaintiffs provided further clarification regarding the information
25

26
         Information available for download at Facebook Ad Categories (propublica.org) (Row 378:
27
     6


     Dissociative identity disorder; Row 436: Specific social phobia; Row 592: Becet's disease; Row
28   669: Fetal alcohol spectrum disorder; Row 1000: Why Did IGet Married?).


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              requested in their July 9, 2021 communication. Id. Facebook did not respond.
 1
           • On September 10, 2021, Plaintiffs asked for the complete production of information
 2           Facebook has collected about the Named Plaintiffs or an explanation of what specific
             information it is withholding. Ex. 16. Facebook did not respond.
 3
              Finally, on October 6, 2021, the Special Master declared impasse on the issue of
 4
     "Production of Named Plaintiffs' data in compliance with Dkt. No. 557."
 5
     IV.      ARGUMENT
 6
              A.     The Court Has Already Determined the Information Plaintiffs Seek Is
 7                   Relevant—Whether or Not Facebook Claims That It Has Been Shared.

 8            About ayear ago, after several months of negotiations, the parties submitted briefs to

 9   Judge Corley on whether the information about users' activities on the Facebook platform was the

10   only kind of relevant information. On this issue, Judge Corley sided with Plaintiffs, "rul[ing]" that

11   "the discoverable user data at issue includes" not only (1) "[d]ata collected from auser's on-

12   platform activity," but also (2) "[d]ata obtained from third parties regarding auser's off-platform

13   activities," and (3) "[d]ata inferred from auser's on or off-platform activity." Discovery Order

14   No. 9at 2. Facebook has produced almost no discovery in the second or third categories

15   encompassed by Judge Corley's order.

16            Facebook, pointing largely to the parties' briefs, has argued that information within the

17   second and third categories listed by Judge Corley is relevant only if it has been shared with a

18   third party. This argument is erroneous for several independently sufficient reasons.

19            First, this argument contradicts the plain language of Discovery Order No. 9. In listing the

20   three categories of discoverable user information, Judge Corley did not require the information to

21   have been shared with athird party. Facebook should not be allowed to read such arequirement

22   into the order, particularly in light of the fact -recognized by Judge Corley —that how Facebook

23   uses information is an "open issue."

24            Second, Facebook's argument ignores what happened in the immediate aftermath of

25   Discovery Order No. 9. After the order was issued, Facebook told Plaintiffs that it had already

26   produced all the information related to the Named Plaintiffs that had been shared with third

27   parties. See Ex. 17 (Hr'g Tr. 17-18 (Dec. 9, 2020)). Plaintiffs suggested that a30(b)(6) deposition

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 1   on users' information would be appropriate. See id. at 28-29. The Court agreed. See id. at 29-30;

 2   Discovery Order No. 11 at 1-2.

 3          Then, when the parties were not able to agree on the topics for the 30(b)(6) deposition,

 4   Judge Corley issued Discovery Order No. 12 on January 15, 2021. There, she stated that one of

 5   the topics was "discoverable user data as defined by Discovery Order No. 9." Discovery Order

 6   No. 12 at 1. And she noted that "whether particular user data is not shared, not admissible, or not

 7   monetized, is not avalid reason to otject to aparticular deposition question." Id. at 1-2

 8   (emphasis added).

 9          Thus, when Facebook asserted that it had already turned over all the discoverable

10   information defined by Discovery Order No. 9, Corley did not allow Facebook to limit discovery

11   to what it claimed had been shared. Rather, she recognized that Plaintiffs were entitled to test

12   Facebook's claims about how users' information was shared, used, and monetized. That is

13   precisely what Plaintiffs are requesting through this motion.

14          B.      Whether the Named Plaintiffs' Information Was Shared Is aContested
                    Question on Which Plaintiffs Are Entitled to Evidence, Not Assertion
15
            Plaintiffs are not required to accept Facebook's contention that other information was not
16
     shared. This is so for several reasons.
17
            First, there is evidence that Facebook shared information in Judge Corley's other two
18
     categories—information inferred about auser and information about auser's off-platform
19
     activities—with third parties. An email exchange between two directors at Facebook touches on
20
     about what
21
     Ex. 18. The exchange identifies that information: (1)
22
                                          (2)
23
                                                                       and (3)
24
                                                                                                   Id.
25
     Note that the second and third kinds of information fall neatly into Judge Corley's second and
26
     third categories. While Facebook has called this email discussion "hypothetical," it seems best
27
     read—and at the very least it is reasonable to read it—as describing Facebook's actual practices.
28


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 1   Moreover, in connection with its ADI, Facebook asked app developers

 2

 3                             Ex. 23 (FB-CA-MDL-00377690, question 18) (emphasis added). This

 4   question strongly suggests that Facebook was shared inferred data with app developers. Finally,

 5   there is location-related metadata associated with posts made by Named Plaintiffs that is

 6   accessible to third parties but that has not been produced and is not available through Facebook's

 7   DYI tool.'

 8            Second, internal documents demonstrate that Facebook itself does not know what

 9   information may have been shared with third parties.

10

11

12

13

14         Ex. 19 (FB-CA-MDL-0195247); see also Ex. 20 at 6:2-4 ("What we cannot produce --

15   because it's simply not recorded, it's not the way our platform is constructed —is what data was

16   actually shared ....") (statement of Mr. Snyder). Indeed, Facebook had to launch its ADI to

17   determine which third parties are taking what content and information about its users. See

18   generally Ex. 23 (FB CA-MDL-00377690).

19

20                                                           (see id., Question 10), and

21                                                                   (id., Question 11).

22

23                     (id., Question 12), and

24                              (id., Question 13). As aresult, Facebook is trying to identify for itself

25   what user information was shared and through what channels. It is difficult to credit Facebook's

26
     7   Documents produced by reveal that third-party applications could obtain this metadata about
27
     users. See Ex. 21 (FB-CA-MDL-01938268). Such sharing with applications also extended to data
28   and metadata about users' friends. Id.


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 1   assertion that it has produced all shared information when it is still in the midst of an elaborate

 2   investigation seeking to determine what information what information it shared with third parties.

 3           Third, the question of what information Facebook shared is the central issue in this case.

 4   For instance, one of Plaintiffs' claims—and indeed the fourth category of misconduct recognized

 5   by Judge Chhabria—is whether Facebook properly monitored user content and information, and

 6   in particular whether it had sufficient safeguards in place to ensure that user content and

 7   information would not be disclosed without consent. Foundational to that claim is determining

 8   what information was made accessible to third parties in the first place.

 9          Fourth, requiring Plaintiffs to defer to Facebook's own account of its practices contradicts

10   the whole point of discovery. See, e.g., Stein v. Farmers Ins. Co. cfAriz., No.

11   319CV00410DMSAHG, 2020 WL 7240318, at *3 (S.D. Cal. Dec. 8, 2020) (declining to require

12   policy holder to depend only on "the statements and testimony of the insurer's employees as to

13   the evaluations and motivations of the insurer"); Fed. Indus., Inc. v. Cameron Techs. US, Inc.,

14   No. CV 07-1098-VBF(CTX), 2008 WL 11343314, at *3 (C.D. Cal. Oct. 16, 2008) (party was

15   "entitled to probe the veracity of and support for [the other's] claim" of damages and causation).

16   If Facebook is so confident that this information was in fact not shared or made accessible, then it

17   should have no problem disclosing this information to defend its position.

18          Efth, Facebook's claim about what it did and did not share or make accessible raises the

19   question what sharing information means. From the beginning of this case, the parties have

20   disputed what it means to share information. The definition of what it means to share users'

21   information in the context of this case—where the sharing does not include anything physical,

22   and where information can be provided to third parties without ever leaving Facebook's

23   systems—is likely to remain contested through summary judgment, if not trial, and will be

24   informed by the discovery Plaintiffs seek here.

25          C.      Facebook Has Failed to Substantiate aDisproportionate Burden in
                    Identifying the Data It Possesses Relating to Nine People.
26
            Once aparty seeking discovery has established that the discovery is relevant, the party
27
     resisting discovery bears the burden of showing "why the discovery is irrelevant, overly broad, or
28


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 1   unduly burdensome or oppressive, and thus should not be permitted." Procfpoint, Inc. v. Vade

 2   Secure, Inc., No. 19CV04238MMCRMI, 2020 WL 7398791, at *3 (N.D. Cal. Dec. 17, 2020)

 3   (citing Procfpoint, Inc. v. Vade Secure, Inc., No. 19-cv-04238-MMC (RMI), 2020 WL 6591210,

 4   at *4 (N.D. Cal. Nov. 11, 2020); Colaco v. ASIC Advantage Simplfied Pension Plan, 301 F.R.D.

 5   431, 434 (N.D. Cal. 2014); Dominguez v. Schwarzenegger, No. C 09-2306 CW (JL), 2010 WL

 6   3341038, at *3 (N.D. Cal. Aug. 25, 2010)). This is a"heavy burden." Dairy v. Harty Shelton

 7   Livestock, LLC, No. 18-CV-06357-RMI, 2021 WL 4476778, at *1 (N.D. Cal. Sept. 30, 2021).

 8   The party resisting discovery cannot rest on an assertion of burden, but "must actually

 9   demonstrate the nature of the burden" with affidavits or other evidence. Dish Network, LLC. v.

10   Jadoo TV, Inc., No. CV 18-9768-FM0 (KSX), 2020 WL 2070990, at *3 (C.D. Cal. Feb. 28,

11   2020).

12            Here, Facebook asserts that producing all the information that could be associated with the

13   Named Plaintiffs is disproportionately burdensome, but in more than ayear of conferring, it has

14   not provided any evidence for that assertion. Moreover, if there really is aburden associated with

15   Plaintiffs' request, it is because

16

17            Plaintiffs, who are merely seeking the information Facebook has that can be associated

18   with the Named Plaintiffs, should not be worse off because of Facebook's own data architecture

19   decisions. See, e.g., Lou v. Ma Labs., Inc., No. 12-CV-05409 WHA (NC), 2013 WL 12328278, at

20   *2 (N.D. Cal. Mar. 28, 2013) ("The Court finds that the burden defendants claim excuses them

21   from producing such documents is of their own making, and thus not compelling. ...

22   [D]efendants are the master of their own record keeping."), clarfied on denial cf reconsideration,

23   No. 12-CV-05409 WHA NC, 2013 WL 1615785 (N.D. Cal. Apr. 15, 2013).

24            Judge Chhabria's early admonition to Facebook about burden is relevant here: "[T]here is

25   often alot of talk about proportionality and whatnot. This is abig case. It is asignificant issue. ..

26   .[T]his is not the type of case where we are going to be saying: Well, that might end up—that

27   effort might end up uncovering some relevant information; but, you know, it is just too expensive

28


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 1   or difficult, and so we are not going to make Facebook do it." Ex. 22 at 29:3-10.

 2          D.      Plaintiffs Have Made Proposals to Reduce the Burden of Production on
                    Facebook
 3
            Nevertheless, Plaintiffs have identified aseries of ways Facebook could provide
 4
     preliminary information that would enable the parties to meaningfully confer regarding the
 5
     possibility of agreeing on aless burdensome production. Specifically, Plaintiffs have asked for
 6
     production of adata model for the Named Plaintiffs' information. Ex. 15. Plaintiffs have asked
 7
     Facebook to provide alist of the APIs and SDK calls used to access the Named Plaintiffs' data
 8
     model. Id. Plaintiffs have asked for alist of third parties permitted to make such API and SDK
 9
     calls against the Named Plaintiffs' data. Id. Plaintiffs have asked for schemas identifying how the
10
     Named Plaintiffs' information is received, stored, and shared. Id. Plaintiffs have asked for
11
     snapshots in time of all information Facebook had that is capable of being associated with the
12
     Named Plaintiffs on three specific dates: December 17, 2019; May 20, 2021; and August 18,
13
     2021. Plaintiffs have even asked Facebook to simply identify the information it can associate with
14
     the Named Plaintiffs that it is not producing, so that the parties' dispute can be defined by a
15
     common understanding of the information at issue. Ex. 16.
16
            Although Facebook has responded to these proposals with silence, Plaintiffs believe there
17
     is still aproductive path forward. To understand the burden associated with the information
18
     Plaintiffs are requesting, Facebook should be ordered to identify all data sources that may contain
19
     information relating to the Named Plaintiffs.
20
     V.     CONCLUSION
21
            For the foregoing reasons, Plaintiffs move to compel Facebook to identify all data sources
22
     that may contain information relating to the Named Plaintiffs, including but not limited to their
23
     profiles and identifiers. Specifically, Plaintiffs request that Facebook provide: (1) the name of the
24
     database or data log; (2) adescription of the data source's purpose and function; (3) information
25
     about the default retention status of the data source (at aminimum, whether it is retained and for
26
     how long); (4) information about the current retention status of the data source (at aminimum,
27
     whether it is retained and for how long); and (5) where current retention status differs from
28


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 1   default retention status, the date the change was implemented. For each data source, Facebook

 2   should provide, at aminimum: (1) the data schema; (2) definitions and descriptions of each field;

 3   (3) tool(s) which Facebook use to search each data source; and (4) instruction sets and manuals

 4   for all tools identified as being used by Facebook to search any data source identified in this step.

 5   With the Special Master's assistance, the parties can use this information to develop an efficient

 6   discovery plan going forward.

 7    Dated: October 18, 2021
                                                            Respectfully submitted,
 8
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               7
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               8
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           10
                            A.   Facebook's productions under Discovery Order 9are complete.                                    7
           11
                                 1.   The scope of discovery is limited to data that was shared with third parties.             7
           12
                                 2.   Plaintiffs have not identified any deficiencies in Facebook's productions                 8
           13
                            B.   Plaintiffs' distrust does not entitle them to "discovery on discovery"                         9
           14
                            C.   Plaintiffs are judicially estopped from seeking information that was not shared               12
           15
                            D.   The information Plaintiffs now seek is nonresponsive and otherwise unavailable                13
           16
                   IV.       CONCLUSION                                                                                        15
           17

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Gibson, Dunn &            FACEBOOK'S OPPOSITION TO PLAINTIFFS' M OTION TO COMPEL PRODUCTION OF NAMED PLAINTIFFS' CONTENT AND
                                                                      INFORMATION
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Gibson, Dunn &        FACEBOOK'S OPPOSITION TO PLAINTIFFS' M OTION TO COMPEL PRODUCTION OF NAMED PLAINTIFFS' CONTENT AND
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 1   and more. Mot. at 13; Loeser Decl., Ex. 15. Again, Facebook has refused to respond. Plaintiffs'

 2   requested relief dovetails with these prior efforts. The contention that Plaintiffs are evading

 3   discovery mediation and shifting their position is disingenuous. Disclosure of what Facebook

 4   possesses about the Named Plaintiffs is areasonable next step toward resolution of this issue.

 5            The Federal Rules of Civil Procedure independently entitle Plaintiffs to the information

 6   they seek on data sources, precisely because it will allow them to determine what has been

 7   withheld. That is the purpose of Rule 34(b)(2)(C), which requires an objecting party to "state

 8   whether any responsive materials are being withheld on the basis of that objection." It cannot be

 9   too much to ask Facebook to comply with the Rules. For this reason, at this stage of the litigation,

10   Plaintiffs have requested that Facebook identify the relevant data sources, their purpose for

11   collection, retention periods, the full profiles of the Named Plaintiffs, and other information

12   relevant to crafting an efficient discovery plan, both as to the Named Plaintiffs and on aclasswide

13   basis.

14   III.     CONCLUSION

15            For the reasons laid out above and in their October 18 submission, Plaintiffs' motion

16   should be granted.

17
      Dated: November 2, 2021                               Respectfully submitted,
18
      KELLER ROHRBACK L.L.P.                                BLEICHMAR FONTI & AULD LLP
19
      By:     /s/ Derek W. Loeser                           By:     /s/ Lesley E. Weaver
20            Derek W. Loeser                                       Lesley E. Weaver

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      Can Camp en Laufenberg (admitted pro hac vice)        Anne K. Davis (SBN 267909)
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27    adaniel@kellerrohrback.com                            aornelas@bfalaw.com
      bgould@kellerrohrback.com                             jsamra@bfalaw.com
28
     REPLY ISO M OT. TO COMPEL                         10                                    MDL No. 2843
                                                                              CASE No. 18-MD-02843-VC -JSC
                                                                                 JAMS REF. No.: 1200058674
                                                                                                       0405
     Case 3:18-md-02843-VC Document 813 Filed 01/18/22 Page 412 of 3430


      Christopher Springer (SBN 291180)
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      Santa Barbara, CA 93101
 2    Tel.: (805) 456-1496
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 3    cspringergkellerrohrback.corn

 4
      Plaint6fs' Co-Lead Counsel
 5

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     REPLY ISO M OT. TO COMPEL            11                               MDL No. 2843
                                                            CASE No. 18-MD-02843-VC -JSC
                                                               JAMS REF. No.: 1200058674
                                                                                    0406
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 1    Derek W. Loeser (admitted pro hac vice)       Lesley Weaver (Cal. Bar No.191305)
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 4    dloesergkellerrohrback.com                    lweavergbfalaw.com

 5

 6    Plaint6fs' Co-Lead Counsel

 7    Additional counsel listed on signature page

 8
                               UNITED STATES DISTRICT COURT
 9                           NORTHERN DISTRICT OF CALIFORNIA
                                  SAN FRANCISCO DIVISION
10

11
      IN RE: FACEBOOK, INC. CONSUMER                 MDL No. 2843
12    PRIVACY USER PROFILE LITIGATION                Case No. 18-md-02843-VC-JSC

13                                                   DECLARATION OF DEREK LOESER IN
      This document relates to:                      SUPPORT OF REPLY IN SUPPORT OF
14                                                   PLAINTIFFS' MOTION TO COMPEL
      ALL ACTIONS                                    PRODUCTION OF NAMED PLAINTIFFS'
15                                                   CONTENT AND INFORMATION

16                                                   Judge: Hon. Vince Chhabra
                                                     Hon. Jacqueline Scott Corley
17                                                   Special Master Daniel Garrie
                                                     Courtroom: 4, 17th Floor
18
                                                     JAMS Ref No.: 1200058674
19
                                                     ORAL ARGUMENT REQUESTED
20

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     Case 3:18-md-02843-VC Document 813 Filed 01/18/22 Page 414 of 3430



 1          I, Derek W. Loeser, declare and state as follows:

 2           1.     Iam apartner at the law firm of Keller Rohrback L.L.P. and am Co-Lead Counsel

 3   for Plaintiffs in the above-captioned matter.

 4          2.      Ihave personal knowledge of the facts set forth herein and, if called as awitness,

 5   could and would testify competently to them.

 6          3.      The following is offered solely for the purpose of responding to Facebook's

 7   affirmative representations of fact in its Opposition to Plaintiffs' Motion to Compel Production of

 8   Named Plaintiffs' Content and Information.

 9          4.      Attached hereto as Exhibit A is atrue and correct copy of atranscript of acase

10   management conference held on January 15, 2021 in this action.

11          5.      Attached hereto as Exhibit B is atrue and correct copy of adocument produced in

12   discovery in this action with Bates Number FB-CA-MDL-00203262.

13          6.      Attached hereto as Exhibit C is atrue and correct copy of an excerpt from

14   deposition testimony by James L. Barnes, III on November 15, 2008 produced in discovery in this

15   action with Bates Number FB-CA-MDL-01841516.

16          7.      Attached hereto as Exhibit D is atrue and correct copy of adocument produced in

17   discovery in this action with Bates Number FB-CA-MDL-01191149-50 and attachment

18   presentation thereto.

19          8.      Attached hereto as Exhibit E is atrue and correct copy of aspreadsheet created by

20   Facebook on March 18, 2021 and produced to Plaintiffs with Bates Number FB-CA-MDL-

21   01744596 which contains the names of applications associated with the UIDs for the following

22   Named Plaintiffs: Jason Ariciu                  , Sam Armstrong                          Bridgett

23   Burk                     Jordan O'Hara                      and Cheryl Senko (

24   Also included in the spreadsheet is information regarding the apps including

25                                           whether the apps remain installed by the Plaintiff

26                     and if the Plaintiff remains an active user of the app

27                                      Various permissions associated with each app are also included:

28
     DECLARATION OF DEREK LOESER                       1                                       MDL No. 2843
                                                                                CASE No. 18-MD-02843-VC -JSC
                                                                                   JAMS REF. No.: 1200058674
                                                                                                         0408
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 1

 2

 3           9.     Plaintiffs conducted athorough search of all documents produced by Facebook

 4   and have not identified analogous information for the four other Named Plaintiffs.

 5           10.    Attached hereto as Exhibit F is atrue and correct copy of aspreadsheet created by

 6   Plaintiffs reflecting acomparison of the apps identified in Exhibit   (Column B) versus the apps

 7   identified in the DYI file produced by Facebook for Named Plaintiff Jason Ariciu ("Ariciu DYI

 8   file") (INSERT BATES NUMBER). Listed in Column C are apps that appear in both Exhibit

 9   and the Ariciu DYI file. Listed in Column D are apps that are only identified in the Ariciu DYI

10   file.

11           11.    Attached hereto as Exhibit G is atrue and correct copy of an excerpt from

12   deposition testimony by Konstantinos Papamiltiadis on February 23, 2021 in this action.

13           12.    Attached hereto as Exhibit H is atrue and correct copy of documents produced in

14   discovery in this action with Bates Number FB-CA-MDL-00252922, FB-CA-MDL-00252923

15   and FB-CA-MDL-00252932.

16           13.    Attached hereto as Exhibit Iis atrue and correct copy of correspondence dated

17   February 26, 2020 sent from Plaintiffs' counsel to Defendant.

18           14.    Attached hereto as Exhibit Jis atrue and correct copy of correspondence dated

19   April 10, 2020 from Defendant to Plaintiffs' counsel.

20           Ideclare under penalty of perjury under the laws of the United States that the foregoing is

21   true and correct and to the best of my knowledge.

22
             Dated November 2, 2021.
23

24

25                                                        By:
                                                                  Derek W. Loeser
26

27

28
     REPLY ISO M OT. TO COMPEL                        2                                     MDL No. 2843
                                                                             CASE No. 18-MD-02843-VC -JSC
                                                                                JAMS REF. No.: 1200058674
                                                                                                     0409
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                  Exhibit A




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                      UNITED    STATES       DISTRICT        COURT


                     NORTHERN DISTRICT          OF    CALIFORNIA


Before   The   Honorable     Jacqueline       Scott    Corley,       Magistrate          Judge



IN RE:    FACEBOOK,    INC.                     NO.    18-MD-02843          VC    (JSC)
          CONSUMER    PRIVACY USER
          PROFILE    LITIGATION.




                                      San    Francisco,       California
                                      Friday,    January       15,    2021


      TRANSCRIPT OF    REMOTE    ZOOM VIDEO          CONFERENCE       PROCEEDINGS


APPEARANCES VIA ZOOM:


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                               CARI    C.    LAUFENBERG,       ATTORNEY AT             LAW
                              DAVID KO,        ATTORNEY AT       LAW
                               CHRIS    SPRINGER,       ATTORNEY AT          LAW



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                              ANGELICA M.        ORNELAS,       ATTORNEY AT             LAW
                              ANNE K.        DAVIS,    ATTORNEY AT LAW




               (APPEARANCES    CONTINUED       ON FOLLOWING          PAGE)




Reported Remotely By:         Ana     Dub,    RMR,    RDR,    CRR,    CCRR,       CRG,       CCG
                               CSR No.       7445,    Official       U.S.    Reporter




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 1   APPEARANCES VIA ZOOM:     (CONTINUED)


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 7
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12                            ATTORNEY AT       LAW


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 1           And so there have been representations               that have been made

 2   that    the stuff that's been produced is all.                 So there are

 3   people there.

 4           So,   Facebook,      identify to plaintiffs who's going to be the

 5   deponent.       Right?

 6           That'll then let you know somewhat what                that person knows

 7   or doesn't know.          And then the       same thing with the

 8   monetization.

 9           I think that's a start,            and then you go and we'll        see what

10   we get.       And if you don't get what           I think you should get,         no

11   one's going anywhere;          we can come back and do it again.                This

12   is just to try to break through that                logjam and get    started.

13                 MR.   LOESER:     I hear that,     Your Honor,     and I appreciate

14   that.     And obviously,       we will      jump right   in and try and do

15   that.     I think Facebook obviously understands                that this      is a

16   witness that's        supposed to be prepared to testify,            and so

17   hopefully the witness comes prepared to testify about                     the full

18   range of      topics that     these    issues   relate to.

19                 THE COURT:      Well,    that's what Ms.    Stein said.          That's

20   why she sent the letter,             because they understand that         they have

21   to prepare the witness           to testify.

22                 MR.   LOESER:    But    --

23                 MS.   STEIN:    That's exactly --

24                 MR.   LOESER:     --   I mean,    I don't want    to bore   --    you

25   know,    I'm sorry to        -- we can move on;     but what     the letter says




                                                                                              0413
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                  Exhibit B




                                                                     0414
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   From:                                    Scott Renfro </O=THEFACEBOOK/OU =EXTERNAL
                                            (FYDIBOHF2SSPDLT)/CN=RECIPIENTS/CN=EC939C23AC4348C6B7F2B4AE6DE65518>
   Sent:                                    Tuesday, March 04, 2014 2:33 PM
   To:                                      Maritza Johnson; Rob Sherman; Erin Egan
   Subject:                                 FW: 3rd party ads data




   On 3/3/14, 2:26 PM, "Aldo King" <aiking@fb.com> wrote:



    + Ed, Shirine, and Mark for reference


    Here are most of the places where 3rd party data connects into or out of the ads system:




    Custom Audiences
    We allow advertisers to upload lists of their customers to have ads shown to them on Facebook. We create custom audiences
    today based on email addresses, phone numbers, FB user id's, and Apple iOS IDFAs. We also allow mobile app developers to create
    custom audiences based on information that they have provided to Facebook via the FB mobile SDKs (below).


    FB Mobile SDKs
    Developers can choose to send information about how their users interact with their apps to Facebook. Developers can set up
    "custom app events" within their app using the FB Mobile SDKs. When auser does apre-defined action, developers can have the
    FB SDK send each activity to Facebook. We log that information to count app installs and aggregate them for app analytics. By
    default, the SDK is set to report installs only (through the developer can turn this off).



    Conversion Tracking
    Websites can implement aFacebook pixel that is triggered when users land on specific pages. The pixel sends information from the
    user's FR cookie to Facebook and we attribute the conversion with aspecific ad.


    Website Custom Audiences
    Websites can implement aFacebook pixel (different from conversion tracking) that is triggered when users land on specific
    pages. The pixel sends information from the user's FR cookie to Facebook. Facebook resolves that info back to aspecific user and
    Facebook places that user into acustom audience for that advertiser. Users can opt-out of this process through acookie-based
    opt-out accessible from the Ads privacy settings page on Facebook.


    Partner Categories
    Facebook partners with select data partners and allows that to create custom audiences based on their own data. These custom
    audiences (called "Partner Categories") are then available for use by any advertiser on Facebook.




                                                                        1



                                                                                                                                    0415
Highly Confidential -Attorneys' Eyes Only                                                                         FB-CA-MDL-00203262
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    On 3/3/14, 6:40 AM, "Scott Renfro" <srenfro@fb.conn> wrote:


     Can you give me aquick summary of our use of 3rd party data for ads? Feel free to cc relevant folks from ads.


     I'm in DC this week for discussions about big data and privacy and ads seems to be the main place we're leveraging non-FR data
     directly or indirectly.




                                                                     2



                                                                                                                                      0416
Highly Confidential -Attorneys Eyes Only                                                                             FB-CA-MDL-00203263
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                  Exhibit C




                                                                     0417
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                                                                                                         Page    1

                         THE    UNITED           STATES    SECURITIES AND EXCHANGE                  COMMISSION




                          In   the Matter           of:                         )


                                                                                )File       No.    SF-04223-A


                          FACEBOOK,          INC.                               )


                         WITNESS:            James    L.    Barnes,       III


                          PAGES:             1 through       238

                          PLACE:             Securities       and Exchange            Commission


                                             44    Montgomery Street,               Suite    2800


                                             San    Francisco,       CA     94104


                          DATE:              Friday,       November       16,   2018




                                  The       above-entitled matter               came    on    for hearing,


                         pursuant           to    notice,    at    9:05    a.m.




                                  Diversified Reporting                   Services,         Inc.


                                                 (202)467-9200




                                                                                                                     0418
Highly Confidential -Attorneys' Eyes Only                                                              FB-CA-MDL-01841516
                 Case 3:18-md-02843-VC Document 813 Filed 01/18/22 Page 425 of 3430


         Page    2

           1     APPEARANCES:


           2


           3     On behalf         of    the    Securities      and Exchange   Commission:

           4              MATTHEW G.           MEYERHOFER,     ESQ.


           5              ROBERT        TASHJIAN,       ESQ.


           6              TRACY     DAVIS,       ESQ.

           7              Securities           and Exchange      Commission


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Highly Confidential -Attorneys' Eyes Only                                               FB-CA-MDL-01 841517
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                                                                                                            Page     129

                   1     list    are      also using Facebook and then                    to    target      those

                  2      people with advertising.


                   3             Q        And there are different ways                     to create         these

                   4     custom audiences,              I take    it?

                  5              A          Correct.


                   6             Q          So one way would be           through emails?

                   7             A          Correct.

                   0
                   ,             Q          So if you had a list of emails you could upload

                   9     that list in a hashed form to                    the   Facebook platform,                  and

                 10      Facebook would do              the matching and find that Facebook

                 11      user who matches              that email?

                 12              A          Correct.


                 13              Q        What are       the other kinds of custom audiences?

                 14              A          So website     custom audiences               come       from a piece

                 15      of   code     called the        Facebook pixel         the       advertisers         can

                 16      place    on      their website         that    check   to    see       if    a Facebook

                 17      cookie      is     on   someone's machine,         and      if    so,       then

                 18      communicates            back this      person has      been       to    the website,

                 19      which    is      something you will            also hear         referred to         as

                 20      remarketing.             So   that's    website    custom audiences.

                 21                         We   have mobile      app    custom audiences               which are

                 22      gained      from mobile         app    identifiers.




                                                                                                                           0420
Highly Confidential -Attorneys' Eyes Only                                                                    FB-CA-MDL-01841644
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                                                                                           0421
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                                                                                                        Page   137




                 10              Q          Uh-huh.

                 11              A          And   so as    I mentioned,        there are    lots    of


                 12      different          sources    of custom audiences.           Custom audiences

                 13      can also be          shared from one advertiser to another.

                 14                         Annie   says,     "I mean"    --    she mentioned                  at

                 15      the top,      and she        says,    "I mean,    you    can basically assume


                 16      that most          offline    audiences    are    SCL,    too,    even    if    not


                 17      labeled."


                 18                         I think -- you       know,    I don't have       a

                 19      recollection of this               conversation.         But based off of the

                 20      context here and based off of what                      I know about how

                 21      custom audiences work,                I think the       FB like-issue          is more

                 22      likely to refer to the offline audiences                         that Annie

                 23      refers      to than the email           custom audiences          that    I refer

                 24      to.


                 25                                       FURTHER EXAMINATION




                                                                                                                     0422
Highly Confidential -Attorneys' Eyes Only                                                               FB-CA-MDL-01841652
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                  Exhibit D




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                  Exhibit E




                                                                     0439
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                   Exhibit F




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                  Exhibit G




                                                                      2619
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                     HIGHLY CONFIDENTIAL -ATTORNEYS EYES ONLY


 1                             UNITED       STATES       DISTRICT        COURT

 2                           NORTHERN        DISTRICT        OF    CALIFORNIA

 3

 4     IN    RE:    FACEBOOK,       INC.    CONSUMER        ) MDL       No.    2843

 5     PRIVACY       USER    PROFILE       LITIGATION)           Case    No.

 6                                                          ) 18-md-02843-VC

 7    This     document       relates       to:             )

 8    ALL     ACTIONS                                       )

 9                                                          )

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13      ***    HIGHLY       CONFIDENTIAL          - ATTORNEYS'           EYES    ONLY    ***

14

15

16          REMOTE    VIDEOTAPED        DEPOSITION          BY    VIRTUAL       ZOOM    OF

17                          FACEBOOK       INC.    REPRESENTATIVE,

18                           KONSTANTINOS          PAPAMILTIADIS

19                           TUESDAY,       FEBRUARY        23,    2021

20

21

22    Reported        by:

23    Ashala        Tylor,    CSR    #2436,       CLR,     CRR,    RPR

24     JOB    NO.    4473154

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 1                             UNITED    STATES          DISTRICT      COURT

 2                            NORTHERN    DISTRICT          OF    CALIFORNIA

 3

 4     IN   RE:   FACEBOOK,      INC.    CONSUMER          ) MDL      No.    2843

 5     PRIVACY     USER      PROFILE    LITIGATION)            Case    No.

 6                                                         ) 18-md-02843-VC

 7    This     document       relates    to:               )

 8    ALL     ACTIONS                                      )

 9                                                         )

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16             Videotaped       deposition          of    FACEBOOK,         INC.

17    REPRESENTATIVE,           KONSTANTINOS             PAPAMILTIADIS         taken   via

18    virtual      Zoom,      commencing       at    9:10      a.m.    and    ending   at

19     3:58    p.m.,    on    Tuesday,    February          23,    2021,      before   Ashala

20    Tylor,      CSR   No.    2436,    RPR,    CRR,       CLR.

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                                         866 299-5127

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                      HIGHLY CONFIDENTIAL -ATTORNEYS EYES ONLY

 1    information          that       Facebook          has       for       you.                                      11:03


 2            Q.      Okay.           And    going          back       to    the    activity          log,            11:03


 3    its     a list       of    every       single          action          you    have       taken      on          11:03


 4    Facebook.           Do    you    mean       on    the       platform?                                           11:03


 5            A.      I believe             its        on    the       platform,          yes.                        11:03


 6            Q.      Okay.           So    is    it    limited             to    only    the                         11:03


 7    activity       on    the       platform?                                                                        11:03


 8            A.      The       Facebook          activity             log,       yes.                                11:04


 9            Q.      Okay.           And back          to       the    DYI.        You    say       its              11:04


10    all    the    information             that       Facebook             has    for    you;       is               11:04


11    that    correct?                                                                                                11:04


12            A.      Yes.                                                                                            11:04


13            Q.      What       do    you       mean       by    that?                                               11:04


14            A.      It       includes          from       things          from    like       the                    11:04


15    information          you       submitted when                you       created       your                       11:04


16    account,       to    the       photos       that       you       may       have    uploaded,                    11:04


17    to    the    pixels       of    your       friends          you       may    have    liked,         to          11:04


18    the    ads    you    may       have    seen,          the    videos          you    may    have                 11:04


19    watched.        Its        a --       its        a very          lengthy,          you    know,                 11:04


20    like    document          with       different             things.                                              11:04


21                                                                                                                    11:04


22                                                                                                                    11:04


23                                                                                                                    11:04


24                                                                                                                    11:04


25                                                                                                                    11:04


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                                                 Veritext Legal Solutions
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                  Exhibit H




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                    Exhibit I




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        BLEICHMAR                                                    KELLER
        FONT!  AULD LLP
                                                                     ROHRBACK
                                                                      LAW   OFFICES   •   L.L.P.




                                             February 26, 2020

VIA ELECTRONIC MAIL

Facebook, Inc.
1Hacker Way
Menlo Park, California 94025
Privacynotice-faceb ook@supp ort. faceb ook. corn



      Re:     Request pursuant to CCPA §1798.100 et seq., for identification of information and
              data collected

Dear Facebook, Inc:

       We write on behalf of the below-listed Facebook users:

            • Steven Akins (thaturmoil@gmail.corn; steven.t.akins.3@facebook.corn;
              stevenakins@hotmail.corn)
            • Jason Ariciu (jariciu@gmail.com; jariciugatt.net; jasedwa@facebook.com)
            • Samuel Armstrong (armstrong9692@gmail.com; loveecheese@facebook.corn)
            • Anthony Bell (whfcmembers@verizon.net; newbellbackup@gmail.corn)
            • Bridgett Burk (missourichick@gmail.com; deletedsoul@gmail.com)
            • Brendan Carr (brendan.m.carr3@gmail.corn; bman03@sbcglobal.net;
              bcarr333@facebook.corn)
            • Terry Fischer (tlfischer975@yahoo.com)
            • Shelly Forman (forman4227@gmail.com)
            • Mary Beth Grisi (MaryBeth.grisi@gmail.com; marybeth.cheslock@gmail.com;
              marybeth.cheslock@facebook.corn)
            • Tabielle Holsinger (https://www.facebook.com/Belle.Holsinger;
              belle123abc@gmail.corn; belle.holsinger@facebook.corn;
              tabielleholsinger@boisestate.edu; holsinger4clerk@gmail.corn)
            • Taunna Lee Johnson (briefspace@hotmail.com; taunnaj@facebook.com;
              taunna2008@yahoo.corn; taunna@mail.corn)
            • Olivia Johnston (0johnston00@gmail.com; johns364@csusm.edu)
            • Tyler King (damendesigns@aol.com; contact.tylerking@gmail.com)
            • Ashley Kmieciak (ashleypierce1991@gmail.corn; ashpierce24@facebook.corn)
            • William Lloyd (will.1@juno.com; 100008249950332@facebook.com)
            • Ian Miller (rev.ianmiller@yahoo.com)
            • Jordan O'Hara (zapj080@aa.edu; ohara@uoregon.edu;
              jordan.oharall@gmail.corn; cavalierofcarnage@gmail.corn;
              jordan.ohara.92@facebook.corn)




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Facebook, Inc.                                                KELLER ROHRBACK L.L.P.
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Page 2



            • Kimberly Robertson (kimee98@comcast.net;
              kimberly.robertson.129@facebook.com)
            • Scott Schinder (scottschinder@gmail.com; scottschinder@facebook.com;
              sschinder@nyc.rr.com; scottschinder@aol.com)
            • Cheryl Senko (cherylsenko@att.net; cheryl@mayfieldcollisioncenter.com;
              cheryl.senko@facebook.com)
            • Dustin Short (short109290@gmail.com; dustinshort82185@yahoo.com)
            • Tonya Smith (tonyasmith 74@yahoo.com; tonyaranismith@facebook.com)
            • Charnae Tutt (idontcharba@gmail.com; ctuttking@gmail.com;
              mrstuttmccladdie@gmail.com; king lukemccladdie@live.com)
            • Juliana Watson (juliana0404@hotmail.com)

       Pursuant to Facebook, Inc.'s own privacy policy' and the California Consumer Privacy
Act, Cal Civ. Code §1798.100 et seq., we hereby request that the following data be delivered to
them care of this law firm:

    1.   All categories and specific pieces of personal information about them collected by
         Facebook, Inc., to include:
             a. The categories of personal information Facebook, Inc. has collected about them.
             b. The categories of sources from which their personal information is collected.
             c. The business or commercial purpose for collecting their personal information.
             d. The categories of third parties with whom Facebook, Inc. shares personal
                 information.
             e. The specific pieces of personal information Facebook, Inc. has collected about
                 them.
    2.   All categories and specific pieces of personal information about them sold by Facebook,
         Inc. or disclosed for abusiness purpose by Facebook, Inc., to include:
             a. The categories of personal information that Facebook, Inc. collected about them.
             b. The categories of personal information that Facebook, Inc. sold about them.
             c. The categories of third parties to whom my personal information was sold, by
                 category or categories of personal information for each third party to whom their
                 personal information was sold.
             d. The business or commercial purpose for selling my personal information.
             e. The categories of personal information that Facebook, Inc. disclosed about them
                 for abusiness purpose.

       Further, on behalf of these clients, we direct Facebook, Inc. to cease selling their personal
information. They also exercise their right to opt out of the selling of their personal information
by Facebook, Inc.




  Geoffrey A. Fowler, Don't Sell My Data! We Finally Have a Law for That, Washington Post, Feb. 6, 2020,
https://www.washingtonpost.cornitechnology/2020/02/06/ccpa-faq/?arc404=true.




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Facebook, Inc.                                                KELLER ROHRBACK L.L.P.
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        Should Facebook need additional information to verify this request, please contact us
directly as their counsel.

                                             Sincerely,




  Derek W. Loeser                                     Lesley E. Weaver
  dloesergkellerrohrback.com                          lweavergbfalaw.com




cc:    Joshua Lipshutz, Gibson, Dunn & Crutcher, LLP (via email)
       Martie Kutscher Clark, Gibson, Dunn & Crutcher, LLP (via email)




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                   Exhibit J




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Chris Springer

From:                             Facebook <case++aazq6umbdkixn2@support.facebook.com>
Sent:                             Friday, April 10, 2020 11:39 AM
To:                               Kelsey Robertson
Subject:                          Request pursuant to CCPA §1798.100



Hi,


Thank you for your inquiry.


Based on the information that you have provided to us, we are unable to verify whether the consumers you list have
provided you authorization to submit CCPA requests on their behalf as required by the law.


In order for us to verify the identities of the consumers who have made the requests, the consumers must log into their
Facebook accounts where they can use the self-service tools that allow them to access and download specific
information we have about them. They can access specific information about their activity on Facebook, including their
posts, photos, reactions, comments and messages, as well as other information, through the Access Your Information
tool:
https://www.facebook.com/your_information/?ref=cr


They can also download acopy of information they've provided to Facebook using the Download Your Information tool:
https://www.facebook.com/settings?tab=your_facebook_information


They can also learn more about how we collect, use, and share information by reading our Data Policy
(https://www.facebook.com/policy.php) and California Privacy Notice (https://www.facebook.com/legal/policy/ccpa).


Thanks,


The Facebook Team



>On Wed Feb 26, 2020 11:30:09, Kelsey Robertson wrote:
>Good afternoon,
>Please find attached arequest pursuant to CCPA §1798.100 and Facebook's privacy policies, sent on behalf of the
Facebook users identified.
>Best,
>Kelsey Robertson
>Bleichmar Fonti & Auld LLP
>555 12th Street, Suite 1600
>Oakland, CA 94607
>415-445-4009 Ikrobertson@bfalaw.com
>




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                   Facsimile: 415.393.8306
               9
                   Attorneys for Defendant Facebook, Inc.
           10

           11                                     UNITED STATES DISTRICT COURT
                                                 NORTHERN DISTRICT OF CALIFORNIA
           12                                        SAN FRANCISCO DIVISION

           13

           14      IN RE: FACEBOOK, INC. CONSUMER                        MDL NO. 2843
                   PRIVACY USER PROFILE LITIGATION                       CASE NO. 3:18-MD-02843-VC-JSC
           15
                                                                         FACEBOOK'S OPPOSITION TO
           16      This document relates to:                             PLAINTIFFS' MOTION TO COMPEL
                                                                         PRODUCTION OF NAMED
           17      ALL ACTIONS                                           PLAINTIFFS' CONTENT AND
                                                                         INFORMATION
           18
                                                                         Judge: Hon. Vince Chhabria
           19                                                            Hon. Jacqueline Scott Corley
                                                                         Special Master Daniel Garrie
           20                                                            Courtroom: 4, 17th Floor

           21                                                            JAMS Ref No.: 1200058674

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           10
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           11
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           12
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           13
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           14
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           15
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           16
                   IV.       CONCLUSION                                                                                        15
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               1                                       TABLE OF AUTHORITIES


               2   Bresk v. Unimerica Ins. Co.
                      2017 WL 10439831 (C.D. Cal. Nov. 16, 2017)                                                           10
               3
                   Brewer v. BNSF Railway Co.,
               4      2018 WL 1756432 (D. Mont. Jan. 11, 2018)                                                             10

               5
                   Han v. Futurewei Techs., Inc.,
               6      2011 WL 4344301 (S.D. Cal. Sept. 15, 2011)                                                           11


               7   MAO-MS° Recovery, LLC v. Mercury Gen.,
                      2019 WL 1423772 (C.D. Cal. Feb. 19, 2019)                                                            15
               8
                   United Nat'l Ins. Co. v. Spectrum Worldwide, Inc.,
               9      555 F.3d 772 (9th Cir. 2009)                                                                         11

           10
                   United States v. Ibrahim,
                      522 F.3d 1003 (9th Cir. 2008)                                                                        12
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           12      Uschold v. Carriage Servs., Inc.,
                      2019 WL 8298261 (N.D. Cal. Jan. 22, 2019)                                                            10
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               1     I.      INTRODUCTION

               2             Plaintiffs' motion to compel seeks to revive aboundless demand that Plaintiffs conceded long

               3   ago—in court—sought data well beyond what Plaintiffs would be entitled to in this case. One year

               4   ago, Plaintiffs represented to Judge Corley:

               5
                          Plaintiffs seek only a holding that the sensitive data Facebook collected about ten Named
               6
                          Plaint,fi and shared with third parties is relevant. Plaintiffs do not contend that information
               7
                          that was not shared is relevant, which substantially narrows the information Facebook would
               8
                          be required to produce in this case.
               9

           10      Based on Plaintiffs' representations, Judge Corley issued aruling that discoverable user data is data

           11      Facebook shared relating to the Named Plaintiffs, including any shared data in three categories

           12      Plaintiffs had requested. After Facebook reported its productions were complete, Plaintiffs told Judge

           13      Corley "[w]e just don't believe [that]," and they demanded aRule 30(b)(6) deposition to test it. But

           14      once they got into the deposition, Plaintiffs tactically avoided that topic and instead asked about ahost

           15      of issues having nothing to do with this case.

           16                Now, seeking to capitalize on the presence of anew decider, Plaintiffs attempt to rewrite that

           17      history. Plaintiffs disown their concessions that "information that was not shared" is not relevant and

           18      say they are entitled to all data relating to the Named Plaintiffs—shared or not. They mischaracterize

           19      hearings before Judge Corley. And they conflate Judge Corley's instructions about the scope of their

           20      squandered deposition with the scope of the data she found discoverable.

           21                Making matters worse, Plaintiffs' motion is itself amoving target.     Throughout the motion,

           22      Plaintiffs flip-flop between saying the discoverable data in this case is not limited to shared data and

           23      arguing that the real issue is that Facebook has not yet produced all shared data. Then, after spinning

           24      in circles with arguments they have either abandoned or cannot support, Plaintiffs—out of nowhere—

           25      demand extensive discovery about Facebook's data infrastructure (not data about Named Plaintiffs).

           26                Plaintiffs' motion crashes into along list of roadblocks. First, Plaintiffs point to no actual

           27      deficiencies in Facebook's productions.        After saying for more than one year that Facebook's

           28      productions are incomplete, rather than point to any evidence to support that false accusation, Plaintiffs

                                                                         1
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               1   request invasive discovery to prove it. Second, Plaintiffs are not entitled to "discovery on discovery"

               2   because they do not believe Facebook's productions are complete. Judge Chhabria, Judge Corley, and

               3   the Special Master have previously rejected Plaintiffs' efforts to audit Facebook's discovery process,

               4   and the Special Master should do so again here.         Third, Plaintiffs are judicially estopped from

               5   demanding user data that was not shared with third parties after arguing to Judge Corley that this data

               6   is not relevant. Plaintiffs secured relief based on this concession to Judge Corley, and must be bound

               7   by it before the Special Master.    Fourth, the list of demands in Plaintiffs' motion—which seeks

               8   information about Facebook's "data sources" that Plaintiffs say they will use "to develop an efficient

               9   discovery plan"—is not properly before the Special Master.         This is not the topic on which the

           10      mediators declared impasse, Judge Corley has repeatedly rejected this request, and it largely concerns

           11      materials that Facebook provided in an effort to advance the parties' negotiations and that Plaintiffs

           12      apparently have not bothered to review.

           13             Moving discovery disputes from Judge Corley to the Special Master was not meant to be an

           14      opportunity to ditch past concessions or to put anew face on old arguments. The Special Master should

           15      see this motion for what it is: an opportunistic, wasteful, and abusive attempt to erase the proceedings

           16      before Judge Corley, gain access to information Plaintiffs have conceded is irrelevant, and hunt for

           17      anything to stall this case before it finally reaches the merits. The motion should be denied.

           18       II.   BACKGROUND

           19                 A. Plaintiffs initially demanded all data related to Named Plaintiffs.

           20             In November 2019, Plaintiffs served RFP 9, which requests 141 Documents relating to each

           21      of the Named Plaintiffs." Ex. G at 12; see also id. at 12-13 (RFPs 10-13); Ex. K at 9(Interrogatories

           22      16-17). At first blush that request may seem reasonable. But taken literally, it would require collection,

           23      review, and analysis of millions of documents and tables to determine whether any information within

           24      them—including information derived from aggregated and anonymized data—might relate back to a

           25      particular user. In response to this and similar requests, Facebook agreed to produce the content and

           26      information that Facebook associates with each Named Plaintiff's account.            This information is

           27      contained in the "Download Your Information" ("DYI") file that Facebook makes available to users.

           28             Facebook's DYI tool reflects, in human-readable and producible form, the most complete

                                                                       2
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               1   compilation of data Facebook maintains relating to any user. Ex. C If 5. Beginning in February 2020,

               2   Facebook produced the information contained in the DYI file for each Named Plaintiff, plus additional

               3   information (such as aspreadsheet tracking how Plaintiffs adjusted their Facebook privacy settings).

               4   In total, Facebook produced approximately one million pages of user data relating to Named Plaintiffs.

               5          Plaintiffs belittle the DYI file, claiming it is merely arecord of what users post to Facebook.

               6   That is false.   Most of the DYI files Facebook produced are tens of thousands of pages each; they

               7   average 32,493 pages each and range from 226 pages to awhopping 272,110 pages (depending on how

               8   active aparticular user is and what data they may have deleted).

               9          Exhibit A is an average-size DYI file produced in this case, which—due to its size—Facebook

           10      provides via share file. Exhibit B is alist of categories of data contained in each user's DYI file (unless

           11      data in agiven category does not exist or the user deleted it).      See also Ex. C 116.     Categories of

           12      information in users' DYI file include biographical information, ads viewed, friend lists, games played,

           13      location, logins and logouts, messages, page visits, photos, profile visits, religious and political views,

           14      status updates, and much more. Ex. B. All told, the DYI files contain more than 100 categories of

           15      information that go well beyond auser's "platform activity." Facebook produced all of this despite

           16      repeatedly noting that much of it is not shared or relevant to any issue in this privacy litigation.

           17             After Facebook completed these productions, Plaintiffs insisted that Facebook also locate and

           18      produce any other data that might, in any way, relate to any Named Plaintiff, and any materials derived

           19      from that data. They focused on adata warehouse called Hive and demanded that Facebook produce

           20      any information in Hive that might be derived, in full or in part, from data about the Named Plaintiffs.

           21      Facebook explained this would not be possible because Hive stores more than 12 million database

           22      tables and is not indexed by user, so there is no way to search across all tables at once for an individual

           23      user's ID. Ex. L at 12-15; see also Ex. E If 7. Instead, each of Hive's 12 million tables would need to

           24      be searched individually for any information relating back in any way to aNamed Plaintiff, which

           25      would be nearly impossible, given both the volume of Hive data and the fact that much of the data in

           26      Hive is anonymized. See id. Facebook further explained there would be no reason to take on such an

           27      undertaking because third parties do not have access to Hive tables. See id.

           28                  B. Plaintiffs conceded that only data that was shared with third parties is relevant.

                                                                        3
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               1          After nearly one full year of negotiations, the parties briefed the issue to Judge Corley. In that

               2   briefing, Facebook argued that Judge Chhabria's motion-to-dismiss order limits this case to data that

               3   users themselves share on Facebook—all of which had been produced. See Ex. L at 10-15. Plaintiffs

               4   disagreed, arguing that the "sensitive information that Facebook collects and shares with third parties

               5   is much more extensive." Ex. M at 1. Plaintiffs specifically demanded that Facebook also produce

               6   materials reflecting users' off-platform activity and what they called "derived" information.

               7          After four rounds of briefing, Plaintiffs shifted gears in asur-reply. They assured Judge Corley

               8   that their request for "[a]ll Documents relating to each of the Named Plaintiffs" was narrowly tailored,

               9   emphasizing that they sought "only aholding that the sensitive data Facebook collected about ten

           10      Named Plaint,fi and shared with third parties is relevant." Ex. 0 at 9(emphasis in original). They

           11      even argued that Judge Chhabria's holding that Plaintiffs had standing was based on the fact that certain

           12      information about them had been shared. Id. at 5. Plaintiffs clarified:

           13
                    Plaintiffs do not demand, as Facebook repeatedly claims, that "Facebook search millions of
           14
                    disaggregated data sets for any data to have ever crossed Facebook's systems relating to aNamed
           15
                    Plaintiff and any derivative materials drawing on that data —such as data sets tracking hours of peak
           16
                    user activity to monitor strains on Facebook's systems." Opp'n at 6. To the contrary, Plaintiffs seek
           17
                    only aholding that the sensitive data Facebook collected about ten Named Plaint,fi and shared with
           18
                    third parties is relevant. Plaintiffs do not contend that information that was not shared is relevant,
           19
                    which substantially narrows the information Facebook would be required to produce in this case.
           20

           21      Id. at 9(emphasis in original). Plaintiffs repeated this refrain throughout their brief:

           22          • "This discovery dispute concerns sensitive user information that Facebook has shared with third
                         parties without users' consent." Id. at 1.
           23
                       • "[S]ensitive user information is relevant if Facebook shared it without users' consent." Id. at 2.
           24
                       • "[T]he legal theories upheld at the pleading stage" turn on "whether Facebook shared [sensitive
           25            information] with third parties." id. at 4.

           26          • "Plaintiffs have standing ...because their sensitive information was disseminated to third
                         parties in violation of their privacy." Id. at 5(quotation marks and citation omitted).
           27
                       • "Plaintiffs seek an order holding that all sensitive data about the ten Named Plaintiffs that
           28            Facebook shared with or made accessible to third parties is relevant to this action." id. at 9.
                                                                       4
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                          Judge Corley then issued ashort order (Ex. P) largely adopting Plaintiffs' sur-reply position:
               1

               2    Plaintiffs correctly argue that Facebook's restrictive view of relevant discovery would exclude an

               3    enormous amount of information that Facebook collects and shares with third parties about

               4    Facebook's users. The district court's order (Dkt. No. 298) did not limit Plaintiffs' claims to only

               5    challenging the sharing of data Facebook collects from auser's on-platform activity; the claims also

               6    challenge Facebook's sharing of user data and alleged failure to monitor how third parties used such

               7    shared information.

               8
                          To comply with Judge Corley's order, Facebook looked for any categories of individual user
               9
                   data that could have been shared but had not been produced.          For a basic technological reason,
           10
                   Facebook found none. When athird party—such as an app developer or business partner—obtains
           11
                   user-related data, it accesses it through an "application programming interface," or "API." Ex. E III 3-
           12
                   7. These APIs pull information exclusively from Facebook's "Social Graph," not data warehouses like
           13
                   Hive. See id. A user's DYI file, which Facebook produced for all Named Plaintiffs, contains the most
           14
                   complete current set of data about that user that is in the Social Graph (and more). See Ex. C If 5.
           15
                              C. Judge Corley allowed Plaintiffs to conduct aRule 30(b)(6) deposition.
           16
                          In a December 2020 joint status report, Plaintiffs again demanded that Facebook produce
           17
                   additional information regarding the Named Plaintiffs. See Ex. Q at 1-2. Facebook explained that it
           18
                   was conducting an investigation but "[t]o Facebook's knowledge, the materials it produced reflect the
           19
                   information related to the Named Plaintiffs that could have been shared with third parties." Id. at 9.
           20
                          Plaintiffs told Judge Corley that they found it "impossible to believe" there was no more
           21
                   discoverable "information that exists." Ex. R at 19:14-15; id. at 19:22 (Facebook's representation is
           22
                   "just impossible for us to believe"); id. at 28:15-16 ("We just don't believe ...their description of
           23
                   what is or is not shared or made accessible."). When pressed, Plaintiffs gestured at "information [used]
           24
                   to target [ads to] the Plaintiffs," and Judge Corley redirected them back to shared information: "No,
           25
                   no, no, no. Idon't think so. ...This is—this came from Cambridge Analytica and that they had access
           26
                   to information." Id. at 23:21-25. When Plaintiffs pushed ahead, Judge Corley again focused back on
           27
                   shared information: "What did you mean in your sur-reply by 'shared'?" id. at 24:13-14. Plaintiffs
           28

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               1   were unable to provide any clear answer. We suggest the Special Master review this transcript.

               2          To address Plaintiffs' "disbelief ...as to how Facebook operates," Judge Corley determined

               3   "we just need somebody under oath saying: No, this is how it operates." id. at 26:7-9. Judge Corley

               4   allowed Plaintiffs to conduct aRule 30(b)(6) deposition "to verify the representation that yes, we

               5   collect this information—inferential data, but it is not made accessible to third parties." Id. at 35:3-5.

               6          Plaintiffs deliberately squandered that opportunity. They issued adeposition notice on 12 broad

               7   topics, many having nothing to do with the case. Ex. S. Judge Corley effectively quashed this notice,

               8   stating: "That was way beyond what Ihad in mind. So Idon't want to talk about your notice." Ex. T

               9   at 17:15-16.   Judge Corley again explained that the deposition was intended to allow Plaintiffs to

           10      explore whether shared data had not been produced, noting "this is pretty basic stuff" Ex. T at 19:21-

           11      22. But Plaintiffs ignored those instructions and used the deposition to explore ahost of unrelated

           12      issues, including using nearly two hours to ask questions about how Facebook places ads. See Ex. V.

           13      Plaintiffs declined to ask even basic questions to test their professed disbelief about what user-related

           14      data Facebook makes accessible to third parties. Id. Plaintiffs never even asked, "Are you aware of

           15      any types of individual user data Facebook shares that are not in the DYI data Facebook produced?"

           16                 D. Plaintiffs reverted to their initial demands for all data relating to Named Plaintiffs.

           17             After the deposition, Plaintiffs reverted to their initial demand for "all data and information

           18      relating to the Named Plaintiffs," even if never shared. Ex. W. Facebook responded on April 1,2021,

           19      noting this "directly contradict[ed] the representations Plaintiffs made to the Court in their prior

           20      briefing," and confirmed it had not identified shared user data beyond what it had produced. Ex. X at

           21      2. Facebook explained again that "[t]hird parties who are able to access individualized user data access

           22      that data through APIs that pull from Facebook's Social Graph only, and the DYI files Facebook

           23      produced reflect[] ahuman-readable version of the data relating to each Named Plaintiff in Facebook's

           24      Social Graph." id. at 6. Plaintiffs never responded and refused to address whether they were changing

           25      their position. See Ex. Z. Instead, they filed this motion, arguing Judge Corley's order "is not limited

           26      to 'shared' information." Mot. at 2. Plaintiffs never once articulated that position over the prior year.

           27      III.   ARGUMENT

           28             The Special Master should deny Plaintiffs' motion.

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               1              A. Facebook's productions under Discovery Order 9are complete.

               2          Facebook has confirmed repeatedly that its productions of potentially shared data relating to

               3   the Named Plaintiffs are complete.' Plaintiffs identify no shared data missing from those productions.

               4   Instead, they say they are entitled to all data relating in any way to the Named Plaintiffs.      But as

               5   Plaintiffs have admitted, there is no genuine dispute that this case is about shared data.

               6              1.   The scope of discovery is limited to data that was shared with third parties.

               7          The complaint, Judge Chhabria's motion-to-dismiss order, Plaintiffs' briefing, Judge Corley's

               8   discovery order, and the hearings before Judge Corley all make crystal clear that the only user data at

               9   issue in this privacy class action is data that was shared with or made accessible to third parties. As

           10      Judge Chhabria put it in the very first sentence of his motion-to-dismiss order: "This lawsuit, which

           11      stems from the Cambridge Analytica scandal, is about Facebook's practice of sharing its users'

           12      personal information with third parties." Ex. F at 1. Much to Plaintiffs' chagrin, the case is not about

           13      "targeted advertising" or "psychographic marketing" (which Plaintiffs avoid mentioning by name but

           14      cannot resist bringing up more subtly, see Mot. at 7). While not relevant, Facebook has confirmed

           15      repeatedly that it does not share individual user data with advertisers when it places ads. See also Ex.

           16      D. Nor is this case about all of the ways in which Facebook collects, maintains, and uses data.

           17             With their feet to the fire in briefing before Judge Corley, Plaintiffs admitted this. They told

           18      Judge Corley Facebook did not need to "search millions of disaggregated data sets for any data to have

           19      ever crossed Facebook's systems relating to aNamed Plaintiff and any derivative materials drawing

           20      on that data." Ex. 0 at 9(quotation marks and emphasis omitted). Instead, they sought "only aholding

           21      that the sensitive data Facebook collected about ten Named Plaint,fi and shared with third parties is

           22      relevant." Id. (emphasis in original). And they promised that they did "not contend that information

           23      that was not shared is relevant." Id. (emphasis added). In reliance on those promises, Judge Corley

           24      held that discoverable user data is data that was shared with third parties, including any shared data in

           25      specific categories Plaintiffs requested. Ex. P at 2.

           26             At hearings that took place after Judge Corley issued her order, Plaintiffs again acknowledged

           27
                       Plaintiffs recently disclosed information identifying additional Facebook accounts for certain Named
           28
                   Plaintiffs. Facebook is collecting and will produce the information associated with these accounts.
                                                                           7
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               1   that what they "said in [their] reply was information shared or made accessible [is relevant]," which

               2   they said meant "if it was put in aplace or utilized in away where third parties had access to it." Ex.

               3   R at 18:15-16, 23-25. Judge Corley emphasized that the parties were both discussing information that

               4   was "shared" or "made accessible." Id. at 19:6; see also id. at 19:3-4. One month later, Judge Corley

               5   reiterated that "[t]he question is what did they gather, and then what was shared." Ex. T at 21:13-14.

               6              2.   Plaintiffs have not identified any deficiencies in Facebook's productions.

               7           Facebook has repeatedly confirmed that it has not identified user data that could have been

               8   shared with third parties beyond what is reflected in the Named Plaintiffs' DYI files. Plaintiffs have

               9   done nothing to rebut that confirmation.

           10              The best way to understand the nature and extent of auser's DYI file is to view one. Exhibit A

           11      (provided via share file) is the DYI file for Terry Fischer (a Named Plaintiff).

           12

           13

           14

           15

           16      See Ex. A at FB-CA-MDL-00405315-5336.

           17

           18                                                                               See id. Plaintiffs also say DYI

           19      files exclude "information collected from off-platform activity," Mot. at 2, but Ms. Fischer's file

           20      includes                                          , see Ex. A at FB-CA-MDL-00405489-5860,

           21                                                                           see id. at FB-CA-MDL-00405476-

           22      5488.

           23                                                          see id. at FB-CA-MDL-00405558;

           24                                                                           see id. at FB-CA-MDL-00405513-

           25      5514;                                                                                       see id. at FB-

           26      CA-MDL-00405641-5643;

           27                                                                                         see id. at FB-CA-MDL-

           28      00405758-5772.     The information contained in auser's DYI file is the most complete set of data

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               1   Facebook maintains about any user and the best representation of the data about auser in the Social

               2   Graph, from which the APIs that share data pull. See Ex. C; Ex. E.

               3           In arguing that Facebook's voluminous productions may be incomplete, Plaintiffs pretend not

               4   to understand how Facebook shared user-related data with third parties. They insinuate that user data

               5   is shared in various complex ways that Plaintiffs and the Special Master may not comprehend. See

               6   Mot. at 6-7. And, three-and-a-half years after filing alawsuit alleging that Facebook wrongfully shared

               7   their data, Plaintiffs wax philosophical over "what sharing information means." Id. at 11.

               8           Those arguments are decoys. Plaintiffs know—as their prior briefing and discovery requests

               9   indicate—that the data sharing at issue in this case takes place through APIs. Plaintiffs' interrogatories

           10      ask Facebook to identify specific categories of APIs it uses to share data, Ex. K; in response Facebook

           11      has disclosed expansive lists of APIs and the data they pull spanning more than 300 pages, Ex. U.

           12      Plaintiffs have also subpoenaed numerous third parties asking them to disclose the APIs through which

           13      they accessed user data.     E.g., Ex. H at 8 ("identify each of Facebook's application programming

           14      interfaces (APIs') [it] used to access or obtain" user data). 2 And in the same sur-reply in which they

           15      conceded the only user data relevant to this case is shared data, Plaintiffs also conceded:

           16                                                                           Ex. 0 at 9. Plaintiffs' sudden attempt

           17      to throw up smoke about "what sharing information means" is as disingenuous as it is unsupported.

           18                  B. Plaintiffs' distrust does not entitle them to "discovery on discovery."

           19              Unable to identify any categories of shared data that are not reflected in the Named Plaintiffs'

           20      DYI files, Plaintiffs return to their usual refrain that they do not believe Facebook's representations

           21      and need more discovery to test them. Plaintiffs have already squandered an opportunity Judge Corley

           22      gave them to do so, and the Special Master should reject this recycled argument.

           23              Plaintiffs are not entitled to check Facebook's homework. "A plaintiffs mere suspicion that

           24
                   2  See 3/3/20 Subpoena to Brayola Fitting Technologies; 3/3/20 Subpoena to Bumble Trading, Inc.; 3/3/20
                   Subpoena to Coffee Meets Bagel, Inc.; 3/3/20 Subpoena to DNP Imagingcomm America Corporation; 3/3/20
           25
                   Subpoena to Flo Health, Inc.; 3/3/20 Subpoena to Netflix, Inc.; 3/3/20 Subpoena to On the Rebound, Inc.; 3/3/20
                   Subpoena to Spotify USA, Inc.; 3/3/20 Subpoena to Tinder, Inc.; 3/3/20 Subpoena to United Parcel Service,
           26
                   Inc.; 3/3/20 Subpoena to Walgreens Company; 3/3/20 Subpoena to Warner Brothers Entertainment, Inc.; 3/3/20
                   Subpoena to Yahoo!, Inc.; 3/3/20 Subpoena to Zoosk, Inc.; 5/21/20 Subpoena to Six4Three LLC; 7/16/20
           27
                   Subpoena to 3DNA Corp. (DBA NationBuilder); 7/16/20 Subpoena to CubeYou, Inc.; 7/16/20 Subpoena to
                   FullContact, Inc.; 8/7/20 Subpoena to DigitalStakeout, Inc.; 8/7/20 Subpoena to X1 Discovery, Inc. Facebook
           28
                   can provide these subpoenas upon request if the Special Master would like them.
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               1   additional documents must exist is an insufficient basis to grant a motion to compel."                  Bresk v.

               2   Unimerica Ins. Co., 2017 WL 10439831, at *5 (C.D. Cal. Nov. 16, 2017). For this reason, "discovery

               3   on discovery' is disfavored and, to be both relevant and proportional to the needs of the case, aparty

               4   seeking it must show aspecific deficiency in the other party's production." Uschold v. Carriage Servs.,

               5   Inc., 2019 WL 8298261, at *4 (N.D. Cal. Jan. 22, 2019) (quotation marks and citation omitted); see

               6   also, Brewer v. BNSF Railway, 2018 WL 1756432, at *4 (D. Mont. Jan. 11, 2018) ("a court must guard

               7   against excessive probing into aparty's meta-discovery in order to prevent belabored discovery.").

               8           Plaintiffs have not identified anything beyond their own speculation to show adeficiency in

               9   Facebook's productions of potentially shared information, much less a "specific deficiency."

           10      Plaintiffs' cursory attempt to do so adopts their usual strategy of plucking isolated lines out of context.

           11      They rely on adocument that Facebook has repeatedly told them outlines hypothetical capabilities—

           12      not actual practices—and this is clear on the face of the document. Mot. at 9. Plaintiffs similarly cite

           13      adocument entitled "Ads and Measurement" and deliberately conflate data the document indicates was

           14      available to place ads with data Facebook shared with app developers. Id. at 7; Ex. D If 3. Plaintiffs

           15      also bizarrely cite aquestion Facebook asked app developers that has nothing to do with data sharing,

           16      Mot. at 10; misconstrue a document where employees discuss how to classly data as WI to be

           17      something sinister, id.; and cite various documents discussing data Facebook maintains without making

           18      any effort to show that data is shared, id. at 7. Finally, Plaintiffs claim shared information has not been

           19      produced because the DYI file does not include "location-related metadata." Mot. at 10. But the DYI

           20      file includes location information, e.g., Ex. A at FB-CA-MDL-00417382, and—where auser allowed

           21      it—extensive lists of the user's GPS coordinates.'              None of Plaintiffs' cherry-picked quotes

           22      demonstrates a"specific deficiency" in Facebook's productions.

           23              Facebook has disclosed the types of data it shares. See, e.g., Ex. U. Plaintiffs suggest the

           24      typical rules of discovery do not apply here because "the question of what information Facebook shared

           25      is the central issue in this case." Mot. at 11. That is nonsense. Facebook has already disclosed the

           26      relevant APIs at issue in response to Plaintiffs' requests. Ex. U. What Plaintiffs apparently mean is

           27
                   3 Ms. Fischer's DYI file does not include this data, likely because her settings did not allow it to be collected.
                   Ex. AB includes 27 pages from separate DYI file Facebook produced for Plaintiff Jason Ariciu, listing hundreds
           28
                   of latitudes and longitudes where Facebook estimates he logged into Facebook over a6-month period.
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               1   that they now want to audit all of Facebook's information so that they can decide what was shared (and

               2   thus relevant). That is anonstarter: a"requesting party ...must rely on the representations of the

               3   producing party or its representative that it is producing all responsive, relevant, and non-privileged

               4   discovery." Han v. Futurewei Techs., Inc., 2011 WL 4344301, at *5 (S.D. Cal. Sept. 15, 2011). And

               5   even if Facebook did produce all of the information relating to the Named Plaintiffs, Plaintiffs would

               6   still have to rely on Facebook to determine which categories of information could have been shared.

               7           Plaintiffs already had an opportunity to probe Facebook's representations, and they

               8   squandered it. Judge Corley previously allowed Plaintiffs to conduct aRule 30(b)(6) deposition to

               9   address their "disbelief ...as to how Facebook operates." Ex. R at 26:7-8. Facebook made its then-

           10      VP of Platform Partnerships, Konstantinos Papamiltiadis, available. Mr. Papamiltiadis had more than

           11      eight years of experience at Facebook and more than 120 reports, and he spent almost 20 hours

           12      preparing. Plaintiffs deliberately wasted that opportunity and tactically avoided asking any questions

           13      to confirm whether Mr. Papamiltiadis was aware of types of shared data that Facebook had not already

           14      produced. See snpra at 6. Facebook urges the Special Master to review the deposition transcript.

           15              Plaintiffs' failure to use the Rule 30(b)(6) deposition for its intended purpose does not entitle

           16      them to admittedly irrelevant information. The biggest tell in Plaintiffs' motion is that it never—not

           17      once—cites to Mr. Papamiltiadis's deposition. In amotion to compel documents that are ostensibly

           18      for Plaintiffs to verify Facebook's representations that its productions are complete, one would expect

           19      the centerpiece to be the deposition Judge Corley authorized for that very purpose.           Its absence is

           20      nothing short of extraordinary, and it would be astonishing if the true explanation were not so obvious:

           21      Plaintiffs do not want verification that they have all categories of potentially shared user data. Instead,

           22      as discovery nears its end, 4 Plaintiffs are desperate for anything that will breathe new life into their

           23      dying case. That is why they spent their Rule 30(b)(6) deposition exploring new potential avenues of

           24      litigation instead of verifying that the productions relating to this case were complete. That is why,

           25      years into a case about data sharing, they raise questions about "what sharing information means"

           26
                     Even now, Plaintiffs do not demand all of the information they will eventually seek; they demand alist of
           27
                   4


                   information that they intend to later "use ...to develop an efficient discovery plan." Mot. at 14. Plaintiffs'
                   endless discovery campaign, if successful, guarantees that discovery will blow far beyond the substantial
           28
                   completion deadline.
                                                                          11
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               1   without even attempting to supply an answer. Mot. at 11. And that is why they claim (baselessly) that

               2   "Facebook itself does not know what information may have been shared with third parties," id. at 10—

               3   conflating questions about what particular data may have been shared about a.specfic user (which

               4   Facebook cannot identify) with what categories cfdata could be shared (which Facebook has identified

               5   and produced). See id. at 10-11. Years into this case, as the discovery deadline approaches and after

               6   throwing away their opportunity to test Facebook's production, Plaintiffs are entitled to nothing more.

               7          Plaintiffs conflate the scope of the deposition Judge Corley allowed with the scope of data

               8   she found discoverable. In authorizing aRule 30(b)(6) deposition, Judge Corley allowed Plaintiffs to

               9   ask questions about information Facebook maintains that may not have been shared—with the goal of

           10      identifying which types of information were shared. See Ex. T at 21:13-14 ("The question is what did

           11      they gather, and then what was shared."). Judge Corley did not order Facebook to produce data that

           12      was never shared—if she had, there would have been no need for the deposition.           Plaintiffs pluck

           13      isolated statements from the hearings to tell adifferent story, but the transcripts—just like the parties'

           14      underlying briefing on this issue—speak for themselves. Facebook encourages the Special Master to

           15      read these materials in full. See Exs. R, T (transcripts); see also Exs. L, M, N, 0 (underlying briefs).

           16                 C. Plaintiffs are judicially estopped from seeking information that was not shared.

           17             Even if Plaintiffs could otherwise seek "all" information related to the Named Plaintiffs, they

           18      are judicially estopped from doing so here based on their unequivocal representations to Judge Corley.

           19             "The doctrine of judicial estoppel is an equitable doctrine acourt may invoke to protect the

           20      integrity of the judicial process," and it was "developed to prevent litigants from 'playing fast and

           21      loose' with the courts by taking one position, gaining advantage from that position, then seeking a

           22      second advantage by later taking an incompatible position."         United Nat'l Ins. Co. v. Spectrum

           23      Worldwide, Inc., 555 F.3d 772, 778 (9th Cir. 2009). "In determining whether to apply the doctrine," a

           24      court will "typically consider (1) whether aparty's later position is 'clearly inconsistent' with its

           25      original position; (2) whether the party has successfully persuaded the court of the earlier position, and

           26      (3) whether allowing the inconsistent position would allow the party to 'derive an unfair advantage or

           27      impose an unfair detriment on the opposing party." United States v. Ibrahim, 522 F.3d 1003, 1009

           28      (9th Cir. 2008) (quoting New Hampshire v. Maine, 532 U.S. 742, 750-51 (2001)).

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               1           There could not be amore apt description of Plaintiffs' conduct. Their present position is flatly

               2   contrary to their position before Judge Corley. Compare Ex. 0 at 9 ("Plaintiffs do not contend that

               3   information that was not shared is relevant"), with Plaintiffs' Mot. at 2("Discovery Order No. 9is not

               4   limited to 'shared' information."). Plaintiffs persuaded Judge Corley of their earlier position—that

               5   relevant information is limited to data Facebook shares—and obtained afavorable discovery order as

               6   aresult. Plaintiffs cannot now take back their concessions and demand new discovery on the eve of

               7   substantial completion, when they already conceded it is not relevant, the Court issued aruling based

               8   on that representation, and the parties agreed to asubstantial completion deadline based, in part, on

               9   Facebook's understanding that this issue had been put to bed.

           10                     D. The information Plaintiffs now seek is nonresponsive and otherwise unavailable.

           11              Following afamiliar pattern, after asserting Facebook's productions are incomplete, Plaintiffs

           12      shift gears.    Rather than demand user data they believe was not produced, they abruptly demand

           13      extensive discovery about Facebook's sources of electronically stored information ("ESI"). 5

           14              Plaintiffs' list of demands is not the issue at impasse. The Special Master declared impasse

           15      regarding Facebook's "[p]roduction of Named Plaintiffs' data in compliance with [Judge Corley's

           16      Order]," 2021.10.06 Email from D. Garrie, after Plaintiffs complained Facebook had not made "a

           17      complete production of all data it has collected about [the Named Plaintiffs]," Ex. Y at 4. When forced

           18      to put pen to paper, Plaintiffs find no support for that request, so they pull out afamiliar trick: They

           19      raise adifferent issue that itself has acomplicated history. Making matters worse, none of the discovery

           20      requests Plaintiffs move on seek the materials they now demand. The Special Master instructed the

           21      parties they may brief only the impasse topic, and should deny Plaintiffs' request for this reason. 6

           22              Judge Corley has also repeatedly rejected Plaintiffs' demands for discovery about Facebook's

           23
                   5 Plaintiffs seek to "compel Facebook to identify all data sources that may contain information relating to the
                   Named Plaintiffs," which they define in the final paragraph of their motion to mean "(1) the name of the database
           24
                   or data log; (2) adescription of the data source's purpose and function; (3) information about the default retention
                   status of the data source (at aminimum, whether it is retained and for how long); (4) information about the
           25
                   current retention status of the data source (at aminimum, whether it is retained and for how long); and (5) where
                   current retention status differs from default retention status, the date the change was implemented." Mot. at 13-
           26
                   14. They further demand, "at aminimum," "(1) the data schema; (2) definitions and descriptions of each field;
                   (3) tool(s) which Facebook use to search each data source; and (4) instruction sets and manuals for all tools
           27
                   identified as being used by Facebook to search any data source identified in this step." id. at 14.
                     See Protocol for Resolving Discovery Disputes 112. The Special Master separately advised the parties that he
           28
                   6


                   intends to "redline" any portions of the parties' briefing that strays beyond the impasse topic.
                                                                           13
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               1   sources of ESI. The parties invested nearly six months negotiating an ESI protocol that Judge Corley

               2   entered. Notably, that protocol does not require written ESI disclosures. Ex. I. After agreeing to this

               3   protocol, Plaintiffs sought to side-step the parties' agreement and asked Judge Corley to order "written

               4   ESI disclosures" or a30(b)(6) ESI deposition. Dkt. 428 at 5. Judge Corley rejected this request: "On

               5   the ESI discussions, I'm not going to require any more—I'm not going to do what the plaintiffs

               6   proposed. ...I'm not satisfied there's anything more in particular that you need." Ex. Jat 6:16-21.

               7            One year later, Plaintiffs tried again. When Judge Corley authorized adeposition for Plaintiffs

               8   to explore whether any shared data about the Named Plaintiffs had not been produced, Plaintiffs issued

               9   a30(b)(6) notice that again sought detailed testimony about Facebook's data sources. The first three

           10      topics in Plaintiffs' notice ask for the same information Plaintiffs sought previously and now seek here:

           11          1.   The format, nature, and location of User Data as set forth in Discovery Order No. 9, including
                            how and why such Data is collected, obtained, or inferred, and how it is maintained.
           12
                      2.    The name, location, and function of all of Facebook's electronic or database systems that
           13               contain User Data, including but not limited to Hive and Data Warehouse, whether stored on
                            an individual user level or in another form.
           14
                      3.    The identity, nature and location at Facebook of all the metadata associated with User Data ...
           15
                   Ex. S at 6.   Judge Corley quashed that deposition notice.     See stpra at 6.   Plaintiffs' requests for
           16
                   document discovery on the same topics should meet the same fate.
           17
                            Even though Judge Corley rejected Plaintiffs' requests for ESI discovery, in mediation
           18
                   Facebook voluntarily produced much of the information Plaintiffs demand, see Ex. AA (share file),
           19
                   because Plaintiffs assured the mediators this information would advance the parties' discussion about
           20
                   user data. Plaintiffs do not even acknowledge that production; they simply ask for more.
           21
                            Had Plaintiffs reviewed the materials Facebook provided, they would have learned a
           22
                   tremendous amount about how Facebook stores data.         The documents include two training videos
           23
                   intended to educate viewers as to how Facebook stores and queries data in the Social Graph. E.g., id.
           24
                   at FB-CA-MDL-01959889, FB-CA-MDL-01960073.                Facebook also produced detailed technical
           25
                   publications regarding its data infrastructure, e.g., id. at FB-CA-MDL-01959810, FB-CA-MDL-
           26
                   01959826 (academic articles regarding the consistency and functioning of Facebook's TAO system
           27
                   and describing Facebook's horizontally shared, geo-replicated relational database management
           28

                                                                      14
Gibson, Dunn &        FACEBOOK'S OPPOSITION TO PLAINTIFFS' M OTION TO COMPEL PRODUCTION OF NAMED PLAINTIFFS' CONTENT AND
                                                                  INFORMATION
Crutcher LLP
                                                         CASE No. 3:18-MD-02843-VC -
                                                                                   JSC
                                                                                                                        2657
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               1   system), as well as internal instructional guides discussing Facebook's data storage systems (including

               2   descriptions of individual databases, their functions, data schema employed, and tools used to query

               3   databases), e.g., id. at FB-CA-MDL-01960039 (instructional overview of the Graph API), FB-CA-

               4   MDL-01960137 (instructional wiki entry providing descriptions of data tools), FB-CA-MDL-

               5   01960080 (instructional guide on storage options in the Social Graph), FB-CA-MDL-01960128

               6   (instructional guide on data tools), FB-CA-MDL-0 1960067 (instructional guide on searching with

               7   GraphQL).      Facebook also produced dozens of articles and blog posts discussing its data

               8   infrastructure, e.g., id. at FB-CA-MDL-01959804 (blog post describing Facebook's top open data

               9   problems, including adescription of its data stores and the tools used to query them), FB-CA-MDL-

           10      01959641 (article discussing the role of the MySQL database in supporting the social graph).

           11             Given Facebook's extensive voluntary production of materials Judge Corley held Plaintiffs

           12      were not entitled to, Plaintiffs' claim that they are left in the dark falls flat. And Facebook has already

           13      told Plaintiffs that most of the additional materials they seek do not exist or do not exist in the form

           14      Plaintiffs have requested—such as adata map, alist of sources containing data about specific individual

           15      users, or an instruction manual explaining the workings of Facebook's engineering infrastructure to

           16      laypersons. And Facebook has answered interrogatories asking it to identify databases that house user

           17      data. Ex. U. It is not clear what other information Plaintiffs' vague and broad list is even asking for.

           18             These are issues that can and should be resolved informally through discussion during the RFP

           19      meet-and-confer process,      during   which the    parties   can refine their    requests,   address   any

           20      misunderstandings, and raise objections if needed. None of that happened here, likely for an obvious

           21      tactical reason: Plaintiffs know that if their current demands were properly teed up, negotiated, and

           22      mediated, they would be dead on arrival. The multiple problems with Plaintiffs' list of demands simply

           23      highlight the soundness of the rule that a"motion to compel may not be used to enforce an 'informal'

           24      request for documents or information." MAO-MS° Recovery, LLC v. Mercury Gen., 2019 WL

           25      1423772, at *3 (C.D. Cal. Feb. 19, 2019). As aresult, even aside from all of the other problems with

           26      Plaintiffs' motion to compel, it is unripe.

           27      IV.    CONCLUSION

           28             Plaintiffs' motion should be denied.

                                                                       15
Gibson, Dunn &        FACEBOOK'S OPPOSITION TO PLAINTIFFS' M OTION TO COMPEL PRODUCTION OF NAMED PLAINTIFFS' CONTENT AND
                                                                  INFORMATION
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               1   Dated: October 28, 2021                 GIBSON, DUNN & CRUTCHER, LLP

               2                                            By:    /s/ Deborah Stein

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           21
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           22

           23

           24

           25

           26

           27

           28

                     FACEBOOK'S OPPOSITION TO PLAINTIFFS' M OTION TO COMPEL PRODUCTION OF NAMED PLAINTIFFS' CONTENT AND
Gibson, Dunn &                                                   INFORMATION
                                                        CASE No. 3:18-MD-02843-VC -
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Crutcher LLP

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 8    Telephone: 415.393.8200
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 9                                                   Attorneys for Defendant Facebook, Inc.

10
                                   UNITED STATES DISTRICT COURT
11                               NORTHERN DISTRICT OF CALIFORNIA
                                      SAN FRANCISCO DIVISION
12

13

14   IN RE: FACEBOOK, INC. CONSUMER                       CASE NO. 3:18-MD-02843-VC
     PRIVACY USER PROFILE LITIGATION,
15                                                       DECLARATION OF MARTIE
                                                         KUTSCHER IN SUPPORT OF
16   This document relates to:                           FACEBOOK, INC.'S OPPOSITION TO
                                                         PLAINTIFFS' MOTION TO COMPEL
17   ALL ACTIONS                                         PRODUCTION OF NAMED PLAINTIFFS'
                                                         CONTENT AND INFORMATION
18

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       DECLARATION OFM ARTIE KUTSCHER I
                                      N SUPPORT OFFACEBOOK'S OPPOSITION TOPLAINTIFFS' M OTION TO COMPEL
                           PRODUCTION OFNAMED PLAINTIFFS' CONTENT AND I
                                                                      NFORMATION
                                         CASE No. 3:18-MD -02843-VC
                                                                                                     2660
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 1          I, Martie Kutscher, hereby declare as follows:

 2           1.     Iam an associate at the law firm of Gibson, Dunn & Crutcher LLP, counsel of record

 3   for Facebook, Inc. ("Facebook") in the above-captioned matter. Iam amember in good standing of

 4   the State Bars of California, New Jersey, and New York.         Isubmit this declaration in support of

 5   Facebook's Opposition To Plaintiffs' Motion To Compel Production Of Named Plaintiffs' Content

 6   And Information. Imake this declaration on my own knowledge, and Iwould testify to the matters

 7   stated herein under oath if called upon to do so.

 8          2.      Exhibit A is atrue and correct copy of asample Download Your Information ("DYI")

 9   file that Facebook produced in this case relating to Named Plaintiff Terry Fischer.      Iam separately

10   emailing the Special Master and Plaintiffs Exhibit A as ashare file due to its large size. Plaintiffs have

11   requested that Facebook treat this document as Confidential.

12          3.      Attached as Exhibit B is atrue and correct list of categories of information available

13   through Facebook's DYI tool. This was previously filed as Exhibit A to Facebook's Opening Brief In

14   Support Of Its Request To Enforce The Partial Stay Of Discovery In Pretrial Order No. 20 (Dkt. 515-

15   1) (September 18, 2020), which is Exhibit L, below.

16          4.      Three Facebook employees provide factual declarations in support of Facebook's

17   Motion. Attached as Exhibit C is atrue and correct copy of the Declaration of Ben Mitchell. Attached

18   as Exhibit D is atrue and correct copy of the Declaration of Sukhesh Miryala. Attached as Exhibit E

19   is atrue and correct copy of the Declaration of Karandeep Anand.

20          5.      Attached as Exhibit F is atrue and correct copy of Judge Chhabria's Motion to Dismiss

21   Order, Pretrial Order No. 20 (Dkt. 298) (September 9, 2019).

22          6.      Attached as Exhibit G is atrue and correct copy of Plaintiffs' Second Set of Requests

23   for Production (November 25, 2019).

24          7.      Attached as Exhibit H is atrue and correct copy of Plaintiffs' Notice of Non-Party

25   Subpoena to Zynga Inc. (March 3, 2020). Plaintiffs have served similar subpoenas seeking similar

26   materials on numerous third parties, including Brayola Fitting Technologies; Bumble Trading, Inc.;

27   Coffee Meets Bagel, Inc.; DNP Imagingcomm American Corporation; Flo Health, Inc.; Netflix, Inc.;

28   On the Rebound, Inc.; Spotify USA, Inc.; Tinder, Inc.; United Parcel Service, Inc.; Walgreens

                                                         1
       DECLARATION OFM ARTIE KUTSCHER I
                                      N SUPPORT OFFACEBOOK'S OPPOSITION TOPLAINTIFFS' M OTION TO COMPEL
                           PRODUCTION OFNAMED PLAINTIFFS' CONTENT AND I
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 1   Company; Warner Brothers Entertainment, Inc.; Yahoo!, Inc.; Zoosk, Inc.; Six4Three LLC; 3DNA

 2   Corp. (DBA NationBuilder); CubeYou, Inc.; FullContact, Inc.; Digital Stakeout, Inc.; and X1

 3   Discovery, Inc. Facebook will provide these additional subpoenas at the Special Master's request.

 4          8.      Attached as Exhibit Iis atrue and correct copy of the Stipulation and Order Governing

 5   The Production Of Electronically Stored Information And Hard Copy Documents ("ESI Protocol")

 6   (Dkt. 416) (April 30, 2020).

 7          9.      Attached as Exhibit J is a true and correct copy of the transcript of a discovery

 8   conference held before Judge Corley on May 15, 2020.

 9           10.    Attached as Exhibit K is a true and correct copy of Plaintiffs' Fourth Set of

10   Interrogatories (July 16, 2020).

11           11.    The parties briefed the issue currently before the Special Master in September and

12   October 2020. Exhibits L through 0 reflect that underlying briefing. Specifically, attached as Exhibit

13   L is atrue and correct copy of Facebook's Opening Brief In Support Of Its Request To Enforce The

14   Partial Stay Of Discovery In Pretrial Order No. 20 (Dkt. 515) (September 18, 2020).

15           12.    Attached as Exhibit M is atrue and correct copy of Plaintiffs' Opposition to Facebook's

16   Request To Enforce The Partial Stay Of Discovery In Pretrial Order No. 20 And Cross-Motion To

17   Compel Discovery Related To Requests For Production Nos. 9Through 13 (Dkt. 527-3) (September

18   28, 2020). This document is an unredacted version that has been sealed by the Court.

19           13.    Attached as Exhibit N is atrue and correct copy of Facebook's Reply Brief In Support

20   Of Its Request To Enforce The Partial Stay Of Discovery In Pretrial Order No. 20 (Dkt. 537) (October

21   8, 2020).

22           14.    Attached as Exhibit 0 is atrue and correct copy of Plaintiffs' Response in Reply To

23   Defendant Facebook's Request To Enforce The Partial Stay Of Discovery In Pretrial Order No. 20 And

24   In Support Of Cross-Motion To Compel (Dkt. 547-3) (October 19, 2020).             This document is an

25   unredacted version that has been sealed by the Court. The highlighted text reflects Plaintiffs' proposed

26   redactions under Civil Local Rule 79-5(d)(1)(D), which were approved by Judge Corley.

27

28

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       DECLARATION OFM ARTIE KUTSCHER I
                                      N SUPPORT OFFACEBOOK'S OPPOSITION TOPLAINTIFFS' M OTION TO COMPEL
                           PRODUCTION OFNAMED PLAINTIFFS' CONTENT AND I
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 1             15.   On October 29, 2020, Judge Corley issued an Order resolving the dispute in the parties'

 2   briefing in Exhibits L-0. Attached as Exhibit P is atrue and correct copy of this Order, Discovery

 3   Order No. 9(Dkt. 557).

 4             16.   Plaintiffs raised the sufficiency of Facebook's production under Discovery Order No. 9

 5   in aJoint Status Update on December 8, 2020. Attached as Exhibit Q is atrue and correct copy of

 6   that Joint Status Update (Dkt. 583).

 7             17.   The next day, on December 9, 2020, Judge Corley held a discovery conference.

 8   Attached as Exhibit R is atrue and correct copy of the transcript of that conference, during which

 9   Judge Corley authorized Plaintiffs to notice a30(b)(6) deposition to explore whether categories of user

10   data shared with third parties had been excluded from Facebook's productions.

11             18.   Attached as Exhibit Sis atrue and correct copy of Plaintiffs' Notice Of Deposition Of

12   Facebook Pursuant To Federal Rule Of Civil Procedure 30(b)(6) (December 18, 2020).

13             19.   On January 15, 2021, Judge Corley held another discovery conference. Attached as

14   Exhibit T is atrue and correct copy of the transcript of that conference, during which Judge Corley

15   clarified the scope of the deposition she authorized and effectively quashed Plaintiffs' deposition

16   notice.

17             20.   Attached as Exhibit U is atrue and correct copy of relevant excerpts of Facebook's

18   Second Amended Responses And Objections To Plaintiffs' Fourth Set of Interrogatories (February 11,

19   2021), concerning databases that house user data and relevant APIs.

20             21.   On February 23, 2021, Plaintiffs conducted a30(b)(6) deposition of Facebook corporate

21   designee Konstantinos Papamiltiadis. Attached as Exhibit V is atrue and correct copy of the transcript

22   of this deposition.

23             22.   Attached as Exhibit W is atrue and correct copy of aLetter from Plaintiffs' Counsel to

24   Facebook's Counsel regarding Named Plaintiffs' content and information (March 1, 2021).

25             23.   Attached as Exhibit X is atrue and correct copy of aLetter from Deborah Stein to

26   Plaintiffs' Counsel regarding, inter alia, Named Plaintiffs' content and information (April 1, 2021).

27             24.   Attached as Exhibit Y is atrue and correct copy of aLetter from Plaintiffs' Counsel to

28   Facebook's Counsel regarding Named Plaintiffs' content and information (September 10, 2021).

                                                        3
       DECLARATION OFM ARTIE KUTSCHER I
                                      N SUPPORT OFFACEBOOK'S OPPOSITION TOPLAINTIFFS' M OTION TO COMPEL
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 1           25.     Attached as Exhibit Z is atrue and correct copy of an Email from Facebook's Counsel

 2   to Plaintiffs' Counsel regarding Named Plaintiffs' content and information (September 16, 2021).

 3           26.     Exhibit AA is a true and correct copy of Volume 46 of Facebook's production of

 4   documents to Plaintiffs. Iam separately emailing the Special Master and Plaintiffs Exhibit AA as a

 5   share file due to its large size.

 6           27.     Attached as Exhibit AB is atrue and correct copy of the location history of Named

 7   Plaintiff Jason Ariciu, produced from his DYI file at FB-CA-MDL-003 81770 through FB-CA-MDL-

 8   00381797. Plaintiffs have requested that Facebook treat this document as Confidential.

 9           28.     Ideclare under penalty of perjury under the laws of the United States of America that

10   the foregoing is true and correct.

11

12   Executed on October 28, 2021 in Palo Alto, California.

13

14                                                                       Is! Martie Kutscher
                                                                             Marti eKut scher
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                      EXHIBIT A
     PROVIDED VIA SHARE FILE




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                      EXHIBIT B




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                                        Exhibit A
 What info is                                                                         Where can I
                          What is it?
 available?                                                                           find it?

                          Information you added to the About section of your
                          timeline like relationships, work, education, where you
                                                                                      Downloaded
 About Me                 live and more. It includes any updates or changes you
                                                                                      Info
                          made in the past and what is currently in the About
                          section of your timeline.

                          The dates when your account was reactivated,                Downloaded
 Account Status History
                          deactivated, disabled or deleted.                           Info

                          All stored active sessions, including date, time,
                                                                                      Downloaded
 Active Sessions          device, IP address, machine cookie and browser
                                                                                      Info
                          information.

                          Your current address or any past addresses you had          Downloaded
 Address
                          on your account.                                            Info

                                                                                      Downloaded
 Ads                      Ads you've recently viewed.
                                                                                      Info

                          Dates, times and titles of ads clicked (limited retention   Downloaded
 Ads Clicked
                          period).                                                    Info

                          A list of topics that you may be targeted against based
                                                                                      Downloaded
 Ad Topics                on your stated likes, interests and other data you put
                                                                                      Info
                          in your timeline.

                          The unique advertising identification numbers
                          provided by your mobile device. These numbers are           Downloaded
 Advertising ID
                          used to show you ads on the apps you use on your            Info
                          device.

                          Any alternate names you have on your account                Downloaded
 Alternate Name
                          (example: amaiden name or anickname).                       Info

                                                                                      Downloaded
 Apps                     All of the apps you have added.
                                                                                      Info

                                                                                      Downloaded
 Articles                 Articles you've recently read.
                                                                                      Info

                          Information you've provided, such as your address,
                                                                                      Downloaded
 Autofill Information     that is used to pre-fill messages when you contact a
                                                                                      Info
                          business through Messenger.

                          A history of the conversations you've had on
                                                                                      Downloaded
 Chat                     Facebook Chat (a complete history is available
                                                                                      Info
                          directly from your messages inbox).



Source: What categories cf my Facebook data are available to me?,
https://www.facebook.com/help/930396167085762, Table 2, kformation you can download
using the Download Your Ii form         tool (last visited Sept. 18, 2020).


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                                                                                   Downloaded
Chat Rules              Chat Rules you've accepted.
                                                                                   Info

                                                                                   Downloaded
Check-ins               The places you've checked into.
                                                                                   Info

                        Your preferred currency on Facebook. If you use
                                                                                   Downloaded
Currency                Facebook Payments, this will be used to display
                                                                                   Info
                        prices and charge your credit cards.

                        The city you added to the About section of your            Downloaded
Current City
                        timeline.                                                  Info

                        The date you added to Birthday in the About section        Downloaded
Date of Birth
                        of your timeline.                                          Info

                        The number of times you've recently visited the Dating     Downloaded
Dating
                        section of Facebook.                                       Info

                        The unique identification numbers provided by the          Downloaded
Device ID
                        devices you use to log into Facebook.                      Info

                        The country and language from which you're
                                                                                   Downloaded
Device Locale           accessing Facebook as determined by the devices
                                                                                   Info
                        you're using.


Education
                        Any information you added to Education field in the
                        About section of your timeline.

                        Email addresses added to your account (even those
                                                                                   T
                                                                                   Downloaded
                                                                                   Info

                                                                                   Downloaded
Emails
                        you may have removed).                                     Info

Email Address                                                                      Downloaded
                        A history of when you've verified your email address.
Verifications                                                                      Info

                                                                                   Downloaded
Events                  Events you've joined or been invited to.
                                                                                   Info

Event Contacts You've                                                              Downloaded
                        People you've blocked from inviting you to events.
Blocked                                                                            Info


T
Event Interactions
                        The number of times you've recently visited the
                        Events section of Facebook.
                                                                                   Downloaded
                                                                                   Info

                                                                                   Downloaded
Events Visited          Event pages you've recently visited.
                                                                                   Info


T
Facebook Live Videos    Live videos you've recently watched.
                                                                                   Downloaded
                                                                                   Info

Facebook Watch
                        A collection of topics that is used to show you relevant   Downloaded
Topics for
                        videos in the Facebook Watch tab. The topics are           Info
Recommendations




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                             based on your previous interaction history with things
                             like links, videos, photos and Pages you've liked.

                             A unique number based on acomparison of the
 Facial Recognition                                                                      Downloaded
                             photos you're tagged in. We use this data to help
 Data                                                                                    Info
                             others tag you in photos.

                                                                                         Downloaded
 Family                         Friends you've indicated are family members.
                                                                                         Info

                             Information you've added to the Favorite Quotes             Downloaded
 Favorite Quotes
                             section of the About section of your timeline.              Info

                                                                                         Downloaded
 Followers                   A list of people who follow you.
                                                                                         Info


 Friends
                            r
                            A list of your friends.
                                                                                         Downloaded
                                                                                         Info


                             P
                            1
                                                                                         Downloaded
 Friend Requests                 ending, sent and received friend requests.
                                                                                         Info
                        -   r
                                Friends whose activity you've chosen to see less of on   Downloaded
 Friends You See Less
                                Facebook.                                                Info

                                                                                         Downloaded
 Fundraisers                    Fundraisers you've recently viewed.
                                                                                         Info

                             The gender you added to the About section of your           Downloaded
 Gender
                             timeline.                                                   Info
1
—
                                                                                         Downloaded
 Groups                      A list of groups you belong to on Facebook.
                                                                                         Info

                             The number of times you've interacted with Groups on        Downloaded
 Group Interactions
                             Facebook.                                                   Info


rGroups Visited
1—
                             G   roups you've recently visited.
                                                                                         Downloaded
                                                                                         Info

                             The place you added to hometown in the About                Downloaded
 Hometown
                             section of your timeline.                                   Info

                             A copy of the ID you submitted to confirm your identity
                                                                                         Personal Data
 ID                          and to help improve our automated systems for
                                                                                         Request
                             detecting fake IDs and related abuse.

F
Instant Games                   Instant Games you've played.
                                                                                         Downloaded
                                                                                         Info


rIP Address Activity
                            I
                            -

                            I
                             Your recent activity from specific IP addresses.
                                                                                         Downloaded
                                                                                         Info




                                                      3

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IP Address Message        Your recent message activity from specific IP           Downloaded
Activity                  addresses.                                              Info

IP Address Payment        Your recent payment activity from specific IP           Downloaded
Activity                  addresses.                                              Info

                                                                                  Downloaded
Language Settings         Your preferred language settings.
                                                                                  Info

                                                                                  Downloaded
Last Location             Your most recent location determined by your device.
                                                                                  Info


T
Linked Accounts           Accounts you've linked to your Portal.
                                                                                  Downloaded
                                                                                  Info

Live Video
Subscriptions
                          Scheduled Live videos you've subscribed to.
                                                                                  Downloaded
                                                                                  Info

                          IP address, date and time associated with logins to     Downloaded
Logins
                          your Facebook account.                                  Info

                          IP address, date and time associated with logouts       Downloaded
Logouts
                          from your Facebook account.                             Info

Marketplace                                                                       Downloaded
                          Categories you've recently viewed.
Categories                                                                        Info

Marketplace                                                                       Downloaded
                          Your recent interactions on Marketplace.
Interactions                                                                      Info

                                                                                  Downloaded
Marketplace Items         Items you've recently viewed.
                                                                                  Info

                                                                                  Downloaded
Marketplace Services      Services you've recently viewed.
                                                                                  Info

                          Contact information that may be associated with your    Personal Data
Matched Contacts
                          account.                                                Request

                          Areas of Facebook you've recently accessed through      Downloaded
Menu Items
                          the main menu.                                          Info

                          Messages you've sent and received on Facebook.
                          Note, if you've deleted amessage it won't be included   Downloaded
Messages
                          in your download as it has been deleted from your       Info
                          account.

Messenger Contacts                                                                Downloaded
                          Contacts you've blocked on Messenger.
You've Blocked                                                                    Info

                          Notifications about your activity milestones, such as
                                                                                  Downloaded
Milestone Notifications   the number of reactions on apost, you've received
                                                                                  Info
                          and dismissed.




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Mobile Service
                       The service provider and country code associated           Downloaded
Provider and Country
                       with your phone number.                                    Info
Code

                                                                                  Downloaded
Name                   The name on your Facebook account.
                                                                                  Info

                       Any changes you've made to the original name you           Downloaded
Name Changes
                       used when you signed up for Facebook.                      Info

                       A collection of topics that is used to show you relevant
                       public posts in parts of your News Feed. The topics
News Feed Topics for                                                              Downloaded
                       are based on your previous interaction history with
Recommendations                                                                   Info
                       things like links, videos, photos and Pages you've
                       liked.

                       A collection of topics that is used to show you relevant
News Topics for        articles in the News tab. The topics are based on your     Downloaded
Recommendations        previous interaction history with things like posts,       Info
                       videos, photos and Pages you've liked.

                       The identification numbers that we use to send you         Downloaded
Notification ID
                       Facebook notifications on your device.                     Info

                       Chat notifications you've dismissed from Pages you         Downloaded
Page Notifications
                       visit.                                                     Info


[age Visits            Pages you've recently visited.
                                                                                  Downloaded
                                                                                  Info

Page Transparency      A list of pages that you've received and dismissed         Downloaded
Notices                notices from.                                              Info

                                                                                  Downloaded
Pages You Admin        A list of pages you admin.
                                                                                  Info

Pages You've                                                                      Downloaded
                       Pages you've recommended to others.
Recommended                                                                       Info

Pending Friend                                                                    Downloaded
                       Pending, sent and received friend requests.
Requests                                                                          Info

                       People and friends you've interacted with recently,        Downloaded
People
                       including comments and reactions.                          Info

                       People you've recently viewed when new friends were        Downloaded
People Viewed
                       suggested to you.                                          Info

                       Mobile phone numbers you've added to your account,
                                                                                  Downloaded
Phone Numbers          including verified mobile numbers you've added for
                                                                                  Info
                       security purposes.




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                                                                                   Downloaded
 Photos                   Photos you've uploaded to your account.
                                                                                   Info

                                                                                   Downloaded
rPhoto   Effects         1- A list   of the photo effects you've used.
                                                                                   Info


TPhotos Metadata
                          Any metadata that is transmitted with your uploaded
                          photos.
                                                                                   Downloaded
                                                                                   Info

                          Platforms you've used to log into Facebook, such as      Downloaded
 Platforms
                          the Facebook app or abrowser.                            Info

                          A list of who's poked you and who you've poked. Poke
                          content from our mobile poke app is not included
                                                                                   Downloaded
 Pokes                    because it's only available for abrief period of time.
                                                                                   Info
                          After the recipient has viewed the content it's
                          permanently deleted from our systems.

                          Any information you added to Political Views in the      Downloaded
 Political Views
                          About section of timeline.                               Info

Preferred Language for    The preferred language for videos as determined by       Downloaded
Videos                    videos you've previously viewed.                         Info

Previously Removed                                                                 Downloaded
                          Friends you've recently removed but added back.
Contacts                                                                           Info

                          Your primary location is determined by information we
                          use to support Facebook Products, such as the            Downloaded
 Primary Location
                          current city you entered on your profile and your        Info
                          device connection information.

                                                                                   Downloaded
 Profile Visits           People whose profiles you've recently visited.
                                                                                   Info

                          Actions you've taken and interactions you've recently    Downloaded
 Recent Activities
                          had.                                                     Info

                                                                                   Downloaded
 Recently Visited         Videos and shows you've recently visited.
                                                                                   Info

                                                                                   Downloaded
 Record Details           Details included in some administrative records.
                                                                                   Info

                                                                                   Downloaded
 Registration Date        The date you joined Facebook.
                                                                                   Info

                          The current information you added to Religious Views     Downloaded
 Religious Views
                          in the About section of your timeline.                   Info

                                                                                   Downloaded
 Removed Friends          People you've removed as friends.
                                                                                   Info




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                                                                                Downloaded
Saved Post Reminders   Reminders you've received after you've saved apost.
                                                                                Info

                       The screen names you've added to your account, and
                                                                                Downloaded
Screen Names           the service they're associated with. You can also see
                                                                                Info
                       if they're hidden or visible on your account.

                       A list of the times you've used Secret Conversations     Downloaded
Secret Conversations
                       in Messenger.                                            Info

Secret Conversations   A list of the secret conversations you've reported to    Downloaded
You've Reported        Facebook.                                                Info

                       Profiles and Pages you've recently chosen to see first   Downloaded
See First
                       in your News Feed.                                       Info

                       Profiles and Pages you've recently chosen to see less    Downloaded
See Less
                       of in your News Feed.                                    Info


[
r
    elected Language   The language you've selected to use Facebook in.
                                                                                Downloaded
                                                                                Info

                                                                                Downloaded
Session Type           Your current active session types.
                                                                                Info


Show Pages             A list of the Show Pages you've viewed and the
                       videos you've watched from them.
                                                                                Downloaded
                                                                                Info

                                                                                Downloaded
Fhows                  A list of the individual videos you've watched.
                                                                                Info

                       The languages you added to Spoken Languages in           Downloaded
Spoken Languages
                       the About section of your timeline.                      Info

                                                                                Downloaded
Status Updates         Any status updates you've posted.
                                                                                Info

                       The amount of time you've spent watching videos          Downloaded
Time Spent
                       from aShow Page.                                         Info

                                                                                Downloaded
Time Viewed            The amount of an individual video you've watched.
                                                                                Info


Timezone               T
                       Th etimezone you've selected.
                                                                                Downloaded
                                                                                Info

                       Any current information you've added to Work in the      Downloaded
[Work
                       About section of your timeline.                          Info

                                                                                Downloaded
Videos                 Videos you've posted to your timeline.
                                                                                Info




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                         -
                                                                           Downloaded
Video Creator Pages          Video creator Pages you've recently viewed.
                                                                           Info



r
Videos You've
Removed
                             Videos you've removed from your Watch list.
                                                                           Downloaded
                                                                           Info


Your Facebook Activity   T   A history of when you've accessed Facebook.
                                                                           Downloaded
                                                                           Info
r
-                        1
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                                                                           Downloaded
Your Pinned Posts            Posts you've pinned on your timeline.
                         1                                                 Info




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                      EXHIBIT C




                                                                      2675
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                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA
                             SAN FRANCISCO DIVISION



IN RE: FACEBOOK, INC. CONSUMER            CASE NO. 3:18-MD-02843-VC-JS
PRIVACY USER PROFILE LITIGATION,
                                          DECLARATION OF
                                          BEN MITCHELL IN SUPPORT OF
This document relates to:                 FACEBOOK'S OPPOSITION TO
                                          PLAINTIFFS' MOTION TO COMPEL
ALL ACTIONS                               NAMED PLAINTIFF DATA




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I, Ben Mitchell, declare:

        1.      Iam Director of Product Management at Defendant Facebook, Inc. (hereinafter

"Facebook"). Imake this declaration on my own knowledge, and Iwould testify to the matters

stated herein under oath if called upon to do so.

       2.       In my role as Director of Product Management, my responsibilities include

providing support for Facebook's "Download Your Information" or "DYI" tool. Through my

role, Iam familiar with the DYI tool, the data that it includes, and where that data is stored.

       3.       Facebook uses the term the "Social Graph" to describe the complex web of

people, places, things, actions, and connections on the Facebook platform. The Facebook

product that users see is powered by aseries of databases that work in tandem to provide

Facebook users aseamless experience. As Facebook users navigate through Facebook and

interact with it—including, for example, by commenting on posts made by other users, watching

videos, posting photos, and sending messages—the users create new relationships and

connections between themselves and the content they are able to see.' This web of people,

places, things, actions, and connections is referred to as the "Social Graph."

       4.       The DYI tool allows auser to download acopy of data Facebook associates with

their Facebook account, including data associated with their account in the Social Graph.

       5.       The DYI file for each individual user represents the most complete and best

compilation of data Facebook maintains associated with that user, and the best available




   Facebook's Social Graph is not powered by asingle database. Rather, Facebook is powered by an
   extraordinarily complex information architecture that stores information in various databases. The information
   in these databases is generally not human-readable and instead is intended to be processed for human
   consumption through Facebook's production environment. Iam generally aware that several databases
   collectively store the information that underlies the Social Graph and the names of these databases, but Iam not
   knowledgeable about the technical details and functions of each underlying database.




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compilation of the data about that user in the Social Graph, in ahuman-readable and producible

form.

        6.     Exhibit B to the Declaration of Martie Kutscher lists categories of data contained

in auser's DYI file, unless data in agiven category does not exist for the user or the user deleted

it. The DYI file does not include data such as (i) data auser has deleted from their own profiles

(e.g., photos that have been removed), (ii) any other data Facebook does not maintain; (iii) data

associated only with adifferent user's account, or (iv) Facebook's trade secrets.

        Ideclare under penalty of perjury that the foregoing is true and correct. Executed on

October 28, 2021 at Felton, California.



        Nee VtheGG

        Ben Mitchell




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                      EXHIBIT D




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                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA
                            SAN FRANCISCO DIVISION



IN RE: FACEBOOK, INC. CONSUMER            CASE NO. 3:18-MD-02843-VC-JS
PRIVACY USER PROFILE LITIGATION,
                                          DECLARATION OF
                                          SUKHESH MIRYALA IN SUPPORT OF
This document relates to:                 FACEBOOK'S OPPOSITION TO
                                          PLAINTIFFS' MOTION TO COMPEL
ALL ACTIONS                               NAMED PLAINTIFF DATA




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        I, Sukhesh Miryala, declare as follows:

        1.     Iam aDirector of Product Management at Facebook, Inc. ("Facebook"). My job

responsibilities include, among other things, developing and testing advertising products for

Facebook. Isubmit this declaration in support of Facebook's opposition to Plaintiffs' motion to

compel production of named plaintiffs' content and information. Unless otherwise stated, Ihave

personal knowledge of the facts set forth herein, and, if called as awitness, Icould and would

competently testify thereto.

        2.     My understanding is that Plaintiffs in this matter have requested that Facebook

identify all data sources that may contain information related to the named plaintiffs, including

data obtained from third parties regarding users' off-platform activities and data inferred from

users' on or off-platform activities.

        3.     Ialso understand that Plaintiffs rely on adocument entitled Ads and Measurement

and beginning with the Bates Stamp FB-CA-MDL-002 13424 (Plaintiffs' Exhibit 11). Ihave

reviewed that document, including its metadata.




        4.     Facebook's advertising platform enables advertisers to target and measure the

effectiveness of ads.




                                Facebook uses this data to create audience options for advertisers.




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           5.   To deliver ads on Facebook, an advertiser selects an "audience" for an ad based

on characteristics of the audience the advertiser wishes to reach—like age, location, and other

details.

           6.




           7.




           8.   At no point in this ad delivery process are data about users' off-platform

activities, or inferences derived from users' on-platform or off-platform activities sold to or

otherwise shared with advertisers. To the contrary, Facebook considers this data proprietary. If

Facebook sold or otherwise shared this data to advertisers, that would be detrimental to

Facebook's ability to generate revenue from advertisers.

           9.   Facebook provides advertisers with aggregated and anonymized reports about the

audience seeing their ads and how their ads are performing, but Facebook does not share




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     information that personally identifies auser. Facebook also confirms which ads led users to

     make apurchase or take an action with an advertiser. At no point in this measurement process

     are data obtained from third parties about users' off-platform activities, or inferences derived

     from users' on-platform or off-platform activities sold to or otherwise shared with advertisers.

            Ideclare under penalty of perjury that the tbregoing is true and correct. Executed on

     October 28, 2021 at Oakland, Califomia.




               „laid) tRi?4
            Sukhesh Miryala




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                      EXHIBIT E




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                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA
                             SAN FRANCISCO DIVISION



IN RE: FACEBOOK, INC. CONSUMER            CASE NO. 3:18-MD-02843-VC-JS
PRIVACY USER PROFILE LITIGATION,
                                          DECLARATION OF
                                          KARANDEEP ANAND IN SUPPORT OF
This document relates to:                 FACEBOOK'S OPPOSITION TO
                                          PLAINTIFFS' MOTION TO COMPEL
ALL ACTIONS                               NAMED PLAINTIFF DATA




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I, Karandeep Anand, declare:

       1.       Iam Vice President, Business Products at Defendant Facebook, Inc. (hereinafter

"Facebook"). Imake this declaration on my own knowledge, and Iwould testify to the matters

stated herein under oath if called upon to do so.

       2.       In my role as Vice President, Business Products, Iam familiar with how

Facebook shares or makes data available to third parties, including application developers and

partners. Iam also generally familiar with how Facebook's platform operates, how data about

particular users can be accessed, and how that data is shared with third parties.

       3.       Facebook makes individualized data about Facebook users available to third

parties—including app developers and partners—through application programming interfaces

("APIs"). These APIs pull data exclusively from Facebook's Social Graph.

       4.       Facebook uses the term the "Social Graph" to describe the complex web of

peoples, places, things, actions, and connections on the Facebook platform. The Facebook

product that users see is powered by aseries of databases that work in tandem to provide

Facebook users aseamless experience. As Facebook users navigate through Facebook and

interact with it—including, for example, by commenting on posts made by other users, watching

videos, posting photos, and sending messages—the users create new relationships and

connections between themselves and the content they are able to see.' This web of people,

places, things, actions, and connections is referred to as the "Social Graph." The activities auser

takes on the Facebook Platform, including posting pictures to their profiles, liking photos, and




   Facebook's Social Graph is not powered by asingle database. Rather, Facebook is powered by an
   extraordinarily complex information architecture that stores information in various databases. The information
   in these databases is generally not human-readable and instead is intended to be processed for human
   consumption through Facebook's production environment. Iam generally aware that several databases
   collectively store the information that underlies the Social Graph and the names of these databases, but Iam not
   knowledgeable about the technical details and functions of each underlying database.




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commenting on friends' timelines, and certain activities auser takes off of the Facebook

Platform, are reflected in the Social Graph.

       5.      APIs are astandard industry programming tool and they allow applications to

access data and features of other applications, services, or operating systems. APIs can provide

access to adefined set of User Data (e.g., auser's name or Facebook ID) or othe information the

developer is authorized to access, (e.g., photos auser has shared with the developer).

       6.      APIs Facebook has made available to third parties—including app developers and

partners—that allow access to user-identifiable information query the Social Graph only. This

was also true during the period from 2007 to present and is true of all of the APIs identified in

Facebook's response to Plaintiffs' Fourth Set of Interrogatories. Users' privacy settings and the

permission they specifically grant the applications they access or download control what non-

public data third parties are able to access about them, as described in Facebook's Data Policy.

       7.      Facebook also maintains adata warehouse called Hive, which is separate from the

Social Graph. Hive stores more than 12 million tables, including logs of certain activity from the

Social Graph (e.g., the number of unique sessions on Facebook each day) if aFacebook

employee writes code to log that information. Facebook does not provide any APIs that allow

third parties to retrieve data from Hive and third parties are not able to access Hive directly.

Hive is not indexed by user, and there is no way to search Hive by user—each individual Hive

table must be searched individually.

       Ideclare under penalty of perjury that the foregoing is true and correct. Executed on

October 28, 2021 at Seattle, Washington.



        gamedeF /limed

       Karandeep Anand


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                      EXHIBIT F




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                              UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF CALIFORNIA



  IN RE: FACEBOOK, INC., CONSUMER                    MDL No. 2843
  PRIVACY USER PROFILE LITIGATION                    Case No. 18-md-02843-VC



                                                     PRETRIAL ORDER NO. 20:
  This document relates to:
                                                     GRANTING IN PART AND DENYING
                                                     IN PART MOTION TO DISMISS
  ALL ACTIONS
                                                     FIRST AMENDED COMPLAINT



       This lawsuit, which stems from the Cambridge Analytica scandal, is about Facebook's

practice of sharing its users' personal information with third parties. The plaintiffs are current

and former Facebook users who believe that their information was compromised by the

company. Their principal allegations are that Facebook: (i) made sensitive user information

available to countless companies and individuals without the consent of the users; and (ii) failed

to prevent those same companies and individuals from selling or otherwise misusing the

information. The plaintiffs do not merely allege that Facebook shared what we often describe as

"data" —basic facts such as gender, age, address, and the like. They allege that Facebook shared

far more substantive and revealing content that users intended only for alimited audience, such

as their photographs, videos they made, videos they watched, their religious and political views,

their relationship information, and the actual words contained in their messages.

       Facebook has filed amotion to dismiss the lawsuit. Although the company makes many

different arguments, there are three main ones. First, Facebook argues that people have no

legitimate privacy interest in any information they make available to their friends on social

media. This means, according to Facebook, that if people use social media to communicate




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sensitive information with alimited number of friends, they have no right to complain of a

privacy violation if the social media company turns around and shares that information with a

virtually unlimited audience. As explained in Section II of this ruling, Facebook's argument

could not be more wrong. When you share sensitive information with alimited audience

(especially when you've made clear that you intend your audience to be limited), you retain

privacy rights and can sue someone for violating them.

       Second, Facebook argues that even if its users had aprivacy interest in the information

they made available only to friends, there is no standing to sue in federal court because there

were no tangible negative consequences from the dissemination of this information. That too is

wrong. As explained in Section III, the law has long recognized that aprivacy invasion is itself

the kind of injury that can be redressed in federal court, even if the invasion does not lead to

some secondary economic injury like identity theft.

       Facebook's third main argument is that even if users retained aprivacy interest in the

information that was disclosed, and even if a"bare" privacy invasion confers standing to sue in

federal court, this lawsuit must be dismissed because Facebook users consented, in fine print, to

the wide dissemination of their sensitive information. As discussed in Section IV, this question is

more difficult than the first two. California law requires the Court to assume as alegal matter

(even if it's not true as afactual matter) that users reviewed, understood, and agreed to all of

Facebook's contractual terms when they signed up for their accounts. These terms included a

description of at least some of Facebook's information-sharing practices, for at least aportion of

the time period covered by this lawsuit. In particular, from roughly 2009 to 2015, Facebook

disclosed its practice of allowing app developers to obtain, through auser's Facebook friends,

any information about the user that the friends had access to.

       That single disclosure, however, is relatively inconsequential for this motion to dismiss.

The complaint adequately alleges that users who established their Facebook accounts prior to

roughly 2009 never consented to this practice. Plaintiffs in this category may pursue claims

based on information-sharing with app developers. Moreover, the complaint adequately alleges



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that no users ever consented to Facebook's other information-sharing practices —specifically,

sharing with certain "whitelisted apps" starting in 2015, and sharing with certain "business

partners" during much of the relevant time period. Finally, the complaint adequately alleges that

users never consented to Facebook's widespread practice of allowing companies to sell and

otherwise misuse sensitive user information, as opposed to restricting the use of this information

as Facebook promised it would. Therefore, even though Facebook's arguments regarding user

consent have some legal force and will somewhat limit the scope of the lawsuit, they cannot

defeat the lawsuit entirely, at least at the pleading stage.

       Accordingly, as set forth in Section V (which discusses the specific legal claims asserted

by the plaintiffs), although Facebook's motion to dismiss will be granted for afew of the claims,

most claims survive.

                                         I. BACKGROUND

        Cambridge Analytica, aBritish political consulting firm, used personal information from

millions of Facebook accounts to send targeted political messages during the 2016 presidential

campaign. The firm obtained this information from Aleksandr Kogan, aresearcher who had

acquired it through his app, which Facebook had allowed him to deploy on its platform. The

Cambridge Analytica incident began receiving significant press coverage in 2018, which in turn

generated increased scrutiny of Facebook's information-sharing practices. In the months that

followed, reports emerged suggesting that the ability of people like Kogan and entities like

Cambridge Analytica to obtain sensitive Facebook user information was the norm rather than the

exception. Broadly speaking, this case is about whether Facebook acted unlawfully in making

user information widely available to third parties. It's also about whether Facebook acted

unlawfully in failing to do anything meaningful to prevent third parties from misusing the

information they obtained.

        Following the Cambridge Analytica outcry, dozens of lawsuits were filed against

Facebook in various courts around the country. The lawsuits were mostly in federal court, and

they were mostly proposed class actions by individual Facebook users who contended that



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Facebook disseminated their sensitive personal information to Kogan without their consent and

failed to prevent him from transferring it to Cambridge Analytica. One of the first of these

lawsuits was filed in the Northern District of California and randomly assigned to this Court.

       When multiple, similar federal lawsuits are filed around the country, there is aprocess

within the federal judiciary for handling them. Congress has created the Judicial Panel on

Multidistrict Litigation, which considers whether to transfer similar cases to asingle federal

judge for pretrial proceedings. The purpose is to promote the orderly adjudication of multiple

similar cases, avoiding conflicting rulings from different judges and alleviating the strain on the

system that would result from many judges adjudicating the same complicated pretrial issues.

The multidistrict litigation process contemplates that once the assigned judge adjudicates those

issues, the individual cases are sent back for trial to the courts where they originated. In these

cases against Facebook, the panel concluded that assignment to asingle judge was warranted,

and assigned the lawsuits to this Court.

       This Court subsequently appointed two attorneys to serve as lead plaintiffs' counsel.

Thereafter, lead counsel, representing roughly three dozen individual Facebook users, filed a

consolidated class action complaint. The plaintiffs propose to represent aclass consisting of all

Facebook users in the United States and the United Kingdom whose personal information was

improperly disseminated and/or inadequately protected by Facebook from 2007 to the present.

The practical effect of the proposed class action is that this one consolidated complaint could

potentially resolve all claims by private parties against Facebook arising from the company's

practices of disseminating user information during this period. In other words, this proceeding

has effectively become one large proposed class action, as opposed to agroup of several dozen

separate lawsuits. 1

        Facebook filed amotion to dismiss, and alengthy hearing took place during which the



1 Other lawsuits which are not part of this multidistrict litigation have been filed against
Facebook by law enforcement entities from states or localities. Although Facebook attempted to
fold one such lawsuit into this proceeding, the Court rejected that attempt. See Illinois, ex rel.
Kimberly M. Foxx v. Facebook, 354 F. Supp. 3d 1122 (N.D. Cal. 2019).



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parties and the Court discussed many potential deficiencies in the complaint. The hearing ended

with the Court giving the plaintiffs permission to file an amended complaint to address any such

deficiencies.

        The amended complaint, which is the subject of the current motion to dismiss, runs 414

pages and includes 1,442 paragraphs. It appears to include all the claims that were asserted in the

cases that were transferred here by the multidistrict litigation panel, and more. But for

manageability purposes, the complaint is divided into "prioritized claims" and "nonprioritized

claims." The idea is that the prioritized claims (which presumably reflect lead counsel's

judgment about their relative strength or importance) will be adjudicated first, and the

nonprioritized claims should be stayed and addressed later if necessary. The complaint names

multiple defendants (for example, CEO Mark Zuckerberg, in addition to Facebook itself), but

again divides those defendants into the "prioritized" and "non-prioritized" categories. Facebook

is the only prioritized defendant.

        It's worth noting that the case has expanded in scope. While the initial lawsuits focused

largely on Facebook's conduct that was the subject of the Cambridge Analytica scandal, the case

now includes allegations stemming from the subsequent revelations about Facebook's wider

information-sharing practices. Moreover, although the complaint purports to assert 12 prioritized

"claims," most of those purported claims actually consist of multiple distinct legal claims, based

on distinct factual allegations. For example, the section entitled "Breach of Contract" appears to

contain roughly half adozen distinct claims for breach of contract, based on distinct acts of

alleged wrongdoing. Indeed, at times it seems the plaintiffs sought to identify anything Facebook

has ever been reported to have done wrong and then made sure to sprinkle in at least afew

allegations about it.

        This strategy interferes significantly with the clarity and effectiveness of the plaintiffs'

presentation. Some of the allegations are quite vague. For example, the plaintiffs make an

allegation, the significance of which the Court has not been able to understand, about Facebook

stripping metadata from users' photos before allowing third parties to access them. Also



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scattered throughout the complaint are allegations about something the plaintiffs call

"psychographic marketing," without any meaningful explanation of the legal or factual

difference between psychographic marketing and targeted advertising (the latter of which the

plaintiffs appear to concede is perfectly legitimate).

       Overall, the presence of so many disparate and vague allegations makes it nearly

impossible for Facebook to meaningfully respond to all of them, much less for the Court to

effectively address them. The conventional approach in asituation like this might be to sift

through the complaint to try to identify each distinct claim, then dismiss with leave to amend all

claims that are not adequately articulated. But that approach would likely result in many more

rounds of motions to dismiss, bogging the case down at the pleading stage for years. In the

interest of preventing that from happening to this multidistrict litigation, this ruling focuses on

what the Court understands to be the plaintiffs' core allegations about Facebook's handling of

sensitive user information. Claims based on these core factual allegations will largely survive the

motion to dismiss. All other prioritized claims not addressed by this ruling will be stayed

(effectively, relegated to non-prioritized status) and adjudicated, if necessary, at alater stage in

the proceedings with the other non-prioritized claims.

       The core allegations in the complaint describe four categories of wrongdoing by

Facebook. In adjudicating Facebook's motion to dismiss, the Court is required to assume the

truth of these allegations, so long as they are adequately articulated and not contradicted by any

documents that the complaint explicitly relies on.

        1. Giving app developers access to sensitive user information. Since roughly 2007,

Facebook users have been able to access applications, or apps, directly from the Facebook

platform to do things like play video games, read news content, or stream videos. According to

the plaintiffs, this interaction among Facebook, its users, and third-party apps is one of the

primary means by which Facebook has disseminated user information to third parties. The

complaint alleges that when users accessed apps on the Facebook platform, the app developers

were not merely able to obtain information about the users they were interacting with; they were



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also able to obtain any information about the users' Facebook friends that the users themselves

had access to. So, for example, if you decided to use an app on the Facebook platform to play a

video game, the video game company would be able to access not only your information but also

any information about your friends that you could obtain yourself. This includes avariety of

things that your friends might have intended to share only with alimited audience, such as

photographs, videos they made, videos they watched, religious preferences, posts, and even

sometimes private one-on-one messages sent through Facebook. And since most people have

dozens or hundreds of Facebook friends, each interaction with an app represents the disclosure of

agreat deal of information about dozens or hundreds of people.

        The Cambridge Analytica story is an example of this. In 2013, Aleksandr Kogan created

an app called "MyDigitalLife." Facebook allowed Kogan to market and operate this app on the

Facebook platform. The app invited Facebook users to answer aseries of questions to help them

better understand themselves —apersonality test of sorts. But when auser took the test, Kogan

was not merely able to collect information about that user; he was able to collect information on

the user's Facebook friends. This allowed Kogan to compile adatabase with information on

roughly 87 million Facebook users, even though his app was only downloaded by around

300,000 people.

        The plaintiffs allege that from roughly 2009 to 2015, tens of thousands of app developers

like Kogan, operating on the Facebook platform, were able to interact with users to obtain this

type of information about users' friends. The plaintiffs further allege that Facebook failed to

adequately disclose that even if users adjusted their privacy settings to specify that only their

friends would be allowed to see their information, this would not prevent app developers from

getting it.

        2. Continued disclosure to whitelisted apps. In 2014, in response to criticism of its

information-sharing practices, Facebook announced it would restrict app developers so they

would have access only to the information of the users the apps were interacting with (and not to

information of the users' friends). But the plaintiffs allege that Facebook, despite its public



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promises to restrict access, continued to allow apreferred list of app developers to access the

information of users' friends. The complaint describes these preferred app developers as

"whitelisted apps," and alleges that Facebook secretly continued to give these apps "special

access" to friends' information because of the amount of revenue these apps generated for

Facebook. Thousands of companies were allegedly on this list, including Airbnb, Netflix, UPS,

Hot or Not, Salesforce, Lyft, Telescope, and Spotify.

       3. Sharing sensitive user information with business partners. Meanwhile, Facebook has

maintained aseparate information-sharing program with companies that the plaintiffs describe as

"business partners." The complaint's allegations about these business partners are somewhat

more difficult to pin down than the allegations about app developers. Indeed, there may be some

overlap between companies in the "app" category and the "business partner" category.

Moreover, the plaintiffs allege that Facebook outsourced to business partners "the time, labor,

and money required to build Facebook's Platform on different devices and operating systems,"

but that doesn't seem to describe all the "business partners" listed in the complaint. The

non-exclusive list of companies that the complaint identifies as business partners includes device

manufacturers, such as Blackberry and Samsung. It includes websites such as Yahoo, and the

Russian search engine Yandex. And it includes companies such as Amazon, Microsoft, and

Sony. This list came from Facebook itself, which asserted that it had "integration partnerships"

with these companies in aletter to the Energy and Commerce Committee of the U.S. House of

Representatives.

       Although the category is somewhat vague, the alleged misconduct is relatively

straightforward. The complaint alleges that Facebook shared information about its users with this

non-exclusive list of business partners, and that those companies in turn shared data with

Facebook. "These partnerships," the complaint alleges, "were built in part on 'data reciprocity.'

Facebook and its partners agreed to exchange information about users' activities with each

other." And as with app developers, Facebook allegedly would give abusiness partner access not

only to information of the user with whom the business partner interacted, but also to



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information of that user's friends. The plaintiffs allege that, for most of the period covered by the

lawsuit, Facebook never disclosed that it was sharing user information with business partners in

this fashion.

        4. Failure to restrict the use of sensitive information. In addition to complaining about

Facebook's dissemination of private user information to app developers, whitelisted apps, and

business partners, the plaintiffs allege that Facebook did nothing to prevent these third parties

from misusing the information Facebook allowed them to access. Specifically, the plaintiffs

allege that: (i) Facebook purported to have apolicy preventing app developers from using

information for any purpose other than enhancing the interaction between the app and the person

who was using the app on the Facebook platform; but (ii) Facebook did nothing to enforce this

policy, thus giving users the impression that their information was protected, while in reality

countless app developers were using it for other purposes.

        Again, the Cambridge Analytica story is an example of this. According to the plaintiffs, if

Facebook was truly enforcing apolicy of limiting the use of user information by app developers,

Kogan would have been precluded from extracting all that sensitive information about users'

friends to employ for his own research, and he would certainly have been precluded from selling

it to Cambridge Analytica. The plaintiffs allege that this was the norm with the tens of thousands

of app developers who interacted with users on the Facebook platform —that any policy

Facebook purported to have restricting the use of information by third parties was nonexistent in

reality, because Facebook was intent solely on generating revenue from the access it was

providing.

        Based on the four core categories of misconduct described above, the plaintiffs assert a

variety of legal claims. They bring aprivacy-based tort claim under California law for the

unauthorized disclosure of private facts. They assert another privacy-based tort claim for

intrusion into private affairs, along with asimilar claim based on the right to privacy enshrined in

the California Constitution. They bring two claims based on federal statutes: the Stored

Communications Act (which prohibits the unauthorized disclosure of information from



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computers) and the Video Privacy Protection Act (which prohibits disclosure of aperson's video

viewing habits). And the plaintiffs bring avariety of other California law claims that don't relate

as directly to privacy but are nonetheless based on assertions that Facebook failed to protect their

privacy. Such claims include breach of contract (for allowing third parties to obtain sensitive

user information despite promising to protect it), deceit (for tricking users about the degree to

which their information could be accessed), and negligence (for failing to prevent third parties

from misusing sensitive information despite Facebook's duty to protect that information). As

mentioned earlier, many of these purported claims actually have multiple distinct claims built

into them. Facebook has moved to dismiss all the claims, both for lack of standing and on the

merits.

                                 II. EXPECTATION OF PRIVACY

          Facebook's motion to dismiss is littered with assumptions about the degree to which

social media users can reasonably expect their personal information and communications to

remain private. Because Facebook's view of this issue pervades so many of its individual legal

arguments —and because Facebook's view is so wrong —it is addressed at the outset.

          Facebook's view is that once you make information available to your friends on social

media, you completely relinquish any privacy interest in that information. For this reason,

Facebook insists, it does not matter whether Facebook users consented to the company's

information-sharing practices. Facebook asserts that even if users didn't consent, and even if

users intended to restrict access to friends only, and even if Facebook had explicitly promised not

to share their information with anyone else, the users would have no right to complain that their

privacy was invaded by the disclosure or misuse of their sensitive information. Although this

argument was implicit in Facebook's papers, it became explicit at the hearing on the motion to

dismiss. Dkt. No. 287 at 7(hearing transcript). 2



2Facebook appears to contend that this issue relates both to standing and to the merits of any
claims in which the plaintiffs assert an expectation of privacy (such as the privacy claims
brought under California tort law or the California Constitution). As discussed in Section IV with
respect to consent, the issue of whether users have areasonable expectation of privacy in



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        The problem with Facebook's argument is that it treats privacy as an all-or-nothing

proposition —either you retain afull privacy interest by not sharing information with anyone, or

you have no privacy interest whatsoever by virtue of sharing it even in alimited fashion. In

reality, there can be "degrees and nuances to societal recognition of our expectations of privacy:

the fact that the privacy one expects in agiven setting is not complete or absolute does not render

the expectation unreasonable as amatter of law." Sanders v. American Broadcasting Companies,

Inc., 20 Cal. 4th 907, 915 (1999); see also Cpperman v. Path, Inc., 84 F. Supp. 3d 962, 991-93

(N.D. Cal. 2015). Thus, as the U.S. Supreme Court has explained, "information may be classified

as private if it is intended for or restricted to the use of aparticular person or grotip or class cf

persons" rather than being "freely available to the public." US. Department cPustice v.

&porters Committee for Freedom cf the Press, 489 U.S. 749, 763-64 (1989) (emphasis added)

(quoting Webster's Third New International Dictionary 1804 (1976)); see also id. at 763 ("Thus

the extent of the protection accorded aprivacy right at common law rested in part on the degree

of dissemination of the allegedly private fact ...."). So, for example, if you are diagnosed with a

medical condition, you can expect to conceal it completely only if you keep it between you and

your doctor. But it does not follow that if you send an email to selected colleagues and friends

explaining why you'll be out of commission for awhile, you've relinquished any privacy interest

in your medical condition, such that the email provider could disseminate your diagnosis to

anyone who might be interested in your health status. Similarly, social media users can have

their privacy invaded if sensitive information meant only for afew dozen friends is shared more

widely. 3

       Although Facebook refuses in this case to acknowledge its users' privacy interests, it has

done so in other court cases. For example, in abrief filed with the California Supreme Court, for


information they share with their social media friends is best understood as relating to the merits,
not standing. See, e.g., American Farm Bureau Federation v. US. Environmental Protection
Agency, 836 F.3d 963, 968 (8th Cir. 2016).
3 It seems quite possible that auser whose settings allow information to be shared not only with

friends, but friends of friends, loses any expectation of privacy, although that issue is not
squarely presented by this motion to dismiss.



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acase where Facebook fought against the compelled disclosure of auser's posts, Facebook

compared information kept on social media to information kept on asmartphone: "The data on a

smartphone —like the data maintained in asocial media account —can reveal an individual's

private interests and concerns and where aperson has been, which in turn reflects awealth of

detail about aperson's familial, political, professional, religious, and sexual associations."

Answer Brief on the Merits, Facebook, Inc. v. Stiperior Court, 2016 WL 684072 (Cal.), at *29

(brackets and internal quotations omitted) (quoting Riley v. Callornia, 573 U.S. 373, 396

(2014)). For this reason, Facebook continued, "communications content of the kind maintained

by [social media] providers" carries with it such asignificant expectation of privacy that even

law enforcement must get awarrant before accessing it from those providers. Id. In adifferent

California Supreme Court brief, Facebook took pains to juxtapose users who share

communications with the general public against users who share communications only with

friends: "These settings cannot be overridden by others; if apost is set to be viewable only by a

certain audience, it may not then be shared or forwarded through the Facebook platform to

someone outside that audience." Answering Brief on the Merits, Facebook, Inc. v. Stiperior

Court, 2018 WL 2060039 (Cal.), at *16. Facebook added that even if users designate their

communications to be viewed by the general public, they can later "regain" their expectation of

privacy in that information by switching their settings back to amore restricted audience. See id.

at *28 n.4.

       Perhaps Facebook's argument that social media accounts are like smartphones is an

exaggeration in the other direction. But it's closer to the truth than the company's assertions in

this case. Sharing information with your social media friends does not categorically eliminate

your privacy interest in that information, and the plaintiffs' claims in this lawsuit must be

analyzed against that backdrop, rather than the backdrop Facebook attempts to paint in its motion

to dismiss.




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                                           III. STANDING

        To bring their claims in federal court, the plaintiffs must adequately allege (and

eventually prove) that they have "standing" under Article III of the United States Constitution.

This means, among other things, that the plaintiffs must allege they suffered an actual injury

from Facebook's conduct that is both "concrete" and "particularized." See Spokeo, Inc. v.

Robins, 136 S. Ct. 1540, 1545 (2016).

        The plaintiffs allege three kinds of injury. First, they allege asimple "privacy injury" —

that is, injury from Facebook's widespread disclosure of their sensitive information, including

their photographs, videos they made, videos they watched, religious preferences, posts, and even

private one-on-one messages sent through Facebook. Second, the plaintiffs allege they were

injured because Facebook's dissemination of their personal information increased the risk that

they would become victims of identity theft. Third, the plaintiffs allege they were deprived the

economic value of their personal information as aresult of its dissemination, the theory

apparently being that if their information had remained private, they could have sold that

information to advertisers or data brokers themselves.

        The second and third alleged injuries do not confer Article III standing. Regarding the

risk of identity theft, this is not acase involving, say, hackers, and it is not acase about the theft

of, say, social security or credit card numbers. Although the risk of identity theft is admittedly

greater than if Facebook had not made the plaintiffs' personal information available, the risk is

too speculative to confer standing. Compare In re Zappos.com, Inc., 888 F.3d 1020, 1024-29

(9th Cir. 2018). Regarding loss of value, although it's true that each user's information is worth a

certain amount of money to Facebook and the companies Facebook gave it to, it does not follow

that the same information, when not disclosed, has independent economic value to an individual

user. The plaintiffs do not plausibly allege that they intended to sell their non-disclosed personal

information to someone else. Nor, in any event, do they plausibly allege that someone else would

have bought it as astand-alone product. The plaintiffs' economic-loss theory is therefore purely

hypothetical and does not give rise to standing. See In re Facebook Internet Tracking Litigation,



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140 F. Supp. 3d 922, 931-32 (N.D. Cal. 2015); Cpperman v. Path, Inc., 87 F. Supp. 3d 1018,

1057 (N.D. Cal. 2014); Yunker v. Pandora Media, Inc., 2013 WL 1282980, at *4 (N.D. Cal. Mar.

26, 2013); Low v. LinkedIn Cotp., 2011 WL 5509848, at *4-5 (N.D. Cal. Nov. 11, 2011). 4

        But the first alleged injury —that the plaintiffs' sensitive information was disseminated to

third parties in violation of their privacy —is sufficient to confer standing. Facebook argues that a

"bare" privacy violation, without "credible risk of real-world harm" such as identity theft or

other economic consequences, cannot rise to the level of an Article III injury. But it's black-letter

law that an injury need not be "tangible" to be cognizable in federal court. Spokeo, Inc. v.

Robins, 136 S. Ct. 1540, 1549 (2016) ("Although tangible injuries are perhaps easier to

recognize, we have confirmed in many of our previous cases that intangible injuries can

nevertheless be concrete."). And courts have often held that this particular type of intangible

injury —disclosure of sensitive private information, even without further consequence —gives

rise to Article III standing.

        Indeed, the Ninth Circuit has repeatedly explained that intangible privacy injuries can be

redressed in the federal courts. This issue has tended to come up recently in cases where a

plaintiff alleges standing based on the violation of astatute whose purpose is to protect privacy.

In such cases, the alleged violation of the statute does not automatically give rise to standing. For

astatutory violation to create standing, the statute must protect against aconcrete and

particularized injury that's cognizable within the meaning of Article III.

        Most recently on this issue, the Ninth Circuit handed down an opinion in adifferent case

against Facebook —acase involving Facebook's use of facial recognition technology in alleged

violation of an Illinois statute. The Court held that "the development of aface template using

facial recognition technology without consent (as alleged here) invades an individual's private

affairs and concrete interests." Patel v. Facebook, Inc., 2019 WL 3727424, at *5 (9th Cir. Aug.




4 But see In re Facebook Privacy Litigation, 572 F. App'x 494, 494 (9th Cir. 2014); Williams v.

Facebook, Inc., No. 18-cv-01881-RS, Dkt. No. 128 at 11-13 (N.D. Cal. Aug. 29, 2019); Svenson
v. Google Inc., 2015 WL 1503429, at *5 (N.D. Cal. Apr. 1, 2015).



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8, 2019). Earlier, in Eichenberger v. ESPN, the Ninth Circuit held that an alleged violation of the

Video Privacy Protection Act creates standing, explaining that the statute "protects privacy

interests ...generally by ensuring that consumers retain control over their personal

information," and emphasizing that "privacy torts do not always require additional consequences

to be actionable." 876 F.3d 979, 983 (9th Cir. 2017). And in Van Patten v. Vertical Fitness

Grotip, LLC, the Ninth Circuit concluded that alleged violations of the Telephone Consumer

Protection Act, which creates acause of action to remedy the injury of receiving annoying

telemarketing text messages, give rise to standing because such messages, "by their nature,

invade the privacy and disturb the solitude of their recipients." 847 F.3d 1037, 1043 (9th Cir.

2017). The Van Patten court emphasized that alawsuit alleging this type of intrusion under the

statute may proceed in federal court even if no additional, tangible harm is alleged. Id.

       There are many similar cases involving common law claims. For example, Judge Seeborg

recently held that alawsuit asserting common law privacy claims against Facebook based on the

collection and disclosure of users' Android data could proceed in federal court despite the

absence of any alleged economic injury. Williams v. Facebook, Inc., 384 F. Supp. 3d 1043, 1050

(N.D. Cal. 2018) ("The complaint need not include economic injury to establish standing for the

intrusion upon seclusion, invasion of privacy, or unjust enrichment claims."). In reaching this

conclusion, Judge Seeborg quoted another decision involving Facebook —this one by Judge

Davila —which held: "a plaintiff need not show actual loss to establish standing for common-law

claims of invasion of privacy and intrusion upon seclusion." In re Facebook Internet Tracking

Litigation, 263 F. Supp. 3d 836, 843 (N.D. Cal. 2017); see also In re Google Inc. Cookie

Placement Consumer Privacy Litigation, 806 F.3d 125, 134-35 (3d Cir. 2015) (holding that the

plaintiffs had standing to assert federal statutory and California common law privacy claims

based on allegations that the defendants implanted tracking cookies on their personal computers);

id. at 134 ("For purposes of injury in fact, the defendants' emphasis on economic loss is

misplaced."); Cpperman v. Path, Inc., 87 F. Supp. 3d 1018, 1057 (N.D. Cal. 2014).

       To be sure, Facebook cites afew cases that lean in the other direction. For example, in a



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2012 case, Judge Grewal rejected the argument that the "loss of personal information, even in the

absence of any cognizable economic harm, was sufficient to confer Article III standing." In re

Google, Inc. Privacy Policy Litigation, 2012 WL 6738343, at *5 (N.D. Cal. Dec. 28, 2012). But

Judge Grewal's ruling seems to assume that economic harm is required rather than examining

whether it's required. This appears equally true of the earlier district court cases on which he

relied. See LaCourt v. Spec fic Media, Inc., 2011 WL 1661532, at *4 (C.D. Cal. Apr. 28, 2011);

In re iPhone Application Litigation, 2011 WL 4403963, at *5 (N.D. Cal. Sept. 20, 2011).

Ultimately, the only reason Judge Grewal gave for his ruling was that "nothing in the precedent

of the Ninth Circuit or other appellate courts confers standing on aparty that has brought

statutory or common law claims based on nothing more than the unauthorized disclosure of

personal information ...." In re Google, Inc. Privacy Policy Litigation, 2012 WL 6738343, at

*5. Whether or not he was right about precedent at the time, the cases cited above provide ample

support for the conclusion that this type of privacy invasion alone creates standing.

       And those cases are right. To say that a"mere" privacy invasion is not capable of

inflicting an "actual injury" serious enough to warrant the attention of the federal courts is to

disregard the importance of privacy in our society, not to mention the historic role of the federal

judiciary in protecting it. "In ademocratic society privacy of communication is essential if

citizens are to think and act creatively and constructively." Bartnicki v. Vcpper, 532 U.S. 514,

533 (2001) (quoting President's Commission on Law Enforcement and Administration of

Justice, The Challenge of Crime in aFree Society 202 (1967)). For this reason, our country has

countless federal laws on the books designed to protect our privacy —laws that the federal courts

are charged with enforcing. 5 Perhaps the most prominent of these is the Wiretap Act, colloquially



5See, e.g., Health Insurance Portability and Accountability Act of 1996 (HIPAA), Pub. L. No.
104-191, 110 Stat. 1936; Children's Online Privacy Protection Act of 1998, 15 U.S.C. §§ 6501-
6506 (2012); Driver's Privacy Protection Act of 1994, 18 U.S.C. §§ 2721-2775 (2012);
Electronic Communications Privacy Act of 1986, Pub. L. No. 99-508, 100 Stat. 1848; Privacy
Protection Act of 1980, Pub. L. No. 96-440, 94 Stat. 1879; Right to Financial Privacy Act of
1978, 12 U.S.C. §§ 3401-3422 (2012); Privacy Act of 1974, 5U.S.C. §552a (2012).




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known as "Title III," abedrock privacy protection which makes it unlawful for either the

government or aprivate party to intercept someone's "wire, oral, or electronic communication"

without consent. 18 U.S.C. §2511. Would Facebook really argue that aviolation of this statute

inflicts no "actual injury" on the participants in the conversation unless interception of the

communication ends up visiting amore tangible, secondary harm on the participants?

       Of course, aplaintiff cannot get into court by simply intoning that she suffered an

intangible privacy injury. But once it is understood that an intangible privacy injury can be

enough, it becomes easy to conclude that the alleged privacy injury here is enough. The alleged

injury is "concrete" largely for the reasons already discussed —if you use acompany's social

media platform to share sensitive information with only your friends, then you suffer aconcrete

injury when the company disseminates that information widely. And the alleged injury is

"particularized," at least for most of the plaintiffs. To be particularized, the injury must have

been suffered directly by the individual plaintiff, and it must be distinct from the more general

type of objection that members of the public at large might have to adefendant's unlawful

conduct. See Spokeo, 136 S. Ct. at 1548. The plaintiffs allege that Facebook violated their

privacy rights (and other rights) because: (i) they engaged in sensitive communications that

included photographs, videos they made, videos they watched, Facebook posts, likes, and private

one-on-one messages; (ii) they intended to share these communications only with aparticular

person or agroup of people; (iii) Facebook made those communications widely available to third

parties in avariety of ways; and (iv) as aresult, third parties were able to develop detailed

dossiers on the plaintiffs including information about their locations, their religious and political

preferences, their video-watching habits, and other sensitive matters. 6

       Facebook makes one argument regarding particularity that, if successful, would merely




6 It's possible that afew of the named plaintiffs have not adequately alleged aprivacy injury

based on their own Facebook experience. However, Facebook does not single out any particular
named plaintiff in its motion, and most of the plaintiffs have adequately alleged standing.
Facebook will be given an opportunity to attempt to knock out individual named plaintiffs on
standing grounds at alater stage.



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narrow the scope of this case rather than ending it entirely. Recall that this lawsuit arose from the

Cambridge Analytica scandal, with the plaintiffs originally alleging that Facebook gave

Aleksandr Kogan access to their information (with Kogan, in turn, giving it to Cambridge

Analytica). The plaintiffs initially alleged, plausibly and with specificity, that Kogan likely

accessed their own information. But the plaintiffs now allege that Facebook disseminated

sensitive user information far more widely, to tens of thousands of app developers and business

partners. Facebook argues that because the complaint lacks specific allegations about which app

developers or business partners obtained which plaintiffs' private information, the plaintiffs have

not alleged an injury particular to them, at least beyond the injury from the disclosure to Kogan.

       This argument puts too great aburden on the plaintiffs, at least at the pleading stage (and

probably at any stage). If, as alleged in the complaint, Facebook made users' "friends only"

information readily available to such abroad swath of companies (Apple, Samsung, AT&T,

Sprint, T-Mobile, Verizon, Google, Huawei, Microsoft, Mozilla, LG, and Amazon, to name just

afew), it is virtually inevitable that some of these companies obtained information on the named

plaintiffs. cf. Low v. Linkedln Cotp., 900 F. Supp. 2d 1010, 1021 (N.D. Cal. 2012). This type of

privacy invasion is no less an Article III injury simply because the plaintiffs are left to guess

precisely which companies (other than Facebook) were involved.

       Accordingly, for all the claims addressed by this ruling, Facebook cannot obtain

dismissal for lack of Article III standing.

                                              IV. CONSENT

       There is one more global issue to discuss before proceeding to aclaim-by-claim analysis

of the complaint. Facebook contends that the plaintiffs agreed, when they signed up for their

accounts, that Facebook could disseminate their "friends only" information in the way it has

done. If the complaint and any judicially noticeable materials were to establish that Facebook

users consented to the alleged misconduct, this would indeed require dismissal of virtually the

entire case. However, the complaint adequately alleges that some users did not consent to any of

Facebook's practices. And although Facebook is correct as amatter of law that some users



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consented to the first category of conduct (sharing information with app developers), the

complaint adequately alleges that those users did not consent to the other three categories

(sharing information with whitelisted apps starting in 2015, sharing information with business

partners, and failing to protect user information from misuse).

                                                  A.

       As an initial matter, Facebook asserts that consent is actually astanding issue. It contends

that there is no true Article III injury on the facts of this case because the plaintiffs cannot be

injured by something they allowed Facebook to do.

        But the whole point of Article III standing is that some claims don't belong in federal

court even if the plaintiff would win on the merits. Therefore, the standing inquiry in this case is:

assuming the plaintiffs could win on the merits, should their claims nonetheless be dismissed for

lack of standing because the injury they allegedly suffered is not cognizable in federal court? The

plaintiffs allege they did not consent —and this is an allegation they would need to prevail on if

they are to succeed on the merits. Thus, the Court must assume, for purposes of the standing

inquiry, that the plaintiffs did not consent. "A party need not prove that the action it attacks is

unlawful in order to have standing to level that attack ....Rather, in determining whether

plaintiffs have standing, we must assume that on the merits they would be successful in their

claims." Muir v. Navy Federal Credit Union, 529 F.3d 1100, 1106 (D.C. Cir. 2008) (alterations

omitted).

        This rule holds even when the standing question overlaps substantially with the question

of whether aplaintiff has stated aclaim. "As ageneral rule, when the question of jurisdiction and

the merits of the action are intertwined, dismissal for lack of subject matter jurisdiction is

improper." Williston Basin Interstate Pipeline Co. v. An Exclusive Gas Storage Leasehold &

Easement in the Cloverly Subterranean Geological Formation, 524 F.3d 1090, 1094 (9th Cir.

2008) (internal quotations and alterations omitted); see also Scfe Air for Everyone v. Meyer, 373

F.3d 1035, 1040 (9th Cir. 2004) ("The district court erred in characterizing its dismissal of Safe

Air's complaint under Rule 12(b)(1) because the jurisdictional issue and substantive issues in



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this case are so intertwined that the question of jurisdiction is dependent on the resolution of

factual issues going to the merits.").

       In privacy cases, the standing and merits inquiries will often be intertwined. For example,

the extent to which you have areasonable expectation of privacy relates not only to whether

you've stated aclaim for invasion of privacy but whether you were injured by the invasion in the

first place. And this will often be true of consent —if you agree to the disclosure of your personal

information, it may be difficult to argue that you've been "injured" in alegal sense by the

disclosure you permitted. But in virtually every privacy case, consent will be part of the merits

inquiry. Because courts presume success on the merits when evaluating standing, these are not

standing issues in privacy cases. 7

       A good illustration of this is Van Patten v. Vertical Fitness Grotip, LLC, 847 F.3d 1037

(9th Cir. 2017). In that case, which was in asummary judgment posture, the Ninth Circuit held

that the plaintiffs established standing to sue based on the receipt of allegedly unwanted text

solicitations. But in the same opinion, the Court held that the plaintiffs must lose on the merits,

because they consented to receive those texts. Id. at 1044. Although courts occasionally conflate

standing with the merits in privacy cases, they generally recognize the need to keep them

separate. See, e.g., American Farm Bureau Federation v. US. Environmental Protection Agency,

836 F.3d 963, 968 (8th Cir. 2016) ("The EPA reasons that because the disputed information was

publicly available on the Internet or available for public review, further distribution of the

information could not establish any injury. That conclusion, however, assesses the merits of the

asserted privacy interest under FOIA rather than whether the associations' members had alegally

cognizable interest in preventing the agency's release of their personal information."); In re

Vizio, Inc., Consumer Privacy Litigation, 238 F. Supp. 3d 1204, 1216 (C.D. Cal. 2017)



7 It's possible that afederal court confronted with truly frivolous privacy claims might
reasonably consider intertwined issues as amatter of standing —for example, if the absence of a
reasonable privacy expectation, or the presence of consent, were obviously and totally
indisputable. cf. Williston Basin Interstate Pipeline, 524 F.3d at 1094. But even in arare case
like that, it still probably makes more sense for the court to dismiss the claims on the merits
(which, after all, is just as easy to do, and also gives the defendant the benefit of preclusion).



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(rejecting, in aprivacy case, astanding argument that "improperly conflates the merits of

Plaintiffs' claims with their standing to bring suit"); id. ("Taken to its logical conclusion,

Defendants' argument absurdly implies that acourt could never enter judgment against a

plaintiff on aVPPA claim if it found that the disclosed information was not within the statutory

definition of personally identifiable information; instead, it would have to remand or dismiss for

lack of jurisdiction."); Low v. Linkeciln Cotp., 900 F. Supp. 2d 1010, 1020 (N.D. Cal. 2012)

(explaining that whether aplaintiff adequately alleges standing to assert privacy claims "in no

way depends on the merits" of those claims (quoting Warth v. Seldin, 422 U.S. 490, 500

(1975))).

                                                  B.

       Whether the plaintiffs consented to Facebook's information-sharing practices is thus a

merits inquiry. And the parties actually agree on several aspects of that inquiry. First, they agree

that, for virtually all claims, the question of whether Facebook users consented to the alleged

conduct is one of contract interpretation governed by California law. 8 Second, the parties agree

that California law requires the Court to pretend that users actually read Facebook's contractual

language before clicking their acceptance, even though we all know virtually none of them did.

Constrained by this fiction, the Court must analyze the relevant contractual language to assess

whether the users "agreed" to allow Facebook to disseminate their sensitive information in the

ways described in the lawsuit. Third, the parties agree that if the contract language at issue is

reasonably susceptible to more than one interpretation, with one of those interpretations

suggesting consent and another belying it, the Court cannot decide the consent issue in

Facebook's favor at the motion to dismiss stage. And fourth, they agree that the contract

language must be assessed objectively, from the perspective of areasonable Facebook user. The



8 For the claim under the federal Video Privacy Protection Act, consent is governed by the terms
of the statute itself. This issue is discussed in the portion of Section V dealing with that claim.
The federal Stored Communications Act precludes information-sharing by computer service
providers without "lawful" consent; this is presumably areference to state law, and the parties
don't suggest otherwise, so this ruling assumes that California law applies to the consent issue
relating to that claim.



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upshot, at this early stage of the case, is that if areasonable Facebook user could plausibly have

interpreted the contract language as not disclosing that Facebook would engage in particular

conduct, then Facebook cannot obtain dismissal of aclaim about that conduct (at least not based

on the issue of consent). 9

       One difficulty with the consent question is that the lawsuit covers anearly 13-year period

—from 2007 to the present. Obviously, Facebook said different things to its users over that

period, and its practices changed as well. And it would be impossible at this stage to analyze

which disclosures apply to which plaintiffs, because the parties have not presented the

information necessary to conduct that inquiry. The analysis in this ruling will primarily focus on

the documents presented to users who signed up for accounts in the middle of 2012. At least with

respect to the four categories of alleged misconduct addressed in this ruling, these mid-2012

documents provide agood exemplar of what Facebook users agreed to during much of the period

covered by this lawsuit; indeed, users agreed to substantially similar language between roughly

2009 and 2015. Thus, these documents allow the Court to assess consent as ageneral matter,

even if the analysis might not apply to every single plaintiff. 19



9 The parties disagree about whether consent should be treated as an element of the plaintiffs'
claims or as an affirmative defense to those claims. The answer is likely that consent is an
element for some claims and an affirmative defense for others. But at least for purposes of this
motion it does not matter, because in either case the question is whether the allegations in the
complaint and any judicially noticeable materials definitively establish that the plaintiffs
consented to the conduct. If the answer is yes, the Court must dismiss the claims regardless of
whether consent is an element or adefense. See, e.g., Rivera v. Peni& Sons Farms, Inc., 735
F.3d 892, 902 (9th Cir. 2013) ("When an affirmative defense is obvious on the face of a
complaint ...adefendant can raise that defense in amotion to dismiss."); see also Jablon v.
Dean Witter & Co., 614 F.2d 677, 682 (9th Cir. 1980).
19 Incidentally, the fact that the plaintiffs seek to represent aclass of people who used Facebook
any time between 2007 and the present raises the possibility that some aspects of this lawsuit are
time-barred, and Facebook presses this issue in its motion to dismiss. For example, Facebook
notes that it was the subject of aconsent order by the Federal Trade Commission in 2012, based
on similar information-sharing practices. That consent order may have put the plaintiffs on notice
of Facebook's conduct prior to the entry of the order (although presumably it would not have put
them on notice of any misconduct by Facebook following entry of the consent order). Facebook
also invokes asingle news article from 2015 (which this Court may consider on amotion to
dismiss because the article is incorporated by reference into the complaint). That article discusses
the company's information-sharing practices, and Facebook asserts that this should have put



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       People who signed up for accounts in mid-2012 were required to accept Facebook's

"Statement of Rights and Responsibilities," or "SRR." The SRR itself contains some statements

about privacy and information-sharing. But it also references, and contains links to, several other

policies, including the "Data Use Policy." 11 Although both sides agree that the language in the

SRR is contractual, they dispute whether the Data Use Policy is part of that contract. This dispute

matters because the Data Use Policy more explicitly discusses sharing information with third

parties, and it contains the language Facebook primarily relies on to contend that its users

consented to much of the alleged misconduct. The SRR is attached as Appendix A to this ruling,

and the Data Use Policy is attached as Appendix B. 12

       The first section of the SRR, entitled "Privacy," calls out the Data Use Policy in the

second sentence, provides alink to it, and encourages the user to read it. This first section of the

SRR states in full: "Your privacy is very important to us. We designed our Data Use Policy to

make important disclosures about how you can use Facebook to share with others and how we

collect and can use your content and information. We encourage you to read the Data Use Policy,

and to use it to help you make informed decisions." Appendix A at 2. Later on the same page, the

SRR tells users to read the Data Use Policy to learn about "how you can control what

information other people may share with applications." Id. And at the end, the SRR provides a




everyone on notice of its conduct. This seems more dubious than the argument about the FTC's
2012 consent order. But in any event, statutes of limitations provide an affirmative defense,
which normally must be raised at summary judgment rather than on amotion to dismiss. US. ex
rel. Air Control Technologies, Inc. v. Pre Con Industries, Inc., 720 F.3d 1174, 1178 (9th Cir.
2013). The only exception is when it is absolutely clear from the allegations in the complaint and
judicially noticeable material that aclaim is untimely and no tolling doctrine could apply. That
cannot be said here —at best Facebook has raised asignificant possibility that claims relating to
pre-2012 conduct may be time-barred, adefense that will need to be decided on summary
judgment or at trial.
'1 Earlier versions of the "Statements of Rights and Responsibilities" were called "Terms of
Service." Earlier versions of the "Data Use Policy" were called the "Privacy Policy."
12 The request to consider these documents, which are exhibits 23 and 44 to Facebook's request

for judicial notice at Docket Number 187, is granted because they are incorporated by reference
into the complaint. The request to consider exhibits 14, 19, 26, 39, 40, 43, 46, and 47 is granted
for the same reason. Khcja v. Orexigen Therapeutics, Inc., 899 F.3d 988, 1002 (9th Cir. 2018).
All other requests, beyond those granted in this footnote and in Footnote 10, are denied, although
in any event they would not affect the outcome of this motion. See id.



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list of additional documents the user "may also want to review," including the Data Use Policy,

which "contains information to help you understand how we collect and use information." Id. at

11. This final section again includes alink to the Data Use Policy (along with several other

documents that are described as governing the relationship between Facebook and its users).

        This is sufficient to incorporate the Data Use Policy into the contractual agreement

between Facebook and its users. Indeed, California case law makes it quite easy to incorporate a

document by reference. "The contract need not recite that it incorporates another document, so

long as it guides the reader to the incorporated document." Shaw v. Regents cf University cf

Callornia, 58 Cal. App. 4th 44, 54 (1997) (quotations omitted). What's needed is simply that the

reference to the document be unequivocal, that the document be called to the attention of the

contracting parties, and that the terms of the document be easily available to the contracting

parties. Id.; see also Wolschlager v. Fidelity National Title Insurance Co., 111 Cal. App. 4th 784,

790-91 (2003); In re Anthem, Inc. Data Breach Litigation, 2016 WL 3029783, at *8 (N.D. Cal.

May 27, 2016); KcJler Electrical Mechanical Apparatus &pair, Inc. v. Wartsila North America,

Inc., 2011 WL 1086035, at *4-5 (N.D. Cal. Mar. 24, 2011). One could argue that the California

appellate courts have been too quick to find incorporation by reference and that more explicit

language should be required, particularly in the context of consumer contracts of adhesion. But

this Court must apply California case law, which militates in favor of the conclusion that the

Data Use Policy is incorporated into the SRR.

        Thus, the true legal question is whether, by "agreeing" to the SRR and Data Use Policy,

Facebook users consented to the alleged misconduct. In analyzing this question, it's important to

reiterate the precise conduct at issue. Recall that the plaintiffs allege four categories of

misconduct: (i) Facebook allowed app developers to access sensitive information, not merely of

users they interacted with, but of the users' friends; (ii) even after Facebook announced it would

no longer give app developers access to information of users' friends, it secretly continued to

give "whitelisted apps" access; (iii) through some separate arrangement and by some separate

means, Facebook shared sensitive user information with its business partners; and (iv) although



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Facebook ostensibly had apolicy of sharply limiting the use of the sensitive information it gave

to third parties, in fact Facebook imposed no limits whatsoever.

       It's easy to conclude, at the pleading stage, that the second category of conduct was not

disclosed. In fact, Facebook does not even argue that its users assented to this practice. The same

goes for the third category: although Facebook points to asection in its Data Use Policy entitled

"Service Providers" which says "we give your information to the people and companies that help

us provide, understand, and improve the services we offer," that statement does not come close

to disclosing the massive information-sharing program with business partners that the plaintiffs

allege in the complaint. Thus, for the claims based on sharing with whitelisted apps and business

partners, Facebook cannot prevail on consent, at least at this stage.

       In contrast, the first category of conduct —allowing the Aleksandr Kogans of the world to

interact with users and obtain information of the users' friends through those interactions —was

disclosed in the terms agreed to by Facebook users, at least for aportion of the period covered by

this lawsuit. To begin, the SRR told users: "You own all of the content and information you post

on Facebook, and you can control how it is shared through your privacy and application

settings." Appendix A at 2. As mentioned previously, the SRR also flagged for users the

possibility that other people "may share" their information "with applications," and instructed

users to read the Data Use Policy to learn more about this. Id. In turn, the Data Use Policy said

that "if you share something on Facebook anyone who can see it can share it with others,

including the games, applications, and websites they use." Appendix B at 10. And it instructed:

"If you want to completely block applications from getting your information when your friends

and others use them, you will need to turn off all Platform applications. This means you will no

longer be able to use any third-party Facebook-integrated games, applications, or websites." Id.

       Thus, contrary to the plaintiffs' argument, the language of these disclosures cannot be

interpreted as misleading users into believing that they merely needed to adjust their privacy

settings to "friends only" to protect their sensitive information from being disseminated to app

developers. Users were told that they needed to adjust their application settings too. To be sure,



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for the rare person who actually read the contractual language, it would have been difficult to

isolate and understand the pertinent language among all of Facebook's complicated disclosures.

Thus, in reality, virtually no one "consented" in alayperson's sense to Facebook's dissemination

of this information to app developers. But under California law, users must be deemed to have

agreed to the language quoted in the preceding paragraph, which means that users who did not

properly adjust their application settings are deemed to have agreed that app developers could

access their information. 13

       But there is acaveat. One inference from the complaint and the judicially noticeable

materials is that Facebook began to disclose this practice of giving app developers access to

friends' information only around 2009. Thus, users who established Facebook accounts before

this time did not, at least based on the allegations in the complaint, agree to these terms when

they signed up. Facebook contends this does not matter, because those users agreed to be bound

by the SRR and Data Use Policy going forward, even when the terms changed. There appears to

be some disagreement in the courts about whether aunilateral modification provision of this sort

is permissible under California contract law, at least in circumstances where the party against

whom it is being asserted did not receive adequate notice of the modification. Compare Campos

v. JPMorgan Chase Bank, NA, 2019 WL 827634, at *10 (N.D. Cal. Feb. 21, 2019), with Rodman



13 Incidentally, there is apending case in which the Federal Trade Commission proposes a$5

billion civil penalty against Facebook, along with a20-year consent decree. Stipulated Order for
Civil Penalty, Monetary Judgment, and Injunctive Relief, USA v. Facebook, Inc., No. 19-cv-
2184 (D.D.C. July 24, 2019). The lawsuit filed on behalf of the FTC accuses Facebook of,
among other things, failing to adequately disclose the practice of allowing app developers to
access user information through users' friends. At first glance, this ruling's conclusions
regarding consent might appear inconsistent with some of the allegations in the FTC lawsuit.
That lawsuit curiously neglects to mention the language that Facebook used in its Data Use
Policy, and therefore does not paint acomplete picture of the communications between Facebook
and its users, at least with respect to users who signed up after 2009. But even considering the
disclosures in the Data Use Policy, the FTC's position is not necessarily inconsistent with this
ruling. The FTC's claims against Facebook are not based on California law; they are based on
alleged violations of the Federal Trade Commission Act and the earlier FTC consent order from
2012. While California law, for better or worse, allows Facebook to bury adisclosure of its
information-sharing practices in the fine print of its contractual language, the FTC consent order
required Facebook to disclose such practices prominently, in away that would likely come to the
attention of Facebook users. More broadly, the consent order precluded Facebook from explicitly
or implicitly misrepresenting the extent to which the company protects user privacy.



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v. Scfeway Inc., 2015 WL 604985, at *9-10 (N.D. Cal. Feb. 12, 2015), c
                                                                     jf'd, 694 F. App'x 612


(9th Cir. 2017). But assuming for argument's sake the general validity of Facebook's unilateral

modification provision, it does not automatically follow that users consented to the particular

terms that Facebook subsequently added about sharing information with app developers. Even

the cases upholding unilateral modification provisions recognize that any authority to modify the

contract is constrained by the covenant of good faith and fair dealing. See, e.g., Campos, 2019

WL 827634, at *9. This means that aFacebook user, when consenting to the unilateral

modification provision, was consenting only to future modifications made in good faith.

According to the plaintiffs, Facebook made amassive change in its contract without directly

notifying its users, effectively adding adisclosure that "we will make your information readily

available to tens of thousands of app developers unless you take complicated measures to prevent

it." If that's true, it could very well constitute abreach of the covenant of good faith and fair

dealing, which would mean that the users didn't consent to it.

       And users who did not agree to the practice in their contracts could have been kept

further in the dark about it by specific features of the Facebook platform. According to the

complaint, in 2009 Facebook added afeature for users to select their audience for specific posts,

choosing among "public," "friends," or a"custom" audience. Users were not informed, as part of

this selection process, that designation of alimited audience would not prevent app developers

from being part of that audience.

       Thus, at this stage, the Court cannot conclude as amatter of law that early Facebook

users consented to the later-announced information-sharing policy. This means that any plaintiff

who signed up before roughly 2009 may pursue claims based on this conduct (assuming they can

adequately allege the other elements of their claims). 14

       The fourth category of alleged misconduct —failing to limit how third parties could use




14 As previously mentioned, neither side has attempted to specify which plaintiffs may pursue
which claims, and it is unclear precisely when the disclosures changed on this issue; the parties
will have an opportunity to parse this out at asubsequent phase in the case.



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the sensitive information they accessed —is also somewhat complicated. The Data Use Policy,

after explaining to users that applications could obtain their information from their friends, stated

as follows: "If an application asks permission from someone else to access your information, the

application will be allowed to use that information only in connection with the person that gave

the permission and no one else." Appendix B at 10. The Policy gives an example of this: "one of

your friends might want to use amusic application that allows them to see what their friends are

listening to. To get the full benefit of that application, your friend would want to give the

application her friend list —which includes your User ID —so the application knows which of her

friends is also using it." Id. From this example, it seems clear that the phrase "the application will

be allowed to use that information only in connection with the person that gave the permission"

means that if an app developer accesses your information through interaction with one of your

Facebook friends, it may use your information only as part of its interaction with that friend. It

therefore may not sell your information, or use it to develop adigital dossier on you for future

targeted advertising.

       Less clear is what Facebook is promising to do to protect users. Facebook interprets the

disclosure to mean, in essence, "we tell app developers that they can only use your information

to facilitate their interactions with your friends, but you can't really be sure they'll honor that."

Perhaps areasonable Facebook user could interpret the disclosure that way, which would mean

that the user, upon agreeing to the Data Use Policy, assumed the risk that app developers would

misuse the information. In other words, on this interpretation, users consented to an arrangement

whereby app developers could end up obtaining their sensitive information for any purpose. But

recall that in the context of this motion to dismiss the plaintiffs may be deemed to have

consented to this arrangement only if that is the only plausible interpretation. It is not —there are

at least two others. One equally plausible interpretation of the disclosure is that it assures users

that Facebook is actively policing the activities of app developers on its platform, and thereby

successfully preventing sensitive information from being misappropriated. Another plausible

interpretation is that the word "allowed" references atechnological block of sorts —that is,



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perhaps auser could conclude that the Facebook platform has the ability to physically prevent

app developers from being able to "see" friend information outside the context of their

interactions with users. A user who has tried to access afantasy football website at work, only to

see amessage on his screen that he's not "allowed" to access the site from that computer, might

interpret the disclosure this way. Indeed, the Data Use Policy elsewhere uses the word "allowed"

in asimilar fashion, to connote atechnological block. For example, it states: "If someone clicks

on alink to another person's timeline, they'll only see the things that they are allowed to see."

Appendix B at 8. Thus, there are at least three plausible interpretations of the contract language,

two of which would lead to aconclusion that users did not consent but were misled, because

Facebook allegedly did nothing to enforce its purported policy against tens of thousands of app

developers who were freely making off with sensitive user information. 15

        The bottom line on the issue of consent is this: the complaint plausibly alleges that some

users (and some plaintiffs) did not consent to the arrangement whereby app developers could

access their sensitive information simply by interacting with their friends. For the remaining

three categories of misconduct —sharing with whitelisted apps, sharing with business partners,

and failing to prevent misuse of information by third parties —the complaint plausibly alleges

that none of the users consented. The issue of consent therefore does not require dismissal in full

of any of the prioritized claims in this lawsuit. 16




15 Incidentally, with respect to the allegation that Facebook failed to restrict the use of


information by business partners (as opposed to app developers, to the extent those two
categories don't overlap), it's unclear whether this contract language applies at all. If it does not
apply, that would further weaken Facebook's argument that users were on notice that the
company imposed no meaningful restriction on the use of information by business partners
(although it could also undermine the plaintiffs' argument that Facebook committed abreach of
contract by failing to prevent business partners from misusing information). Whether this
language applies to restrictions on business partners, however, is not capable of firm resolution at
this stage.
16 Facebook makes an additional argument that even if the plaintiffs didn't explicitly consent to


the alleged conduct in contractual language, they did so implicitly because they were put on
notice of the conduct by Facebook's non-contractual disclosures. That issue cannot be resolved
at the pleading stage in this case. See, e.g., In re Google Inc. Gmail Litigation, 2014 WL
1102660, at *16 (N.D. Cal. Mar. 18, 2014) ("Implied consent is an intensely factual question that
requires consideration of the circumstances ....").



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                                   V. INDIVIDUAL CLAIMS

       The various global issues having been addressed (and the complaint having been

narrowed, for now, to claims based on the plaintiffs' core allegations), it becomes less difficult to

sift through the individual claims asserted by the plaintiffs. Most of the claims will survive. The

specific outcome for each claim is as follows:


       • Facebook's motion to dismiss is granted in part and denied in part for the three
         privacy-based torts asserted under California law (public disclosure of private facts,
         intrusion into private affairs, and violation of the constitutional right to privacy).

       • The motion is granted in part and denied in part for the claim based on the federal
         Stored Communications Act.

       • The motion is denied in full for the federal Video Privacy Protection Act claim.

       • The motion is denied in full for the California claim based on negligence and gross
         negligence.

       • For the California claims based on deceit by concealment, breach of contract, breach
         of the implied covenant of good faith and fair dealing, and unjust enrichment, the
         motion is granted in part and denied in part.

       • The motion is granted in full for violation of the right of publicity and the Unfair
         Competition Law.


       Public disclosure of private facts. For this tort to give rise to liability, the following must

occur: (i) the defendant must disclose aprivate fact about the plaintiff; (ii) the private fact must

not be amatter of public concern; (iii) the disclosure must be to the public; and (iv) the

disclosure must be offensive and objectionable to areasonable person. See Doe v. Gangland

Productions., Inc., 730 F.3d 946, 958 (9th Cir. 2013). The plaintiffs have adequately alleged that

Facebook engaged in this conduct.

       Facebook argues that the information about users that it disclosed to app developers was

not "private" because users had allowed their Facebook friends to access that information. But as

discussed in Section II, your sensitive information does not lose the label "private" simply

because your friends know about it. Your privacy interest in that information may diminish




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because you've shared it with your friends, but it does not necessarily disappear. For example,

the plaintiffs allege that app developers accessed information about their religious preferences

and political views. Your friends may know about your religious and political views, but the

widespread dissemination of them can still invade your privacy. The plaintiffs also allege that

some of the information app developers received would allow them to discern auser's location

(for example, apost saying "Check out where I'm staying in June!"). If you've told your friends

where you'll be at aparticular time, that does not preclude alawsuit based on the widespread,

nonconsensual distribution of that information.

       Facebook also argues that the user information was not disseminated to "the public." This

is based on the erroneous assumption, already rejected in Section III, that the plaintiffs have

failed to allege with sufficient particularity that their information was disclosed to anyone other

than Aleksandr Kogan. And dissemination of your private information to tens of thousands of

individuals and companies is generally going to be equivalent to making that information

"public." Perhaps Facebook could have made abetter argument, which is that there's a

difference between publicizing your sensitive information for actual human beings to scrutinize

(like, in anewspaper) and allowing your information to be added to the vast sea of "big data"

that computers rather than humans analyze for the purpose of sending targeted advertising on

behalf of companies. Perhaps there is an argument that the former is the "public disclosure" of

information within the meaning of California law while the latter is not. But that is not an issue

that can be resolved at this stage of the litigation: Facebook does not pursue this argument, and in

any event the plaintiffs do not allege that their information was merely subject to relatively

anonymous computer analysis.

       Finally, Facebook contends that its disclosure of sensitive user information to app

developers and business partners would not be offensive to areasonable person. Facebook makes

asimilar argument for the next two claims discussed below (intrusion into private affairs and the

constitutional right to privacy), because those claims also require the plaintiff to allege (and

eventually prove) that the privacy violation was aserious breach of social norms. "Sharing is the



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social norm undergirding Facebook," the company argues, "and Facebook did not breach that

social norm by sharing user data consistent with users' preferences." Motion to Dismiss at 41,

Dkt. No. 261-1. There are anumber of problems with this assertion. First, it again erroneously

assumes a"norm" that there is no privacy interest in the information kept on social media. The

social norm Facebook created with its product is purposefully sharing with one's friends, not

having one's information shared by Facebook with unknown companies and individuals. Second,

it assumes that users consented to the widespread disclosure of their sensitive information, but

the plaintiffs have adequately alleged that they didn't. Thus, at this stage of the case, the

plaintiffs have adequately alleged that Facebook's conduct was offensive and an egregious

breach of social norms: it disclosed to tens of thousands of app developers and business partners

sensitive information about them without their consent, including their photos, religious

preferences, video-watching habits, relationships, and information that could reveal location. It

even allegedly disclosed the contents of communications between two people on Facebook's

ostensibly private messenger system."

        The motion to dismiss this claim is granted with respect to the first category of conduct

for plaintiffs who consented to this conduct, as discussed in Section IV. It is denied in all other

respects. 18

        Intrusion on private affairs and violation of the constitutional right to privacy. The

analysis for these two tort claims is functionally identical, even though each claim is described

somewhat differently in the case law. "When both claims are present, courts conduct acombined

inquiry that considers (1) the nature of any intrusion upon reasonable expectations of privacy,

and (2) the offensiveness or seriousness of the intrusion, including any justification or other

relevant interests." In re Facebook Internet Tracking Litigation, 263 F. Supp. 3d 836, 846 (N.D.




17 The "big data" concept referenced in the preceding paragraph may also have relevance to
whether the privacy invasion is "offensive or serious," but not at this stage.
18 Unless stated otherwise, dismissal is without leave to amend because the Court cannot

conceive of away the plaintiffs could successfully amend the claim based on the particular
factual theory involved.



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Cal. 2017) (internal quotations omitted). Under California law, courts must be reluctant to reach

aconclusion at the pleading stage about how offensive or serious the privacy intrusion is.

Williams v. Facebook, Inc., 384 F. Supp. 3d 1043, 1054 (N.D. Cal. 2018) (Whether conduct rises

to the level of highly offensive "is indeed afactual question best left for ajury." (internal

quotations omitted)); Cpperman v. Path, Inc., 205 F. Supp. 3d 1064, 1080 (N.D. Cal. 2016) ("A

judge should be cautious before substituting his or her judgment for that of the community.").

For the reasons already discussed, the plaintiffs have adequately alleged that they suffered an

egregious invasion of their privacy when Facebook gave app developers and business partners

their sensitive information on awidespread basis.

        The motion to dismiss this claim is granted with respect to the first category of conduct

for plaintiffs who consented to this conduct, as discussed in Section IV. It is denied in all other

respects.

        Stored Communications Act. The Stored Communications Act ("SCA") is afederal law

that restricts when acomputer service provider like Facebook may share the contents of a

communication with someone who is not party to that communication. See 18 U.S.C. §2702.

The plaintiffs have plausibly alleged that Facebook violated the SCA.

        Facebook notes that there is an exception to SCA liability when one of the parties to the

communication consents to its disclosure by the computer service provider. 18 U.S.C.

§2702(b)(3). In the social media context, this means that whenever people make information

available to one another, there is no SCA violation if one of those people consents to the

disclosure of the information. Facebook contends that this exception applies here, because even

if auser didn't directly consent to Facebook's disclosure of information to app developers, the

user's friend consented when that friend interacted with the app.

        There are two problems with this argument, at least at the pleading stage. First, it does

not respond to the allegations about Facebook's decision to share user information with

whitelisted apps starting in 2015 or with business partners —nothing in the complaint or the

judicially noticeable material would permit aconclusion that either aplaintiff or aplaintiff's



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Facebook friend permitted disclosure to those entities. Second, as to the typical app developer, as

discussed in Section IV, plaintiffs who signed up for Facebook before 2009 did not (if the

allegations of the complaint are to be believed) authorize Facebook to share information through

their friends with app developers. Nor is there abasis to conclude as amatter of law that their

friends authorized the app developers to receive this information. Neither side describes with any

specificity the dialogue that would have taken place between the friend and the app developer

that resulted in the app developer's acquisition of communications that would otherwise be

protected by the SCA.

        The motion to dismiss this claim is granted with respect to the first category of conduct

for plaintiffs who consented to this conduct, as discussed in Section IV. It is denied in all other

respects.

       Video Privacy Protection Act. The Video Privacy Protection Act ("VPPA") was passed

by Congress after anewspaper published aSupreme Court nominee's video rental history. The

statute prohibits knowing disclosure of "personally identifiable information" by a"video tape

service provider." 18 U.S.C. §2710. The plaintiffs have adequately alleged that Facebook

violated the VPPA.

        Facebook first contends that the user information it shared with app developers,

whitelisted apps, and business partners is not "personally identifiable information." But the

VPPA defines this broadly as "information which identifies aperson as having requested or

obtained specific video materials or services. ..." 18 U.S.C. §2710(a)(3). Or as the Ninth

Circuit has put it, "information that would readily permit an ordinary person to identify aspecific

individual's video-watching behavior." Eichenberger, 876 F.3d 979, 985 (9th Cir. 2017)

(quotations omitted). The plaintiffs adequately allege that Facebook regularly shared information

about the videos that users received in their private messages and about videos they "liked."

Complaint III 424, 867, 868. And it is reasonable to infer, at least at the pleading stage, that when

auser receives avideo or likes avideo, he watches the video, such that this information sheds

significant light on his video-watching behavior.



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       Facebook also contends it is not a"video tape service provider" within the meaning of

the VPPA, but that too cannot be decided in Facebook's favor on this motion to dismiss. The

statute defines avideo tape service provider as anyone "engaged in the business ...of rental,

sale, or delivety of prerecorded video cassette tapes or similar audio visual materials ...." 18

U.S.C. §2710(a)(4) (emphasis added). 19 The plaintiffs allege that Facebook "regularly delivers"

video content to users and maintains acache of videos and visual materials, including from

content providers like Netflix, for their delivery to users. Complaint III 862, 864. Although one

could imagine adifferent conclusion at summary judgment once the evidence is examined, it is

plausible to conclude from these and related allegations that Facebook engages in the business of

delivering audio visual materials, and that its business is "significantly tailored to serve that

purpose." See, e.g., In re Vizio, Inc., Consumer Privacy Litigation, 238 F. Supp. 3d 1204, 1221

(C.D. Cal. 2017).

       Facebook also did not obtain the type of consent necessary to authorize the sharing of this

information. The VPPA outlines specific requirements for consent in the context of sharing

video-information, including that it be set out in aseparate form. See 18 U.S.C. §2710(b)(2)(B).

Facebook does not argue that it obtained this type of consent from its users. Therefore, even

beyond the reasons discussed in Section IV relating to consent more generally, the plaintiffs

adequately allege that they did not consent within the meaning of the VPPA, and this applies to

all the information-sharing, for all time periods, discussed in this ruling.

       The motion to dismiss this claim is denied.

       Negligence and Gross Negligence. Negligence has four elements under California law:

duty, breach, causation, and injury. See Vasilenko v. Grace Family Church, 3Cal. 5th 1077,

1083 (2017). The plaintiffs' negligence claim is based on the fourth category of conduct, and it

adequately alleges each of the required elements as to that conduct. As discussed at length above,




19 There is no dispute in this motion that at least some video files that get distributed on

Facebook's platform qualify as "similar audio visual materials." 18 U.S.C. §2710(a)(4).



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the plaintiffs have alleged present and non-speculative privacy injuries. 2° The plaintiffs have also

plausibly alleged that Facebook breached aduty to them. Facebook had aresponsibility to handle

its users' sensitive information with care. See Bass v. Facebook, Inc., 2019 WL 2568799, at *10

(N.D. Cal. June 21, 2019). And contrary to Facebook's argument, the plaintiffs do not seek to

hold Facebook liable for the conduct of the app developers and business partners; they seek to

hold the company liable for its own misconduct with respect to their information. Specifically,

the plaintiffs allege that they entrusted Facebook with their sensitive information, and that

Facebook failed to use reasonable care to safeguard that information, giving third parties access

to it without taking any precautions to constrain that access to protect the plaintiffs' privacy,

despite assurances it would do so. This lawsuit is first and foremost about how Facebook handled

its users' information, not about what third parties did once they got hold of it.

       The various exculpatory clauses in Facebook's terms also do not require dismissing the

negligence claim. While such clauses can successfully waive liability for ordinary negligence,

California law forbids limiting liability for gross negligence. City cf Santa Barbara v. Stiperior

Court, 41 Cal. 4th 747, 777 (2007) ("[P]ublic policy generally precludes enforcement of an

agreement that would remove an obligation to adhere to even aminimal standard of care."). The

complaint plausibly alleges gross negligence, since it contends that Facebook did essentially

nothing to safeguard users' information —conduct that might well be characterized as lacking

"even scant care." id. at 754. Ordinary and gross negligence are not separate causes of action in

California. See Nypl v. Crisis Prevention Institute, 2018 WL 4488760, at *9 n.6 (N.D. Cal. Sept.

17, 2018). Thus, the applicability of the waiver will turn at least in part on the degree of

negligence (if any) that the plaintiffs can ultimately prove.

       The motion to dismiss this claim is denied.



2° The parties' briefs focus on the economic loss rule, which governs the availability of recovery
for purely economic losses in atort action. But as previously discussed, the plaintiffs' allegations
of various sorts of economic injury are too speculative to support either standing or substantive
legal claims. The economic loss rule is therefore irrelevant. There perhaps remains aquestion
whether the plaintiffs can recover for their intangible injuries on anegligence theory, but the
parties haven't briefed this issue, and its resolution may require further factual development.



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       Deceit by concealment or omission. For adefendant to be liable for deceit by

concealment under California law, avariety of things must have occurred. See Cal. Civ. Code

§§ 1709-1710. First, the defendant must have: (i) had aduty to disclose amaterial fact to the

plaintiff; and (ii) intentionally concealed that fact with intent to defraud the plaintiff. Tae Youn

Shim v. Lawler, 2019 WL 2996443, at *17 (N.D. Cal. July 9, 2019). In addition, the plaintiff

must have: (iii) been unaware of that fact (and would have acted differently if he were aware),

and (iv) sustained some damage as aresult. See id; see also Cal. Civ. Code §1710(3). Because

this claim sounds in fraud, the plaintiffs are subject to aheightened pleading standard, which

means that they "must state with particularity the circumstances constituting fraud ...." See

Federal Rules of Civil Procedure 9(b).

       With respect to the allegations that Facebook improperly shared information with

standard app developers and failed to prevent third parties from improperly using sensitive

information, the plaintiffs have not satisfied the heightened pleading requirements necessary to

state aclaim for deceit by concealment. 21 However, if the plaintiffs' allegations are true,

Facebook's conduct with respect to whitelisted apps and business partners crosses into the realm

of fraudulent conduct. As discussed earlier, the plaintiffs have sufficiently alleged that their

privacy interests were harmed through the disclosure of their information to these entities. The

plaintiffs have also adequately alleged that Facebook intended to defraud its users regarding this

conduct: the plaintiffs contrast Facebook's public-facing statements about protecting privacy and

restricting information-sharing with the reality of Facebook's alleged practices, and that contrast

is asufficient basis from which to infer fraudulent intent at the pleading stage.

       As with the negligence claim, Facebook is wrong to assert that its exculpatory clause

relieves it from liability for this claim. Under California law, Facebook's exculpatory clause does

not apply to aclaim sounding in fraud such as deceit by concealment. See Cal. Civ. Code §1668



21Of course, dismissal of asubset of claims with prejudice does not preclude aplaintiff from
seeking revival if discovery reveals afactual basis that justifies reconsideration of this order. See
Fed. R. Civ. P. 54(b); WPP Luxembourg Gamma Three Sari v. Spot Runner, Inc., 655 F.3d 1039,
1059 (9th Cir. 2011), abrogated on other grounds by Lorenzo v. SEC, 139 S. Ct. 1094 (2019).



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("All contracts which have for their object, directly or indirectly, to exempt anyone from

responsibility for his own fraud, or willful injury to the person or property of another, or

violation of law, whether willful or negligent, are against the policy of the law."); see also, e.g.,

Manderville v. PCG&S Grotip, Inc., 146 Cal. App. 4th 1486, 1500 (2007) ("It is well-established

in California that aparty to acontract is precluded under section 1668 from contracting away his

or her liability for fraud or deceit based on intentional misrepresentation.").

        The motion to dismiss is granted with respect to the first and fourth categories of conduct,

and denied with respect to the second and third categories of conduct.

       Breach of contract. The elements for breach of contract under California law are: (i) the

existence of acontract; (ii) the plaintiff's performance or excuse for nonperformance of its side

of the agreement; (iii) the defendant's breach; and (iv) resulting damage to the plaintiff. See

Buschman v. Anesthesia Bus. Consultants LLC, 42 F. Supp. 3d 1244, 1250 (N.D. Cal. 2014).

       As discussed in Section IV, the contract between Facebook and its users does not merely

consist of the SRR, as the plaintiffs contend. It also includes the Data Use Policy. This makes it

somewhat challenging to discern whether the plaintiffs have adequately alleged claims for breach

of contract, because the plaintiffs' arguments are largely based on the assumption that the Data

Use Policy is not part of the contract. Nonetheless, once it's understood that the Policy is part of

the contract, it becomes clear that the second, third, and fourth categories of alleged wrongdoing

addressed in this ruling give rise to claims for breach of contract. See Johnson v. City cf Shelby,

574 U.S. 10, 10 (2014) (per curiam) ("Federal pleading rules ...do not countenance dismissal

of acomplaint for imperfect statement of the legal theory supporting the claim asserted.");

Skinner v. Switzer, 562 U.S. 521, 530 (2011) ("[U]nder the Federal Rules of Civil Procedure,

acomplaint need not pin plaintiffs claim for relief to aprecise legal theory."). The SRR states:

"You own all of the content and information you post on Facebook, and you can control how it is

shared through your privacy and application settings." Appendix A at 2. The plaintiffs have

adequately alleged that Facebook breached this promise when it disclosed user information to

whitelisted apps and business partners without permission, and without giving the plaintiffs the



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ability to prevent this disclosure. In addition, for the allegations that Facebook allowed

companies to misuse the information, the complaint sufficiently alleges that Facebook did not

fulfill its promise in the Data Use Policy that apps would be allowed to use information "only in

connection with" that user's friends. Complaint If 569; Appendix B at 10.

       In contrast, the plaintiffs have not adequately alleged abreach of contract based on the

first category of wrongdoing: allowing standard app developers to obtain user information

through users' friends. As discussed in Section IV, Facebook began disclosing this practice in its

contractual language starting in roughly 2009, which means that this conduct does not give rise

to abreach of contract claim for users who established their Facebook accounts after that time.

For users who established their accounts beforehand, the complaint plausibly alleges that the

practice wasn't disclosed. But simple failure to disclose apractice doesn't constitute abreach of

contract. And although it's certainly conceivable that the practice violated provisions of

Facebook's earlier contractual language, the plaintiffs do not identify or rely on any such

language in their complaint. Therefore, for all plaintiffs, the complaint does not articulate a

breach of contract theory based on the disclosure of sensitive user information to standard app

developers, even though the complaint alleges that some users didn't consent to it.

       Facebook argues that the plaintiffs have not adequately alleged that they were damaged

by any breaches. But that is wrong. The plaintiffs can seek damages for "the detriment caused by

the breach." Stephens v. City cf Vista, 994 F.2d 650, 657 (9th Cir. 1993). As discussed in

Sections II and III, the detriment the plaintiffs suffered was an invasion of their privacy. Perhaps

some of the individual plaintiffs suffered aharm from this privacy invasion that can be measured

by compensatory damages. See, e.g., Windeler v. Scheers Jewelers, 8Cal. App. 3d 844, 850-52

(Cal. Ct. App. 1970); Leav v. Cooney, 214 Cal. App. 2d 496, 501-02 (Cal. Ct. App. 1963).

Perhaps others did not, but under California law even those plaintiffs may recover nominal

damages. Judicial Council of California Civil Jury Instruction 360; In re Facebook Privacy

Litigation, 192 F. Supp. 3d 1053, 1062 (N.D. Cal. 2016).

       The motion to dismiss this claim is granted with respect to the first category of



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wrongdoing. Because it is possible that the complaint could be amended to allege abreach of

contract claim for plaintiffs who established their accounts before Facebook disclosed the

practice, dismissal is with leave to amend for these plaintiffs only. The motion to dismiss this

claim is denied in all other respects.

        Breach of the implied covenant of good faith and fair dealing. In addition to explicit

promises, every contract includes an implicit promise not to take an action that would deprive the

other contracting party of the benefits of their agreement. See Rockridge Trust v. Wells Fargo,

N.A., 985 F. Supp. 2d 1110, 1156 (N.D. Cal. 2013). This obligation is known as the "implied

covenant of good faith and fair dealing," and it protects the parties' "reasonable expectations ...

based on their mutual promises." Digerati Holdings, LLC v. Young Money Entertainment, LLC,

194 Cal. App. 4th 873, 885 (2011). To state aclaim for breach of this implied promise, "a

plaintiff must identify the specific contractual provision that was frustrated" by the defendant's

conduct. Perez v. Wells Fargo Bank, N.A., 2011 WL 3809808, at *18 (N.D. Cal. Aug. 29, 2011).

This doctrine cannot, however, "impose substantive duties or limits on the contracting parties

beyond those incorporated in the specific terms of their agreement." Guz v. Bechtel National

Inc., 24 Cal. 4th 317, 350 (2000).

        Just as they've stated claims for breach of contract with respect to the second, third, and

fourth categories of conduct, the plaintiffs have stated claims for breach of the implied covenant

of good faith and fair dealing for that conduct. Indeed, the case for breach of the implied

covenant is stronger, because even if Facebook were, at alater stage in the litigation, able to

identify atechnical argument for why it did not quite violate the literal terms of its contract with

its users, it would be difficult to conclude (if the factual allegations in the complaint are true) that

Facebook did not frustrate the purposes of the contract, and intentionally so. But for the first

category of conduct, the plaintiffs have not offered sufficient information about the earlier

contractual language to assess whether the conduct frustrated the purpose of Facebook's contract

with its users.

        Accordingly, with respect to the first category of conduct, this claim for breach of the



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implied covenant is, along with the parallel claim for breach of contract, dismissed. Dismissal is

with leave to amend for plaintiffs who signed up before the information-sharing practice was

included in the contractual language, and without leave to amend for those who signed up after it

was disclosed. 22

       Unjust Enrichment. The plaintiffs also state aclaim for unjust enrichment. Specifically,

they allege that even if they have no remedy for breach of contract, they should be able to

recover amounts that Facebook gained by improperly disseminating their information. The

plaintiffs are permitted to plead claims for breach of contract and unjust enrichment in the

alternative. Bruton v. Gerber Production Co., 703 F. App'x 468 (9th Cir. 2017); In re Vizio, Inc.,

Consumer Privacy Litigation, 238 F. Supp. 3d 1204, 1233 (C.D. Cal. 2017); Hai-ford Casualty

Insurance Co. v. IR. Marketing., L.L.C., 61 Cal. 4th 988, 998 (2015). And even if the plaintiffs

suffered no economic loss from the disclosure of their information, they may proceed at this

stage on aclaim for unjust enrichment to recover the gains that Facebook realized from its

allegedly improper conduct. See Hadley v. Kellogg Sales Co., 324 F. Supp. 3d 1084, 1113 (N.D.

Cal. 2018). 23 The motion to dismiss this claim is granted as to the plaintiffs who consented as

discussed in Section IV, but otherwise denied.

       Right of Publicity. California's common law right of publicity makes unlawful the

appropriation of someone's name or likeness without his consent when it both (1) injures that

person and (2) is used to the defendant's advantage. See Perkins v. LinkedIn Coq)., 53 F. Supp.

3d 1190, 1214 (N.D. Cal. 2014).

       Facebook's motion to dismiss this claim is granted. The allegations about how Facebook

shared the plaintiffs' information with third parties is categorically different from the type of



22 The Court will likely stay, along with the other non-prioritized claims, the claims that this
ruling dismisses with leave to amend, although the Court will discuss this matter with the parties
at the next case management conference.
23 The complaint, in articulating the unjust enrichment claim, frequently uses the term "quantum

meruit." It appears that the complaint uses this term incorrectly; no true theory of quantum
meruit recovery has been articulated by the plaintiffs. See Maglica v. Maglica, 66 Cal. App. 4th
442, 449 (Cal. Ct. App. 1998) (describing quantum meruit as recovery of "the reasonable value
of the services rendered provided they were of direct benefit to the defendant.").



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conduct made unlawful by this tort, such as using aplaintiff's face or name to promote aproduct

or service. See Comedy 11I Productions., Inc. v. Gat); Sadertip, Inc., 25 Cal. 4th 387, 399 (2001)

("The right of publicity, like copyright, protects aform of intellectual property that society

deems to have some social utility. Often considerable money, time and energy are needed to

develop one's prominence in aparticular field. Years of labor may be required before one's skill,

reputation, notoriety or virtues are sufficiently developed to permit an economic return through

some medium of commercial promotion." (internal quotations omitted)); see also Abdul-Jabbar

v. General Motors Cotp., 85 F.3d 407, 415 (9th Cir. 1996); cf. Perkins v. Linkedln Cotp., 53 F.

Supp. 3d 1190, 1217 (N.D. Cal. 2014). Because the Court cannot conceive of away that the

plaintiffs could successfully allege this claim, dismissal is without leave to amend.

       California's Unfair Competition Law. California's Unfair Competition Law ("UCL")

prohibits business practices that are unlawful, unfair, or fraudulent. See Cal. Bus. & Prof. Code

§17200, et seq. To have standing under California law to pursue this claim (a standard that is

different from Article III standing), the plaintiffs must show that they "lost money or property"

because of Facebook's conduct. See Cal. Bus. & Prof. Code §17204; see also Kwikset Coq). v.

Stiperior Court, 51 Cal. 4th 310, 317 (2011). The plaintiffs' UCL claim fails because they have

not adequately alleged lost money or property. As discussed in Section III, the plaintiffs' theory

of economic loss is purely hypothetical. It's true, as discussed in connection with the unjust

enrichment claim, that Facebook may have gained money through its sharing or use of the

plaintiffs' information, but that's different from saying the plaintiffs lost money. Further, the

plaintiffs here do not allege that they paid any premiums (or any money at all) to Facebook to

potentially give rise to standing under California law. Compare In re Anthem, Inc. Data Breach

Litigation, 2016 WL 3029783, at *30 (N.D. Cal. May 27, 2016). This claim is also dismissed

without leave to amend.

                                            VI. CONCLUSION

       The motion to dismiss is granted in part and denied in part. The deadline for Facebook to

file an answer to the complaint, along with all other scheduling matters, will be discussed at a



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case management conference on October 1, 2019 at 2:00 p.m. The parties should file ajoint case

management statement by September 24, 2019.


       IT IS SO ORDERED.



Dated: September 9, 2019


                                           VINCE CHHABRIA
                                           United States District Judge




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                    Appendix A




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     This agreement was written in English (US). To the extent any translated
     version of this agreement conflicts with the English version, the English
     version controls. Please note that Section 16 contains certain changes to
     the general terms for users outside the United States.

     Date of Last Revision: June 8, 2012.


    Statement of Rights and Responsibilities



     This Statement of Rights and Responsibilities ("Statement," "Terms," or
     "SRR") derives from the Facebook Principles, and is our terms of service
     that governs our relationship with users and others who interact with
     Facebook. By using or accessing Facebook, you agree to this Statement, as
     updated from time to time in accordance with Section 14 below.
     Additionally, you will find resources at the end of this document that help
     you understand how Facebook works.

       1. Privacy

           Your privacy is very important to us. We designed our Data Use
           Policy to make important disclosures about how you can use
           Facebook to share with others and how we collect and can use your
           content and information. We encourage you to read the Data Use
           Policy, and to use it to help you make informed decisions.


       2. Sharing Your Content and Information

           You own all of the content and information you post on Facebook,
           and you can control how it is shared through your privacy and
           application settings. In addition:
              1. For content that is covered by intellectual property rights, like
                  photos and videos (IP content), you specifically give us the
                  following permission, subject to your privacy and application
                  settings: you grant us anon-exclusive, transferable, sub-
                 licensable, royalty-free, worldwide license to use any IP
                  content that you post on or in connection with Facebook (IP
                  License). This IP License ends when you delete your IP
                  content or your account unless your content has been shared
                  with others, and they have not deleted it.
             2. When you delete IP content, it is deleted in amanner similar to
                  emptying the recycle bin on acomputer. However, you
                  understand that removed content may persist in backup copies
                  for areasonable period of time (but will not be available to
                  others).
             3. When you use an application, the application may ask for your
                  permission to access your content and information as well as
                  content and information that others have shared with you. We
                  require applications to respect your privacy, and your
                  agreement with that application will control how the
                  application can use, store, and transfer that content and
                  information. (To learn more about Platform, including how
                  you can control what information other people may share with
                  applications, read our Data Use Policy and Platform Page.)
             4. When you publish content or information using the Public
                  setting, it means that you are allowing everyone, including
                  people off of Facebook, to access and use that information,

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               and to associate it with you (i.e., your name and profile
               picture).
            5. We always appreciate your feedback or other suggestions
               about Facebook, but you understand that we may use them
               without any obligation to compensate you for them (just as
               you have no obligation to offer them).


       3. Safety

          We do our best to keep Facebook safe, but we cannot guarantee it.
          We need your help to keep Facebook safe, which includes the
          following commitments by you:
             1. You will not post unauthorized commercial communications
                (such as spam) on Facebook.
            2. You will not collect users' content or information, or otherwise
                access Facebook, using automated means (such as harvesting
                bots, robots, spiders, or scrapers) without our prior
                permission.
            3. You will not engage in unlawful multi-level marketing, such as
                apyramid scheme, on Facebook.
            4. You will not upload viruses or other malicious code.
            5. You will not solicit login information or access an account
                belonging to someone else.
            6. You will not bully, intimidate, or harass any user.
            7. You will not post content that: is hate speech, threatening, or
                pornographic; incites violence; or contains nudity or graphic
                or gratuitous violence.
            8. You will not develop or operate athird-party application
                containing alcohol-related, dating or other mature content
                (including advertisements) without appropriate age-based
                restrictions.
            9. You will follow our Promotions Guidelines and all applicable
                laws if you publicize or offer any contest, giveaway, or
                sweepstakes ("promotion") on Facebook.
           10. You will not use Facebook to do anything unlawful,
                misleading, malicious, or discriminatory.
           11. You will not do anything that could disable, overburden, or
                impair the proper working or appearance of Facebook, such as
                adenial of service attack or interference with page rendering
                or other Facebook functionality.
           12. You will not facilitate or encourage any violations of this
                 Statement or our policies.


       4. Registration and Account Security

          Facebook users provide their real names and information, and we
          need your help to keep it that way. Here are some commitments you
          make to us relating to registering and maintaining the security of
          your account:
            1. You will not provide any false personal information on
                Facebook, or create an account for anyone other than yourself
                without permission.
            2. You will not create more than one personal account.
            3. If we disable your account, you will not create another one
                without our permission.
            4. You will not use your personal timeline for your own
                commercial gain (such as selling your status update to an
                advertiser).

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            5. You will not use Facebook if you are under 13.
            6. You will not use Facebook if you are aconvicted sex offender.
            7. You will keep your contact information accurate and up-to-
               date.
            8. You will not share your password (or in the case of developers,
                your secret key), let anyone else access your account, or do
                anything else that might jeopardize the security of your
                account.
            9. You will not transfer your account (including any Page or
                application you administer) to anyone without first getting our
                written permission.
           10. If you select ausername or similar identifier for your account
                or Page, we reserve the right to remove or reclaim it if we
                believe it is appropriate (such as when atrademark owner
                complains about ausername that does not closely relate to a
                user's actual name).


       5. Protecting Other People's Rights

          We respect other people's rights, and expect you to do the same.
            1. You will not post content or take any action on Facebook that
                infringes or violates someone else's rights or otherwise
                violates the law.
           2. We can remove any content or information you post on
                Facebook if we believe that it violates this Statement or our
                policies.
            3. We provide you with tools to help you protect your intellectual
                property rights. To learn more, visit our How to Report
                Claims of Intellectual Property Infringement page.
           4. If we remove your content for infringing someone else's
                copyright, and you believe we removed it by mistake, we will
                provide you with an opportunity to appeal.
            5. If you repeatedly infringe other people's intellectual property
                rights, we will disable your account when appropriate.
            6. You will not use our copyrights or trademarks (including
                Facebook, the Facebook and FLogos, FB, Face, Poke, Book
                and Wall), or any confusingly similar marks, except as
                expressly permitted by our Brand Usage Guidelines or with
                our prior written permission.
            7. If you collect information from users, you will: obtain their
                consent, make it clear you (and not Facebook) are the one
                collecting their information, and post aprivacy policy
                explaining what information you collect and how you will use
                it.
            8. You will not post anyone's identification documents or
                sensitive financial information on Facebook.
            9. You will not tag users or send email invitations to non-users
                without their consent. Facebook offers social reporting tools
                to enable users to provide feedback about tagging.


       6. Mobile and Other Devices

            1. We currently provide our mobile services for free, but please
                be aware that your carrier's normal rates and fees, such as text
                messaging fees, will still apply.
            2. In the event you change or deactivate your mobile telephone
                number, you will update your account information on
                Facebook within 48 hours to ensure that your messages are

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               not sent to the person who acquires your old number.
            3. You provide consent and all rights necessary to enable users to
               sync (including through an application) their devices with any
               information that is visible to them on Facebook.


       7. Payments

          If you make apayment on Facebook or use Facebook Credits, you
          agree to our Payments Terms.


       8. Special Provisions Applicable to Social Plugins

          If you include our Social Plugins, such as the Share or Like buttons
          on your website, the following additional terms apply to you:
             1. We give you permission to use Facebook's Social Plugins so
                that users can post links or content from your website on
                Facebook.
             2. You give us permission to use and allow others to use such
                links and content on Facebook.
             3. You will not place aSocial Plugin on any page containing
                content that would violate this Statement if posted on
                Facebook.


       9. Special Provisions Applicable to Developers/Operators of
          Applications and Websites

          If you are adeveloper or operator of aPlatform application or
          website, the following additional terms apply to you:
             1. You are responsible for your application and its content and all
                 uses you make of Platform. This includes ensuring your
                 application or use of Platform meets our Facebook Platform
                 Policies and our Advertising Guidelines.
             2. Your access to and use of data you receive from Facebook,
                 will be limited as follows:
                    1. You will only request data you need to operate your
                        application.
                    2. You will have aprivacy policy that tells users what user
                        data you are going to use and how you will use, display,
                        share, or transfer that data and you will include your
                        privacy policy URL in the Developer Application.
                    3. You will not use, display, share, or transfer auser's data
                        in amanner inconsistent with your privacy policy.
                    4. You will delete all data you receive from us concerning
                        auser if the user asks you to do so, and will provide a
                        mechanism for users to make such arequest.
                    5. You will not include data you receive from us
                        concerning auser in any advertising creative.
                    6. You will not directly or indirectly transfer any data you
                        receive from us to (or use such data in connection with)
                        any ad network, ad exchange, data broker, or other
                        advertising related toolset, even if auser consents to
                        that transfer or use.
                    7. You will not sell user data. If you are acquired by or
                        merge with athird party, you can continue to use user
                        data within your application, but you cannot transfer
                        user data outside of your application.
                    8. We can require you to delete user data if you use it in a

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                         way that we determine is inconsistent with users'
                         expectations.
                     9. We can limit your access to data.
                    10. You will comply with all other restrictions contained in
                         our Facebook Platform Policies.
            3.   You will not give us information that you independently
                  collect from auser or auser's content without that user's
                  consent.
            4.   You will make it easy for users to remove or disconnect from
                 your application.
            5.   You will make it easy for users to contact you. We can also
                  share your email address with users and others claiming that
                 you have infringed or otherwise violated their rights.
            6.   You will provide customer support for your application.
            7.   You will not show third party ads or web search boxes on
                 www.facebook.com.
            8.   We give you all rights necessary to use the code, APIs, data,
                  and tools you receive from us.
            9.   You will not sell, transfer, or sublicense our code, APIs, or
                 tools to anyone.
           10.   You will not misrepresent your relationship with Facebook to
                  others.
           11.   You may use the logos we make available to developers or
                  issue apress release or other public statement so long as you
                  follow our Facebook Platform Policies.
           12.   We can issue apress release describing our relationship with
                 you.
           13.   You will comply with all applicable laws. In particular you
                 will (if applicable):
                     1. have apolicy for removing infringing content and
                         terminating repeat infringers that complies with the
                         Digital Millennium Copyright Act.
                     2. comply with the Video Privacy Protection Act (VPPA),
                         and obtain any opt-in consent necessary from users so
                         that user data subject to the VPPA may be shared on
                         Facebook. You represent that any disclosure to us will
                         not be incidental to the ordinary course of your
                         business.
           14.   We do not guarantee that Platform will always be free.
           15.   You give us all rights necessary to enable your application to
                 work with Facebook, including the right to incorporate
                  content and information you provide to us into streams,
                 timelines, and user action stories.
           16.   You give us the right to link to or frame your application, and
                 place content, including ads, around your application.
           17.   We can analyze your application, content, and data for any
                 purpose, including commercial (such as for targeting the
                  delivery of advertisements and indexing content for search).
           18.   To ensure your application is safe for users, we can audit it.
           19.   We can create applications that offer similar features and
                  services to, or otherwise compete with, your application.


      10. About Advertisements and Other Commercial Content Served or
          Enhanced by Facebook

          Our goal is to deliver ads and commercial content that are valuable
          to our users and advertisers. In order to help us do that, you agree to
          the following:
             1. You can use your privacy settings to limit how your name and

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               profile picture may be associated with commercial, sponsored,
               or related content (such as abrand you like) served or
               enhanced by us. You give us permission to use your name and
               profile picture in connection with that content, subject to the
               limits you place.
            2. We do not give your content or information to advertisers
               without your consent.
            3. You understand that we may not always identify paid services
               and communications as such.


      11. Special Provisions Applicable to Advertisers

          You can target your desired audience by buying ads on Facebook or
          our publisher network. The following additional terms apply to you
          if you place an order through our online advertising portal (Order):
              1. When you place an Order, you will tell us the type of
                 advertising you want to buy, the amount you want to spend,
                 and your bid. If we accept your Order, we will deliver your
                 ads as inventory becomes available. When serving your ad,
                 we do our best to deliver the ads to the audience you specify,
                 although we cannot guarantee in every instance that your ad
                 will reach its intended target.
             2. In instances where we believe doing so will enhance the
                 effectiveness of your advertising campaign, we may broaden
                 the targeting criteria you specify.
             3. You will pay for your Orders in accordance with our Payments
                 Terms. The amount you owe will be calculated based on our
                 tracking mechanisms.
             4. Your ads will comply with our Advertising Guidelines.
             5. We will determine the size, placement, and positioning of your
                 ads.
             6. We do not guarantee the activity that your ads will receive,
                 such as the number of clicks your ads will get.
             7. We cannot control how clicks are generated on your ads. We
                 have systems that attempt to detect and filter certain click
                 activity, but we are not responsible for click fraud,
                 technological issues, or other potentially invalid click activity
                 that may affect the cost of running ads.
             8. You can cancel your Order at any time through our online
                 portal, but it may take up to 24 hours before the ad stops
                 running. You are responsible for paying for all ads that run.
             9. Our license to run your ad will end when we have completed
                 your Order. You understand, however, that if users have
                 interacted with your ad, your ad may remain until the users
                 delete it.
            10. We can use your ads and related content and information for
                 marketing or promotional purposes.
            11. You will not issue any press release or make public statements
                 about your relationship with Facebook without our prior
                 written permission.
            12. We may reject or remove any ad for any reason.
            13. If you are placing ads on someone else's behalf, you must have
                 permission to place those ads, including the following:
                    1. You warrant that you have the legal authority to bind the
                        advertiser to this Statement.
                    2. You agree that if the advertiser you represent violates
                        this Statement, we may hold you responsible for that
                        violation.


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      12. Special Provisions Applicable to Pages

          If you create or administer aPage on Facebook, you agree to our
          Pages Terms.


      13. Special Provisions Applicable to Software

            1. If you download our software, such as astand-alone software
                product or abrowser plugin, you agree that from time to time,
                the software may download upgrades, updates and additional
                features from us in order to improve, enhance and further
                develop the software.
            2. You will not modify, create derivative works of, decompile or
                otherwise attempt to extract source code from us, unless you
                are expressly permitted to do so under an open source license
                or we give you express written permission.


      14. Amendments

            1. We can change this Statement if we provide you notice (by
                posting the change on the Facebook Site Governance Page)
                and an opportunity to comment. To get notice of any future
                changes to this Statement, visit our Facebook Site Governance
                Page and "like" the Page.
            2. For changes to sections 7, 8, 9, and 11 (sections relating to
                payments, application developers, website operators, and
                advertisers), we will give you aminimum of three days notice.
                For all other changes we will give you aminimum of seven
                days notice. Comments to proposed changes will be made on
                the Facebook Site Governance Page.
            3. If more than 7,000 users post asubstantive comment on a
                particular proposed change, we will also give you the
                opportunity to participate in avote in which you will be
                provided alternatives. The vote shall be binding on us if more
                than 30% of all active registered users as of the date of the
                notice vote.
            4. If we make changes to policies referenced in or incorporated
                by this Statement, we may provide notice on the Site
                Governance Page.
            5. We can make changes for legal or administrative reasons, or to
                correct an inaccurate statement, upon notice without
                opportunity to comment.
            6. Your continued use of Facebook following changes to our
                terms constitutes your acceptance of our amended terms.


      15. Termination

          If you violate the letter or spirit of this Statement, or otherwise
          create risk or possible legal exposure for us, we can stop providing
          all or part of Facebook to you. We will notify you by email or at the
          next time you attempt to access your account. You may also delete
          your account or disable your application at any time. In all such
          cases, this Statement shall terminate, but the following provisions
          will still apply: 2.2, 2.4, 3-5, 8.2, 9.1-9.3, 9.9, 9.10, 9.13, 9.15, 9.18,
          10.3, 11.2, 11.5, 11.6, 11.9, 11.12, 11.13, and 15-19.



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      16. Disputes

            1. You will resolve any claim, cause of action or dispute (claim)
                you have with us arising out of or relating to this Statement or
                Facebook exclusively in astate or federal court located in
                Santa Clara County. The laws of the State of California will
                govern this Statement, as well as any claim that might arise
                between you and us, without regard to conflict of law
                provisions. You agree to submit to the personal jurisdiction of
                the courts located in Santa Clara County, California for the
                purpose of litigating all such claims.
            2. If anyone brings aclaim against us related to your actions,
                content or information on Facebook, you will indemnify and
                hold us harmless from and against all damages, losses, and
                expenses of any kind (including reasonable legal fees and
                costs) related to such claim. Although we provide rules for
                user conduct, we do not control or direct users' actions on
                Facebook and are not responsible for the content or
                information users transmit or share on Facebook. We are not
                responsible for any offensive, inappropriate, obscene,
                unlawful or otherwise objectionable content or information
                you may encounter on Facebook. We are not responsible for
                the conduct, whether online or offline, or any user of
                Facebook.
            3. WE TRY TO KEEP FACEBOOK UP, BUG-FREE, AND
                SAFE, BUT YOU USE IT AT YOUR OWN RISK. WE ARE
                PROVIDING FACEBOOK AS IS WITHOUT ANY
                EXPRESS OR IMPLIED WARRANTIES INCLUDING,
                BUT NOT LIMITED TO, IMPLIED WARRANTIES OF
                MERCHANTABILITY, FITNESS FOR A PARTICULAR
                PURPOSE, AND NON-INFRINGEMENT. WE DO NOT
                GUARANTEE THAT FACEBOOK WILL ALWAYS BE
                SAFE, SECURE OR ERROR-FREE OR THAT FACEBOOK
                WILL ALWAYS FUNCTION WITHOUT DISRUPTIONS,
                DELAYS OR IMPERFECTIONS. FACEBOOK IS NOT
                RESPONSIBLE FOR THE ACTIONS, CONTENT,
                INFORMATION, OR DATA OF THIRD PARTIES, AND
                YOU RELEASE US, OUR DIRECTORS, OFFICERS,
                EMPLOYEES, AND AGENTS FROM ANY CLAIMS AND
                DAMAGES, KNOWN AND UNKNOWN, ARISING OUT
                OF OR IN ANY WAY CONNECTED WITH ANY CLAIM
                YOU HAVE AGAINST ANY SUCH THIRD PARTIES. IF
                YOU ARE A CALIFORNIA RESIDENT, YOU WAIVE
                CALIFORNIA CIVIL CODE §1542, WHICH SAYS: A
                GENERAL RELEASE DOES NOT EXTEND TO CLAIMS
                WHICH THE CREDITOR DOES NOT KNOW OR
                SUSPECT TO EXIST IN HIS FAVOR AT THE TIME OF
                EXECUTING THE RELEASE, WHICH IF KNOWN BY
                HIM MUST HAVE MATERIALLY AFFECTED HIS
                SETTLEMENT WITH THE DEBTOR. WE WILL NOT BE
                LIABLE TO YOU FOR ANY LOST PROFITS OR OTHER
                CONSEQUENTIAL, SPECIAL, INDIRECT, OR
                INCIDENTAL DAMAGES ARISING OUT OF OR IN
                CONNECTION WITH THIS STATEMENT OR
                FACEBOOK, EVEN IF WE HAVE BEEN ADVISED OF
                THE POSSIBILITY OF SUCH DAMAGES. OUR
                AGGREGATE LIABILITY ARISING OUT OF THIS
                STATEMENT OR FACEBOOK WILL NOT EXCEED THE
                GREATER OF ONE HUNDRED DOLLARS ($100) OR
                THE AMOUNT YOU HAVE PAID US IN THE PAST

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                TWELVE MONTHS. APPLICABLE LAW MAY NOT
                ALLOW THE LIMITATION OR EXCLUSION OF
                LIABILITY OR INCIDENTAL OR CONSEQUENTIAL
                DAMAGES, SO THE ABOVE LIMITATION OR
                EXCLUSION MAY NOT APPLY TO YOU. IN SUCH
                CASES, FACEBOOK'S LIABILITY WILL BE LIMITED
                TO THE FULLEST EXTENT PERMITTED BY
                APPLICABLE LAW.


      17. Special Provisions Applicable to Users Outside the United States

          We strive to create aglobal community with consistent standards for
          everyone, but we also strive to respect local laws. The following
          provisions apply to users and non-users who interact with Facebook
          outside the United States:
             1. You consent to having your personal data transferred to and
                processed in the United States.
            2. If you are located in acountry embargoed by the United States,
                 or are on the U.S. Treasury Department's list of Specially
                 Designated Nationals you will not engage in commercial
                 activities on Facebook (such as advertising or payments) or
                 operate aPlatform application or website.
             3. Certain specific terms that apply only for German users are
                 available here.

      18. Definitions

            1. By "Facebook" we mean the features and services we make
                available, including through (a) our website at
                www.facebook.com and any other Facebook branded or co-
               branded websites (including sub-domains, international
                versions, widgets, and mobile versions); (b) our Platform; (c)
                social plugins such as the Like button, the Share button and
                other similar offerings and (d) other media, software (such as
                atoolbar), devices, or networks now existing or later
                developed.
            2. By "Platform" we mean aset of APIs and services (such as
                content) that enable others, including application developers
                and website operators, to retrieve data from Facebook or
                provide data to us.
            3. By "information" we mean facts and other information about
                you, including actions taken by users and non-users who
                interact with Facebook.
            4. By "content" we mean anything you or other users post on
                Facebook that would not be included in the definition of
                information.
            5. By "data" or "user data" or "user's data" we mean any data,
                including auser's content or information that you or third
                parties can retrieve from Facebook or provide to Facebook
                through Platform.
            6. By "post" we mean post on Facebook or otherwise make
                available by using Facebook.
            7. By "use" we mean use, copy, publicly perform or display,
                distribute, modify, translate, and create derivative works of.
            8. By "active registered user" we mean auser who has logged
                into Facebook at least once in the previous 30 days.
            9. By "application" we mean any application or website that uses
                or accesses Platform, as well as anything else that receives or
                has received data from us. If you no longer access Platform

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                  but have not deleted all data from us, the term application will
                  apply until you delete the data.


      19. Other

            1. If you are aresident of or have your principal place of business
                in the US or Canada, this Statement is an agreement between
                you and Facebook, Inc. Otherwise, this Statement is an
                agreement between you and Facebook Ireland Limited.
                References to "us," "we," and "our" mean either Facebook,
                Inc. or Facebook Ireland Limited, as appropriate.
            2. This Statement makes up the entire agreement between the
                parties regarding Facebook, and supersedes any prior
                agreements.
            3. If any portion of this Statement is found to be unenforceable,
                the remaining portion will remain in full force and effect.
            4. If we fail to enforce any of this Statement, it will not be
                considered awaiver.
            5. Any amendment to or waiver of this Statement must be made
                in writing and signed by us.
            6. You will not transfer any of your rights or obligations under
                this Statement to anyone else without our consent.
            7. All of our rights and obligations under this Statement are
                freely assignable by us in connection with amerger,
                acquisition, or sale of assets, or by operation of law or
                otherwise.
            8. Nothing in this Statement shall prevent us from complying
                with the law.
            9. This Statement does not confer any third party beneficiary
                rights.
           10. We reserve all rights not expressly granted to you.
           11. You will comply with all applicable laws when using or
                accessing Facebook.


     You may also want to review the following documents, which provide
     additional information about your use of Facebook:

       • Data Use Policy: The Data Use Policy contains information to help
          you understand how we collect and use information.
       • Payment Terms: These additional terms apply to all payments made
          on or through Facebook.
       • Platform Page: This page helps you better understand what happens
          when you add athird-party application or use Facebook Connect,
          including how they may access and use your data.
       • Facebook Platform Policies: These guidelines outline the policies
          that apply to applications, including Connect sites.
       • Advertising Guidelines: These guidelines outline the policies that
          apply to advertisements placed on Facebook.
       • Promotions Guidelines: These guidelines outline the policies that
          apply if you offer contests, sweepstakes, and other types of
          promotions on Facebook.
       • Brand Permissions Center: These guidelines outline the policies that
          apply to use of Facebook trademarks, logos and screenshots.
       • How to Report Claims of Intellectual Property Infringement
       • Pages Terms: These guidelines apply to your use of Facebook Pages.
       • Community Standards: These guidelines outline our expectations
          regarding the content you post to Facebook and your activity on
          Facebook.

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     To access the Statement of Rights and Responsibilities in several different
     languages, change the language setting for your Facebook session by
     clicking on the language link in the left corner of most pages. If the
     Statement is not available in the language you select, we will default to the
     English version.




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                     Appendix B




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Data Use Policy


Date of Last Revision: June 8, 2012


Information we receive and how it is used

     • Information we receive about you

     • Public information

     • Usernames and User IDs

     • How we use the information we receive

     • Deleting and deactivating your account

Sharing and finding you on Facebook

     • Control each time you post

     • Control over your timeline

     • Finding you on Facebook

     • Access on phones and other devices

     • Activity log

     • What your friends share about you

     • About Pages

Other websites and applications

     • About Facebook Platform

     • Controlling what information you share with applications

     • Controlling what is shared when the people you share with use applications

     • Logging in to another site using Facebook

     • About social plugins

     • About instant personalization

     • Public search engines

How advertising and Sponsored Stories work

     • Personalized ads

     • Ads + social context

     • Sponsored stories

     • Facebook content

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Cookies, pixels and other similar technologies
Some other things you need to know

I. Information we receive and how it is used

Information we receive about you

We receive anumber of different types of information about you, including:

Your information
Your information is the information that's required when you sign up for the site, as well as the information you choose
to share.

   • Registration information: When you sign up for Facebook, you are required to provide your name, email
      address, birthday, and gender.

   • Information you choose to share: Your information also includes the information you choose to share on
      Facebook, such as when you post astatus update, upload aphoto, or comment on afriend's story.

It also includes the information you choose to share when you take an action, such as when you add afriend, like aPage
 or awebsite, add aplace to your story, find friends using our contact importers, or indicate you are in arelationship.

Your name, profile pictures, cover photos, gender, networks, username and User ID are treated just like information
you choose to make public.
Your birthday allows us to do things like show you age-appropriate content and advertisements.

Information others share about you
 We receive information about you from your friends and others, such as when they upload your contact information,
post aphoto of you, tag you in aphoto or status update, or at alocation, or add you to agroup.

When people use Facebook, they may store and share information about you and others that they have, such as when
they upload and manage their invites and contacts.

Other information we receive about you
We also receive other types of information about you:

   • We receive data about you whenever you interact with Facebook, such as when you look at another person's
     timeline, send or receive amessage, search for afriend or aPage, click on, view or otherwise interact with things,
     use aFacebook mobile app, or purchase Facebook Credits or make other purchases through Facebook.
   • When you post things like photos or videos on Facebook, we may receive additional related data (or metadata),
     such as the time, date, and place you took the photo or video.
   • We receive data from the computer, mobile phone or other device you use to access Facebook, including when
     multiple users log in from the same device. This may include your IP address and other information about things
     like your internet service, location, the type (including identifiers) of browser you use, or the pages you visit. For
     example, we may get your GPS or other location information so we can tell you if any of your friends are nearby.
   • We receive data whenever you visit agame, application, or website that uses Facebook Platform or visit asite
     with aFacebook feature (such as asocial plugin), sometimes through cookies. This may include the date and time
     you visit the site; the web address, or URL, you're on; technical information about the IP address, browser and
     the operating system you use; and, if you are logged in to Facebook, your User ID.
   • Sometimes we get data from our advertising partners, customers and other third parties that helps us (or them)
     deliver ads, understand online activity, and generally make Facebook better. For example, an advertiser may tell
     us information about you (like how you responded to an ad on Facebook or on another site) in order to measure
     the effectiveness of -and improve the quality of -ads.



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We also put together data from the information we already have about you and your friends. For example, we may put
together data about you to determine which friends we should show you in your News Feed or suggest you tag in the
photos you post. We may put together your current city with GPS and other location information we have about you to,
for example, tell you and your friends about people or events nearby, or offer deals to you that you might be interested
in. We may also put together data about you to serve you ads that might be more relevant to you.

When we get your GPS location, we put it together with other location information we have about you (like your
current city). But we only keep it until it is no longer useful to provide you services, like keeping your last GPS
coordinates to send you relevant notifications.
We only provide data to our advertising partners or customers after we have removed your name or any other
personally identifying information from it, or have combined it with other people's data in away that it is no longer
associated with you.

Public information

When we use the phrase "public information" (which we sometimes refer to as "Everyone information"), we mean the
information you choose to make public, as well as information that is always publicly available.

Information you choose to make public
 Choosing to make your information public is exactly what it sounds like: anyone, including people off of Facebook,
will be able to see it.

Choosing to make your information public also means that this information:

   • can be associated with you (i.e., your name, profile pictures, cover photos, timeline, User ID, username, etc.) even
      off Facebook;
   • can show up when someone does asearch on Facebook or on apublic search engine;
   • will be accessible to the Facebook-integrated games, applications, and websites you and your friends use; and
   • will be accessible to anyone who uses our APIs such as our Graph API.

Sometimes you will not be able to select an audience when you post something (like when you write on aPage's wall or
comment on anews article that uses our comments plugin). This is because some types of stories are always public
stories. As ageneral rule, you should assume that if you do not see asharing icon, the information will be publicly
available.
When others share information about you, they can also choose to make it public.

Information that is always publicly available
 The types of information listed below are always publicly available, and are treated just like information you decided to
 make public.

   • Name: This helps your friends and family find you. If you are uncomfortable sharing your real name, you can
     always delete your account.

   • Profile Pictures and Cover Photos: These help your friends and family recognize you. If you are uncomfortable
      making any of these photos public, you can always delete it. Unless you delete them, when you add anew profile
      picture or cover photo, the previous photo will remain public in your profile picture or cover photo album.

   • Network: This helps you see whom you will be sharing information with before you choose "Friends and
     Networks" as acustom audience. If you are uncomfortable making your network public, you can leave the
     network.

   • Gender: This allows us to refer to you properly.

   • Username and User ID: These allow you to give out acustom link to your timeline or Page, receive email at
     your Facebook email address, and help make Facebook Platform possible.

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Usernames and User IDs

A Username (or Facebook URL) is acustom link to your timeline that you can give out to people or post on external
websites. Usernames appear in the URL on your timeline. We also use your User ID to identify your Facebook account.

If someone has your Username or User ID, they can use it to access information about you through the facebook.com
 website. For example, if someone has your Username, they can type facebook.com/Username into their browser and
 see your public information as well as anything else you've let them see. Similarly, someone with your Username or
 User ID can access information about you through our APIs, such as our Graph API. Specifically, they can access your
 public information, along with your age range, language and country.

If you do not want your information to be accessible to Platform applications, you can turn off all Platform applications
 from your Privacy Settings. If you turn off Platform you will no longer be able to use any games or other applications
 until you turn Platform back on. For more information about the information that apps receive when you visit them, see
 Other websites and applications.

If you want to see information available about you through our Graph API, just type
https://graph.facebook.com/1User ID or Username]?metadata=1 into your browser.
Your Facebook email address includes your public username like so: usernamegfacebook.com. You can control who
can start amessage thread with you using your "How You Connect" settings. If they include others on that message, the
others can reply too.

How we use the information we receive

We use the information we receive about you in connection with the services and features we provide to you and other
users like your friends, our partners, the advertisers that purchase ads on the site, and the developers that build the
games, applications, and websites you use. For example, we may use the information we receive about you:

   • as part of our efforts to keep Facebook products, services and integrations safe and secure;
   • to protect Facebook's or others' rights or property;
   • to provide you with location features and services, like telling you and your friends when something is going on
      nearby;
   • to measure or understand the effectiveness of ads you and others see, including to deliver relevant ads to you;
   • to make suggestions to you and other users on Facebook, such as: suggesting that your friend use our contact
      importer because you found friends using it, suggesting that another user add you as afriend because the user
      imported the same email address as you did, or suggesting that your friend tag you in apicture they have
      uploaded with you in it; and
   • for internal operations, including troubleshooting, data analysis, testing, research and service improvement.

Granting us this permission not only allows us to provide Facebook as it exists today, but it also allows us to provide
you with innovative features and services we develop in the future that use the information we receive about you in new
ways.

While you are allowing us to use the information we receive about you, you always own all of your information. Your
trust is important to us, which is why we don't share information we receive about you with others unless we have:

   • received your permission;
   • given you notice, such as by telling you about it in this policy; or
   • removed your name or any other personally identifying information from it.

Of course, for information others share about you, they control how it is shared.

We store data for as long as it is necessary to provide products and services to you and others, including those described
above. Typically, information associated with your account will be kept until your account is deleted. For certain
categories of data, we may also tell you about specific data retention practices.

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We are able to suggest that your friend tag you in apicture by scanning and comparing your friend's pictures to
information we've put together from the other photos you've been tagged in. This allows us to make these suggestions.
You can control whether we suggest that another user tag you in aphoto using the "How Tags work" settings. Learn
more at: https://www.facebook.com/help/tag-suggestions

Deleting and deactivating your account

If you want to stop using your account, you can either deactivate or delete it.

Deactivate
 Deactivating your account puts your account on hold. Other users will no longer see your timeline, but we do not delete
 any of your information. Deactivating an account is the same as you telling us not to delete any information because
you might want to reactivate your account at some point in the future. You can deactivate your account at:
 https://www.facebook.com/editaccount.php
Your friends will still see you listed in their list of friends while your account is deactivated.

Deletion
 When you delete an account, it is permanently deleted from Facebook. It typically takes about one month to delete an
 account, but some information may remain in backup copies and logs for up to 90 days. You should only delete your
 account if you are sure you never want to reactivate it. You can delete your account at:
 https://www..facebook.com/help/contact.php?show form=delete account
 Learn more at: https://www.facebook.com/help/?faq=356107851084108

Certain information is needed to provide you with services, so we only delete this information after you delete your
account. Some of the things you do on Facebook aren't stored in your account, like posting to agroup or sending
someone amessage (where your friend may still have amessage you sent, even after you delete your account). That
information remains after you delete your account.

II. Sharing and finding you on Facebook

Control each time you post

Whenever you post content (like astatus update, photo or check-in), you can select aspecific audience, or even
 customize your audience. To do this, simply click on the sharing icon and choose who can see it.

Choose this icon if you want to make something Public. Choosing to make something public is exactly what it sounds
like. It means that anyone, including people off of Facebook, will be able to see or access it.
Choose this icon if you want to share with your Facebook Friends.
Choose this icon if you want to Customize your audience. You can also use this to hide your story from specific
people.

If you tag someone, that person and their friends can see your story no matter what audience you selected. The same is
 true when you approve atag someone else adds to your story.

Always think before you post. Just like anything else you post on the web or send in an email, information you share on
 Facebook can be copied or re-shared by anyone who can see it.

Although you choose with whom you share, there may be ways for others to determine information about you. For
example, if you hide your birthday so no one can see it on your timeline, but friends post "happy birthday!" on your
timeline, people may determine your birthday.
When you comment on or "like" someone else's story, or write on their timeline, that person gets to select the audience.
For example, if afriend posts aPublic story and you comment on it, your comment will be Public. Often, you can see
the audience someone selected for their story before you post acomment; however, the person who posted the story
may later change their audience.

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You can control who can see the Facebook Pages you've "liked" by visiting your timeline, clicking on the Likes box on
your timeline, and then clicking "Edit."
Sometimes you will not see asharing icon when you post something (like when you write on aPage's wall or comment
on anews article that uses our comments plugin). This is because some types of stories are always public stories. As a
general rule, you should assume that if you do not see asharing icon, the information will be publicly available.

Control over your timeline

Whenever you add things to your timeline you can select aspecific audience, or even customize your audience. To do
this, simply click on the sharing icon and choose who can see it.

Choose this icon if you want to make something Public. Choosing to make something public is exactly what it sounds
like. It means that anyone, including people off of Facebook, will be able to see or access it.
Choose this icon if you want to share with your Facebook Friends.
Choose this icon if you want to Customize your audience. You can also use this to hide the item on your timeline from
specific people.

When you select an audience for your friend list, you are only controlling who can see the entire list of your friends on
your timeline. We call this atimeline visibility control. This is because your friend list is always available to the games,
applications and websites you use, and your friendships may be visible elsewhere (such as on your friends' timelines or
in searches). For example, if you select "Only Me" as the audience for your friend list, but your friend sets her friend
list to "Public," anyone will be able to see your connection on your friend's timeline.

Similarly, if you choose to hide your gender, it only hides it on your timeline. This is because we, just like the
 applications you and your friends use, need to use your gender to refer to you properly on the site.

When someone tags you in astory (such as aphoto, status update or check-in), you can choose whether you want that
story to appear on your timeline. You can either approve each story individually or approve all stories by your friends.
If you approve astory and later change your mind, you can remove it from your timeline.

People on Facebook may be able to see mutual friends, even if they cannot see your entire list of friends.
Some things (like your name, profile pictures and cover photos) do not have sharing icons because they are always
publicly available. As ageneral rule, you should assume that if you do not see asharing icon, the information will be
publicly available.

Finding you on Facebook

To make it easier for your friends to find you, we allow anyone with your contact information (such as email address or
telephone number) to find you through the Facebook search bar at the top of most pages, as well as other tools we
provide, such as contact importers -even if you have not shared your contact information with them on Facebook.

You can choose who can look up your timeline using the email address or telephone number you added to your timeline
through your privacy settings. But remember, if you choose Friends, only your current Facebook friends will be able to
find you this way.

Your "How You Connect" settings do not control whether people can find you or alink to your timeline when they
search for content they have permission to see, like aphoto or other story you've been tagged in.

Access on phones and other devices

Once you share information with your friends and others, they may be able to sync it with or access it via their mobile
phones and other devices. For example, if you share aphoto on Facebook, someone viewing that photo could save it
using Facebook tools or by other methods offered by their device or browser. Similarly, if you share your contact
information with someone or invite someone to an event, they may be able to use Facebook or third party applications
or devices to sync that information. Or, if one of your friends has aFacebook application on one of their devices, your

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information (such as the things you post or photos you share) may be stored on or accessed by their device.

You should only share information with people you trust because they will be able to save it or re-share it with others,
including when they sync the information to adevice.

Activity log

Your activity log is aplace where you can go to view most of your information on Facebook, including things you've
 hidden from your timeline. You can use this log to manage your content. For example, you can do things like delete
 stories, change the audience of your stories or stop an application from publishing to your timeline on your behalf

When you hide something from your timeline, you are not deleting it. This means that the story may be visible
elsewhere, like in your friends' News Feed. If you want to delete astory you posted, choose the delete option.

What your friends share about you

Links and Tags
Anyone can add alink to astory. Links are references to something on the Internet; anything from awebsite to aPage
 or timeline on Facebook. For example, if you are writing astory, you might include alink to ablog you are referencing
 or alink to the blogger's Facebook timeline. If someone clicks on alink to another person's timeline, they'll only see
the things that they are allowed to see.

A tag is aspecial type of link to someone's timeline that suggests that the tagged person add your story to their timeline.
In cases where the tagged person isn't included in the audience of the story, it will add them so they can see it. Anyone
can tag you in anything. Once you are tagged, you and your friends will be able to see it (such as in News Feed or in
search).

You can choose whether astory you've been tagged in appears on your timeline. You can either approve each story
individually or approve all stories by your friends. If you approve astory and later change your mind, you can always
remove it from your timeline.

If you do not want someone to tag you, we encourage you to reach out to them and give them that feedback. If that does
 not work, you can block them. This will prevent them from tagging you going forward.

If you are tagged in aprivate space (such as amessage or agroup) only the people who can see the private space can
see the tag. Similarly, it you are tagged in acomment, only the people who can see the comment can see the tag.

Groups
Once you are in aGroup, anyone in that Group can add you to asubgroup. When someone adds you to aGroup, you
will be listed as "invited" until you visit the Group. You can always leave aGroup, which will prevent others from
adding you to it again.

About Pages

Facebook Pages are public pages. Companies use Pages to share information about their products. Celebrities use Pages
to talk about their latest projects. And communities use pages to discuss topics of interest, everything from baseball to
the opera.

Because Pages are public, information you share with aPage is public information. This means, for example, that if you
post acomment on aPage, that comment may be used by the Page owner off Facebook, and anyone can see it.

When you "like" aPage, you create aconnection to that Page. The connection is added to your timeline and your friends
may see it in their News Feeds. You may be contacted by or receive updates from the Page, such as in your News Feed
and your messages. You can remove the Pages you've "liked" through your timeline or on the Page.



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Some Pages contain content that comes directly from the Page owner. Page owners can do this through online plugins,
such as an iframe, and it works just like the games and other applications you use through Facebook. Because this
content comes directly from the Page owner, that Page may be able to collect information about you, just like any
website.

Page administrators may have access to insights data, which will tell them generally about the people that visit their
Page (as opposed to information about specific people). They may also know when you've made aconnection to their
Page because you've liked their Page or posted acomment.

III. Other websites and applications

About Facebook Platform

Facebook Platform (or simply Platform) refers to the way we help you share your information with the games,
 applications, and websites you and your friends use. Facebook Platform also lets you bring your friends with you, so
you can connect with them off of Facebook. In these two ways, Facebook Platform helps you make your experiences
 on the web more personalized and social.

Remember that these games, applications and websites are created and maintained by other businesses and developers
who are not part of Facebook, so you should always make sure to read their terms of service and privacy policies.

Controlling what information you share with applications

When you connect with agame, application or website -such as by going to agame, logging in to awebsite using your
Facebook account, or adding an app to your timeline -we give the game, application, or website (sometimes referred to
as just "Applications" or "Apps") your basic info, which includes your User ID, as well your friends' User IDs (or your
friend list) and your public information.

Your friend list helps the application make your experience more social because it lets you find your friends on that
 application. Your User ID helps the application personalize your experience because it can connect your account on
that application with your Facebook account, and it can access your basic info, which includes your public information
 and friend list. This includes the information you choose to make public, as well as information that is always publicly
 available. If the application needs additional information, such as your stories, photos or likes, it will have to ask you
 for specific permission.

The "Apps you use" setting lets you control the applications you use. You can see the permissions you have given these
applications, the last time an application accessed your information, and the audience on Facebook for your timeline
stories and activity the application posts on your behalf You can also remove applications you no longer want, or turn
off all Platform applications. When you turn all Platform applications off, your User ID is no longer given to
applications, even when your friends use those applications. But you will no longer be able to use any games,
applications or websites through Facebook.

 When you first visit an app, Facebook lets the app know your language, your country, and whether you are under 18,
 between 18-20, or 21 and over. Age range lets apps provide you with age-appropriate content. If you install the app, it
 can access, store and update the information you've shared. Apps you've installed can update their records of your
 basic info, age range, language and country. If you haven't used an app in awhile, it won't be able to continue to
 update the additional information you've given them permission to access. Learn more at:
 https://www.facebook.com/help/how-apps-work
 Sometimes agame console, mobile phone, or other device might ask for permission to share specific information with
 the games and applications you use on that device. If you say okay, those applications will not be able to access any
 other information about you without asking specific permission from you or your friends.
 Sites and apps that use Instant Personalization receive your User ID and friend list when you visit them.
 You always can remove apps you've installed by using your app settings at: https://www.facebook.com/settings/?
tab=applications. But remember, apps may still be able to access your information when the people you share with use
 them. And, if you've removed an application and want them to delete the information you've already shared with them,

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you should contact the application and ask them to delete it. Visit the application's page on Facebook or their own
website to learn more about the app.

Controlling what is shared when the people you share with use applications

Just like when you share information by email or elsewhere on the web, information you share on Facebook can be re-
shared. This means that if you share something on Facebook, anyone who can see it can share it with others, including
 the games, applications, and websites they use.

Your friends and the other people you share information with often want to share your information with applications to
 make their experiences on those applications more personalized and social. For example, one of your friends might
want to use amusic application that allows them to see what their friends are listening to. To get the full benefit of that
 application, your friend would want to give the application her friend list —which includes your User ID —so the
 application knows which of her friends is also using it. Your friend might also want to share the music you "like" on
 Facebook. If you have made that information public, then the application can access it just like anyone else. But if
you've shared your likes with just your friends, the application could ask your friend for permission to share them.

You can control most of the information other people can share with applications they use from the "Ads, Apps and
Websites" settings page. But these controls do not let you limit access to your public information and friend list.

If you want to completely block applications from getting your information when your friends and others use them, you
 will need to turn off all Platform applications. This means that you will no longer be able to use any third-party
 Facebook-integrated games, applications or websites.

If an application asks permission from someone else to access your information, the application will be allowed to use
that information only in connection with the person that gave the permission and no one else.

Logging in to another site using Facebook

Facebook Platform lets you log into other applications and websites using your Facebook account. When you log in
using Facebook, we give the site your User ID (just like when you connect with any other application), but we do not
 share your email address or password with that website through this process.

If you already have an account on that website, the site may also be able to connect that account with your Facebook
 account. Sometimes it does this using what is called an "email hash", which is similar to searching for someone on
 Facebook using an email address. Only the email addresses in this case are hashed so no email addresses are actually
 shared between Facebook and the website.

How it works
The website sends over ahashed version of your email address, and we match it with adatabase of email addresses that
we have also hashed. If there is amatch, then we tell the website the User ID associated with the email address. This
way, when you log into the website using Facebook, the website can link your Facebook account to your account on
that website.

About social plugins

Social plugins are buttons, boxes, and stories (such as the Like button) that other websites can use to present Facebook
 content to you and create more social and personal experiences for you. While you view these buttons, boxes, and
 stories on other sites, the content comes directly from Facebook.

Sometimes plugins act just like applications. You can spot one of these plugins because it will ask you for permission to
access your information or to publish information back to Facebook. For example, if you use aregistration plugin on a
website, the plugin will ask your permission to share your basic info with the website to make it easier for you to
register for the website. Similarly, if you use an Add To Timeline plugin, the plugin will ask your permission to publish
stories about your activities on that website to Facebook.

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If you make something public using aplugin, such as posting apublic comment on anewspaper's website, then that
 website can access your comment (along with your User ID) just like everyone else.

If you post something using asocial plugin and you do not see asharing icon, you should assume that story is Public.
For example, if you post acomment through aFacebook comment plugin on asite, your story is Public and everyone,
including the website, can see your story.
Websites that use social plugins can sometimes tell that you have engaged with the social plugin. For example, they
may know that you clicked on aLike button in asocial plugin.
We receive data when you visit asite with asocial plugin. We keep this data for amaximum of 90 days. After that, we
remove your name or any other personally identifying information from the data, or combine it with other people's data
in away that it is no longer associated with you. Learn more at: https://www.facebook.com/help/social-plugins

About instant personalization

Instant personalization is away for Facebook to help partners (such as Bing and Rotten Tomatoes) on and off Facebook
 create amore personalized and social experience for logged in users than asocial plugin can offer. When you visit a
 site or app using instant personalization, it will know some information about you and your friends the moment you
 arrive. This is because sites and apps using instant personalization can access your User ID, your friend list, and your
 public information.

The first time you visit asite or app using instant personalization, you will see anotification letting you know that the
site or app has partnered with Facebook to provide apersonalized experience.

The notification will give you the ability to disable or turn off instant personalization for that site or app. If you do that,
that site or app is required to delete all of the information about you it received from Facebook as part of the instant
personalization program. In addition, we will prevent that site from accessing your information in the future, even when
your friends use that site.

If you decide that you do not want to experience instant personalization for all partner sites and apps, you can disable
 instant personalization from the "Ads, Apps and Websites" settings page.

If you turn off instant personalization, partner third party sites and apps will not be able to access your public
 information, even when your friends visit those sites.

If you turn off an instant personalization site or app after you have been using it or visited it afew times (or after you
have given it specific permission to access your data), it will not automatically delete your data received through
Facebook. But the site is contractually required to delete your data if you ask it to.

How it works
To join the instant personalization program, apotential partner must enter into an agreement with us designed to protect
your privacy. For example, this agreement requires that the partner delete your data if you turn off instant
personalization when you first visit the site or app. It also prevents the partner from accessing any information about
you until you or your friends visit its site.

Instant personalization partners sometimes use an email hash process to see if any of their users are on Facebook and get
 those users' User IDs. This process is similar to searching for someone on Facebook using an email address, except in
 this case the email addresses are hashed so no actual email addresses are exchanged. The partner is also contractually
 required not to use your User ID for any purpose (other than associating it with your account) until you or your friends
 visit the site.

When you visit asite or app using instant personalization, we provide the site or app with your User ID and your friend
list (as well as your age range, locale, and gender). The site or app can then connect your account with that partner with
your friends' accounts to make the site or app instantly social. The site can also access public information associated
with any of the User IDs it receives, which it can use to make them instantly personalized. For example, if the site is a


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music site, it can access your music interests to suggest songs you may like, and access your friends' music interests to
let you know what they are listening to. Of course it can only access your or your friends' music interests if they are
public. If the site or app wants any additional information, it will have to get your specific permission.

Public search engines

Your public search setting controls whether people who enter your name on apublic search engine may see your public
timeline (including in sponsored results). You can find your public search setting on the "Ads, Apps and Websites"
 settings page.

This setting does not apply to search engines that access your information as an application using Facebook Platform.
If you turn your public search setting off and then search for yourself on apublic search engine, you may still see a
preview of your timeline. This is because some search engines cache information for aperiod of time. You can learn
more about how to request asearch engine to remove you from cached information at:
https://www.facebook.com/help/?faq=13323

IV. How advertising and Sponsored Stories work

Personalized ads

We do not share any of your information with advertisers (unless, of course, you give us permission). As described in
this policy, we may share your information when we have removed from it anything that personally identifies you or
combined it with other information so that it no longer personally identifies you.

We use the information we receive to deliver ads and to make them more relevant to you. This includes all of the things
you share and do on Facebook, such as the Pages you like or key words from your stories, and the things we infer from
your use of Facebook. Learn more at: https://www.facebook.com/help/?page=226611954016283

When an advertiser creates an ad, they are given the opportunity to choose their audience by location, demographics,
likes, keywords, and any other information we receive or can tell about you and other users. For example, an advertiser
can choose to target 18 to 35 year-old women who live in the United States and like basketball. An advertiser could
also choose to target certain topics or keywords, like "music" or even people who like aparticular song or artist.

Try this tool yourself to see one of the ways advertisers target ads and what information they see at:
https://www.facebook.com/ads/create/

If the advertiser chooses to run the ad (also known as placing the order), we serve the ad to people who meet the criteria
 the advertiser selected, but we do not tell the advertiser who any of those people are. So, for example, if aperson views
 or otherwise interacts with the ad, the advertiser might infer that the person is an 18-to-35-year-old woman who lives in
 the U.S. and likes basketball. But we would not tell the advertiser who that person is.

After the ad runs, we provide advertisers with reports on how their ads performed. For example we give advertisers
 reports telling them how many users saw or clicked on their ads. But these reports are anonymous. We do not tell
 advertisers who saw or clicked on their ads.

Advertisers sometimes place cookies on your computer in order to make their ads more effective. Learn more about
cookies, pixels and other system technologies.
Sometimes we allow advertisers to target acategory of user, like a"moviegoer" or a"sci-fi fan." We do this by
bundling characteristics that we believe are related to the category. For example, if aperson "likes" the "Star Trek"
Page and mentions "Star Wars" when they check into amovie theater, we may conclude that this person is likely to be a
sci-fi fan. Advertisers of sci-fi movies, for example, could ask us to target "sci-fi fans" and we would target that group,
which may include you. Or if you "like" Pages that are car-related and mention aparticular car brand in apost, we
might put you in the "potential car buyer" category and let acar brand target to that group, which would include you.

Ads + social context

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Facebook Ads are sometimes paired with social actions your friends have taken. For example, an ad for asushi
restaurant may be paired with anews story that one of your friends likes that restaurant's Facebook page.

This is the same type of news story that could show up in your News Feed, only we place it next to apaid advertisement
to make that ad more relevant and interesting.

When you show up in one of these news stories, we will only pair it with ads shown to your friends. If you do not want
to appear in stories paired with Facebook Ads, you can opt out using your "Edit social ads" setting.

Learn what happens when you click "Like" on an advertisement or an advertiser's Facebook Page at:
https://www.facebook.com/help/?faq=19399
We may serve ads, including those with social context (or serve just social context), on other sites. These work just like
the ads we serve on Facebook -the advertisers do not receive any of your information. Only people that could see the
Facebook action (like on your timeline) would see it paired in this way.
Your "Show my social actions in Facebook Ads" setting only controls ads with social context. It does not control
Sponsored Stories, ads or information about Facebook's services and features, or other Facebook content.
Games, applications and websites can serve ads directly to you or help us serve ads to you or others if they have
information like your User ID or email address.

Sponsored stories

Many of the things you do on Facebook (like "liking" aPage) are posted to your timeline and shared in News Feed. But
there's alot to read in News Feed. That's why we allow people to "sponsor" your stories to make sure your friends see
them. For example, if you RSVP to an event hosted by alocal restaurant, that restaurant may want to make sure your
friends see it so they can come too.

If they do sponsor astory, that story will appear in the same place ads usually do or in your News Feed under the
 heading "Sponsored" or something similar. Only people that could originally see the story can see the sponsored story,
 and no personal information about you (or your friends) is shared with the sponsor.

Your "Show my social actions in Facebook Ads" setting only controls ads with social context. It does not control
Sponsored Stories, ads or information about Facebook's services and features, or other Facebook content.

Facebook content

We like to tell you about some of the features and tools your friends and others use on Facebook, to help you have a
better experience. For example, if your friend uses our friend finder tool to find more friends on Facebook, we may tell
you about it to encourage you to use it as well. This of course means your friend may similarly see suggestions based
on the things you do. But we will try to only show it to friends that could benefit from your experience.

Your "Show my social actions in Facebook Ads" setting only controls ads with social context. It does not control
Sponsored Stories, ads or information about Facebook's services and features, or other Facebook content.

V. Cookies, pixels and other similar technologies

Cookies are small pieces of data that are stored on your computer, mobile phone or other device. Pixels are small blocks
 of code on webpages that do things like allow another server to measure viewing of awebpage and often are used in
 connection with cookies.

We use technologies like cookies, pixels, and local storage (like on your browser or device, which is similar to acookie
but holds more information) to provide and understand arange of products and services. Learn more at:
https://www.facebook.com/help/cookies

We use these technologies to do things like:


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   • make Facebook easier or faster to use;
   • enable features and store information about you (including on your device or in your browser cache) and your use
      of Facebook;
   • deliver, understand and improve advertising;
   • monitor and understand the use of our products and services; and
   • to protect you, others and Facebook.

For example, we may use them to know you are logged in to Facebook, to help you use social plugins and share buttons,
 or to know when you are interacting with our advertising or Platform partners.

We may ask advertisers or other partners to serve ads or services to computers, mobile phones or other devices, which
may use acookie, pixel or other similar technology placed by Facebook or the third party (although we would not share
any other information that identifies you with an advertiser).

Most companies on the web use cookies (or other similar technological tools), including our advertising and Platform
partners. For example, our Platform partners, advertisers or Page administrators may use cookies or similar
technologies when you access their apps, ads, Pages or other content.

Cookies and things like local storage help make Facebook work, like allowing pages to load faster because certain
content is stored on your browser or by helping us authenticate you to deliver personalized content.
To learn more about how advertisers generally use cookies and the choices advertisers provide, visit the Network
Advertising Initiative at http://www.networkadvertising.org/managing/opt out.asp, the Digital Advertising Alliance at
http://www.aboutads.info/, the Internet Advertising Bureau (US) at http://www.iab.net or the Internet Advertising
Bureau (EU) at http://youronlinechoices.eu/.
You can remove or block cookies or other similar technologies or block or remove other data stored on your computer
or device (such as by using the various settings in your browser), but it may affect your ability to use Facebook or other
websites and apps.

VI. Some other things you need to know

Safe harbor
Facebook complies with the EU Safe Harbor framework as set forth by the Department of Commerce regarding the
 collection, use, and retention of data from the European Union. To view our certification, visit the U.S. Department of
 Commerce's Safe Harbor website at: https://safeharbor.export.gov/list.aspx. As part of our participation in the Safe
Harbor program, we agree to resolve disputes you have with us in connection with our policies and practices through
 TRUSTe. If you would like to contact TRUSTe, visit:https://feedback-form.truste.com/watchdog/request

Contact us with questions or disputes
If you have questions or complaints regarding our Data Use Policy or practices, please contact us by mail at 1601
Willow Road, Menlo Park, CA 94025 if you reside in the U.S. or Canada, or at Facebook Ireland Ltd., Hanover Reach,
 5-7 Hanover Quay, Dublin 2Ireland if you live outside the U.S. or Canada. Anyone may also contact us through this
help page: https://www.facebook.com/help/contact us.php?id= 173545232710000

Responding to legal requests and preventing harm
We may access, preserve and share your information in response to alegal request (like asearch warrant, court order or
 subpoena) if we have agood faith belief that the law requires us to do so. This may include responding to legal requests
from jurisdictions outside of the United States where we have agood faith belief that the response is required by law in
that jurisdiction, affects users in that jurisdiction, and is consistent with internationally recognized standards. We may
 also access, preserve and share information when we have agood faith belief it is necessary to: detect, prevent and
 address fraud and other illegal activity; to protect ourselves, you and others, including as part of investigations; and to
prevent death or imminent bodily harm. Information we receive about you, including financial transaction data related
to purchases made with Facebook Credits, may be accessed, processed and retained for an extended period of time
when it is the subject of alegal request or obligation, governmental investigation, or investigations concerning possible
violations of our terms or policies, or otherwise to prevent harm.


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Access requests
 You can access and correct most of your personal data stored by Facebook by logging into your account and viewing
 your timeline and activity log. You can also download acopy of your personal data by visiting your "Account
 Settings", clicking on "Download acopy of your Facebook data" and then clicking on the link for your expanded
 archive. Learn more at: https://www.facebook.com/help/?faq=226281544049399

Notifications and Other Messages
 We may send you notifications and other messages using the contact information we have for you, like your email
 address. You can control most of the notifications you receive, including ones from Pages you like and applications you
 use, using your "Notifications" settings.

Friend finder
 We offer tools to help you upload your friends' contact information so that you and others can find friends on
 Facebook, and invite friends who do not use Facebook to join. If you do not want us to store this information, visit this
 help page at: https://www.facebook.com/contact importer/remove uploads.php

If you give us your password, we will delete it after you upload your friends' contact information.

Invitations
 When you invite afriend to join Facebook, we send amessage on your behalf using your name, and up to two
 reminders. We may also include names and pictures of other people your friend might know on Facebook. The
 invitation will also give your friend the opportunity to opt out of receiving other invitations to join Facebook.

Memorializing accounts
 We may memorialize the account of adeceased person. When we memorialize an account, we keep the timeline on
 Facebook, but limit access and some features. You can report adeceased person's timeline at:
 https://www..facebook.com/help/contact.php?show form=deceased

We also may close an account if we receive aformal request that satisfies certain criteria.

Service Providers
We give your information to the people and companies that help us provide, understand and improve the services we
offer. For example, we may use outside vendors to help host our website, serve photos and videos, process payments,
 analyze data, measure the effectiveness of ads, or provide search results. In some cases we provide the service jointly
with another company, such as the Facebook Marketplace. In all of these cases our partners must agree to only use your
information consistent with the agreement we enter into with them, as well as this Data Use Policy.

Security and bugs
We do our best to keep your information secure, but we need your help. For more detailed information about staying
 safe on Facebook, visit the Facebook Security Page. We try to keep Facebook up, bug-free and safe, but can't make
guarantees about any part of our services or products.

Change of Control
If the ownership of our business changes, we may transfer your information to the new owner so they can continue to
operate the service. But they will still have to honor the commitments we have made in this Data Use Policy.

Notice of Changes
 If we make changes to this Data Use Policy we will notify you by publication here and on the Facebook Site
 Governance Page. If the changes are material, we will provide you additional, prominent notice as appropriate under
the circumstances. You can make sure that you receive notice directly by liking the Facebook Site Governance Page.

Opportunity to comment and vote
Unless we make achange for legal or administrative reasons, or to correct an inaccurate statement, we will give you
seven (7) days to provide us with comments on the change. If we receive more than 7000 comments concerning a
particular change, we will put the change up for avote. The vote will be binding on us if more than 30% of all active

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registered users as of the date of the notice vote.

Information for users outside of the United States and Canada
 Company Information: The website under www.facebook.com and the services on these pages are being offered to
users outside of the U.S. and Canada by Facebook Ireland Ltd., Hanover Reach, 5-7 Hanover Quay, Dublin 2Ireland.
 The company Facebook Ireland Ltd. has been established and registered in Ireland as aprivate limited company,
 Company Number: 462932, and is the data controller responsible for your personal information.
 Directors: Cipora Herman (American), Theodore Ullyot (American).

Your California privacy rights
 California law permits residents of California to request certain details about what personal information acompany
 shares with third parties for the third parties' direct marketing purposes. Facebook does not share your information with
third parties for the third parties' own and independent direct marketing purposes unless we receive your permission.
Learn more about the information we receive and how it is used and other websites and applications. If you have
 questions about our sharing practices or your rights under California law, please write us at 1601 Willow Road, Menlo
Park, CA 94025 or contact us through this help page: https://www.facebook.com/help/contact us.php?
id=173545232710000




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Plaint6fs' Co-Lead Counsel

Additional counsel listed on signature page



                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA



IN RE: FACEBOOK, INC. CONSUMER                 MDL No. 2843
PRIVACY USER PROFILE LITIGATION                Case No. 18-md-02843-VC



This document relates to:                      PLAINTIFFS' SECOND SET OF
                                               REQUESTS FOR PRODUCTION TO
ALL ACTIONS                                    DEFENDANT FACEBOOK, INC.

                                               Judge: Hon. Vince Chhabria
                                               Courtroom: 4, 17th Floor




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PROPOUNDING PARTY:              Plaintiffs

RESPONDING PARTY:               Facebook

SET NUMBER:                     Two (2)

       Plaintiffs hereby propound the following requests for production of documents to

Defendant Facebook, Inc. ("Facebook"), pursuant to Federal Rules of Civil Procedure 26 and 34,

and request that Facebook produce the documents and electronically-stored information set forth

herein within thirty (30) days of service of these requests, at Bleichmar Fonti & Auld LLP, 555

12th Street, Suite 1600, Oakland, CA 94607.

                                          INSTRUCTIONS

        1.       You shall respond to these requests for the production of documents in amanner

consistent with the Federal Rules of Civil Procedure and the following instructions:

       2.        In responding to each document request, furnish all responsive documents

available at the time of production, including documents in your possession, custody or control,

and in the possession, custody or control of your agents, employees, partners, representatives,

subsidiaries, affiliates, investigators, or by your attorneys or their agents, employees or

investigators.

        3.       If any otherwise responsive document was, but is no longer, in existence or in

your possession, custody or control, identify the type of information contained in the document,

its current or last known custodian, the location/address of such document, the identity of all

persons having knowledge or who had knowledge of the document and describe in full the

circumstances surrounding its disposition from your possession or control.

       4.        This is acontinuing request for the production of documents and requires

supplemental responses as provided for in the Federal Rules of Civil Procedure. If, after making

your initial production, you (or any other persons acting on your behalf) obtain or become aware

PLAINTIFFS' SECOND SET OF RFPsTO                  1                                     MDL No. 2843
FACEBOOK, I
          NC.                                                                CASE No. 18-1\AD-02843-VC

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of any further documents responsive to any document request, you are required to produce such

additional documents to plaintiffs. Each supplemental response shall be served on plaintiffs no

later than thirty days after the discovery of the further information.

       5.       You shall produce the original of each document described below or, if the

original is not in your custody, then acopy thereof, and in any event, all non-identical copies

which differ from the original or from the other copies produced for any reason, including,

without limitation, the making of notes thereon.

       6.       Documents shall be produced as kept in the regular course of business together

with the original folders, binders, boxes or other containers in which they were maintained.

       7.       All documents or things that respond in whole or in part to any portion of these

requests are to be produced in their entirety, including attachments and their enclosures.

       8.       Documents attached to each other should not be separated.

       9.       Documents not otherwise responsive to any particular document request shall be

produced if such documents mention, discuss, refer to, or explain the documents called for by

any document request, or if such documents are attached to documents called for by any

document request.

        10.     Documents shall be produced in such fashion as to identify the custodian of each

document.

        11.     Identify the source of each document produced, by identifying: (a) all of the

person(s) who possessed the document; (b) the positions or titles of any such individuals; and (c)

all of the divisions and departments where each document was located. If you are unable to

determine the individual(s) who possessed the document, identify the department and division

where the document was located when produced.




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        12.     If you claim any form of privilege, whether based on statute or otherwise, as a

ground for not producing any document, state the following:

                a.   The date of the document;

                b.   The name, the present or last known home and business address, the

                     telephone numbers, the title (or position), and the occupation of those

                     individuals who prepared, produced, reproduced or who were recipients of

                     said document;

                c.   A description of the document sufficient to identify it without revealing the

                     information for which the privilege is claimed;

                d.   The nature of the privilege asserted;

                e.   The factual basis upon which you claim any such privilege;

                f.   The location of the document; and

                g.   The custodian of the document.

        13.     To the extent you object to any document request, you must provide specific

responses as to what portion of the request you object to and state expressly why you will not

respond to such request in sufficient detail to permit the Court to determine the validity of the

objection. Responsive documents to which your objection does not apply should be produced.

        14.     If you claim that all or any part of any document request, the Definitions, or

Instructions is vague or ambiguous, please identify the specific language you consider vague or

ambiguous and state the interpretation of the language in question you used to frame your

response.

        15.     Each document requested herein is to be produced in its entirety and without

deletion or excision, regardless of whether you consider the entire document to be relevant or

responsive to any document request. If you have removed, excised or deleted any portion of a

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document, stamp the word "REDACTED" on each page of the document that you have redacted.

Redactions should be included on the privilege log described in Instruction No. 13, above.

        16.     One copy of each document should be produced. A document that varies in any

way from the original or from any other copy, including drafts or adocument with handwritten

notations or deletions constitutes aseparate document and must be produced, whether or not the

original is in your possession, custody or control. Color (i.e., not black and white) originals

should be produced in color. If any identical copy cannot be produced for any reason (e.g., faint

writing, erasures, etc.), produce the original.

        17.     Indicate the origin of each document and number each document with

consecutive Bates numbers.

                                           DEFINITIONS

       Unless otherwise stated, the terms set forth below are defined as follows and shall be

used in construing the meaning of these requests for the production of documents.

        1.      The use of the singular shall be deemed to include the plural, and the use of one

gender shall include all others, as appropriate, in the context.

        2.      The present tense of averb includes its past tense, and vice versa.

        3.      "And" and "or" are to be construed conjunctively and disjunctively, as necessary,

to bring within the scope of this request for production all responses that might otherwise be

construed to be outside its scope.

        4.      "Any" and "all" mean each and every.

        5.      "App" means an interactive software application developed to utilize the core

technologies of the Facebook social networking platform.

        6.      "App Developer Investigation" or "ADI" means (as described in paragraph seven

of the Chen Declaration) Facebook's investigation to determine "whether there has been misuse

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of data in violation of Facebook's policies and associated legal liabilities, in connection with the

first version of the [Facebook] Platform."

       7.       "Apps Others Use" means the setting used to prevent the disclosure of personal

information to third party App Developers through Facebook's API, as described in paragraphs

366 to 368 of the FAC.

       8.       "App Settings" means settings that aUser can alter or accept to limit Third

Parties from accessing or obtaining Users' Content and Information, including Apps Others Use,

Granular Data Permissions, Platform Opt Out, and the like.

       9.       "Chen Declaration" means the Declaration of Stacy Chen in Support of

Respondent's Opposition to the Attorney General's Petition, Attorney General Maura Healy v.

Facebook, Inc., No. 1984CV02597-BFS-1 (Mass. Super Ct., Suffolk Cty.).

        10.     "Communication" means the transmittal (in the form of facts, ideas, thoughts,

opinions, data, inquiries or otherwise) and includes, but is not limited to, correspondence,

memoranda, reports, presentations, face-to-face conversations, telephone conversations, text

messages, instant messages, messages sent on Facebook Messenger, voice messages,

negotiations, agreements, inquiries, understandings, meetings, letters, notes, telegrams, mail,

electronic mail or email, and postings of any type.

        11.     "Computer System" or "Computer Systems" include(s), but is not limited to, any

server (whether physical or virtual), desktop computer, tablet computer, point of sale system,

smart phone, cellular telephone, networking equipment, internet site, intranet site, and the

software programs, applications, scripts, operating systems, or databases used to control, access,

store, add, delete, or modify any information stored on any of the foregoing non-exclusive list.

        12.     "Content and Information" refers to the definition in footnote 2of the FAC,

referring to "content" and "information" as Facebook's Statements of Rights and

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Responsibilities have defined those terms. In brief, Facebook has generally used "information"

to mean facts and other information about Users, including the actions they take, and "content"

to mean anything Users post on Facebook that would not be included in the definition of

"information." Content and Information also includes both personally identifiable content and

information and anonymized content and information that is capable of being de-anonymized.

See FAC III 223-224. Content and Information includes data that identifies, relates to, describes,

is capable of being associated with, or could reasonably be linked, directly or indirectly, with a

particular User, including:

           a.   Identifiers such as areal name, alias, postal address, unique personal identifier,

                online identifier, Internet Protocol address, email address, account name, social

                security number, driver's license number, passport number, or other similar

                identifiers.

           b.   Characteristics of protected classifications under California or federal law.

           c.   Commercial information, including records of personal property, products or

                services purchased, obtained, or considered, or other purchasing or consuming

                histories or tendencies.

           d.   Biometric information.

           e.   Internet or other electronic network activity information, including, but not

                limited to, browsing history, search history, and information regarding a

                consumer's interaction with an Internet Web site, application, or advertisement.

           f.   Geolocation data.

           g.   Audio, electronic, visual, thermal, olfactory, or similar information.

           h.   Professional or employment-related information.




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              i.   Education information, defined as information that is not publicly available

                   personally identifiable information as defined in the Family Educational Rights

                   and Privacy Act (20 U.S.C. section 1232g, 34 C.F.R. Part 99).

              j.   Inferences drawn from any of the information identified in this paragraph to

                   create aprofile, dossier, or similar collection of information about aconsumer

                   reflecting the consumer's preferences, characteristics, psychological trends,

                   predispositions, behavior, attitudes, intelligence, abilities, and aptitudes.

        13.        "Document" or "Documents" is defined to include any Document, ESI, or

Electronic Media stored in any medium, and is synonymous in meaning and equal in scope to

the usage of this term in Federal Rule of Civil Procedure 34(a)(1)(A), including, but not limited

to, electronic or computerized data compilations, Communications, electronic chats, instant

messaging, documents created through Workplace by Facebook, encrypted or self-destructing

messages, messages sent via Facebook messenger, email Communications, other electronically

stored information from Personal computers, sound recordings, photographs, and hard copy

Documents maintained in your Personal files.

        14.        "Electronic Media" means any magnetic, optical, or other storage media device

used to record ESI including but not limited to computer memory, hard disks, floppy disks, flash

memory devices, CDs, DVDs, Blu-ray discs, cloud storage (e.g., DropBox, Box, OneDrive, or

SharePoint), tablet computers (e.g., iPad, Kindle, Nook, or Samsung Galaxy), cellular or smart

phones (e.g., BlackBerry, iPhone, or Samsung Galaxy), personal digital assistants, magnetic

tapes of all types, or any other means for digital storage and/or transmittal.

        15.        "Electronically Stored Information" or "ESI" means information that is stored in

Electronic Media, regardless of the media or whether it is in the original format in which it was

created, and that is retrievable in perceivable form and includes, but is not limited to, metadata,

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system data, deleted data, fragmented data, data pertaining to or maintained in Apps, database

contents, and computer code.

        16.     "FAC" refers to the First Amended Consolidated Complaint filed February 22,

2019, ECF No. 257.

        17.     "Facebook," "Defendant," "You," or "Your" shall mean Facebook, Inc. and any

of its executives, directors, officers, employees, partners, members, representatives, agents

(including attorneys, accountants, consultants, investment advisors or bankers), and any other

Person purporting to act on its behalf. In the case of business entities, these defined terms

include parents, subsidiaries, affiliates, predecessor entities, successor entities, these defined

terms include parents, subsidiaries, affiliates, predecessor entities, successor entities, divisions,

departments, groups, acquired entities and/or related entities or any other entity acting or

purporting to act on its behalf.

        18.     "FTC Consent Order" shall refer to the July 27, 2012 Federal Trade Commission

Consent Order in In the Matter cfFacebook, Inc., No. C-4365.

        19.     "Granular Data Permissions" means the setting through which the User accessing

an App may limit the categories of Content and Information an App Developer may collect.

        20.     "Identify," with respect to Documents, means to give, to the extent known, the

(a) type of Document; (b) general subject matter; (c) date of the Document; (d) author(s);

(e) addressee(s); and (f) recipient(s).

        21.     "Including" means "including but not limited to," or "including, without

limitation." Any examples which follow these phrases are set forth to clarify the request,

definition or instruction but not to limit the request.




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       22.      "Internal Policy" or "Internal Policies" mean any formal or informal policy,

procedure, rule, guideline, collaborative document, directive, instruction, or practice, whether

written or unwritten, that You expect Your employees to follow in performing their jobs.

       23.      "Misuse of Data," when used as acapitalized phrase, means the use by an App of

aUser's Content or Information that was broader or different than the use of that content or

information only in connection with the person that gave the permission to the App to access

such User's Content or Information.

       24.      "Named Plaintiffs" means Steven Akins, Jason Ariciu, Samuel Armstrong,

Anthony Bell, Bridgett Burk, Brendan Carr, John Doe, Terry Fischer, Shelly Forman, Paige

Grays, Mary Beth Grisi, Tabielle Holsinger, Taunna Lee Johnson, Olivia Johnston, Tyler King,

Ashley Kmieciak, William Lloyd, Gretchen Maxwell, Scott McDonnell, Ian Miller, Jordan

O'Hara, Bridget Peters, Kimberly Robertson, Scott Schinder, Cheryl Senko, Dustin Short, Tonya

Smith, Mitchell Staggs, Charnae Tutt, Barbara Vance-Guerbe, and Juliana Watson.

       25.      "Person" or "Persons" means any natural Person or any business, legal or

governmental entity or association.

       26.      "Platform" refers to the services, tools, and products provided by Facebook to

third parties to create their own applications and services that access data in Facebook.

       27.      "Platform Opt Out" means the setting aUser may access to choose that his or her

Content and information is not accessed or obtained by any Apps or websites on Facebook's

Platform.

       28.      "Privacy Controls" means the audience selectors that control what information in

aUser's profile can be viewed by other Users, and includes Profile Privacy Settings, Profile

Privacy Controls, Publisher Privacy Controls, and the like.




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       29.        "Relating to," "relate to," "referring to," "refer to," "reflecting," "reflect,"

"concerning," or "concern" means all Documents which comprise, explicitly or implicitly refer

to, were reviewed in conjunction with, or were created, generated or maintained as aresult of the

subject matter of the request, including, but not limited to, all Documents which reflect, record,

memorialize, embody, discuss, evaluate, consider, review or report on the subject matter of the

request.

       30.        "Third Parties" include the following:

             a.   Apps, App Developers, Whitelisted Apps, and Business Partners, as those terms

                  are used in the FAC;

             b.   Any person that develops an application, software experience, game, or website

                  that accesses Content and Information from Facebook's API or other Facebook

                  software; and

             c.   Any person with which Facebook has or had an integration partnership.

       31.        "User(s)" means individuals who maintain aFacebook account and can generally

access the typical Facebook experience through website or mobile applications.

       32.        Capitalized terms and acronyms not specifically defined herein have the same

definition as in the FAC.

                                     RELEVANT TIME PERIOD

       The relevant time period for each Document Request is January 1, 2007 through the

present (the "Relevant Time Period"), unless otherwise specifically indicated. Each Document

Request shall be interpreted to include all documents and information that relate to the Relevant

Time Period or otherwise specified period, even if such documents or information were prepared

or published outside of the Relevant Time Period or otherwise specified period. If adocument

prepared before or after this period is necessary for acorrect or complete understanding of any

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document covered by arequest, you must produce the earlier or subsequent document as well. If

any document is undated and the date of its preparation cannot be determined, the document

shall be produced if otherwise responsive to the production request.

                                    DOCUMENT REQUESTS

REQUEST FOR PRODUCTION NO. 6

        All Documents provided to or received from any governmental entity or regulator in the

United States and United Kingdom in response to any formal or informal inquiry or

investigation relating to whether Users' Content and Information was accessed or obtained by

any Third Parties without proper consent or authorization, including but not limited to all

inquiries or investigations arising out of the Cambridge Analytica Scandal, the FTC Consent

Order, and any inquiry or investigation related to the settlement agreement with the FTC

announced on July 24, 2019.

REQUEST FOR PRODUCTION NO. 7

        All organizational charts, personnel directories, or other documents sufficient to show

Your organizational structure, including:

        (a)     the identity of subsidiaries, affiliates, and joint ventures, and your ownership

interest, control of, or participation in any subsidiary or affiliate or joint venture related to

agreements, engineering, access, use, transmission, receipt, collection or analysis of Facebook

Users' Content and Information by Third Parties;

        (b)     the organization of any division, department, unit or subdivision of your company

that has responsibilities relating to agreements, engineering, access, use, transmission, receipt,

collection or analysis of Users' Content and Information by Third Parties; and

        (c)     the names, titles, job descriptions, and employment periods for your present and

former employees who has or had responsibilities relating to agreements, engineering, access,

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use, transmission, receipt, collection or analysis of Users' Content and Information by Third

Parties; and

        (d)     the names, titles, job descriptions, and employment periods of Your present or

former directors, officers, or senior managers, as well as any secretaries or administrative

assistants assigned to these directors, officers, or senior managers.

REQUEST FOR PRODUCTION NO. 8

       All versions (including each updated or amended version thereof) of Facebook's

"Platform Policies," which have been called the "Developer Principles and Policies," the

"Platform Guidelines," or the "Developer Terms of Service" (collectively, the "Platform

Policies").

REQUEST FOR PRODUCTION NO. 9

       All Documents relating to each of the Named Plaintiffs, including but not limited to all

Content and Information collected about each of them or gained from business relationships or

any other source.

REQUEST FOR PRODUCTION NO. 10

        For each of the Named Plaintiffs, Documents sufficient to show the categories of Content

and Information Facebook collects, tracks, and maintains about them.

REQUEST FOR PRODUCTION NO. 11

        Documents sufficient to identify all Third Parties to which Facebook granted access to

Named Plaintiffs' Content and Information, what categories of Content and Information

Facebook granted access to, how Facebook allowed these Third Parties to access the Named

Plaintiffs' Content and Information, and the business purpose of all such access.




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REQUEST FOR PRODUCTION NO. 12

       Documents relating to any partnerships or agreements Facebook entered into with Third

Parties for access to Named Plaintiffs' Content and Information.

REQUEST FOR PRODUCTION NO. 13

       For all Third Parties to which Facebook granted access to Named Plaintiffs' Content and

Information, Documents sufficient to show any use by Third Parties of such Content and

Information not in connection with the User that granted the permission to the Third Party or

inconsistent with Facebook's agreement with that Third Party.

REQUEST FOR PRODUCTION NO. 14

       Documents sufficient to show the monetary or retail value of each named Plaintiff's

Content and Information to Facebook, updated to reflect whenever Facebook's terms of service

changed, including the calculation of revenue earned by Facebook for each Named Plaintiff

based upon bartering or selling access to such Named Plaintiff's Content and Information.

REQUEST FOR PRODUCTION NO. 15

       Documents sufficient to show the money or any other thing of value, including but not

limited to money or any other thing of value paid in exchange for targeted advertising, that

Facebook received in exchange for each Named Plaintiff's Content and Information, which

entities paid Facebook, and when such payments were made.

REQUEST FOR PRODUCTION NO. 16

       Documents sufficient to show the monetary or retail value of Users' Content and

Information to Facebook, including all monthly, quarterly, and annual financial reporting

relating to same, and including but not limited to the calculation of average revenue per user,

any changes to such monetary or retail value relating to changes to Facebook's terms of service,

and any financial reporting of Content and Information as an asset.

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REQUEST FOR PRODUCTION NO. 17

       All Documents relating to Facebook's assessment of the monetary or retail value of

Users' Content and Information to Users (as distinct from value to Facebook), including

analyses for providing compensation to Users for their Content and Information, including but

not limited to Users compensated in connection with the Onavo or Research app.

REQUEST FOR PRODUCTION NO. 18

       All Documents that have been transmitted to Users by Facebook relating to whether

Users' Content and Information was accessed or obtained by Third Parties.

REQUEST FOR PRODUCTION NO. 19

       All Documents supporting the escalation of those Apps escalated to Phase Two of ADI

for Enhanced Examination and/or Phase Three of ADI for Enforcement and designated as

follows in the Chen Declaration If 34:

        (d) each [A]pp to which arequest for information was sent; (e) each [A]pp for

       which an interview was sought with the developer; (f) each [A]pp for which a

       remote or onsite audit was requested to be conducted; (g) each [A]pp for which

        actual misuse was found and identification of that misuse; (h) each [A]pp that was

       banned for actual misuse; and (i) each [A]pp that was banned for failing to

        cooperate with Facebook's investigation.

       Facebook has described identification of these Apps as non-privileged and has

already produced it to the Massachusetts Attorney General's Office. See Chen

Declaration If 35.

REQUEST FOR PRODUCTION NO. 20

        The list of Apps that Facebook provided to the Massachusetts Attorney General's Office

and that the Chen Declaration If 35 describes as "the subject of external actions or

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communications with third parties, including the growing list of Apps Facebook has suspended

as part of the [ADI], whether because of policy violations or because of their refusal to cooperate

with Facebook's investigation."

REQUEST FOR PRODUCTION NO. 21

         Communications between Facebook and Third Parties relating to the ADI, including but

not limited to Communications that Facebook provided to the Massachusetts Attorney General's

Office. See Chen Declaration If 37.

REQUEST FOR PRODUCTION NO. 22

         All "Privacy Risk Assessment[s]," and notes or agenda relating to Facebook's "focused

subject-matter-specific meetings," "focused subject-matter-specific discussions," "weekly intra-

and inter-team meetings," and "Privacy Summit[s]," as detailed in "Facebook's Privacy Program

Overview" included in any PricewaterhouseCoopers LLP ("PwC") assessment report prepared

pursuant to the FTC Consent Order.

REQUEST FOR PRODUCTION NO. 23

         Unredacted versions and Documents in support of the assessment reports, including the

Initial Assessment Report and Biennial Reports, prepared by PwC pursuant to the FTC Consent

Order.

REQUEST FOR PRODUCTION NO. 24

         Documents sufficient to identify all Third Parties to which Facebook granted access to

Users' Content and Information not generally available through Platform pursuant to

partnerships or agreements between Facebook and those Third Parties.

REQUEST FOR PRODUCTION NO. 25

         All Documents relating to agreements or partnerships described in Request No. 24.




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REQUEST FOR PRODUCTION NO. 26

       For each of the Third Parties that Facebook entered into partnerships or agreements with

as described in Request No. 24, Documents sufficient to identify:

    • The fields, kinds, or categories of Content and Information that were accessed or

        obtained by such Third Parties;

    • How each such Third Party accessed or obtained the Content and Information of Users;


    • How each such Third Party used the Content and Information accessed or obtained;

    • Where the Content and Information obtained by such Third Parties currently resides and

        who has access to it.

REQUEST FOR PRODUCTION NO. 27

       Documents sufficient to show all forms and formats in which Facebook transmitted to

Third Parties information concerning Users' liking, viewing, retrieving, or otherwise requesting

or obtaining videos on, using, or by means of the Facebook Platform.

REQUEST FOR PRODUCTION NO. 28

       All Documents relating to Internal Policies by Facebook on the monitoring of Third

Parties' compliance with Facebook's Platform Policy, Data Policy, or SRR.

REQUEST FOR PRODUCTION NO. 29

       All Documents relating to Internal Policies by Facebook on the enforcement of

Facebook's Platform Policy, Data Policy, or SRR against Third Parties.

REQUEST FOR PRODUCTION NO. 30

       All Documents relating to measures and controls, including proposed measures and

controls, put in place by Facebook to prevent Third Parties from violating Facebook's Platform

Policy, Data Policy, or SRR.




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REQUEST FOR PRODUCTION NO. 31

       All Documents relating to Facebook's audits, inquiries, and investigations of Third

Parties investigating compliance with any provisions of Facebook's Platform Policy, Data

Policy, or SRR regarding the access, use, transmission, receipt, collection and analysis of Users'

Content and Information on and off the Platform.

REQUEST FOR PRODUCTION NO. 32

       All Documents Concerning Misuse of Data, including investigations, examinations,

inquiries, or audits—or Communications regarding such investigations, examinations, inquiries,

or audits—regarding Misuse of Data prior to the deprecation of Graph API v.1.0.

REQUEST FOR PRODUCTION NO. 33

       Documents sufficient to show the notice that Facebook provided to Users regarding

modifications to Facebook's SRR or Data Policy, and all Communications related thereto.

REQUEST FOR PRODUCTION NO. 34

       All Documents relating to the conditioning of Third Parties' access to Users' Content and

Information on the purchase of Mobile App Install Ads, payment of Content and Information in-

kind (referred internally as Reciprocity or Data Reciprocity), or other payment.

REQUEST FOR PRODUCTION NO. 35

       Documents relating to the manner in which aFacebook User could control how his or her

data was shared through their Privacy Controls and App Settings throughout the Relevant Time

Period, including but not limited to screenshots of the Facebook website and the Facebook

mobile application.




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       All Documents concerning User testing, evaluation and analysis of Facebook's Privacy

Controls and App Settings during the Relevant Time Period, including but not limited to design

documents, correspondence, analyses, and reports.




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Dated: November 25, 2019                              Respectfully submitted,



KELLER ROHRBACK L.L.P.                                BLEICHMAR FONTI & AULD LLP


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PLAINTIFFS' SECOND SET OF RFPsTO               0                                     MDL No. 2843
FACEBOOK, I
          NC.                                                             CASE No. 18-1\AD-02843-VC

                                                                                                      2780
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                      EXHIBIT H




                                                                      2781
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 5

 6
      Plaintiff's Co-Lead Counsel
 7

 8                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF CALIFORNIA
 9

10
      IN RE: FACEBOOK, INC. CONSUMER           MDL No. 2843
11    PRIVACY USER PROFILE LITIGATION          Case No. 18-md-02843-VC

12
               This document relates to:       PLAINTIFFS' NOTICE OF NON-PARTY
13                                             SUBPOENA TO ZYNGA INC.
                   ALL ACTIONS
14
                                               Judge: Hon. Vince Chhabria
15                                             Courtroom: 4, 17th Floor

16

17
                PLAINTIFFS' NOTICE OF NON-PARTY SUBPOENA
18
            PLEASE TAKE NOTICE that, pursuant to Rules 26, 34, and 45 of the
19
      Federal Rules of Civil Procedure, on March 10, 2020, Plaintiffs will cause the
20
      attached subpoena to be served on Zynga Inc., requesting the production to
21
      Plaintiffs of the documents described in the attached Schedule A, at Bleichmar
22
      Fonti & Auld, LLP, 555 12 th Street, Suite 1600, Oakland, CA 94607 at 5:00 p.m.
23

24
      Dated: March 3, 2020
25

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                PLAINTIFFS' NOTICE OF NON-PARTY SUBPOENA
                                                                                    2782
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 1                                                      Respectfully submitted,

 2
      KELLER ROHRBACK L.L.P.                            BLEICHMAR FONT! & AULD LLP
 3

 4    By:   /s/ Derek W. Loeser                         By:       /s/ Lesley E. Weaver
            Derek W. Loeser                                       Lesley E. Weaver
 5
      Derek W. Loeser (admitted pro hac vice)           Lesley E. Weaver (SBN 191305)
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      Gretchen Freeman Cappio (admitted pro hac vice)   Anne K. Davis (SBN 267909)
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      Can Campen Laufenberg (admitted pro hac vice)     Joshua D. Samra (SBN 313050)
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17    cspringer@kellerrohrback.com
                                     Plaint6fs' Co-Lead Counsel
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                  PLAINTIFFS' NOTICE OF NON-PARTY SUBPOENA                               2783
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in aCivil Action



                                       UNITED STATES DISTRICT COURT
                                                                          for the
                                                          Northern District of California

IN RE: FACEBOOK, INC. CONSUMER PRIVACY USER PROFILE LITIGATION

                                                                              )
                               Plaint,,f
                                  V.                                                  Civil Action No.         3:18-md-02843-VC



                             Defendant


                            SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                                  OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:        Zynga, Inc. -Corporation Service Company -2710 Gateway Oaks Drive, Suite 150N, Sacramento, CA 95833-3505

                                                       (Name efperson to whom this subpoena is direetea)

        Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: See Schedule A




  Place: BLEICHMAR FONT! & AULD LLP                                                     Date and Time:
         555 12th Street, Suite 1600
                                                                                                            03/31/2020 5:00 p.m.
         Oakland, CA 94607 P: (415) 445-4003

     1 Inspection cf Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                               Date and Time:




        The following provisions of Fed. R. Civ. P. 45 are attached —Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as aperson subject to asubpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        03/10/2020

                                  CLERK OF COURT
                                                                                           OR
                                                                                                                  /s/ Lesley E. Weaver
                                           Signature ef Clerk or Deputy Clerk                                        Attorney 's signature

The name, address, e-mail address, and telephone number of the attorney representing (name efparty)
Consolidated Plaintiffs                                                                         ,who issues or requests this subpoena, are:

 Lesley E. Weaver, 555 12th Street, Suite 1600, Oakland, CA 94607 -lvveaver@bfalavv.com, Tel: (415) 445-4003

                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, anotice and acopy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).

                                                                                                                                              2784
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in aCivil Action (Page 2)


Civil Action No. 3: 18-md-02843-VC


                                                              PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)


              Ireceived this subpoena for      (name ef individual and title, fan)

on   (date)



              1 Iserved the subpoena by delivering acopy to the named person as follows:



                                                                                          on   (date)                                 ;or



              1 Ireturned the subpoena unexecuted because:



              Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, Ihave also
              tendered to the witness the fees for one day's attendance, and the mileage allowed by law, in the amount of




My fees are $                                     for travel and $                              for services, for atotal of $               0.00



              Ideclare under penalty of peijury that this information is true.



Date:
                                                                                                   Server's signature




                                                                                                Printed name and title




                                                                                                   Server's address


Additional information regarding attempted service, etc.:




                                                                                                                                                   2785
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in aCivil Action(Page 3)


                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)

(c) Place of Compliance.                                                                (ii) disclosing an unretained expert's opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert's
 (1) For a Trial, Hearing, or Deposition. A subpoena may command a                 study that was not requested by aparty.
person to attend atrial, hearing, or deposition only as follows:                     (C) Spec fying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying asubpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows asubstantial need for the testimony or material that cannot be
     (i) is aparty or aparty's officer; or                                         otherwise met without undue hardship; and
     (ii) is commanded to attend atrial and would not incur substantial                 (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to aSubpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or               (1) Producing Documents or Electronically Stored It form            These
tangible things at aplace within 100 miles of where the person resides, is         procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to asubpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting aPerson Subject to aSubpoena; Enforcement.                          must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Itformation Not Spec fed.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If asubpoena does not specify aform for producing electronically stored
responsible for issuing and serving asubpoena must take reasonable steps           information, the person responding must produce it in aform or forms in
to avoid imposing undue burden or expense on aperson subject to the                which it is ordinarily maintained or in areasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Itformation Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney's fees—on aparty or attorney who             information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Itformation. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for aprotective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for adeposition,          made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Otjections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena awritten objection to inspecting, copying, testing, or             (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Itformation Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under aclaim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,           (i) expressly make the claim; and
the following rules apply:                                                             (ii) describe the nature of the withheld documents, communications, or
      (i) At any time, on notice to the commanded person, the serving party        tangible things in amanner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B)Irformation Produced. If information produced in response to a
      (ii) These acts may be required only as directed in the order, and the       subpoena is subject to aclaim of privilege or of protection as
order must protect aperson who is neither aparty nor aparty's officer from         trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, aparty must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying aSubpoena.                                              information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify asubpoena that:                        information if the party disclosed it before being notified; and may promptly
     (i) fails to allow areasonable time to comply;                                present the information under seal to the court for the district where
     (ii) requires aperson to comply beyond the geographical limits                compliance is required for adetermination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects aperson to undue burden.                                        (g) Contempt.
  (B) When Permitted. To protect aperson subject to or affected by a               The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt aperson
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing atrade secret or other confidential research,                 subpoena or an order related to it.
development, or commercial information; or




                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).




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                      SCHEDULE A TO SUBPOENA TO ZINGA, INC.


                                          DEFINITIONS

       The following definitions shall apply to these Requests for Production ("Requests"). In

the event of any ambiguity in one or more of the following definitions, common usage should

be used to provide the broadest interpretation of the term in question:

        1.     The use of the singular shall be deemed to include the plural, and the use of one

gender shall include all others, as appropriate, in the context.

       2.      The present tense of averb includes its past tense and vice versa.

       3.      "And" and "or" are terms of inclusion and not of exclusion and are to be

construed to bring within the scope of these Requests any documents or responses that

might otherwise be considered outside their scope.

       4.      The words "any" and "all" mean "each" and "every."

       5.      "Communication" means the transmittal (in the form of facts, ideas, thoughts,

opinions, data, inquiries or otherwise) and includes, but is not limited to, correspondence,

memoranda, reports, presentations, face-to-face conversations, telephone conversations, text

messages, instant messages, messages sent on Facebook Messenger, voice messages,

negotiations, agreements, inquiries, understandings, meetings, letters, notes, telegrams, mail,

electronic mail or email, and postings of any type.

       6.      "Content and Information" refers to "content" and "information" as Facebook's

Statements of Rights and Responsibilities have defined those terms. In brief, Facebook has

generally used "information" to mean facts and other information about users, including the

actions they take, and "content" to mean anything users post on Facebook that would not be

included in the definition of "information." Content and Information also includes both

personally identifiable content and information and anonymized content and information that is


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capable of being de-anonymized. Content and Information includes data that identifies, relates

to, describes, is capable of being associated with, or could reasonably be linked, directly or

indirectly, with aparticular user, including:

           a.   Identifiers such as areal name, alias, postal address, unique personal identifier,

                online identifier, Internet Protocol address, email address, account name, social

                security number, driver's license number, passport number, or other similar

                identifiers.

           b.   Characteristics of protected classifications under California or federal law.

           c.   Commercial information, including records of personal property, products or

                services purchased, obtained, or considered, or other purchasing or consuming

                histories or tendencies.

           d.   Biometric information.

           e.   Internet or other electronic network activity information, including, but not

                limited to, browsing history, search history, and information regarding a

                consumer's interaction with an Internet Web site, application, or advertisement.

           f.   Geolocation data.

           g.   Audio, electronic, visual, thermal, olfactory, or similar information.

           h.   Professional or employment-related information.

           i.   Education information, defined as information that is not publicly available

                personally identifiable information as defined in the Family Educational Rights

                and Privacy Act (20 U.S.C. §1232g, 34 C.F.R. Part 99).

           j.   Inferences drawn from any of the information identified in this paragraph to

                create aprofile, dossier, or similar collection of information about aconsumer




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               reflecting the consumer's preferences, characteristics, psychological trends,

               predispositions, behavior, attitudes, intelligence, abilities, and aptitudes.

       7.      "Document" is coextensive with the meaning of the terms "documents" and

"tangible things" in the Federal Rules of Civil Procedure, and shall have the broadest possible

meaning and interpretation ascribed to the terms "documents" and "tangible things" under the

Federal Rules of Civil Procedure. "Document" is defined to include any document and ESI

stored in any medium, and is synonymous in meaning and equal in scope to the usage of this

term in Federal Rule of Civil Procedure 34(a)(1)(A), including Communications as defined

herein, electronic or computerized data compilations, electronic chats, instant messaging,

documents created through Workplace by Facebook, encrypted or self-destructing messages,

messages sent via Facebook messenger, email, other ESI from personal computers, sound

recordings, photographs, and hard copy documents maintained in Your personal files.

       8.      "Electronic Media" means any magnetic, optical, or other storage media device

used to record ESI including computer memory, hard disks, floppy disks, flash memory devices,

CDs, DVDs, Blu-ray discs, cloud storage (e.g., DropBox, Box, OneDrive, or SharePoint), tablet

computers (e.g., iPad, Kindle, Nook, or Samsung Galaxy), cellular or smart phones (e.g.,

BlackBerry, iPhone, or Samsung Galaxy), personal digital assistants, magnetic tapes of all types,

or any other means for digital storage or transmittal.

       9.      "Electronically Stored Information" or "ESI" means information that is stored in

Electronic Media, regardless of the media or whether it is in the original format in which it was

created, and that is retrievable in perceivable form and includes metadata, system data, deleted

data, and fragmented data.

        10.    "Facebook" means Facebook, Inc.




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        11.     "Friend" means aFacebook user who is connected to another Facebook user on

Facebook.

        12.     "Identify" with respect to Documents, means to give, to the extent known, the (a)

type of Document; (b) general subject matter; (c) date of the Document; (d) author(s); (e)

addressee(s); and (f) recipient(s).

        13.     "Including" means "including but not limited to," or "including, without

limitation." Any examples which follow these phrases are set forth to clarify the Request,

definition, or instruction but not to limit the Request.

        14.     "Person" includes natural persons, religious organizations, firms, partnerships,

associations, joint ventures, corporations, and any other form of religious or business

organization or arrangement (whether formally incorporated or not), as well as officers,

directors, shareholders, employees, agents, and contractors of any religious or business

organization or arrangement.

        15.     "Privacy Settings" means the audience selectors on Facebook that allowed

Facebook users to control what information in aFacebook users' profiles can be viewed by other

Facebook users.

        16.     "Relating to," "relate to," "referring to," "refer to," "reflecting," "reflect,"

"concerning," or "concern" mean evidencing, regarding, concerning, discussing, embodying,

describing, summarizing, containing, constituting, showing, mentioning, reflecting, pertaining to,

dealing with, relating to, referring to in any way or manner, or in any way logically or factually,

connecting with the matter described in that paragraph of these demands, including documents

attached to or used in the preparation of or concerning the preparation of the documents.




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        17.     "You" or "Your" means the entire corporate family to which these Requests are

sent, and includes current and former employees, and all other persons acting on behalf of, or at

the direction of, such entity.

        18.     Words used in the plural include the singular, and words used in the singular

include the plural.




                                          INSTRUCTIONS


        1.      You are requested to produce all Documents in Your possession, custody, care or

control that are described below. In so doing, please furnish Documents that are in the possession

of Your partners, officers, employees, attorneys, accountants, representatives, or agents, or that

are otherwise subject to Your custody, care or control.

        2.      Unless otherwise indicated, the Documents to be produced include all Documents

prepared, sent, dated or received, or those that otherwise came into existence any time during the

time period described herein.

        3.      The production by one person, party, or entity of aDocument does not relieve

another person, party, or entity from the obligation to produce his, her, or its own copy of that

Document, even if the two Documents are identical.

        4.      In producing Documents, You are requested to produce acopy of each original

Document together with acopy of all non-identical copies and drafts of that Document. If the

original of any Document cannot be located, acopy shall be provided in lieu thereof, and shall be

legible and bound or stapled in the same manner as the original.

        5.      Reasonable efforts must be used to produce images of hard copy Documents

unitized as they were maintained in the producing party's files with attachments following



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parents. Documents stored in abinder, folder, or similar container (each a"container") may be

produced in the same order as they appear in the container. The front cover of the container shall

be produced immediately before the first Document in the container. The back cover of the

container shall be produced immediately after the last Document in the container. Similarly,

pages that are stapled, clipped, collected in folders, or otherwise bound in any manner shall be

produced as asingle Document and not multiple one-page Documents.

       6.      Documents not otherwise responsive to these Requests shall be produced if such

Documents mention, discuss, refer to, or explain the Documents which are called for by the

Request(s), or if such Documents are attached to or with Documents called for by the Request(s).

       7.      Each Document requested herein is requested to be produced in its entirety and

without deletion, redactions, or excisions (except as provided for under Instruction No. 8),

regardless of whether You consider the entire Document to be relevant or responsive to these

Requests. If You have redacted any portion of aDocument pursuant to Instruction No. 8, stamp

the word "redacted" on each page of the Document that You have redacted.

       8.      If You assert an objection to any Request, You must nonetheless respond and

produce any responsive Documents or ESI that are not subject to the stated objection. If You

object to part of aRequest or category, You must specify the portion of the Request to which

You object, and must produce Documents responsive to the remaining parts of the Request. To

the extent You object to any Request, You must provide specific responses (not general

objections or pat responses) as to what portion of the Request You object to and state expressly

why You will not respond to such Request.




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        9.       Notwithstanding aclaim that aDocument is protected from disclosure, any

Document so withheld must be produced with the portion claimed to be protected redacted, and

the Document must be logged in accordance with Instruction No. 8.

           10.   If any Document or ESI is known to have existed but no longer exists, has been

destroyed, or is otherwise unavailable, You must identify the Document or ESI, the reason for its

loss, destruction or unavailability, the name of each person known or reasonably believed by

You to have present possession, custody, or control of the original and any copy thereof (if

applicable), and adescription of the disposition of each copy of the Document or ESI.

           11.   If no Document or ESI responsive to aRequest exists, please state that no

responsive Document or ESI exists.

           12.   These Requests shall be deemed continuing so as to require reasonable

supplemental responses as You or Your attorneys obtain further information or materials

following the receipt of this subpoena until the time of trial. Plaintiffs reserve the right to

propound additional discovery requests.

                                   RELEVANT TIME PERIOD

       Unless otherwise stated, the relevant time period for each Request is January 2009

through the present (the "Relevant Time Period") and shall include all Documents that relate to

such period, even though prepared or published outside of the Relevant Time Period. If a

Document prepared before or after the Relevant Time Period is necessary for acorrect or

complete understanding of any Document included in aRequest, You must produce the earlier or

subsequent Document as well. If any Document is undated and the date of its preparation cannot

be determined, the Document shall be produced if otherwise responsive to the production

request.




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                                REQUESTS FOR PRODUCTION


Request No. 1

       Documents sufficient to show by category Facebook users' Content and Information that

You accessed or obtained, including Facebook users' Content and Information You accessed or

obtained through Friends' Facebook accounts.

Request No. 2

       Documents sufficient to show how You accessed or obtained such Content and

Information identified in Request No. 1, including but not limited to Documents sufficient to

identify each of Facebook's application programing interfaces ("APIs") You used to access or

obtain such Content and Information.

Request No. 3

       Documents sufficient to show any technical limitations Facebook placed on Your use of

Facebook users' Content and Information that You accessed or obtained.

Request No. 4

       Documents sufficient to show how any Privacy Settings associated with Facebook users'

Content and Information was transmitted to You when You accessed or obtained such Content

and Information from Facebook, including but not limited to metadata or any other information

identifying the context of how the information was used on Facebook's platform.

Request No. 5

       Documents sufficient to show any agreements You had with Facebook and Facebook

users to access or obtain users' Content and Information.




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Request No. 6

       All Documents relating to the implementation of all agreements between You and

Facebook that allowed You to access or obtain Facebook users' Content and Information.

Request No. 7

       Documents sufficient to show the amount, volume, and categories of Facebook users'

Content and Information You possess.

Request No. 8

       All Documents concerning Your access or use of Facebook users' Content and

Information in amanner inconsistent with Your agreements with Facebook, Your agreements or

policies with users, or in ways users did not expect, including but not limited to complaints as

kept in any customer service department, and any audits, assessments, or reports You performed

concerning such use.

Request No. 9

       All Documents relating to Your assessment of the value of Facebook users' Content and

Information, including but not limited to all Documents relating to the fair value determination

of Content and Information transferred in any commercial exchange between You, Facebook or

users themselves, and any internal marketing and business plans relating to the value of

Facebook users' Content and Information.

Request No. 10

       Documents sufficient to show all money, data, content or items of value You provided

Facebook in exchange for access to Facebook users' Content and Information.




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Request No. 11

       All Documents relating to Your analyses of Facebook's policies—including Facebook's

Statement of Rights and Responsibilities, Data Use Policy and Platform Policy—concerning

Your access and use of Facebook users' Content and Information.

Request No. 12

       Your Document and ESI retention policies and practices for the Relevant Time Period,

including any litigation holds issued and enforced from January 1, 2018 to the present, that may

have or did impact the retention of any Documents of ESI identified in Request Nos. 1-11,

including Documents relating to any spoliation or Document destruction issues.




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 1                                         PROOF OF SERVICE

 2
             Iam employed in the County of Alameda, State of California. Iam acitizen of the
 3   United States, over the age of 18 years, and not aparty to the within cause. My business address
     is Bleichmar Fonti & Auld LLP, 555 12th Street, Suite 1600, Oakland, CA 94607.
 4
            On March 3, 2020, Iserved the following document(s):
 5
                        PLAINTIFFS' NOTICE OF NON-PARTY SUBPOENA
 6
                                      TO ZYNGA, INC.
 7
     via electronic mail on the parties below:
 8
      Joshua Lipshutz                                        Kristin A. Linsley
 9
      Gibson, Dunn & Crutcher LLP                            Brian M. Lutz
10    1050 Connecticut Ave NW                                Gibson, Dunn & Crutcher LLP
      Washington, DC 20036
                                                             555 Mission Street
11    jlipshutz@gibsondunn.com
                                                             Suite 3000
                                                             San Francisco, CA 94105
12    Orin Snyder
                                                             klinsley@gibsondunn.com
      Gibson, Dunn & Crutcher LLP
13                                                           blutz@gibsondunn.com
      200 Park Avenue
      New York, NY 10166
14
      osnyder@gibsondunn.com
15

16

17

18

19         Ideclare under penalty of perjury, under the laws of the State of California, that the
     foregoing is true and correct. This proof of service was executed by me on March 3, 2020, in
20   Oakland, California.

21                                               /s/ William Nervis

22                                                William Nervis

23

24

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26

27

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                       EXHIBIT I




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 Lesley E. Weaver (SBN 191305)                       Derek W. Loeser (admitted pro hac vice)
 BLEICHMAR FONTI & AULD LLP                          KELLER ROHRBACK L.L.P.
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 Oakland, CA 94607                                   Seattle, WA 98101
 Tel.: (415) 445-4003                                Tel.: (206) 623-1900
 Fax: (415) 445-4020                                 Fax: (206) 623-3384
 lweaver@bfalaw.com                                  dloeser@kellerrohrback.com

 Plaint4
       .). fs' Co-Lead Counsel


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 Tel: 212.351.4000
 Fax: 212.351.4035
 osnyder@gibsondunn.com

 Counsel for Dc.
               fendant Facebook, Inc.

 Additional counsel listed on signature page


                              UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF CALIFORNIA

                                                     MDL No. 2843
IN RE: FACEBOOK, INC. CONSUMER                       Case No. 18-md-02843-VC-JSC
PRIVACY USER PROFILE LITIGATION

                                                     STIPULATION AND [PROP-OSED]
This document relates to:                            ORDER GOVERNING THE
                                                     PRODUCTION OF ELECTRONICALLY
ALL ACTIONS
                                                     STORED INFORMATION AND HARD
                                                     COPY DOCUMENTS

                                                     Judge:      Hon. Jacqueline Scott Corley




A.     PURPOSE

       This Order will govern discovery of electronically stored information ("ESI") and hard copy

documents (collectively, "Document" or "Documents") in the above-captioned matter and all actions

that are later consolidated with this matter (collectively, "Litigation"), as asupplement to the Federal

Rules of Civil Procedure, this Court's Guidelines for the Discovery of Electronically Stored

Information ("ESI Guidelines"), and any other applicable orders and rules.
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       Nothing in this Order establishes any agreement as to either the temporal or subject matter scope

of discovery in the Litigation, or whether aparty has made areasonable and diligent search for

Documents. Nothing in this Order establishes any agreement to any search protocol, including which

sources shall be searched. Such procedures or criteria are to be separately agreed upon.

       This Order is subject to amendment or supplementation based upon the results of anticipated

future meet and confers and by later agreement of the parties, if necessary, in light of further

developments, including, the parties' engagement of document hosting vendors and associated

technical requirements. References are made to the Federal Rules of Civil Procedure for ease of

reference.


B.     COOPERATION AND PROPORTIONALITY

       The parties are aware of the importance this Court places on cooperation in discovery,

consistent with this Court's Guidelines for the Discovery of ESI. The parties acknowledge that

cooperation in reasonably limiting ESI discovery requests and in reasonably responding to ESI

discovery requests tends to reduce litigation costs and delay and commit to cooperation in good faith

on issues relating to the preservation, collection, search, review, and production of ESI.

       The parties acknowledge that the proportionality standard described in Guideline 1.03 and set

forth in Fed. R. Civ. P. 26(b)(1) applies to the discovery of ESI in this action. To further the

application of the proportionality standard, the parties agree that the factors set forth in Guideline 1.03

shall be considered, and that all discovery requests for production of ESI and related responses should

and will be reasonably targeted, clear, and as specific as practicable.


C.     E-DISCOVERY LIAISONS

       The parties will rely on one or more e-discovery liaisons, as needed, to confer about ESI and to

help resolve disputes without court intervention. Each e-discovery liaison will be, or have access to

those who are:


        1.       knowledgeable about the respective party's e-discovery efforts;

       2.        familiar with the respective party's electronic systems and capabilities in order to

explain those systems and answer relevant questions; and

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          3.     knowledgeable about the technical aspects of e-discovery, including the nature,

location, storage, accessibility, format, collection, search methodologies, and production of ESI in this

matter.

          Plaintiffs have previously identified an ESI liaison. Defendant will identify an ESI liaison or

liaisons within ten days of the entry of the order adopting of this Stipulation. In the interim,

Defendant's counsel will be prepared to discuss any ESI issues within areasonable time after notice by

Plaintiffs' counsel. Each party will notify the other of any changes of its designated e-discovery liaison

or liaisons.


D.        PRESERVATION

          The parties and their counsel acknowledge that they have an obligation to take reasonable and

proportional steps to preserve discoverable information in the party's possession, custody, or control

consistent with the Federal Rules. In accordance with ESI Guideline 2.01(d), the parties will continue

to meet and confer over their respective ESI preservation efforts and obligations. If the parties are

unable to resolve apreservation issue and one party wishes to raise the issue with the Court, that party

shall do so promptly, consistent with the Court's order on Discovery Dispute Resolution Procedures

(Dkt. No. 393).

          The parties have discussed their preservation obligations and needs and agree that preservation

of potentially relevant ESI will be reasonable, proportionate, and within the scope of production under

FRCP 26(b)(1) and 26(b)(2)(B). To reduce the costs and burdens of preservation and to ensure

discoverable ESI is preserved, the parties agree that:

          (a)    ESI created, modified, or received since January 1, 2007, will be preserved;

          (b)    Each party is responsible for taking reasonable and proportionate steps to preserve non-

                 duplicative discoverable information currently in their possession, custody or control.

                 However, parties shall not be required to modify, on a going-forward basis, the

                 procedures used by them in the usual course of business to back up and archive data not

                 subject to alitigation hold.

          (c)    Subject to and without waiving any protection described above, the parties agree that:



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        (1)     The parties will meet and confer regarding the types of ESI they believe should

                be preserved, the custodians or general job titles or descriptions of custodians for

                whom they believe ESI should be preserved, and the custodial and non-custodial

                sources to be preserved. Nothing in this Order waives or modifies the attorney—

                client-privilege that attaches to custodial interviews.

        (2)     The parties shall agree to add or remove custodians and non-custodial sources to

                be preserved as reasonably necessary. Such requests must be made in good faith.

        (
        3)      The parties will meet and confer as fact discovery proceeds on whether an

                extension of time for fact discovery may be necessary.

  (d)   The parties agree that ESI from the following data sources is not reasonably accessible

        because of undue burden or cost and therefore that under Fed. 26(b)(2)(B) Facebook need

        not provide discovery of ESI from these sources (ESI from these sources will be preserved

        in accordance with Facebook's standard business practices but will not be searched,

        reviewed, or produced unless ordered by the Court):

        (1)     backup systems and/or tapes used for disaster recovery; and

        (2)     systems that are no longer in use and cannot be accessed.

  (e)   The parties agree, based on mutual representation of the parties' counsel, that the

        following sources of data are not reasonably accessible and need not be preserved,

        collected, processed, reviewed and/or produced:

        (1)    Deleted,   slack,   fragmented,   or unallocated data generated on individual

               workstations, and only accessible by forensics;

        (2)    Random access memory (RAM), temporary files, or other ephemeral data

               generated on individual workstations and that are difficult to preserve without

               disabling the operating system;

        (3)    On-line data from the individual work stations of the employees of the producing

               party using internet browsers, such as temporary internet files, history, cache,

               cookies, and the like;




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              (4)    Data in the following metadata fields, which are frequently updated automatically

                     without end user intervention: last opened dates and times, last printed dates and

                     times, last modified dates and times, and last modified by; and

              (5)    Information created or copied during the routine, good-faith performance of

                     processes for the deployment, maintenance, retirement, and/or disposition of

                     computer equipment by the party and belonging to acustodian, to the extent such

                     information is duplicative of information that resides in areasonably accessible

                     data source.

       (f)    The parties agree that the burden and expense of preservation of the following sources of

              data for all agreed custodians is not proportionate to the needs of the case and therefore

              agree (i) to conduct custodial interviews and to determine in those interviews whether

              any of the following sources is likely to contain relevant data from that custodian; (ii) that

              if acustodian identifies any of the following sources as likely containing relevant data,

              that source will be preserved and collected; and (iii) that if acustodian does not identify

              any of the following sources as likely containing relevant data, these sources will not be

              preserved or collected:

              (1)     Voicemails and other voice messages;

              (2)     Sound recordings, including without limitation .mp3 and .wav files;

              (
              3)      Information contained on amobile device that is not duplicative of information

                      that resides in an another, more easily accessible data source;

              (4)     Instant messages and chats that are not chronicled to an email archive system;

                      and

              (
              5)      Mobile device activity logs for the Producing Party's devices or the Producing

                      Party's employees' devices.

E.     SEARCH AND REVIEW

       The parties agree to meet and confer concerning search methodologies, including without




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limitation, the use of keyword search terms and/or the use of technology assisted review ("TAR"). 1

        The parties recognize that even though adocument contains one or more of the search terms

identified in accordance with the procedures listed below, such document may not be responsive to any

document request. In such cases, the Producing Party is not required to produce such documents. If a

document contains one or more of the search terms in accordance with the procedures listed below,

and part but not all of the document is responsive to any document request, the Producing Party should

produce the entire document without redacting the nonresponsive portions of the document, unless the

nonresponsive portions of the document contain information (1) that would be redacted from acourt

filing under Fed. R. Civ. P. 5.2(a) or (2) the disclosure of which would threaten serious competitive

harm to the Producing Party. If either of those conditions is met, the parties will meet and confer to

discuss the redaction of such information prior to the production of any redacted documents. If the

parties reach agreement regarding the redaction of such information and any portion of adocument is

subsequently produced in redacted form, this will be noted in the Redaction field, included in Table 1

of Appendix A, and, within 20 days of the production of such documents, the document(s) will be

recorded on acumulative log identifying the reason for the redaction (i.e. condition (1) or condition

(2)) and the date upon which the parties reached agreement regarding the redaction. If the parties are

unable to reach agreement regarding redaction, the document should either be promptly produced

without redaction, or the Producing Party shall promptly raise the issue with the Court, consistent with

the Court's order on Discovery Dispute Resolution Procedures (Dkt. No. 393).

        In addition to identifying documents pursuant to an agreed upon search protocol, the parties

recognize that they are obligated to produce relevant, responsive, non-privileged documents of which

they are aware, regardless of whether such documents contain any of the agreed upon or additional

search terms.

        The parties agree that in responding to an initial Fed. R. Civ. P. 34 request, or earlier if

appropriate, they will meet and confer about methods to search ESI in order to identify ESI that is



1 The producing party will disclose to the receiving party if they intend to use Technology Assisted
 Review ("TAR") (including predictive coding or any other form of machine learning) to filter out
 non-responsive documents. The parties will meet and confer at that time to negotiate asuitable TAR
 protocol.
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subject to production in discovery and filter out ESI that is not subject to discovery.

         The parties understand the cost and complexity of reviewing and producing ESI and seek to

engage in acooperative, iterative process to limit costs but ensure relevant, responsive documents are

likely discovered in any ESI search. As such, the parties will cooperate regarding the disclosure and

formulation of appropriate search terms for use in the responsiveness review and production of ESI.

The parties are not required to exchange privileged search terms.

         The parties will each disclose alist of the most likely custodians of relevant documents,

including the general job titles or descriptions of each custodian and will meet and confer regarding

custodians, including how the relevant ESI is maintained and where, consistent with Discovery Order

No. 1(Dkt. No.404) and any subsequent orders entered by the Court.

         The parties will meet-and-confer in good faith regarding search terms and custodians. As part

of the meet-and-confer process to select search terms and custodians, the Producing Party will provide

ahit report for proposed search terms if requested by the Requesting Party. If the Requesting Party

objects to the sufficiency of the Producing Party's proposed search terms, the Requesting Party may

propose modifications to the Producing Party's terms, or alist of additional terms, subject to the

paragraph regarding Additional Terms for Good Cause below. Any disputes over additional custodians

or terms that cannot be resolved between the parties during meet and confer may be presented to the

Court.

         Disputed Search Terms: If the Producing Party contends that terms proposed by the

Requesting Party would recall an excessive number of documents ("Disputed Search Terms"), the

Producing Party will provide aDisputed Search Term hit list or hit report after global de-duplication.

The list or report should include the number of documents that hit on each term, the number of unique

documents that hit on each Disputed Term (documents that hit on aparticular term and no other term

on the list), and the total number of documents that would be returned by using the proposed search

term list (including families). With respect to any search term for which the Producing Party believes

there exists amodification that will reduce the number of irrelevant documents returned by the search

term, the Producing Party will meet and confer with the Requesting Party to discuss in good faith any

such modification. For any terms that aProducing Party believes are burdensome, overly broad, and/or


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objectionable and for which there does not appear to be any modification that would resolve such

issues, the Producing Party will meet and confer with the Requesting Party to discuss in good faith its

objections to such search terms. As part of that process, the Producing Party will, upon request,

provide the Requesting Party with the quantitative information discussed above. In the event that a

dispute remains after quantitative information is evaluated, the Requesting Party may ask for (and the

Producing Party will not unreasonably withhold) qualitative information about the disputed search

term(s). The Producing Party agrees to consider areasonable number of good faith requests from the

Requesting Party to review arandom sample of documents and their family members with unique hits

that hit on the disputed search terms and to discuss the results of that review with the Requesting Party.

For any random sample that is reviewed, the parties will, in good faith, attempt to reach agreement on

the appropriate sample size.

       Additional Terms for Good Cause: Once asearch term list is finalized (either though

agreement of the parties or Order of the Court) and all iterative searches for acustodian are complete,

the Requesting Party may propose additional search terms for aProducing Party to consider, but the

Producing Party will have no obligation to re-search the custodian's electronic data using such

additional search terms without agreement or acourt order. The Requesting Party must show good

cause for any additional proposed search terms, such as, for example, that the proposed term, or the

significance of the proposed term, was unknown to them as of the time the original list was formulated;

provided, however, that this provision does not relieve aProducing Party of any obligation that may

arise, pursuant to the Federal Rules of Civil Procedure or applicable case law, to conduct additional

searches in the course of the litigation. If aProducing Party cannot meet any applicable deadlines for

the production of documents as aresult of this provision, the parties will negotiate in good faith a

reasonable timeline for production or seek an order from the Court.

       Known Responsive ESI: ESI that is known to aparty to be responsive to adiscovery request or

subject to disclosure under Fed. R. Civ. P. 26(a)(1)A) may not be withheld on the grounds that it was

not identified as responsive by the protocol described in, or developed in accordance with, this Order.

       Discrete folders or collections of Documents that are identified by acustodian as likely to be

responsive will be collected and preserved pursuant to standard business practices and processes that

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are reasonably designed to ensure all potentially responsive documents are identified and collected.

       The parties will continue to meet and confer regarding any search process issues as necessary and

appropriate. This ESI protocol does not address or resolve any other objection to the scope of the parties'

respective discovery requests.

       Nothing in this Order shall be construed or interpreted as precluding aproducing party from

performing aresponsiveness review to determine if documents captured by search terms are in fact

relevant to the requesting party's request. Further, nothing in this Order shall be construed or interpreted

as requiring the production of all documents captured by any search term if that document is in good

faith and reasonably deemed not relevant to the requesting party's request or is privileged.

F.     PRODUCTION FORMATS

       Appendix A sets forth the technical specifications that the parties propose to govern the form of

production of documents in this litigation, absent agreement by the parties or order by the Court.

       The parties have agreed to specifications identifying the file formats under which Documents

will be produced, as described in Appendix A. To the extent aparty believes that aDocument that has

been produced should be produced in adifferent or alternative format, or aparty raises any questions

or concerns regarding aproduced Document, the parties will meet and confer on the issue.

       ESI will be deduplicated globally across all custodians using industry standard deduplication

methods and software as set forth in Appendix A.

       Each party will use its best efforts to filter out common system files and application executable

files by using acommercially reasonably hash identification process. Hash values that may be filtered

out during this process are located in the National Software Reference Library ("NSRL") NIST hash

set list. System and program files defined on the NIST list need not be processed, reviewed, or

produced. The parties may suppress container files (.ZIP, .PST, .RAR) that do not reflect substantive

information prior to production, but must produce the remainder of those responsive, non-privileged

document families found within the container file, including any emails to which that container file is

attached. Similarly, the parties may suppress any non-substantive images extracted from email

documents (e.g., logs, icons) prior to production).

       E-mail thread analysis may be used to reduce the volume of emails reviewed and produced,


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provided the Producing Party discloses that it is using e-mail thread analysis. "E-mail thread analysis"

means that where multiple email messages are part of asingle chain or "thread," aparty is only

required to produce the most inclusive message ("Last In Time E-Mail") and need not separately

produce earlier, less inclusive e-mail messages or "thread members" that are fully contained within the

Last In Time E-mail. An earlier e-mail is fully contained in the Last In Time E-mail only if the Last In

Time E-mail includes all previous emails, including attachments and identical senders and recipients,

on the thread. Only email messages for which the parent document and all attachments are contained in

the Last In Time Email will be considered less inclusive email messages. For avoidance of doubt, if a

thread member contains any additional data that is not contained in the Last In Time E-mail (including

without limitation attachments or BCC recipients), it is not aless-inclusive e-mail and must be

separately produced. Where aLast In Time E-Mail is produced, the producing party will include

metadata corresponding to the following metadata fields for each of the earlier thread members fully

contained within the Last In Time E-mail: Sent Date, Sender, Recipient, CC, BCC, and Subject.

       If areceiving party raises an issue regarding the usability or format of aproduced Document,

the parties the parties will meet and confer regarding whether an alternative form of production is

necessary or appropriate and seek Court intervention only if necessary.

       The parties recognize that certain information to be produced in discovery may reside in

proprietary systems and formats. The producing party will take reasonable steps to produce documents

from such sources in areasonably usable format with appropriate metadata in line with how the

information is kept in the usual course of business. If after reviewing the produced Documents a

receiving party raises aspecific issue or concern about aproduced Document or data, the parties will

meet and confer regarding whether an alternative form of production or additional metadata is

necessary or appropriate.

G.     DOCUMENTS PROTECTED FROM DISCOVERY

       The provisions and protections of aFed. R. Evid. 502 stipulation are being separately

negotiated. The parties will submit aproposed 502(d) stipulation in accordance with the Court's order

(Dkt. No. 404).




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H.     PRIVILEGE LOGS

       Where adocument is withheld from production entirely or in part by redaction on the basis of

the attorney-client privilege or work product doctrine, the Producing Party will produce aprivilege log

in Microsoft Excel format. The parties will meet and confer to determine aseparate protocol for the

production of privilege logs.

       Nothing in this Order shall be interpreted to require disclosure of irrelevant information or

relevant information protected by the attorney-client privilege, the work-product doctrine, or any other

applicable privilege or immunity. The parties do not waive any objections to the production,

discoverability, admissibility, or confidentiality of documents and ESI.

I.     OBJECTIONS PRESERVED

       Except as provided expressly herein, the parties do not waive any objections as to the

 production, discoverability, authenticity, admissibility, or confidentiality of Documents. Nothing in

 this Order waives the right of any party to petition the Court for an order modifying its terms upon

 sufficient demonstration that compliance with such terms is unreasonably burdensome or infeasible or

 that the production of particular Documents in adifferent format or with different metadata fields is

 reasonably necessary, provided, however that counsel for such party must first meet and confer with

 the counsel for the opposing parties and the parties shall use reasonable best efforts to negotiate an

 exception from or modification to this Order prior to seeking relief from the Court.

J.     RETENTION OF ORIGINAL DOCUMENTS

       Each party agrees to retain native electronic source documents for all ESI produced in this

 litigation unless another manner is mutually agreed upon by the parties. Each party agrees to use

 reasonable measures to maintain the original native source documents in amanner so as to preserve

 the metadata associated with these electronic materials at the time of collection.

K.     MODIFICATIONS

       This Stipulated Order may be modified by agreement of the parties memorialized in a

Stipulated Order of the parties or by the Court.

L.     TIMING AND PHASING OF PRODUCTIONS

       When aparty propounds discovery requests pursuant to Fed. R. Civ. P. 34, the parties agree to


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phase the production of ESI by producing documents on arolling basis. Following the initial

production, the parties will continue to meet and confer to prioritize the order of subsequent

productions. Production in the Litigation is anticipated to be conducted with the parties making

reasonable efforts to expedite the process.

M.     EFFECTIVE DATE

        The provisions of this ESI Protocol will take effect upon the entry of an order of the Court

approving and adopting this ESI Protocol.

       IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.

Dated: April 27, 2020                                        Respectfully submitted,



KELLER ROHRBACK L.L.P.                                       BLEICHMAR FONTI & AULD LLP

By:    /s/ Derek W. Loeser                                   By:    /s/ Lesley E. Weaver
       Derek W. Loeser                                              Lesley E. Weaver

Derek W. Loeser (admitted pro hac vice)                      Lesley E. Weaver (SBN 191305)
Lynn Lincoln Sarko (admitted pro hac vice)                   Anne K. Davis (SBN 267909)
Gretchen Freeman Cappio (admitted pro hac vice)              Joshua D. Samra (SBN 313050)
Can Campen Laufenberg (admitted pro hac vice)                Matthew P. Montgomery (SBN 180196)
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Attorneys for Defendant Facebook, Inc.


       IT IS SO ORDERED.

       Dated: April 30       ,2020




                                             Th'Horórable Jacqueline Scott C rley
                                             United States Magistrate Judge

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                                           APPENDIX A

I      Production Format

       All ESI is to be produced in an imaged file format with the corresponding metadata,

appropriate load files, searchable text, and, where specified, native format files. The parties

agree that certain file types should be produced in their native file format. Where ESI exists in

databases or as structured data, production in an alternative format may be preferred and the

parties agree to meet and confer to determine an appropriate format. To the extent that any party

made adocument production before the entry of this ESI protocol that included ESI that was

produced in aformat that differs from the agreed upon format described below, the parties agree

that, where feasible, that ESI will be reproduced in the agreed-upon format described below.

Where reproduction in that format is not feasible, the parties will meet and confer regarding a

feasible production format.

A.     TIFF Image Files. The parties agree that all Documents will be produced as single-

page, 1-BIT, black and white Group, IV TIFF image files of at least 300 dpi resolution, except as

provided in section I.C. Page size shall be 8.5 x 11 inches unless otherwise agreed. Each image

file will use the Bates number of the page as its unique file name. Bates numbers and

confidentiality designations shall be branded on each produced image. Original document

orientation as displayed in the native file should be maintained in the produced image (i.e.,

portrait to portrait and landscape to landscape). Where feasible, documents which contain

hidden content, tracked changes, comments, deletions, or revision marks (including, where

available, the identity of the person making the comment, deletion, or revision and the date and

time thereof), speaker notes, or other user-entered data that the source application can display to

the user shall be processed such that all such data is visible (or marked as redacted for privilege

or pursuant to the procedure described in Section E of the ESI Protocol) in the produced image.

       Where the TIFF image is unreadable or has materially degraded the quality of the

original, or where the Requesting Party obtains through discovery afile or Document that it

believes is not adequately represented in an image file format, the Producing Party will, upon

reasonable request, re-produce the image in another feasible format (such as areimaged TIFF,

near-native reproduction, native format, or other reasonably usable format).

B.     Text Files. Each Document produced under this Order shall be accompanied by asingle,

multipage text file containing all of the text for that item, not one text file per page. Each text



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file shall be named to use the Bates number of the first page of the corresponding production

item.

          1.     OCR: The text for each hard copy document shall be generated by applying

                 optical character recognition ("OCR") technology to the scanned image of the

                 document. The parties will endeavor to generate accurate OCR and will utilize

                 quality OCR processes and technology. OCR text files should indicate page

                 breaks where possible.

         2.      Text Files: The text of each ESI item shall be extracted directly from the ESI

                 native file unless technologically infeasible. Extracted text shall include available

                 comments, revisions, tracked changes, speaker notes, and hidden content

                 (including, worksheets, slides, columns, rows, notes). To the extent it is not

                 technically feasible to extract text directly from the native file the text for each

                 ESI item shall be generated by applying OCR to the native file under the

                 provision above. Text files will not contain the redacted portions of documents.

          3.     Foreign Language Text: In the event that discoverable ESI includes foreign

                 language text and is produced in away that it is otherwise unusable, the receiving

                 party will raise the issue and the parties will meet and confer regarding an

                 appropriate manner to reproduce the materials in ausable format.

C.       Production of ESI in Native Format. The parties agree that the following types of files

will be produced in native format: presentation-application files (e.g. MS PowerPoint);

spreadsheet-application files (e.g., MS Excel, Google Sheets); and multimedia audio/visual files

such as voice and video recordings, if any (e.g., way, .mpeg, and .avi). Media files shall be

produced in the native format in which they are maintained unless the parties discuss and agree

to an alternative format in advance.

          The Producing Party shall produce asingle-page TIFF slip-sheet for each native file,

indicating that anative item was produced. The corresponding load file shall include NativeLink

information for each native file that is produced. If aDocument to be produced in native format

contains privileged or information redacted pursuant to the procedure set forth in Section E, the

Document will be produced in TIFF format with redactions and OCR text to remove the

privileged material from the searchable text.




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D.       Bates Numbering. Each TIFF image produced under this Order must be assigned a

unique Bates number that must always: be unique across the entire Document production;

maintain aconstant length of the numeric digits (including 0-padding) across the entire

production; contain only alphanumeric characters, no special characters or embedded spaces;

and be sequential within agiven Document.

         Attachments to Documents and embedded objects extracted from or attached to

Documents or e-mails will be assigned Bates numbers that directly follow the Bates numbers on

the Documents to which they are attached. Parent-child relationships for all groups of hard copy

documents as specified in section III.C.5, and all embedded ESI as specified in section I.F, will

be indicated by applying sequential Bates numbers to all items within the parent-child group, and

identified by Bates numbers in the relevant ESI metadata fields specified in section II. For

example, if aparty is producing an e-mail with attachments, the attachments will be processed

and assigned Bates numbers in sequential order, following consecutively behind the parent e-

mail.

         Each TIFF image will have its assigned Bates number electronically "burned" onto the

image. The Producing Party will brand all TIFF images in the lower right-hand corner with its

corresponding Bates number. If the placement in the lower right-hand corner will result in

obscuring the underlying image, the Producing Party will attempt to adjust the Bates number as

near to that position as possible while preserving the underlying image. If aBates number or set

of Bates numbers is skipped, the skipped numbers or set of numbers will be noted.

E.       Attachments. The parties agree that if any part of an e-mail or its attachments is

responsive, the entire e-mail and attachments will be considered responsive. The parties

acknowledge that if any part of an e-mail or its attachments is privileged, that email and/or

attachment may be withheld or redacted for privilege.

F.       Embedded Files. The parties agree to take reasonable steps to ensure that embedded ESI

(e.g., aspreadsheet embedded within aword processing document, multimedia and other word

processing files embedded in PowerPoint) shall be produced as independent document records

and that the parent-child relationship is indicated by assigning sequential Bates numbers as set

forth in section D.

G.        Color. The parties may submit reasonable requests for reproduction of documents in

color where color is necessary to accurately interpret the document. The production of such



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Documents in color shall be made in JPEG format. If either party deems the quality of the

Document produced in JPEG format to be insufficient, the Producing Party may produce the

color image in TIFF or another reasonably usable format. All requirements for productions

stated in this Order regarding production in TIFF black and white format apply to any production

of Documents in color JPEG or TIFF format.

H.     Confidentiality Designations. If aparticular Document has aconfidentiality

designation, the designation shall be stamped on the face of all TIFF images pertaining to such

Document, in the lower left-hand corner of the Document. Each responsive document produced

in native format will have its confidentiality designation indicated on its corresponding TIFF

placeholder. The confidentiality designation should also be reflected in the Confidentiality

metadata field specified in section II.

I.     Redaction. The parties agree that where non-Excel-type spreadsheet ESI items need to

be redacted, they shall be produced solely in TIFF with each redaction clearly indicated on the

Document. Any unaffected data fields specified in section II shall be provided.

       The text file corresponding to aredacted Document may be generated by applying OCR

in accordance with section I.B for all unredacted portions of the Document. The Document must

be marked as such in the accompanying redaction metadata field as specified in section II.

       Documents redacted or withheld for privilege will be logged.

       Where Excel-type spreadsheets need to be redacted, the Producing Party may choose

whether to redact in the native file or in aTIFF format so long as such redactions do not affect

the operation of the file. Formulas may be "flattened" and replaced with actual value. The party

shall maintain the original Excel-type spreadsheet before redactions are applied as to maintain

the original metadata fields.

       If the items redacted and partially withheld from production are PowerPoint type

presentation decks or Excel-type spreadsheets, and the native items are also withheld, the entire

ESI item will be produced in TIFF format and the Producing Party will make reasonable efforts

to produce all unprivileged pages, hidden fields and other information that does not print when

opened as last saved by the custodian or end-user. For PowerPoint-type presentation decks, this

shall include, but is not limited to, any speaker notes. For Excel-type spreadsheets, this shall

include, but is not limited to, hidden rows and columns, all cell values, annotations and notes.

The Producing Party shall also make reasonable efforts to ensure that any spreadsheets produced



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only as TIFF images are formatted so as to be legible. For example, column widths should be

formatted so that the numbers in the column will display rather than "##########."

        If the items redacted and partially withheld from production are audio/visual files, the

Producing Party shall provide the unprivileged portions of the content. If the content is avoice

recording, the parties shall meet and confer to discuss the appropriate manner for the Producing

Party to produce the unprivileged portion of the content.

J.      Encryption. To the extent practicable, before the application of search terms to a

database of Documents, the searching party shall use reasonable efforts to de-encrypt encrypted

Documents in the database if otherwise, without de-encryption, the search terms will not pick up

hits in the encrypted Documents.

        The parties will make reasonable efforts to ensure that all encrypted or password-

protected Documents are successfully processed for review and production under the

requirements of this Order, including all automated mechanisms presently offered by the party's

document vendor and approaching the custodian for any relevant passwords, if the custodian is

accessible, and if produced in Native format, the decrypted Document is produced. To the extent

encrypted or password-protected Documents are successfully processed according to the

requirements of this Order, the parties have no duty to identify the prior encrypted status of such

Documents but will produce such processed Documents in accordance with the specifications of

this Order. The parties will consider reasonable requests for information regarding the number,

custodians, and/or locations of encrypted documents that are not able to be de-encrypted using

reasonable means.



K.      Database Records and Structured Data. To the extent that any party requests

information that is stored in adatabase, or database management system, or proprietary system,

the Producing Party will identify the database and platform to the Requesting Party, and will

meet and confer in good faith in an attempt to reach agreement on the data to be produced and

the form of the production to ensure that any information produced is reasonably usable by the

Requesting Party and that its production does not impose an undue burden on the Producing

Party, by, for example, requiring development of reports and/or software code to extract the

information. The Producing Party will provide information about the database reasonably

necessary to facilitate that discussion.



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         To avoid doubt, information will be considered reasonably usable when produced in CSV

format, tab-delimited text format, Microsoft Excel format, or Microsoft Access format. To the

extent aparty is constrained from producing responsive ESI because of athird party license or

because software necessary to view the ESI is hardware-dependent, the parties shall meet and

confer to reach an agreement on alternative methods to enable the Requesting Party to view the

ESI.

L.      Deduplication. The Producing Party need only produce asingle copy of aparticular ESI

item, and may deduplicate ESI vertically by custodian, or horizontally (globally) across the

population of records. The parties agree to the following:

         1.     Duplicates shall be identified by using industry standard MD5 or SHA-1

                algorithms only to create and compare hash values for exact matches only. The

                resulting hash value for each item shall be reflected in the HASH field specified

                in section II.

        2.      Deduplication shall be performed only at the Document family level so that

                attachments are not de-duplicated against identical stand-alone versions of such

                Documents and vice versa, although each family member shall be hashed

                separately for purposes of populating the HASH field in section II.

         3.     An email that includes content in the BCC or other blind copy field should not be

                treated as aduplicate of an email that does not include content in those fields,

                even if all remaining content in the email is identical. Deduplication may be

                applied across the entire collection (i.e., global level), in which case the custodian,

                filepath, and filename metadata fields should list the primary custodian, filepath,

                and filename, as asource of the primary copy of the document, while

                deduplicated custodians will be listed in the Duplicate Custodian, Duplicate

                Filepath field and separated by semicolons if there are multiple values. In the

                event that the Producing Party becomes aware that Duplicate Custodian,

                Duplicate Filepath metadata has become outdated due to rolling productions, the

                Producing Party will produce within areasonable time an overlay file providing

                all of the custodians, and filepaths for the affected documents.




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M.       Metadata Fields and Processing. ESI items shall be processed in amanner that

preserves the source native file and all metadata without modification, to the extent reasonably

and technically possible, including their existing time, date and time-zone metadata consistent

with the requirements provided in this Order. ESI items shall be produced with all of the

metadata and coding fields set forth in section II.

         1.       Time Zone. ESI items shall be processed to reflect the date and time standardized

                  to asingle time zone for all productions by aparty, that time zone shall be Pacific

                  Standard Time (PST). The parties understand and acknowledge that such

                  standardization affects only dynamic fields and metadata values and does not

                  affect, among other things, dates and times that are hardcoded text within afile.

                  Dates and times that are hard-coded text within afile (for example, in an e-mail

                  thread, dates and times of earlier messages that were converted to body text when

                  subsequently replied to or forwarded; and in any file type, dates and times that are

                  typed as such by users) will be produced as part of the document text in

                  accordance with the formats set forth in section I.

         2.       Hidden Content. ESI items shall be processed in amanner that preserves hidden

                  columns or rows, hidden text or worksheets, speaker notes, tracked changes,

                  comments, and other rich data (including, but not limited to strikethrough text,

                  etc.) as displayed in the Document to the extent reasonably and technically

                  possible.

         3.       Manual Population. The parties are not obligated to manually populate any of the

                  fields in section II if such fields cannot be extracted from the native file or created

                  using an automated process with the exception of the following fields, if

                  available: (1) BegBates; (2) EndBates; (3) BegAttach; (4) EndAttach; (5)

                  Custodian; (6) Redacted (Y/N); (7) Confidentiality; (8) HashValue 1;(9)

                  DeDuped Custodian; (10) NativeFile; and (11) TextPath.




     In the case of Documents that were scanned from hard copy, the HashValue field is not required.




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N.     Hard Copy Documents.

        1.     Coding Fields: All coding information defined in section II as applicable to

               "Paper," shall be produced in the data load file accompanying production of hard

               copy documents.

       2.      Unitization of Hard Copy Documents: The parties will make reasonable efforts to

               ensure that hard copy documents are logically unitized for production. The

               parties will make their best efforts to unitize parent-child groups correctly.

       3.      Identification: Where adocument or adocument group —such as folder, clipped

               bundle, or binder —has an identifiable and accessible identification spine, "Post-It

               Note" or any other label, the information on the label shall be scanned and

               produced as the first page of the document or grouping if doing so would be

               reasonable and proportional to the needs of the case.

0.     Load Files: All productions will be provided with data load files and image load file as

detailed in section III.B & III.C. Each party will designate its preferred load file format. The

image load file must reference each TIFF file in the corresponding production, and the total

number of TIFF files referenced in the load file must match the total number of image files in the

production. The total number of Documents referenced in aproduction's data load file should

match the total number of designated Document breaks in the corresponding image load file for

that production.

II     Production Metadata Fields

       Parties shall produce extracted metadata for all Documents and include the following

fields to the extent available and subject to other limitations above, except that if the field

contains privileged information, that privileged information may be redacted. If burden or

technological difficulty is claimed by the Producing Party, it must be disclosed to the Requesting

Party. Any redactions for privilege reasons shall be recorded on aprivilege log. The parties

reserve the right to request that additional metadata fields set forth or provided for certain

specified electronic documents upon review of the other party's production. The parties also

reserve their respective rights to object to any such request.




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                                               Table A.
        FIELD NAME                       FIELD DESCRIPTION                         APPLICABLE FILE
                                                                                       TYPE(S)

          BEGBATES                     Beginning production number               E-mail, E-Doc, Paper, and
                                         for agiven file/document                          Other 2

          ENDBATES                   Ending production number for a              E-mail, E-Doc, Paper, and
                                          given file/document                              Other

        BEGATTACH                     Production number of first page             E-mail, E-Doc and Other
                                              of attachment

        ENDATTACH                     Production number of last page             E-mail, E-Doc, and Other
                                            of last attachment

         CUSTODIAN                      Person, shared file or other             E-mail, E-Doc, Paper, and
                                       source from whom files were                         Other
                                                 collected

           FILESIZE                      The original file size of the           E-mail, E-Doc, and Other
                                            produced document

       PROD VOLUME                        The production volume                  E-mail, E-Doc, Paper, and
                                       associated with the produced                        Other
                                                    file

DEDUPED CUSTODIAN                       To identify other custodians             E-mail, E-Doc, and Other
                                          whose files contained a
                                       particular document that was
                                      eliminated through exact match
                                        HASH value de-duplication

    DUPLICATE FILEPATH               Folder locations of documents             E-mail, E-Doc, and Other
                                     held by other custodians whose
                                     copy of the document was not
                                     produced based on exact match
                                     HASH value de-duplication.
                                     Folder names shall be delimited
                                     by semicolons
             HASH                           MD5 Hash Value                            E-mail and E-Doc




2   Other is defined as Documents for which internal metadata is not exchanged, including but not limited to,
    scanned Documents and Documents obtained from the internet.




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                                    Table A.
   FIELD NAME             FIELD DESCRIPTION                  APPLICABLE FILE
                                                                   TYPE(S)

  ATTACHNAME           The file name(s) of attachments    E-mail and E-Doc
                       to aparent documents
                       (separated by asemicolon)
  EMAILSUBJECT               E-mail Subject line                    E-mail

      FROM                      E-mail Sender                       E-mail

        TO                    E-mail Recipient                      E-mail

        CC                     E-mail Copyee                        E-mail

       BCC                  E-mail Blind Copyee                     E-mail

    DATESENT                  Date Sent & Time                 E-mail and Other

                         (MM/DD/YYYY HH:MM)

  DATERECEIVED             Date Received & Time                E-mail and Other

                         (MM/DD/YYYY HH:MM)

  DATELASTMOD              Date modified & Time                     E-Doc

                         (MM/DD/YYYY HH:MM)

  DATECREATED               Date created & Time                     E-Doc

                         (MM/DD/YYYY HH:MM)

TIMEZONEPROCESSED      The originating time zone of the   E-mail, E-Doc, and Other
                       Document
      TITLE              Any value populated in the                 E-Doc
                         Title field of the document
                                  properties

     SUBJECT           Any value populated in the         E-Doc
                       Subject field of the document
                       properties
     AUTHOR              Any value populated in the                 E-Doc
                        Author field of the document
                                 properties




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                                 Table A.
    FIELD NAME             FIELD DESCRIPTION                    APPLICABLE FILE
                                                                    TYPE(S)

  LASTMODIFIEDBY        Any value populated in the last      E-Doc
                        modified by field of the
                        document properties
     ITEMTYPE           Identifies whether the file is an    E-mail and E-Doc
                        e-mail, attachment to e-mail, or
                        loose e-doc
     REDACTION           Identifies whether the file was      E-mail, E-Doc, Paper, and
                             redacted and the reason                    Other

    PAGECOUNT           The number of pages of the           E-mail, E-Doc, Paper, and
                        Document, excluding the pages        Other
                        of documents in the same
                        family
   ATTACHCOUNT          Number of attached files             E-mail
   CONFIDENTIAL           Identifies whether the file is      E-mail, E-Doc, Paper, and
                             designated confidential                    Other

     FILENAME                  Original file name                        E-Doc

      FILEPATH           Original file path to the file or        E-mail and E-Doc
                           e-mailbox folder structure

   FILEEXTENSION          Indicates file extension of         E-mail, E-Doc, and Other
                         source native file (e.g., .msg,
                                .doc, .xls, etc.)

  NATIVEFILEPATH         Path to native file as produced                 Native

   TEXTFILEPATH          Path to OCR or extracted text        E-mail, E-Doc, Paper, and
                                     file                               Other

CONVERSATION INDEX      The Identifer Value assigned by               E-mail, Other
                              aProgram to group
                           communication/message
                            conversations together

 HAS HIDDEN DATA        Indication of the existence of       E-Doc, Other
                        hidden data such as hidden text,
                        columns, rows, worksheets,
                        comments, or notes
 PST/OST/NSF filename   PST/OST/NSF filename.                E-mail
      FOLDER            Folder location of the e-mail        E-mail
                        within the PST/OST/NSF




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                                           Table A.
       FIELD NAME                    FIELD DESCRIPTION                 APPLICABLE FILE
                                                                           TYPE(S)

        MESSAGE ID                The Unique Identifier assigned    E-mail
                                  by aprogram to a
                                  Message/Communication
       APPLICATION                Indicates software application    E-mail, E-Doc, Other
                                  that generated the ESI item
      DOCUMENT TYPE               Descriptor for the type of        E-mail, E-Doc, Paper, and
                                  document: "E-Doc" for             Other
                                  electronic documents not
                                  attached to e-mails; "E-mail"
                                  for all e-mails; "E-attachment"
                                  for files that were attachments
                                  to e-mails; and "Physical" for
                                  hard copy physical documents
                                  that have been scanned and
                                  converted to an electronic
                                  image

III    Production Delivery Requirements

A.      General Instructions

        1.    All productions must be made by secure file transfer, if practical, to agreed-upon

              e-mail addresses. In the event the Producing Party deems it is not practical to

              upload avoluminous production to secure file transfer site, it shall be sent to the

              receiving parties by overnight mail on CD-ROM, DVD, external hard drive (with

              standard PC-compatible interface), or such other readily accessible computer or

              electronic media.

       2.     Each production shall be accompanied by acover letter that includes the

              production date, production volume identifier, confidentiality designation for the

              production, and the Bates number range.

        3.    Each media volume must have its own unique name and aconsistent naming

              convention (for example ZZZ001 or SMITH001) and be labeled with the

              following:

                     a.        Case number;

                     b.        Production date;

                     c.        Bates range;



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                                                                                                    2823
       Case
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                     d.      Disk number (1 of X, 2of X, etc.), if applicable.

      4.     The Producing Party shall encrypt the production data using WinRAR or 7-Zip

             (or similar AES-256 bit) encryption, and the Producing Party shall forward the

             password to decrypt the production data separately from the CD, DVD, external

             drive or FTP to which the production data is saved.

       5.    Any data produced by the Producing Party must be protected in transit, in use, and

             at rest by all in receipt of such data. Parties will use best efforts to avoid the

             unnecessary copying or transmittal of produced documents. Any copies made of

             produced data must be kept on media or hardware employing whole-disk or folder

             level encryption or otherwise secured on information systems and networks in a

             manner consistent with the best practices for data protection. If questions arise,

             Parties will meet and confer to ensure security concerns are addressed prior to the

             exchange of any documents.

B.    Image Load Files

       1.    Image load (cross-reference) files should be produced in format that can be loaded

             into commercially acceptable production software, such as Concordance Image

             (Opticon) format.

      2.     The name of the image load file should mirror the name of the delivery volume,

             and should have the appropriate extension (e.g., ABC001.0PT).

       3.    The volume names should be consecutive (e.g., ABC001, ABC002, et seq.).

      4.     There should be one row in the load file for every TIFF image in the production.

       5.    Every image in the delivery volume should be cross-referenced in the image load

             file.

       6.    The imageID key should be named the same as the Bates number of the page.

       7.    Load files should not span across media (e.g., CDs, DVDs, hard drives, etc.), i.e.,

             aseparate volume should be created for each piece of media delivered.

       8.    Files that are the first page of alogical document should include a"Y" where

             appropriate. Subsequent pages of all documents (regular document, e-mail, or

             attachment) should include ablank in the appropriate position.

       9.    TIFF images should be provided in aseparate folder and the numbe of TIFF files

             per folder should be limited to 1,000 files.



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       Case
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       Sample Concordance Image (Opticon) Load File:

             MSC000001,MSCOOLD:\IMAGES\001\MSC000001.TIF,Y„,3

             MSC000002,MSCOOLD:\IMAGES\001\MSC000002.TIF„„,

             MSC000003,MSCOOLD:\IMAGES\001\MSC000003.TIF„„,

             MSC000004,MSCOOLD:\IMAGES\001\MSC000004.TIF,Y,„2

             MSC000005,MSCOOLD:\IMAGES\001\MSC000005.TIF„„,

C.    Data Load Files:

       1.    Data load files should be produced in .DAT format.

      2.     The data load file should use standard delimiters:

                     a)     Comma -If (ASCII 20);

                    b)      Quote -b(ASCII 254);

                     c)     Newline -0 (ASCII174).

       3.    The first line of the .DAT file should contain the field names arranged in the same

             order as the data is arranged in subsequent lines.

      4.     All date fields should be produced in mm/dd/yyyy format.

       5.    All attachments should sequentially follow the parent document/e-mail.

       6.    Use carriage-return to indicate the start of the next record.

       7.    Load files should not span across media (e.g., CDs, DVDs, hard drives, etc.); a

             separate volume should be created for each piece of media delivered.

       8.    The name of the data load file should mirror the name of the delivery volume, and

             should have a.DAT extension (e.g., ABC001.DAT).

       9.    The volume names should be consecutive (e.g., ABC001, ABC002, et seq.).

       10.   Sample .DAT Load File:

      PegBates13ThEndBatesVIMBegAttachb          EndAttacl*       PgCoun*    Custodial*

D.     OCR/Extracted Text Files

       1.    OCR or Extracted Text files shall be provided in a\TEXT\ directory containing

             Document level text files.

      2.     Document level OCR text for redacted documents or Extracted text for ESI not

             containing redaction are to be located in the same directory as its image file.




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       3.    The text file name shall be the same name of the first image page for the

             document set, followed by .txt.

      4.     An OCR or Extracted text file containing the produced document's content will

             be provided for all documents whether it is produced as an image file or natively.

       5.    An OCR file may be provided for ESI when privilege redactions are required or

             where extracted text isn't otherwise available

E.    Native Files

       1.    Native files shall be provided in aseparate NATIVES\ directory containing the

             Native file referenced in the NativeFilePath field of the .DAT file.

      2.     The Native file name shall be the same name as the first image page for the

             document.




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                       EXHIBIT J




                                                                      2827
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                          UNITED    STATES       DISTRICT           COURT


                        NORTHERN DISTRICT              OF    CALIFORNIA


Before   The   Honorable         Jacqueline          Scott    Corley,          Magistrate       Judge


IN RE    FACEBOOK,       INC.,    CONSUMER       )
PRIVACY USER       PROFILE                       )
LITIGATION.                                      )
                                                 )          NO.    18-MD-02843          VC     (JSC)
                                                 )
                                                 )


                                          San    Francisco,             California
                                          Friday,       May       15,    2020


                        TRANSCRIPT OF       PROCEEDINGS             BY    ZOOM


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REPORTED    BY:        Jo Ann Bryce,       CSR No.          3321,       RMR,    CRR,    FCRR
                       Official    Reporter




                                                                                                            2828
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18


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 1   Friday    - May 15,      2020                                        9:00    a.m.


 2                                   PROCEEDINGS


 3                                            ---000---


 4               THE CLERK:          Calling Civil     action   18-md-2843,       In Re


 5   Facebook,    Inc.,       Consumer Privacy User Profile Litigation.                   The


 6   Honorable Jacqueline            Scott    Corley presiding.


 7           Counsel,    starting with plaintiffs,            please make your


 8   appearance    for the       record.


 9               MR.    LOESER:        Good morning,      Your Honor.    Derek Loeser


10   for    the plaintiffs.


11               THE COURT:          Good morning.


12               MS.    WEAVER:        Good morning,      Your Honor.     Leslie Weaver


13   for    the plaintiffs       as well.


14               THE COURT:          Good morning.


15               MR.    KO:    Good morning,       Your Honor.     David Ko,       Keller


16   Rohrback,    on behalf       of    the plaintiffs.


17               THE COURT:          Good morning.


18               MR.    GOULD:       Ben Gould with Keller Rohrback          for the


19   plaintiffs.


20               THE COURT:          Good morning.


21               MS.    LAUFENBERG:          Good morning,    Your Honor.


22   Carl   Laufenberg,       Keller Rohrback,       on behalf    of    the plaintiffs.


23               THE COURT:          Good morning.


24               MR.    MONTGOMERY:          Good morning,    Your Honor.        Matt


25   Montgomery on behalf            of plaintiffs.




                                                                                                2830
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 1                THE COURT:         Good morning.


 2                MS.     DAVIS:     And Anne Davis               on behalf      of plaintiffs.


 3                THE COURT:         Good morning.


 4                MS.     ORNELAS:        And Angelica Ornelas               on behalf       of


 5   plaintiffs.


 6                THE COURT:         All    right.          Good morning.


 7                MR.     FIERRO:     And Eric          Fierro on behalf            of plaintiffs.


 8                THE COURT:         Good morning.


 9          And    for Facebook.           Oop,      Mr.    Snyder,       you're on mute.


10                MR.     SNYDER:     Sorry.          Good morning and Happy Friday,


11   Your Honor.          It's    Orin Snyder         joined by Martie             Kutscher and


12   Russ   Falconer       --    I forgot who was            on    --    for Facebook.


13                THE COURT:         All    right.          Good morning.


14                MR.     SNYDER:     Nice      to    see you-all.


15                THE COURT:         Okay.        So thanks very much               for your


16   statement,      and    I was pleased to               see    that    the parties made         a lot


17   of progress         on the    custodians.


18          So    let me    see    just    if   I understand just                in terms     of


19   numbers.       Facebook has now agreed to                     search is       it   72   custodians


20   and plaintiffs want            81?


21                MR.     SNYDER:     Yes,      Your Honor.


22                THE COURT:         Okay.        All      right.        We're    just going to go


23   with the      81.


24          So    let's    now talk about            the    Price Waterhouse            thing.     As   I


25   understand      it,    Facebook now says               that    they produced e-mails




                                                                                                            2831
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 1   that    identify the persons whom PWC asked to                        interview;       is    that


 2   right?


 3                  MR.    LOESER:       Your Honor       --


 4                  MR.    SNYDER:       Ms.    Kutscher?


 5                  MS.    KUTSCHER:        Yes,    Your Honor.          What we    --    we have


 6   not    been able       to    locate    an exact      list    of who was       interviewed,


 7   but    we've       identified to plaintiffs               that    the production we made


 8   about    six weeks          ago has    about    1500      e-mails    that    discuss    the


 9   audits,       including who was            going to be        interviewed,         who the


10   control       owners were,         who were     on the privacy XFN team,               those


11   types    of    details.


12                  THE COURT:          Okay.      All   right.        And so,    Plaintiffs,       now


13   you're    starting to review those                  e-mails?


14                  MR.    KO:     That's      correct,     Your Honor.          This    is David Ko


15   on behalf          of plaintiffs.


16           Facebook has          directed us       to approximately            1600    documents


17   last    Saturday,       some of       which we have obviously gone                  through the


18   process       of    reviewing before          they identified them,            but we are


19   reviewing them and we're                  reviewing       them as    fast    as we    can.     And


20   it's    been a very fruitful process                   to    identify some of         the


21   relevant people             that   had knowledge          about    Facebook's privacy


22   controls,          and so we believe          that we       can look at      these documents


23   in short       order and identify who we                  think are    the    relevant


24   people.


25                  THE COURT:          Well,    this    is what       I think    I want    to do.




                                                                                                          2832
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 1   I think we have             these    81 now,       and    I think we       should just get


 2   started.           And Facebook had said before,                   "Look,    if    something


 3   comes up       in discovery and you                identify somebody with relevant


 4   information we didn't                search,       then we       can do that       then."       So    I


 5   want    you to       review those documents.


 6           I also want you to             review all          the    regulatory       --   you know,


 7   the    stuff       that's    already been produced,               which,     you know,


 8   presumably should be                quite          and then let's          talk about more


 9   than the       81 but not          until    then.        Okay?


10           So after you do all                that,       if you can    identify somebody who


11   there's       a missing gap,          then we          do that,   but     I don't       see how we


12   know    if    there's       a gap missing until you review those.                          So


13   there's       no    rush    I guess    I would say on that.


14           All    right.        On the    --       so we have our       81    and we'll move


15   forward on that.


16           On the       ESI    discussions,          I'm not going to          require       any


17   more    --    I'm not going to do what                   the plaintiffs proposed.                If


18   there    is    something       in particular             in context       that    you can show


19   me you need,          I'll    address       it    then;    but    I just    think we need to


20   move past          that    right    now.        I'm not    satisfied there's            anything


21   more    in particular that you need.                       You just need to get             started


22   on this       ESI production.


23           So now with respect                to    the    search terms             and    I need to


24   hear    from Facebook          --    I do not understand this                custodial


25   interview.           I've been doing this                for nine years          now.    This    is




                                                                                                               2833
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 1   the    first    time       anyone    said that       to me.


 2           So why don't we             first    start with plaintiffs               and what         their


 3   proposal       is    as    how we get       these    search term negotiations going,


 4   and then       I'll       hear    from what    Facebook's proposal               is.


 5                  MS.    WEAVER:        Good morning,          Your Honor.          Unless      --    I'll


 6   defer to my          --    Derek,    do you want          to address      this    or    shall      I


 7   just    jump    in?


 8                  MR.    LOESER:        You know,       you should probably start                    only


 9   because      there's        a printer       sitting next          to my computer and


10   somebody in my house                is printing something.


11                  MS.    WEAVER:        No problem.           I'm happy to do            it.


12           Well,       so we're       cutting to       the    chase pretty quickly,


13   Your Honor,          and,    honestly,       we hadn't       really dug       in on the next


14   phase other than to propose,                   you know,          the   regular process            I


15   know Your Honor             is    familiar with,          which    is   now that we have


16   custodians          and if we       can identify what             search terms would apply


17   to what      custodians.            We've    actually begun that process                    on the


18   plaintiffs'          side.


19           We   do need a little more                 information about          jargon and how


20   certain      sources        of    documents    should be          searched.       Specifically


21   we    just   learned that           the Hive,       which    is    the data      --    one of      the


22   databases       that maintains user content                   and data,       can be        searched


23   through SQL.              So we    think    it would be       really helpful            to have        an


24   ESI    specialist who knows                about    SQL    searching,      and we have one


25   that    we   can bring to meet              and confer.




                                                                                                                 2834
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 1           And       if    Facebook could bring                somebody who can explain                       in


 2   detail,       and       I don't mean,             honestly,       a lawyer.         I mean       somebody


 3   who understands                how the          database works         and how they do            --       like


 4   a data       scientist.              I know that          Facebook has been talking to


 5   them.


 6           If we          could actually have                a meet      and confer of         the people


 7   who really understand this                         stuff,       that would be helpful                 in


 8   terms    of       how to       search that because                it's   a little bit            out       of


 9   the norm.              It's    not    --    so there's          search terms        that will work


10   in e-mail          --       right?    --    and correspondence,               and we understand


11   that    and we          lawyers       can do       that.


12           The       second question of                how to get         our arms         around getting


13   access       to    the       data maintained in this                  database      --    and we don't


14   want    to do          it    inefficiently either.                 We don't want           to be dumped


15   with,    you know,             massive          amounts    of   data that we            can't    do


16   anything with.                 So that's where kind of we're                       stuck on the ESI


17   piece.


18           But       we proposed deadlines.                    You know,         if   Facebook can now


19   they    --    now that             they have       custodians,         they can make            a proposal


20   to us with search terms,                         we will    respond within a week.                     They


21   can run them,                give us hit          reports.       We    can    look at      them.           That


22   was    the    schedule             that we basically were                thinking about           for


23   search terms,                and    I think we       said by June            2nd   --


24                     THE COURT:           Yeah.


25                     MS.       WEAVER:        --    by June    9th.




                                                                                                                       2835
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 1                  THE COURT:         Maybe,        Ms.    Weaver,      we     should break          it       down


 2   by custodians because               it    sounds       like you are          agreeing to             some


 3   extent    they're going to need to know the                           jargon and things                   like


 4   that.


 5                  MS.    WEAVER:       Right.


 6                  THE COURT:          So maybe we          should break             it    into groups          --


 7   right    --    so we'll       start      with these groups.                Because        it    sounds


 8   like what          you're   envisioning that             the    search terms will vary,


 9   which makes          sense,      depending on the             custodians          --   right?        --    and


10   what    area.        So maybe you         should start with                identifying          --    well,


11   let's    start with         --    then    I would       --   you know,           you start       however


12   you want.           I think you'd want            to    start with the most                important.


13           Let's       start with these people                  that    are   relevant        to    these


14   claims    --       this   claim because          the    search terms will                then match,


15   and then Facebook can do what                     --    as    opposed to doing all                   of


16   them or waiting to do all                  of    them at       once.        It    doesn't       seem to


17   make    any sense.


18                  MS.    WEAVER:       We    could do       that.        I would          say rather


19   than claim,          it's probably going to be                  department.             Like


20   engineers          talk to each other a certain way,                       and then people                 in


21   marketing and communications may use other                                 language.           I'm


22   guessing.           But maybe      Facebook       is    going to         come back and say


23   they all       speak the         same    language       and they all             do the    same


24   thing.        We    don't   know.        We're    open to       suggestion.


25                  THE COURT:         All     right.        Let's       hear what          Facebook




                                                                                                                      2836
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 1   proposes.


 2                  MR.    SNYDER:           Yeah.          Your Honor,           thank you.           I'm going


 3   to    let Mr.    Falconer address                      the details;          but    at   a high        level,


 4   what    we're proposing                is    a process          that    enables us          to


 5   efficiently and then effectively run the                                     right       search terms                on


 6   the    right    documents             in the       right way.


 7           And the       reason we have                   raised this       custodial point                   is    it's


 8   not    just    a case where we're going to apply search terms                                              to


 9   e-mails.        It's       a much more             complex process;                and    if we don't


10   front    load it with what                   is    our now diligence process                      that we


11   need to do,          which will             be    --   have     some    --    which will be


12   privileged,          it's going to make                   the meet       and confers             ineffective


13   and the plaintiffs                aren't          going to get what                they want.


14           So Mr.       Falconer can go                   through in specifics why what we're


15   proposing       is    not       designed to delay but,                   rather,         expedite and


16   facilitate getting the plaintiffs                               the documents            they want              in


17   the most       timely fashion.


18                  THE COURT:              I want          to know why we          can't      do     it    like          --


19   I don't       see why we have                to wait;         right?         Why we      can't        do    it       as


20   an iterative process.                       That's what          sort    of    struck me          is you


21   say,    "Well,       30    to    60   days        and then we          can start,"         but        I didn't


22   like    that    so    --


23                  MR.    SNYDER:           Okay.


24                  THE COURT:             Go ahead,           Mr.    Falconer.


25                  MR.    FALCONER:              Thank you,         Your Honor.




                                                                                                                                2837
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 1          I think we're certainly happy to think about how we could

 2   implement an iterative process             like Your Honor has described.

 3   You know,     what we need to do now,           we've got at this point       81

 4   custodians who we're going to be working with,                  we need to talk

 5   to those folks about          some of   the    stuff that Ms.    Weaver has

 6   described,        what kind of   jargon or specialized terminology or

 7   shorthand to you and people on your team and people                  in your

 8   department use.         We're going to use that           information to help

 9   design,     you know,    effective      search terms that are not overbroad

10   and not underinclusive.

11          We also need to talk to those             folks about where we need to

12   be running those search terms.                You know,   we have a general

13   sense of     --    we've done preservation interviews of what           --    just

14   what   are the data sources you use             in your work so we can

15   preserve them all.           We need to go back in now,         talk to those

16   folks about,        "Okay.    Here's what we're      looking for.     You know,

17   where shall we be collecting from?                What types of data and what

18   sources of data shall we be running these research terms

19   against?"

20          So the number of        custodians here,      you know,    with 81

21   custodians,        if we were able to do five of           those custodial

22   interviews a day,        which is a pretty ambitious           schedule given

23   for a variety of reasons,          I mean,      that's    still a multiweek,

24   more than a month process.

25          So   I think Your Honor's         suggestion makes      sense that we can




                                                                                           2838
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 1   try to work with plaintiffs                 to prioritize subgroups of those

 2   custodians and put together a group.                      You know,       once we've

 3   talked to a handful of people,                  we can start running search

 4   terms against          some of       their data if we think that would be,               you

 5   know,    a more effective way to do it.

 6           But,       you know,     because there's        some different kinds of ESI

 7   in this      case and in a typical             case    it would just be e-mails,

 8   PowerPoints,          and Word documents,         you know,       as Mr.    Snyder said,

 9   we just need to be more thoughtful on the                        front    end so nobody

10   wants too little and nobody wants too much.                         You know,

11   there's       --

12                  MR.    SNYDER:        And maybe you can address            the so-called

13   Hive    --   H-I-V-E       --   tables as      illustrative of the challenges

14   that we       face    in getting the plaintiffs what they need.

15                  MR.    FALCONER:        Sure.     I don't know if Ms.         Kutscher

16   wanted to address that or I'm happy to.                         Either one.

17                  MS.    KUTSCHER:        Sure.    You know,       one of the things

18   we've been talking about a lot with plaintiffs                           is data that

19   exists       in a database called Hive,               and one of the things we've

20   been talking about              is   the database      itself    is not    index

21   searchable.           It   includes many millions of tables                that    they're

22   interested in.

23           So one of the things we really want                     to be able to do is

24   talk to the custodians                to identify which tables would be the

25   relevant       tables      that we can start          looking at,    otherwise we're




                                                                                                     2839
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 1   dealing with an unindexed set                        of many millions                of    tables      that


 2   would be many,             many petrabytes            of    data.           So we    really need to


 3   talk to       these    folks       to know which ones                  to    start    with.


 4                  THE COURT:           Okay.          But,    Ms.    Weaver,       do you have a


 5   proposal?           Like,       you'll    tell      them by X date             "This       is    the


 6   department people we want                     to    start with so we                can develop          some


 7   sort    of    schedule"?


 8                 MS.     WEAVER:        Yes,     we     can do       that.        This       is    a new idea


 9   to us    so    I think we need to                  think about          it.


10           I have       two clarifying questions.                         One    is,    we had talked


11   earlier about          CEO       Zuckerberg and Sheryl                  Sandberg as             custodians


12   too.     We    do    think that          they are         integral          to this.           You tell       us


13   when you think they should fall;                           but    obviously even                in the


14   e-mail       that we gave you,            Your Honor,             attached to our                statement,


15   Mr.    Zuckerberg          is    e-mailing directly with one of                           these


16   custodians.           We    can wait       or defer.             So that's          a question          for


17   you.


18                  THE COURT:           I think we            can wait.           I mean       --


19                 MS.     WEAVER:        Okay.          That's       fine.


20                  THE COURT:           --   we    can get       him,       but    it's       not    --    I think


21   that    we don't       --       you don't want            everything at             once.


22                 MS.     WEAVER:        That's         fine.        So,    yes,    let us          think about


23   how to do          that.


24           And    I guess          I would add again that                  it would be             really


25   helpful       if    when Facebook gets               this    information about                   the Hive,




                                                                                                                         2840
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 1   if we       can have our expert                  talk to their people about                     --    because


 2   otherwise          it's going to get very complicated.


 3              I'm not       sure   --    other than getting direct                        access    to


 4   experts with source                  code,       I don't       think we've ever dealt with


 5   this       before.        I mean,      this       is    of    a magnitude and scope                  that    is


 6   highly unusual,             and we         really need to get                information and be


 7   strategic          about    it.       I mean,          Facebook          is going to      say that          too.


 8              Martie,       I keep      forgetting,             but what's       the volume of            data


 9   in the Hives?


10                     MR.    SNYDER:       42       million.           There are      42   million tables.


11                     MS.    WEAVER:       So we need             --   we don't want          all


12   42    million tables            either.           We want          the    right   ones.


13                     THE COURT:          What       about       that?        I mean,      that    seems    to


14   me    --    I know you didn't               want       to bring your data               scientist       to


15   every single meeting,                  but you referred to the data                           scientist,


16   or    somebody you've been                  speaking to,             in your       statement.          Why


17   not    just       have    that person talk to their expert                             so that       when you


18   have       conversations,            the plaintiffs                then are       just more      informed


19   and that will be a more meaningful                                 conversation?


20                     MS.    KUTSCHER:          One    of    the       things we've been trying to


21   convey to          the plaintiffs,               perhaps not             effectively so         I'll    try


22   again,       is    that    there's         no    single person at             Facebook and no data


23   scientist          who knows         all    of    the    tables          in the Hive.         The Hive        is


24   a place where             individual            teams    conduct work,            they run their own


25   analytics          in the Hive,            and it's          not    really organized            in a way




                                                                                                                         2841
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 1   that    anyone at          the    company would be            able    to    identify where            the


 2   materials          they're       looking       for are.


 3           So what we're actually doing and what we hope                                   to continue


 4   to do    in custodial             interviews         is    speak with each of            the data


 5   scientists          on the particular teams                  at   issue who would know


 6   where    the       right    tables       are    so   there    isn't       one person we         can


 7   bring to       the    discussion;          and when we're working with our


 8   client,       we    can't    even       identify one person to talk to.                        We're


 9   talking to many people                   across      the    company.


10                  THE COURT:              Okay.     But      if we're    starting with


11   particular custodians                   in a particular department,                  then there


12   will    be    a particular data                scientist.         He might     not      know


13   everything;          right?        But    --    I don't understand the               resistance.


14   I don't understand it.


15                  MR.    SNYDER:           Your Honor,         let me    try this.          There's no


16   resistance,          and    I'm sorry that             Your Honor has         that      impression.


17   It's    the    opposite.


18           We want       to do the work necessary,                    and my team literally,


19   Your Honor,          is working around the                  clock to get       everything done


20   that    needs       to get       done,    literally around the               clock;      and the


21   notion that we're delaying or resisting                              is    just,   respectfully,


22   not    correct.


23           What       we want       to do    is    do   the    investigation necessary so


24   that    we    can then help             them sort         out where on the         42   million,


25   whatever the noun                is,    let's    call      them 42    million,       you know         --




                                                                                                                  2842
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 1   what    is   it?     Levels?     Rows?        I don't know what       it    is.

 2                  MS.   WEAVER:     Tables.

 3                  MR.   SNYDER:     --    tables,    that we're going to do the

 4   hard work for them.             It would be herky-jerky and,                frankly,

 5   completely ineffective               if we had to bring 15 different people

 6   onto meet and confers.                And,    frankly,   we're going to want to

 7   have    some privilege conversations with them as well,                           and so    --

 8                  THE COURT:      But     that's not what       I'm --    that's not what

 9   I'm saying at all,          and please don't exaggerate what                  I said.

10           What    I said is      there's       -- what    I said is the plaintiffs

11   have candidly expressed a lack of knowledge as to how the Hive

12   works and a desire to work with you and to not make unnecessary

13   work.

14           What    they're saying is            "We have an expert.           We hired an

15   expert.        Our expert doesn't work at               Facebook obviously,          and we

16   would like our --         to    --    our expert       to have as good as

17   understanding as         she can have          so when we're working with a

18   particular department and after you've done all your work and

19   all    that,    that's   fine,       do all    that what you need to do,             then if

20   your data scientist who you worked with,                     just one of them,             best

21   most knowledgeable,            can talk to our data scientist.                    It can

22   even be off line.         You guys don't even have to be there.                       So our

23   data scientist can explain to us                  in plain English,          not waste

24   your time,         just how it works          so that we feel comfortable."

25   That's all.




                                                                                                        2843
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 1                  MR.    SNYDER:     My resistance             --


 2                  THE COURT:        You don't have             to bring them to every meet


 3   and confer or anything                like    that.


 4                  MR.    SNYDER:     My resistance             is    that    it's       not   going to


 5   be    effective and what will be                effective,             Your Honor,         is    if we


 6   come    to the meet          and confers,       as we've done             every time we


 7   promised that we would,                we will    come with a silver platter and


 8   explain       it   to their data        scientists,          explain          it    to the      lawyers


 9   in an effective,             clear,    transparent way.                 But    if we have         to do


10   it    in a piecemeal where             there    are    15    or 20       different people


11   from the       company showing up             to ask    --       answer questions,               it's


12   not    going to be          efficient    or effective.


13           May    I suggest       this.     We will       do    the work.             We will present


14   it    to the plaintiffs          and whatever experts                   they have;         and if


15   they still         have questions,           then what we're going to do                        is go


16   back to the          ranch and talk to as many people                         as we need to to


17   answer those questions.


18           And that's what we've been doing,                         Your Honor,          and I think


19   our    track record proves             that    every time          the plaintiffs               have


20   questions,         we have     answered them.           We go back and we                  answer


21   them.


22           What       I'm trying    to explain       is    that       there       is no unitary or


23   easy process          to    just produce       someone       at    a meet          and confer who


24   can answer all             the questions.        That's          the    function that            Russ    is


25   playing working,            you know,        around the          clock to try to go               to




                                                                                                                    2844
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 1   every portal             in the      company to aggregate                   the    information and


 2   then present             it   to the plaintiffs.


 3           And    it    doesn't work as                  Your Honor       suggested,


 4   unfortunately.                If    it    did,    it would be          easy.        We would just             get


 5   an ESI person on the phone,                           they'd explain everything,                      and we'd


 6   be done;       but       that's not         the way it works unfortunately.


 7                  THE COURT:                And that's       not what          I'm saying at             all.


 8   Nearly every case                  I have       the    technical people get on the phone


 9   with each other at                  some point.           I'm not          even talking          --    we    can


10   do    it with no          lawyers.          Maybe you don't want                   to do that.


11   That's       fine.        I'm not         even talking about                --


12                  MS.       WEAVER:          That would be better.


13                  THE COURT:                It probably would be better.


14           And,       look,      I'm not       saying do          it    all    the    time.        We'll       try


15   it    once.        Let's      see.        That's       all.     I'm just          saying       let's       see,


16   let's    see,       so    that     every conference                 that    I have       I don't       keep


17   hearing the          same      thing.           Let's    just       see.        Okay?    We're going to


18   give    it    a shot.          Whatever,          but    I'm not persuaded.                    Okay.


19                  MS.       KUTSCHER:          If    I could make             a suggestion.              If    we're


20   going to have             a conversation               like   that,        it    would be       really


21   helpful       to    receive        the     questions          in advance          that    the plaintiffs


22   are    interested in so                  that we       could make          sure we       can    identify an


23   appropriate person                  --


24                  THE COURT:                Yes.


25                  MS.       KUTSCHER:          --    because one of                the problems we've




                                                                                                                          2845
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 1   been having is       the conversations       sort of    spiral   into other

 2   areas,    and then we would need different people to answer.

 3               THE COURT:       We're not even there yet because,           first,

 4   the plaintiffs need to          identify the custodians,         the department

 5   they want you to start with.            Then you need to go back to that

 6   department and do whatever,           you know,   your investigation,

 7   figure out    the jargon,      talk to whoever they need to do;           right?

 8        This    is    sort of   then whenever you sort of produce or talk

 9   about or do your search terms           --   I mean,   what do you actually

10   propose in terms of          -- you do that and then what?

11               MS.    WEAVER:    So,   Your Honor,   one of our experts who's

12   been texting me and says that,           in fact,      tables have    fields and

13   what we need to know are the           fields and what data is         in the

14   fields,    and she's    saying that     she can tell us what to ask for.

15   And she actually said this           isn't the    first   time that Hive data

16   has been implicated in a class action.

17        So    I think maybe we can get          some specific questions.           The

18   one caveat    I would say --        and I think Your Honor is

19   experiencing kind of why we asked for it                in writing,   because we

20   actually thought that might be easier because there seems to

21   have been resistance from Facebook because they say we have to

22   talk to all       these people,     and I know that we're all trying,           but

23   we don't    feel    like we're getting the answers we need.

24        So why don't we do a list of questions but we'd like to be

25   able to say as we're discussing something and Facebook says                      "We




                                                                                             2846
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 1   don't    know,"      we need to be                able    to    follow up and get             those


 2   answers.        And,      you know,         normally we would do that                       in writing


 3   and send a follow-up                  letter and then they could write back,                               but


 4   that's    the      one part          that's been hard for us,                is    the       circling


 5   back and kind of               following up on the details.


 6           So we      could maybe have                two    --    one meeting       --   we'll        send


 7   them a list         of    questions          --   we'll        identify custodians.                 We    send


 8   the    list   of    questions.             Maybe     that       can even happen at                the    same


 9   time.     We have a meeting with the ESI                           liaisons       and we          chat.        We


10   have    a follow-up meeting to                     see where we are and then we                         could


11   report    to you.             Something       like       that.


12                 THE COURT:              I think       it's probably helpful                   for    Facebook


13   to know what your               --


14                 MS.    WEAVER:           Yeah.


15                 THE COURT:              --   ESI     consultant believes             and will be


16   telling you and what                 advice you'll be getting                 from them.                 Not


17   advice.       Obviously that's privileged,                         but   you know what              I'm


18   saying.


19                 MS.    WEAVER:           Yes.


20                 THE COURT:              So   send the        list    so Facebook will                have


21   that    in mind when they're                  then doing whatever             it       is    they're


22   doing,    their custodial                  investigation with their data                      scientist.


23           And then         --    I guess my question was                   to Facebook,             then what


24   do you propose?                So you know what                the plaintiffs'          questions


25   are.     You'll      have       that       in mind when you go             talk to your data




                                                                                                                          2847
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 1   scientists,          and then what?


 2                  MR.    SNYDER:     Your Honor,          Mr.       Falconer will          answer


 3   that,    but    I just want       to make          clear one       thing       first,    which is


 4   that    each table       on the       so-called Hive has                to be    searched


 5   individually.           We    can't    search across             all    tables    like you can a


 6   server with e-mails.


 7           And so       identifying       --    the plaintiffs need to                identify the


 8   right    tables.        That's    the key thing             that we need          in order to


 9   then    search the       tables       because       there    are 42      million of        them,


10   and you can't          just    search across          the whole platform


11   unfortunately.


12                  MS.    WEAVER:     I'm hearing that                --


13                  THE COURT:        How are          the plaintiffs going to                identify


14   the    tables?


15                  MS.    WEAVER:     We    apparently could get                   a list    that we


16   can    load into Relativity.                 If    Facebook       identifies       the    tables,


17   we    can take a look at          them.


18           And    if    the data    scientists          talk directly,             we'll    lose    --   we


19   don't have          to have all       this back and forth.                    They can just       say


20   in whatever          language    that       is.    We know that           it's    searchable          in


21   a language          called SQL    --    it's       S-Q-L    --    but    if    they just give us


22   a list    of    the    tables    in a format          that we          can load into


23   Relativity,          then we're good to go,                and that       actually would save


24   the back and forth.


25                  MS.    KUTSCHER:        If    I may,    Your Honor.              What plaintiffs




                                                                                                                 2848
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 1   are    asking      for    is    a list       of    42    million tables,          which would


 2   encompass         every table          that       shows       any analytic       that       Facebook has


 3   ever run as         a company,         which would obviously not                       be    an


 4   appropriate         thing to produce                in this          case.     It would show every


 5   single      thing the          company has          ever       looked at       data-wise,          and


 6   obviously that would then                     start       a negotiation about                42   million


 7   different         tables       and which ones             are       relevant here,          which       I'm


 8   not    --   I don't believe would be                      the most       efficient way to move


 9   forward.


10           So what we have proposed is                           that we    talk to our          custodians


11   and ask the         custodians          to    identify the             tables    that       they use,


12   and that we         could then use                that    as    the universe       of       tables       that


13   we    start   looking at.


14                 MR.       LOESER:       Your Honor,              if    I may just very briefly.


15   The Hive      from what we             can tell          is    an    inordinately complex and


16   important         database       for Facebook.                 I would be very surprised if


17   there were not people                 at     Facebook who were               experts        specifically


18   on the Hive.             That's       the kind of person                --   that's probably not


19   one    of   the    custodians.             Maybe        that person should be.                    But    that


20   person is         the    one who       can answer questions.


21           I'm sure         all    the    time people             at    Facebook are asking about


22   how to extract            data    for one purpose                   or another    from the Hive,


23   and there's probably a person at                              Facebook who helps             direct       that


24   effort.       That would seem to be                      a very important person to talk


25   to and for our experts                  to    talk to.              Because,    yes,    we are not




                                                                                                                       2849
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 1   interested in 42               million tables               or    the universe             of    information


 2   in the Hive.             We are       looking          for specific            information that


 3   relates       to our case.


 4           To go back to where                  this       started,         one of       the things


 5   Facebook has            said to Judge             Chhabria all               along    is    they lack an


 6   ability to          identify who            saw user data               information,             who they


 7   shared it          with.       And so one of             the      things we want                to    figure out


 8   from the Hive            Is:     Is    that       a table         that       can be    run?           Is    that


 9   information that               can be gathered?


10           And    it's      specific          things       like      that       that we're          looking          for.


11   So    there must be            some way that we                  can describe          the kinds             of


12   things       that we want         and for an expert                     at    Facebook who works                   and


13   lives    in the Hive            to help direct where                     that       information would


14   be.     It    should not have               to be       in a very complex and                        functional


15   database       like      this.        It    should not be               a needle       in a haystack.


16   It    should be         a search function that                     is possible.


17                      R.   SNYDER:        Your Honor,               may    I respond?              And    I


18   apologize          for belaboring this.


19           The    reason the         custodian             interviews            are    critical          is    that


20   we are going to ask these                        81    individuals:             Where       --       when you


21   were    dealing with A,               B,    C,    D,   E,    F,    and G issues,                where did you


22   store discoverable               information?                Then we will be                able       to know


23   where    in the         42   million Hive              sources         the    information             is.


24           There's         no expert who knows                  that.           The people who know                   it


25   are    the    81    Facebook employees who,                       yes,       they send e-mails                and




                                                                                                                               2850
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 1   those will be produced because                           those    are    searchable.            But what


 2   else    do    they do?           Where      else    do    they store          their data,         their


 3   work,       their knowledge?                And it's       only by talking to those                        81


 4   people,       which we're prepared to do with alacrity,                                  will we know


 5   where       they put       the    information,            on which shelf            at    the


 6   company       --    at    the    42   million       shelves we need to               look at.


 7           And,       Russ,    maybe you can elaborate more                        technically about


 8   it.


 9           But    this       really       is   truly,       Your Honor,          our effort         to get


10   them what          they want          and not      have    it    a needle       in a haystack.


11           Russ,       you've been spending time on this.                              Maybe you can


12   elaborate          even    further.


13                  MR.       FALCONER:          Sure.


14           And that's,             I think,      to Mr.       Loeser's          hypothetical,            is


15   there a Hive             table    that      has    a particular kind of                  data    in    it,


16   there's       no    --    no one person at               the    company who knows what's                        in


17   all    42    million of          those      tables.


18           So as Mr.          Snyder       said,      the    trick    is    finding the            right


19   tables.        Once we          find the      tables,          as Ms.    Weaver has been


20   saying,       their expert             and any entry-level               engineer knows               how to


21   run a SQL query and look at                        the    information          in the table.                So


22   working with the data once                        they have       it    is    not   a challenge.


23   The    challenge          is getting them the                  right    data.       The best way to


24   do    that,    really the only way to do                        that,    is    for us      to    talk to


25   our custodians             and say          "Do you have Hive            tables      on X,      Y,     Z




                                                                                                                           2851
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 1   topics?"


 2           So    I do    think    it    would be helpful                to that       effort,       as


 3   Your Honor has             suggested,       if we had a list                from the plaintiffs


 4   of    "Here    is what we're          looking          for    in the Hive          tables."           That


 5   would let       us    focus    our    search,          you know,          guide our custodian


 6   interviews,          and make       sure    that we're getting them what                         they're


 7   interested in;             and if    it's    not       out    there,       we   can tell        them that


 8   too.


 9                 MR.     LOESER:        Your Honor,             the one       thing      --


10                 MS.     WEAVER:        And,    actually          --


11                 MR.     LOESER:        --    and I think that                is   some helpful


12   information,          I just       find it very hard to believe                         that    there are


13   not people       at       Facebook who are             experts       in the Hive.              So going


14   and talking to             these    subject matter             custodians          is one       thing,


15   but    going and finding the people who actually manage                                        this beast


16   that    is    the Hive       seems    like       another very important                     thing that


17   needs    to happen here.


18                 THE COURT:            Why don't we             just    do    it   in context?            Like,


19   let's    do    it.        Why don't you pick             10    custodians          to      start with,


20   10.     Let    them go       interview,          whatever,          tell    you what you want,


21   have your expert             look at       it,    and then your expert                     and their


22   data    scientist          can then talk about                it    in terms       of what       they've


23   given you.           So    it's not       sort    of    just general            out     there.        Now


24   you have       specifics       and then your expert                   can have          a specific


25   conversation with their data                      scientist,          nonlawyer person about




                                                                                                                     2852
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 1   it and we'll use that as an example;                       or if we need to go more

 2   quickly,       we can even make            it   smaller,     or something like that.

 3                  MR.   SNYDER:           I think that's a great             idea,   Judge.

 4                  MS.   WEAVER:           We can do that.        If    I could be heard.

 5           I think      --    I want to go back to the tables                   in the Hive

 6   because the point               is,    in general,    this    is a case where the ESI

 7   discovery is both merits and functional.                            Like normally when

 8   we're doing this,               it's    functional and how do we get documents,

 9   but    it's also a merits               issue here.       And,     you know,      the very

10   fact    that    it's 42 million tables of data,                     that's    just   the scope

11   of    the case.        That's how much data is collected about users and

12   made available.

13           So we need two things.                  We actually need discovery of what

14   is    in those tables,            and getting us          the list of       the tables,

15   that's the case because we don't                     --    I think those tables are

16   relevant because what's happening is                        the data lives         in the Hive

17   and then queries are constructed by data scientists and then

18   that's made available.

19           Well,    Martie is            shaking her head no,          but    this   is why I'm

20   saying what we need is                  to have the people          --    the experts talk

21   to each other before we can -- before we can guess                                in the dark

22   about what exactly we want.

23           And let me         --    two things on these custodial conversations.

24   It    is baffling to us because they should have happened earlier.

25   A lot of       these      81 are       former custodians or former employees.




                                                                                                       2853
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 1   So    I don't       know if       they're    imagining talking to                   them.


 2           But    if    Facebook really went                   through a proper preservation


 3   process,       why don't          they know this?                 Shouldn't       they have had


 4   this    conversation a while                ago?        And we kind of             have gotten


 5   conflicting          information about whether they've already had these


 6   conversations             or not,    but    it's       a little unclear to us what's


 7   happening          in that process          and why it would cause                      a further


 8   delay.


 9                  THE COURT:           Okay.        So    this       is what    I want you to


10   identify.           How many do you want                to do to       start with?           We're


11   going to do          it    in context.           I just       --


12                 MS.     WEAVER:        We    could do          --


13                 MR.     SNYDER:        I think we             should start with             five,


14   Your Honor,         because we           don't    know how long             it's    going    to take;


15   and    if    it's    10,    it    could be       --    I think       five    is    --


16                  THE COURT:           Well,    somebody said five                   interviews       a day


17


18                 MS.     WEAVER:        So we       could identify 40.                 I don't       know.


19                  THE COURT:           No.     That's          too many.


20                 MS.     WEAVER:        That's       half.           That's    too many?        Okay.


21   20.     20.        I don't       care.


22                  THE COURT:           10.     We'll       do    10.


23                 MS.     WEAVER:        Okay.


24                  THE COURT:           We'll    do       10.     Yeah,    we're going to do             10-


25           S0    --    I mean,       or department.              Around       10;    right?     If    it's




                                                                                                                 2854
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 1   11    or    if   it's    9 or whatever,              don't make      it    artificial.


 2                    MS.    WEAVER:       I'm wondering           if   actually it would be


 3   better to pick one               from each department.


 4                    THE COURT:          No.       That's not what            I want      to do.


 5                    MS.    WEAVER:       Okay.


 6                    THE COURT:          No.


 7                    MS.    WEAVER:       Okay.


 8                    THE COURT:          No.       No.


 9                    MS.    WEAVER:       All       right.


10                    THE COURT:          You guys         could do      it    if you could,         agree


11   but    you can't         agree    so you're           leaving      it up to me.


12                    MS.    WEAVER:       Okay.


13                    THE COURT:          I prefer that you-all                 agree,      I really


14   would       --   because       I don't         really know what           I'm doing,         I'm doing


15   the best         I can    --   but    apparently you can't                 so this      is   how we're


16   going to have            to do    it.


17              So pick      10.    Pick       10   and    --   or around       10    --   right?    --    a


18   department,            whatever      it    is;    and you go,        Facebook,         do your


19   custodial          searches.         Today is         Friday and by         --    by what?       By   --


20   what       are you going to give                 them in response           to    that?


21                    MR.    SNYDER:       I'm sorry.           You're asking me,              Your Honor?


22                    THE COURT:          No.       Mr.    Falconer.          What    are you going to


23   give       them?       They've now done              10.   You're going to do your


24   custodial          interviews,        and then you're going to do what?


25                    MR.    FALCONER:          I think my understanding and if what




                                                                                                                 2855
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 1   Your Honor       is       ordering       is   that    the plaintiffs will provide us


 2   with a list          of    I don't      know if       it's       just Hive       tables      or    if   it's


 3   all    the   data     they're          interested in or            if we    should use            the RFPs


 4   to guide       that process,            but    that we       --


 5                  THE COURT:              It's people.          It's people.             Your     statement


 6   said,    "We have          to go do       these      custodial          interviews."           That's


 7   what    you told me.


 8                MR.      FALCONER:           Yes,    Your Honor.


 9                  THE COURT:              I'm saying go do them,               and then you're


10   going to do what?


11                MR.      SNYDER:          Your Honor,          then we're going to talk                    --


12   we're going to             find out       how much Hive            --   where     in the Hive           they


13   have put       data       that    is   responsive          to either the RFPs             or


14   responsive       to       the areas       they're      inquiring about,               and then we


15   will    know    --    then we will            figure out          how to    search those areas.


16           So   it will be           --    it will basically be               segregating where                 in


17   the Hive       data       is    likely to be,        and that           then will      inform our


18   ability to       see,          well,   how much is          there       there    --   right?       --   SO


19   that    when we       start       running target            search terms          on those


20   specific Hive             folders,      we know what             the volume of data               is.


21           So   it's     all       designed to ultimately,                 you know,       make


22   efficient       and effective             our retrieval            and production of


23   documents.           So    if    they give us         10   names,       we're going to


24   interview those people,                   figure     out where on the Hive                   they store


25   information,          then assess how much                  is    there.        And then once we




                                                                                                                        2856
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 1   get    to    the    search terms,             we    can    figure out,       you know,       how much


 2   stuff       is    there    and whether the                search terms       are    over-    or


 3   underinclusive.                 It's    not    --


 4                    THE COURT:            Right.       What     are you going to do?                 What


 5   are you going to tell                   the plaintiffs?              You do that          and you're


 6   going to          tell    the plaintiffs             then what?


 7                    MR.     SNYDER:        I think that we've             identified where on


 8   the Hive          the    data    lives    that       is   responsive;        and then       I think


 9   when we          start    talking about             search terms,       we    can    start       applying


10   those       search terms          to    those       sources.


11                    THE COURT:            How are you going to come up with the


12   search terms?


13                    MR.     SNYDER:        Well,       that's going to be             the negotiation


14   that    has       to occur.


15                    THE COURT:            Okay.        So you're going to             tell    the


16   plaintiffs          where on the Hive what you believe                         the       relevant       data


17   is    and why.           And are you then going                  to propose        the    first    --    and


18   the volume.


19           And       I think       in the    context,         Ms.     Weaver,    when you give             them


20   the    10    or whatever,          approximately,             the department names,                if


21   your expert             has particular things                they should be          looking       for,


22   you    should give          them that          as well.


23                    MS.     WEAVER:        Okay.       And,    by the way,        she       thinks    your


24   idea    is       actually a really good one                   so    it might       really help us


25   get    at    this.




                                                                                                                     2857
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 1          So what          I wanted to clarify is                   search terms,         as we      lawyers


 2   understand them,               will be       run on regular ESI               that    we normally


 3   work with         --    chat    rooms,       e-mail       --    and we will put         that      in the


 4   list   what       we want       for each person,                and then separately the


 5   request      is    what    tables          or data       in the Hive         relates    to    this


 6   custodian.


 7          And those          are basically the questions,                        but    we'll put       them


 8   in writing         for all       of    them;       and if       there are any unique ones


 9   for custodians,            we'll put          them in writing,               and    I think we       can


10   probably do            it by Monday or Tuesday.


11                 THE COURT:              So you're          saying you'll provide               them the


12   name   of    the       custodians,          the    search       --


13                 MS.      WEAVER:         Yes.


14                 THE COURT:              --    you propose          for traditional            ESI we'll


15   call   it?


16                 MS.      WEAVER:         We    don't yet          have      full-blown    search terms


17   for each person yet.


18                 THE COURT:              Okay.        All   right.           I misunderstood.


19                 MS.      WEAVER:         I think       it would be            easier to       let   them


20   start because,            you know,          the    example          I always use      is    Chewbacca


21   in Enron,         that    is    the name of          a specific           entity,     and we would


22   never have         thought       to use       "Chewbacca"            as   a search term because


23   we didn't         know.


24          So    I think what             we    could do       is    say      "These    are what we


25   think should be            searched for these                   custodians."          They could




                                                                                                                  2858
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 1   propose       search terms back to us,                     we     could       look at          them,       make


 2   tweaks,       and then they would run the                         searches          and give us             hit


 3   reports.           That usually             --   that we propose              --    we    did propose an


 4   agenda or a schedule,                      and what we proposed was                      --   you     can tweak


 5   it,    of    course,       but       it    should take       about          a month       I think to go


 6   back and forth on search terms.                            Maybe        less.


 7                  MR.       LOESER:           Your Honor,       if    I could just                --


 8                  THE COURT:                 We narrowed it,          but we're             doing a subset


 9


10                  MS.       WEAVER:           That's    true.


11                  MR.       LOESER:           Your Honor,       if    I may,          if    I could just


12   flag    --    this       is Derek Loeser             speaking          --    one    issue on          search


13   terms       that    I just want             to make    sure we don't                lose       sight       of;    and


14   that    is    that       among the parties various                      disagreements,                one of


15   them is       "What       is    the proper subject                of    this       litigation?"              And


16   so    Facebook has             taken the position that                      certain categories                   of


17   information that we're                      seeking    should not             be produced;             and,


18   therefore,          I suspect             that when    search term discussions                         occur,


19   they're going to want                      to eliminate         the     search terms                that    relate


20   to    those    subjects.


21           And    I just          --    I'm not      sure where           in this process we                   sort


22   that    out,       but    that       is    certainly something that's                         going to have


23   to get       sorted out             in this      search term discussion.


24                  THE COURT:                 I assume    --


25                  MR.       SNYDER:           I think that's          an excellent point                      that




                                                                                                                              2859
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 1   Derek raises.


 2          And why don't        we    talk about          it,       Derek,    when we       think and


 3   how we    think       it's best    to    tee    that up          for the       Court.


 4           But    there's    definitely a respectful                      disagreement.           And,


 5   Your Honor,          you may think that we don't                   agree on everything,


 6   but    we do get       along and mostly like                one another.           You know,


 7   with this many grids,             everyone          can't       like    everyone.


 8                  THE COURT:        You definitely like one another.


 9                  MR.    SNYDER:     No,    Judge.        Most       of    them hate me,          but


10   it's    okay.        That's my job.        My job          is    to be    the bad cop.


11           But,    in all    seriousness          --


12                  THE COURT:        No,    it's    nobody's          job.


13                  MR.    SNYDER:     I'm teasing.


14                  THE COURT:        It's    nobody's          job.


15                  MR.    SNYDER:     I'm teasing.


16                  THE COURT:        Yeah.     And what's             everyone's       job    is    to put


17   everything       in perspective.


18                  MR.    SNYDER:     Yes,    Your Honor.


19                  THE COURT:        You know,          we'll move          this    along,    but we


20   learned today that          one-third of             our    criminal pretrial


21   detainees,       one-third are          in quarantine at                the    jail.     All your


22   judges    are    dealing every day spending hours                         dealing with this


23   kind of       stuff,    and that       stuff    takes priority.


24                  MR.    SNYDER:     For    sure.


25                  THE COURT:        I just want you to all                   keep    that    in mind.




                                                                                                               2860
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 1   Okay?


 2                  MR.    SNYDER:        And    I know    --


 3                  THE COURT:           It's    important,       but       there    is,    like   --


 4   people are,          like,      trying to        figure    out    if    their business         is


 5   going to       last,       if   they're going to have                 food on their       table


 6   next    week,    or those kinds             of    things.        So    let's    just   keep    --


 7                  MR.    SNYDER:        And    I can assure Your Honor that both the


 8   plaintiffs'          counsel       and we,       in addition to          representing our


 9   clients       here,    have been trying to do our best,                         you know,      in the


10   public    sector and            in the pro bono to help                 those    folks.       So we


11   keep    this    in perspective,             and we    appreciate how much time


12   Your Honor       is    spending on this.


13           And    I'm    --    just    to wrap       the point       that Derek made,            there


14   is going to be             a disagreement          about what's          relevant      and not


15   based on Judge             Chhabria's       ruling.        So perhaps we          can discuss


16   how to present             that    to Your Honor          in an efficient way at               some


17   point.


18                  THE COURT:           Yeah.        And maybe we'll          even present         it    to


19   Judge    Chhabria;          right?


20                  MR.    SNYDER:        Right.


21                  THE COURT:           Because he's          the one       that    ruled on the


22   motion to dismiss.


23                  MR.    SNYDER:        Yes.


24                  THE COURT:           So    that's    something we          can    figure out         as


25   well    or,    you know,          we'll    figure    that    out.




                                                                                                                2861
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 1                  MR.    SNYDER:        Good.       Thank you.


 2                  THE COURT:         But     first we have          to,       like,   move     it    along


 3   and get       it.


 4           So you       said you can provide your                  10    names.


 5                  MS.   WEAVER:         Yes.


 6                  THE COURT:          It's     around;      right?


 7                  MR.    LOESER:        Yes.


 8                  THE COURT:          It's     a department.             It    shouldn't be          15.


 9                  MS.   WEAVER:         It   will    not.


10                  THE COURT:         Okay.       And you're going to go do your


11   custodial       investigations            and then you're going to come back.


12   And with that you're going to                     identify I guess             two things          that


13   your expert          tells you,       or whatever         it    is,    identify what


14   particular the            information you want                to know about          that.       And


15   then you'll          do your meet         and confer to hopefully begin your


16   negotiations          on the      search terms.


17           And then when we meet                on the      29th,       then    I want    an update,


18   and    I hope you've moved quite                  far and that we             can use       this       as    a


19   template and adjust               for the other          70    or so;       right?     So    this       is


20   sort    of    our    --   we'll    try it     out with this            one,    and then we'll


21   adjust       as we    see.


22                  MR.    KO:    Your Honor,          one    important          and specific point


23   about    the Hive         that    I just     want   to    raise       and preview for


24   Your Honor and folks.                 So one      thing that          they've been


25   explaining to us             about    the Hive      is    that,       you know,       it's       not




                                                                                                                       2862
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 1   indexed,       it's    not       searchable.          It's,    you know,          petrabytes       of


 2   data,    42    million tables,               and that    a table only exists                to the


 3   extent    someone       requests          a table      to be made.


 4           And so       I think during these               10    or    so custodial         interviews


 5   that    take place          in the near term,            I think          it's very important


 6   for all       the parties          to understand the process by which these


 7   requests       are made.          And so       I think       I'm just       flagging that          as


 8   something that's very important                        for us       to understand,          and    I


 9   think that       will       streamline         the    ability for all             the parties          to


10   identify what          the       tables      are.


11                  THE COURT:           All      right.     You got          that,    Mr.   Falconer?


12   You    seem to be       the Hive          expert      on that       team.


13                  MR.    FALCONER:           I'm not      sure    if    I'm up       to that weighty


14   mantle but,          yes,    Your Honor,            I understand Mr.             Ko's question.


15                  MS.    KUTSCHER:           Yeah.       And just       to contextualize,             and      I


16   think the point Mr.                Ko   just     raised really helps               to explain some


17   of    the disconnect here,                you know,      the Hive          isn't    just    a place


18   where    Facebook dumps             data or         stores    data.        It's    really an


19   internal       tool    that       the   company uses          to run any analytics                they


20   need,    and tables          exist      to    the    extent    that       someone at       Facebook


21   creates       a table       to    look at      something.           So,    for    instance,       if    the


22   company wants          to know how many people                     are    logging onto       Facebook


23   every day,       someone will             just      create    a table       in the Hive       to pull


24   that    data    to    find out.


25           So,    you know,          tables      exist    for a whole          lot    of   reasons.




                                                                                                                      2863
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 1   People make             them every day just                to    look at particular data


 2   points,       and the          real    challenge          is    just    figuring out what               are


 3   the    right       ones,       which ones          should we be          looking at.


 4                     MR.       LOESER:        And more broadly             --    this    is    Derek


 5   speaking          --    you know,          what    data    is    in the Hive.              That   is


 6   important          because of          this       sort    of    threshold question of


 7   Facebook's             statement       in this       case       that    it    doesn't       track who


 8   sees    user data.              And so       if    there's       a way to       figure that            out


 9   from the Hive,                that's       really important             for this       case.


10                     MS.       WEAVER:        So,    Your Honor,          just    for clarity,            you can


11   give us       a date by which we will make our ask.                                   And then         is


12   there a date                for them to          respond and/or          --    I don't       know how


13   you're       feeling about             having a data             scientist       available          after


14   that    so    that people who know can talk to each other after we                                                do


15   that    initial.


16                     THE COURT:           If your data             scientist,       if    she wants            to


17   talk after             --    after    --    I mean,       they have          to provide you            --


18   right?       --    they have          to give you the             response       --


19                     MS.       WEAVER:        Right.


20                     THE COURT:           --    and provide you             "This       is what we know


21   and dah,          dah,       dah,"    and she       should be          in on those calls.                   And


22   if    after having that                she       still    has    questions       that haven't been


23   answered that                she'd rather          speak to       somebody who             speaks      her


24   language,          then       I think they should just                   do    a call.


25                     MS.       WEAVER:        Okay.




                                                                                                                             2864
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 1                  THE COURT:             The data    scientists.        That    happens       all       the


 2   time.


 3                  MS.    WEAVER:          Yes.     Great.


 4                  THE COURT:             I think    it would be best       if    the    lawyers


 5   weren't       on    it but,      of    course,    I'm not       going to order that.                 And


 6   I understand why lawyers                     don't want    to do    that,    and that's          fine


 7   but,    you know,          that might be more productive.


 8                  MR.    LOESER:          Your Honor,       it's    Derek Loeser again.


 9           Can    I address         one    specific       thing about    the    PWC    issue?


10   And,    again,       this may be         just    a comment       that needs    to be made


11   for what       comes       down the      road.


12           But,       you know,      we    really do need to make          sure       that when


13   Facebook       says    if    there      are other custodians          that    are unearthed


14   through this process,                  that    they in    fact    can be added and we're


15   not    going to create            some       insurmountable,       you know,       standard


16   that    Facebook designs               for    itself    that would prevent          the


17   addition of          additional         custodians.


18                  THE COURT:             Well,    fortunately for you          I'm the       judge,


19   not    Facebook       so    --


20                  MR.    LOESER:          I'm very    --    that    is very fortunate             for


21   us,    Your Honor.


22                  THE COURT:             Or unfortunately.           I don't    know.


23                  MR.    LOESER:          You can    say that       and make us       all    --


24                  THE COURT:             One way or the       other,    but Mr.       Snyder said


25   that    in our very first               status    conference.        He's    nodding




                                                                                                                 2865
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 1   vigorously.


 2                  MR.    SNYDER:      We     said we will          in good faith consider


 3   any additional          custodians,            and we understand that             the    judge


 4   will    rule    and we will         take       responsible and appropriate


 5   positions,          and I'm sure we'll            agree    to add some          and    I'm sure


 6   we'll    say we       don't want        to add some.


 7                  MR.    LOESER:       Right.        And the       reason why       I bring that


 8   up again with PWC             is   that    from the       information that we have


 9   gleaned from the documents                     that we    reviewed,       you know,       when PWC


10   went    out    and did these         audits,          it went    to    look    for the people,


11   and    I'm sure       Facebook provided them with the people                           that would


12   be most       knowledgeable         about       the    subject matter.           And from what


13   we    can tell,       like,    for 2013        by itself,        72   percent of        the people


14   that    PWC    talked to are not               custodians       in this       case.


15           We're       just worried that            through that process when PWC did


16   its    assessment       and concluded,            for example,         2019     that    Facebook's


17   controls were          deficient,         we    just want       to make       sure that       the


18   custodians          include    the people         on which that          determination was


19   made.     And that's          the kind of         thing    that       I think we'll be


20   looping back to because we                     already can tell          that    a lot    of    those


21   people are not          custodians,            and we    just want       to make       sure    that


22   we have       the    opportunity to            include    them for that particular


23   purpose.


24                  THE COURT:          You have       the opportunity certainly to make


25   the    argument       they should be            included.




                                                                                                              2866
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 1                 MR.    LOESER:        Okay.          Thank you,       Your Honor.


 2                 THE COURT:          But when          I'd like       it    to be done       is when


 3   you've      reviewed everything               --


 4                 MR.    LOESER:        Correct.


 5                 THE COURT:          --    that       you have    so that we             really know


 6   that    we're      filling gaps         that       need to be       filled.


 7                 MR.    LOESER:        Understood.            Thank you.


 8                 THE COURT:          Okay.


 9                 MS.    WEAVER:        I actually suspect                  --    this    sampling    idea


10   is very interesting because                    I suspect       as we go through,                we're


11   going to      learn more about what we want                        and don't want             anyway,


12   and    so   it may be       a growing process.                Even as we walk through


13   it,    we   find people or maybe we are,                     like,       not       sure about    these


14   other people.          So    I think      it       could be very constructive.


15                 THE COURT:          Well,       I'm hoping       it       actually will be          a


16   shrinking process,            not      a growing one.


17                 MR.    LOESER:        I'm just         hoping Mr.          Snyder       stays    in the


18   great mood that            he's   in right          now.


19                 THE COURT:          He's    always       in that mood.


20                 MR.    SNYDER:        I am.


21          And,       Judge,    I know we all            thank you          for your       service    in


22   helping those         in dire       circumstances,            and       it    is   a tragedy what's


23   happening         in our jails         and it's       just    --    it's       just unfathomable.


24   You know,         I forgot who         said    "You can judge                a country by how it


25   treats      its    inmates."




                                                                                                               2867
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 1                  THE COURT:           I don't mean            --    I just mean to        say that


 2   the    court    here    is    super busy.             Not    that    it's    service.        It's    our


 3   job.     It's    what we       signed up          for,      but    there    are   certain     --    it's


 4   very busy;       and I know these                cases      are    important      to you,     as    they


 5   should be,       and your clients                are all         lucky to have you,          but


 6   there    just    is    a certain priority of                     things    that   are being dealt


 7   with and just          to    sort    of    --    and just         to try to keep        it   in mind;


 8   right?        I just    think everything                looks      different      now and


 9   probably will          for a long time.


10                  MR.    SNYDER:        Yes,       Your Honor.


11                  MR.    LOESER:        Your Honor,            you've    either got        a great


12   background or new background.


13                  THE COURT:           I'm in chambers.


14                  MS.    WEAVER:        What       are    those      things behind you?


15                  THE COURT:           They're books.


16                  MR.    LOESER:        What?


17                  THE COURT:           They're       F.3ds      and it's       a little bit       easier


18   to do    it    from my conference                room.       I am the only person here.


19   I'm in my chambers.                 I close       the    door.       I see nobody all          day.


20   My staff       does not       come    in.


21                  MR.    SNYDER:        It    sounds       delightful.


22                  MS.    WEAVER:        Well,       Your Honor,         we hear what you          say


23   and    I think we're          all    kind of          walking through this             together,


24   you know,       as    a country;          but we will            do our best      to   stay out      of


25   your hair       so you can focus.




                                                                                                                 2868
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 1               THE   COURT:     I'm going          to    see you-all    on May 29th.


 2              MS.    WEAVER:     Okay.


 3              MR.    SNYDER:     Can't      wait.


 4               THE   COURT:     All    right.           Thank you.     I'll    issue   an


 5   order.


 6              MR.    LOESER:     Thank you,             Your Honor.


 7              MS.    WEAVER:     Thank you,             Your Honor.


 8               THE   COURT:     Thank you.


 9                      (Proceedings      adjourned at          9:49     a.m.)


10                                            ---000---


11


12


13                               CERTIFICATE OF REPORTER


14               I certify that         the    foregoing       is   a correct     transcript


15   from the    record of      proceedings          in the above-entitled matter.


16


17   DATE:      Wednesday,      May 20,       2020


18


19


20


21


22                Jo Ann Bryce,
                                    0$'2
                                       •0J3-`r4-
                                        CSR No.       3321,    RMR,     CRR,   FCRR
                                   U.S.       Court       Reporter
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                      EXHIBIT K




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Plaint,fi' Co-Lead Counsel

Additional counsel listed on signature page



                           UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF CALIFORNIA



IN RE: FACEBOOK, INC. CONSUMER                       MDL No. 2843
PRIVACY USER PROFILE LITIGATION                      Case No. 18-md-02843-VC-JSC



This document relates to:                            PLAINTIFFS' FOURTH SET OF
                                                     INTERROGATORIES TO DEFENDANT
ALL ACTIONS                                          FACEBOOK, INC.




PROPOUNDING PARTY:             Plaintiffs

RESPONDING PARTY:              Defendant Facebook, Inc.

SET NUMBER:                    Four (4)

        Plaintiffs hereby propound the following interrogatories to Defendant Facebook, Inc.

("Facebook"), pursuant to Federal Rules of Civil Procedure 26 and 33, and request that Facebook

respond to the interrogatories below within thirty (30) days of service of these requests at Keller

Rohrback L.L.P., 1201 Third Avenue, Suite 3200, Seattle, WA 98101.

                                            INSTRUCTIONS

        1.      You shall respond to these interrogatories in amanner consistent with the Federal

Rules of Civil Procedure and the following instructions:

        2.      In responding to these Interrogatories, you must answer the Interrogatories in

writing and under oath pursuant to Rule 33(b)(5).

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        3.      If you object to an Interrogatory on the grounds that it calls for disclosure of

information which you claim is privileged, then answer such Interrogatory as follows: (a) furnish

all information and facts called for by such Interrogatory for which you do not assert aclaim of

privilege; and (b) for each communication, recommendation, fact, or advice which you claim is

privileged, state the basis for your claim of privilege and all the facts that substantiate that basis,

including each of the participants in the allegedly privileged communication.

        4.      If you object to any portion of an Interrogatory, provide all information

responsive to any portion of the Interrogatory to which you do not object.

        5.      Unless otherwise stated, there are no time limits applicable to any interrogatory.

When atime limit is specified in adiscovery request, this time limit does not alter your

obligations under the Federal Rules of Civil Procedure to supplement your responses.

        6.      Seasonable and timely supplementation is required. Accordingly, if any additional

information relating in any way to these discovery requests are acquired or discovered

subsequent to the date of your response, this information shall be furnished to Plaintiffs' counsel

promptly after such information is discovered.

        7.      In answering these Interrogatories, furnish all knowledge and information

available to you or subject to your reasonable inquiry, access or control, however obtained

including hearsay. This includes, but is not limited to, information in the actual or constructive

possession of your attorneys and anyone else acting on your behalf.

        8.      Unless words or terms have been given aspecific definition herein, each word or

term used herein shall be given its usual and customary dictionary definition except where such

words have aspecific custom and usage definition in your trade or industry, in which case they

shall be interpreted in accordance with such usual custom and usage definition of which you are

aware. In construing the interrogatories and requests herein: (i) the singular shall include the

plural and the plural shall include the singular; (ii) amasculine, feminine, or neuter pronoun shall

not exclude the other genders; (iii) the terms "any" and "all" shall be understood to mean "any

and all"; and (iv) the words "and" and "or" shall be read in the conjunctive or disjunctive or


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both, as the case may be, all to the end that the interpretation applied results in the more

expansive interpretation.

                                           DEFINITIONS

        Unless otherwise stated, the terms set forth below are defined as follows and shall be

used in construing the meaning of these interrogatories.

        1.      The use of the singular shall be deemed to include the plural, and the use of one

gender shall include all others, as appropriate, in the context.

        2.      The present tense of averb includes its past tense and vice versa.

        3.      "2012 Consent Decree" means the Decision and Order entered by the Federal

Trade Commission (FTC) in 2012 in In the Matter cf Facebook, Inc., No. C-4365, pursuant to an

agreement between the FTC and Facebook.

        4.      "And" and "or" are to be construed both conjunctively and disjunctively, as

necessary, to bring within the scope of this request for production all responses that might

otherwise be construed to be outside its scope.

        5.      The words "all" and "any" means each and every.

        6.      The phrase "describe in detail" or "detailed description" includes arequest for a

complete description and explanation of the facts, circumstances, analysis, opinion, and other

information relating to the subject matter of aspecific interrogatory.

        7.      "Facebook," "Defendant," "you," and "your" shall mean Facebook, Inc. and any

of its executives, directors, officers, employees, partners, members, representatives, agents

(including attorneys, accountants, consultants, investment advisors or bankers), and any other

Person purporting to act on its behalf. In the case of business entities, these defined terms include

parents, subsidiaries, affiliates, predecessor entities, successor entities, divisions, departments,

groups, acquired entities and/or related entities or any other entity acting or purporting to act on

its behalf.




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        8.      "Action" means this case captioned In re: Facebook, Inc. Consumer Privacy User

Prcfile Litigation, Case No. 18-md-02843-VC and each of the constituent Actions transferred to

and/or consolidated therein.

        9.      "API" refers to an application programming interface.

        10.     "App" means an interactive software application developed to utilize the core

technologies of the Facebook social networking platform.

        11.     "Business Partners" refers to the third parties with whom Facebook partnered to

develop and integrate Facebook on avariety of devices and operating systems, including, but not

limited to, the third parties listed in paragraph 484 of Plaintiffs' First Amended Consolidated

Complaint.

        12.     "Content and Information" refers to the definition in footnote 2of the First

Amended Consolidated Complaint, referring to "content" and "information" as Facebook's

Statements of Rights and Responsibilities have defined those terms. In brief, Facebook has

generally used "information" to mean facts and other information about Facebook Users,

including the actions they take, and "content" to mean anything Facebook Users post on

Facebook that would not be included in the definition of "information." Content and Information

also includes both personally identifiable content and information and anonymized content and

information that is capable of being de-anonymized. See First Am. Consol. Compl. ("FAC")

ill 223-224. Content and Information includes data that identifies, relates to, describes, is capable

of being associated with, or could reasonably be linked, directly or indirectly, with aparticular

Facebook User, including:

                A.     Identifiers such as areal name, alias, postal address, unique personal

        identifier, online identifier, Internet Protocol address, email address, account name, social

        security number, driver's license number, passport number, or other similar identifiers.

                B.     Characteristics of protected classifications under California or federal law.




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                  C.     Commercial information, including records of personal property, products

        or services purchased, obtained, or considered, or other purchasing or consuming

        histories or tendencies.

                  D.     Biometric information.

                  E.     Internet or other electronic network activity information, including, but

        not limited to, browsing history, search history, and information regarding aconsumer's

        interaction with an Internet Web site, application, or advertisement.

                  F.     Geolocation data.

                  G.     Audio, electronic, visual, thermal, olfactory, or similar information.

                  H.     Professional or employment-related information.

                  I.     Education information, defined as information that is not publicly

        available personally identifiable information as defined in the Family Educational Rights

        and Privacy Act (20 U.S.C. §1232g, 34 C.F.R. Pt. 99).

                  J.     Inferences drawn from any of the information identified in this paragraph

        to create aprofile, dossier, or similar collection of information about aconsumer

        reflecting the consumer's preferences, characteristics, psychological trends,

        predispositions, behavior, attitudes, intelligence, abilities, and aptitudes.

        13.       "Data Analytics Infrastructure" refers to the services, applications, utilities and

systems that are used for either preparing data for modeling, estimating models, validating

models, business intelligence, scoring data, or related activities, including but not limited to

databases and data warehouses, statistical and data mining systems, and scoring engines.

        14.       "Database" refers to any organized collection of information that is stored

electronically.

        15.       "Facebook Archive" means the archived activity of the Named Plaintiffs You

produced in this action.

        16.       "Facebook User" means aperson who maintains or has maintained aFacebook

account.


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        17.     "Friends of Installing Users" refers to Facebook Users:

                A.       who did not install aparticular App, but whose Content and Information

        became accessible to that App because they were Facebook friends with an Installing

        User; or

                B.       whose Content and Information became accessible to aBusiness Partner

        because they were Facebook friends with an Installing User.

        18.     "Including" means "including but not limited to," or "including, without

limitation." Any examples which follow these phrases are set forth to clarify arequest,

definition, or instruction but not to limit it.

        19.        "Installing User" refers to aFacebook User who installed aparticular App via his

or her Facebook account or who used the services or products of aBusiness Partner in

connection with his or her Facebook account.

        20.     "Not Generally Available," when used as an adjective to modify Content and

Information, refers to aFacebook User's Content and Information to which that Facebook User

has restricted access such that the only Facebook Users who may access that Content and

Information are the Facebook User's Friends or another limited audience.

        21.     "Platform" refers to the services, tools, and products provided by Facebook to

third parties to create their own applications and services that access data in Facebook.

        22.     "Third Parties" include the following:

                A.       Apps, App Developers, Whitelisted Apps, and Business Partners, as those

        terms are used in the FAC;

                B.       Any person that develops an application, software experience, game, or

        website that accesses Content and Information from Facebook's API or other Facebook

        software; and

                C.       Any person with which Facebook has or had an integration partnership.

        23.     Capitalized terms and acronyms not specifically defined herein have the same

definition as in the First Amended Consolidated Complaint.


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                                     INTERROGATORIES

INTERROGATORY NO. 8:

        Identify by name and time period in operation each Facebook Database and Data

Analytics Infrastructure that contains Facebook Users' Content and Information.




INTERROGATORY NO. 9:

        For each Database and Data Analytics Infrastructure identified in your answer to

Interrogatory No. 8, identify the corresponding query interfaces (e.g., including graphical

interfaces, command-oriented interfaces, and APIs) that have called or accessed data from such

Database to respond to either internal or external queries.




INTERROGATORY NO. 10:

        For each query interface identified in your answer to Interrogatory No. 9, identify

whether such query interface is or has been used to respond to internal queries, external queries,

or both.




INTERROGATORY NO. 11:

        For each query interface identified in your answer to Interrogatory No. 10 as being or

having been used to respond to external queries, identify the complete list of fields or query

parameters available for queries by aThird Party via such query interfaces. For each of the fields

or query parameters, describe in detail the acceptable ranges and formats of their values and

identify which parameters are optional for queries and which are required.




INTERROGATORY NO. 12:

        For each Database and Data Analytics Infrastructure identified in your answer to

Interrogatory No. 8, describe in detail the system architectures of, and types of data contained by,

such system.


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INTERROGATORY NO. 13:

         For every API by means of which Third Parties could access the Not Generally Available

Content and Information of Friends of Installing Users, list the name of the API, adescription of

its function, the data fields of Not Generally Available Content and Information of Friends of

Installing Users to which it allowed access, the number of calls it received each month, the

volume of data it returned each month, the number of Friends of Installing Users whose Content

and Information was accessed, the name of every Third Party that Facebook allowed to use that

API, and the period during which each Third Party was allowed to use the API.




INTERROGATORY NO. 14:

         Identify every Business Partner that had the ability to access the Not Generally Available

Content and Information of Facebook Users even if such Facebook Users had not downloaded an

App from that Business Partner and time period during which each such Business Partner had

that ability.




INTERROGATORY NO. 15:

         For each Business Partner identified in your answer to Interrogatory No. 14, provide:

    a)   The name of each API or other data transfer mechanism by means of which the Business

         Partner accessed the Not Generally Available Content and Information of Facebook

         Users when such Facebook Users had not downloaded an App from that Business

         Partner;

    b) adetailed description of the function of each such API or other data transfer mechanism;

    c) the elements of Not Generally Available Content and Information that each such API or

         other data transfer mechanism allowed access to;

    d) the number of calls the Business Partner made to each such API or other data transfer

         mechanism each month;

    e) the volume of data transferred from each such API or other data transfer mechanism to


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        each Business Partner each month;

    0 the number of Friends of Installing Users whose Content and Information was so

        accessed by each Business Partner; and

    g) any filters or access restrictions that limited the set of Facebook Users about whom each

        Business Partner could access Not Generally Available Content and Information.




INTERROGATORY NO. 16:

        For each Named Plaintiff, identify all Third Parties who had the ability to access such

Named Plaintiff's Not Generally Available Content and Information by virtue of the fact that the

Named Plaintiff was aFriend of an Installing User, the date and time of each request for such

access, and the specific Content and Information that was accessed.




INTERROGATORY NO. 17:

        For each Named Plaintiff, identify each Facebook Business Partner that had the ability to

access the Named Plaintiff's Not Generally Available Content and Information, even if the

Named Plaintiff had not downloaded an App from that Business Partner, the date and time of

each request for such access, and the specific Content and Information that was accessed.




INTERROGATORY NO. 18:

        Identify by Bates number every document You provided or made available to PwC

related to any investigation, audit or assessment related to the subject matter of the Complaint.




INTERROGATORY NO. 19:

        Identify all members of Facebook's senior management team involved in the review and

oversight of Facebook's Privacy Program instituted pursuant to the 2012 Consent Decree.




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INTERROGATORY NO. 20:

        Identify all members of the Board of Directors involved in the review and oversight of

Facebook's Privacy Program instituted pursuant to the 2012 Consent Decree.




INTERROGATORY NO. 21:

        For each such individual identified above in Interrogatories 19 and 20, describe in detail

their duties and responsibilities relating thereto.




INTERROGATORY NO. 22:

        Describe in detail the facts and circumstances relied upon by Facebook in assessing and

agreeing to pay a$5 billion fine to the Federal Trade Commission.




INTERROGATORY NO. 23:

        Identify every person involved in the decision to pay the $5 billion fine to the Federal

Trade Commission.




INTERROGATORY NO. 24:

        Identify every noncustodial source of ESI on which is stored information (in any form)

sufficient to determine (1) whether Third Parties accessed the Not Generally Available Content

and Information of Facebook Users by virtue of their being Friends of Installing Users; (2) which

Third Parties accessed such Content and Information; and (3) which Facebook Users, by virtue

of their being Friends of Installing Users, had their Not Generally Available Content and

Information accessed by Third Parties.




INTERROGATORY NO. 25:

        Identify every noncustodial source of ESI on which is stored information (in any form)

sufficient to determine (1) whether any Business Partners accessed the Not Generally Available


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Content and Information of Facebook Users even if such Users did had not downloaded an App

from those Business Partners; (2) which Business Partners accessed such Content and

Information; and/or (3) which Facebook Users had their Not Generally Available Content and

Information accessed in that manner.




INTERROGATORY NO. 26:

        Identify by name and time period all Third Parties that obtained Facebook Users' Content

and Information through friend permissions prior to 2009.




INTERROGATORY NO. 27:

        Identify by name and time period all Third Parties to whom Facebook granted whitelisted

access, the time period of the grant of whitelisted access, and the Third Parties for which such

access was granted.




INTERROGATORY NO. 28:

        Describe the criteria Facebook used to determine which Third Parties would be granted

whitelisted access.




INTERROGATORY NO. 29:

        Identify by name and time period all Third Parties that were Business Partners of

Facebook and were granted access to Facebook Users' Content and Information.




INTERROGATORY NO. 30:

        Identify all categories of Content and Information available to aFacebook User through

the "Access Your Information" or "Download Your Information" tools, such as users' public and

private posts, Facebook messenger messages, and any attached content.




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INTERROGATORY NO. 31:

        Identify all categories of Content and Information Facebook collects, tracks, and

maintains about Facebook Users that are excluded from the Access Your Information or

Download Your Information tools, such as advertisements served to aFacebook User, likes,

audience selector information, reports of offensive content, or support communications.




INTERROGATORY NO. 32:

        For each Named Plaintiff, identify each category of Content and Information Facebook

collects, tracks, and maintains about them and for each category, indicate (1) whether each

category has been produced in this action and the Bates Range associated with each category of

produced Content and Information; (2) whether each category of Content and Information is

available to Facebook Users through the "Access Your Information" or "Download Your

Information" tools; and (3) for each category of Content and Information that has not been

produced in this action, its location, and the reason it has not been produced.




INTERROGATORY NO. 33:

        For all documents produced in this action relating to the Named Plaintiffs' Content and

Information, describe any associated data that reflects whether the Content and Information was

publicly or privately shared.




INTERROGATORY NO. 34:

        Identify by name, time period and type of data accessed all Third Parties Facebook has

removed or banned from the Platform for violating Facebook Users' privacy or for failure to

comply with Facebook's privacy policies.




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Dated: July 16, 2020                                  Respectfully submitted,



KELLER ROHRBACK L.L.P.                                BLEICHMAR FONTI & AULD LLP

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       Derek W. Loeser                                          Lesley E. Weaver

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                 Attorneys for Defendant Facebook, Inc.




                                               UNITED STATES DISTRICT COURT
                                             NORTHERN DISTRICT OF CALIFORNIA
                                                  SAN FRANCISCO DIVISION




                 IN RE: FACEBOOK, INC. CONSUMER                CASE NO. 3:18-MD-02843-VC
                 PRIVACY USER PROFILE LITIGATION,
                                                               DEFENDANT FACEBOOK, INC.'S
                                                               OPENING BRIEF IN SUPPORT OF ITS
                 This document relates to:                     REQUEST TO ENFORCE THE PARTIAL
                                                               STAY OF DISCOVERY IN PRETRIAL
                 ALL ACTIONS                                   ORDER NO. 20

                                                               Judge: Hons. Vince Chhabria and
                                                               Jacqueline Scott Corley
                                                               Courtroom 4, 17th Floor




Gibson, Dunn &
                    DEFENDANT FACEBOOK, INC.'S OPENING BRIEF IN SUPPORT OF ITS REQUEST TO ENFORCE THE
Crutcher LLP
                                  PARTIAL STAY OF DISCOVERY IN PRETRIAL ORDER NO. 20
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                      II.    Pretrial Order No. 20 allows four theories of potential liability relating to
                             "sensitive user information" that users shared with a"limited audience" on
                             Facebook.                                                                         3

                      III.   Facebook undertakes an expansive discovery effort                                 5

                      IV.    Facebook produces in discovery all data associated with the Named Plaintiffs'
                             accounts                                                                          5

                      V.     Plaintiffs continue to seek broad discovery on stayed and dismissed claims        7

                 ARGUMENT                                                                                      8

                      I.     The Court should enforce the stay articulated in Pretrial Order 20                8

                      II.    The additional user data Plaintiffs demand relates only to stayed or unpled
                             theories and cannot realistically be collected and produced                      10

                             A.     Off-Facebook Activity does not relate to any live theory, and any
                                    information associated with Plaintiffs' accounts has been produced        11

                             B.     Facebook's business analytics do not relate to any live theory.           13

                 CONCLUSION                                                                                   15




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                                                           INTRODUCTION

                        This brief concerns the proper scope of discovery in this case. On September 9, 2019, Judge

                 Chhabria issued acomprehensive ruling (Pretrial Order 20) (the "Order") making clear that this

                 litigation—which arises out of the Cambridge Analytica events—concerns "Facebook's practice of

                 sharing its users' personal information with third parties." Pretrial Order 20, Dkt. 298 at 1. The ruling

                 limits Plaintiffs to four theories of relief, all of which pertain to Facebook allegedly allowing third

                 parties to access information that users themselves posted on Facebook. They are:

                    • Friend sharing: "[W]hen users accessed apps on the Facebook Platform, the app developers
                      were not merely able to obtain information about the users they were interacting with; [but]
                      were also able to obtain any information about the users' Facebook friends that the users
                      themselves had access to."

                    • Whitelisting: After announcing it had ended friend sharing in 2014, Facebook allegedly
                      "continued to allow a preferred list of app developers to access the information of users'
                      friends."

                    • Integration Partner Agreements: Facebook allegedly "[s]har[ed] sensitive user information
                      with business partners," through a list of "integration partnerships," under which Facebook
                      allegedly "outsourced ... the time, labor, and money required to build Facebook's Platform on
                      different devices and operating systems."

                    • Enforcement Efforts: "In addition to complaining about Facebook's dissemination of private
                      user information to app developers, whitelisted apps, and business partners, the plaintiffs allege
                      that Facebook did nothing to prevent these third parties from misusing the information
                      Facebook allowed them to access."

                 Id. at 6-10. Except for certain dismissed causes of action, id. at 30, the Order stayed all claims and

                 theories not falling into those four categories, and Judge Chhabria made clear that this case would not

                 proceed as an open-ended investigation into Facebook's business, id. at 6.

                        But for the past year, Plaintiffs at every turn have ignored Judge Chhabria's directive—

                 attempting to elasticize the four theories identified in the order into an ever-expanding probe of the

                 Facebook Platform and Facebook's business. This case is not about the extraneous topics Plaintiffs

                 are now chasing in discovery, such as targeted advertising; "cookies" and off-Facebook activity; or the

                 analytics Facebook conducts on user data. Those topics are the subject of separate litigations brought

                 by dijferent plaintiffs before different judges. And Plaintiffs cannot use the discovery process to hunt

                 for new claims and theories.      The Court should issue an order conforming discovery to Judge

                 Chhabria's ruling and the four theories he identified, in accordance with FRCP 26.



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                                                            BACKGROUND

                          This case stems from the Cambridge Analytica events, and while it is broad in scope, Plaintiffs'

                 "core factual allegations" all relate to "Facebook's handling of sensitive user information"—

                 specifically, allegations that Facebook gave third parties access to "sensitive user information" that

                 Facebook users shared with their friends on the Facebook platform. Pretrial Order 20, Dkt. 298 at 6.

                          In March 2018, The Guardian and The New York Times each reported that Cambridge

                 Analytica—a data analytics company that had worked with the Trump campaign—had improperly

                 purchased data regarding millions of Facebook users from adeveloper named Aleksandr Kogan who,

                 along with his company GSR, created an app called this is "thisisyourdigitallife." 1 SACC, Dkt. 491 III

                 397, 486, 531. Kogan had obtained data from users who authorized (i.e., used and consented to share

                 data with) the app. As with other developers that offer apps on Facebook's platform, he also obtained

                 some limited data about those users' friends through "friend sharing," so long as those friends "had

                 their privacy settings set to allow it." SACC, Dkt. 491   ill 397-99.   Kogan then violated the Facebook

                 policies and the terms of use to which he agreed and sold this data to Cambridge Analytica. SACC,

                 Dkt. 491   TT   411. Following the March 2018 news reports about Kogan's sale of data to Cambridge

                 Analytica, nearly 40 putative class actions were filed against Facebook, alleging hundreds of causes of

                 action in jurisdictions across the country. Pretrial Order 20, Dkt. 298 at 3-4. These actions generally

                 challenged Facebook's approach to sharing user information with third parties.

                 I.       Initial proceedings before this Court

                          In June 2018, the Judicial Panel on Multidistrict ("JPML") consolidated these cases before this

                 Court. See Dkt. 1. After the MDL was formed, Plaintiffs' counsel requested preliminary discovery

                 "to determine the scope of potential claims" for aconsolidated complaint. Mtn. for Limited Discovery,

                 Dkt. 112 (Aug. 8, 2018) at 1. Although the Court expressed concern that Plaintiffs had presented a

                 "moving target" and that "discovery is ...not supposed to be afishing expedition," Aug. 23, 2018

                 Hr'g Tr. at 24:4-8, 25:9-26:9, Judge Chhabria allowed preliminary discovery related to the topics

                 described in the JPML's transfer order. See Dkt. 130. Within weeks, Facebook produced thousands


                   1 None of this was news when the articles were published in 2018; like the rest of the public, "Fa-
                 cebook became aware that Kogan and GSR had misused data" after The Guardian published an arti-
                 cle about it on December 11, 2015 and immediately "conducted an investigation." SACC ir 402.

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                 of documents and essay-like interrogatory responses to assist Plaintiffs in forming their claims.

                        The resulting complaint was nevertheless rife with defects, and the Court suggested Plaintiffs

                 file an amended complaint. See, e.g., Feb. 1, 2019 Hr'g Tr. at 101:3-11, 166:3-13. The Court made

                 clear, however: "[I]f we ...giv[e] you leave to amend right now, ...Iwould assume that the next

                 iteration of it would be your best shot. And that absent some extraordinary circumstances, if aparticular

                 claim is inadequate, it would be dismissed with prejudice." id. at 188:23-189:4.

                        Plaintiffs' First Amended Consolidated Complaint ballooned to 1,442 paragraphs and 412

                 pages. Dkt. 257. As the Court later observed: "[I]t seems the plaintiffs sought to identify anything

                 Facebook has ever been reported to have done wrong and then made sure to sprinkle in at least afew

                 allegations about it." Pretrial Order 20, Dkt. 298 at 5. Facebook moved to dismiss.

                        Pretrial Order No. 20 allows four theories of potential liability relating to "sensitive user
                        information" that users shared with a"limited audience" on Facebook.

                        After asecond round of extensive motion-to-dismiss briefing, the Court issued a42-page order

                 granting in part and denying in part Facebook's motion to dismiss. The very first line of that Order

                 reads: "This lawsuit, which stems from the Cambridge Analytica scandal, is about Facebook's practice

                 cf sharing its users '
                                      personal information with third parties. .. .[PlaintJs'    principal allegations are

                 that Facebook: (1) made sensitive user information available to countless companies and individuals

                 without the consent cf the users, and (ii) failed to prevent those same companies and individuals from

                 selling or otherwise misusing the information." Id. at 1. The Order goes on to find anumber of claims

                 actionable related those alleged practices.

                        But the Court rejected Plaintiffs' pleading to the extent it waged a wholesale attack on

                 Facebook's business, observing that "it seems the plaintiffs sought to identify anything Facebook has

                 ever been reported to have done wrong .... [T]he presence of so many disparate and vague allegations

                 makes it nearly impossible for Facebook to meaningfully respond to all of them, much less for the

                 Court to effectively address them." Id. at 5-6.

                        To avoid "bogging the case down at the pleading stage for years," id. at 6, Judge Chhabria did

                 not address each of Plaintiffs' improperly pleaded theories and claims.        Instead, he concluded that

                 Plaintiffs adequately pleaded "four categories" of potential wrongdoing related to "Facebook's practice

                 of sharing its users' personal information with third parties." Id. at 6, 1. He then dismissed certain

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                 claims, id. at 30, and stayed all other claims and theories notfalling into thefour categories of alleged

                 misconduct. Id. at 6("All other prioritized claims not addressed by this ruling will be stayed.").

                        The order further held that Plaintiffs have standing only to the extent the claims are based on

                 the allegation that "sensitive information was disseminated to third parties." id. at 14. It therefore

                 explained that each of the actionable theories of alleged misconduct concerned "Facebook's handling

                 of sensitive user information," id. at 6, which it described as "substantive and revealing content that

                 users intended only for alimited audience [i.e., their friends], such as their photographs, videos they

                 made, videos they watched, their religious and political views, their relationship information, and the

                 actual words contained in their messages." id. at 1(emphasis added); see also id. at 7, 13, 17.

                        Judge Chhabria described the four actionable categories of potential liability as:

                         1.     Friend sharing: "Giving app developers access to sensitive user io formation." From

                 approximately 2009-2015, "when users accessed apps on the Facebook Platform, the app developers

                 were not merely able to obtain information about the users they were interacting with; [but] were also

                 able to obtain any information about the users' Facebook friends that the users themselves had access

                 to," via "friend sharing." id. at 6-7. 2 "This include[d] [access to] avariety of things that your friends

                 might have intended to share only with alimited audience ...." Id. at 7. "The Cambridge Analytica

                 story is an example of this." id.

                        2.      Whitelisting:   "Continued disclosure to whitelisted apps." After announcing it had

                 ended friend sharing in 2014, Facebook allegedly "continued to allow apreferred list of app developers

                 to access the information of users' friends." id. at 7-8. "The complaint describes these preferred apps

                 as `whitelisted apps.' Id. at 8.

                        3.      Integration Partner Agreements: "Sharing sensitive user io formation with business

                 partners." Plaintiffs "allege that Facebook outsourced to business partners 'the time, labor, and money

                 required to build Facebook's Platform on different devices and operating systems.' id. at 8. "The

                 non-exclusive list of companies that the complaint identifies as business partners ...came from

                 Facebook itself, which asserted that it had 'integration partnerships' with these companies in aletter to


                   2  Judge Chhabria also found all Facebook Users who had joined Facebook in 2009 or after had
                 consented to this friend-sharing and so dismissed those claims as to any Facebook users who joined
                 the Platform after 2008. Id. at 25-26.

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                 the Energy and Commerce Committee of the U.S. House of Representatives." Id. With regard to these

                 integration    partnerships,   Judge   Chhabria   found   the   alleged   misconduct     was   "relatively

                 straightforward": Facebook had entered "data reciprocity" agreements with these integration partners

                 pursuant to which "Facebook shared information about its users with this ...list of business partners,

                 and that those companies in turn shared data with Facebook." Id.

                           4.     Enforcement Efforts:     "Failure to restrict the use    f   sensitive information." "In

                 addition to complaining about Facebook's dissemination of private user information to app developers,

                 whitelisted apps, and business partners, the plaintiffs allege that Facebook did nothing to prevent these

                 third parties from misusing the information Facebook allowed them to access." Id. at 9. "Again, the

                 Cambridge Analytica story is an example of this." id.

                 III.      Facebook undertakes an expansive discovery effort

                           The four theories identified in Pretrial Order 20 are wide ranging and implicate complex facts

                 that have proven challenging for the parties and the Court to manage. The Court has already held more

                 than 20 hearings and resolved numerous motions.         The parties have already met and conferred for

                 literally hundreds of hours. And Facebook has produced nearly 1.5 million pages, before the parties

                 have even reached asearch term agreement.

                           These productions include all of the Facebook documents produced in response to the FTC's

                 document requests during its related investigations—including the FTC's 2019 investigation stemming

                 from the Cambridge Analytica events underlying this case. Judge Chhabria expected these documents,

                 which were sufficient for the FTC, "would cover the vast majority of the documents that the

                 Plaintiffs would want in this litigation." March 5, 2020 Hr'g Tr. at 4:14-15. Facebook also produced

                 the documents it provided the SEC, multiple state attorneys general, and other government entities in

                 related investigations and actions to the extent they are responsive to Plaintiffs' RFPs.

                 IV.       Facebook produces in discovery all data associated with the Named Plaintiffs' accounts

                           Facebook also undertook to produce any data and information about the Named Plaintiffs that

                 was within the scope of the four non-stayed theories of alleged misconduct.

                           Facebook determined that the best way to ensure that it produced all information that could

                 potentially be within the scope of the four theories Judge Chhabria identified was to produce all content


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                 and information that Facebook associates with each of the Named Plaintiffs' Facebook accounts. This

                 includes (but is not limited to) the "Download Your Information" ("DYI") file that Facebook makes

                 available to users. The DYI file contains more than 115 categories cf information about aFacebook

                 user detailed in Exhibit A; all Facebook users are free to download their DYI file if they wish. 3

                         Facebook has now produced the information contained in the DYI file for each of the Named

                 Plaintiffs, plus any additional information associated with their accounts.     In total, Facebook has

                 produced more than 850,000 pages of information associated with the Named Plaintiffs' accounts. 4

                 The produced materials include everything each Name Plaintiff has ever shared or done on

                 Facebook (unless the Named Plaintiffs have chosen to permanently delete that information).

                         By producing the full DYI file, Facebook produced some information that is outside the scope

                 of the case in at least two respects.    First, the DYI file includes more than the "sensitive user

                 information" users shared on the platform—photographs, videos, posts, comments, messages, and

                 religious, political, and relationship information.    See Dkt. 298 at 1, 7, 13, 17.    It includes all

                 information that each Named Plaintiff has shared on Facebook, sensitive or otherwise.

                         Second, the DYI file includes data and information associated with each of the Named

                 Plaintiffs' Facebook accounts, beyond what users shared on Facebook.       Of note, it includes certain

                 information Facebook receives about users' online activities on apps and websites other than

                 Facebook, which is called off-Facebook Activity.       The DYI data also includes device information,

                 location information, and ahost of information about advertisers and advertisements.

                         By producing the DYI file, Facebook ensured that it had produced all user data about each

                 Named Plaintiff that could even arguably be within the scope of the four non-stayed theories.




                    3 Facebook's Help Center explains what is included in auser's DYI file in an article entitled What
                 categories cf my Facebook data are available to me?, which includes atable detailing the more than
                  115 categories of information that Facebook users are able to download. See What categories cf my
                 Facebook data are available to me?, https://www.facebook.com/help/930396167085762, Table 2, In-
                 formation you can download using the Download Your Ii formation tool (last visited Sept. 18, 2020).
                 This table is reproduced as Exhibit A. Facebook explained to Plaintiffs during the meet-and-confer
                 process that this information was available to them for download, but Plaintiffs insisted that Facebook
                 produce the information in discovery. Facebook agreed to do so without conceding the relevance or
                 discoverability of all of the information in the DYI file.
                  4 Approximately 250,000 pages of additional materials are in the queue for production for 5
                 Named Plaintiffs who joined the case last month, see SACC Dkt. 491.

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                                                  Table 1: Produced User Data


                                                             Download Your
                                                             Information file



                                                                Information
                                                              shared by users
                                                               on Facebook


                                                                 Sensitive
                                                                information
                                                              shared by users
                                                               on Facebook



                                                                  Sensitive
                                                                information
                                                              shared by users
                                                               on Facebook
                                                               and given to
                                                                third parties



                 V.      Plaintiffs continue to seek broad discovery on stayed and dismissed claims

                         By providing Plaintiffs the materials it produced to numerous government entities in related

                 investigations and all data associated with the Named Plaintiffs, Facebook provided more than enough

                 information for private plaintJs to seek any additional targeted discovery about live claims. That is

                 the only discovery to which Plaintiffs are entitled. But Plaintiffs have refused to approach discovery

                 in areasonable and targeted manner and continue to conduct this case as if they were amulti-district

                 private attorney general free to careen from one factual detour to the next.

                         Facebook does not dispute that Plaintiffs are entitled to obtain discovery about the four

                 actionable theories Judge Chhabria identified.     But Plaintiffs' RFPs far exceed that scope, instead

                 seeking more than adecade of materials touching on nearly every aspect of Facebook's operations,

                 including all materials underlying the company's financials, advertising on the Facebook platform,

                 Facebook's efforts to curb and investigate violations of any platform policy, Facebook's internal

                 policies, Facebook's third party agreements, and "user testing" of any kind.

                         Plaintiffs demand every single document, letter, and other piece of paper to have exchanged

                 hands with any government body investigating or pursuing claims against Facebook on any topic

                 related to privacy.   Plaintiffs similarly demand every document from or relating to any internal

                 Facebook investigation or audit. Plaintiffs have interrogated counsel repeatedly on all aspects of the


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                 Company's advertising platform, whether and how Facebook tracks users, Facebook's source code,

                 and Facebook's internal business analytics. Indeed, after the world went into lockdown as aresult of

                 the COVID-19 pandemic, Plaintiffs began grilling counsel about privacy on Zoom and Facebook's

                 newly released video-conferencing product.

                          In the months since Facebook produced the Named Plaintiffs' data, Plaintiffs have interrogated

                 Facebook ad nauseum about its contents, continuing to demand some other "dossier" or "data set"

                 Plaintiffs believe Facebook maintains for each user—frequently demanding information Facebook

                 already provided. As Facebook has repeatedly explained, there is no "dossier" or "data set"—the DYI

                 files Facebook has produced contain the data in Facebook's possession, custody, and control that

                 Facebook has associated with each Named Plaintiff's Facebook account. Facebook has gone to great

                 lengths to explain this to Plaintiffs and has submitted to dozens of hours of questioning about every

                 piece of data Plaintiffs believe Facebook tracks and collects and how that data is stored.

                          This approach has infected all aspects of discovery and has caused disputes to arise early and

                 often.   To manage these issues, Judge Chhabria appointed the Honorable Jaqueline Scott Corley to

                 resolve discovery disputes.     Although this appointment has substantially improved the discovery

                 process, Plaintiffs have not relented in their efforts to hunt for new theories under the guise of

                 discovery. As set forth below, Plaintiffs are now seeking broad categories of user data that go far

                 outside the four actionable theories of relief.

                                                               ARGUMENT

                 I.       The Court should enforce the stay articulated in Pretrial Order 20

                          Pretrial Order 20 and Rule 26 must guide the scope of discovery in this action.         The four

                 categories of alleged misconduct that survived the motion to dismiss all start from the same place: with

                 a Facebook user sharing "sensitive user information."       Judge Chhabria defined this term to mean

                 "substantive and revealing content that users intended only for alimited audience [i.e., their friends],

                 such as their photographs, videos they made, videos they watched, their religious and political views,

                 their relationship information, and the actual words contained in their messages."           Dkt. 298 at 1

                 (emphasis added), see also id. at 7, 13, 17. Pretrial Order 20 finds Plaintiffs' claims actionable only to

                 the extent that they relate to Facebook allegedly sharing this type of information through (i) friend


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                 sharing, (ii) whitelisting, or (iii) integration partnerships, or to (iv) Facebook's alleged failure to enforce

                 restrictions on how third parties used the information Facebook shared with them.


                                   Table 2: Actionable Theories Under Pretrial Order 20

                                         Users share sensitive information intended for alimited
                                                          audience on Facebook




                                                        L
                                                                   Whitelisting                     Integration Partners
                         Friend Sharing
                                                                                                  Facebook allegedly shared
                                                           Facebook allegedly allows
                    Facebook allegedly allows             certain app developers to ac-          users' sensitive information
                  app developers to access sen-            cess sensitive information              with alist of "integration
                   sitive information shared by              shared by friends of the            partners" through data reci-
                     friends of the apps' users            apps' users after announc-                 procity agreements
                                                           ing it ended friend sharing




                                                                 Enforcement

                                 Facebook allegedly did not adequately police what these third parties did
                                                    with users' sensitive information


                         Pretrial Order 20 stays all claims and theories that do not fall into one of these categories. The

                 stay that Judge Chhabria articulated "necessarily include[s] astay of discovery" on any stayed theories

                 of relief. Meyers v. Cty. cf Sacramento, 2020 WL 207213, at *1 (E.D. Cal. Jan. 14, 2020). When a

                 "discovery stay [is] in place," aparty "will not be permitted to seek discovery from [the opposing

                 party]." InteraXon Inc. v. NeuroTek, LLC, 2017 WL 24721, at *4 (N.D. Cal. Jan. 3, 2017).

                         Rule 26 also confines discovery to the four live theories articulated in Pretrial Order 20. Under

                 Rule 26, Plaintiffs are not entitled to seek discovery to test allegations or theories that did not survive

                 Facebook's motion to dismiss—such as claims about "psychographic marketing" and "targeted

                 advertising"—or to investigate new potential theories of wrongdoing. Rule 26 was amended in 2000

                 to change the scope of discovery from information relevant to the "subject matter" of the case to

                 information relevant to "claims or defenses." Fed. R. Civ. P. 26(b)(1), Advisory Committee Notes to

                 2000 Amendments. The scope of discovery must be "based on the actual claims or defenses surviving

                 [dismissal]" and cannot go "beyond the claims that withstood [a] motion to dismiss." In re Ashworth,



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                 Inc. Sec. Litig., 2002 WL 33009225, at *4 (S.D. Cal. May 10, 2002); see also Brown v. Stroud, 2010

                 WL 3339524, at *2-4 (N.D. Cal. Aug. 24, 2010) (denying plaintiff's request for "discovery beyond

                 th[e] scope" of the claims as "indicated" in the court's motion to dismiss.)

                          The amendments to Rule 26 also make clear that Plaintiffs are not entitled to conduct aroving

                 inquiry into all of Facebook's business practices to develop new theories of relief. In civil litigation,

                 discovery must be tied to live claims. Rembrandt Diagnostics, LP v. Innovacon, Inc., 2018 WL 692259,

                 at *8 (S.D. Cal. Feb. 2, 2018) ("Plaintiff's argument that this type of information would be provided in

                 an audit lacks merit, this is discovery, not an audit."). Federal courts regularly reject discovery requests

                 that are not tied to specific, live factual allegations and have observed that "conclusory relevance

                 arguments are not enough to justify an order allowing plaintiff to rummage through ...years' worth

                 of' corporate records. Shuckett v. Dialamerica Mktg., Inc., 2018 WL 4350123, at *6 (S.D. Cal. Sept.

                 10, 2018). Nor may aplaintiff "bootstrap" broad discovery onto narrow allegations. OMG Fid. Inc. v.

                 Sirius Tech., Inc., 2007 WL 1994230, at *1 (N.D. Cal. July 5, 2007).

                          For this reason, in aprivacy MDL against Apple, the Court held discovery would be limited to

                 the types of data the plaintiffs alleged Apple wrongfully collected. See In re iPhone/iPad Application

                 Consumer Privacy Litig., 2012 WL 5897351, at *4-5, *7 (N.D. Cal. Nov. 21, 2012).              In that case,

                 "Plaintiffs allege[d] Apple's devices collected and stored only certain categories of data, such as date

                 of birth, gender, income, education level, partners sought, and zip code." Id. at *5. But, like Plaintiffs

                 here, the plaintiffs requested "all information relating to privacy and Apple's devices." id. at *7. The

                 Court rejected this request as "beyond the scope of their claims," explaining: "Plaintiffs cannot rely

                 on their desire to explore if other types of data were collected to support their requests for discovery,"

                 or "to compile their allegations." id. at *5, *7.     Like the Apple plaintiffs, Plaintiffs here are only

                 entitled to discovery targeted at live claims and defenses.      The Court defined Plaintiffs' claims to

                 concern only "sensitive user information" that users shared with their friends on the Facebook platform

                 and that Facebook went on to allegedly share with third parties. That is the scope of relevant user data.

                 II.      The additional user data Plaintiffs demand relates only to stayed or unpled theories and
                          cannot realistically be collected and produced

                          As Facebook understands, in addition to the 850,000 pages of user data already produced,

                 Plaintiffs demand (i) additional information about the Named Plaintiffs' activities off of Facebook, and

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                 (ii) all internal business analytics that include or draw from data points originating from the Named

                 Plaintiffs. Any such information falls well outside the scope of Pretrial Order 20 and Rule 26.

                                A.      Off-Facebook Activity does not relate to any live theory, and any
                                        information associated with Plaintiffs' accounts has been produced.

                        As discussed, Facebook produced the full set of data associated with each Named Plaintiffs'

                 account, including any information about the Named Plaintiffs' online activities on apps and websites

                 other than the Facebook Platform, which is called "off-Facebook Activity."           Facebook had no

                 obligation to produce Plaintiffs' off-Facebook Activity but did so anyway. Plaintiffs now demand that

                 Facebook produce even more data related to activities off of the Facebook Platform.

                        Off-Facebook Activity is information about users' online activities away from Facebook, which

                 third-party apps and websites provide to Facebook. For example, when auser visits anews app, that

                 app might report to Facebook the fact that the user opened the app, logged into the app with Facebook

                 Login, viewed content, searched for an item, added an item to ashopping cart, made apurchase, or

                 made adonation.' None of this information has any relevance to this case, which concerns "sensitive

                 user information" that users intended to share with alimited audience on Facebook. Off-Facebook

                 Activity is information provided by athird party concerning users' online activities away from the

                 Facebook Plaiform, which—by definition—is not information shared by auser on the Plaiform.

                        Off-Facebook Activity also is not the type of information Judge Chhabria found "sensitive."

                 Judge Chhabria described sensitive information as "substantive and revealing content that users

                 intended only for alimited audience [i.e., their friends], such as their photographs, videos they made,

                 videos they watched, their religious and political views, their relationship information, and the actual

                 words contained in their messages." Pretrial Order 20, Dkt. 298 at 1(emphasis added); see also id. at

                 7, 13, 17. In contrast, off-Facebook Activity concerns logging in and out of apps, visiting web pages,

                 viewing online content, and potentially making purchases or adding items to shopping carts. That

                 information is fundamentally different from photos and private messages and is commonly collected



                   5  See What is c jf-Facebook activity?, https ://www.facebook. com/help/220725 6696182627 (last
                 visited Sept. 18, 2020). Users' accounts include an off-Facebook Activity section, where they are
                 able to view asummary of their interactions with these third parties. Id. Users' DYI files—which
                 have been produced for each Named Plaintiff—include additional details about these interactions. Id.


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                 and tracked through cookies. 6

                          Plaintiffs say they demand this information because it relates to targeted advertising or tracking

                 users. See Joint Status Update, Dkt. 495 (Aug. 13, 2020) at 2-3, 9; July 30 Joint Statement, Dkt. 484,

                 at 3. But this case is not about targeted advertising—it is about Facebook's alleged practice of sharing

                 with third parties "sensitive user information" through friend sharing, whitelisting, or integration

                 partner agreements.     Indeed, Judge Chhabria explicitly rejected Plaintiffs' targeted advertising

                 allegations, noting that Plaintiffs concede targeted advertising is "perfectly legitimate." Pretrial Order

                 20, Dkt. 298 at 6; see also Consolidated Compl., Dkt. 148 If 110 (conceding "[t]here is nothing wrong

                 with targeted advertising"). The case also is not about tracking. Judge Chhabria rejected Plaintiffs'

                 tracking allegations and there is aseparate MDL pending against Facebook in this district regarding

                 user tracking. See In re Facebook Internet Tracking Litig., No. 12-md-2314 (N.D. Cal.).

                          Even if off-Facebook Activity were relevant, the burdens of locating the additional information

                 Plaintiffs seek would far exceed the needs of the case. See Fed. R. Civ. Proc. 26(b)(1); see also Gilead

                 Scis., Inc. v. Merck & Co, 2016 WL 146574, at *1 (N.D. Cal. Jan. 13, 2016). Facebook already

                 produced the off-Facebook Activity associated with the Named Plaintiffs' accounts, because this

                 information is included in users' DYI file. Any additional information related to auser's activities off

                 of the Facebook Platform is not associated with auser's account and would include: (i) data Facebook

                 received from third parties but has not linked definitively to aparticular user; 7 or (ii) granular details,

                 like the specific items auser added to ashopping cart, that are not associated with users' accounts.

                 Facebook has more than 2 billion users and there are certain practical limitations on the volume of

                 granular data it can maintain for each account. This more granular data is typically preserved only

                 temporarily in amachine readable format and is not associated with the user's account.

                          Facebook cannot reasonably locate either type of information. Rather than being indexed and

                 searchable by user, any additional user information provided by third parties is organized by the party

                 who provided the information. To provide avisual: Imagine Facebook is alibrary and each book in



                   6   This is why your Internet browser frequently displays adds for items you have viewed online.
                   7   This could occur if the information was gathered from auser who was not logged into Facebook,
                 or if the information was gathered from auser who was using adevice from which she had not previ-
                 ously logged into Facebook. See stipra, note 5, https://www.facebook.com/help/2207256696182627.

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                 that library contains the information provided by asingle third-party. There is no way to search all of

                 the books at once. Instead, Facebook must open and read each book individually and assess whether

                 any data in those books could have originated with one of the Named Plaintiffs. This would be a

                 monumental and largely unsuccessful undertaking, particularly given that Facebook already

                 determined it cannot link much of this data with certainty to any particular user's account, which is

                 why it was not provided in the first instance.

                        Even if Facebook undertook this effort and managed to dig up afew additional data points or

                 details about aNamed Plaintiff's activities on third party apps or websites, it is not clear how that

                 information could possibly move the needle.      The materials Facebook produced already show in

                 tremendous detail the third parties from which Facebook receives information and the types of

                 information provided. Any additional data points Facebook could locate (for instance, alogin to the

                 same site from adifferent computer) would be more of the same. Even if off-Facebook Activity were

                 relevant to alive theory—and again it is not—Plaintiffs already have the information they need to

                 understand the third parties from which Facebook received this data and the types of data at issue.

                        To the extent Plaintiffs believe they require granular details about individual users' activities

                 on third party apps and websites to prove their claims, this case should not move forward as aputative

                 class action. The issues around Facebook users' off-Facebook Activity are inherently individualized.

                 Each Facebook user visits different websites and installs different apps, and each website and app

                 implements different custom events (actions auser can take on the website or in the app), records

                 different types of data about those events, and makes different choices about what types of data to

                 transmit to Facebook. If granular, individualized details about each Named Plaintiff's off-Facebook

                 Activity are essential to Plaintiffs' case, they will never be able satisfy the predominance requirement

                 of FRCP 23(b)(3). See, e.g., Mario v. United Parcel Serv., Inc., 639 F.3d 942,948-49 (9th Cir. 2011).

                        B.      Facebook's business analytics do not relate to any live theory.

                        Plaintiffs similarly demand that Facebook produce all of its business analytics dating back to

                 2007 to the extent they include or draw from even asingle data point relating to one of the Named

                 Plaintiffs' accounts.   This request seeks millions of data tables—many of which contain multiple

                 terabytes or even petabytes of data—having nothing to do with this case.


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                        Facebook has more than 2billion users, and many billions—if not trillions—of data points flow

                 through its systems every day. Facebook employs thousands of data scientists and engineers who run

                 analyses of this data as part of their job duties. For instance, Facebook uses aggregated user data to

                 track how many users log onto Facebook each day, which is essential to scoping Facebook's

                 infrastructure needs. The Company also analyzes user data to identify bugs, test new products, detect

                 and prevent spam, and promote safety and security. Facebook has millions of data tables, and most (if

                 not all) have nothing to do with any live claim. Yet, Plaintiffs demand data from all of these tables to

                 the extent they draw on even asingle data point originating from aNamed Plaintiffs' account.

                        Facebook has asked Plaintiffs repeatedly if there are particular types of analyses they believe

                 are relevant to live claims and not duplicative of the information already produced. Plaintiffs have not

                 identified any such materials and instead continue to demand that Facebook throw open its doors to

                 allow Plaintiffs to evaluate every data point Facebook maintains and what it does with that data.

                        Plaintiffs "have no entitlement to discovery to develop new claims ... not already identified in

                 the pleadings." DPR Constr., Inc. v. Anka (Cortez Hih) LLC, 2006 WL 8455253, at *2 (S.D. Cal. Oct.

                 27, 2006); accord Feigel v.        C., 935 F. Supp. 1090, 1101 n.7 (S.D. Cal. 1996) ("discovery should

                 be used to flesh out claims, not search for new ones"). And yet Plaintiffs' justifications for demanding

                 production of vast swaths of Facebook data and analytics are entirely untethered from the four theories

                 of liability under Pretrial Order 20.

                        For example, Facebook recently asked Plaintiffs if they would, at minimum, agree that if

                 Facebook hypothetically possessed adatabase that had the ability to receive data, but no ability to

                 output (i.e., share) data, that database would be out of scope. Plaintiffs refused to agree, arguing that

                 the hypothetical database could theoretically create "inferences" from user data that Facebook could

                 use to target users.   But targeted advertising is outside the scope of the four theories of alleged

                 misconduct that remain alive in this case.

                        Plaintiffs similarly maintain that Facebook should produce any analyses related to user logins—

                 even if used only to scope infrastructure needs—because the data could theoretically be used to

                 measure user engagement and therefore to track and target users. Along the same lines, Plaintiffs claim

                 that any data regarding the movement of auser's cursor on their computer screen—which is used to


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                 detect bots on the Platform—should be produced because it too could be used for "tracking." Plaintiffs

                 also seek "detailed information" about "who clicks on" specific ads, Aug. 13 Joint Statement, Dkt. 495

                 at 9, and data regarding how users "engaged with ...content and how they reacted, information which

                 third parties use to target and trigger responses in users," id. at 2-3.   Here again, allegations about

                 "tracking" of users are irrelevant to the four theories that survived the motion-to-dismiss ruling.

                        Plaintiffs are not entitled to scour more than adecade of sensitive business information in a

                 speculative effort to pursue claims based on tracking, targeted advertising, or some new theory of

                 liability they did not plead in their live complaint. As this Court has acknowledged: "[I]t would almost

                 always be more efficient for adefendant to open up [its] document repositories for the opposing side

                 to rifle through. But such apractice would expand the scope of discovery beyond that allowed by the

                 Federal Rules." In re Volkswagen "Clean Diesel" Mktg., Sales Practices, & Prod. Liab. Litig., 2017

                 WL 4680242, at *1 (N.D. Cal. Oct. 18, 2017) (Corley, M.J.).

                        What is more, it would be nearly impossible for Facebook to identify all data points contained

                 within its business analyses that may have originated from Plaintiffs. The tables Plaintiffs demand are

                 not centrally indexed and the data in them is disassociated from the user's ID within 90 days. So to

                 find the data Plaintiffs seek, Facebook would need to identify every single internal analysis that uses

                 platform data—again, Facebook would need to read every book in the library—and then perform

                 multiple operations on each of those internal analyses (none of which would be guaranteed to succeed)

                 to try to determine whether any data in the analysis originated from aNamed Plaintiff. Even alarge

                 team of engineers working full time for several years likely could not accomplish such atask.

                        If Plaintiffs are able to articulate specific types of data analyses they seek that relate to live

                 theories, Facebook will search for that information in good faith. But the Court should reject Plaintiffs'

                 ongoing effort to conduct aboundless and directionless audit of more than adecade of internal business

                 analyses, merely because they may include asingle data point originating from aNamed Plaintiff.

                                                             CONCLUSION

                        The Court should enforce the stay that Judge Chhabria imposed, allow discovery to move

                 forward only on the four theories of relief detailed in Pretrial Order 20, and hold that the additional

                 user data Plaintiffs demand relates only to stayed or unpled theories.


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                 DATE: September 18, 2020           Respectfully submitted,

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                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA



IN RE: FACEBOOK, INC. CONSUMER                    MDL No. 2843
PRIVACY USER PROFILE LITIGATION                   Case No. 18-md-02843-VC



This document relates to:                         PLAINTIFFS' OPPOSITION TO
                                                  DEFENDANT FACEBOOK, INC.'S
ALL ACTIONS                                       REQUEST TO ENFORCE THE PARTIAL
                                                  STAY OF DISCOVERY IN PRETRIAL
                                                  ORDER NO. 20 AND CROSS-MOTION
                                                  TO COMPEL DISCOVERY RELATED
                                                  TO REQUESTS FOR PRODUCTION
                                                  NOS. 9THROUGH 13

                                                  Judges: Hon. Vince Chhabria
                                                  Hon. Jacqueline S. Corley
                                                  Courtroom: 4, 17th Floor




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                                      I.     INTRODUCTION

          Facebook does not want Plaintiffs to obtain discovery showing the full breadth of its

wrongful disclosure of its users' sensitive information. Accordingly, Facebook seeks to limit

discovery in this case to asingle category of improperly shared information: users' activity on

the Facebook platform. The sensitive information that Facebook collects and shares with third

parties is much more extensive than this. It collects users' sensitive information from avariety of

sources—including from third parties—then pools the information with user-posted activity and

generates additional information from the full data set it accumulates. It then shares this

information about users and their friends with third parties. All of this information, including

who has access to it and how it is used, is relevant to Plaintiffs' claims.

          As aresult, there are at least three compelling reasons that Facebook's motion should be

denied and Plaintiffs' cross-motion to compel production of documents responsive to Requests

for Production ("RFPs") Nos. 9through 13 1 should be granted.

         First, contrary to Facebook's tortured reading of Pretrial Order No. 20 ("Order" or "PTO

20"), Dkt. No. 298, the Court did not limit discovery in this case only to information regarding

user activity on Facebook. While that information—and Facebook's subsequent disclosure of

it—is of course relevant, that is not the only type of sensitive information relevant to Plaintiffs'

claims or the four categories of wrongdoing recognized by the Order.

          Second, the universe of data Facebook collects and shares about users is also not limited

to user activity on Facebook, but instead consists of asea of information obtained from awide

variety of sources, including from business partners, app developers, apps, and other third

parties. Indeed, as Facebook's own documents show, it collects information about users far

beyond what Facebook has produced in this case. And discovery produced to date further

confirms that Facebook not only collects this information, but links it to users and shares it with

third parties—putting to rest Facebook's nonsensical suggestions that Plaintiffs have failed to

articulate what additional evidence exists or that Facebook cannot "associate" certain data with a


1   For details on these RFPs, see itfra §II.B.

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user.

          Third, there is no justification for Facebook's claims of undue burden. Such an argument

should be accorded minimal weight in acase of this size and complexity involving acompany

whose business model is premised upon the collection and production of electronic information

about billions of users. Facebook has come nowhere near meeting its burden of demonstrating

why data regarding solely Named Plaintiffs—relative to the hundreds of millions of potential

class members whose information is ultimately at issue in this case—is not proportional to the

needs of the case. In fact, pursuant to the Court's recent guidance regarding streamlining

Plaintiffs' discovery, Plaintiffs have reduced the number of individuals who will be class

representatives to ten, down from the twenty-three. Plaintiffs only seek the discovery at issue

here related to these ten Plaintiffs (for purposes of this motion, the "Named Plaintiffs.")

                                        II.    ARGUMENT

A.        The Order does not limit discovery to users' platform activity.

          PTO 20 does not directly address the question raised by Facebook in its motion—whether

this case is limited to user activity on the Facebook platform or includes all the sensitive

information about users that Facebook improperly shared with third parties. But the Order

nowhere expressly limits the case to user activity. cf. Mot. 2 at 1. Nor does it make sense to read

the Order that way. That sort of limitation would conflict not only with claims and theories that

the Order upheld, but also with the grounds on which they were allowed to proceed to discovery.

          Facebook, under the guise of enforcing adiscovery stay that was never issued in the first

place, spends many pages straining to read the Order to limit discovery to data relating only to

users' on-platform activity. This provides amisleading picture of what the Order says and

inaccurately ascribes to the Court aset of internally inconsistent views.

          1. The Order. The Order summarizes its understanding of Plaintiffs' claims in atwo-

sentence précis near the beginning: "Broadly speaking, this case is about whether Facebook




2   Def. Facebook, Inc,'s Opening Brief in Supp. of Its Req. to Enforce the Partial Stay of
    Discovery in Pretrial Order No. 20 ("Mot"), Dkt. No. 515.

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acted unlawfully in making user information widely available to third parties. It's also about

whether Facebook acted unlawfully in failing to do anything meaningful to prevent third parties

from misusing the information they obtained." Order at 3. This description focuses on

Facebook's unlawful disclosure of information about users and their friends to third parties—not

on whether that information was originally posted, shared, or generated by users on the Facebook

platform.

        The Order then discusses the four categories of Facebook's wrongdoing. These categories

are: (1) "[g]iving app developers access to sensitive user information"; (2) "[c]ontinued

disclosure to whitelisted apps"; (3) "[s]haring sensitive user information with business partners";

and (4) "Wailure to restrict the use of sensitive information." Order at 6-9. These categories line

up neatly with the earlier description of the action as alleging that "Facebook acted unlawfully in

making user information widely available to third parties" (the first three categories) and that

Facebook "fail[ed] to do anything meaningful to prevent third parties from misusing the

information they obtained" (the fourth category). Id. at 3.

        Using these four categories of wrongdoing as aframework, the Order analyzed whether

Plaintiffs had standing to bring their claims and whether they stated valid claims. It ruled that

Plaintiffs had standing because they alleged that their "sensitive information was disseminated to

third parties in violation of their privacy." Id. at 14. It upheld nearly all of Plaintiffs' claims (e.g.,

three privacy-based tort claims under California law, aclaim under the Stored Communications

Act ("SCA"), aclaim for breach of contract, and aclaim for unjust enrichment) except to the

extent they were based on the first category of wrongdoing, the disclosure of user information to

app developers. Id. at 30-34, 38-41. It upheld in its entirety Plaintiffs' claim under the Video

Privacy Protection Act ("VPPA"). Id. at 34-35. And it upheld Plaintiffs' claim for negligence,

which was based on the fourth category of wrongdoing. Id at 35-36.

        2. The Order's rationale. Why did the Order conclude that Plaintiffs had standing and

had stated valid claims? On these points, the Order is clear. Plaintiffs had standing because "their

"sensitive information was disseminated to third parties in violation of their privacy." Id. at 14.


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This reasoning focuses not on where the user information was originally generated—whether on

the Facebook platform or off it—but on its nature ("sensitive") and on what Facebook did with it

("disseminated" it "to third parties").

        Similarly, when discussing the claims, the Order focused not on the original provenance

of the information about users, but on its nature and on what Facebook did with it. So, for

example, the Order ruled that:


            • Plaintiffs had stated valid privacy torts because Facebook had disseminated
              information that was "sensitive" and as to which Plaintiffs had areasonable
              expectation of privacy. Id. at 30-33.


            • Plaintiffs had stated aclaim under the Stored Communications Act because
              Facebook had disseminated the content of their electronic communications and
              had not gained their consent to do so. Id. at 33-34.


            • Plaintiffs had stated aclaim under the Video Privacy Protection Act because
              Facebook had disseminated "information which identifies aperson as having
              requested or obtained specific video materials or services," id. at 34 (citation
              omitted), and Facebook qualified as a"video tape services provider" under the
              statute, id. at 35.

       3. "Sensitive information" is not &fined by where Facebook collects that information.

       The Order repeatedly notes that Facebook shares "sensitive" user information without

consent. Facebook pins its argument to this one word, maintaining that the Order "defined"

sensitive user information to mean only information about what users post on Facebook, Mot. at

1, or users' platform activity, Mot. at 8. But the common-sense meaning of "sensitive

information" encompasses more than just what users did on the platform. Consider, for example,

aFacebook user's Amazon.com order for an over-the-counter contraceptive or another user's

entry of "alcoholic support group in Tower District, Fresno" into asearch engine. "Sensitive

information" also includes information that Facebook can bier from on-platform information—a

category of information it has not produced. (Think of the inferences that Facebook can draw

from weekly photographs of auser taken at M.D. Anderson Cancer Center.) Facebook's

objection that such information is categorically not "sensitive" is false.

       It is true that when the Order gave examples of sensitive user information, the examples it


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used concerned information generated on the Facebook platform. E.g., Order at 1, 17. Nowhere,

however, did the Order thfine or limit sensitive information to users' platform activity only. And

the Order's reasoning certainly is not limited to such information. Rather, as noted above,

Plaintiffs' standing to bring their claims, and the validity of many of those claims, depends on

the nature rather than the provenance of the information, and on whether Facebook shared that

information with third parties. And, as Plaintiffs have learned through discovery, the sensitive

information about users that Facebook collects and shares with business partners and app

developers includes both information originally generated outside the Facebook platform and

information derived from on- and off-platform activity.

        It also is farfetched for Facebook to argue that the Order rules that all of Plaintiffs'

claims—including their federal statutory claims—rise or fall depending on whether the

information that Facebook shared is "sensitive" in the sense of being embarrassing or deeply

intimate. The validity of Plaintiffs' claim under the SCA, for example, does not turn on how

embarrassing or intimate the information is that Facebook shared, but on whether the shared

information includes the contents of an electronic communication. 18 U.S.C. §2702(a)(1).

Similarly, Plaintiffs VPPA claim turns on whether the information that Facebook shared includes

"information which identifies aperson as having requested or obtained specific video materials

or services from avideo tape service provider." Id. §2710(a)(3). If, for example, Facebook

collected and shared auser's video-watching queue from adifferent platform, that would

constitute aVPPA violation.

        In sum, while the Order does not explicitly address the issue posed by Facebook's

motion, it certainly does not limit discovery in this case to on-platform user activity and reading

it that way is inconsistent with the Court's reasoning. It is also inconsistent with statements by

the Court during the motion to dismiss hearing about the breadth of user data that is relevant to

Plaintiffs' claims:

        For example, if— I'm aFacebook user. And, you know, I'm trying to assess the
        likelihood that my sensitive information got into the hands of third parties and, if
        so, how many third parties and, if so, what kinds of third parties. If Ihave afull


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          understanding of the third parties that had access to the information, and afull
          understanding of what type of information they had access to, and afull
          understanding of who they were, and what they —and what restrictions were
          placed on them, we then have abetter understanding of what was likely to have
          happened to me.


Nov. 4, 2019 Tr. at 15:20-16:4. It is the "full understanding" referred to by the Court that

Plaintiffs seek, and that Facebook refuses to allow.

          Finally, this reading prevents Named Plaintiffs from discovering even the general policies

and practices of Facebook governing the sharing of their sensitive information, policies and

practices that are critical for this case. See Pretrial Order No. 30 at 2, Dkt. No. 347 ("[T]he best

way to assess the merits and to determine whether class certification is appropriate is almost

certainly to conduct discovery on Facebook's general practices."). Plaintiffs submit that

Facebook's exclusion of this information from discovery is not what the Order intended.

          4. The Order stayed claims, not discovety. Plaintiffs organized their claims into three

categories: prioritized claims, prioritized consumer protection act claims alleged in the

alternative, and non-prioritized claims. First Am. Consolidated Compl. ("FACC") at 317-411,

Dkt. No. 257. The Order made the simple observation that "[a]ll other prioritized claims not

addressed by this ruling will be stayed (effectively, relegated to non-prioritized status) and

adjudicated, if necessary, at alater state in the proceedings with the other non-prioritized

claims." Order at 6. Facebook's claim that this holding somehow imposed astay of discovety is

baffling. The Order does not, and does not purport to, stay discovery in any fashion. 3

B.        The discovery requests at issue and Facebook's response

          The present dispute arises from five discovery requests, each of which asks for data that

Facebook possesses about Named Plaintiffs, the third parties that Facebook disclosed this data

to, and the types of information that was disclosed to them. See Ex. A, Def. Facebook, Inc.'s

Resps. & Objs. to Pls.' Second Set of Reqs. for Produc. In particular, RFP No. 9requests lain



3   Even if it were, the Order observed that loll' course, dismissal of asubset of claims with
    prejudice does not preclude aplaintiff from seeking revival if discovery reveals afactual basis
    that justifies reconsideration[.]" Order at 37 n.21 (citations omitted).

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Documents relating to each of the Named Plaintiffs, including but not limited to all Content and

Information collected about each of them or gained from business relationships or any other

source."4 Id. RFP No. 10 asks Facebook to produce, "[f]or each of the Named Plaintiffs,

Documents sufficient to show the categories of Content and Information Facebook collects,

tracks, and maintains about them." Id. RFP Nos. 11-13 then request documents requesting

Facebook to identify the third parties that were able to access this information, including the

categories of data that were disclosed to them and how they accessed it. Id. Plaintiffs propounded

these requests nearly one year ago in November 2019.

         In response to these requests, Facebook produced information collected by the DYI

("Download Your Information") tool. This limited tool allows downloads of some, but not all,

information relating to users' activity on the platform. And Facebook freely acknowledges that

Plaintiffs can access this information themselves. Id. ("[A]ll Facebook users are free to download

their DYI file if they wish."). In addition to the DYI production, Facebook has produced an

undefined category of "additional information associated with [users'] accounts" for each

Plaintiff. Mot. at 6. But Facebook does not describe what the "additional information" is, likely

because it is extremely limited—it consists solely of information users can access through their

account in the form of their privacy settings and information reflecting user activity on

Facebook. Critically, the form of production also obscures whether some of the activity was

public or private. Thus, virtually all of Facebook's 850,000-page production relating to the

original Named Plaintiffs in this case was already accessible to Plaintiffs and tells only part of

the story.

C.       Relevant sensitive information is not limited to platform activity, but also includes
         sensitive information Facebook derives and collects from business partners, app
         developers, apps, and other sources.

         Facebook acknowledges that it collects and shares substantial amounts of additional

sensitive information about users beyond their platform activity. See, e.g., Aug. 14, 2020 Hr'g




4   The requests use the definition of "Content and Information" from Facebook's Statement of
    Rights of Responsibilities—a definition that is not limited to on-platform data.

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Tr. 8:10-13 ("[T]here's Facebook-generated information, information generated by third parties,

information received from third parties. We have not represented that that is comprehensively

included in our production."); see also Mot. at 10-15 (describing off-platform activity and

internal analytics it has not produced). However, Facebook contends that this other information

is not relevant to this case. This is false.

        1.      User data includes, in Facebook's words, "native, appended and behavioral
                data" that Facebook collects from business partners, apps and other activity.



                                                           See Ex. B, FB-CA-MDL-00213424-

439.




              Id.

                                                                   Id.




                                                                         Id.




                      Id.




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                             —the only type of data Facebook has partially produced about users so

far—is important for this case, so too is

                                            Moreover,




             See Ex. B, FB-CA-MDL-00213424-439 (




                                   ; id. at FB-CA-MDL-002 13424




       Critically—and contrary to Facebook's suggestion that this data is irrelevant and

duplicative of information it has already produced (Mot. at 14)—discovery confirms that

Facebook shares this data with third parties.




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                                                                         Id..

       Another internal document,




                                                                                              These

documents make clear that Facebook collects sensitive user information in avariety of different

ways and discloses it to third parties.

        Facebook's insistence that it need only produce on-platform Native Data makes even less

sense when considering Plaintiffs' claims. Plaintiffs' statutory and common law claims are not

limited to information generated from users' activities on Facebook. For example, under the

VPPA, Plaintiffs must prove that Facebook disclosed "personally identifiable information

concerning any consumer" to "any person" absent written or informed consent. 18 U.S.C. §

2710(b)(2). Under the SCA, Plaintiffs must prove that Facebook "knowingly divulge[d] to any

person or entity the contents of any communication" users did not intend for Facebook to

divulge. 18 U.S.C. §2702(a). The source of the information—that is, whether it was the result of

on- or off- platform activity, gleaned directly from users' posts, or inferred from them—is

irrelevant. Disclosure of any of this information without consent is actionable.

        Similarly, Plaintiffs' Public Disclosure of Private Acts claim requires Plaintiffs to prove

that Facebook disclosed aprivate fact about the plaintiff that is objectionable and offensive to a

reasonable person. Doe v. Gangland Prods., Inc., 730 F.3d 946, 958 (9th Cir. 2013). Likewise,

Plaintiffs' Intrusion into Private Affairs claim requires Plaintiffs to prove an intrusion by

Facebook into aprivate matter that is highly offensive to areasonable person. Shulman v. Gip.

W. Prods., Inc., 18 Ca1.4th 200, 231 (1998). In order to prove these claims, Plaintiffs must


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ascertain the private facts about them that Facebook is collecting and disclosing, whether they

originate from platform activity or not.

       Across many claims, the Order sustained Plaintiffs' allegations about Facebook's

undisclosed data reciprocity programs with business partners. Plaintiffs are thus entitled to know

what sensitive user data, of any type or source, Facebook shared with its business partners.

Plaintiffs are further entitled to any data that Facebook received from its business partners in

return, since the value of that data constitutes the benefit Facebook received in the transaction, a

benefit that Plaintiffs are entitled to recover under, inter alia, the unjust enrichment claim that

the Court sustained. Order at 41; 5 see also Order at 8(noting the allegation that "Facebook and

its [business] partners agreed to exchange information about users' activities with each other").

       Facebook notes repeatedly that targeted advertising and psychographic marketing are not

part of this case. See, e.g., Mot. at 9. This argument misses the point. The question is not whether

Facebook should or should not have engaged in targeted advertising and psychographic

marketing. The question is whether, when doing so, Facebook shared sensitive user and friend

information without consent. Plaintiffs are entitled to obtain the discovery necessary to

substantiate the allegation that improper sharing has occurred in the context of these activities.

       2.      Internal documents confirm that Facebook's description of data "associated"
               with users is misleading.

       Facebook claims it has produced all data it possesses that is "associated" with Named

Plaintiffs. That is, while it generated and collected reams of data about Named Plaintiffs,

Facebook claims that most of that data, including Appended and Behavioral Data, is anonymized

and cannot be connected to Named Plaintiffs. This is false.

       Facebook explains that Appended and Behavioral Data cannot be associated with

Plaintiffs' Facebook accounts because such data is "disassociated from the user's ID within 90



 Facebook's position blocking discovery of what it possesses and shares is in tension with
 Facebook's own discovery requests to Named Plaintiffs. Facebook's Interrogatory No. 8asks
 Plaintiffs to "Identify all entities other than Cambridge Analytica that You believe have
 "misused sensitive information from Your Facebook Account." But Facebook itself will not
 identify with whom it shared that sensitive information, let alone what information it possesses.

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days" (Mot. at 15). But, as confirmed by internal documents, what actually happens is that




                                        Indeed, the very purpose of collecting all of this data in the

first place is to use it to target users and their friends.




                                                                          cf. Mot. at 15.

        Similarly,

                             See Ex. B. "Hashed data matching" is the process of matching

different data sets through the hash values of unique identifiers. For instance, when an advertiser

uploads aspreadsheet of Custom Audience data including hashed email addresses, Facebook can

match this data to its users through the hashed email address field.

        Thus, it simply is untrue that it would be "nearly impossible" to produce the

"disassociated" data in this case for Named Plaintiffs. Mot. at 15. Facebook clearly has the

ability to connect Named Plaintiffs' user information through RIDs and hashed data matching,

and should be ordered to do so in response to RFP Nos. 9-13.

D.      Facebook has not established that the burden of producing the data relating to ten
        Plaintiffs is disproportional to the needs of this case.

        Facebook also suggests that "the burdens of locating the additional information Plaintiffs

seek would far exceed the needs of the case." Mot. at 12. But the burden associated with

producing the requested information is not undue; it is proportional to the needs of this complex



6 Ex. E, PwC CPUP FB00030737-738.
7 Id. at PwC CPUP FB00030738




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case. In assessing proportionality, Federal Rule of Civil Procedure 26 directs consideration of

"the importance of the issues at stake in the action, the amount in controversy, the parties'

relative access to relevant information, the parties' resources, the importance of the discovery in

resolving the issues, and whether the burden or expense of the proposed discovery outweighs its

likely benefit." Fed. R. Civ. P. 26(b)(1). Helpfully, Judge Chhabria provided further guidance at

the March 5, 2020 Case Management Conference, stating:

       Iam concerned that Facebook has, you know, often made statements reflecting an
       unduly narrow view of what should be turned over to the Plaintiffs. And, you
       know, this is abig case. Imean, there is often alot of talk about proportionality
       and whatnot. This is abig case. It is asignificant issue. You know, and there is --
       this is not the type of case where we are going to be saying: Well, that might end
       up -- that effort might end up uncovering some relevant information; but, you
       know, it is just too expensive or difficult, and so we are not going to make
       Facebook do it. This is really not one of those cases where that is very -- that type
       of argument is likely to carry the day. You know, and, as Ihave said anumber of
       times, you know, the best way to figure out what happened as it relates to the
       claims that are going forward now is to -- for Facebook to produce all
       information, all documents about the practices associated with giving third parties
       access to friends' information and friends' of friends information.


Tr. at 28:25-29:18. Judge Chhabria's observations regarding the size of this case remain on

point. The proposed class period extends from 2007 to the present, the potential class members

number in the hundreds of millions, and the third parties with whom Facebook shared user data

appear to number in the tens of thousands. In that context, Plaintiffs' request for the data

concerning ten individual users seems not only proportional to the needs of the case but modest.

       Furthermore, Facebook's claims of burden are unsupported. "[T]he party opposing

discovery has the burden of showing that discovery should not be allowed, and also has the

burden of clarifying, explaining and supporting its objections with competent evidence." Harris

v. Best Buy Stores, L.P., No. 3:15-cv-00657-HSG (KAW), 2016 WL 6024556, at *1 (N.D. Cal.

Oct. 14, 2016) (quoting La. Pac. Coq). v. Money Mkt. 1Institutional Inv. Dealer, 285 F.R.D.

481, 485 (N.D. Cal. 2012)). A party claiming undue burden or expense "ordinarily has far better

information—perhaps the only information—with respect to that part of the determination." Fed.

R. Civ. P. 26(b)(1) advisory committee's note (2015). Therefore, the "party claiming that

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discovery imposes an undue burden must 'allege specific facts which indicate the nature and

extent of the burden, usually by affidavit or other reliable evidence.' Sullivan v. Personalized

Media Commc'ns, LLC, No. 16-MC-80183-MEJ, 2016 WL 5109994, at *3 (N.D. Cal. Sept. 21,

2016) (quoting Nationstar Mortg., LLC v. Flamingo Trails No. 7Landscape Maint Ass 'n, No.

2:15-cv-01268-RFB-NJK, 2016 WL 4071988, at *4 (D. Nev. July 28, 2016)). 8 Facebook has

furnished no evidentiary support for its objections of undue burden and its objections should be

overruled.

          Plaintiffs emphasize that they are seeking discovery about ten Named Plaint fi—not

millions, not thousands, and not hundreds of users. Based on the information Plaintiffs obtain

about themselves, and about Facebook's general practices and procedures, they will seek to

prove their class claims. Facebook's contention that Plaintiffs are not even entitled to obtain in

discovery the evidence necessary to show what Facebook collects about them, and with whom it

shares the information is impossible to square with Facebook's basic discovery obligations under

the Federal Rules.

                                       III.    CONCLUSION

          For the reasons set forth above, Plaintiffs respectfully request that the Court deny

Facebook's motion to impose adiscovery stay and grant Plaintiffs' motion to compel discovery

responsive to Requests for Production Nos. 9through 13.




8   See also SPS Techs., LLC v. Briles Aerospace, Inc., No. CV 18-9536 MWF (ASx), 2020 WL
    4341717, at *2-3 (C.D. Cal. June 25, 2020) (overruling objection to requests for production of
    documents and noting that the party resisting discovery must describe "in specific detail, how
    each Request is overly broad and unduly burdensome by submitting affidavits or other
    evidence describing the nature of the burden"); Polaris Innovations Ltd. v. Kingston Tech. Co.,
    No. CV1600300CJCRAOX, 2017 WL 3275615, at *6 (C.D. Cal. Feb. 14, 2017) (court grants
    motion to compel production of documents by defendant Kingston in part because "Negarding
    its assertion that the requests are overly burdensome, Kingston has not submitted any
    evidentiary declaration to support this objection.").

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Dated: September 28, 2020                             Respectfully submitted,



KELLER ROHRBACK L.L.P.                                BLEICHMAR FONTI & AULD LLP

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               ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(i)(3)



       I, Derek W. Loeser, attest that concurrence in the filing of this document has been

obtained from the other signatory. Ideclare under penalty of perjury that the foregoing is true

and correct.

       Executed this 28th day of September, 2020, at Seattle, Washington.



                                             /s/ Derek W. Loeser
                                             Derek W. Loeser




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                                  CERTIFICATE OF SERVICE

          I, Sarah Skaggs, hereby certify that on September 28, 2020, Ielectronically filed the

foregoing with the Clerk of the United States District Court for the Northern District of

California using the CM/ECF system, which shall send electronic notification to all counsel of

record.

          In addition, the following were served via email:



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                                               UNITED STATES DISTRICT COURT
                                             NORTHERN DISTRICT OF CALIFORNIA
                                                  SAN FRANCISCO DIVISION




                 IN RE: FACEBOOK, INC. CONSUMER                 CASE NO. 3:18-MD-02843-VC
                 PRIVACY USER PROFILE LITIGATION,
                                                                DEFENDANT FACEBOOK, INC.'S
                                                                REPLY BRIEF IN SUPPORT OF ITS
                 This document relates to:                      REQUEST TO ENFORCE THE PARTIAL
                                                                STAY OF DISCOVERY IN PRETRIAL
                 ALL ACTIONS                                    ORDER NO. 20

                                                                Judge: Hons. Vince Chhabria and
                                                                Jacqueline Scott Corley
                                                                Courtroom 4, 17th Floor




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                                                           INTRODUCTION

                        The lawsuit Plaintiffs describe is not this case.     This case is about it formation sharing.

                 Specifically, it concerns sensitive information that users shared with their Facebook friends and that

                 third parties allegedly accessed as a result of friend sharing, whitelisting, and integration partner

                 agreements. Pretrial Order 20 is clear on this point, and Plaintiffs do not identify asingle line in Judge

                 Chhabria's comprehensive order, much less in their own allegations, that supports their description of

                 the case that survived dismissal.

                        The Order explains on its first page: "This lawsuit ...is about Facebook's practice of sharing

                 its users' personal information with third parties." Dkt. 298 ("Order") at 1(emphasis added). It then

                 says that each of the four live theories concerns "substantive and revealing content that users intended

                 only for alimited audience [i.e., their Facebook friends], such as their photographs, videos they made,

                 videos they watched, their religious and political views, their relationship information, and the actual

                 words contained in their messages." Id.; see also id. at 7, 13, 17.     The user data relevant to those

                 theories consists of   formation fuser/ make available to their friends on IFacebooAl. Id. at 1.

                        Plaintiffs do not dispute that Facebook produced all of the information the Named Plaintiffs

                 ever shared on Facebook.     These productions consist of more than one million pages e
                                                                                                       f data and

                 necessarily include any data Facebook shared under the live theories. But, Plaintiffs insist they are

                 entitled to any other data that has ever crossed Facebook's servers that relates in any way to any Named

                 Plaintiff and all derivative materials drawing on this data. Plaintiffs seek these materials even if the

                 underlying data is not associated with any user and even if they were never shared with any third party.

                 Plaintiffs do not even attempt to explain why they would need such data in a case concerning

                 information they shared on the Facebook pith form and that Facebook allegedly shared beyond the

                 audience Plaintiffs intended. Instead, Plaintiffs openly admit that they seek these extraneous materials

                 not to pursue live claims, but to resuscitate stayed and dismissed theories or to search for new ones.

                        Plaintiffs largely avoid the Court's instruction to brief "what the scope of discovery is based on

                 the claims in Judge Chhabria's ruling [Pretrial Order 20]."      9/4/2020 Hr'g Tr. at 5:8-10.    Instead,

                 Plaintiffs devote the majority of their brief to side issues and seek to compel Facebook to produce all

                 documents responsive to five RFPs that are not before the Court. The Court should disregard these

                 diversions, conform discovery to the four operative theories, and deny Plaintiffs' motion to compel.

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                                                                ARGUMENT
                 I.       The stay imposed by Pretrial Order 20 includes adiscovery stay.

                          Plaintiffs take the surprising position that Pretrial Order 20 sets virtually no bounds on the scope

                 of discovery in this case and allows them to explore theories Judge Chhabria stayed or dismissed. 1

                          Plaintiffs' position makes no sense. When astay is in place, it "include[s] astay of discovery."

                 Meyers v. Cty. cf Sacramento, 2020 WL 207213, at *1 (E.D. Cal. Jan. 14, 2020). Judge Chhabria

                 stayed all but Plaintiffs' core theories because Plaintiffs filed a 1,440-paragraph pleading.         As he

                 explained, "it seems the plaintiffs sought to identify anything Facebook has ever been reported to have

                 done wrong ...[and] the presence of so many disparate and vague allegations ma[de] it nearly

                 impossible for Facebook to meaningfully respond to all of them, much less for the Court to effectively

                 address them." Order at 5-6. In order to avoid "bogging the case down at the pleading stage for years,"

                 id. at 6, Judge Chhabria therefore issued an opinion regarding Plaintiffs' core allegations, without

                 addressing most of their improperly pleaded theories, which he stayed, id. Judge Chhabria surely did

                 not intend to allow discovery on hundreds of "disparate and vague allegations" that did not satisfy

                 Rule 8. The very point of the stay was to focus this case—not to allow Plaintiffs to explore "anything

                 Facebook has ever been reported to have done wrong" without stating cognizable claims.

                          Plaintiffs even suggest Pretrial Order 20 allows discovery to "reviv[e]" claims dismissed with

                 prejudice.   Opp'n at 6 n.3.     To support this curious position, Plaintiffs cite a footnote in Judge

                 Chhabria's analysis of Plaintiffs' deceit by concealment claim. Id. (citing Order at 37 n.21). Judge

                 Chhabria held that Plaintiffs stated a plausible claim arising from Facebook's alleged practices

                 concerning whitelisting and integration partners.      But he held the claim did not satisfy Rule 9(b)'s

                 heightened pleading standard with respect to friend sharing and Facebook's enforcement measures. He

                 then said in afootnote that dismissal of asubset of the claim would not "preclude ...plaintiffis] from

                 seeking revival if discovery reveals afactual basis that justified reconsideration." Order at 37 n.21.

                 Judge Chhabria cited TTPP Luxembourg Gamma Three Sari v. Spot Runner, Inc., 655 F.3d 1039, 1059

                 (9th Cir. 2011), which holds aplaintiff who fails to satisfy the PLRA's heightened pleading standard

                 may potentially seek revival if other case-related discovery later allows the plaintiff to satisfy the


                   1 In addition to the discovery Plaintiffs seek from Facebook, Plaintiffs have served overbroad sub-
                 poenas on 27 third parties. These parties also require clear guidance as to the scope of discovery.

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                 PLRA's heightened pleading standard. Judge Chhabria certainly did not intend this footnote to create

                 agaping hole allowing discovery on hundreds of allegations that did not survive dismissal. See Mkjica

                 v. AirScan Inc., 771 F.3d 580, 593 n.7 (9th Cir. 2014) ("To the extent [earlier cases] suggest[] that

                 courts retain discretion to permit discovery whenever a plaintiff has failed to satisfy Rule 8's

                 plausibility standard, it is simply incompatible with Iqbal and Twombly.").

                        Pretrial Order 20 plainly defines the scope of discovery in defining the scope of the case.

                        This case is about information users share with their friends on Facebook.

                        A plain reading of Pretrial Order 20 explains the scope of the case Judge Chhabria allowed to

                 move forward. 2 Plaintiffs say the Order describes this case as concerning any data Facebook receives

                 or infers about users and how that data may be used to target them. To support this position Plaintiffs

                 quote vague passages from the Order stating the case concerns "sensitive information." Plaintiffs then

                 say Judge Chhabria did not define "sensitive" and ask the Court to interpret the term to include any

                 data Plaintiffs believe to be personal—including information they provide to third parties, information

                 third parties collect through cookies, public records, and even inferences Facebook draws. Opp'n at 4.

                        Plaintiffs disregard what Pretrial Order 20 actually says. It describes "sensitive information"

                 to be "substantive and revealing content that users intended only for alimited audience," and clarifies

                 that this data is "information [users] make available to their friends on [Facebook]." Order at 1.

                 To read the ruling otherwise would expand the case far beyond what Judge Chhabria considered and

                 would also raise ahost of thorny legal questions his Order does not address.

                        A.      The four live theories all concern data users shared with their Facebook friends.

                        As discussed, Pretrial Order 20 allows four theories of relief to move forward. Each theory

                 concerns information users shared with their Facebook friends.

                        Friend sharing. Friend sharing was acapability through which users could share with apps

                 information their friends posted and made available to their Facebook friends. Plaintiffs do not dispute


                   2  Plaintiffs disingenuously argue that Facebook takes an "unduly narrow" view of discovery, cit-
                 ing acomment Judge Chhabria made before discovery began advising Facebook to produce materials
                 regarding "friends' information and friends' of friends information." Opp'n at 13. Facebook has
                 now produced nearly 1.5 million pages of documents, before the parties have even reached asearch
                 term agreement, including all information the Named Plaintiffs shared with their friends and friends
                 of their friends. Those productions also include all of the Facebook documents produced to the FTC
                 in reslonse to its document requests in two related investigations. They also include documents pro-
                 ducec to ahost of other government actors in related actions responsive to Plaintiffs' RFPs. In addi-
                 tion to these materials, Facebook proposed search terms hitting on millions of additional documents.

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                 this. Friend sharing underlies the Cambridge Analytica events, it has been hotly litigated, and there is

                 no dispute as to what it is about. The Order explains: "[W]hen users accessed apps on the Facebook

                 Platform, the app developers were not merely able to obtain information about the users they were

                 interacting with; [but] were also able to obtain any information about the users' Facebook friends that

                 the users themselves had access to," "such as photographs, videos they watched, religious preferences,

                 posts, and even sometimes private one-on-one messages sent through Facebook." Id. at 6-7.

                         Whitelisting. Whitelisting is an extension of friend sharing and is about the same data. Id. at 8.

                        Integration Partner Agreements. Facebook allegedly "[s]har[ed] sensitive user information

                 with business partners," through alist of "integration partnerships," to integrate Facebook with devices,

                 websites, and social-media platforms.     Id. at 8-9.   As with the other theories, the "sensitive user

                 information" at issue is "substantive and revealing content that users intended only for a limited

                 audience [i.e. their Facebook friends]." Id. at 1. The purpose of these agreements was to allow users

                 to integrate their Facebook activities that they shared on Facebook with other platforms and sites.

                        Plaintiffs say the Order allows claims relating to integration partners to proceed as to some

                 broader set of "sensitive information" that they find personal in nature. Opp'n at 7. Plaintiffs provide

                 no support for this assertion; the Order describes this theory as involving the same "sensitive user data"

                 underlying the other theories of relief. And it must. As discussed below, the Order holds that Plaintiffs

                 demonstrated standing, areasonable expectation of privacy, and alack of consent only with respect to

                 Facebook's alleged practice of sharing information users shared with their Facebook friends.

                        Enforcement. This theory relates to how Facebook enforced its data-use policies with respect

                 to data third parties obtained through friend sharing, whitelisting, and integration partner agreements,

                 and it concerns the same data that users shared with their Facebook friends. Order at 9.

                        B.      The threshold "global issues" addressed in the Order show that the actionable
                                claims relate only to information users shared on Facebook.

                        Pretrial Order 20 addressed various "global issues" and holds Plaintiffs demonstrated a

                 reasonable expectation of privacy, standing, and lack of consent only with respect to Facebook's

                 alleged practice of sharing with third parties information users shared with their friends on Facebook.

                        Expectation n
                                    fprivacy. Pretrial Order 20 addresses Facebook's argument that Plaintiffs were

                 not injured, and therefore lack standing, because they did not have areasonable expectation of privacy

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                 over information they share with their Facebook friends. Id. at 1("Facebook argues that people have

                 no legitimate privacy interest in information they make available to their friends on social media.").

                 With respect to users' privacy expectations, Pretrial Order 20 holds: "the issue of whether users have

                 areasonable expectation of privacy in ihformation they share with their social media friends is best

                 understood as relating to the merits, not standing." Id. at 10-11 n.2 (emphasis added). On the merits,

                 the Order holds that "[w]hen you share sensitive information with alimited audience ...you retain

                 privacy rights and can sue someone for violating them." Id. at 2. It then analyzes whether users retain

                 areasonable expectation of privacy over information they share with their friends, see id. at 10-12,

                 and concludes: "social media users can have their privacy invaded if sensitive information meant only

                 for afew dozen friends is shared more widely," id. at 11.

                        Pretrial Order 20 is so clear that this case concerns information that users shared with their

                 Facebook friends that it goes out of its way to say sua .sponte: "It seems quite possible that auser

                 whose settings allow information to be shared not only with their friends, but friends of friends, loses

                 any expectation of privacy." Id. at 11 n.3. Nowhere does Pretrial Order 20 consider whether users

                 maintain areasonable expectation of privacy over information beyond what users share on Facebook

                 (as Plaintiffs wrongly suggest) such as information users provide third parties, public records,

                 information third parties obtain through cookies, or information Facebook "infers" about users.

                        Standing. With respect to standing, Pretrial Order 20 holds: "The alleged injury is 'concrete'

                 largely for the reasons already discussed — if you use acompany's social media platform to share

                 sensitive ihformation with only your friends, then you suffer aconcrete injury when the company

                 disseminates that information widely." id. at 17. The Order goes on to say that Plaintiffs' injuries are

                 sufficiently particularized with respect to which third parties allegedly received their data because,

                 "[i]f, as alleged in the complaint, Facebook made users' friends only' ihformation readily available

                 to such abroad swath of companies ...it is virtually inevitable that some of these companies obtained

                 information on the named plaintiffs." id. at 18. The Order did not hold—or even consider—whether

                 Plaintiffs have standing to sue Facebook with respect to information users did not share on Facebook.

                        Consent.   On the issue of consent, the Court addressed whether Plaintiffs consented to the

                 conduct underlying their claims because they "agreed, when they signed up for their accounts, that


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                 Facebook could disseminate their 'friends only' information in the way it has done." Id. at 18. Pretrial

                 Order 20 holds that judicially noticeable materials demonstrate that a subset of users consented to

                 sharing their "friends only" information through friend sharing, but do not establish at the pleading

                 stage that all users consented to sharing friends-only information through friend sharing, whitelisting,

                 and integration agreements. Id. at 18-29. The Order did not consider whether Plaintiffs consented to

                 sharing information they did not share on Facebook.

                          The Order is clear that this case is about sensitive information users made available to their

                 friends on Facebook and third parties allegedly accessed. Discovery must conform to these theories.

                 III.     Facebook produced all data Plaintiffs shared on Facebook; no other user data is relevant.

                          Facebook produced more than one million pages 4 content and information related to the

                 Named Plaintiffs. 3 Those materials include everything each Named Plaintiff ever shared on

                 Facebook (unless they deleted it).       This includes, but is not limited to, the "Download Your

                 Information" ("DYI") file that Facebook makes available to users, 4 plus additional information.

                          Plaintiffs do not dispute that the produced materials include any data users shared with their

                 Facebook friends (sensitive or otherwise). Yet, Plaintiffs demand that Facebook search millions of

                 disaggregated data sets for any data to have ever crossed Facebook's systems relating to aNamed

                 Plaintiff and any derivative materials drawing on that data—such as data sets tracking hours of peak

                 user activity to monitor strains on Facebook's system. They demand such materials without regard for

                 whether they were shared with any third party, much less under alive theory. To support this position,

                 Plaintiffs misinterpret a handful of Facebook documents, 5 but their argument boils down to the

                 following: Facebook has documents drawing on data relating to users; therefore, Facebook must search


                   3 Since filing its opening brief, Facebook produced approximately 250,000 additional pages of in-
                 formation related to Named Plaintiffs who were added to the case in August.
                   4 Plaintiffs assert that the DYI data is not useful because it does not display on an item-by-item
                 basis the audience that Plaintiffs set for each of their posts. Facebook agreed to investigate whether it
                 could produce this data for relevant posts—bearing in mind that the request involves granular data for
                 more than amillion pages of activity. Facebook also reminded Plaintiffs that their accounts display
                 this information. If Plaintiffs believe the audience set to aparticular post is critical evidence for their
                 case, they could screen-shot that information from their accounts and produce it. They could also
                 identify particular posts to Facebook so that Facebook can produce the relevant information.
                   5  Because the Court ordered the parties not to submit declarations or evidence, 9/4/2020 Hr'g Tr.
                 at 5:8-10, 18-22, Facebook does not here submit declarations or documents to dispute Plaintiffs'
                 characterization of the materials they cite. If the Court is inclined to issue aruling relying on the ex-
                 hibits Plaintiffs submitted, Facebook respectfully requests permission to do so.


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                 for and produce any materials drawing upon any data it has ever collected or created that relates in any

                 way to aNamed Plaintiff. The Court should reject this position, which largely asks Facebook to search

                 for materials that are out of scope and consist largely of data already produced in other formats.

                         Data the Named Plaintiffs did not share on Facebook is out of scope, including public

                 records, data Plaintiffs shared with third parties, and information created by Facebook.          Facebook

                 produced all of the information the Named Plaintiffs shared on Facebook (sensitive or otherwise).

                 These productions necessarily include any information shared under the live theories. 6

                         Plaintiffs say the case is about data Facebook creates and that third parties share with Facebook

                 that is used to draw "inferences" about users. For instance, Plaintiffs may allow websites to collect

                 data about their shopping habits through cookies. Those sites then might share this data with other

                 parties (including Facebook) to better place the site's advertisements. As discussed above, nothing in

                 Pretrial Order 20 supports Plaintiffs' argument that this type of data is part of this lawsuit. This would

                 be avery different case if—as Plaintiffs say—it were about Facebook sharing information that third

                 parties passed on to Facebook. To establish this sort of "third party data" claim, Plaintiffs would have

                 had to allege (and prove) the nature of each of their relationships with the specific third parties at issue,

                 the circumstances under which those third parties obtained their data, whether each individual user

                 consented to that third party sharing data with Facebook, the circumstances under which the data was

                 provided to Facebook, and so on. None of that is at issue here and nothing in Pretrial Order 20 suggests

                 it is. Nor could Plaintiffs conceivably establish facts of this nature on aclass-wide basis.

                         Plaintiffs seem to concede they demand these materials because "the very purpose of collecting

                 all of this data ...is to use it to target users." Opp'n at 12. As Plaintiffs admit, Pretrial Order 20

                 dismisses their targeted advertising theory. 7 To the extent any advertisers received sensitive user data

                 through friend sharing, whitelisting, or integration agreements, that user data was already produced.

                   6   To describe the data Plaintiffs believe Facebook maintains, Plaintiffs cite their Exhibit B at page
                 9, which was prepared by an employee in 2014 and regards Facebook's ads platform. The document
                 does not reflect Facebook's standard terminology, nor does Facebook agree with Plaintiffs' character-
                 ization of the document. In any case, Facebook does not dispute that it receives data from third par-
                 ties in connection with its ads platform and maintains internal analyses which rely on user data.
                   7 Plaintiffs walk back their position that they need discovery to pursue their dismissed "targeted
                 advertising" and "psychovaphic marketing" theories. Opp 'n at 11. But Plaintiffs have been arguing
                 for ayear that these theories justify their demands for every piece of information Facebook collects
                 and infers about users and took this position in the recent joint status updates that prompted this brief-
                 ing. See 8/13/2020 Status Update at 2-3, 9, Dkt. 495; 7/30/2020 Status Update at 3, Dkt. 484.

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                        In any case, as discussed in its opening brief and below, Facebook actually produced the

                 majority of data it receives from third parties in the off-Facebook Activity portion of the DYI materials.

                        Data not shared through one of the four theories is out of scope. Plaintiffs say they provide

                 evidence that Facebook shares data beyond what users share on Facebook. Opp'n at 9-10. Even if that

                 were true, it is not relevant to this lawsuit.   The live theories concern data users shared with their

                 Facebook friends that third parties accessed via friend sharing, whitelisting, or integration agreements.

                        In any case, the documents Plaintiffs cite describe Facebook's data sources; they say nothing

                 about whether or how Facebook shares information. Of note, Plaintiffs claim their Exhibit C "confirms

                 that Facebook shares [the data they seek] with third parties." Opp'n at 9. Exhibit C is an email outlining

                 hypothetical platform capabilities—it does not discuss what data Facebook actually shared.

                        The integration partner theory does not entitle Plaintiffs to all data from third parties.

                 Plaintiffs suggest Facebook must locate and produce all data points it has ever received from any third

                 party regarding aNamed Plaintiff because Facebook's integration partner agreements were built in part

                 on "data reciprocity."   Opp'n at 11.   This argument is ared herring and misrepresents what "data

                 reciprocity" means. Facebook did not, as Plaintiffs suggest, have agreements with integration partners

                 to trade user data. Data reciprocity arrangements allowed users to post their Facebook activities to

                 third-party platforms if the third-party platform also allowed its users to post their activities to

                 Facebook. Plaintiffs acknowledge this. See SACC If 657(g) ("`Reciprocity' agreements ...requir[ed]

                 Apps that used data from Facebook to allow their users to share their data back to Facebook"); see also

                 id. 1111239, 745. Any user data relating to that type of sharing was produced. Again, Facebook produced

                 everything the Plaintiffs shared on Facebook. This includes any Facebook activities Plaintiffs elected

                 to share on other platforms and any off-Facebook activities Plaintiffs elected to share on Facebook. In

                 any event, even if some other data from integration partners existed, only data received from those

                 partners could even possibly be relevant—not data from thousands of other third parties. 8

                        Plaintiffs' SCA and VPPA claims do not require additional data. Plaintiffs contend this

                 case concerns data beyond what they shared on Facebook because Pretrial Order 20 did not dismiss


                   8  Plaintiffs concede they seek any such data to prove damages. If the Court is inclined to require
                 broad discovery to support damages, Facebook respectfully requests the opportunity to submit brief-
                 ing regarding why any such discovery should be bifurcated from liability-related discovery.

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                 their claims under the Stored Communications Act ("SCA") and Video Privacy Protection Act

                 ("VPPA").    Opp'n at 4-5.    Plaintiffs highlight that their SCA claim turns, in part, on "whether the

                 shared information includes the contents of an electronic communication." Id. at 5. But the sensitive

                 data at issue includes "private one-on-one messages" sent on Facebook. Order at 17; see id. at 1, 32.

                 Similarly, Plaintiffs' VPPA claim survived dismissal on the basis that Facebook shared "information

                 about the videos that users received in their private [Facebook] messages and about videos they

                 'liked." Id. at 34. Plaintiffs' messages and any videos they shared or liked were produced.

                        The additional data Plaintiffs seek cannot even be reasonably collected. 9                Facebook

                 understands Plaintiffs seek two forms of data: (i) any additional data regarding users' off-Facebook

                 Activity provided by third parties, and (ii) any derivative materials that draw from user data. Again,

                 these materials are not relevant to any live theory. Facebook also cannot reasonably identify them.

                        With respect to off-Facebook Activity, as Facebook explained in its opening brief, the produced

                 DYI materials include the vast majority of data Facebook receives from third parties. It is not clear

                 what else Plaintiffs seek or how it could be relevant. Any off-Facebook Activity provided by third

                 parties that is not included in the DYI materials is data Facebook has not linked to aparticular user or

                 data that is so granular that it is preserved only temporarily. There is no centralized way to search for

                 either type of data. To the extent it exists, it is organized by the third parties who provided it. Facebook

                 would therefore need to review every data set it has received from thousands of third parties and then

                 attempt to link to the Named Plaintiffs data points it previously did not associate with any user. Such

                 an exercise is unlikely to be fruitful or at all useful, particularly on aclass-wide basis.

                        Facebook also explained that, within 90 days, any user data not included in the DYI materials

                 is disassociated from the user's ID, anonymized entirely, or deleted (depending on the nature of the

                 data and any business reasons for retaining it). Plaintiffs argue that Facebook should still be able to

                 find any derivative materials drawing from data relating to any Named Plaintiff because data

                 disassociated from a user's ID can sometimes be linked back to the user's account.               Plaintiffs'

                 explanation of this process is oversimplified, incorrect, and ignores that much of the data they demand


                   9  Plaintiffs say Facebook did not prove undue burden because it did not submit declarations or evi-
                 dence. The Court instructed the parties not to submit such materials. 9/4/2020 Tr. at 5:8-10, 18-22.


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                 is fully anonymized or not retained at al1. 1° The argument also misses the point. There is no way for

                 Facebook to run acentralized search for auser's ID, random ID, or any "hashed data" identifiers across

                 millions of data sets, which are largely used for business analytics (like scoping infrastructure needs).

                 The only way to search these tables is to open all of them and search each to find any data relating to

                 aparticular user, whether by user ID or otherwise. The issue is opening and searching each table."

                         To be clear, Facebook is not—as Plaintiffs suggest—urging the Court to issue aruling regarding

                 the scope of discovery based on undue burden. Facebook is highlighting that this is not asituation in

                 which there are marginally relevant materials that are easy to sweep into an ongoing collection. The

                 user data Plaintiffs seek has nothing to do with the four operative theories, most of it was actually

                 produced, and any additional data would be virtually impossible to locate.        If Plaintiffs are able to

                 identify some specific type of data about user activity that is relevant to the case, Facebook will search

                 for that data. But Plaintiffs' position that Facebook must search the entire company for every document

                 including any data relating to aNamed Plaintiff is simply not reasonable.

                 IV.     The Court should deny Plaintiffs' "Cross-Motion to Compel."

                         Plaintiffs style their brief as a"cross-motion to compel" compliance with five RFPs and criticize

                 Facebook for not submitting declarations and evidence about these requests.             The Court should

                 disregard this diversion, which puts the cart before the horse. The Court directed the parties to submit

                 "no declarations," as this briefing is "just alegal question as to what the scope of discovery is based on

                 the claims in Judge Chhabria's ruling." 9/4/2020 Tr. at 5:8-10, 18-22. Facebook told Plaintiffs it will

                 produce materials responsive to the RFPs they identify that are in Facebook's possession and relate to

                 the operative theories. The Court must resolve this threshold legal issue before it can consider (on a

                 full evidentiary record) whether Facebook produced the relevant evidence responsive to specific RFPs.

                                                             CONCLUSION

                         The Court should enforce the stay Judge Chhabria imposed, allow discovery only on the four

                 operative theories of relief detailed in Pretrial Order 20, and deny Plaintiffs' cross-motion to compel.



                   1° Plaintiffs' Exhibit B, which they cite on page 12 of their brief, describes the ability to reidentify
                 data points that remain live on auser's Facebook page. This live data has already been produced.
                   11 Plaintiffs did not ease the burden of searching millions of data sets by identifying 10 Named
                 Plaintiffs they intend to identify as class representatives. In any case, the other 14 Named Plaintiffs
                 have not withdrawn their claims and have reserved their rights to proceed as class representatives.

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                 DATE: October 8, 2020              Respectfully submitted,

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                      EXHIBIT 0
        UNREDACTED VERSION
        SEALED BY THE COURT


  Highlighted text reflects Plaintiffs'
proposed redactions under Civil Local
         Rule 79-5(d)(1)(D).




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                             UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF CALIFORNIA



IN RE: FACEBOOK, INC. CONSUMER                    MDL No. 2843
PRIVACY USER PROFILE LITIGATION                   Case No. 18-md-02843-VC-JSC



This document relates to:                         PLAINTIFFS' RESPONSE IN REPLY TO
                                                  DEFENDANT FACEBOOK, INC.'S
ALL ACTIONS                                       REQUEST TO ENFORCE THE PARTIAL
                                                  STAY OF DISCOVERY IN PRETRIAL
                                                  ORDER NO. 20 AND IN SUPPORT OF
                                                  CROSS-MOTION TO COMPEL

                                                  Judges: Hon. Vince Chhabria and
                                                  Hon. Jacqueline S. Corley
                                                  Hearing Date: TBD
                                                  Hearing Time: TBD




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                                     I.     INTRODUCTION

        This discovery dispute concerns sensitive user information that Facebook has shared with

third parties without users' consent. The dispute is important but narrow now that Facebook has

disclaimed any argument about undue burden. Dkt. 537 ("FB Reply") at 10 ("To be clear,

Facebook is not—as Plaintiffs suggest—urging the Court to issue aruling regarding the scope of

discovery based on undue burden."). The legal question is whether the information Plaintiffs

seek is relevant to any party's claim or defense.

        The answer to this question is astraightforward "yes." As Judge Chhabria described in

Pretrial Order No. 20, Dkt. 298 (the "Order"), this case is about whether Facebook acted

unlawfully in making sensitive user information available to third parties and in failing to do

anything meaningful to prevent third parties from misusing the information they obtained. Dkt.

298 ("Order") at 3. While it is true that the focus of the Order was sensitive information posted

by users and then wrongfully shared by Facebook, the Court's reasoning applies equally to other

forms of information about users wrongfully disclosed by Facebook to third parties, including

information obtained by Facebook through its data sharing agreements with off-platform entities.

        Documents that Facebook has produced show that there are at least three distinct

categories of improperly shared sensitive information that Facebook shares with third parties

without users' consent: native, appended, and behavioral. Dkt. 526 ("Opp'n"), Ex. B at FB-CA-

MDL-00213424. This data derives from multiple sources, including (1) what auser posts and the

user's activity on Facebook; (2) information about users originally generated off the Facebook

platform but obtained by Facebook; and (3) information derived by Facebook from auser's

activity on and off Facebook. Id. All of these sources include sensitive information about users

that Facebook shared with third parties, yet Facebook has taken upon itself to exclude the second

and third sources from discovery. This does not make sense. Information derived from auser's

activity is relevant because if auser restricted access to private content, like amessage about a

medical condition, then it logically follows that information derived from that content—like the

existence of adisease—was also meant to be private and not shared indiscriminately with third

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parties. Equally relevant is sensitive information originally generated off-platform and then

shared with or made available to third parties. Facebook cannot share such information without

users' consent. Such improper sharing is thus actionable for precisely the same reasons as the

sharing or making available of users' on-platform activity.

        Discovery has shown that Facebook shared user information with third parties regardless

of where the information was originally generated. Opp'n Ex. C at 2. Plaintiffs' request for this

information, therefore, is entirely consistent with the four categories of wrongdoing recognized

by the Court. Regardless of the source or how Facebook acquired it, sensitive user information is

relevant if Facebook shared it without users' consent.

        Seeking to make simple issues complicated, Facebook dramatically overstates what

Plaintiffs seek. To be clear, Plaintiffs are not interested in every piece of data Facebook collected

from and about them. Instead, for just ten Named Plaintiffs, Plaintiffs respectfully request that

the Court rule that the sensitive information from and about them that Facebook shared with or

made accessible to third parties is relevant to this action.

                                        II.     ARGUMENT

A.      The discovery sought by Plaintiffs is directly relevant to their claims.

       According to Facebook, whether it collects and then wrongfully shares Plaintiffs' off-

platform information or information that it derives from their on- and off-platform activity is

categorically irrelevant to this case. At this juncture, the question before the Court is not whether

certain discovery is disproportionate to the needs of the case. See Fed. R. Civ. P. 26(b)(1); see

also FB Reply at 10 (noting that Facebook is not advancing an "undue burden" argument).

Rather, the question is simply whether the discovery that Plaintiffs seek "is relevant to any

party's claim or defense." Id.

        With regard to off-platform activity, as Plaintiffs explained in their prior brief, the nature

of their claims and the reasoning under which they were upheld make it relevant whether

Facebook improperly shared Plaintiffs' off-platform information with third parties. Opp'n at 2-5.

In short, the Order upheld claims not because of where information came from, whether on- or


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off-platform, but because of the nature of the information and what Facebook did with it. Id. at 4.

Facebook's arguments to the contrary hang on avery narrow and legally incorrect reading of the

Court's Order.

         1. The claimed discovery stay. Facebook argues that Plaintiffs are trying to get around a

discovery stay that the Order imposed when it stayed certain claims. But this argument assumes

that Plaintiffs are seeking discovery relevant to stayed claims, and Facebook does not point to

any stayed claims that Plaintiffs are trying to revive. The suggestion that Plaintiffs are seeking

"discovery on hundreds of allegations that did not survive dismissal," Reply at 3, is similarly

without merit; Facebook does not point to any dismissed allegations that Plaintiffs are trying to

revive. And contrary to Facebook's arguments, the discovery Plaintiffs seek—exactly what

information about these ten plaintiffs Facebook possesses and shared with third parties—will

help establish (1) the threshold fact of sharing that sensitive data, which establishes the elements

of the breach of contract and good faith and fair dealing claims, as well as statutory and privacy

claims; (2) the scope of the harm inflicted upon the Plaintiffs, which also addresses elements of

Plaintiffs' privacy claims; and (3) damages and unjust enrichment. All of these claims were

sustained. Facebook's argument concerning the purported discovery stay is thus ared herring.

         2. The Order's discussion cf on-plaiform activity. Next, Facebook says that in

describing Facebook's wrongdoing, the Order confines itself to the improper sharing of what

users did on the Facebook platform. Facebook considerably overstates its case. When discussing

the sharing of information with business partners, for example, the Order referred simply to

"information about [Facebook's] users" and "information about users' activity." 1 Order at 8.

These phrases do not discriminate between on- and off-platform activity, and do not define

"sensitive information" to encompass only information shared on Facebook's platform.

         The question, then, is whether the discovery is "relevant to any party's claim or defense."

Fed. R. Civ. P. 26(b)(1). And here, as Plaintiffs have explained, Facebook's improper sharing of


1   Rather than citing the Order's specific discussion of information-sharing with business
    partners, Facebook quotes the Order's general description of Facebook's misconduct from the
    introductory paragraph. Reply at 4(quoting Order at 1).

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user information, whether that information was derived from on- and off-platform activity or

obtained from off the platform, is relevant to the legal theories upheld at the pleading stage,

which turn not on how or where the information was originally generated, but on what kind of

information it was and whether Facebook shared it with third parties. Opp'n at 2-5. Indeed,

Facebook itself is seeking discovery from Plaintiffs about their activity on other social media

sites, taking the position that users' off-platform activity is relevant to the claims and defenses

here. Def. Facebook, Inc.'s 2d Set of Interrogs. to Pl. T. King Nos. 4-5. (No. 4, "Identify all

Social Media Platforms other than Facebook that You have used to share personal family

photographs or videos."; No. 5"Identify all Social Media Platforms other than Facebook that

You have used to share personal perspectives regarding politics, religion, relationships, work, or

family.) As Facebook's own discovery requests demonstrate, Facebook believes information

originally generated off platform is relevant here.

        The most that can be said of the Order is that it does not focus on the sharing of

information derived from off-platform activity. Discovery, however, has shown that the native,

appended, and behavioral data that Facebook collects and shares about its users include

information generated from and about both on-platform and off-platform activity. Opp'n Ex. B at

FB-CA-MDL-00213424; Opp'n Ex. C, FB-CA-MDL-00 178908 at 2. That such discovery should

shape Plaintiffs' claims is entirely appropriate. See Vallabhcupurapu v. Burger King Colp., 276

F.R.D. 611, 615 (N.D. Cal. 2011) ("Consistently with the notice-pleading system established by

the Rules, discovery is not limited to issues raised by the pleadings, for discovery itself is

designed to help define and clarify the issues.") (quoting Cppenheimer Fund, Inc. v. Sanders,

437 U.S. 340, 351 (1978)). Accordingly, any sensitive information that Facebook shared with or

made accessible to third parties is relevant here, regardless of its source.

        3. Legal questions. Facebook argues that its sharing of off-platform user information is

irrelevant because it would raise legal questions that the Order did not consider. This argument is

incorrect in several different respects. For one thing, Facebook does not justify the premise of the

argument—it does not explain why off-platform activity is irrelevant to or not part of Plaintiffs'


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claims merely because it may raise (some) distinct legal issues.

        There are other flaws in Facebook's argument as well. While it asserts that off-platform

activity raises hitherto unaddressed questions about areasonable expectation of privacy, it

forgets that areasonable expectation of privacy is not even relevant to some of Plaintiffs' claims

(for example, their claims under the VPPA, SCA, or their claim for breach of contract). Even for

the claims that do involve areasonable expectation of privacy, such as the invasion-of-privacy

torts under California law, Plaintiffs do not claim that all off-platform information is relevant.

Information would be relevant if—like Plaintiffs' on-platform activity—it was shared only with

a"limited audience." Order at 1. Such sharing would be improper under the Order's reasoning

without raising any new issues.

        For similar reasons, the Court should reject Facebook's argument that off-platform

information raises new issues about standing. Plaintiffs have standing, the Order concluded, not

because of issues peculiar to Facebook posts, but for amore general reason: because their

"sensitive information was disseminated to third parties in violation of their privacy." Id. at 14.

That rationale applies equally to sensitive information generated off the Facebook platform that

Facebook improperly shared with third parties.

        Facebook also contends that the improper sharing of off-platform information would

raise distinct legal issues about consent. This argument does not make sense. The Order's rulings

about consent turned on what Facebook told its users about how their "information" could and

could not be shared. See Order at 25-29. And Facebook's definition of information—"facts and

other information about you, including actions taken by users and non-users who interact with

Facebook," Order, App. A at 10—is capacious enough to include information generated off the

platform. To show that data was shared beyond the scope of users' consent, Plaintiffs need to

understand what was shared. Indeed, at trial, how can Plaintiffs point to data that was shared

without their consent if Facebook has not produced it? Even with regard to the one source of data

Facebook has produced—users' on-platform activity—Facebook has refused to produce

discovery showing what it shared with third parties. Thus, Facebook's claim that it has shared all


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user data that is relevant to Plaintiffs' claims is not remotely accurate.

        4. kformation derived by Facebook. Finally, Plaintiffs note that one of the sources of

discovery they seek—information derived by Facebook from both on- and off-platform activity

and then improperly shared with third parties—goes mostly unaddressed in Facebook's reply.

And Facebook is similarly almost wholly silent about information derived from on-pla form

activity—it simply fails to explain why discovery about such information is not fairly included in

this case. It is easy to see why this information is relevant. If it was improper for Facebook to

share auser's sensitive post, it was equally wrong for Facebook to share inferences and other

information it derived from that post.

B.      Discovery and publicly available information confirm Facebook has not produced
        information it collects and shares about the ten Named Plaintiffs.

        Facebook contends that Plaintiffs were not permitted to submit any evidence in support

of their opposition brief. See FB Reply at 6, n. 5; 9, n. 9;10 (citing 9/4/2020 Tr. at 5:8-10; 18-22).

In fact, the Court did not prohibit either party from submitting discovery that would aid the

Court's resolution of this issue. Rather, it rejected Facebook's argument that afour-month

briefing schedule was necessary because of the purported need to obtain client declarations. Tr.

at 5:7-22. Documents produced reflecting the types of data Facebook collects (native, appended,

and behavioral) from multiple sources (user activity, information derived from on- and off-

platform user activity, and information obtained from third parties) and shares with third parties

is obviously helpful to the Court in making its determination of whether Plaintiffs are entitled to

such data. The Court asked Plaintiffs what data they are seeking, and the exhibits submitted by

Plaintiffs help answer that question.

        In any event, Facebook relies heavily on numerous factual assertions about what data it

collects, how it does so, its volume, how it is used and conclusory statements about its relevance.

But it provides no support for those assertions and few specifics. That is, Facebook concedes that

it possesses data relevant to the Named Plaintiffs, but it has never even categorically described or

given examples of that data, contrary to Fed. R. Civ. Proc. 34(b)(2)(C). It is thus left to Plaintiffs

to piece together what Facebook is withholding, using both publicly available documents and

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what Facebook has produced.

         For example, Exhibit C—an email exchange between two directors at Facebook—plainly

states that "Facebook has information about users which can be helpful to applications, and

which we provide to applications when we deem apprcpriate." Opp'n Ex. C at 2(emphasis

added). The email also identifies the kind of data that Facebook shares to third parties, including

(1) "[a]ggregate data about the tastes, properties, etc. of auser's friends," (2) "derived data about

auser/facebook's data/opinion of auser (probably location, account trust score, account age,

etc.)," and (3) "[d]ata provided by third parties —information which third parties have

contributed to the graph on behalf of auser." id.

         Facebook's response to Exhibit C is that the email discussion is "hypothetical." FB Reply

at 8. But areasonable reading of this document is that it describes Facebook's then-existing data

collection capabilities. And even if Facebook were correct, Plaintiffs would still be entitled to

discovery to determine whether Facebook effectuated its supposedly hypothetical plan.

Facebook's position is also contradicted by information in the public record. Specifically, in

2013 Facebook began to allow third parties to access user data only upon the condition that they

send valuable user data back to Facebook. 2 This concept, known as data reciprocity, is akey

component of Plaintiffs' claims. Facebook claims in its Reply that data reciprocity is an

exchange of data only between users, but that is belied by its own documents. A document dated

March 14, 2014 reports "Facebook works with [data brokers] DataLogix and Acxiom to help

advertisers measure the effectiveness of their ads at driving in-store sales. Facebook provides

partners with ad exposure data" to measure effectiveness "from users that saw ads." Ex. F, FB-

CA-MDL-00203262. Facebook's characterization of data reciprocity as an exchange between




2    "Facebook Earns $132.80 From Your Data per Year: But it's valuable in other ways, too";
    available at: https://slate.com/technology/2019/11/facebook-six4three-pikinis-lawsuit-emails-
    data.html; see also "Facebook leaks: Zuckerberg turned data into dollars in ruthless battle
    with competitors; available at: https://www.computerweekly.com/news/252461895/Facebook-
    leaks-Zuckerberg-turned-data-into-dollars-in-ruthless-battle-with-competitors (detailing,
    among other things, Facebook employee complaints that "customer data and their own data was
    visible to others, after they had opted to keep it private").

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users is also at odds with the Court's formulation of the issue. Order at 8("Facebook shared

information about its users with this non-exclusive list of business partners and [] those

companies in turn shared data with Facebook.") In fact, Facebook concedes that user data

received from "integration partners" through data reciprocity is potentially relevant, thereby

confirming that the discovery sought by Plaintiffs here for just ten Named Plaintiffs should be

produced. FB Reply at 8. ("[E]ven if some other data from integration partners existed, only data

received from those partners could even possibly be relevant..."). In short, it is relevant to the

case what information about the ten Named Plaintiffs Facebook possesses, even if it received

that data through its data reciprocity agreements.

        Discovery also reveals that Facebook sent Requests for Information ("RFIs") to third

party app developers as part of its App Developer Investigation ("ADI") to find out what

information about users the third parties were obtaining from Facebook and whether they were

disclosing this information to third parties. These RFIs ask whether the app developer has "ever

shared or made available any Facebook user data, including any models or irformation derived

from that data, to third parties ..." id. (question 18, emphasis added). Furthermore, app

developers responded to these questions in the affirmative, thereby confirming yet again that user

data was shared with third parties. E.g., FB-CA-MDL-01119012 at FB-CA-MDL-01119021. It is

telling that while conducting the ADI investigation, Facebook asked speclically about the kind

data that it refuses to produce in this case, including data derived from users' platform activity.

        Facebook also claims that the discovery Plaintiffs seek "cannot even be reasonably

collected," identifying numerous purported difficulties in collecting this discovery, even though

it is just for ten individuals. FB Reply at 9. These unsupported assertions do not rebut the

relevancy of the discovery Plaintiffs seek, and do not meet the required evidentiary showing to

establish burden. See Harris v. Best Buy Stores, L.P., No. 315CV00657-HSG-KAW, 2016 WL

6024556, at *1 (N.D. Cal. Oct. 14, 2016) ("      [T]he party opposing discovery has the burden of

showing that discovery should not be allowed, and also has the burden of clarifying, explaining

and supporting its objections with competent evidence.") (quoting La. Pac. Corp. v. Money Mkt.


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1Inst'l Inv. Dealer, 285 F.R.D. 481, 485 (N.D. Cal. 2012)). Indeed, the Court did not solicit

briefing on burden, but only relevance. And in any event, Facebook expressly disclaimed its

request to have the Court rule on burden. FB Reply at 10. The Court should ignore Facebook's

unsupported claims that it would be too burdensome to search for this material when it has itself

asked the Court not to rule on burden.

        Facebook's sweeping and generalized statement also ignores huge pockets of data that

Facebook can identify. For example, it ignores that Facebook's own API logs identify what data

is accessible to third parties. And surely Facebook can identify what data it shared with its

business partners and white-listed apps through its data reciprocity agreements. Furthermore, to

the extent that Facebook did not stop disassociating data regarding the Named Plaintiffs in this

action, thereby making it more difficult to re-associate, that is aproblem of its own making.

Again, these are factual issues, not legal ones, and should be the subject of discovery.

         Plaintiffs do not demand, as Facebook repeatedly claims, "that Facebook search millions

of disaggregated data sets for any data to have ever crossed Facebook's systems relating to a

Named Plaintiff and any derivative materials drawing on that data -such as data sets tracking

hours of peak user activity to monitor strains on Facebook's system." Opp'n at 6. To the

contrary, Plaintiffs seek only aholding that the sensitive data Facebook collected about ten

Named Plaint,fi and shared with third parties is relevant. Plaintiffs do not contend that

information that was not shared is relevant, which substantially narrows the information

Facebook would be required to produce in this case.

                                      III.   CONCLUSION

        For the foregoing reasons, Plaintiffs seek an order holding that all sensitive data about the

ten Named Plaintiffs that Facebook shared with or made accessible to third parties is relevant to

this action.



Dated: October 19, 2020                                   Respectfully submitted,

KELLER ROHRBACK L.L.P.                                    BLEICHMAR FONTI & AULD LLP



PLAINTIFFS' RESPONSE IN SUPPORT OF                9                                    MDL No. 2843
CROSS-M OTION TO COMPEL                                                 CASE No. 18-MD-02843-VC -
                                                                                                JSC

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By:    /s/ Derek W. Loeser                              By:       /s/ Lesley E. Weaver
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               ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(i)(3)

        I, Lesley E. Weaver, attest that concurrence in the filing of this document has been

obtained from the other signatory. Ideclare under penalty of perjury that the foregoing is true

and correct.

        Executed this 19th day of October, 2020, at Oakland, California.



                                              /s/Lesky E. Weaver
                                              Lesley E. Weaver




PLAINTIFFS' RESPONSE IN SUPPORT OF               11                                   MDL No. 2843
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                                     CERTIFICATE OF SERVICE

        Ihereby certify that on October 19, 2020, Ielectronically filed the foregoing document

using the CM/ECF system, which will send notification of such filing to all counsel of record

registered in the CM/ECF system. In accordance with Civil L.R. 5-1(h) and Civil L.R. 79-5(e), I

also caused acopy of the under seal documents to be served via email on counsel of record for

all parties. An electronic copy of the public redacted filings was also provided via email to the

parties noted below:

        Anjeza Hassan
        annie.saragyahoo.com


                                                      /s/ Lesley E. Weaver
                                                      Lesley E. Weaver




PLAINTIFFS' RESPONSE IN SUPPORT OF               12                                    MDL No. 2843
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                      EXHIBIT P




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                                   1

                                   2                                  UNITED STATES DISTRICT COURT

                                   3                               NORTHERN DISTRICT OF CALIFORNIA

                                   4

                                   5     IN RE: FACEBOOK, INC. CONSUMER                      MDL No. 2843
                                         PRIVACY USER PROFILE LITIGATION                     Case No. 18-md-02843-VC (JSC)
                                   6

                                   7                                                         DISCOVERY ORDER NO. 9

                                   8                                                         (Dkt. Nos. 515, 526, 537, 548)

                                   9

                                  10

                                  11           This MDL matter has been assigned to the undersigned for management of discovery.

                                  12   Now pending before the Court are the Parties' briefs concerning the proper scope of discovery
Northern District of California
 United States District Court




                                  13   related to the data Facebook accumulates about the named Plaintiffs. (Dkt. Nos. 515, 526, 537,

                                  14   548.)   In brief, Facebook contends that the district court's order specifically defined the data at

                                  15   issue as "substantive and revealing content that users intended only for alimited audience." (Dkt.

                                  16   No. 298.) Based on this definition, Facebook argues that for any named Plaintiff data to be

                                  17   relevant and discoverable, it must meet two criteria. First, the discoverable data must have arisen

                                  18   from user activity occurring on the Facebook platform, such as Facebook posts and sent messages.

                                  19   Second, the named Plaintiff must have then overtly shared such data with alimited audience, such

                                  20   as their friends. Facebook submits that this is the only plausible reading of the district court's

                                  21   order limiting Plaintiffs to four actionable categories of potential liability. Plaintiffs respond that

                                  22   the universe of discoverable data Facebook collects for each user is much larger and necessarily

                                  23   includes: (1) user activity occurring off the Facebook platform; and (2) user data that can be

                                  24   inferred from user activity occurring on or off the Facebook platform. A second question

                                  25   presented by the briefs is whether discovery may proceed on the claims the district court stayed.

                                  26           After carefully considering the papers submitted by the Parties, and consulting with the

                                  27   district court, the Court rules that discovery is not as limited as Facebook contends. Plaintiffs

                                  28   correctly argue that Facebook's restrictive view of relevant discovery would exclude an enormous


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                                   1   amount of information that Facebook collects and shares with third parties about Facebook's

                                   2   users. The district court's order (Dkt. No. 298) did not limit Plaintiffs' claims to only challenging

                                   3   the sharing of data Facebook collects from auser's on-platform activity; the claims also challenge

                                   4   Facebook's sharing of user data and alleged failure to monitor how third parties used such shared

                                   5   information.

                                   6          Accordingly, the Court rules the discoverable user data at issue includes:

                                   7              • Data collected from auser's on-platform activity;

                                   8              • Data obtained from third parties regarding auser's off-platform activities; and

                                   9              • Data inferred from auser's on or off-platform activity.

                                  10          As for the stayed claims, and again after consulting with the district court, the Court rules

                                  11   that discovery is stayed as to the stayed claims. Of course, if aparticular discovery request is

                                  12   relevant to both astayed and non-stayed claim, then discovery is not stayed merely because the
Northern District of California
 United States District Court




                                  13   discovery request is also relevant to astayed claim.

                                  14          IT IS SO ORDERED.

                                  15   Dated: October 29, 2020

                                  16

                                  17
                                                                                                    JA 4UELINE SCOTT CORL
                                  18                                                                United States Magistrate Judge

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                      EXHIBIT Q




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                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA



IN RE: FACEBOOK, INC. CONSUMER                 MDL No. 2843
PRIVACY USER PROFILE LITIGATION                Case No. 18-md-02843-VC-JSC



This document relates to:                      JOINT STATUS UPDATE

ALL ACTIONS                                    Judges: Hon. Vince Chhabria and
                                               Hon. Jacqueline Scott Corley
                                               Courtroom: VIA VIDEOCONFERENCE
                                               Hearing Date: December 9, 2020
                                               Hearing Time: 10:00 a.m.




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       The parties respectfully submit this Joint Status Update in advance of the Court's

discovery conference scheduled for December 9, 2020 at 10:00 a.m.

                              I.     PLAINTIFFS' STATEMENT

       1.      Issues the Parties Have Addressed Since the Last Discovery Conference

       a.      Search Terms: Plaintiffs provided their counterproposal for the search strings to

be applied to the email and messages associated with the Groups 5-8 custodians. Facebook

delivered hit reports on December 3, 2020. Facebook's response to Plaintiffs' counterproposal is

due no later than December 13, 2020, and, after meeting and conferring the week of December

14-18, final proposals are due December 24. Given this timing, Plaintiffs intend to confer with

Facebook about areasonable alteration to this schedule.

       b.      Requests for Production ("RFPs") Still in Dispute: The parties continue to

meet and confer regarding RFPs 14-17. These RFPs seek production of documents relating to

and sufficient to show how Facebook valued and accounted for users' data —straightforward

discovery that Facebook has thus far refused to produce. Facebook originally told Plaintiffs there

were no responsive documents but that position has changed substantially. While it is apparent

that both targeted collections and collections using search terms are appropriate to satisfy these

requests, Facebook is now taking the position that it will not do both, threatening to withdraw the

extensively-negotiated search terms to be applied to correspondence if Plaintiffs also pursue

targeted collections from ESI sources to which terms will not even be applied. This is astep

backwards. Nonetheless, Plaintiffs are hopeful that the parties resolve this issue.

       c.      Named Plaintiffs' Data: Discovery Order No. 9identified the following

categories of user data as discoverable: "(1) Data collected from auser's on- platform activity;

(2) Data obtained from third parties regarding auser's off-platform activities; and (3) Data

inferred from auser's on or off-platform activity." Dkt. 557 at 2. On November 12, 2020,

Plaintiffs sent Facebook adetailed letter asking Facebook to identify materials responsive to

Order No. 9, including the format in which they reside in the ordinary course of business, so that

the parties could confer as to whether production should be narrowed and efficiencies in the


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format or manner of production. This letter also proposed ways to identify potentially relevant

and responsive data, including alist of the different types of data Facebook collects from apps in

connection with its enforcement efforts. To date, Facebook has not provided any substantive

response on these issues. Plaintiffs believe that adeadline for Facebook to provide threshold

information in written format, and beginning and end dates for production of these materials

would be of great assistance in moving discovery forward.

          The need for adeadline and written response is particularly compelling as Facebook has

had months to conduct this investigation. On July 31, 2020, the Court ordered Facebook to

identify "what precisely has been produced and precisely what is the data that is being withheld

or not reasonably available." Discovery Order No. 5, Dkt. 478. In response to this directive,

Facebook made certain representations about what data it had and what could not be produced.

See, e.g., Aug. 14 Hr'g Tr. at 7:14-22; 10:1-21 (explaining the various types of information

related to users collected by Facebook). Yet, Facebook claims it is only now conducting

investigations into the types of user data that could have potentially been shared with or made

accessible to third parties, putting into question its prior representations about what data it did or

did not possess or that it could or could not access. Plaintiffs propose Facebook should respond

in writing to Plaintiffs' November 12 correspondence by December 18, and that beginning and

end dates for production should be set.

          d.     Plaintiffs' Fourth Set of Interrogatories: Plaintiffs issued their fourth set of

interrogatories on July 16, 2020. Facebook provided responses and objections on August 17,

2020 and amended those responses and objections twelve weeks later on November 20, 2020.

The parties will continue to meet and confer regarding these amended responses and objections.

          e.     Privacy Settings Data: Facebook has produced many thousands of pages

purporting to reflect Plaintiffs' activity on the Facebook platform, but did not consult with

Plaintiffs regarding the production format, which is markedly different than how that activity

occurs on the platform. Unfortunately, as produced, the documents fail to reflect Plaintiffs'

privacy settings, including, for example, the identification of limited audiences selected by


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Plaintiffs, despite that the original posts did so. Plaintiffs first sought asupplemental production

of this information starting in February 2020. Facebook has refused based on the purported

burden, suggesting instead that Plaintiffs review their active accounts online to establish this

information for themselves on apost by post basis, and then cross-check each post against the

documents Facebook has produced to identify those documents by Bates number. This is a

highly impractical position. For example, for the underlying evidence to be admissible, it would

require Plaintiffs to re-produce their own Facebook accounts in the format in which it exists,

which is precisely what Facebook should have done and which Plaintiffs have no practical way

to do without consulting Facebook. Plaintiffs have nonetheless begun reviewing Facebook's

production and identified examples in response to Facebook's interrogatories, but the underlying

problem persists. Plaintiffs are hopeful the parties can reach areasonable accommodation.

          f.     Additional Proposed Custodians: In keeping with the Court's prior guidance

regarding the early identification of any additional custodians pursuant to Discovery Order No.

3, Plaintiffs proposed four additional custodians: Mark Zuckerberg, Sheryl Sandberg, as well as

two Facebook employees with relevant and unique responsibilities over the Privacy Program

audited by PricewaterhouseCoopers LLP. In response, Facebook has asserted categorically that

any addition of custodians is premature. From Plaintiffs' perspective, it seems appropriate to run

searches across these additional four custodians at the same time that other custodial documents

are being searched, de-duplicated and reviewed for privilege. The parties continue to discuss.

          g.     Discovery of Named Plaintiffs: Plaintiffs' review of documents responsive to

Facebook's document requests to Plaintiffs is ongoing, and Plaintiffs will continue to produce

non-privileged, responsive documents on arolling basis. One impediment to this process is that

Plaintiffs await Facebook's response to the search terms to be applied to Plaintiffs' email, which

Plaintiffs proposed on August 14. Similarly, Plaintiffs are actively engaged in reviewing and

responding to Facebook's interrogatories to Plaintiffs. To honor Facebook's request for rolling

productions and amendments, and despite Plaintiffs' objections regarding the limited audience-

information Facebook has produced, Plaintiffs served supplemental responses on Monday,


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December 7, 2020. Plaintiffs anticipate further amendments as additional information becomes

available, including the information referred to above. Plaintiffs understand that discovery is a

two-way street, and have reviewed the extensive document productions for each of the Plaintiffs

and provided substantive responses to the best of their ability at this time. Contrary to

Facebook's characterization that it has been awaiting responses for 14 weeks, initial responses

were provided on atimely basis and supplemented in response to issues raised by Facebook and

discussed by the parties on the parties' regularly-scheduled meet and confers.

          h.     Voluntary Dismissal of Named Plaintiffs: At this Court's suggestion, Plaintiffs

narrowed the issues relating to class certification by reducing the number of Named Plaintiffs.

Plaintiffs sent Facebook aproposed stipulation on December 4that would voluntarily dismiss all

but the nine Named Plaintiffs who will be proposed as class representatives. The parties will

negotiate and submit aproposed stipulation shortly.

          i.     Privilege Log Issues: Plaintiffs challenged 1,599 of Facebook's 4,432 initial

privilege log entries on October 2, 2020. Facebook responded by letter dated December 2, 2020,

and provided its revised privilege log on December 7, 2020. Plaintiffs have proposed that the

parties begin to meet and confer regarding Facebook's amended privilege log. In addition,

Facebook has represented to the Court in its statement that it has already prepared aprivilege log

regarding ADI materials (which Plaintiffs have not yet received). Consistent with the Court's

directive in Discovery Order No. 7instructing the parties to commence briefing in January 2021,

Plaintiffs will confer with Facebook to set abriefing schedule. Plaintiffs request that the parties

submit astipulation or competing proposals by no later than December 18, 2020.

          2.     Additional Responses to Facebook's Statement

          Unfortunately, Facebook confuses Plaintiffs' obligation to litigate this massive and

complex case on behalf of aclass of more than 223 million U.S. Facebook users with

"counterproductive distractions." But, as is normally the case and in fact expected in an MDL of

this size, Plaintiffs have diligently identified and raised issues that need Facebook's attention in

hopes that such issues can be resolved without the Court's attention. Most frequently, Plaintiffs


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are met with stonewalling and delay.

       In addition to being self-serving, Facebook's attack on Plaintiffs' efforts to litigate this

case is misleading. For example, Facebook claims Plaintiffs have "bombarded" Facebook with

twenty letters and emails since the parties' last discovery conference on November 5. Putting

aside the fact that twenty communications over one month should be expected here, only four of

these communications (two letters and two emails) contained substantive requests for

information or meet and confers—two of which are requests that must be made in writing

pursuant to the parties' agreed upon Discovery Dispute Resolution Protocol. Dkt. 393,      ill   1-2. As

far as Plaintiffs can tell, the remaining sixteen emails consisted of agenda requests for the

parties' ongoing meet and confers (one of which was unilaterally cancelled by Facebook),

scheduling requests, and follow-up emails to agenda items identified by the parties. Plaintiffs'

substantive communications pertain to discoverable information and Facebook does not claim

otherwise. Counting letters and emails is afrivolous distraction from the work the parties need to

accomplish and arather silly exercise for experienced lawyers.

       The growing list of unresolved issues is also adirect byproduct of Facebook's refusal to

provide timely information. For example, Facebook still has not cured the deficiencies in its

production of Plaintiffs' documents that Plaintiffs identified in February. The parties' proposed

expert stipulation has been pending since June, with only minimal edits proposed by Facebook

since that time. A revised privilege log related to third-party PwC's production of documents

(comprised of only eight documents) was requested in July. These are just some of the examples

of discovery issues Plaintiffs must continually raise with Facebook to push them forward.

       This is part of the normal course of complex litigation, particularly in acase of this scale.

Plaintiffs are identifying discovery disputes, following up on the parties' negotiations, and

seeking resolution either through agreement or with the Court's assistance through the parties'

dispute resolution protocol, which Facebook itself agreed to. As aresult, there is no basis for

Facebook's request that the only discovery issues the parties can discuss are those that it selects.

Facebook's motion for adiscovery stay—which is what it effectively seeks—should be denied.


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                                  FACEBOOK'S STATEMENT

       Facebook appreciates the Court's continued assistance focusing the parties' discovery

efforts. Below, Facebook details the work it has completed since the November 5conference

and respectfully requests that the Court order Plaintiffs to: (i) stick to the agendas the Court sets

between hearings; (ii) commit to the set of Named Plaintiffs who are prosecuting this case; and

(iii) respond in full within 30 days to Facebook's interrogatories—which have been pending for

14 weeks and seek basic information about Plaintiffs' allegations. Finally, Facebook identifies

six agenda items that should be the parties' focus until the next hearing.

I.     Facebook's Progress Since the November 5Status Conference

       Facebook has completed atremendous amount of work since the last status conference.

       Discovery Responses. Facebook served 480 pages of interrogatory responses on topics

spanning a13-year period. This project alone took hundreds of hours. Facebook also set up a

review of the nearly 3million documents hitting on search strings for the first 38 custodians and

made an initial production. Facebook proposed search strings for the remaining 43 custodians.

       Privileged Materials. Facebook prepared aprivilege log (to be served on Dec. 10) of

6,000 documents from Facebook's App Developer Investigation, under the parties' Sampling

Protocol (Dkt. 518). Facebook also responded to aletter from Plaintiffs, raising 1600 vague and

boilerplate privilege challenges, which created hundreds of hours of unnecessary work.

       Named Plaint,jfData. Facebook commenced an investigation to identify the materials

potentially responsive to Discovery Order 9, regarding the Named Plaintiffs' data.

       Additional Items. Since the November conference, Facebook also answered Plaintiffs'

Second Amended Consolidated Complaint, successfully argued amotion to dismiss the two UK

Plaintiffs, and investigated the contents of its productions to numerous government entities.

       In additional to these items, the parties negotiated aslew of open discovery issues.

       The Counterproductive Distractions

       Plaintiffs have reverted to astrategy of burying Facebook in aconstant barrage of

demands that take little effort to churn out but create an enormous amount of unnecessary work.


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Since the November conference, Plaintiffs have sent Facebook more than 25 letters and emails

raising dozens of informal demands. One letter insists that counsel answer 18 different inquiries

regarding the data Facebook collects from users. Another letter demands that counsel respond to

21 substantive questions regarding specific documents in Facebook's productions.

        Plaintiffs wrote to Facebook demanding it add more custodians to the case—even though

the Court ordered the parties to move forward with these negotiations and not backtrack.

Plaintiffs threatened to set off fire-drill briefing the week of Thanksgiving if Facebook did not

immediately conduct targeted collections of materials they previously demanded Facebook

identify through search strings. After Facebook served 480 pages of interrogatory responses,

yesterday Plaintiffs sent aletter raising pages of questions about Facebook's substantive

responses and threatening expedited briefing if Facebook did not answer within days.

        In the last month, Plaintiffs served 10 third-party subpoenas (they have served more than

40 to date). After one party told Plaintiffs he provided Facebook his materials in connection

with government subpoenas, Plaintiffs demanded Facebook immediately investigate the

materials it produced to government entities and confirm Plaintiffs received the same documents.

After Facebook did, Plaintiffs followed up with additional demands the next day.

         The parties continue to meet and confer twice each week. Rather than stick to the agenda

set at the prior hearing, the night before each meet and confer, Plaintiffs raise as many as 10-15

arbitrary topics that Facebook must prepare to discuss. Plaintiffs' harassing and scattershot

approach is severely impacting the efficiency and speed at which normal discovery can proceed.

III.    Plaintiffs Must Participate in Discovery or Withdraw as Named Plaintiffs

        While Facebook is working around the clock to complete massive discovery efforts,

Plaintiffs ask to be excused from discovery obligations and do not complete even minimal tasks.

        Plaintiffs represented in September that they were streamlining discovery by having only

10 of 23 plaintiffs move forward as Named Plaintiffs.' It is now clear that Plaintiffs actually



 1      Plaintiffs informed the Court on September 28: "Plaintiffs have reduced the number of
 individuals who will be class representatives to ten, down from the twenty-three." Dkt. 526.

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seek aone-sided discovery stay. Rather than dismiss the claims of 13 plaintiffs, Plaintiffs sent a

proposal to "deprioritize" 13 Named Plaintiffs, who would reserve the right to be "re-prioritized"

at any time, while being excused from responding to any discoveiy. Facebook rejected this

proposal. In response, Plaintiffs promised to stipulate to the voluntary dismissal of at least 13

Named Plaintiffs, without prejudice to their participating in the putative class. 2 Six weeks later,

Plaintiffs finally provided their stipulation, and it has hardly changed from their original

proposal. Under the proposed stipulation, 13 Named Plaintiffs would dismiss their claims

without prcjudice to becoming Named Plaint,fi again later in the case, and Facebook would

have to waive its right to seek any type of discovery whatsoever of those individuals. Plaintiffs

need to make adecision and not demand that Facebook bear the risks of Plaintiffs' vacillation.

          In the meantime, Plaintiffs refuse to comply with basic discovery requests. The only

discovery Facebook has served in the last 6months is aset of interrogatories that asks 10

identical questions of each Named Plaintiff regarding the basis of their allegations and privacy

expectations. Plaintiffs asked for 10 weeks to respond—representing they needed that time to

coordinate with all 23 of their clients. Ten weeks later, Plaintiffs responded on behalf of only 10

plaintiffs, and the responses were grossly deficient. They consisted of boilerplate objections

along with ahandful of single sentence responses. 3 Facebook attempted to meet and confer with

Plaintiffs for weeks regarding these deficiencies. Plaintiffs would not substantively engage.

Instead, they repeatedly assured Facebook that they planned to amend but that it would be many

weeks before they could even discuss apotential deadline or the nature of the amendments. Yet,

as soon as Facebook advised Plaintiffs it planned to ask the Court to order Plaintiffs to amend

their responses within 30 days, Plaintiffs suddenly whipped together and served "amended



 2      Plaintiffs said they would send astipulation for "the voluntary dismissal of those named plaintiffs
 that are not expected to be put forth as class representatives," and dismissal "would be without
 prejudice." 10/27/2020 Letter from M. Montgomery. Facebook asked whether: "dismissal would be
 without prejudice to those plaintiffs participating in the putative class, or ...without prejudice to those
 plaintiffs becoming Named Plaintiffs again later in the case?" 10/27/2020 Email from M. Kutscher
 Clark. Plaintiffs confirmed: "the concept is that dismissal would be without prejudice to those
 plaintiffs participating in the putative class." 10/27/2020 Email from M. Montgomery.
 3     Notably, after Facebook sent adeficiency letter with respect to the 13 plaintiffs who did not
 respond, Plaintiffs were able to serve objections and responses for those plaintiffs the next day.

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responses" yesterday. Facebook is continuing to evaluate the responses, but they appear to offer

little more than the original responses and to be targeted at evading areal deadline, rather than

providing substantive information. Facebook asks the Court to order Plaintiffs to provide the

fulsome amended responses Plaintiffs have been promising Facebook within 30 days.

IV.    Agenda Items

       Until the next conference, the parties should strictly focus on the following items:

        1.     Search Strings. The parties should complete their search string negotiations for

the remaining 43 custodians. Plaintiffs responded to Facebook's proposal with acounter-

proposal that adds more than 2600 search string/custodian pairs—all of which require responses.

       2.      Document Review. Facebook is continuing to review the nearly 3million

documents and 12 million pages that hit on the search strings for the first 38 custodians.

        3.     Interrogatories. Plaintiffs should fully answer the 10 rogs served 14 weeks ago.

       4.      Plaint,,,fs' Productions. The parties should complete negotiations over how

materials will be collected from the Named Plaintiffs so those materials can finally be produced.

        5.      Corfidentiality Briefing. The parties are entering astipulation to brief the

confidentiality of materials leaked by another plaintiff in violation of aprotective order.

        6.     Named Plaint,jfData. Facebook is conducting an investigation to confirm the

universe of data responsive to Discovery Order 9, relating to the Named Plaintiffs. Facebook

notes that, in seeking Discovery Order 9, Plaintiffs stated for the first time in their sur-reply brief

that they seek afar more limited set of data than they had demanded previously. Plaintiffs wrote:

       Plaintiffs seek only aholding that the sensitive data Facebook collected about ten Named
       Plaintiffs and shared with third parties is relevant. Plaintiffs do not contend that
       information that was not shared is relevant, which substantially narrows the information
       Facebook would be required to produce. Dkt. 548 at 9.

To Facebook's knowledge, the materials it produced reflect the information related to the Named

Plaintiffs that could have been shared with third parties. Because this case covers a13-year

period, Facebook is conducting an investigation to confirm that understanding. If Facebook

identifies other data relating to Plaintiffs that could have even potentially been made available to

third parties, it will produce it, and—before doing so—discuss the format with Plaintiffs.


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V.     Response to Additional Issues Raised by Plaintiffs

       Plaint,,,fs seek targeted collections (f materials the Court ordered Facebook to locate

through search strings. RFPs 14-17 seek materials "sufficient to show" the value of individual

types of data, the Named Plaintiffs' data, and data to users. Facebook informed Plaintiffs that it

has never valued data in this manner and, to its knowledge, does not have responsive materials.

During the parties' search string negotiations, Plaintiffs nevertheless insisted on search strings

for RFPs 14-17. Dkt. 545, Ex. 1at 4, 6. The Court granted this request. To the extent the

materials Plaintiffs seek exist, the search strings should identify them.

       Plaint,,,fs have equal access to the privacy settings they seek. The issue Plaintiffs raise is

not about production format. It is about who should do the work to identify the data Plaintiffs

claim is sensitive. Plaintiffs say they can't identify what information from their accounts they

believe is sensitive unless Facebook produces aversion of their account information that shows

the privacy settings they selected for each item or post (e.g. "friends only" or "friends of

friends"). Facebook accounts cannot be produced in this manner. To locate the privacy settings

Plaintiffs seek, someone must click on each item and follow alink to view the privacy setting.

Plaintiffs have access to their accounts and can do this but apparently determined this process

would be too burdensome and that Facebook should do it for them. Facebook suggested

Plaintiffs identify the account activity they believe is sensitive, so Facebook can assess whether

it can produce the settings for atargeted set of items (Plaintiffs' account information spans more

than 900,000 pages). One of Facebook's interrogatories asks this precise question, but Plaintiffs

refuse to provide areal answer and instead seek to push the burden back to Facebook. 4

        There is no basis to add additional custodians now. Plaintiffs' request for four more

custodians is premature. Facebook is reviewing millions of documents from 81 custodians. If,

after Plaintiffs review the documents to be identified through search terms, they identify agap in

Facebook's productions, the parties can discuss whether additional custodians are needed.



 4      In the meantime, Facebook produced the privacy settings data it has available, including
 Plaintiffs' current privacy settings, historical privacy settings, and the best available information about
 any intervening changes Plaintiffs have made, including to individual posts.

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Dated: December 8, 2020                         Respectfully submitted,



KELLER ROHRBACK L.L.P.                          BLEICHMAR FONTI & AULD LLP

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                ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(i)(3)



          I, Derek W. Loeser, attest that concurrence in the filing of this document has been

obtained from the other signatory. Ideclare under penalty of perjury that the foregoing is true

and correct.

          Executed this 8th day of December, 2020, at Seattle, Washington.



                                               /s/ Derek W. Loeser
                                                Derek W. Loeser




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                                  CERTIFICATE OF SERVICE

          I, Sarah Skaggs, hereby certify that on December 8, 2020, Ielectronically filed the

foregoing with the Clerk of the United States District Court for the Northern District of

California using the CM/ECF system, which shall send electronic notification to all counsel of

record.

          In addition, the following were served via email:


                 Anjeza Hassan
                 annie.sara@yahoo.com

                                               151 Sarah Skaggs
                                               Sarah Skaggs




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                      UNITED   STATES       DISTRICT              COURT


                    NORTHERN DISTRICT                OF    CALIFORNIA



Before   The   Honorable   Jacqueline           S.    Corley,       Magistrate            Judge



IN RE:    FACEBOOK,   INC.    CONSUMER          )
PRIVACY USER     PROFILE   LITIGATION.)               NO.    18-MD-02843             VC    (JSC)



                                     San    Francisco,             California
                                 Wednesday,                December       9,    2020


                TRANSCRIPT OF    ZOOM WEBINAR PROCEEDINGS



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(APPEARANCES     CONTINUED    ON THE       FOLLOWING PAGE)




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                             United    States             Official    Court          Reporter




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 1   Wednesday      - December       9,    2020                                              10:00       a.m.


 2                                   PROCEEDINGS


 3                                               ---000---


 4                 THE CLERK:        Court       is   now in     session.           The Honorable


 5   Jacqueline         Scott    Corley    is presiding.


 6          Calling civil          action 18-md-2843,                In Re:       Facebook       Inc.


 7          Go ahead and start.


 8                 THE COURT:        All    right.        Good morning,             everyone.           You


 9   don't have         to make your appearances.                    And thank you          for your


10   status update.


11          Let's       just go through and talk through the                            things    and    see


12   where we      are at       and what we       can do.


13          So    the    first    issue    is    search terms          for the          5 through       8


14   group.       And    I'm not    sure    if    there    is    anything to discuss                here.


15   I think the         Plaintiffs       said they were hopeful                   the parties          could


16   work out      the    schedule,       and    I don't believe             Facebook said


17   anything about         it.


18          So,    Ms.    Weaver,    or whoever         from the           Plaintiff wants          to


19   address      that.     Is    there    anything to discuss?


20                 MS.    WEAVER:     Not       from our perspective,                   Your Honor.


21                 MS.    DAVIS:     No.


22                 THE COURT:        Okay.        Great.        We will          just    knock that


23   off.


24          Now,    the    second thing was            RFPs     14    to    17,    Plaintiffs'          RFPs.


25          And Facebook seemed to                suggest       that       the    search terms had




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 1   been agreed to             for those,          but       Plaintiffs       seem to          suggest      that


 2   they had not.              So    I don't       know where we are with that.


 3                 MS.     WEAVER:           Mr.    Ko will          address    that.


 4                 MR.     KO:        This    is    David Ko on behalf                of    Plaintiffs.


 5           So    really the          reason why we                identified that             issue      in our


 6   statement       --    two reasons             --    I mean,          I think this          is    likely


 7   coming at       a head such that we will brief                            this    to you shortly.


 8           To answer your question,                         the    reason why these RFPs                 are not


 9   actually covered by the                   --       or this       dispute,    more          specifically,


10   is not       covered by the RFPs                   and the       search strings             is    that we


11   are   seeking a targeted search and a certain                                --       and a specific


12   group of materials                that    we believe             Facebook should produce


13   pursuant       to a targeted search.


14           And that          is    separate       from the          documents       that       they may


15   potentially produce                that       are,       you know,       possibly responsive                   to


16   these RFPs.


17           And just          to add some          color to          that,    you know,             the   search


18   strings       that we          agreed to       --       and,    quite    frankly,          that you


19   ordered in Discovery Order Number                               8,    I believe       --    there     are


20   actually only one                search string that                  specifically relates                 to


21   these    --    that       solely relates                to    these RFPs.


22           And so       --    and in this next                   round of    negotiations,               I think


23   there are       only about          three          or    four    strings    that       the parties             are


24   actually negotiating                such that                these   strings may produce


25   potentially relevant                information.




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 1              So what we          are asking          for       is    something different            than   I


 2   think what          Facebook          is    saying.           We    are    just    saying:       Look,


 3   there are          these       five    categories             of    information that            are


 4   responsive          to    these RFPs;             and we believe                that    they can produce


 5   this       information pursuant                   to    targeted searches.


 6              And that       is,    again,         distinct           from any of          the   search string


 7   negotiations.


 8                    THE COURT:            Why is          it    distinct?


 9                    MR.     KO:    Well,           this has          a pretty long and tortured


10   history.           We have been going back and forth with Facebook on


11   this       since    January.


12              Actually,       we    engaged in an extensive                         letter writing


13   campaign from February to April;                                  and we have gone back and


14   forth with them.


15              And they said clearly that:                             A,    this    information      is


16   actually irrelevant.                       B,    that       they don't have any responsive


17   documents          anyways.           And C,       even       if    they did,          that   they would be


18   highly confidential                   and protected.


19              So,   you know,        we       found that             hard to believe because              these


20   by    --    just    to provide             some    context,             these RFPs       seek documents


21   related to how Facebook values,                               quantifies          and monetizes        the


22   user content             information at                issue       in this       case.


23              And they said:              Look,       we       don't       have    anything responsive          to


24   those       requests.


25              We    found that hard to believe;                            right.     I mean,      they are     a




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 1   company      --   this    is    a company that               last year alone generated


 2   $70   billion in revenue,                 you know,          98   percent          of   which came          from


 3   third parties.


 4          So    they said         --   we    said    let's       try to provide               some


 5   clarification         so here        are    --    so    this      dispute matured to a point


 6   where we      said:       Here      are    five    specific            categories          that   we


 7   believe will be           responsive         to    this       request.


 8          Can you please               run targeted searches                    on them?          And they


 9   said no.


10         And they said:                Why don't we             do   --   why don't we go with


11   the   search      string negotiations                  and    see      if we       can actually come


12   up with some        documents            that may potentially be                        responsive         to


13   the   requests.


14         And we gave          that      a shot.           And we       thought         that maybe         that


15   they would run targeted searches                         in connection with that


16   negotiation process,                but what       has become            evident          is   that    they


17   do not want        to.    And so          I think,       you know,            at    this point         --


18                 THE COURT:            Well,    did you propose                  them as part            of    the


19   search string         submission?


20                MR.    KO:        We proposed one               string      --    two       strings,      excuse


21   me,   that    relates      solely to         1417.           But,      remember,         we had a


22   finite number of           strings we            could negotiate and propose.


23         And so we          took those         somewhat          off      the    table,       right,


24   because      there were other              strings       that we were negotiating that


25   we believe were           responsive         to other discovery requests because




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 1   we didn't       have          --    in the normal             course we would say:                    Look,


 2   here    are,    you know,                10    or    15    strings       that    could have been


 3   responsive          to    these          requests.


 4           And they said                --       well,       you know,       we only could propose                 a


 5   few to,       Your Honor.                 Obviously we            ended up proposing only 29                        or


 6   27    for you to          rule on.              And so       that    --    that       is    one    response     to


 7   your question.


 8           The    other response


 9                  THE COURT:                 I guess          I don't       really understand.               I


10   mean,    the    limit was                there       to    require       to prioritize.              It wasn't


11   so    that you could                --    that       is    just   sort     of    a different matter.


12           I mean,          it    seems          like    the nub of          it    --    from what       I


13   understand          --    is       Facebook          says    they don't          really have what you


14   are    looking       for,          and you          say that      they do.


15           And maybe what you need to do                               is    take       that    30(b) (6),       and


16   you will       identify it;                   and then they will have                      to produce     it,       as


17   opposed to          in a way you are kind of                         shooting          in the dark.


18                  MR.       KO:       Well,        that's       one way of          doing       it,   but    I


19   think    --    two       responses             to    that.


20           One,    the documents                   that will be produced here                         are not


21   pursuant       --    are       really not             the    type    of    documents          that will be


22   produced pursuant                   to    custodial          searches.


23           These       are       financial             documents       that       relate       to,    for example,


24   marketing and business                         brands,       financial          documents          that


25   underlie       their          10Ks       and    10Qs.




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 1              So    these    aren't         --    you know,          it's not,          you know,       Carl


 2   Laufenberg,            let's    find all             her documents             that    talk about       this.


 3   It    is    actually a non-custodial                        search in the             relevant


 4   department          where we pull               that material.


 5              And    I think      --    it       identifies          --


 6                    THE COURT:              What would it be?                 What would it be?


 7                    MS.     WEAVER:          Your Honor,             let me give an example


 8   because          I think we do want                  the    e-mails.           But    accounting


 9   documents          where    Facebook            is    assessing the value of                   the    data


10   that       its getting,         we know that,                for example,             in their


11   accounting documents                     it    will    be    there.        And that       is    a targeted


12   search.          And those documents                   aren't          targeted by the          search


13   terms.


14              The    search terms            right       now are          only being applied to a


15   selected number of                  --


16                    THE COURT:              I understand that.                    For e-mails          and things


17   like       that,    it wouldn't               be an accounting document.                       So    that    --


18                    MS.     WEAVER:          Exactly.


19                    THE COURT:              --    I understand.


20                    MS.     KUTSCHER CLARK:                   Your Honor          --


21                    MS.     WEAVER:          --    take       the    30(b)(6),          I think that       is    a


22   good       idea.       Apologies.


23                    THE COURT:              Yeah.        Was    that Ms           Kutscher?


24                    MS.     KUTSCHER CLARK:                   Yes,    Your Honor,          thank you.


25              The    issue we are            having here             is    that    the RFPs       at    issue




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 1   seek valuation documents about very particular types of

 2   valuations.

 3          They are asking about documents how Facebook values

 4   individual pieces of user data;                   how Facebook values the named

 5   Plaintiffs'        data.

 6          What we have been telling Plaintiffs                    --    and we have

 7   investigated this extensively --                    is   that Facebook simply

 8   doesn't value         information that way.              So to the best of our

 9   knowledge there wouldn't be responsive materials.

10          The other issue here             is   that    the RFPs ask for documents

11   sufficient         to show this       type of      information.

12          So we are running the             search strings because typically

13   when you don't         think there are documents about                 something

14   specific and you are asking for documents                      specific    --

15   sufficient         to show that       information,       you run search strings.

16   So you figure out          if    they are there.

17          And that's what we are trying to do;                    run the search

18   strings.       Figure out        if   there are any documents           that    show the

19   extensive valuation.              We don't        think there are.

20          From our perspective,             we think the        first    step here    is to

21   run the search strings.                See   if    they return anything seeking

22   the type of         information Plaintiffs are seeking,                 and then we can

23   take   it    from there.

24          The other issue we are having is that after Plaintiffs

25   sought      that    type of     information,        they did send us the         letter




                                                                                                2983
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 1   that Mr.       Ko    is    describing.              And the       letter asks       for these very


 2   five very broad categories                      of    documents.           It    asks    for


 3   Facebook's marketing plans,                         Facebook's business plans.


 4           And Plaintiffs                now seem to be             taking the position that


 5   Facebook       should produce             all       documents       responsive          to their


 6   letter,       so all       of    its marketing plans,                all    of    its business


 7   plans,       even if       they don't          show the          type of    information sought


 8   in the RFPs.


 9           So one       of    the    issues       that    the parties          started discussing


10   yesterday          is:     Is    Facebook required to produce documents


11   responsive          to    the RFPs       or    is    Facebook required to produce


12   information responsive                   to    this    letter that          really strays pretty


13   far    from what          the RFPs       ask    for?


14                  THE COURT:             Well,     this       is what       I would say:          What you


15   are    required to produce                is    --    obviously the valuation of                    this


16   data    is    at    issue.        That    is    relevant          to a claim in the            case.


17           And so what you need to do                         is    figure out       how you get


18   there.        There must be             something.              And it may not          be   it's   at    the


19   micro    level       that       the    Plaintiffs were wondering.                       So maybe     it    is


20   a more macro             level.       Maybe     it    is    simply:        How much money does


21   Facebook make             in a year,          in a month,          in a week,       in a day from


22   selling this             information;          right?           That's   one way of          evaluating


23   it.


24           Now,       maybe    that's not precisely called for by the RFP.                                    So


25   what?




                                                                                                                      2984
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 1           What       the RFP calls             for    --    you know what          they want;           right?


 2   And so the          RFPs       are kind of          like    a starting point.               And now


 3   have    a discussion and try to narrow it                               and get    out what           it    is


 4   they are       trying to do.


 5           I don't          think you would dispute                      that    any financial


 6   document       --       like    the       financial       documents          are going to be one


 7   way of valuing                it.     Maybe not          every marketing plan,


 8   obviously          --    obviously.              Facebook must          have    a million marketing


 9   plans.        But       specific marketing plans.                       And you have        a


10   discussion.


11           So    the RFPs          are       a starting point.              I wouldn't get           too


12   caught up          in that.           We    all    agree    that      how Facebook values                  this


13   data,    some way,             is    relevant.           And so       let's    figure out        a way of


14   getting those.                 That's       what    I would          say on that.


15                  MR.       LOESER:           Your Honor,          if    I may just very briefly                    --


16                  MS.       STEIN:           Your Honor,       I think the          fundamental


17   disconnect          is    that       Facebook doesn't                sell user data,        so    Facebook


18   doesn't value user data                      in the way that             Plaintiffs would like


19   it    to exist.


20           It    just       --    it    is    not    something that             is part   of   Facebook's


21   business model.                 So    I think we have been talking past                          each


22   other.


23           And we are happy to meet                         and confer with them to                 see       if


24   there    is    something else                that    Facebook does value,               but      it


25   doesn't       --    because          it    doesn't       sell    user    information and user




                                                                                                                            2985
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 1   data,    it's       literally just             not       something that goes                into their


 2   valuations.


 3                  THE COURT:           Or they trade                it    or whatever          it    is.       Or


 4   maybe as Ms.          Weaver       said,       the       30(b) (6)      --    did we       lose            oh,


 5   no,    there    she    is.     She       just moved on me.


 6                   S.    WEAVER:           We    just moved.              You moved too,


 7   Your Honor.


 8                  THE COURT:           Did       I?        I don't       know.        Apparently we have


 9   a new thing of          Zoom that you can move                         the    screens,          but    that


10   doesn't       seem to be working.                       Anyway    --    and    figure       it    out.


11           But    I guess       I would say is                that       I hear what you are


12   saying,       Ms.    Stein.        So    that's what you should be                         discussing.


13   Like,    there       is going to be                some way       --    it    has    some value,


14   somehow or another because                         of    (inaudible)          --    and for       some


15   purpose,       whatever       it    is.        And then,          you know,          if    --    it    is not


16   going to be a line             item,          obviously,          that puts          a value          on   it.


17           And so       that    just       sort       of    should be what             the discussions


18   should be       about.        I can          see    that    is    going to be             different         from


19   search terms.           If    it    is       coming       from financial             documents,            that


20   is    something different.                   Okay.


21                  MR.    LOESER:           Sorry to          interrupt.           I guess,          just      by way


22   of making       it    clear and so             that we       all understand what you are


23   saying,       there    is    search          strings;       and that          will    get       certain


24   information,          e-mail,       other things.


25           And then there             is    all       this    other       information that                is not




                                                                                                                          2986
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 1   even    --   it    is    not   even possible              that       it would be unearthed by


 2   those    search strings.                That       is    the    targeted search information.


 3           That      is what we will be meeting and conferring and


 4   negotiating more with Facebook.                               I mean,          it hasn't been going


 5   on a long,         long time.


 6           I am very happy to hear you describe                                    the process where,


 7   you know,         we    start with RFPs                and then we             engage       in these very


 8   lengthy and substantive                  conversations                   about how to clarify


 9   them,    and that's what               the    letters          often have             to do with.


10           So   I do       think that       that process                that you described                  is what


11   has    happened here,            and    I think          it    is    important             that we   continue


12   to utilize         that process          so       that    requests             can be       clarified         in


13   letters      and so on.


14                  THE COURT:         And narrowed.                     Always       narrowed.


15                  MR.      LOESER:        Or narrowed.                 Or    if    they are         really


16   unclear      --    as    Facebook often claims                      they are          --    then whether           it


17   is narrowed or just made more                           clear,       one way or another                  it


18   becomes      evident what          it    is we          are    searching             for.


19                  THE COURT:          Yeah.           I always          like       to    say is      sort    of


20   when    --   obviously not             in a bigger complex                      --    but when       I have


21   disputes,         I will       say to one          side:        What       is    it    that you want?


22   Just    describe         to me    --    not       --    when    somebody starts                  reading to


23   me    their document           requests,           I stop       them.           No.        No.   Just     tell


24   me    in plain English what                  is    it    that you want.                    And then have


25   the    other      side    respond.           Do you have             that       or what do you have;




                                                                                                                              2987
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 1   right?        That's what     it      should be.


 2           I do want     to go back,            though,       to the            what     is   little A


 3   in the    Plaintiffs'       statement,             the    search terms          and the


 4   schedule,       because    the     final proposals               are due December            24th.


 5           And were you able             to work       something out with that                  or   --


 6                 MS.   KUTSCHER CLARK:                We    are    --


 7                 MS.   WEAVER:        We   are    still negotiating that,                     I believe.


 8   Go ahead,       Martie.     My apologies.


 9                 MS.   KUTSCHER CLARK:                No,    no,    no.        I was    just going to


10   say the parties met           and conferred about                     it   yesterday,      and we


11   are working through some proposals.


12           One    thing the parties             have       started discussing             is whether


13   there    should be     a little bit            of       a detente          around the holidays


14   this    year.


15                  THE COURT:        Oh,    that's          exactly what          I wanted to do.           I


16   actually wanted to          impose          one.


17                                                (Laughter)


18                  THE COURT:        I did it          in one of my other cases                  in Juul


19   over Thanksgiving.            I forbid the parties                     from communicating


20   with each other        from Thursday,               Friday,          Saturday and Sunday.


21   And    I would like       to do       the    same       thing    in here.


22                 MR.   LOESER:        Just      like       the Battle of          the   Bulge,


23   Your Honor.


24                 MS.   WEAVER:        That's      right.           That's       exactly right.


25                  THE COURT:        So     I will      let you          figure out what         it   is;




                                                                                                                  2988
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 1   but   you need,        I would say,          five business             days.        That would be


 2   my proposal.           Really the          case will move along;                go along.           Five


 3   business      days,     no communications between the                         two    sides    for


 4   those    five    days    in a row and you                figure out what             they are.


 5           So   important.         So    important.           So    important          especially       --    I


 6   mean,   you know,        people       are not       going to be          --    I mean,       it's    a


 7   stressful       time    right       now.     It    is    a stressful          time,    and we all


 8   need a break and to be                able    to    just    chill       and focus       on the most


 9   important       things    --    this       case    is    important       --    but    the most


10   important       things.        So    I would       like you to agree                to a five-day


11   detente.        It   can be     longer       if you want but             at    least    five days.


12                 MS.    WEAVER:         Agreed.


13                 MR.    MONTGOMERY:            Your Honor,          can you       impose no


14   communication within our                   firm as well?


15                 THE COURT:            Mr.    Montgomery,          yeah    --


16                                                (Laughter)


17                 MS.    KUTSCHER CLARK:               The    challenges.


18                 MS.    STEIN:         I do    rely on opposing counsel                   for Netflix


19   recommendations          so    --


20                                                (Laughter)


21                 MS.    WEAVER:         We    can make       an exception.


22                 THE COURT:            The Queens          Gambit,    have you guys watched


23   that?        I finished that          last night.


24                 MR.    LOESER:         Excellent.           That    is          a very good


25   recommendation,          if you haven't             seen    it,    which we have now




                                                                                                                     2989
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 1   enjoyed is       Ted Lasso.


 2               THE COURT:           Ted Lasso,         okay.        I don't       know that       one.


 3               MR.    LOESER:        Your Honor,            this might be             testing the


 4   limits    of your judicial             authority;         but    if    you could turn off


 5   social media       for    five    days      --


 6               THE COURT:           For the         entire    country?


 7               MS.    WEAVER:        Yes.


 8                                               (Laughter)


 9               THE COURT:           Perhaps.


10               MS.    KUTSCHER CLARK:                I think our client would be


11   opposed to       that.


12               MS.    WEAVER:        Yes,      we understand the difficult position


13   you are    in.


14                                               (Laughter)


15               THE COURT:           All    right.       So,    Mr.       Montgomery,          I will


16   strongly recommend that                --   internally as well                to    the    extent   it


17   can be done       --   and really,          you know,       no    judges       should be


18   imposing deadlines          for whatever between Christmas                           and New


19   Year's;    right.        So you       should be      able       to check out          for that


20   time.


21           Okay.     Great.


22               MS.    WEAVER:        Just      to be    clear,       it    was    in our proposal


23   to end it       on December 24th.                So we    are    fine with the


24   moratorium.


25               THE COURT:           It    sounds      like    everyone       is       which    is good.




                                                                                                               2990
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 1   Okay.

 2                  MS.   WEAVER:   Yep.

 3                  THE COURT:      So the next   issue    is the named Plaintiffs'

 4   data.        And here    I actually am kind of confused because Facebook

 5   suggested that          there may not be any data other than what they

 6   have already produced.           And then I don't understand why         (video

 7   freeze interruption.)

 8                  MS.   KUTSCHER CLARK:      Right,   Your Honor.

 9           So,    as we noted in our submission,          we learned for the

10   first time       in Plaintiffs'       sur-reply brief on the named

11   Plaintiffs'          data that what    they are really seeking is only data

12   about the named Plaintiffs             that was    shared with third parties.

13           And for us       seeing that    in the    sur-reply brief was a really

14   big aha moment because we had spent                literally hundreds of hours

15   meeting and conferring about data that                is never shared outside

16   of    Facebook.

17           So now that we understand what             they are really seeking is

18   the type of data that           is actually shared or made accessible to

19   third parties,          we have been taking a much closer look at what

20   would be responsive to that.             And as we currently understand,

21   what has been produced really does                cover that universe.

22           But we obviously want          to be a hundred percent    sure that

23   that    is    correct,    and we are talking about       a 13-year period,    so

24   it    is a very long time.

25           So we have been conducting a very careful             investigation




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 1   within the company to be a hundred percent                   sure that the

 2   materials produced to date reflect            the    full     scope of any data

 3   that    could have been shared or made accessible to third parties

 4   about the named Plaintiffs          since 2007.

 5          And if we do come across anything additional,                 we will

 6   obviously report that          to Plaintiffs and discuss a production

 7   format with them,        but   to date we have not       come across anything

 8   that has not been produced already that could have even

 9   potentially been shared with third parties.

10                 MR.   LOESER:    Your Honor,   if   I may,      I think there will

11   probably be multiple comments          in response to that          statement.

12   That makes no sense to us at all.

13           First of all,     the question of     their brief,        which they

14   quote in their statement,          talks about      information,     in fact,

15   shared.       And what our brief     said in our reply was          information

16   shared or made accessible.

17          And we were very careful        to use that       language,    "made

18   accessible,"        because Facebook has     said for a long time that            it

19   doesn't keep records of what          it actually shares,          which seemed

20   hard to believe to us.

21          But     in order to avoid a semantic game,            we also included

22   the reference to        "made accessible"     because whether it was

23   shared,       whether they have records of        it,   if    it was put   in a

24   place or utilized in a way where third parties had access to

25   it,    that    substantially expands    the universe of potential




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 1   information.

 2          Also,    as,    Your Honor    --

 3              THE COURT:        That's what       I heard Facebook just           say.

 4   They agree.

 5              MS.    KUTSCHER CLARK:           Yeah.

 6              THE COURT:        It    is made accessible,          not   just   shared.

 7              MS.    KUTSCHER CLARK:           Yes.

 8              MR.    LOESER:     Then,       perhaps,       we need some clarification

 9   on what    they interpret         "made accessible"          to mean because     it

10   doesn't mean the same thing as actually shared.

11          And so if we could hear clearly from Facebook that they

12   agree with that,         that would be helpful.

13          Second,    the nature of       the    information that         Facebook was

14   ordered to produce is         such that       it    is    impossible to believe

15   that   there    isn't    information that exists.

16          We are talking about entirely distinct categories of

17   information from what         they have produced.              They have produced

18   the    information that users post.                As Your Honor well knows,

19   what   they didn't produce was all the                   information collected

20   from --   off platform activities and inferred from and about on

21   and off platform activity.

22          And it    is,    frankly,    just    impossible       for us   to believe that

23   while the universe of potential discoverable                     information was

24   expanded threefold,         actually,       there    isn't    anything that     fits

25   those categories,         categories which were derived from our review




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 1   of    Facebook's production to                      see what     else do they do and what


 2   else    do    they do with it.


 3           So    it    just    --    it    just       seems baffling to me             that    after all


 4   of    this    fighting and all                their effort           to keep us      from getting


 5   this    information,             they are now coming back and claiming                            it


 6   doesn't       really exist.


 7                  MS.    KUTSCHER CLARK:                 Your Honor        --


 8                  MS.    STEIN:           So,    Your Honor,        respectfully,         we    are not


 9   doing anything to prevent                      Plaintiffs        from getting         information.


10           We    spent months             dealing with Plaintiffs                 taking the


11   position that          even if          the    data was        in a black box that was


12   inaccessible          to anyone,             that    they would want           to know what was


13   in that black box.                 So    they did a complete                 180   in their


14   sur-reply brief.


15           Leaving that             aside,       we    are   trying to      figure out whether


16   there    is    anything else             to be produced.               The    inferences         that


17   Mr.    Loeser just mentioned                   --    Facebook does           not   share or make


18   accessible          inferences with third parties,                       period,      full       stop.


19           Those       inferences          are    the way that           Facebook has         its


20   business model.              It    uses       those       inferences     to run      its business.


21   It    does    not    sell    those       inferences.            It   doesn't       share    those


22   inferences.           It    does       not make       them accessible.


23           That       is why companies                come   to   Facebook and ask Facebook to


24   help with targeted advertising because we,                                   Facebook,      will not


25   share    those       inferences          with anyone.            That    would destroy




                                                                                                               2994
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 1   Facebook's business model.


 2                  MS.    WEAVER:        So,    if    I may,    we have       received no


 3   production of          data Facebook receives                   from third parties.


 4           We have       received no          inferred data.              And this    is   the


 5   semantic game          that    Facebook has played since                      the beginning that


 6   analysts       and governments have                challenged.


 7           Facebook says:              We do not       sell your data.             And     it may be


 8   true    that    they don't put             it    in a box and hand the data over the


 9   way you do a widget.                 They do       sell    inferences.


10           And what we need to know is                      how our clients were             targeted


11   based on the          amalgamation and analysis                   of    all    the data    that


12   Facebook       is pulling          from everywhere.              So we want       the    inferred


13   data.


14           I want       to know if       I have been targeted as                  a 50-year-old


15   woman in Oakland as having a higher                         insurance          risk or a


16   different       financial          risk.


17           That    is    how Facebook makes             its money,          and they have


18   refused to be          transparent          about    this       all    around the world.            But


19   we are       in this       lawsuit.        They keep       telling us          they don't


20   make    --    and this       ties back to          the    revenue       argument.


21           Let    us    see how they make             their money.           Maybe they are


22   right.        But    all we have been doing                is    fighting with the


23   lawyers.        It    is    time    for evidence.


24           We would love a 30(b)(6).                    We would          love   documents.       We


25   would love          data.     All we have been getting right                      now is      sitting




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 1   in Facebook Zoom meet-and-confers                          and positions.             And we are


 2   ready for the         evidence.


 3                 MS.    KUTSCHER CLARK:                Your Honor,          I have    two quick


 4   responses.


 5                 MR.    KO:     Your Honor            --


 6                 THE COURT:           Let's      let Ms.       Kutscher go.


 7                 MR.    KO:     Okay,      Martie.


 8                 THE COURT:          We    can't       hear you       --    at   least    I can't hear


 9   her.


10                 MS.    KUTSCHER CLARK:                Can you hear me now?                I'm


11   speaking more         loudly.          Okay.


12           First   of    all,    this      case       is not    about       targeted advertising.


13   Judge    Chhabria      said very clearly in his Motion To Dismiss                                  order


14   that    the   case    is not       about      targeted advertising.                   Plaintiffs


15   conceded that         the    case      is    not    about    targeted advertising              in the


16   briefing on this            issue.


17           In terms      of    the    inferences,            the off-Facebook activity,                 it


18   is not    correct      that       none of      that       information has         been produced.


19           The   information we produced previously includes                                thousands


20   and thousands         of pages         of users         off-platform activity.                It    also


21   includes massive            lists      of user's          interests       that    Facebook has


22   derived from their activity on and off                             the platform.


23           During the briefing Plaintiffs were                             asking    for more of


24   that    information.          They were            asking    for    information the


25   Plaintiffs      are not       able      to    see       themselves       that    Facebook might




                                                                                                                 2996
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 1   have    in those       categories.


 2           What    we have been doing                is    trying to       find out            and we


 3   have    conducted extensive,                extensive          investigations          at   Facebook


 4   to understand whether there                      is    any additional          information         in


 5   any of    those       categories          that    could have potentially been made


 6   available       to a third party in any way,                         shape or      form.


 7           And the       answer we are             repeatedly getting             is no.       What    has


 8   been produced represents                   the universe of what                could have been


 9   made    available          in any way to a third party.


10           But,    again,       we are       continuing          to conduct       this


11   investigation because we want                         to be    a hundred percent            sure,       and


12   that    is what we          are working on.              But,      in the meantime,          we have


13   not    come    across       any type       of    information that            is    ever made


14   accessible;          has    ever been made             accessible       that      is outside what


15   has    already been produced.


16                  MS.   WEAVER:         Your Honor,             we view this         as   them trying


17   to    re-litigate          an order that you already issued                        in Discovery


18   Order Number          9.


19           The    scope of       the    case       is whether private             information sent


20   in voice       --    let's    say Facebook Messenger was used and


21   amalgamated with our                information to             target    the      Plaintiffs       and


22   either    --


23                  THE COURT:           No,    no,    no,    no.       I don't     think so.       I


24   don't    think       so;    right.        This    is    --    this   came    from Cambridge


25   Analytica and that             they had access                to   information.




                                                                                                                    2997
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 1                MS.    WEAVER:       Right.


 2                 THE COURT:         Right.


 3                MS.    WEAVER:       Right.       And they used          it     to    --    they


 4   targeted lazy liberals             to    stay home          and not vote          in the


 5   election.         This   is    exactly Cambridge Analytica.                       They drew


 6   inferences        about people         and crafted messages             to    them to get


 7   them to      stay home.


 8           Or   it   recently came out            that       3.5   million African Americans


 9   were    targeted with message             to    influence         their voting behavior.


10   This    is   squarely within Cambridge Analytica,                       and this          is


11   exactly the        case.


12           So people need to understand how they are being                                  --


13                 THE COURT:        What     did you mean            in your     sur-reply by


14   "shared"?         I guess      that's    the    question.


15                MS.    WEAVER:       Or reasonable made               accessible.            Yeah,      I


16   mean,    that's     --   the    issue    is    --


17                 THE COURT:        What     is    --    to    the point,      what     does       "made


18   accessible"        mean?


19                MS.    WEAVER:       Right.        So    I --      I'm Cambridge Analytica,


20   and    I want     information so that               I can target      individuals who                I


21   think will        respond to my messaging                  in an election.              And our


22   nine named Plaintiffs,             many of          them feel      they were        targeted         in


23   this way.


24           So Facebook ran          its    algorithm based on all                of    the       data


25   that    it had,     and it      didn't    separate          the private       and the




                                                                                                                2998
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 1   public       --    at    least       Facebook has          never even taken that position


 2   in this       case       --    and said:           Here    are    the people.


 3           So    they are          targeting,          and we want             to    see    --


 4                     THE COURT:              Have    they provided the named                      --    the names


 5   of    those people?


 6                     MS.    WEAVER:           No.     They just          allowed the messages                  to go


 7   through to          them,       so they are          targeted.


 8                     THE COURT:              So   Cambridge Analytica didn't                       have    that


 9   information then?


10                     MS.    WEAVER:           Cambridge Analytica also got data but


11   also    targeted them.                    It's both.


12                     THE COURT:              Okay.     And so       it    is    the data that


13   Cambridge Analytica                   then got?


14                     MS.    WEAVER:           That's    a piece          of    it,    and it       is    also how


15   they are          targeted going               forward.


16           What       we    don't       know is what          the business partners                      and   --


17   that    is    a separate             --    Cambridge Analytica got                      it    through an


18   app,    through Kogan's                   app.


19           But       what    is    also going on             is   the data           sharing       --    which the


20   business partners                   and the white          listed apps             --    and we       are not


21   getting the data that                      they have       on the          Plaintiffs.              We don't


22   have    one       shred of          data.        All we have          is    this,       you know,       the


23   actual platform activity.


24           So we need             --    what we would really                   like    is       to take    some


25   evidence          on this,          Your Honor,       because          --




                                                                                                                          2999
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 1                  THE COURT:         You mean the           30(b)(6)?


 2                  MS.   WEAVER:        That would be great.


 3                  THE COURT:         Well,        I think that       is probably where we


 4   are    at now.        I think      --


 5                  MS.   WEAVER:        That would be great.


 6                  THE COURT:          I think there          is    this    disconnect,        right,


 7   or disbelief          --   I guess       I should say more             than disconnect           --    as


 8   to how Facebook operates.                      And so we       just    need somebody under


 9   oath saying:           No,   this       is how    it    operates.


10                  MR.   KO:     Your Honor,          just    one    last       thing on this        --


11   not    to belabor the point               --    I wish    I could       share my screen


12   right now.           I'm looking at            Facebook's       data use policy right now


13   in the    section that            says    "information that we                share."


14           And    included      in that       category are          sharing with third-party


15   partners,       and that      includes partners who use Analytica


16   services,       measurement partners,                  partners       offering goods           and


17   services       in our products,            advertisers,          vendors       and service


18   providers,          researchers         and academics,          law enforcement           or


19   pursuant       to    legal   request.


20           So they,       by their own admission                  in public       and pursuant           to


21   their data use policy,                  talk about       the    information that           they


22   share    --


23                  MS.   WEAVER:        Share.


24                  MR.   KO:     --   with third parties.                  So    I know Ms.        Stein


25   said    full    stop,      they don't          share    anything.           That's   --




                                                                                                                  3000
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 1                     THE COURT:        No,    no,   no,    that's not what             she    said.


 2   What    she       said is       they produced what            they shared,          not    that    they


 3   don't       share anything.


 4                     MS.    WEAVER:     But    that's not         --


 5                     MS.    STEIN:     I said that we            don't       share    inferences.


 6                     MS.    WEAVER:     All we had was            a subset         of user's


 7   platform activity.                 I'm sorry,         Deb.


 8                     MS.    STEIN:     I said we don't            share       inferences.         That      is


 9   what    I said.


10                     MS.    KUTSCHER CLARK:          Your Honor,             I think a big piece


11   of what       is    getting       lost    here   is    third parties             frequently draw


12   their own          inferences,       and that might            have been what             happened       in


13   Cambridge Analytica.                 We know that            happens       in other       settings.


14           So Facebook shares various                     categories          of    information,       and


15   third parties might use                   that   information             in different ways.


16   They might          combine       that    with   information they have.                   We   don't


17   have visibility into that.


18           But       once    the    information is         shared,          third parties might


19   use    it    to    form their own conclusions;                     but    that's not


20   information we would have.


21                     MS.    WEAVER:     But we don't            even have          the data that


22   Cambridge Analytica got;                   right?


23                     THE COURT:        I don't      know.        Is    that    true?


24                     MS.    KUTSCHER CLARK:          I believe you do because


25   Cambridge Analytica only received data                              that    Kogan was       able    to




                                                                                                                    3001
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 1   access       through his       app and what          --


 2                  MS.   WEAVER:        Can you        identify to us by Bates number


 3   which documents          those      are because           I don't believe we have                    that.


 4                  MS.   KUTSCHER CLARK:               That's not          the way the materials


 5   have been produced.


 6           What    we have produced is                the universe of             data that         could


 7   have been made          accessible          to    third parties.


 8           We    did not produce nor was                there       a request       specifically


 9   for    information requested by Kogan.


10                  MR.    LOESER:        So,    Your Honor,          just    --    this    is   an


11   interesting discussion,                and I think Your Honor has                      rightly


12   identified that          the parties,             frankly,       are    just    --    these      are


13   lawyers       talking about          things       that    --   we need evidence.                 A


14   30(b)(6)       is    an excellent          idea.


15           We    just    don't believe how             --    their description of what                    is


16   or    is not    shared or made accessible.                      We need to put              somebody


17   under oath and have                them testify about             that.


18           The    documents       that we have          seen       in their production that


19   describe       their practices             talk about          sharing;       talk about


20   absorbing off-platform activity;                         talk about          sharing    inferences.


21           The ADI       investigation where                they sent       their own


22   questionnaires          out    to apps       asked the         apps     to    identify any


23   information that was               obtained        from Facebook and             inferences


24   drawn from it.


25           And so       there    is   a huge        disconnect between what we                   think      is




                                                                                                                    3002
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 1   going on and the way they are                         describing.           The    real virtue of


 2   someone under oath testifying                         is    that we       can get    through the


 3   semantics       and just          figure    out       really what          happened.        So    I do


 4   think that you are                right;    that       it    is    time    to do    that.


 5           Facebook can read your order.                             They know what       they are


 6   supposed to do.              I assume       they are going to go out                   and comply


 7   in good faith with that                   order.           And the    sure    test    to whether


 8   that    happens       or not       is   when we get              somebody under oath and they


 9   testify about what                exists    and what             doesn't    exist.


10                  THE COURT:           Why shouldn't we do that?


11                  MS.    KUTSCHER CLARK:                 Your Honor,          I would respectfully


12   request    that before we move                   into a deposition,                that we have          the


13   opportunity to complete                   our    investigation because we are


14   working through that                right       now because,          again,       we want       to make


15   sure    that    what we understand is                      correct.


16           And obviously to                even prepare             a 30(b)(6)       deponent,      we


17   would need to             complete       that    sort       of    investigation.        And       I think


18   it    is going to          take    some more          time.


19           Again,       we    are    talking about             a 13-year period,          and data was


20   shared in different ways with different                               source of       third parties


21   over that period.                 And this       is    a pretty large historical


22   exercise       to    look    into.


23                  THE COURT:           Right.        But       I don't       know why we       can't     --   I


24   mean,    you are          doing that       --    but       get    something on calendar and


25   the    Plaintiffs          can draw up          their questions,             right,    because        that




                                                                                                                     3003
          Case 3:18-md-02843-VC Document 813 Filed 01/18/22 Page 3010 of 3430                                           30




 1   is going to         take      some while,             no doubt          --


 2                                                    (Laughter)


 3                 THE COURT:             --       to negotiate.                 And this       isn't


 4   everything.            This    is    just,       like,          let's       just    figure    it    out.


 5   Like,    this     is    a big       --    this       is    another big             issue    in the       case.


 6   We have      this      disconnect.


 7           Let's     just       figure out:              How do          they use       this data?           How is


 8   it    shared?       What      do they mean by                   "made accessible?"


 9           Maybe you        limit       it       to a time period,                so you don't need to


10   complete      the whole         thing;          right.           I mean,       the    time period that


11   we are most         interested            in    --    or at          least    the    first    one    --    is


12   the    Cambridge Analytica.                     That       is    how the whole             case got       here.


13           So what you do              is    start with a limited time period,                               and


14   that    would probably              --


15                MS.       WEAVER:           We    could do that,                Your Honor,       2012       to


16   2016    or 2017.


17                 THE COURT:             Much easier to prepare your witness                                  on.


18   You can then           focus your             investigation on that.                       We are    just


19   going to      take      it    in chunks,             I guess,          in a way.


20           Let's     do    that because             I think we are                --    yeah,    I keep


21   hearing arguments.                  Let's       get       --    let's get          a witness       in there.


22           So what        I would like you to do                         is:     Plaintiffs,          you    should


23   work on that           notice.           It    is not          an everything,          all,    whatever.


24   This    is   --   let's       just       figure       out       --


25                MS.       WEAVER:           Targeted.




                                                                                                                         3004
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 1              THE COURT:          Targeted disagreement,                     limited period of


 2   time.


 3              MS.   WEAVER:        We propose maybe Thursday,                        January 14th,


 4   or Friday,   January 15th,            for the      data,          30(b)(6)    and    --


 5              THE COURT:          I don't      want       to    talk to you guys             --    I


 6   don't want   to do      that    right      now.        You guys       do that.


 7              MS.   WEAVER:        Okay.       We will work             it    out.


 8              MS.   STEIN:        I also      really       --    respectfully to


 9   Ms.   Weaver's point        of getting       something on calendar                   --    we need


10   to know what     the    topics      are.     We need to agree on the notice


11   and the   subject      --


12              THE COURT:          I agree with that.                   I was    thinking early


13   February especially since we                have       that       five days       in there.


14              MS.   WEAVER:        Fine.


15              THE COURT:          You need to give               them notice          first.


16              MS.   WEAVER:        Fine.       We will          do    that.


17              MR.   LOESER:        I think we         should maybe have a schedule


18   for when the notice          should be       completed or else                I can       see   this


19   dragging out     forever.


20              THE COURT:          So   that's up          to you.        What would you            like


21   your deadline     to be?


22              MR.   LOESER:        Why don't         we    take,       folks,    seven days


23   enough to draft        our notice?


24              MS.   WEAVER:        Yes.


25              THE COURT:          And,    perhaps,         Facebook can respond within




                                                                                                             3005
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 1   seven days       with adjustments                  if    this     falls    on New Year's          Eve,


 2   which it probably does.                      So maybe        add a few more             days    there.


 3   But    I think that's plenty of                     time     to negotiate             this   targeted


 4   notice.


 5                  MS.    KUTSCHER CLARK:                   Your Honor,        I'm just          looking at


 6   the    calendar quickly.                If    Plaintiff           took    seven days         to give     the


 7   notice,    that means            Facebook would have                    to respond over the


 8   holidays       even    if we had two weeks                   to    respond.


 9                  THE COURT:             So extend that.


10                  MS.    KUTSCHER CLARK:                   So   I think we would need until                  at


11   least    early January,               probably the           second week          in January,       to


12   respond if       we    are not         going to          interfere with people's


13   holidays.


14                  MS.    WEAVER:          So maybe          January 11th,           Martie?


15                  THE COURT:             That's what            I was going to            suggest.


16   January 11th.


17                  MS.    KUTSCHER CLARK:                   So we would get           the notice on the


18   16th?


19                  THE COURT:             By the       16th.


20                  MS.    KUTSCHER CLARK:                   And respond by the              11th?


21                  THE COURT:             Yeah.


22                  MR.    KO:    Well,       why don't we              --    maybe    I'm speaking out


23   of    turn on my side            --    but why don't we give ourselves                          a little


24   more    time    to put      together the notice                    then    if    --   you know,     one


25   week    from today,         we    could       --    I'm thinking maybe                 Friday,    the




                                                                                                                     3006
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 1   Monday after that?


 2                  MR.    LOESER:           Why don't we       take       ten days,     and then          it


 3   balances       out    a little bit.              That's    fine.


 4                  THE COURT:           Well,       let's    see.     So    if you gave        it    to


 5   them by the          18th.


 6                  MR.    KO:     The       18th.


 7                  THE COURT:           Right.        Then we have          two weeks     of    the


 8   holidays.        One week          is    going to be       a non-working week,              and


 9   there are       five days          in there.


10           Does    the    11th still work             for    that with Facebook or how


11   about until          the    13th?


12                  MS.    KUTSCHER CLARK:              Yeah.


13                  THE COURT:           This       is your    initial       response,     right,          your


14   initial       response.        So       I think the       11th.        That gives you the


15   entire week of             the 4th.


16                  MS.    KUTSCHER CLARK:              Okay.        I think      it   would be


17   helpful       to have       a little bit          of    guidance on the           scope    of    this


18   and what       the    topics would be,             which would hopefully help to


19   limit    the number of             disputes       that might          arise.


20           As we understand,                the    topics    should be         limited to the


21   sharing or accessibility of user data during the                                   2012    to 2016


22   time period;          is    that    right?


23                  THE COURT:           Yeah.        The    topic    is    --   we went   through


24   this    long motion on this production and the off-platform and


25   what    was    covered by Judge                Chhabria.        Issued the        order.        And now




                                                                                                                   3007
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 1   it    is    like we          already produced everything,                        whatever.              It    is    to


 2   figure out             that       question.        It    is    to    figure out            that      question.


 3                        MS.    WEAVER:        We would view it               as what          is    responsive             to


 4   Discovery Order Number                      9,   Your Honor.              That       is how we would


 5   frame       --


 6                        THE COURT:           That's       that    order;      right?


 7                        MS.    WEAVER:        Exactly.


 8                        MR.    KO:     The    three       categories         they identified,                   Judge


 9   Corley          --


10                        THE COURT:           Discovery Order Number                     9,    perfect.


11                        MS.    WEAVER:        Exactly.


12                        THE COURT:           Limited to discovery                  --


13                        MS.    KUTSCHER CLARK:              Could       I just      ask a clarifying


14   question because                   I think the parties                have had a little bit                        of    a


15   disconnect             here.


16              We    read Discovery Order Number                         9,   particularly in                light          of


17   Plaintiffs'                briefing,       to    relate       only to data that was                     shared or


18   otherwise made                accessible,          as Mr.       Loeser puts               it,    to third


19   parties          and is not generally about                         all   of    the data             in those


20   categories             that       Facebook has          ever collected.                   It    is   about what


21   was    shared.


22                        THE COURT:           This    is    a 30(b)(6)         to    figure out what


23   Facebook does.                    So now no doubt             the    deponent will               talk about


24   information that                   they collect but             don't      share;          right.


25              And then we will                talk about whether that                        is    responsive or




                                                                                                                                   3008
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 1   not.     This    is    so the         Plaintiffs             can    figure out       this       is what


 2   Facebook does.


 3           This    is    to   sort       of   to verify the              representation that yes,


 4   we    collect    this      information             --    inferential             data,    but    it    is not


 5   made    accessible         to third parties.


 6           So    they would have              to     talk about          it;      right?      They would


 7   have    to    talk about         that.          And     if    it    is not made          accessible,


 8   then what       do    they do with it?


 9                  MR.    LOESER:          Your Honor,             we    really need a


10   clarification because                  I think          it    does    avoid another huge


11   semantic game          over what           "made        accessible"            means.


12           And so       I think that            is    the       right way to go.              I think that


13   will    allow us       to understand what                     is    the   information and what


14   did you do with            it.        That's       --


15                  THE COURT:             Okay.       All        right.       So     the next       topic was


16   the privacy settings                  data.        I don't          know what       to do       --    to    say


17   about    that.


18                  MS.    WEAVER:          Your Honor,             Leslie Weaver on behalf                      of


19   the    Plaintiffs.


20           So we    --    this      is    the      issue.         What has been produced to us


21   is not       the way the data exists                     on the platform.                And so when


22   there    is    a post,      normally            I can restrict              it    to my friends Deb


23   and Martie,          and you can           see     that.


24           And they have asked us                     to    identify what,             you know,          we


25   contend is       really at            the heart          of    the    case,       which to us          is what




                                                                                                                        3009
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 1   was    intended for restricted audiences.


 2           And we       can't    do   that     in the      format      that    they produced             it.


 3   This    is    again the       Facebook platform activity.                        They produced             it


 4   without       consulting us          as    to    format,      and we      just    need to get          --


 5   we    just    need that       information.             It    is   obviously at          the heart          of


 6   the    case.


 7           We    are    doing the best             that we      can to respond to               their


 8   interrogatories with our own                      information.            Like,    we    can see


 9   Facebook Messenger messages                     are    restricted,         so we have


10   identified those;             and we are          talking extensively with the named


11   Plaintiffs.           They have been doing a lot                    of    work,    but we       can't


12   identify the posts             right      now because we            can't       see how they were


13   restricted.           It's    that    simple.


14                  THE COURT:          I guess        one question           I have    for Facebook,


15   I thought       one potential             argument you had was              that    the


16   Plaintiffs          did not    restrict          their data.            You know,       so    it wasn't


17   private       data.     Is    that    right?


18                  MS.    KUTSCHER CLARK:              Your Honor,           that might be          true of


19   certain data.           The bigger          issue      for us      is    that    Plaintiffs          are


20   suing Facebook alleging that                      Facebook shared their,


21   quote-unquote,          sensitive          information.


22           And we have asked them to                     tell us what         information they


23   think    is    sensitive.


24           They have       told us       they can't            do that unless we produce                  a


25   version of          their accounts          that      shows next         to each item on their




                                                                                                                      3010
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 1   account what          the privacy setting was.


 2           We have       looked into             this       extensively,            and Facebook


 3   accounts       are not made             for production                in litigation and simply


 4   can't be produced             in that          format.


 5           As    I understand,             to produce             a Facebook account              in the


 6   format       Plaintiffs       are       asking       for       it,   we would actually need to


 7   have    engineers write new code.


 8           To    locate    the privacy settings                         for   individual         items       on an


 9   account,       someone actually has                      to manually click on every single


10   item and follow a link which will                               then display the privacy


11   setting.        It    is not metadata.                    It    is not      something that               can


12   just    be    displayed next             to    the       item.


13           Plaintiffs          have       access       to    their accounts,              and they are


14   able    to do       that.     They can          log       into       their accounts.            They can


15   look at       the posts       they are          concerned about.                   They can         look at


16   any    information on their account                            they are      concerned about.


17   Click the       link and see what                   the privacy setting                 is.


18           What    they want          is    for one          of us      or    for    someone at         Facebook


19   to    click through every single                         item on their account                 --    and


20   there are hundreds                of    thousands          of pages,        many of which might


21   have    20,    30    items    on them          --    and then          follow the        link.


22   Screen-shot          the pages          and produce             them back to           them.


23           Again,       this    is    something Plaintiffs                     can do.       We have


24   suggested that          there might be                   a way to make            it   easier       if


25   Plaintiffs          would look at             their accounts               and tell      us what




                                                                                                                        3011
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 1   information they are concerned about.

 2           The accounts        include all        sorts of   stuff.     They include

 3   restaurant      reviews,       newspaper articles,         cartoons,    stuff that       is

 4   not    conceivably sensitive.

 5           If   they would tell us what             information they think is

 6   sensitive      --    and this was one of their interrogatories               --    we

 7   could maybe take this            limited list or a more targeted list of

 8   posts and pull         it   for them,     and we would be willing to do that.

 9           But what doesn't make            sense    is   to have Facebook have an

10   engineer or someone else click through hundreds and hundreds of

11   thousands of pages of every single thing on the named

12   Plaintiffs'         profiles    to then follow links to the privacy

13   settlings when presumably Plaintiffs have a sense of what they

14   thought was         sensitive when they alleged that Facebook shared

15   their sensitive         information.

16                MS.    WEAVER:      I can respond to this,            Your Honor.

17                THE COURT:         Yes.

18                  S.   WEAVER:      We have       identified categories.       What    it

19   seems Facebook wants us            to do and what their interrogatories

20   asked was us         to identify by Bates number in what               they produced

21   what    is   sensitive by actual          --   each post.

22           So we have begun the process of going through that,                       but

23   here    is   the disconnect:           They produced a snapshot         in time of

24   Facebook activity.             They want us now to go to evidence            --    you

25   know,    the Facebook        -- users have not produced their own




                                                                                                    3012
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 1   Facebook platform to                      Facebook because               Facebook has                it.


 2              I don't          know how we would produce                        it    to Facebook.              I can


 3   go with a Plaintiff                   and look right               now at          a post       and find what


 4   is    restricted there post-by-post.                               And,       of    course,          this would


 5   be millions                or,    perhaps,      billions          of posts.              But    that's       fine.


 6   This       case       is    a lot    of work.


 7              But    that privacy restriction today may not                                       be    the    same


 8   privacy restriction that                         is    in the      snapshot          in time          that    they


 9   produced.


10              So we have given them examples.                              And        I don't          even know how


11   to get       that          into evidence because                  that privacy restriction that


12   they are          looking at          online hasn't been produced at                                 all.     This


13   is    --    this       is    the    conundrum.


14              We have given them examples,                           examples          of    health and


15   medical          information,             private          information about               families.


16              They will             depose    these people.                These people will                   explain


17   what       they thought was private.                         And we will             do whatever work


18   Your Honor tells us                   to do,          and we      are    engaging          in this          subset


19   of    a subset             review right         now to honor that.


20              But    at       the    end of    the day,          that      is    not going to be                the


21   basis       of    our claims.              That       is   not    the    evidence we are going to


22   present          at    trial,       and it's          convoluted.


23              I would just             say:        Let's wait until                  they    --    we    can see


24   everything.                 And the       other thing            is,    this       response will             also be


25   informed once we get                      all    the       data on the nine named Plaintiffs




                                                                                                                             3013
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 1   in Discovery Order Number                     9.


 2           We have given them interim responses but                                       it will          change.


 3   Once    these       Plaintiffs understand everything that                                    Facebook has


 4   collected about               them,    their responses                to these questions                      are


 5   going to          look very different.


 6                     MR.    LOESER:       Your Honor          --


 7                     MS.    STEIN:       May    I respond to that,                      Your Honor?


 8                     THE COURT:          Yes.        Go ahead,          Ms.    Stein.


 9                     MS.    STEIN:       So    respectfully,             you know,             Plaintiffs have


10   discovery obligations                  too.        Facebook has been working                            its    tail


11   off.     We have provided almost                     500 pages             in    interrogatory


12   responses.              We   are    reviewing millions                of    documents here.


13           When we          originally served RFPs,                     you may recall                   Plaintiff


14   said:        We    don't want         to do       this    as    RFPs.           Serve


15   interrogatories.


16           We    served interrogatories.                      We gave          them lots             of    extra


17   time.        We    literally got            one page of          substantive                responses back


18   to our       interrogatories.                What we       are       asking about                is


19   information about                  Plaintiffs'       allegations.                    What    is       the


20   sensitive          information?


21           Plaintiffs            have    all    of    this    at    their          --    in    --    in their


22   possession,             custody and control.                   They know in their heads                         --


23   we    can't       figure out what            they thought was                   sensitive;             what    they


24   alleged to be was                  sensitive.        That       is    exclusively in Plaintiffs


25   custody and control.




                                                                                                                            3014
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 1          And what we need to know here                             --    and what    Plaintiffs have


 2   an obligation to do                --    is    to    sort       through their       information,


 3   tell   us what was           sensitive.              They didn't want             to do this by


 4   producing.              We produced everything                   for them that       was    in their


 5   accounts.


 6           They now want us                to click through news                articles,       other


 7   things       that       they are posting and provide                      every privacy setting.


 8   We are not          asking about          the privacy setting.                    That's not what


 9   we asked.


10          We asked what was                 the    sensitive             information,    and


11   Plaintiffs          said:        We don't       know what was             sensitive.        It   depends


12   on whether          it was marked private.                       That's    not    true.     What was


13   sensitive would be a subset                         of    it.


14          Not        everything that             is marked private             is    sensitive.


15   People       repost       other people's posts.                       They put up    restaurant


16   reviews,          newspaper articles.                    That may be       all marked private,


17   but    that's       not    the    sensitive          information that matters                here.


18           It    is    critically          important          that       Plaintiffs    do their


19   obligation          in discovery and not                   keep pushing everything onto


20   Facebook to do.


21                     MR.    LOESER:        Your Honor,             just very briefly,          I think


22   again,       we    are    just    kind of       having a practical problem;                      and a


23   30(b)(6)          may be helpful          here       as well.


24           The practical problem is                         Facebook maintains          data.       They


25   have    a platform for users                   to post          things,    and they produced a




                                                                                                                 3015
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 1   bunch of       information but          not    in the       format    in which         it   is     kept.


 2          The practical problem is:                  Is    it possible          for them to


 3   produce    the       information    in the       format       in which it         is    kept       as   a


 4   result    of    which the       Plaintiffs       can easily respond to their


 5   discovery requests.


 6                  THE COURT:        Well,    can    I just       ask you       first,      though,


 7   why do the       Plaintiffs       need    --    I mean,       if    the answer to the


 8   interrogatory is          anything that was marked private or was


 9   restricted in          some way    is    sensitive,          then say that.


10                  MS.   WEAVER:      We have,       Your Honor.


11                  MS.   LAUFENBERG:         Your Honor          --


12                  MS.   WEAVER:      Go ahead,       Carl.


13                  THE COURT:        Then that's          one    answer.        And then another


14   answer    is    --   and then you go           through what          the person


15   identified,          regardless    of what       the privacy settings                  are;      right.


16         Now,      it may turn out          that you       identified something as


17   sensitive;       but you didn't          --    your client         didn't     use      any privacy


18   setting.        Okay.


19                  MS.   WEAVER:      Here    is    the problem          --   yeah,     here      is    the


20   problem with that          --    I mean,       we will       do whatever you order.


21   And   if you want us        to do       that with this             subset    of   information,


22   which,    by the way,       is    not    everything they have                ever posted.


23                  THE COURT:        I understand.              You can only do            it   on what


24   has   been produced.            I understand.


25                  MS.   WEAVER:      Here    is    the    issue:        I am an      individual.




                                                                                                                  3016
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 1   These are humans             in the middle                of    a pandemic with jobs,                  and we


 2   are    asking them to go back and look through every post                                             they


 3   ever made       on Facebook.              And we          are going to have                 to ask them to


 4   do    that   again which we will                    do.        That    is what         this   case     is


 5   demanding.


 6           I can't       remember what             I posted in 2007                  or 2009.       And when


 7   I look at       the post,          I can't          remember          if    it   was private          to me


 8   then or not.           If    I looked and                saw that          I only shared         it with


 9   Can,     I would know oh,                that       is    sensitive.             But    they would be


10   guessing to          say    --    and we have given them examples of


11   categories.           Like       I said,       medical          information,           we     can give       them


12   categorical          examples.


13           And for these             Plaintiffs             --    for some of          them it      is


14   political       stuff.           Some    of    it    is       not.     They have         different


15   comfort      zones with what              they shared.                 We       can go back and view


16   this,    but    --


17                  THE COURT:           Are       the    examples          tethered to the            specific


18   posts?


19                  MS.   WEAVER:            Yes.        And we       can       --


20                  THE COURT:           Ms.       Stein       is    shaking her head no.


21                  MS.   WEAVER:            So we have given them categories                              of


22   messages,       and we have             told them we will give                      them examples            and


23   we    are amending          further.


24                  THE COURT:           So    that's what you need to do.


25                  MS.   WEAVER:            Okay.




                                                                                                                          3017
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 1                  THE COURT:          You need to             --    like    if you are          --    you


 2   can't       just    say medical         and health information.                       What    does       that


 3   mean?


 4                  MS.    WEAVER:       Fine.           We   can     find examples.


 5                  THE COURT:          Give       them an example;             right?


 6                  MS.    WEAVER:       Yes.


 7                  THE COURT:          If    it    is    the    fact    that       I visited this             or,


 8   you know,          shared with my friend this website                           about    this          drug;


 9   right.        I mean,      that    is    different;             right.


10           So you need to tether                  it    to examples.              And they just need


11   to answer to the            extent       they can.              That's   all     it    is,    is       to the


12   extent       they can do,         based on what             they have now.


13           What       you have    said      is you can't             figure out what             the


14   privacy setting was               in 2007.           Well,       then,    Facebook can't                demand


15   that you base your answer based on that                                 if you don't          know what


16   it    is.


17                  MS.    WEAVER:       Right.           Okay.


18                  MS.    STEIN:      And,        Your Honor


19                  MS.    WEAVER:       Thank you,             Your Honor.           We will          do    that.


20                  MS.    STEIN:      We have never taken the position that


21   their answer          should be         tethered to privacy settings.                             What we


22   have    asked       is what    Plaintiffs            in their allegations                considered


23   to be       sensitive     and to        identify the posts.


24           Now,       back   in 2007       you couldn't             click    --    you couldn't


25   individually identify individual posts by privacy setting.                                                 It




                                                                                                                       3018
       Case 3:18-md-02843-VC Document 813 Filed 01/18/22 Page 3025 of 3430                                                45




 1   was more       --    more of          a default       for how you posted generally.


 2   There weren't             individual          options when you posted something.


 3           So,    you know,          respectfully having                Plaintiffs             just    say:


 4   Anything we marked private was                         also      sensitive,           I,    frankly,


 5   don't    think       is       a good-faith answer               to an interrogatory


 6   response.           It    is    just    saying everything             --    if    everything was


 7   marked private                in 2007,       '08,    '09   and so on,        that          includes,       you


 8   know,    public          information that             they were posting or reposting


 9   someone else's public post                      and it      happened to be marked


10   private,       that       doesn't make          it    sensitive.


11           And    I think that             Plaintiffs         have more of           an obligation to


12   do an investigation in responding to                              interrogatories              just       the


13   way Facebook did;                right.


14           I mean,          Facebook when we            drafted our 500-page                    response,          we


15   spent hundreds,                if not       thousands      of    hours,     you know,          working on


16   those    responses             and conducting          investigations.


17           Now,       maybe we did too much.                   And     if we did too much,                   then,


18   you know,          shame on us;             and we will         know that going              forward.


19   But,    you know,             I do think that          Plaintiffs          have an obligation to


20   tell    us what          is    sensitive       and not       just    say:        It    was under our


21   privacy setting;                ergo    it was       sensitive.


22                  THE COURT:              It   would obviously have                 to be more


23   specific.           Look,       they are going to amend their responses.                                   They


24   will    be    as    robust       as    they can.           I don't    think you can expect


25   them to       identify every single                  one     that    is    on there,          but    it




                                                                                                                           3019
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 1   should be pretty robust,                         right,    and tethered to actual posts;


 2   right.


 3           Like political posts,                      that    is what          Cambridge Analytica               is


 4   about,       sensitive       information.                 Here    is    examples            of posts      that     I


 5   never expected would be made                            accessible          to   third parties.


 6                  MS.    LAUFENBERG:                 Can    I offer       --    this      is    Carl


 7   Laufenberg on behalf                   of       Plaintiffs.        Can       I offer one additional


 8   informative          overlay,          which is:           The way that             this         information


 9   has    been produced,             it       is    completely uncontextual.


10           So,    in other words,                  you get     information by category.                        And


11   so what we          see    are a long             laundry list          of posts            that    our


12   clients made,             but you don't             see what       they are made                  in response


13   to.


14           So,    again,       that       is making our             jobs very difficult                  here.


15   We    are being       incredibly diligent.                       We have produced hundreds                       of


16   pages    in response             to    these       interrogatories.                 We      are    continuing


17   to work.           We will       amend.


18           We    can only work with what we have been given,                                          and what we


19   have been given             is    incredibly limited and makes                              it    a tortuous


20   task    for our clients.


21           So we need to have                      contextual       information             in order to


22   assess       the    sensitive          --       whether this       is       sensitive            information.


23                  MS.    WEAVER:              We    are not    sure       that      the     responses        will


24   be    accurate because                --    and that puts us                in an impossible


25   situation.           It    is not          that we       are not willing to do the work.




                                                                                                                             3020
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 1   It    is    that    we    don't    know how to get             the answers             right.


 2                     MS.    STEIN:        Yeah.     We would certainly be open,                         if


 3   Plaintiffs          wanted to,          you know,       reprint       something,             you know,          if


 4   they don't          like    the    format.


 5              And,    by the way,          we    reproduced their accounts                      in response


 6   to    requests          that we provide          things       in a different             format.           We


 7   already went             through that          exercise       once.     But       if    it    is    easier


 8   for    Plaintiffs          to print          things    out,    you know,          from their own


 9   account          and do    it    that    way,    we    are    totally open to Plaintiffs


10   using       it    that way instead of pointing to documents                                  that    have


11   already been produced by us.


12                     MS.    WEAVER:        Maybe we       can make       some progress,                Deb.


13   Can    I ask this:              Does    Facebook maintain the                limited audience


14   information on the nine                      Plaintiffs'       posts    and activity?                 And       if


15   so,    can you produce             that       to us?


16                     MS.    KUTSCHER CLARK:              The    only way to do             it    is    to go to


17   the    live website and on the                   live website          click each             individual


18   post       and follow a link to                see    the    setting.


19              And that's what             we have been trying to convey.                          The only


20   other way we             could even produce             the    account       information             --


21   I believe we have discussed this previously                                  --    is    to produce


22   back to you guys                a live       link of    the    Facebook accounts which is


23   what       your clients          already have.


24                     MS.    WEAVER:        So how did Facebook             --


25                     MS.    KUTSCHER CLARK:              And none of       that would be Bates




                                                                                                                           3021
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 1   numbered.


 2                 MS.     WEAVER:              Let me       just      ask    --


 3                  THE COURT:                 I'm going to have               to       stop you.       I have     to


 4   go at    11:00.           We have,             like,    two minutes.                So we    can't   do this.


 5   You guys       just       have       to    figure       this      out.        So    there    is   a couple        of


 6   others       things       --


 7                 MS.     WEAVER:              We will.


 8                  THE COURT:                 --    I want       to address.             On the additional


 9   custodians,          Mr.       Zuckerberg,             Ms.    Sandberg,            I think you       should


10   wait    until       all    the documents                are produced.                Those will be very


11   targeted once             --    so    I don't          see    any problem waiting                 for that.


12           On the voluntary dismissal                           of    the named Plaintiffs,                it    is


13   without prejudice;                   and they don't               have    to agree.          Well,     look,


14   it    happens       all    the       time       that    a judge will               deny class      cert based


15   on the adequacy of                   the named Plaintiff.


16           And    if    the Judge gives                   the named Plaintiff                  the opportunity


17   to put       forth a new named Plaintiff,                            then they have that


18   opportunity.              We are not             cutting that            off now.


19           It    is not       depriving Facebook of                        any discovery because                if


20   those people          are put up                later,       then they get            the    discovery as


21   to    those named Plaintiffs.


22                 MS.     STEIN:              Your Honor,          our      issue       in the


23   stipulation          --    and       I think,          frankly,         we worked through some of


24   this    with Plaintiffs yesterday.


25                  THE COURT:                 Okay.




                                                                                                                             3022
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 1                  MS.    STEIN:        We    --   we    are    fine       stipulating to          the


 2   dismissal       of    certain named Plaintiffs without prejudice                                    to


 3   their being          in the       class.       We    don't want          to waive any right                in


 4   there,    and    I think Plaintiffs                  said that          they are       fine;    that we


 5   don't need to.


 6           What    we were          struggling with            is    that we don't          --    if    any


 7   Plaintiff       wants          to drop,    that's         fine.        But    they need to          fish or


 8   cut bait       but    that       specific named Plaintiff because                        it's       --    you


 9   know,    otherwise             they should stay in case                  and,   you know,


10   proceed;       but    they are          supposed to be            representatives             here.


11                  THE COURT:           No,    no,      no,    I don't understand.                 I think


12   that's where          I disagree with you.


13           I think to get             through the burden arguments                        and all       that


14   and to make          --    they narrowed the               class       reps    they were putting


15   forward on the motion.


16           Should Judge             Chhabria deny the motion and                     should he give


17   them the opportunity                --    he may or may not.                  He may not        do       it.


18   It    is going to be up             to Judge         Chhabria          to put    forth different


19   class    reps;       right.        It    could be         these people.           It    could be


20   somebody else.                 I mean,    presumably the               ten they put up          they


21   think are       their ten best             anyway.


22           No.     I don't          think they have            to    --    I disagree with you.                    I


23   don't    think that's             the    case.


24                  MS.    STEIN:        Well,      Facebook wants                to preserve       its


25   objections       as       to    their being able            to    come back as named




                                                                                                                          3023
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 1   representatives.


 2                     THE   COURT:         Of       course.           You    can preserve                --   what     I'm


 3   saying       is    nobody has          to       give       away anything.                 You    can make          that


 4   argument.           What    I'm       saying          is    we    are    not    going          to hold          this    up


 5   so    that    they agree          with your                argument.           You       can preserve             your


 6   argument.           They can preserve                      their    argument.


 7                     MS.   WEAVER:            To be          clear,    a lot       of       these       Plaintiffs


 8   are    disappointed,             Deb.           I'm not          kidding.           They want             to be


 9   deposed by you.              So       --


10                     MS.   STEIN:         You know             --


11                     THE   COURT:         Well          --


12                     MS.   STEIN:         We       can       arrange       that,       Leslie.


13                     THE   COURT:         No,       no,       no,    Ms.    Weaver.


14                     MS.   WEAVER:            Yes.


15                     THE   COURT:         Right.              When we       get    to       our    sort       of    absent


16   class    member         discovery           --       I've    had    this       come       up    in a few


17   cases    --       they put       forth,          right,          because       the       Defendants             often


18   want    to    go beyond          the       named          Plaintiffs          and    take       a few       --    the


19   first    person         they point              to    is    --    they       say:        This    person was             a


20   named    Plaintiff.              It    is       not       too burdensome             on       them.        I'm    sure


21   Facebook would be                happy          to    depose       them.        So       --


22                     MS.   WEAVER:            My    co-Counsel             is    going       to be mad at             me.


23                     MR.   LOESER:            Your Honor,             in    the    ten       seconds          that    is


24   left,    I do       want    to    just          make       a point       that       is    something             that    has


25   been pervasive             which       is       a lot       of    arguments          we       have    heard       from




                                                                                                                                    3024
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 1   Facebook can be         addressed by our better understanding of                                 how


 2   data    is maintained.


 3           So,   for example,       this whole          issue of          how they produced the


 4   on-platform activity comes                  down to:        How does          Facebook maintain


 5   this    data and can they produce               it    in a way that             is    in a native


 6   format where we         can answer their questions                      easily by looking at


 7   the    data   instead of       this    sort    of weird treasure                hunt we have           to


 8   go on through live            Facebook pages          to    try and match up with


 9   their Bates productions?


10           I would suggest         that    of    the    30(b)(6)          topics    that      are


11   really critical         here    is    one    that    is    just    focused on how data                 is


12   maintained for these various                  subjects.           We    could avoid a lot              of


13   fighting      if we    just    had a better understanding of how the data


14   is maintained for these               different       areas       that we       keep arguing


15   about.


16                 THE COURT:        And we       tried getting experts                   together


17   months    ago,      months    ago.     If you want          to do       it,    put    it   in your


18   30(b)(6)      and we will       see    --


19                 MS.    STEIN:     Well    --


20                 MS.   WEAVER:      We    tried that,          Your Honor.


21                 MS.    STEIN:     We would       strenuously object                to that


22   because we went         through months          and months             of    informal      ESI


23   discussions.          We have been down this                road.           We have had all


24   these meet-and-confers.


25           The bottom line         is    Plaintiffs          just    don't believe us.               And




                                                                                                                  3025
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 1   we do all       of    this work as          counsel       to provide         this    information


 2   informally,          and they just          don't believe us.


 3                  MR.    LOESER:        Sometimes       it    is because our experts                are


 4   telling us       something very different.                       We    like you very much.


 5   It    is not    anything personal,               Deb.      It    is    just when our experts


 6   tell    us:     That    is    impossible         that     Facebook doesn't maintain


 7   this    in a way that          they can use          it    and easily access              it.


 8           We    just    need    --   it    is no offense           intended to anyone.              We


 9   just    need evidence.             (Inaudible)          can only go          so   far.


10                  MS.   WEAVER:         If you give us             the verifications           to the


11   interrogatories,             we will      know who at           least      is giving you the


12   information.           We    can just       depose      them,     but      we have got      to   start


13   taking evidence.


14                  THE COURT:          On the privilege              log,      can you submit        a


15   stipulation by the             18th that was            on the briefing,             on the ADI?


16                  MS.   WEAVER:         Yes.


17                  MR.    KO:     Yes,      Your Honor.


18                  THE COURT:          I know that was              Plaintiffs'         proposal,     so


19   I'm really asking Facebook.


20                  MS.    STEIN:       I think Martie           --


21                  MS.    KUTSCHER CLARK:             What     is    the question,           Your Honor,


22   about briefing?


23                  THE COURT:          The briefing schedule                   on the ADI


24   privilege.           By the    18th,      just    stipulate           to   the briefing


25   schedule.




                                                                                                               3026
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 1                  MS.    KUTSCHER CLARK:                 Your Honor,          I don't    think we will


 2   be    in a position to agree                   to a briefing schedule until we


 3   receive    Plaintiffs'          challenges             to    the privilege          log.    And this


 4   is    something we         discussed extensively previously;                          that we need


 5   to    see what       the    challenges          are.


 6           We are going to need to meet                         and confer with them about


 7   the    challenges          so that       we understand the                scope and nature of


 8   what    is being briefed before we                      set    a schedule on it.


 9                  THE COURT:           Okay.           I have    to go.        I have got       the    call.


10   So    sorry.     I'm out       of    time.           I can't       resolve    that.        When    is   our


11   next    conference,         January what?               It    is    not    going    to be    this


12   year.


13                                                  (Laughter)


14                  MR.    LOESER:        I'm guessing             it    is not    the    1st.


15                  THE COURT:           That       is    correct.


16                  MS.   WEAVER:         The       8th?


17                  THE COURT:           The    8th?


18                  MS.    STEIN:        If    we    can make       it    the    15th,    that would be


19   better on our end.


20                  THE COURT:           The    15th at          8:30.


21                  MS.   WEAVER:         Works          for us,    Your Honor.


22                  THE COURT:           Okay.           I will    see you       then.     I will       do the


23   best    I can after today.


24                  MR.    LOESER:        Thank you,             Your Honor.


25                         (Proceedings             adjourned at          11:04    a.m.)




                                                                                                                    3027
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 1                                   ---00o---


 2


 3                         CERTIFICATE OF REPORTER


 4             We certify that the foregoing is a correct transcript

 5   from the record of proceedings        in the above-entitled matter.

 6


 7   DATE:   Thursday,   December    10,   2020


 8


 9


10


11


12                         Marla    F.   Knox,    RPR,   CRR
                              U.S.   Court   Reporter
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                       EXHIBIT S




                                                                      3029
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                            UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF CALIFORNIA



IN RE: FACEBOOK, INC. CONSUMER                       MDL No. 2843
PRIVACY USER PROFILE LITIGATION                      Case No. 18-md-02843-VC


This document relates to:                            PLAINTIFFS' NOTICE OF DEPOSITION
                                                     OF DEFENDANT FACEBOOK, INC.
ALL ACTIONS                                          PURSUANT TO FEDERAL RULE OF
                                                     CIVIL PROCEDURE 30(b)(6)


       TO ALL PARTIES AND THEIR RESPECTIVE ATTORNEYS OF RECORD:

       PLEASE TAKE NOTICE THAT under Federal Rules of Civil Procedure 26 and

30(b)(6), Plaintiffs, by their counsel, will take the deposition of Defendant Facebook, Inc.

("Facebook") at 9:00 a.m. on February 5, 2021 via remote audio-video conference and through a

remote platform deposition service mutually agreed upon by the parties. The deposition will be

taken before aperson authorized by law to administer oaths under Federal Rules of Civil

Procedure 28(a) and shall continue from one day to the next, excluding Sundays and holidays,

until the examination is completed.

       Pursuant to Rule 30(b)(6) and the Court's Discovery Order No. 11 (Dkt. No. 588),

Defendant is hereby notified of its duty to designate one or more officers, directors, managing

agents or other persons most knowledgeable or qualified to testify on its behalf concerning the



PLNOTICE 30(B)(6) DEPOSITION                     1                                     MDL No. 2843
                                                                            CASE No. 18-MD-02843 -
                                                                                                 VC



                                                                                                      3030
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matters set forth below in Topics 1-12. Each such designee produced to testify has an affirmative

duty to have first reviewed all Documents, reports, and other matters known or reasonably

known or available to Facebook and to familiarize himself or herself with all potential witnesses

known or reasonably available to provide informed, binding answers at the deposition.

Defendant Facebook shall inform Plaintiffs of such designations(s) at areasonable time prior to

the deposition(s), but no later than 7days before the deposition(s), by setting forth the identity of

the person(s) designated to testify with respect to the matters specified below in Topics 1-12. The

deposition will continue on the day noticed and for additional days, if necessary, excluding

Sundays and holidays until completed.

       Plaintiffs issue this notice pursuant to Discovery Order No. 11 and reserve the right to

notice and conduct additional Rule 30(b)(6) depositions of Defendant on separate, non-

duplicative topics.

Dated: December 18, 2020


KELLER ROHRBACK L.L.P.                                    BLEICHMAR FONTI & AULD LLP

By:    /s/ Derek W. Loeser                                By:     /s/ Lesley E. Weaver
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                                  CERTIFICATE OF SERVICE

       Ihereby certify that Ihave served atrue and correct copy of:

    • PLAINTIFFS' NOTICE OF DEPOSITION OF DEFENDANT FACEBOOK, INC.
      PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 30(b)(6)


via Email on this 18th day of December, 2020 to the person(s) set forth below:

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       Ideclare under penalty of perjury pursuant to the laws of the United States of America

that the foregoing is true and correct.

       Executed at Seattle, Washington, on December 18, 2020.


                                            /s/ Sarah Skaggs
                                            Sarah Skaggs




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                                          SCHEDULE A

  I.    DEFINITIONS AND RULES OF CONSTRUCTION

        In the event of any conflict or ambiguity between the following definitions, common

usage and reference to any cited rules, statutes, or regulations should be used to provide the

broadest interpretation of the term in question.

         1.    "Business Plan" means any plan created or prepared by Facebook regarding

Facebook's historical and future business strategy, including but not limited to Facebook's

historical and future operations, and Facebook's historical and future financial positions.

        2.     "Computer System" or "Computer Systems" include(s), but is not limited to, any

server (whether physical or virtual), desktop computer, tablet computer, point of sale system,

smart phone, cellular telephone, networking equipment, internet site, intranet site, and the

software programs, applications, scripts, operating systems, or databases used to control, access,

store, add, delete, or modify any information stored on any of the foregoing non-exclusive list.

        3.     "Content and Information" refers to the definition in footnote 2of the First

Amended Complaint ("FAC"), referring to "content" and "information" as Facebook's

Statements of Rights and Responsibilities have defined those terms. In brief, Facebook has

generally used "information" to mean facts and other information about Users, including the

actions they take, and "content" to mean anything Users post on Facebook that would not be

included in the definition of "information." Content and Information also includes both

personally identifiable content and information and anonymized content and information that is

capable of being de-anonymized. See FAC III 223-224. Content and Information includes data

that identifies, relates to, describes, is capable of being associated with, or could reasonably be

linked, directly or indirectly, with aparticular User, such as:




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           a.   Identifiers such as areal name, alias, postal address, unique personal identifier,

                online identifier, Internet Protocol address, email address, account name, social

                security number, driver's license number, passport number, or other similar

                identifiers.

           b.   Characteristics of protected classifications under California or federal law.

           c.   Commercial information, including records of personal property, products or

                services purchased, obtained, or considered, or other purchasing or consuming

                histories or tendencies.

           d.   Biometric information.

           e.   Internet or other electronic network activity information, including, but not

                limited to, browsing history, search history, and information regarding a

                consumer's interaction with an Internet Web site, application, or advertisement.

           f.   Geolocation data.

           g.   Audio, electronic, visual, thermal, olfactory, or similar information.

           h.   Professional or employment-related information.

           i.   Education information, defined as information that is not publicly available

                personally identifiable information as defined in the Family Educational Rights

                and Privacy Act (20 U.S.C. section 1232g, 34 C.F.R. Part 99).

           j.   Inferences drawn from any of the information identified in this paragraph to

                create aprofile, dossier, or similar collection of information about aconsumer

                reflecting the consumer's preferences, characteristics, psychological trends,

                predispositions, behavior, attitudes, intelligence, abilities, and aptitudes.




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       4.      "Discovery Order No. 9" refers to the Court's October 29, 2020 Order (Dkt. No.

557), in which held, inter alia, that the discoverable data at issue in this case includes "Data

collected from auser's on-platform activity; Data obtained from third parties regarding auser's

off-platform activities; and Data inferred from auser's on or off-platform activity."

       5.      "Data Warehouse" refers to refers to the open source, peta-byte (and potentially

larger) scale data warehousing framework based on Hadoop that was developed by the Data

Infrastructure Team at Facebook, also known as the "Hive."

       6.      "Discovery Order No. 11" refers to the Court's December 11, 2020 Order (Dkt.

No. 588), in which it ordered, inter alia, Defendant Facebook "to provide a30(b)(6) witness

regarding the discoverable user data as articulated by Discovery Order No. 9. (Dkt. No. 557.)

Facebook shall also provide a30(b)(6) witness on how it monetizes—directly or indirectly—and

thus values user data."

       7.      "Document" is defined to be synonymous in meaning and equal in scope to the

usage of this term pursuant to Fed. R. Civ. P. 34(a)(1)(A), and includes, without limitation, any

writing, drawing, graph, chart, photography, phonorecord, Electronically-Stored Information (as

defined herein) or digitally encoded data, database, graphic, and/or other data compilations from

which information can be obtained, translated if necessary, by the respondent through detection

devices into reasonably usable form, or other information, including originals, translations and

drafts thereof, and all copies bearing notations and marks not found on the original. The term

"Document" further means any document now or at any time in the possession, custody, or

control of the entity to whom this document request is directed (together with any predecessors,

successors, affiliates, subsidiaries, or divisions thereof, and their officers, directors, employees,

agents and attorneys), including drafts. Without limiting the term "control" as used in the



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preceding sentence, aPerson is deemed to be in control of adocument if the Person has the right

or ability to secure the document or acopy thereof from another Person having actual possession

thereof, including, but not limited to, work product contracted by You from others. Documents

that are identical but in the possession of more than one Person or entity are separate documents

within the meaning of this term. Also, adraft or non-identical copy is aseparate document within

the meaning of this term.

        8.        "Electronically-Stored Information" or "ESI" includes, but is not limited to, the

following:

             a.   all items covered by Fed. R. Civ. P. 34(a)(1)(A);

             b.   information or data that is generated, received, processed, and recorded by

                  computers and other electronic devices, including metadata (e.g., author,

                  recipient, file creation date, file modification date, etc.);

             c.   internal or external web sites, intranets and extranets;

             d.   output resulting from the use of any software program, including, without

                  limitation, word processing documents, spreadsheets, database files, charts,

                  graphs and outlines, electronic mail, texts, Facebook Messenger, WhatsApp, AOL

                  Instant Messenger (or similar programs), bulletin board programs,

                  screenshots/screengrabs, screen sharing recordings, webcasts, screencasts,

                  operating systems, source code, PRF files, PRC files, batch files, ASCII files, and

                  all miscellaneous media on which they reside regardless of whether said

                  electronic data exists in an active file, adeleted file, or file fragment; and

             e.   activity listings of electronic mail receipts and/or transmittals; and any and all

                  items stored on computer memories, hard disks, floppy disks, CDROM, magnetic



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                tape, microfiche, or on any other media for digital data storage, or transmittal,

                such as, but not limited to, personal digital assistants (e.g., iPhones), hand-held

                wireless devices (e.g., BlackBerrys), or similar devices, and file folder tabs, or

                containers and labels appended to, or relating to, any physical storage device

                associated with each original or copy of all documents requested herein.

        9.      "Hive" refers to the open source, peta-byte (or potentially larger) scale data

warehousing framework based on Hadoop that was developed by the Data Infrastructure Team at

Facebook, also known as the Data Warehouse.

        10.     "Including" means "including but not limited to," or "including, without

limitation." Any examples which follow these phrases are set forth to clarify the request,

definition, or instruction but not to limit the topic.

        11.     "Policies and Procedures" mean any formal or informal policy, procedure, rule,

guideline, internal manuals, collaborative document, directive, instruction, or practice, whether

written or unwritten, that You expect Your employees to follow in performing their jobs.

        12.     "Marketing Plan" means any plan created or prepared by Facebook regarding

Facebook's historical and future marketing or advertising strategy.

        13.     "User Data" or "Data" refers to the categories of Content and Information

referenced by the Court in Discovery Order No. 9(Dkt. No. 557), including "Data collected from

auser's on-platform activity; Data obtained from third parties regarding auser's off-platform

activities; and Data inferred from auser's on or off-platform activity."

        14.     "You" or "your" or "Facebook" or "Defendant" means Defendant Facebook, Inc.,

together with your predecessors, successors, parents, subsidiaries, divisions or affiliates (foreign

or domestic), and their respective current and former officers, directors, agents, attorneys,



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accountants, employees, partners, managers, members or other persons occupying similar

positions or performing similar functions, and all persons acting or purporting to act on its

behalf.

          15.    Words used in the plural include the singular, and words used in the singular

include the plural.


II.       RELEVANT TIME PERIOD

          Unless otherwise specified or agreed upon by the parties, consistent with Discovery

Order No. 11, the relevant time period for purposes of this Notice is January 1, 2012 through

December 31, 2017.

III.      MATTERS FOR TESTIMONY

          1.     The format, nature, and location of User Data as set forth in Discovery Order No.

9, including how and why such Data is collected, obtained, or inferred, and how it is maintained.

          2.     The name, location, and function of all of Facebook's electronic or database

systems that contain User Data, including but not limited to Hive and Data Warehouse, whether

stored on an individual user level or in another form.

          3.     The identity, nature and location at Facebook of all the metadata associated with

User Data, including but not limited to nodes, edges, and fields, as set forth in

https://developers.facebook.com/docs/graph-api/overview/.

          4.     How User Data is or can be associated or linked to specific Facebook users—such

as User IDs or other unique identifiers such as e-mail addresses and RIDs, as set forth in

PwC CPUP FB00030737-38—and the identity, nature, and location of all such associations,

including but not limited to nodes, edges, and fields, as set forth in

https://developers.facebook.com/docs/graph-api/overview/.



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       6.          Identification of the types of third parties to which Facebook makes User Data

accessible or with which Facebook shares User Data.

       7.          For each type of third party identified in Topic 6, identify what kinds of User Data

Facebook shares or makes accessible; for what general purposes it is shared or made accessible;

and how Facebook ensures it is used for those purposes.

        8.         The Policies and Procedures applicable to how User Data is collected, obtained,

inferred, created, and maintened, and how it is shared or made accessible to third parties,

including any data deletion and retention policies related to User Data, and the impact of the

litigation hold placed in this case to such Policies and Procedures.

       9.          For each type of third party identified in Topic 6, identify how Facebook shares or

makes User Data accessible, including the format of such data, the metadata shared or made

accessible, and the nodes, edges, and fields as set forth in

https://developers.facebook.com/docs/graph-api/overview/.

        10.        How Facebook monetizes—directly or indirectly—and values User Data.

        11.        The identity, location, and retention of Documents related to how Facebook

monetizes—directly or indirectly—and values User Data, including but not limited to:

              a.   All such Marketing Plans and Business Plans created or prepared by Facebook;

              b.   All such Documents, including drafts and correspondence, created or prepared by

                   Facebook to share with third parties, including but not limited to institutional and

                   individual investors, venture capitalists, and/or private equity firms;

              c.   All such Documents created in connection with preparing Facebook's quarterly

                   and annual reports and/or any other of Facebook's publicly available filings to the

                   SEC related to how Facebook generates revenue, and materials regarding the key



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               metrics identified by Facebook in these reports such as Daily Active Users

               (DAU), Monthly Active Users (MAU), and Average Revenue Per User (ARPU).

        12.    The identity of all third parties that helped Facebook create or prepare any of the

Documents described in Topic 11 above.




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                         UNITED    STATES      DISTRICT        COURT


                     NORTHERN DISTRICT            OF    CALIFORNIA


Before   The   Honorable       Jacqueline       Scott    Corley,       Magistrate          Judge



IN RE:    FACEBOOK,      INC.                     NO.    18-MD-02843          VC    (JSC)
          CONSUMER    PRIVACY USER
          PROFILE    LITIGATION.




                                        San    Francisco,       California
                                        Friday,    January       15,    2021


      TRANSCRIPT    OF    REMOTE    ZOOM VIDEO CONFERENCE               PROCEEDINGS


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                                 CSR No.       7445,    Official       U.S.    Reporter




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 2                                       PROCEEDINGS


 3                                                ---o0o---


 4                  THE CLERK:           Court    is   now in session.        The Honorable


 5   Jacqueline          Scott    Corley presiding.


 6           Calling Civil Action                18-MD-2843,      In Re:     Facebook,         Inc.


 7   Consumer       Privacy User          Profile.


 8           Counsel,       starting with plaintiffs,               can you please         state


 9   your appearance.


10                  MS.    WEAVER:        Good morning.        It's    Lesley Weaver of


11   Bleichmar,          Fonti    & Auld.        And today with me         I have Anne Davis,


12   Matt Montgomery,             and Angelica Ornelas.


13                  MR.    LOESER:        Good morning,       Your Honor.        Derek Loeser


14   from Keller Rohrback with Carl                     Laufenberg and David Ko and


15   Chris    Springer,          also    from Keller Rohrback.


16                  MS.    STEIN:        Good morning,       Your Honor.         Deborah Stein


17   for    Facebook from Gibson Dunn.                   I'm here with Josh Lipshutz,


18   Russ    Falconer,       and Martie          Kutscher.


19                  THE COURT:           Good morning.


20           Okay.        Just    so you know,         I have a criminal matter at               9:00;


21   so we're going to hit                sort    of   the high points.


22           Let's       start with the ADI            because,   as   I understood it,           this


23   was    sort    of    different       from the other privilege            log because


24   Facebook has          taken the position that because                 all    these


25   documents,          interviews       --   I don't    know what     the ADI     is    --   were




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 1   created as part             of    a lawyer-directed investigation,                      they're


 2   privileged.


 3           So    I don't       --    I don't       think     it's premature         in the       sense


 4   now that you've gone                   through the        stip,    the process         that    the


 5   parties       agreed to,          you were         able   to narrow      it    down.     I think


 6   now    is    the    time    to    --    and plaintiffs           have   focused on,          I guess,


 7   their e-mails             or memos,          or whatever      it would be,        in which


 8   there's       no attorney on the                string,      on that.         And so    I think


 9   that's       ripe       to go    forward.


10           I don't          know what meeting and conferring will                         do.     As you


11   explained,          you put very detailed explanations                         of why it's


12   privileged.              Either they don't believe you or,                      what's       often the


13   case,       they want       confirmation.               Right?     So that's      why we'll          do


14   some    samples.


15           So what          I was going to            suggest    --   sometimes when we do


16   these,       if    the parties          need guidance,           including the party


17   claiming they're privileged,                        I let    each side pick any number.


18   I don't       see why Facebook                should maybe pick any.              It    really


19   should be          I just       think plaintiff.             I was going to           say pick 20.


20           And then          let's    just      get    simultaneous briefs because,                 while


21   I do    this       all    the    time,       I know with respect          to    investigations,


22   it'd be nice             to bring me up            to   speed on the      state of       the    law


23   with respect             to that       and privilege.            And then      I'll    review them.


24           So    that would be my proposal.


25                     MS.    STEIN:        All    right.      Thank you,      Your Honor.




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 1           I think the             issue here    is    that while          this       exercise       started


 2   as,    you know,          what    I think was       intended by plaintiffs                   to be


 3   some    sort       of    categorical       challenge       to    investigate          --    to an


 4   investigation,             the way this       has played out                in the privilege                log


 5   is    that we've          logged about       6,000       entries.           Plaintiffs       have          said


 6   they want          to    challenge    anything that             doesn't       have a lawyer on


 7   it.     But       the    logs    look very much like you would expect                            an


 8   ordinary privilege                log to    look    like,       where       the    entries       that


 9   they're       challenging          facially say things                like,       you know,       "E-mail


10   revealing advice                from Gibson Dunn concerning the                      structure of               a


11   legal    investigation,"             you know,          things       like    that;    "E-mail


12   summarizing advice                from Gibson Dunn"             or    from someone          from


13   Facebook          in-house       counsel.     So    it's    not necessarily something


14   that    is    any different          than you would ordinarily see.


15           And we          feel    that plaintiffs          haven't       --    are    just    saying:


16   We want       to    challenge everything.                 But    there       really isn't             a


17   rhyme or reason that                connects       it    to how this          started out             as    a


18   challenge          to whether this          investigation was privileged.


19                     THE COURT:        Well,    they've now challenged 400                      out       of


20   6,000.        So    that's good.           That's       narrowed       --    right?    --


21   considerably.


22           And       I think whenever there's                not    a lawyer on it             --


23   right?       --    that's       always more    on the       edges.           That's more on the


24   edges.        So    I think that       the    showing       sufficient             to allow the


25   in    camera review is             there.     I feel more            comfortable when                 I have




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 1   it    in context       and    I can    see       it.     That's why I say just                      do a


 2   sample,       and then that       should be             the   end of     the matter.


 3                 MS.     KUTSCHER CLARK:              Your Honor,          if    I can add to             that,


 4   I think a concern we have                   about       jumping directly into briefing,


 5   particularly if          the briefing             is    going to be          simultaneous,             is       we


 6   don't    actually really know what we're briefing at                                        this point.


 7   We    don't    know what plaintiffs'                   position    is.        We       don't      know why


 8   they think these particular documents                           are not privileged.


 9           Each one of          these documents,             the way they're                   logged    --


10   and,    you know,       we've    looked at             them carefully             --    they're


11   summarizing          legal    advice;       they're       conveying          legal          advice.        This


12   isn't    --   you know,        we're not          standing on a work


13   product       assertion.


14                  THE COURT:        No,       no.     But    it's your burden.                       It's your


15   burden;       so you know what             to brief.          Whatever        it       is    that meets


16   your burden.           Right?     It's your burden.                   It's not              their burden.


17   It's    your burden to          show that          they're privileged.                       So


18                 MS.     STEIN:     Yes,       Your Honor.           And    --


19                  THE COURT:        --    whatever the            case     law is,             whatever       it


20   is    that    says    just because          an attorney isn't                --    which you did a


21   little bit       --    isn't    on the       string doesn't mean,                      if    it's


22   conveying       legal    advice       --    it    shouldn't be very long.


23                 MS.     STEIN:     So    just       for clarity,          Your Honor,                is what


24   you're asking          for    for briefing where plaintiffs                            challenge


25   certain entries,             they pick certain entries                   that          they want       to




                                                                                                                          3048
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 1   challenge;          we    respond why we believe our                        log has made                the


 2   showing that we're                entitled to         show;       and then Your Honor will


 3   decide who's             right    on the      law and decide which ones,                            if    any,


 4   you're going to review in camera?


 5                  THE COURT:             Well,    I think          I'll       just       review them all


 6   in    camera with the briefs                  and then decide:                       Yes,    the privilege


 7   was    appropriately invoked.


 8           And then that             should be      the       end of          the matter.              Right?           I


 9   don't    then expect             --   if,   let's     say,       all       20    I believe were


10   properly invoked,                that   should be          the    end of             the matter because


11   plaintiff       should really be picking                        the    20       out    of    the    400       that


12   they feel most                strongly might         not be privileged.                       Right?           So


13   it's    sort    of       an exemplar        in that        state.


14           If   I don't          agree,    well,    then       it becomes more complicated.


15   Right?


16                  MS.       STEIN:       Right.     I guess          sort          of    a parallel


17   question       is    that,       because      this    is    in the          context          of    an


18   investigation,                I suspect we may want               to provide                supporting


19   information.              You may not be         able       to    tell,          Your Honor,             from the


20   face    --   some        of   the documents,          I think you will                      be able       to    see


21   that    it's    revealing direct               attorney communications or whatnot.


22   Others may be             something that was               at    the direction of                   counsel


23   which may require                context.


24                  THE COURT:             But   isn't     that       on the          log that you already


25   provided to          them,       or did you just            say       --    I don't          think you




                                                                                                                              3049
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 1   attached      --    did you just          say    "Direction of            counsel"      with


 2   identifying the            counsel    or...


 3                 MS.    STEIN:     I think          it   depends       on the      entry,


 4   Your Honor.          But given that             this was      an attorney-driven


 5   investigation,         I would       --    I just      don't       know what       kind of


 6   additional         information Your Honor might want                        for us       to    support


 7   that    aspect.


 8                 THE COURT:        Whatever you think meets your burden,


 9   that's    all.


10                 MS.    STEIN:     Thank you.


11                 THE COURT:        Whatever you think you need,                        or maybe more


12   than you think you need,                  to meet your burden.                  Right?


13                 MR.    KO:     Your Honor,          this      is David Ko on behalf                of


14   plaintiffs.


15           And thank you         for that.           I think that's what we've been


16   wanting to do,         quite    frankly,          since      last    spring and summer,               to


17   give you      --


18                 THE COURT:        I'm going to               stop you,      Mr.     Ko.


19                 MR.    KO:     Okay.


20                 THE COURT:        You       should retract            the    last    thing you


21   said.     Not productive.             Not       helpful.          Okay?


22                 MR.    KO:     Sounds       good.       Scratch that          from the          record.


23   I fulfill my New Year's               resolution.


24           But   let me ask       for    some       context      --    or some       clarification


25   on the    20,      because with respect               to    the    400    entries       that we have




                                                                                                                3050
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 1   identified to            Facebook,       those       include both parent documents                   and


 2   attachments.


 3           So our assumption would be                     the    20    --    the    20,    you know,


 4   exemplars         that we propose             to you would be both                --    you know,    one


 5   document      or one          communication would be both the parent                         and the


 6   attachment         or attachments.              So    --


 7                 THE COURT:           Yeah.       There were           400       entries.     So 20


 8   entries.


 9                MR.        KO:    Well,     I guess       that's what             I was    hoping to get


10   clarification on,               Your Honor,          because       the    400    comprises


11   documents         that    reflect      both the parent              and the underlying


12   attachments.


13                 THE COURT:           You mean a single                entry would comprise


14   both?


15                MR.        KO:    Well,     no.     There would             --    for example,       there


16   could be      seven entries             that    relate       to one document.


17           So   the way that          Facebook has             logged these materials,                they


18   include      --    for example,          if    there's       an e-mail          and then a


19   diagram,      you know,          they claim that             there's          a diagram that was


20   attached to         the       e-mail    that    is    also privileged.                 And then


21   there's      also another attachment                   --    because oftentimes             in


22   e-mails we         attach one          or more       attachments          --    and then there's          a


23   spreadsheet.             So what       they've       done    is    they've       separately logged


24   those.       So    --


25                 THE COURT:           That's      okay.         20    entries.




                                                                                                                   3051
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 1           And look,      if    it    turns    out    one       of    the    entries       involving an


 2   e-mail,      I say,    "Oh,       not privileged,"                well,       then you're going to


 3   have    a discussion anyway;               and maybe          something then that was


 4   attached,       if   it's not       in your 20,          we'll       have a discussion


 5   about.


 6           Just    20   entries.


 7                  MR.   KO:     Understood.           Thank you,             Your Honor.


 8                  MR.   MONTGOMERY:           Okay.        Your Honor,             before we move on,


 9   quick question.


10           How long do you want               the briefs?


11                  THE COURT:          I don't    think they should be                      long.        I


12   mean,    I'm thinking,            like,    ten pages.              But you tell me because


13   it's    --   I don't       know.


14                  MS.   WEAVER:        Ten pages       is       fine.        We    can do    that.          And


15   when would you         --


16                  THE COURT:          Well,    let me       ask Facebook because                   it   is


17   their burden.


18                  MS.   STEIN:        Thank you,       Your Honor.


19           I think      it's    --    because we       don't necessarily know what's


20   being challenged,            it's    a little bit up                in the air.           I think


21   we'll probably need more                  than ten pages             for 20         documents


22   because we may need to provide                     --


23                  THE COURT:          Okay.     So one page             --       no more    than one


24   page per document.                I don't mean          --    just       20    total.     Right?          You


25   can divide       it up any way you want                  among the             20   entries,     but      20




                                                                                                                      3052
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 1   total.


 2                 MS.   WEAVER:    Your Honor,             the one       thing      I would ask      --


 3                 THE COURT:      Yeah.


 4                 MS.   WEAVER:     --    is    that      if we    are    --   if   they are


 5   putting       in declarations        that we're         seeing       for the      first     time,


 6   plaintiffs      would like     an opportunity to respond to any new


 7   information that's provided.


 8           I mean,     to your point          --


 9                 THE COURT:       I don't want            declarations.             I don't want


10   declarations.


11                 MS.   WEAVER:    Okay.


12                 THE COURT:       I want       the    log of      the    entries.         I want


13   what    was    logged   for the      entries.         And then        I want briefs,          like


14   the    argument.


15                 MS.   WEAVER:    Okay.


16                 THE COURT:      No declarations.


17                 MR.   MONTGOMERY:        Okay.


18                 THE COURT:       I want       to make         this   simple.        If we need


19   more,    then we     can get more          at   the    time.


20                 MR.   MONTGOMERY:        Last       question,        I promise,        on ADI.


21           We proposed filing our brief                   on January 29th.              Is   that


22   still    a deadline     the   Court wants us                to hold to?


23                 THE COURT:      Well,        that    seems      a little       soon.        I don't


24   know.     When are you going to                 identify      --   when are      the


25   plaintiffs      going to      identify the            20?




                                                                                                            3053
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 1                     MR.    MONTGOMERY:        We    could do         it within seven days;               so


 2   by next          Friday.


 3                     THE COURT:        Okay.        So that would be            the    22nd.        So


 4   I think a brief by the                29th might be            a little       --    how about         the


 5   5th?        Does       that work,    Ms.    Stein?


 6                     MS.    STEIN:     For plaintiffs            to    submit    an opening brief


 7   on the          5th?


 8                     THE COURT:        No.     I thought we were               just    going    to have


 9   simultaneous briefs.


10                     MS.    STEIN:     I think that's            going    to be       a little bit


11   fast       for us,       Your Honor,       if we've       just      found out       what    the


12   entries          are.


13                     THE COURT:        That's       two weeks.          Well,    no,       because you


14   already logged them.                 Right?        It's merely putting down                  into


15   more paper the             analysis       that's       already been done because


16   they've already been logged.


17              I mean,       and also,    I thought          this was      going on in other


18   cases       and this       is not new or          --   ADI.        I mean,    we've known this


19   is    at    issue.        You know.        You have your argument                  as    to why


20   they're privileged.                 I assume       somewhere         in a file,         virtual,


21   there's          a memo,    quite    thorough,         with all       the    law and anything.


22   It    just needs          to be   turned into a brief.


23              So    I think the      5th would be           fine.       That's    two weeks.


24              But    if you can      identify,        Mr.   Montgomery,          before       the    22nd,


25   that       would be helpful.




                                                                                                                  3054
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 1                  MR.    MONTGOMERY:              We will       try to do             so,    Your Honor.


 2                  THE COURT:           I mean,          same    thing.           It    shouldn't          take


 3   I mean,       you've had those.                 You've       analyzed them.                    It's    the    400


 4   to the       20.


 5           Okay.        All    right.        So    that    takes          care of       the ADI.


 6           And then          I'll    have argument             if    I need it.              If    I need


 7   something more,             I will.        I promise.              I don't want                to make       a


 8   decision that             I'm not       comfortable with.


 9           Okay.        So    the    30(b)(6)          deponent,          so    I did read the notice


10   and Facebook's             letter.        And then now plaintiff has                            another


11   proposal       --    I guess you're             --    I don't          know,       Ms.    Stein,       you seem


12   to be    the       lead today       --    just more generally.


13           I mean,       the    idea was          --    right?        We went          through this whole


14   exercise about             the    scope of          discovery.              Long,    long months.                And


15   then Facebook was                saying:        Well,       actually,          we've       already


16   produced everything within that                         scope.              And so that's             sort    of


17   like,    let's       just    cut    to    it.        Right?


18           And so what          about plaintiffs'                   proposal          in the       statement


19   now,    just       those    three       topics,       which       is    essentially the                topic:


20   What    is    it    that you       --    what       information do you gather about


21   users?        What    do you do with it?


22                  MS.    STEIN:        Well,       Your Honor             --


23                  THE COURT:           And how do you monetize                         it?


24                  MS.    STEIN:        --    that's what we                endeavored to do                in the


25   letter that we             sent plaintiffs,             was       to    take       those       three    topics




                                                                                                                             3055
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 1   and put       some more meat             on the bones          of what we would be


 2   preparing a witness                on,    because       the    topics,       as Your Honor


 3   proposed,       which really             is    exactly what          our    letter      fleshes


 4   out    --


 5                  THE COURT:           Well,       except    this.        I don't mean to


 6   interrupt you,             because we're          done    at       9:00.     Except      that your


 7   letter       is more       like a topic          and a directive.                Right?     "Data was


 8   not    sold."        It's    sort    of       almost    like       a directive         to the witness


 9   will    testify.


10           No.     The witness          will       testify as          to what      the witness


11   knows.        And that may be what you believe,                            but   that's not       the


12   topic,       that    data was       not       sold.     The    topic       is:    How do    they


13   monetize       it?    wherever that may lead.                       It may lead that         the data


14   was    not    sold.        Right?


15           But    the problem I had with the                      letter was         it    jumped to       the


16   conclusion as          to    --   not     the    topic,       as    to what      it    was going to


17   be,    almost       like    a directive.


18           But    if you take what plaintiff                      says    and yours         and you take


19   out    the directives,             then       I think that's          --    then you are on the


20   same page.


21                  MS.    STEIN:        Yes.        Your Honor,          I don't      think we were


22   intending to direct                a witness          on anything.           I think what we


23   were    trying to do was             explain,          you know,       more      --    in more


24   particularity what                a witness       --    the    subjects within this               that    a


25   witness was going to be                   focused on,          because we obviously need




                                                                                                                    3056
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 1   to be able          to prepare witnesses                           one or more witnesses                   to


 2   meaningfully testify.


 3              And the       topics,         just       the    three big       categories          could go          in


 4   a lot       of    different places.                   And I think the             fact    that


 5   plaintiffs'             notice         looks       different       from what we          thought          this


 6   was    is       a good reason            for that.


 7              So,    I mean,         we    certainly didn't             intend to be            suggesting


 8   that       we were       directing a witness                  to    testify       --


 9                     THE COURT:            Well,        I'm just       looking at         Topic        4,    how


10   Facebook monetized user data.                               First,       data was not          sold.


11              No,    that's not            the    topic.        That's not what             their question


12   is.        Their question is:                      How did they monetize               it?     wherever          it


13   may lead.


14              And a lot         of    this       is    coming    from because you guys                      have


15   made       representations,               all       in good    faith,       all what you've been


16   told.           Right?       And so now it's                like,    okay,       where    is    it       coming


17   from?


18              So    I don't      even know,             actually       --    this    is   just     sort       of    a


19   preliminary initial                     "Let's       get    started,"       because we          seem to


20   be    --    like,       I just         couldn't       figure       out    how to break through all


21   this       stuff.


22                     MS.    STEIN:          Sure.


23                     THE COURT:             So    I don't       even know that            the     --    and    if


24   the witness             is   asked something they can't                      answer,         then they


25   can't       answer.          Right?           That's       okay.     Then we know.              Like,       it's




                                                                                                                            3057
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 1   exploratory in that                sense.          So    --


 2                  MS.    STEIN:        Right.          We    --


 3                  MR.    LOESER:           Your Honor            --


 4                  MS.    STEIN:        --       just wanted           --     we    just wanted to make


 5   sure,    Your Honor,             what    we were         trying to avoid for any


 6   30(b)(6).           We have an obligation to prepare,                                and we want              to


 7   make    sure       that    everyone's          on the         same page          and we get             there and


 8   we    don't    spend the day fighting about                             the     scope       of    the


 9   deposition.


10           So what we were             trying to do               in our          letter was             really just


11   say:     Hey,       here's what          we're prepping the witness on,                                 the


12   subjects.           Here's how we understand                       it.         You know,          if    there's


13   some    disagreement             on this,          if we're missing                  something,          let us


14   know.


15           We    do not       expect       --    we   don't want             this       to be a directive,


16   Your Honor.           You know,          that's         not    the      intention.               It was       sort


17   of more       of    a blueprint          of    how we were going to be                           focusing,


18   you know,          with our client             on what         questions needed to be


19   answered,          but,    you know,          certainly not               a directive.


20                  MR.    LOESER:           Your Honor?


21                  THE COURT:           Yes.


22                  MR.    LOESER:           Derek Loeser.                If    I could be heard                   for a


23   moment.


24           This       topic    --    you know,         there's no             sense       talking about               the


25   past.        I know Your Honor                isn't      interested             in    it.        So    I'll    just




                                                                                                                               3058
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 1   try and be practical                 here.


 2              We have      an order.          The   order    indicates what       the    subjects


 3   are.        You    issued another order                indicating that       there needed to


 4   be    a 30(b)(6)         notice.          We   took the    three    topics    that were         the


 5   subject       of    Discovery Order Number                9 and we    reduced them to very


 6   concrete,          very specific           topics.       They track directly to the


 7   order.


 8                     THE COURT:         You mean,         you're   talking about your


 9   notice,       or are you talking about what's                      in your CMC       statement?


10                     MR.   LOESER:       I'm talking about            our notice      and why


11   we    --


12                     THE COURT:         Okay.       I don't want       to talk about         your


13   notice.           That was way beyond what                I had    in mind too.


14                     MR.   LOESER:       Okay.


15                     THE COURT:         That was way beyond what            I had       in mind.


16   So    I don't       want   to talk about your notice.


17              Because you put           something         in your CMC    statement.          I want


18   to    talk about         that   --


19                     MR.   LOESER:       Okay.       What we put       in our    --


20                     THE COURT:         --    what you put         in your CMC    statement.


21                     MR.   LOESER:       Right.          What we put    in our    statement was:


22   We're happy to go back to                      just    having a deposition that            is


23   defined by those            three         topics.       But what we'd like to avoid is


24   having a deposition in which most                         of    the deposition       is   spent


25   fighting with Facebook about whether we get                            to ask all         of    the




                                                                                                            3059
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 1   questions          we want    to about    those       three          topics.       And so        --


 2                  THE COURT:        You can ask.              They may not            be     able    to


 3   answer.        So    it would be best          to    spend your time               on what        the


 4   witness       is    able   to answer.


 5                  MR.    LOESER:     And    --


 6                  THE COURT:        This    is    not    --       it   doesn't       come up        against


 7   anything or anything             like    that.        It's          like    an exploratory             --


 8   frankly,       I wish      I could be     there       and ask the questions because


 9   I want    to know.


10                  MR.    LOESER:     Well,       Your Honor,             you are       --


11                  MS.    WEAVER:     We wouldn't mind,                   Your Honor.


12                  MR.    LOESER:     --    invited.


13                  THE COURT:        I'm not.           But    I will          --


14                  MR.    LOESER:     You are welcome.


15                  THE COURT:         I'm not.           You       can hire a special master


16   for that,          if you want.


17                  MR.    LOESER:     I guess       here's what                I'm trying       --


18                  MS.    KUTSCHER CLARK:           Your Honor,                I --


19                  MR.    LOESER:     We have       a letter             from them,          which    is    like


20   a bit    of    a maze,       and it    says what          is    and is not         going     to be          the


21   subject       of    this   testimony.


22           I disagree and we all             on the plaintiff                      side wholeheartedly


23   disagree with the various                and many and confusing                      limitations


24   their    letter describes.


25           If what       that    letter    indicates          is       that when we go to the




                                                                                                                        3060
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 1   deposition,       those are the objections                      that       they're going to make

 2   and they're going to follow the roadmap that they have put                                             in

 3   their letter about what                they're not going to allow the witness

 4   to testify to,          I think that             that would be             --    it's highly

 5   inefficient.           Also,    it would just be completely inappropriate,

 6   given the       scope of the          --    just       the general          three topics that

 7   the witness       is    supposed to be testifying about.                             That's kind of

 8   the practical problem that we                         see.

 9          And we're happy to go ahead and go take the deposition,

10   but    I fear that what we're going to get                            is,       where they've set

11   forth in this detailed letter this path,                               this narrow path that

12   they want       this witness          to travel,             it's    just going to be a huge

13   problem because the path has nothing to do with the areas that

14   we're entitled to take discovery.

15               THE COURT:              The problem is,             we're never going to get

16   to that depo if          I leave       it       to you all          just    to negotiate the

17   scope.     We're never.              It'll be          five months          from now until            it

18   gets   there.      It    just needs             to get       started and get there.

19           I mean,    maybe       --    I think the place to start,                      actually,            is

20   for Facebook to identify:                       Here's the general topics.

21           I mean,    they're not             --    it    shouldn't       --       it's not   --    this       is

22   pretty basic       stuff       in some          sense.       Right?         This    is to get at

23   the basic.        Like,    one of          the main questions                   is user data,         what

24   is collected and what                is done with it.                 Right?        That's      it.

25   That's    it.




                                                                                                                       3061
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 1           And so there have been representations                            that have been made


 2   that    the    stuff    that's been produced                is    all.     So there       are


 3   people       there.


 4           So,    Facebook,       identify to plaintiffs who's                      going    to be       the


 5   deponent.          Right?


 6           That'll       then let       you know somewhat what                that person knows


 7   or doesn't         know.     And then the           same    thing with the


 8   monetization.


 9           I think that's             a start,       and then you go and we'll                see what


10   we get.        And if you don't             get   what     I think you       should get,            no


11   one's going anywhere;                we    can come back and do             it    again.        This


12   is    just    to   try to break through that                 logjam and get          started.


13                  MR.    LOESER:        I hear that,          Your Honor,       and I appreciate


14   that.        And obviously,          we will       jump    right    in and try and do


15   that.        I think Facebook obviously understands                         that    this       is   a


16   witness       that's    supposed to be prepared to                   testify,       and    so


17   hopefully the witness                comes prepared to testify about                      the       full


18   range of       topics       that    these    issues       relate    to.


19                  THE COURT:           Well,    that's what Ms.             Stein    said.        That's


20   why she       sent    the    letter,       because    they understand that                they have


21   to prepare         the witness        to testify.


22                  MR.    LOESER:        But    --


23                  MS.    STEIN:        That's       exactly    --


24                  MR.    LOESER:        --    I mean,    I don't want          to bore       --    you


25   know,    I'm sorry to          --    we    can move on;          but what    the    letter says




                                                                                                                  3062
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 1   is what      they're going to prepare                  the witness         to   testify about.


 2                THE COURT:           That's what          I said.          Isn't   that what       I


 3   said at      the beginning?             That's what          I said.       They heard      it.


 4   I'm confident         that    they heard         it,    that       that's not going        --    that


 5   that's not      going to happen.


 6          For example,          it   can't be       --    I'll give you an example.


 7          Well,    did you gather this               type of          --   did you gather this


 8   type   of    information about users?


 9          No.     The witness         can't       answer    that because           that


10   information wasn't            shared.


11          Right?


12                MR.   LOESER:         Okay.


13                THE COURT:           That's       a different          question.      The question


14   is what      did they gather,            and then what was               shared.


15                MS.   STEIN:         Right.


16                THE COURT:           Whether       it was       shared or not.            Right?


17          Ms.    Stein    is    shaking      --


18                MS.   STEIN:         Right.


19                THE COURT:           --    her head       "yes."


20          We're all       --


21                MS.   STEIN:         Right.


22                THE COURT:           --    on the    same       --


23                MR.   LOESER:         Right.        And so       --


24                MS.   STEIN:         We understand          --


25                MR.   LOESER:         --   by the        same    --




                                                                                                              3063
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 1                     MS.    STEIN:        --    that,       and that was what             our    letter was


 2   intended to communicate,                      that       they would get          to ask questions


 3   about    the       scope    of what          was    collected and then they would


 4   narrow it          down to       find out what was                shared or accessed.


 5           But       Mr.    Loeser    identified our concern,                      Your Honor,          is    that


 6   they're primed to                say that          our witness          isn't prepared.              And we


 7   really       --    we    take    this       seriously.          It's        important.       We know


 8   it's binding on the                company.              And so we want          to do       the best


 9   that    we    can to,       you know,          make everyone happy here.


10           You know,          we will          take Your Honor's                topics.     Our    letter


11   should not          be viewed as             a directive.              If    there's    something that


12   plaintiffs          looked at          and think          is missing,          you know,       we    should


13   discuss       that before          the       depositions          so    that we know and we                can


14   make    sure       the witness          is prepared.


15           But       we were       trying to          cover the                in doing this       letter,


16   we were       trying to cover the                   landscape          of    everything.        And,


17   you know,          I'm sorry some of                it    sounded like          a directive.              We


18   were    just       really trying to                flesh out what we             thought       this


19   meant.        And the       categories             of    things    that we       listed of what was


20   collected,          we    think that's             everything.              So we were       just    really


21   trying to be             comprehensive here                so   that we were           all    on the       same


22   page.


23                     THE COURT:           So,    Mr.       Loeser,    if you       look at       the    topics


24   from their          letter,       as    opposed to what's underneath,                         does    that


25   cover    --       I think that          covers          everything.




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 1                  MS.   WEAVER:      I think,          Your Honor             --


 2                  MR.   LOESER:      Well,       not    really.              I mean,          the    topics


 3   identify the          categories       that    are       indicated             in the Court's


 4   orders;       but    then there's       this    complicated roadmap about what                                is


 5   and    isn't    going to be       testified about.


 6                  THE COURT:        That's why          I said if you just                         look at    the


 7   topics,       that    covers    everything          --   right?           --    the       topics.


 8                  MR.   LOESER:      Well,       I believe             that       the    topics          identify


 9   the    categories       that    are    set    forth in the order.                          So    --


10                  THE COURT:        Okay.


11                  MR.   LOESER:      --    yes,    those          are       the    topics.


12                  THE COURT:        There we       are.           So    that's          the guidance.


13   That's what          the witness       should be prepared to testify to.


14          And as        I said,    and Facebook             said they understand.                         That


15   Facebook believes          something wasn't                shared or that                   the purpose


16   ultimately wouldn't be                admissible          is    not       a reason not                to answer


17   the question.           Right?


18                  MR.   LOESER:      Okay.        And so we're not                      --


19                  THE COURT:        It's       discovery          --


20                  MR.   LOESER:      --    doing things                --


21                  THE COURT:        --    as    to what       user was             --    what       information


22   was    collected,       what    did they do with it,                      how,       why.


23          And then,        where    that       leads    to,       what       the    consequence of


24   that    is,    who knows?


25                  MR.   LOESER:      So    let me       just       --




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 1                  THE COURT:           Great.


 2                  MR.    LOESER:           Not    to beat       a dead horse,             to use       a bad


 3   metaphor here,             but    the    --    I'll       just    read a statement             in their


 4   letter,       and    I think that             this    will provide             clarification on


 5   what will       happen with that.


 6           Page    3 of       their    letter,          at    the bottom of          the page,          there's


 7   a statement          (reading):


 8                   "Facebook does not                   intend for          its    designee       to


 9           provide details             regarding the                categories       of


10           information          it may have             received from third parties,


11           except       as    described below."


12           Well,       we're not       going to          limit       our questioning to                the


13   narrow scope          that       this    letter       seems       to    suggest    the witness will


14   be    testifying about.


15           And    I think what             Your Honor          is    saying       is we're     just


16   focused on the main topics;                         we don't       need to worry about                the


17   limitations          set    forth in this             letter because             the witness will


18   be prepared to             testify about             the    full       topic;    and    it's


19   testimony       --    Facebook will not have made                         the decision not                to


20   prepare       the witness          to    testify to          this       limitation that's             set


21   forth    in this          letter.


22                  THE COURT:           Well,       I guess          the question          is   "details."


23   Right?        Details,       I don't          know what          that means,       "details,"


24   versus    sort       of    categories          or things          like    that.        If we're going


25   to go    into details             about       all    those,       then you're going to                run




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 1   out    of    time.        So    --    right?


 2           It's       sort    of    a high-level:                Genesis          of    it    was,       again,      that


 3   Facebook's          representation,             after we went                  through all             this


 4   briefing about             the       scope of      discovery as                to plaintiffs'                user


 5   information,             that    they had,         in    fact,          produced all of


 6   plaintiffs'          user       information.             So,       that       is    shared.


 7           So    let's now find out what                        is    it    that       they collect             about


 8   users.


 9                  MR.       LOESER:        Okay.        I hear Your Honor.


10                  THE COURT:             Whether        it be         from a third party,                   whether


11   it be       from their own             --   whatever          it    is.       Whatever           it    is.     What


12   is    it?


13           And categories.                 Right?          If    there's          a particular detail,


14   they're not          going to be            able     to go         into details                about    --    I


15   don't       know    --    which apps          or this         or    that       or that.           Right?          This


16   is    just    --


17                  MR.       LOESER:        No.     I hear that.


18                  THE COURT:              --   high     level.


19                  MR.       LOESER:       And     I agree with you.


20                  MS.       WEAVER:        Your Honor            --


21                  MS.       KUTSCHER CLARK:                And,       Your Honor             --


22                  MR.       LOESER:       All     I'm talking               --


23                  MS.       WEAVER:        You're       right.             Let's get          started.           We'd


24   love    a date,          and we will          take      this       deposition according to your


25   direction.




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 1           And so       if Ms.    Stein wants          to    identify who they'll be


 2   producing,       we're    ready,       you know,          early February to take               this


 3   deposition.


 4                  THE COURT:           Well,    I don't       know about       --    in February.


 5           But,    Ms.    Kutscher Clark,          you were          trying to       say something.


 6                  MS.    KUTSCHER CLARK:           Oh.        I just wanted to assure


 7   the   Court     that    the    type    of    language          surrounding the          type of


 8   detail    that would be             testified to          is    really intended to             zoom in


 9   on what's       relevant here.


10           The    idea was,       to    the extent          the deponent,       for       instance,


11   testifies       that particular data                is used only for a security


12   feature,       you know,       to make       sure    that       there   isn't     a security


13   breach on the platform,                they don't          then need to go             into detail,


14   for   instance,        about how that          security feature operates.


15           That's       all we're       intending to          convey there.              Let's get    to


16   the   types     of    data and the          types    of    uses    that    are    actually


17   relevant       here,    and,    of    course,       we'll provide          testimony about


18   that.     But    if    it's    clearly outside             the    scope of what we're


19   talking about          in this       case,    a high-level          explanation should be


20   sufficient.


21                  THE COURT:           Okay.     I don't          think Mr.    Loeser disagrees


22   with that.


23                  MR.    MONTGOMERY:           Before Your Honor has                to    leave us,


24   can   I just     clarify that          we're    talking about,             really,       two


25   depositions:           one deposition about                the monetization and one




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 1   deposition about             data?


 2                  THE COURT:           Yeah.        I mean,         I don't       know.     It   seems


 3   like    the    data would be             the    longer deposition.                Right?


 4                  MR.    MONTGOMERY:              I think we're               anticipating,      you know,


 5   a full    day for each,             if    that's permissible by the Court.


 6                  MS.    STEIN:        That       sounds      --    for,      you know,     a 30(b)(6)


 7   and when       --    on two topics,             when you often get               seven hours         for


 8   one    30(b)(6),          like,   we understand these are                      important      topics,


 9   but,    you know,          I think two          full      days       is,   you know,     a little bit


10   of    overkill       here.        I think,       you know,            a few hours       --


11                  THE COURT:           Ten hours.


12                  MS.    STEIN:        --    each       for an      --


13                  THE COURT:           Ten hours.             Ten hours.           And    I would think


14   that plaintiffs would want most                           of    it    to go to    the user


15   information.              I mean,    that       --    I mean,         seven hours       for   that


16   I think you could do easily.                          I don't         know.     Maybe not.       I


17   don't    know.


18           Ten hours.


19                  MS.    WEAVER:        We will          take      the deposition,          and we will


20   report back.


21                  THE COURT:           But    not       in   --    ten hours       over two days,


22   though    --    right?       --   not     one day.             Or even more.           However you


23   want    to do       it.


24           Okay.        Excellent.


25                  MS.    STEIN:        And,       Your Honor,            just    for clarification,




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 1   you know,             I understand that plaintiffs want                       the    identities         of


 2   these witnesses.                I don't       know them yet.                I don't know who            --


 3                     THE COURT:         Oh,     no,   no,   no.         I understand you don't.


 4   No,    no.        They didn't         --    I actually brought               that    up.


 5              I just       thought,     when you tell             them,       then that gives           them


 6   comfort          --    right?   --   that you're not                taking the       engineer        from


 7   wherever.              Right?     You're      actually         --    there are people within


 8   Facebook who actually know this                          information          --    right?      --   that


 9   they're high enough up                     that    they have         the big picture.


10                    MS.     STEIN:      Right.


11                     THE COURT:         So my thinking was                that when you            share


12   that       name,       that'll give         them some      comfort          that    the person will


13   be    --    when you say          "be prepared"           --    right?       --    it's    like you


14   can't       tell       them what      --   you can prepare             them in the          sense of


15   what       they should prepare               to    testify.          They're going to have                 to


16   know or do             the gathering to know.


17                    MS.     STEIN:      Correct,        Your Honor.


18              One    thing that         I would just        appreciate           some clarification


19   on.        These witnesses           are not being deposed                   in their personal


20   capacity right now.                  So     I just want         to make       sure    that we're not


21   going to be             --   you know,       by giving         them the names             in advance,


22   we're not             going to be      seeing e-mails               that    these people         are


23   being       shown and         impeached and whatnot;                  that    this    is    a


24   deposition to get               information          from them,            but not    to    start      a


25   whole       cross-examination of                  them in their personal                  capacity.




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 1                  MS.      WEAVER:     Deb,      we    agree with that,                except          to    the


 2   extent    if       it   relates    to   the     topic         of    the deposition,             we may


 3   introduce          --   obviously,      we'll       be    introducing exhibits                      and if       a


 4   deponent's          name has      to be on         it.


 5           But    we agree,         not personal            capacity.           This    is    a


 6   corporate deposition,               both of         them.


 7                  THE COURT:          There may be               e-mails.        Right?           There's


 8   documents          they reviewed that              lead them to believe                   that       there


 9   was    other user          information that was                    collected about users.


10   Right?        So    they will probably show the deponent                             one       of    those


11   e-mails       and say:       Well,      doesn't          this mean this?              Right?


12                  MS.      STEIN:     Yes,    Your Honor.


13                  THE COURT:          That would be               the    objective.


14                  MS.      STEIN:     I normally            --    unless       someone       is    also being


15   deposed       in their personal            capacity,               I normally don't             share          the


16   name of       a 30(b)(6)         deponent       in advance            of    a deposition.                 So    I


17   just    don't       want   this    to   sort       of    get       turned    into    something that


18   is not    a 30(b)(6)         deposition.


19                  THE COURT:          Okay.        It won't.             All    right?        And there'll


20   be a record.             So no worries.


21                  MS.      WEAVER:     And    is      Your Honor planning on providing


22   dates    for the depositions?


23                  THE COURT:         No.      I said it               needs    to happen by             --    in


24   February.


25                  MS.      WEAVER:     Okay.          Is    this       a leap year?




                                                                                                                           3071
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 1                                            (Laughter.)


 2                  THE COURT:       I don't        think    so.


 3                  MS.   WEAVER:     I think not.


 4                  MS.    STEIN:    It's     an odd year;          so    I don't       think so.


 5                  MS.   WEAVER:     Sorry,        Deb.     No    February 29th.


 6                  THE COURT:      Okay.       I have       a change of plea.


 7           Just    let me give      some guidance           as    to deposition


 8   transcripts          or written discovery.              I mean,          clearly,      anything


 9   that    Facebook has       said under oath about                   relevant       topics       is


10   relevant.        And I would think discovery,                      unless    there's          some


11   privilege       I'm not    aware    of    --    right?        So    if    they did an


12   interrogatory answer on a relevant                      topic,       that's      discoverable.


13                  MS.    STEIN:   Your Honor,            this    is    a very serious             issue


14   for us,    especially because             this    is    in the       context       of government


15   investigations.           And we're dealing with government                            entities who


16   often don't          even want us      to get     the    transcript because                   it's


17   their    investigation.          So,     you know,       having this             clone discovery


18   issue about what's going on                in government             investigations             is    a


19   very significant          issue,    and respectfully                --


20                  THE COURT:      Well,      that's       different          than    --    that's


21   different       than an    interview.           I thought what was                in the       letter


22   was    depositions.


23                  MS.   WEAVER:    Your Honor,            it's both depositions                   and the


24   FTC,    who has unequivocally stated                   in this proceeding that                      they


25   do not    object       to us   receiving        information.             We have        the    FTC's




                                                                                                                 3072
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 1   written    letters          that    ask    for    sworn responses            to    substantive


 2   answers.


 3                  THE COURT:           So,    okay.     Let me          just,   because       I'm    --


 4                  MS.    WEAVER:        We    just want       --


 5                  THE COURT:           I'm just       giving guidance.                I'm not       ruling.


 6   I'm just       giving guidance because                   it's not       ripe and presented to


 7   me.


 8           My guidance          is,    for example,          if    --    it's   almost    like Jencks


 9   material.        Right?


10                  MS.    WEAVER:        Right.


11                  THE COURT:           If    a witness made             statements on the


12   topics,    if    they're going to be                a witness          in the      case,    if


13   they're going to be deposed,                      then    I think       it's      certainly


14   relevant what          they said under oath                in another case on the                  same


15   topics.        Right?        Not    if    it was unrelated.              And the      same       thing


16   with    interrogatory responses.                   And then           I gave a caveat,            which


17   is,    unless    there's       some privilege of which                   I'm not      aware.


18           That's       all.     That's       just    the guidance          that      I'm giving.


19                  MS.    WEAVER:        Okay.        We will bring          it before you            if we


20   can't    resolve       it.


21                  THE COURT:           Okay.        I guess we need a next               date.        What


22   is    today?     Today is          the    15th.


23           How about       February 24th at             8:30?           Maybe you'll have            taken


24   that    depo,    and I'm sure             there'll be          lots    to discuss.


25                                               (Laughter.)




                                                                                                                 3073
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 1                MS.   WEAVER:    That's       fine here.


 2                MS.   STEIN:    That's    fine,    Your Honor.


 3                MR.   LOESER:    We    will   all be    so knowledgeable by then,


 4   Your Honor.


 5                                        (Laughter.)


 6                THE   COURT:    It's    true.     I wish   I could take          the depo.


 7   I would.


 8                MR.   LOESER:    You really are         invited.     We'll       send


 9   you    --


10                MS.   WEAVER:    You know,       some   judges    have    done    things


11   like    that.


12                THE   COURT:    Yeah.     I wish    I had time,      but    no    time.


13          All   right.    Thank you very much.


14                MS.   STEIN:    Thank you,       Your Honor.


15                MS.   WEAVER:    Thank you,       Your Honor.


16                MR.   LOESER:    Thank you,       Your Honor.


17                       (Proceedings     adjourned at       9:05   a.m.)


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 1


 2                           CERTIFICATE OF REPORTER


 3              I certify that      the     foregoing      is   a correct   transcript


 4   from the   record of   proceedings           in the   above-entitled matter.


 5


 6   DATE:    Monday,   January 18,        2021




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 7


 8


 9           Ana Dub,   CSR No.    7445,    RDR,    RMR,   CRR,   CCRR,   CRG,   CCG
                    Official      Reporter,       U.S.   District   Court
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                      EXHIBIT U




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                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA
                             SAN FRANCISCO DIVISION




IN RE: FACEBOOK, INC. CONSUMER                       CASE NO. 3:18-MD-02843-VC
PRIVACY USER PROFILE LITIGATION,
                                                     DEFENDANT FACEBOOK, INC.'S
                                                     SECOND AMENDED RESPONSES AND
This document relates to:                            OBJECTIONS TO PLAINTIFFS' FOURTH
                                                     SET OF INTERROGATORIES
ALL ACTIONS




FACEBOOK, I
          NC.'S SECOND AMENDED RESPONSES & OBJECTIONS TO PLAINTIFFS' FOURTH SET OF I
                                                                                   NTERROGATORIES
                                  CASE NO .3:18-A4D-02843-VC

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       12.     Facebook objects to the portion of Plaintiffs' definition of the term "Facebook,"

"Defendant," "you," and "your" that defines Facebook to include its "executives, directors,

officers, employees, partners, members, representatives, agents (including attorneys,

accountants, consultants, investment advisors or bankers), and any other Person purporting to act

on [Facebook, Inc.'s] behalf ...includ[ing] parents, subsidiaries, affiliates, predecessor entities,

successor entities, divisions, departments, groups, acquired entities and/or related entities or any

other entity acting or purporting to act on its behalf" This portion of the definition is vague,

ambiguous, overly broad, unduly burdensome, and inconsistent with basic principles of corporate

separateness. Facebook's response to the Interrogatory (if any) will use adefinition of

"Facebook" that encompasses only Facebook, Inc.

                             OBJECTIONS TO INSTRUCTIONS

       1.      Facebook objects to Plaintiffs' "Instructions" to the extent that they impose

obligations that go beyond the requirements of the Federal and Local Rules.

       2.      With respect to Plaintiffs' Instruction 5, which requests that Facebook answer

discovery requests for acontinuing time period, for consistency, the time period reflected in

Facebook's responses to these Interrogatories is consistent with Facebook's responses to

Plaintiffs' other discovery requests, unless aspecific time period is identified in aparticular

request and/or Facebook's response to aparticular request.

                                    SPECIFIC OBJECTIONS

INTERROGATORY NO. 8:

       Identify by name and time period in operation each Facebook Database and Data

Analytics Infrastructure that contains Facebook Users' Content and Information.




                                                  8
FACEBOOK, I
          NC.'S SECOND AMENDED RESPONSES & OBJECTIONS TO PLAINTIFFS' FOURTH SET OF I
                                                                                   NTERROGATORIES
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                       HIGHLY CONFIDENTIAL -ATTORNEYS 'EYES ONLY
                       FACEBOOK'
                               SRESPONSE TO INTERROGATORY NO .8


RESPONSE TO INTERROGATORY NO. 8—HIGHLY CONFIDENTIAL —
ATTORNEYS' EYES ONLY:

        Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this

Response. Facebook further objects to this Interrogatory on the following grounds:

        (A)     Facebook objects to this Interrogatory on the ground that the definitions of

"Content and Information," "Database," and "Data Analytics Infrastructure" are vague,

ambiguous, overly broad, and unduly burdensome. Facebook will construe these terms as

described in its objections to their Definitions.

        (B)     Facebook objects to this Interrogatory on the ground that it seeks only irrelevant

information, as the structure and organization of Facebook's databases have no possible relation

to or bearing on Plaintiffs' live claims or Facebook's defenses.

        (C)     Facebook objects to this Interrogatory as seeking information duplicative of

information provided previously through the parties' extensive letter exchange and meet and

confer discussions regarding sources of ESI and as otherwise outside the scope of additional ESI

information the Court has allowed Plaintiffs to seek. See May 15, 2020 Hr'g Tr. at 6:16-22; ECF

No. 436 at 1.

        (D)     Facebook objects to this Interrogatory on the ground that it seeks Facebook's

protected trade secrets and other sensitive, proprietary information that would pose security and

business risks to Facebook and risks to Facebook users' privacy if disclosed. Thus, the burdens

of production would outweigh the utility of the production of this information, which are not

relevant to Plaintiffs' claims.

        (E)     Facebook objects to this Interrogatory as overly broad, unduly burdensome,

irrelevant to the subject matter of this Action, and/or disproportionate to the needs of the case in


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FACEBOOK, I
          NC.'S SECOND AMENDED RESPONSES & OBJECTIONS TO PLAINTIFFS' FOURTH SET OF I
                                                                                   NTERROGATORIES
                                  CASE NO .3:18-1\AD-02843-VC

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                       HIGHLY CONFIDENTIAL -ATTORNEYS 'EYES ONLY
                       FACEBOOK'
                               SRESPONSE TO INTERROGATORY NO .8


that it seeks information relating to "each" Facebook Database and Data Analytics Infrastructure,

without regard for whether the "Database or Data Analytics Infrastructure" has any bearing on

Plaintiffs' live claims or Facebook's defenses. Specifically, Facebook objects to this

Interrogatory to the extent it seeks information related to the content, structure, or organization of

"Databases or Data Analytics Infrastructures" unrelated to application developers being granted

access to "sensitive user information" via friend-sharing between 2009 and 2015, the disclosure

of information to so-called "whitelisted" applications, the sharing of "sensitive user information"

with integration partners pursuant to "data reciprocity agreements," and/or the misuse of

"sensitive user information" disclosed in one of these three manners as aresult of Facebook's

alleged failure to adopt effective policies or enforcement procedures governing the transmission

and use of "sensitive user data." See MTD Order, ECF No. 298, at 6-10; see also Discovery

Order No. 9, ECF No. 557, at 2; Pls.' Sur-Reply to Def.'s Mot. to Stay, ECF No. 548, at 2

(describing the relevant scope of user information as being that "Facebook shared with or made

accessible to third parties").

        Subject to and without waiving the foregoing objections, and subject to the ongoing

nature of discovery in this action, Facebook responds as follows:

        Response No. 8:

        Users make their Content and Information available on the Facebook Platform by

uploading it directly to the Platform. The Facebook Platform is powered by aseries of databases

that Facebook relies upon for production purposes and which work in tandem to provide

Facebook users aseamless experience as they access different categories and types of content

posted on the Platform, by themselves or other users. As Facebook users navigate through the

Facebook Platform and interact with objects on the Platform by, among other things, liking posts



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made by other users, watching videos, posting photos, and sending messages, they actively

change the content and information available on the Facebook Platform. The array of

relationships between users, objects, and actions is referred to as the Social Graph, which is a

model of the relationships between users, objects, and actions. These databases described below

constitute the primary infrastructure that maintains the Facebook Platform, and, thus, contain the

content and information that makes up the Social Graph. As relevant here, Plaintiffs have been

provided with the content and information from the Social Graph—and therefore from the below

databases—that was uniquely associated with their Facebook profiles as of the date(s) each set

was pulled. Additionally, through their Facebook profiles, Plaintiffs have access to the content

or information they have posted to the Platform and not deleted since those productions were

made.

        The key databases Facebook uses to support the Facebook Platform, all of which were in

use during the Relevant Time Period asserted by Plaintiffs and which store all of the content and

information users post to Facebook and therefore contain all of the historical user content and

information presently accessible via the Social Graph, are:




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INTERROGATORY NO. 9:

       For each Database and Data Analytics Infrastructure identified in your answer to

Interrogatory No. 8, identify the corresponding query interfaces (e.g., including graphical

interfaces, command-oriented interfaces, and APIs) that have called or accessed data from such

Database to respond to either internal or external queries.

RESPONSE TO INTERROGATORY NO. 9—HIGHLY CONFIDENTIAL —
ATTORNEYS' EYES ONLY:

       Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this

Response. Facebook further objects to this Interrogatory on the following grounds:

       (A)     Facebook objects to this Interrogatory as embedding multiple discrete sub-parts

that count against the number of interrogatories permitted under Fed. R. Civ. P. 33 by asking for

separate information about "each" Database and Data Analytics Infrastructure that Facebook

identified in its answer to Interrogatory No. 8. See, e.g., New Amsterdam Prcject Mgmt.

Humanitarian Found. v. Laughrin, 2009 WL 102816, at *5 (N.D. Cal. Jan. 14, 2009) ). During

the parties' meet and confers and via email on September 11, 2020, Plaintiffs have argued that

Facebook's objection is improper and inconsistent with Scfeco cfAm. v. Rawstron, 181 F.R.D.

441, 445-46 (C.D. Cal. 1998), under which interrogatories that ask "the responding party to state

facts, identify witnesses, or identify documents" regarding subject matters that are "discrete or

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       • HP/Palm


       • HTC

       • Huawei


       • INQ




       • Kodak

       • LG


       • MediaTek/Mstar




       • Microsoft

       • Miyowa/Hape Esia




       • Motorola/Lenovo

       • Mozilla




       • Myriad


       • Nexian




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       • OPPO


       • Orange

       • Pantech




       • Qualcomm




       • Samsung


       • Sony




       • Sprint




       • TIM


       • T-Mobile

       • Tobii


       • U2topia


       • Verisign

       • Verizon


       • Virgin Mobile


       • Vodafone


       • Warner Bros.

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        (H)    Facebook objects to this Interrogatory on the basis that Plaintiffs have exceeded

the maximum number of permissible Interrogatories under Discovery Order No. 6, under which

each party may serve up to 75 Interrogatories, ECF No. 508; see also R. Civ. P. 33(a)(1);

Advisory Committee Note to 1993 Amendment to Rule 33(a)(1), and an interrogatory is not the

most "effective way to get [the] information" Plaintiffs seek, in which case the Court indicated it

would enforce a75 Interrogatory limit. Sept. 4Hr'g Tr. at 14:17-22.

        Subject to and without waiving the foregoing objections, and subject to the ongoing

nature of discovery in this action, Facebook responds as follows:

       Response No. 86:

       Facebook has conducted an investigation into the information Plaintiffs seek and

presently understands that it is not possible to create the data set requested.

INTERROGATORY NO. 27:

       Identify by name and time period all Third Parties to whom Facebook granted whitelisted

access, the time period of the grant of whitelisted access, and the Third Parties for which such

access was granted.

RESPONSE TO INTERROGATORY NO. 27 —HIGHLY CONFIDENTIAL —
ATTORNEYS' EYES ONLY:

       Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this

Response. Facebook objects to this Interrogatory on the following grounds:

        (A)    Facebook objects to this Interrogatory as containing multiple discrete sub-parts

that count against the number of interrogatories permitted under Fed. R. Civ. P. 33. Although

Facebook has provided two tables of data points relevant to each of the third-party applications

for ease of review, Facebook considers this Interrogatory—in conjunction with Interrogatory No.


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FACEBOOK, I
          NC.'S SECOND AMENDED RESPONSES & OBJECTIONS TO PLAINTIFFS' FOURTH SET OF I
                                                                                   NTERROGATORIES
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